PG&E Corporation                                                                                         Case Number:          19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
      Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with
      nonpriority unsecured claims, fill out and attach the Additional Page of Part 2.


 Creditor's Name, Mailing Address                Date Claim Was Incurred And        C U       D    Basis For       Offset      Amount of Claim
 Including Zip Code                                    Account Number                                Claim

Unsecured Debt

3.1       BANK OF AMERICA, N.A.                            VARIOUS                                REVOLVING                        $300,342,098
          ATTN: PATRICK                                                                             CREDIT
          BOULTINGHOUSE                        ACCOUNT NO.: NOT AVAILABLE                          FACILITY
          401 N TRYON ST
          CHARLOTTE, NC 28255


3.2       MIZUHO BANK, LTD.                                VARIOUS                                TERM LOAN                        $350,229,056
          320 PARK AVE
          NEW YORK, NEW YORK 10020             ACCOUNT NO.: NOT AVAILABLE


                                                                                                  Unsecured Debt Total:            $650,571,154




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Schedule E/F: Creditors Who Have Unsecured Claims
      Part 2:     List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U        D   Basis For   Offset   Amount of Claim
Including Zip Code                              Account Number                              Claim

Trade Payables

3.3       BANK OF AMERICA                         VARIOUS                                  Trade                        $2,190
          P.O. BOX 61000
          SAN FRANCISCO, CA 94161-9880   ACCOUNT NO.: NOT AVAILABLE


3.4       CITIBANK NA NY                          VARIOUS                                  Trade                           $30
          333 WEST 34TH ST
          NEW YORK, NY 10001             ACCOUNT NO.: NOT AVAILABLE


3.5       CITIGROUP NORTH AMERICA                 VARIOUS                                  Trade                        $3,000
          P.O. BOX 7247-8614
          PHILADELPHIA, PA 19170-8614    ACCOUNT NO.: NOT AVAILABLE


3.6       COMPLETE DISCOVERY                      VARIOUS                                  Trade                          $270
          SOURCE INC
          250 PARK AVE 18TH FL           ACCOUNT NO.: NOT AVAILABLE
          NEW YORK, NY 10177


3.7       CORPORATION SERVICES                    VARIOUS                                  Trade                          $869
          COMPANY
          P.O. BOX 13397                 ACCOUNT NO.: NOT AVAILABLE
          PHILADELPHIA, PA 19101-3397


3.8       DAVID A COULTER                         VARIOUS                                  Trade                        $1,147
          466 LEXINGTON AVE
          NEW YORK, NY 10017-3147        ACCOUNT NO.: NOT AVAILABLE


3.9       EXPERT HOLDINGS LLC                     VARIOUS                                  Trade                       $25,000
          325 N SAINT PAUL ST STE 3100
          DALLAS, TX 75201               ACCOUNT NO.: NOT AVAILABLE


3.10      PPF PARAMOUNT ONE MARKET                VARIOUS                                  Trade                          $347
          PLAZA LP
          1633 BROADWAY STE 1801         ACCOUNT NO.: NOT AVAILABLE
          NEW YORK, NY 10019


3.11      S & P GLOBAL MARKET                     VARIOUS                                  Trade                          $625
          55 WATER ST
          NEW YORK, NY 10041             ACCOUNT NO.: NOT AVAILABLE


3.12      SARD VERBINNEN & CO LLC                 VARIOUS                                  Trade                      $276,975
          630 THIRD AVE 9TH FL
          NEW YORK, NY 10017             ACCOUNT NO.: NOT AVAILABLE


3.13      THE BANK OF NEW YORK                    VARIOUS                                  Trade                          $961
          MELLON
          P.O. BOX 360528                ACCOUNT NO.: NOT AVAILABLE
          PITTSBURG, PA 15251-6528



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Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U        D   Basis For      Offset   Amount of Claim
Including Zip Code                             Account Number                              Claim

Trade Payables

                                                                                         Trade Payables Total:          $311,414




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PG&E Corporation                                                                               Case Number:     19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U        D   Basis For     Offset   Amount of Claim
Including Zip Code                             Account Number                              Claim

Intercompany

3.14   PACIFIC GAS AND ELECTRIC                  VARIOUS                                                            $40,946,369
       COMPANY
       77 BEALE STREET                  ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94105


3.15   PG&E CORPORATE SUPPORT                    VARIOUS                                                              $6,970,987
       SERVICES II, INC.
       77 BEALE STREET                  ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94105


3.16   PG&E CORPORATE SUPPORT                    VARIOUS                                                                   $538
       SERVICES, INC.
       77 BEALE STREET                  ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94105


                                                                                          Intercompany Total:       $47,917,894




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U        D   Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                              Claim

Litigation & Disputes

3.17   09215783 ENTERPRISE-RENT A                VARIOUS                                 Litigation             UNDETERMINED
       CAR
       PO BOX 843369                    ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.18   09215783 ENTERPRISE-RENT A                VARIOUS                                 Litigation             UNDETERMINED
       CAR
       PO BOX 843369                    ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.19   09215783 ENTERPRISE-RENT A                VARIOUS                                 Litigation             UNDETERMINED
       CAR
       PO BOX 843369                    ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.20   09215783 ENTERPRISE-RENT A                VARIOUS                                 Litigation             UNDETERMINED
       CAR
       PO BOX 843369                    ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.21   09215783 ENTERPRISE-RENT A                VARIOUS                                 Litigation             UNDETERMINED
       CAR
       PO BOX 843369                    ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.22   09215783 ENTERPRISE-RENT A                VARIOUS                                 Litigation             UNDETERMINED
       CAR
       PO BOX 843369                    ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.23   09215783 ENTERPRISE-RENT A                VARIOUS                                 Litigation             UNDETERMINED
       CAR
       PO BOX 843369                    ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.24   09215783 ENTERPRISE-RENT A                VARIOUS                                 Litigation             UNDETERMINED
       CAR
       PO BOX 843369                    ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.25   09215783 ENTERPRISE-RENT A                VARIOUS                                 Litigation             UNDETERMINED
       CAR
       PO BOX 843369                    ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.26   1101 HOWARD STREET                        VARIOUS                                 Litigation             UNDETERMINED
       APARTMENTS-VERDIYAN, ZOYA
       1101 HOWARD STREET               ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94103


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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U        D   Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                              Claim

Litigation & Disputes

3.27   172 PARKER AVENUE, LLC-                   VARIOUS                                 Litigation             UNDETERMINED
       KURZBARD, PHYLIS
       2343 39TH AVENUE                 ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94116


3.28   1730 S EL CAMINO REAL                     VARIOUS                                 Litigation             UNDETERMINED
       PARTNERS, LP-CHEUNG,
       QUEENIE                          ACCOUNT NO.: NOT AVAILABLE
       1730 S EL CAMINO REAL
       SUITE 450
       SAN MATEO, CA 94402


3.29   17TH STREET LAUNDERLAND-                  VARIOUS                                 Litigation             UNDETERMINED
       OH, SEUNG
       390 SANCHEZ STREET               ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94114


3.30   17TH STREET LAUNDERLAND-                  VARIOUS                                 Litigation             UNDETERMINED
       OH, STEVE
       390 SANCHEZ STREET               ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94114


3.31   18 GRAMS, LLC DBA                         VARIOUS                                 Litigation             UNDETERMINED
       FIFTY/FIFTY-PHAN, VAN
       3157 GEARY BLVD                  ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94118


3.32   1883 NEW LONG VALLEY RD-                  VARIOUS                                 Litigation             UNDETERMINED
       MCEWEN, CHRIS
       1883 NEW LONG VALLEY RD          ACCOUNT NO.: NOT AVAILABLE
       CLEARLAKE OAKS, CA 95423


3.33   1934-AIVAZIAN, TED                        VARIOUS                                 Litigation             UNDETERMINED
       34 SUTTER CT
       BAY POINT, CA 94565              ACCOUNT NO.: NOT AVAILABLE


3.34   1942-LAGALANTE, JUDITH                    VARIOUS                                 Litigation             UNDETERMINED
       21117 BRUSH RD.
       NONE                             ACCOUNT NO.: NOT AVAILABLE
       LOS GATOS, CA 95033


3.35   1942-SMITH, CALVIN                        VARIOUS                                 Litigation             UNDETERMINED
       8608 JADE CREST CT.
       ELK GROVE, CA 95624              ACCOUNT NO.: NOT AVAILABLE


3.36   1943-COMBS, ROY                           VARIOUS                                 Litigation             UNDETERMINED
       1200 PARK AVENUE, #245
       25                               ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95928


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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U        D   Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                              Claim

Litigation & Disputes

3.37   1945-OVERMAN, KEN                         VARIOUS                                 Litigation             UNDETERMINED
       2121 TERRY AVE #1502
       SEATTLE, CA 98121                ACCOUNT NO.: NOT AVAILABLE


3.38   1948-GREENE, BRENDAN                      VARIOUS                                 Litigation             UNDETERMINED
       611 NORTHERN AVE
       MILL VALLEY, CA 94941            ACCOUNT NO.: NOT AVAILABLE


3.39   1948-POKORNY, RICHARD                     VARIOUS                                 Litigation             UNDETERMINED
       2822 LAKESHORE BLVD
       LAKEPORT, CA 95453               ACCOUNT NO.: NOT AVAILABLE


3.40   1949-CHANG, SAMUEL                        VARIOUS                                 Litigation             UNDETERMINED
       758 PACHECO STREET
       SAN FRANCISCO, CA 94116          ACCOUNT NO.: NOT AVAILABLE


3.41   1949-MONTGOMERY, LINDA                    VARIOUS                                 Litigation             UNDETERMINED
       765 MARKET STREET
       34F                              ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94103


3.42   1950-STARK, GARY                          VARIOUS                                 Litigation             UNDETERMINED
       22171 NUBBIN LN
       PALO CEDRO, CA 96073             ACCOUNT NO.: NOT AVAILABLE


3.43   1952-AGNOLETTI, SUSAN                     VARIOUS                                 Litigation             UNDETERMINED
       3435 TAPER AVE
       SAN JOSE, CA 95124               ACCOUNT NO.: NOT AVAILABLE


3.44   1952-AUSTIN, KARLA                        VARIOUS                                 Litigation             UNDETERMINED
       2774 SPEARS ROAD
       EUREKA, CA 95503                 ACCOUNT NO.: NOT AVAILABLE


3.45   1952-SARNO, LORENE                        VARIOUS                                 Litigation             UNDETERMINED
       221 HILLCREST AVENUE
       MARINA, CA 93933                 ACCOUNT NO.: NOT AVAILABLE


3.46   1953-YOUNG, LYNNE                         VARIOUS                                 Litigation             UNDETERMINED
       38 PRINCE ROYAL PSGE
       CORTE MADERA, CA 94925           ACCOUNT NO.: NOT AVAILABLE


3.47   1954-BAUER, LAURIE                        VARIOUS                                 Litigation             UNDETERMINED
       208 SOLEDAD PLACE
       MONTEREY, CA 93940               ACCOUNT NO.: NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U        D   Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                              Claim

Litigation & Disputes

3.48   1954-DRISCOLL, JERRY                      VARIOUS                                 Litigation             UNDETERMINED
       725 SAN VINCENTE AVE
       SALINAS, CA 93901                ACCOUNT NO.: NOT AVAILABLE


3.49   1954-WANDER, THOMAS                       VARIOUS                                 Litigation             UNDETERMINED
       PO BOX 617
       DIABLO, CA 94528                 ACCOUNT NO.: NOT AVAILABLE


3.50   1956-JENG, RAY                            VARIOUS                                 Litigation             UNDETERMINED
       13495 BEAUMONT AVE
       SARATOGA, CA 95070               ACCOUNT NO.: NOT AVAILABLE


3.51   1956-NELSON, DANA                         VARIOUS                                 Litigation             UNDETERMINED
       79 CRAZY HORSE CANYON
       SALINAS, CA 93907                ACCOUNT NO.: NOT AVAILABLE


3.52   1957-LYNCH, WILLIAM                       VARIOUS                                 Litigation             UNDETERMINED
       17947 PESANTE RD
       SALINAS, CA 93907                ACCOUNT NO.: NOT AVAILABLE


3.53   1957-POLEGA, MICHAEL                      VARIOUS                                 Litigation             UNDETERMINED
       4044 PIER PT
       DISCOVERY BAY, CA 94505          ACCOUNT NO.: NOT AVAILABLE


3.54   1958-NAVEA, DINIA                         VARIOUS                                 Litigation             UNDETERMINED
       1620 ROCKINGHAM TER
       BRENTWOOD, CA 94513              ACCOUNT NO.: NOT AVAILABLE


3.55   1958-WELCH, CLAYTON                       VARIOUS                                 Litigation             UNDETERMINED
       3730 N LAKESHORE BLVD
       LOOMIS, CA 95650                 ACCOUNT NO.: NOT AVAILABLE


3.56   1959-CAMINADA, BRIAN                      VARIOUS                                 Litigation             UNDETERMINED
       10095 POMO PLACE
       GILROY, CA 95020                 ACCOUNT NO.: NOT AVAILABLE


3.57   1959-SARRAGOSSA, JEANNINE                 VARIOUS                                 Litigation             UNDETERMINED
       910 ASHWOOD CT
       PETALUMA, CA 94954               ACCOUNT NO.: NOT AVAILABLE


3.58   1960-BENSON, MELODY                       VARIOUS                                 Litigation             UNDETERMINED
       807 CARRION CIRCLE
       807                              ACCOUNT NO.: NOT AVAILABLE
       WINTERS, CA 95694




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Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U        D   Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                              Claim

Litigation & Disputes

3.59   1961-ANGLE, LAURA                         VARIOUS                                 Litigation             UNDETERMINED
       174 GRAND OAK DR
       OROVILLE, CA 95966               ACCOUNT NO.: NOT AVAILABLE


3.60   1961-DANIEL, IRENE                        VARIOUS                                 Litigation             UNDETERMINED
       972 RED GUM LN
       NIPOMO, CA 93444                 ACCOUNT NO.: NOT AVAILABLE


3.61   1961-DOBBS, LINDA                         VARIOUS                                 Litigation             UNDETERMINED
       1281 SIRAH CT.
       UKIAH, CA 95482                  ACCOUNT NO.: NOT AVAILABLE


3.62   1961-H, ROBERT                            VARIOUS                                 Litigation             UNDETERMINED
       15860 AVERY LANE
       PRUNEDALE, CA 93907              ACCOUNT NO.: NOT AVAILABLE


3.63   1961-LITTLE, JEFF                         VARIOUS                                 Litigation             UNDETERMINED
       36396 MARCIEL AVE
       MADERA, CA 93636                 ACCOUNT NO.: NOT AVAILABLE


3.64   1963-DUDLEY, ELIZABETH                    VARIOUS                                 Litigation             UNDETERMINED
       107 AMERICAN WAY
       VACAVILLE, CA 95687              ACCOUNT NO.: NOT AVAILABLE


3.65   1963-SALAZAR, JOANNE                      VARIOUS                                 Litigation             UNDETERMINED
       2184 PARKWOOD WAY
       SAN JOSE, CA 95125               ACCOUNT NO.: NOT AVAILABLE


3.66   1964-CONNER, ROBERT                       VARIOUS                                 Litigation             UNDETERMINED
       2500 CONCORD AVENUE
       BRENTWOOD, CA 94513              ACCOUNT NO.: NOT AVAILABLE


3.67   1964-PHELPS, LAURA                        VARIOUS                                 Litigation             UNDETERMINED
       317 OXFORD WAY
       SANTA CRUZ, CA 95060             ACCOUNT NO.: NOT AVAILABLE


3.68   1965-LESCOE, ROBERT                       VARIOUS                                 Litigation             UNDETERMINED
       1232 SUTTER STREET
       SAN FRANCISCO, CA 94109          ACCOUNT NO.: NOT AVAILABLE


3.69   1966-DAVIS, TED                           VARIOUS                                 Litigation             UNDETERMINED
       13760 LANCASTER ROAD
       NONE                             ACCOUNT NO.: NOT AVAILABLE
       OAKDALE, CA 95361




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   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address      Date Claim Was Incurred And       C U    D   Basis For    Offset   Amount of Claim
Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.70   1966-RODRIGUEZ, ROMULO                  VARIOUS                             Litigation             UNDETERMINED
       1266 ROSE AVE
       SELMA, CA 93662               ACCOUNT NO.: NOT AVAILABLE


3.71   1967-BETTENCOURT, NANCY                 VARIOUS                             Litigation             UNDETERMINED
       PO BOX,601
       LUCERNE, CA 95458             ACCOUNT NO.: NOT AVAILABLE


3.72   1967-DO, THAO                           VARIOUS                             Litigation             UNDETERMINED
       731 JENNY COURT
       SAN JOSE, CA 95138            ACCOUNT NO.: NOT AVAILABLE


3.73   1967-EVINGER, DAWN                      VARIOUS                             Litigation             UNDETERMINED
       540 JONES STREET
       303                           ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94102


3.74   1968-ARIAS, MARIA                       VARIOUS                             Litigation             UNDETERMINED
       302 EAST MOLTKE ST.
       SAME AS ABOVE                 ACCOUNT NO.: NOT AVAILABLE
       DALY CITY, CA 94014


3.75   1969-HEFTER, EDWARD                     VARIOUS                             Litigation             UNDETERMINED
       2648 SHADOW MOUNTAIN DRIVE
       SAN RAMON, CA 94583           ACCOUNT NO.: NOT AVAILABLE


3.76   1969-PENDLETON, ROCHELLE                VARIOUS                             Litigation             UNDETERMINED
       7026 CERRO CT
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


3.77   1970-STUBBLEFIELD, ANGELA               VARIOUS                             Litigation             UNDETERMINED
       336 FOLSOM DR.
       VACAVILLE, CA 95687           ACCOUNT NO.: NOT AVAILABLE


3.78   1971-VIETHS, KENNETH                    VARIOUS                             Litigation             UNDETERMINED
       196 BROWNWOOD LN
       OAKDALE, CA 95361             ACCOUNT NO.: NOT AVAILABLE


3.79   1973-LUU, WARREN                        VARIOUS                             Litigation             UNDETERMINED
       659 FREDERICK STREET
       SAN FRANCISCO, CA 94117       ACCOUNT NO.: NOT AVAILABLE


3.80   1973-SCIUTO, MONICA                     VARIOUS                             Litigation             UNDETERMINED
       174 CARMEL RIVIERA DRIVE
       CARMEL, CA 93923              ACCOUNT NO.: NOT AVAILABLE




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address      Date Claim Was Incurred And       C U    D   Basis For    Offset   Amount of Claim
Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.81   1974-FARMAN, FORREST                    VARIOUS                             Litigation             UNDETERMINED
       3330 CHISOM TRL
       LOOMIS, CA 95650              ACCOUNT NO.: NOT AVAILABLE


3.82   1974-SCHULTZ, EMILY                     VARIOUS                             Litigation             UNDETERMINED
       40 SUNNYSIDE LANE
       ORINDA, CA 94563              ACCOUNT NO.: NOT AVAILABLE


3.83   1975-SAKELLARIOU, KATHRYN               VARIOUS                             Litigation             UNDETERMINED
       1005 STIMEL DRIVE
       CONCORD, CA 94518             ACCOUNT NO.: NOT AVAILABLE


3.84   1976-ANDRADE, SEAN                      VARIOUS                             Litigation             UNDETERMINED
       2508 TEA TREE COURT
       MARTINEZ, CA 94553            ACCOUNT NO.: NOT AVAILABLE


3.85   1976-ASTORGA RUIZ, HILDA                VARIOUS                             Litigation             UNDETERMINED
       245 LA PALA DRIVE
       40                            ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95127


3.86   1978-JANISCH, KENNETH                   VARIOUS                             Litigation             UNDETERMINED
       15260 CHARTER OAK BLVD
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.87   1978-KOSHNICK, NICHOLAS                 VARIOUS                             Litigation             UNDETERMINED
       365 N. CALIFORNIA AVE
       PALO ALTO, CA 94301           ACCOUNT NO.: NOT AVAILABLE


3.88   1978-LEMOS, TIFFANY                     VARIOUS                             Litigation             UNDETERMINED
       5425 SPRING CIR
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.89   1978-MATTHEWS, PAMELA                   VARIOUS                             Litigation             UNDETERMINED
       6195 SHADY ACRES DR.
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.90   1979-VISWANATHAN, LALITHA               VARIOUS                             Litigation             UNDETERMINED
       1571 W EL CAMINO REAL
       60                            ACCOUNT NO.: NOT AVAILABLE
       MOUNTAIN VIEW, CA 94040


3.91   1979-VISWANATHAN, LALITHA               VARIOUS                             Litigation             UNDETERMINED
       1571 W EL CAMINO REAL
       60                            ACCOUNT NO.: NOT AVAILABLE
       MOUNTAIN VIEW, CA 94040




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Creditor's Name, Mailing Address        Date Claim Was Incurred And       C U    D   Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                           Claim

Litigation & Disputes

3.92    1980-CARROLL, KHEENA                     VARIOUS                             Litigation             UNDETERMINED
        6330 GARDENIA STREET
        1                              ACCOUNT NO.: NOT AVAILABLE
        PHILADELPHIA, CA 19144


3.93    1980-SISLIN, CAITLIN                     VARIOUS                             Litigation             UNDETERMINED
        8335 APPIAN WAY
        SEBASTOPOL, CA 95472           ACCOUNT NO.: NOT AVAILABLE


3.94    1981-SHANNON, DEREK AND                  VARIOUS                             Litigation             UNDETERMINED
        COURTNEY
        4833 ACCORD COURT              ACCOUNT NO.: NOT AVAILABLE
        SACRAMENTO, CA 95842


3.95    1982-ROBERTS, BRON                       VARIOUS                             Litigation             UNDETERMINED
        19555 TUNNEL DRIVE
        26                             ACCOUNT NO.: NOT AVAILABLE
        REDDING, CA 96003


3.96    1983-GAZITT, DANIELLE                    VARIOUS                             Litigation             UNDETERMINED
        1982 SCOTT STREET
        SAN FRANCISCO, CA 94115        ACCOUNT NO.: NOT AVAILABLE


3.97    1984-RONEN, GUY                          VARIOUS                             Litigation             UNDETERMINED
        122 CRESCENT CT
        122                            ACCOUNT NO.: NOT AVAILABLE
        BRISBANE, CA 94005


3.98    1985-KOENIG, KATY                        VARIOUS                             Litigation             UNDETERMINED
        1475 LINCOLN AVE.
        APT 2                          ACCOUNT NO.: NOT AVAILABLE
        BURLINGAME, CA 94010


3.99    1985-LONG, REBECCA                       VARIOUS                             Litigation             UNDETERMINED
        PO BOX 152
        ZAMORA, CA 95698               ACCOUNT NO.: NOT AVAILABLE


3.100   1987-CARROLL, MERISSA                    VARIOUS                             Litigation             UNDETERMINED
        3472 BIXBY RD
        COTTONWOOD, CA 96022           ACCOUNT NO.: NOT AVAILABLE


3.101   1987-TERRY, AMANDA                       VARIOUS                             Litigation             UNDETERMINED
        7920 SANDY HILL DR
        SALINAS, CA 93907              ACCOUNT NO.: NOT AVAILABLE


3.102   1987-WELLS, KATHERINE                    VARIOUS                             Litigation             UNDETERMINED
        216 MORRISSEY BLVD
        SANTA CRUZ, CA 95062           ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.103   1988-FELIX, KENOL JUNIOR                VARIOUS                             Litigation             UNDETERMINED
        1104 BAYWOOD DRIVE
        127                           ACCOUNT NO.: NOT AVAILABLE
        PETALUMA, CA 94954


3.104   1988-KIMBALL, ASHLEY                    VARIOUS                             Litigation             UNDETERMINED
        P.O. BOX 1598
        12482 FOOTHILL BLVD           ACCOUNT NO.: NOT AVAILABLE
        CLEARLAKE OAKS, CA 95423


3.105   1991-JASPERBATSON,                      VARIOUS                             Litigation             UNDETERMINED
        CHRISTIAN
        1035 SOUTH ST                 ACCOUNT NO.: NOT AVAILABLE
        REDDING, CA 96001


3.106   1991-MARACLE, KYNDRA                    VARIOUS                             Litigation             UNDETERMINED
        455 AVENUE A
        LAKEPORT, CA 95453            ACCOUNT NO.: NOT AVAILABLE


3.107   1994-HERNANDEZ, JULIANNA                VARIOUS                             Litigation             UNDETERMINED
        2905 RANCHO VISTA DR
        LURCERNE, CA 95458            ACCOUNT NO.: NOT AVAILABLE


3.108   2014-BARCLIFT, BROOK                    VARIOUS                             Litigation             UNDETERMINED
        316 CALIFORNIA ST
        #4                            ACCOUNT NO.: NOT AVAILABLE
        SALINAS, CA 93901


3.109   2020 ELLIS ST. HOA-MACHADO,             VARIOUS                             Litigation             UNDETERMINED
        JEFFERY
        2020 ELLIS ST.                ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94115


3.110   20TH ST ASSOCIATES - LAM,               VARIOUS                             Litigation             UNDETERMINED
        CHIU
        3130 20TH STREET              ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94110


3.111   21717 ALMADEN RD., SAN JOSE             VARIOUS                             Litigation             UNDETERMINED
        APPLICATION #11309801-
        MERSCHON, ADI                 ACCOUNT NO.: NOT AVAILABLE
        PO BOX 73
        NEW ALMADEN, CA 95042


3.112   2339 WARD ST/BERKELEY-                  VARIOUS                             Litigation             UNDETERMINED
        SHEHABI, FARROKH
        2633 LA HONDA AVE             ACCOUNT NO.: NOT AVAILABLE
        ELCERRITO, CA 94530



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Litigation & Disputes

3.113   256 NORTH SAN MATEO DRIVE                VARIOUS                             Litigation             UNDETERMINED
        COMPANY-ELLERHORST, TOM
        256 N SAN MATEO DR             ACCOUNT NO.: NOT AVAILABLE
        #1
        SAN MATEO, CA 94401


3.114   2595 MISSION STREET LLC-                 VARIOUS                             Litigation             UNDETERMINED
        BRENNAN, MARK
        50 EVERSON STREET              ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94131


3.115   2600 BASEMENT INC. DBA BLIND             VARIOUS                             Litigation             UNDETERMINED
        TIGER-LIANG, BENJAMIN
        2600 TELEGRAPH AVE             ACCOUNT NO.: NOT AVAILABLE
        STE B
        OAKLAND, CA 94612


3.116   29SC HAYWARD BERRY, LP-                  VARIOUS                             Litigation             UNDETERMINED
        PHIPPS, JULIEANN
        4080 CAMPBELL AVE.             ACCOUNT NO.: NOT AVAILABLE
        MENLO PARK, CA 94025


3.117   3 PYRAMIDS-IBRAHIM, SAMEH                VARIOUS                             Litigation             UNDETERMINED
        3509 CLAYTON RD.
        CONCORD, CA 94519              ACCOUNT NO.: NOT AVAILABLE


3.118   3 SEASONS THAI BISTRO-                   VARIOUS                             Litigation             UNDETERMINED
        PHAOTHONGSUK, SUTEERASA
        1506 LEIMERT BLVD              ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94602


3.119   31ST UNION (GOLDEN STATE                 VARIOUS                             Litigation             UNDETERMINED
        PARTNERS LLC), HUNSAKER,
        DAVID                          ACCOUNT NO.: NOT AVAILABLE
        810 CROSSWAY ROAD
        5 SOUTH ELLSWORTH AVE
        SAN MATEO, CA 94401


3.120   31ST UNION (GOLDEN STATE                 VARIOUS                             Litigation             UNDETERMINED
        PARTNERS LLC), HUNSAKER,
        DAVID                          ACCOUNT NO.: NOT AVAILABLE
        810 CROSSWAY ROAD
        5 SOUTH ELLSWORTH AVE
        SAN MATEO, CA 94401


3.121   3318 CALIFORNIA STREET HOA-              VARIOUS                             Litigation             UNDETERMINED
        BERCOVICH, DAVID
        473 PARKER AVE                 ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94118




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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.122   35TH AVE UNION 76 INC-THAI,             VARIOUS                             Litigation             UNDETERMINED
        KHAFOM
        3070 FRUITVALE AVE            ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94602


3.123   3622-BASTONI, ROBERT                    VARIOUS                             Litigation             UNDETERMINED
        6200 CHANNEL DR
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.124   4 G RANCH DUCK CLUB-                    VARIOUS                             Litigation             UNDETERMINED
        GRILLAT, RICHARD
        4740 VOGELSANG LANE           ACCOUNT NO.: NOT AVAILABLE
        PLACERVILLE, CA 95667


3.125   4 STARR AUTO PARK, RENEE                VARIOUS                             Litigation             UNDETERMINED
        SKIDMORE
        PO BOX 1321                   ACCOUNT NO.: NOT AVAILABLE
        16235 MAIN STREET
        LOWER LAKE, CA 95457


3.126   588 MISSOURI STRRET HOA-                VARIOUS                             Litigation             UNDETERMINED
        TRINH, DAVID
        588 MISSOURI ST               ACCOUNT NO.: NOT AVAILABLE
        B
        SAN FRANCISCO, CA 94107


3.127   600 MISSOURI ST.                        VARIOUS                             Litigation             UNDETERMINED
        HOUSEMETER-YANG, AUSTIN
        600A MISSOURI ST              ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94107


3.128   7 MILE HOUSE-GARCIA,                    VARIOUS                             Litigation             UNDETERMINED
        VANESSA
        2800 BAYSHORE BLVD.           ACCOUNT NO.: NOT AVAILABLE
        BRISBANE, CA 94005


3.129   72 HOUR LLC DBA CHEVROLET               VARIOUS                             Litigation             UNDETERMINED
        OF WATSONVILLE, CHEVROLET
        OF WATSONVILLE                ACCOUNT NO.: NOT AVAILABLE
        490 AUTO CENTER DR
        WATSONVILLE, CA 95076


3.130   72876834-QUINTANA, CLAUDIA              VARIOUS                             Litigation             UNDETERMINED
        1811 PRIMROSE LANE
        PINOLE, CA 94564              ACCOUNT NO.: NOT AVAILABLE


3.131   76 EL CERRITO GAS STATION-              VARIOUS                             Litigation             UNDETERMINED
        BEGUM, BUSHRA
        3160 CARLSON BLVD             ACCOUNT NO.: NOT AVAILABLE
        EL CERRITO, CA 94530

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Litigation & Disputes

3.132   782 BERRYESSA RENTAL-CHAI,              VARIOUS                             Litigation             UNDETERMINED
        TEN
        1588 DAPHNE DR.,              ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95129


3.133   7ELEVEN-CHAHAL, RAVI                    VARIOUS                             Litigation             UNDETERMINED
        701 S . ELM ST
        ARROYO GRANDE, CA 93420       ACCOUNT NO.: NOT AVAILABLE


3.134   834 7TH AVE CROCKETT,CA-                VARIOUS                             Litigation             UNDETERMINED
        ALVARADO, DOMINIC
        834 7TH AVE                   ACCOUNT NO.: NOT AVAILABLE
        CROCKETT, CA 94525


3.135   834-DRAKE, JOSHUA                       VARIOUS                             Litigation             UNDETERMINED
        12127 SHAVER LN
        REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.136   858 GLOW SKIN CARE-SIKES,               VARIOUS                             Litigation             UNDETERMINED
        LEAH
        858 SECOND STREET             ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95404


3.137   8TH AVENUE ROAD FUND-                   VARIOUS                             Litigation             UNDETERMINED
        GOUCHER, JUDY
        PO BOX 863                    ACCOUNT NO.: NOT AVAILABLE
        TRINIDAD, CA 95570


3.138   901 E STREET, LLC-HUNT,                 VARIOUS                             Litigation             UNDETERMINED
        MARSHALL
        PO BOX 314                    ACCOUNT NO.: NOT AVAILABLE
        BELVEDERE, CA 94920


3.139   902 FULTON MALL, LLC-PAK,               VARIOUS                             Litigation             UNDETERMINED
        SHARI
        1459 NORTH OCCIDENTAL BLVD    ACCOUNT NO.: NOT AVAILABLE
        LA, CA 90026


3.140   906 VILLA LLC-DIAMOND, LEE              VARIOUS                             Litigation             UNDETERMINED
        P.O. BOX 460484
        SAN FRANCISCO, CA 94146       ACCOUNT NO.: NOT AVAILABLE


3.141   980 COVINGTON LLC - NGUYEN,             VARIOUS                             Litigation             UNDETERMINED
        HIEP
        496 FIRST ST, #200            ACCOUNT NO.: NOT AVAILABLE
        LOS ALTOS, CA 94022




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Litigation & Disputes

3.142   A & D CHEVRON GROUP LLC-                VARIOUS                             Litigation             UNDETERMINED
        KHAHERA, AVTAR
        99 PLACERVILLE DRIVE          ACCOUNT NO.: NOT AVAILABLE
        PLACERVILLE, CA 95667


3.143   A & O SPECIALTY PHARMACY-               VARIOUS                             Litigation             UNDETERMINED
        GONZALES, AARON
        26 S FILICE ST                ACCOUNT NO.: NOT AVAILABLE
        SALINAS, CA 93901


3.144   A & R BODY SHOP-RAMIREZ,                VARIOUS                             Litigation             UNDETERMINED
        SAMUEL
        608 WIBLE RD                  ACCOUNT NO.: NOT AVAILABLE
        BAKERSFIELD, CA 93307


3.145   A SAMBADO & SON INC,                    VARIOUS                             Litigation             UNDETERMINED
        LAWRENCE SAMBADO
        PO BOX 461                    ACCOUNT NO.: NOT AVAILABLE
        .4MI W/O DUNCAN 1/2MI
        LINDEN, CA 95236


3.146   A SEDGWICK COMPANY                      VARIOUS                             Litigation             UNDETERMINED
        VERICLAIM
        2281 LAVA RIDGE CT, STE 360   ACCOUNT NO.: NOT AVAILABLE
        ROSEVILLE, CA 95661


3.147   A SIMPLE SOLUTION-JAROSZEK              VARIOUS                             Litigation             UNDETERMINED
        JR, TOM
        1744 G ST.                    ACCOUNT NO.: NOT AVAILABLE
        STE G
        MERCED, CA 95340


3.148   A&S SQUAB-JAMISON, ALLEN                VARIOUS                             Litigation             UNDETERMINED
        7051 PATTERSON ROAD
        OAKDALE, CA 95361             ACCOUNT NO.: NOT AVAILABLE


3.149   A. ART KASLOW, DDS-KASLOW,              VARIOUS                             Litigation             UNDETERMINED
        ART
        795 ALAMO PINTADO RD          ACCOUNT NO.: NOT AVAILABLE
        SOLVANG, CA 93463


3.150   A. TEICHERT & SON, INC.-                VARIOUS                             Litigation             UNDETERMINED
        MCCLINTOCK, CASEY
        2281 LAVA RIDGE CT            ACCOUNT NO.: NOT AVAILABLE
        360
        ROSEVILLE, CA 95662




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Litigation & Disputes

3.151   A/S/O ATTILLA DANKU,                     VARIOUS                             Litigation             UNDETERMINED
        FARMER'S INSURANCE
        P.O. BOX 268992                ACCOUNT NO.: NOT AVAILABLE
        OKLAHOMA CITY, CA 73126-8992


3.152   A/S/O FRED VALLE,                        VARIOUS                             Litigation             UNDETERMINED
        PROGRESSIVE INSURANCE
        P.O. BOX 512929                ACCOUNT NO.: NOT AVAILABLE
        LOS ANGELES, CA 90051-0929


3.153   A/S/O JASON MARTIN,                      VARIOUS                             Litigation             UNDETERMINED
        MERCURY INS. CO
        PO BOX 10730                   ACCOUNT NO.: NOT AVAILABLE
        SANTA ANA, CA 92711


3.154   A/S/O NANETTE BOSWORTH,                  VARIOUS                             Litigation             UNDETERMINED
        LIBERTY MUTUAL
        P.O. BOX 515097                ACCOUNT NO.: NOT AVAILABLE
        LOS ANGELES, CA 90051-5097


3.155   A1 FOOD STORE, SINGH                     VARIOUS                             Litigation             UNDETERMINED
        HARBANS
        75 COOMBS ST                   ACCOUNT NO.: NOT AVAILABLE
        NAPA, CA 94559


3.156   AAA                                      VARIOUS                             Litigation             UNDETERMINED
        PO BOX 24523
        OAKLAND, CA 94623              ACCOUNT NO.: NOT AVAILABLE


3.157   AAA                                      VARIOUS                             Litigation             UNDETERMINED
        PO BOX 24523
        OAKLAND, CA 94623              ACCOUNT NO.: NOT AVAILABLE


3.158   AAA /VAN HAGEN                           VARIOUS                             Litigation             UNDETERMINED
        PO BOX 24523
        OAKLAND, CA 94623              ACCOUNT NO.: NOT AVAILABLE


3.159   AAA CLAIMS ASO C.                        VARIOUS                             Litigation             UNDETERMINED
        HENDERSON, AAA CLAIMS
        PO BOX 24523                   ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94623


3.160   AAA CLAIMS ASO C.                        VARIOUS                             Litigation             UNDETERMINED
        HENDERSON, AAA CLAIMS
        PO BOX 24523                   ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94623




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Litigation & Disputes

3.161   AAA INSURANCE                            VARIOUS                             Litigation             UNDETERMINED
        P.O. BOX 24523
        OAKLAND, CA 94623-9839         ACCOUNT NO.: NOT AVAILABLE


3.162   AAA INSURANCE                            VARIOUS                             Litigation             UNDETERMINED
        P.O. BOX 24523
        OAKLAND, CA 94623-1523         ACCOUNT NO.: NOT AVAILABLE


3.163   AAA INSURANCE - LI LING, HUI             VARIOUS                             Litigation             UNDETERMINED
        PO BOX 24523
        OAKLAND, CA 94623              ACCOUNT NO.: NOT AVAILABLE


3.164   AAA INSURANCE OAKLAND,                   VARIOUS                             Litigation             UNDETERMINED
        VAUGHN WOODBERRY -
        CLAIMANT                       ACCOUNT NO.: NOT AVAILABLE
        PO BOX 24523
        OAKLAND, CA 94623


3.165   AAA INSURANCE OAKLAND,                   VARIOUS                             Litigation             UNDETERMINED
        VAUGHN WOODBERRY -
        CLAIMANT                       ACCOUNT NO.: NOT AVAILABLE
        PO BOX 24523
        OAKLAND, CA 94623


3.166   AAA INSURANCE - RAZVI, SYED              VARIOUS                             Litigation             UNDETERMINED
        BASIT
        16784 ROAD 30 1/2              ACCOUNT NO.: NOT AVAILABLE
        MADERA, CA 93636


3.167   AAA INSURANCE, LAURIE                    VARIOUS                             Litigation             UNDETERMINED
        GLORIA
        PO BOX 24523                   ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94623


3.168   AAA INSURANCE, SHANISTY                  VARIOUS                             Litigation             UNDETERMINED
        WHITTINGTON
        PO BOX 24523                   ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94623


3.169   AAA INSURANCE-AGNES                      VARIOUS                             Litigation             UNDETERMINED
        BOJORQUES
        P.O. BOX 24523, OAKLAND, CA.   ACCOUNT NO.: NOT AVAILABLE
        94623
        710 CASSELMAN DR
        WEST SACRAMENTO, CA 95605-
        2408




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Litigation & Disputes

3.170   AAA INSURANCE-BANKS,                     VARIOUS                             Litigation             UNDETERMINED
        NECOLE
        PO BOX 24523                   ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94623


3.171   AAA INSURANCE-COHN, TAMAR                VARIOUS                             Litigation             UNDETERMINED
        395 QUITEWOOD DR
        SAN RAFAEL, CA 94903           ACCOUNT NO.: NOT AVAILABLE


3.172   AAA, ATTN: JILLIAN WENDTLAND             VARIOUS                             Litigation             UNDETERMINED
        P.O. BOX 24523
        OAKLAND, CA 94626              ACCOUNT NO.: NOT AVAILABLE


3.173   AAA, CSAA INSURANCE                      VARIOUS                             Litigation             UNDETERMINED
        EXCHANGE
        PO BOX 24523                   ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94623-1523


3.174   AAA, JACOB RYAN PONCE                    VARIOUS                             Litigation             UNDETERMINED
        9820 GIBSON LANE
        POTTER VALLEY, CA 95469        ACCOUNT NO.: NOT AVAILABLE


3.175   AAA, LISA RIZZO                          VARIOUS                             Litigation             UNDETERMINED
        P.O. BOX 24523
        OAKLAND, CA 94623              ACCOUNT NO.: NOT AVAILABLE


3.176   AAA, NOEL ROSS                           VARIOUS                             Litigation             UNDETERMINED
        PO BOX 24523
        OAKLAND, CA                    ACCOUNT NO.: NOT AVAILABLE


3.177   AAA, NOEL ROSS                           VARIOUS                             Litigation             UNDETERMINED
        PO BOX 24523
        OAKLAND, CA                    ACCOUNT NO.: NOT AVAILABLE


3.178   AAA, SARAH                               VARIOUS                             Litigation             UNDETERMINED
        PO BOX 24523
        OAKLAND, CA 94623              ACCOUNT NO.: NOT AVAILABLE


3.179   AAA, SHARON GARRETT                      VARIOUS                             Litigation             UNDETERMINED
        PO BOX 91839
        LONG BEACH, CA 91839           ACCOUNT NO.: NOT AVAILABLE


3.180   AAA-BUSH, KRISTIN                        VARIOUS                             Litigation             UNDETERMINED
        PO BOX 24523
        OAKLAND, CA 94623              ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.181   AAA-CERNA, LUPE                         VARIOUS                             Litigation             UNDETERMINED
        PO BOX 24523
        OAKLAND, CA 94623             ACCOUNT NO.: NOT AVAILABLE


3.182   AARNOLD, COLLEN                         VARIOUS                             Litigation             UNDETERMINED
        787 SAINT FRANCIS AVE
        NOVATO, CA 94947              ACCOUNT NO.: NOT AVAILABLE


3.183   AARON MARIN                             VARIOUS                             Litigation             UNDETERMINED
        MARY ALEXANDER, BRENDAN
        WAY, CATALINA MUNOZ           ACCOUNT NO.: NOT AVAILABLE
        44 MONTGOMERY STREET
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.184   AARON MARIN                             VARIOUS                             Litigation             UNDETERMINED
        CHRISTOPHER AUMAIS,
        ASHKAHN MOHAMADI, KELLY       ACCOUNT NO.: NOT AVAILABLE
        WINTER
        1129 WILSHIRE BLVD.
        LOS ANGELES, CA 90017


3.185   AARON, ALI                              VARIOUS                             Litigation             UNDETERMINED
        1148 LOKOYA ROAD
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.186   ABALOS, VICTOR                          VARIOUS                             Litigation             UNDETERMINED
        4010 CARRACCI LANE
        SAN JOSE, CA 95135            ACCOUNT NO.: NOT AVAILABLE


3.187   ABAN, MICHAEL                           VARIOUS                             Litigation             UNDETERMINED
        1606 STARLITE DR
        MILPITAS, CA 95035            ACCOUNT NO.: NOT AVAILABLE


3.188   ABASTA, LUISITO                         VARIOUS                             Litigation             UNDETERMINED
        1657 WESTMOOR ROAD
        BURLINGAME, CA 94010          ACCOUNT NO.: NOT AVAILABLE


3.189   ABAYACHI, ALI                           VARIOUS                             Litigation             UNDETERMINED
        50 EDGEMAR STREET
        DALY CITY, CA 94014           ACCOUNT NO.: NOT AVAILABLE


3.190   ABBANAT, BRIAN                          VARIOUS                             Litigation             UNDETERMINED
        1500 CYPRESS LANE
        DAVIS, CA 95616               ACCOUNT NO.: NOT AVAILABLE


3.191   ABBAS, ABBAS                            VARIOUS                             Litigation             UNDETERMINED
        1676 DARWIN STREET
        SEASIDE, CA 93955             ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.192   ABBEY, MOLLY                             VARIOUS                             Litigation             UNDETERMINED
        P O BOX 87
        OAK RUN, CA 96069              ACCOUNT NO.: NOT AVAILABLE


3.193   ABBOTT, RICHARD                          VARIOUS                             Litigation             UNDETERMINED
        7705 FALLEN LEAF LANE
        SALINAS, CA 93907              ACCOUNT NO.: NOT AVAILABLE


3.194   ABE, MELISSA                             VARIOUS                             Litigation             UNDETERMINED
        4907 HARMONY WAY
        SAN JOSE, CA 95130             ACCOUNT NO.: NOT AVAILABLE


3.195   ABEC BIDART-OLD RIVER LLC, N             VARIOUS                             Litigation             UNDETERMINED
        ROSS BUCKENHAM
        2828 ROUTH STREET STE. 500     ACCOUNT NO.: NOT AVAILABLE
        DALLAS, TX 75201
        20400 OLD RIVER ROAD
        BAKERSFIELD, CA 93311


3.196   ABEL, SUZANNE                            VARIOUS                             Litigation             UNDETERMINED
        PO BOX 545
        8990 A FAIRWAY DRIVE           ACCOUNT NO.: NOT AVAILABLE
        KELSEYVILLE, CA 95457


3.197   ABELLANA, EMMA                           VARIOUS                             Litigation             UNDETERMINED
        151 GOODWIN DR
        SAN BRUNO, CA 94066            ACCOUNT NO.: NOT AVAILABLE


3.198   ABERCROMBIE, MATT & PAT                  VARIOUS                             Litigation             UNDETERMINED
        16110 W AMERICAN
        KERMAN, CA 93630               ACCOUNT NO.: NOT AVAILABLE


3.199   ABERNATHY, JUDY                          VARIOUS                             Litigation             UNDETERMINED
        10625 FORBESTOWN RD
        FORBESTOWN, CA 95941           ACCOUNT NO.: NOT AVAILABLE


3.200   ABM ELECTIRCAL POWER                     VARIOUS                             Litigation             UNDETERMINED
        SERVICES-ALLEN, KATIE
        152 TECHNOLOGY DRIVE           ACCOUNT NO.: NOT AVAILABLE
        IRVINE, CA 92618


3.201   ABNEY, MICHAEL                           VARIOUS                             Litigation             UNDETERMINED
        2105 PARK AVE
        SAN JOSE, CA 95126             ACCOUNT NO.: NOT AVAILABLE


3.202   ABRAHAM, JEAN                            VARIOUS                             Litigation             UNDETERMINED
        25664 CREEKVIEW COURT
        SALINAS, CA 93908              ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.203   ABRAM, LAWRENCE                         VARIOUS                             Litigation             UNDETERMINED
        PO BOX A
        GONZALES, CA 93926            ACCOUNT NO.: NOT AVAILABLE


3.204   ABRAM, LORI                             VARIOUS                             Litigation             UNDETERMINED
        PO BOX A
        GONZALES, CA 93926            ACCOUNT NO.: NOT AVAILABLE


3.205   ABRAM, LORI                             VARIOUS                             Litigation             UNDETERMINED
        PO BOX A
        GONZALES, CA 93926            ACCOUNT NO.: NOT AVAILABLE


3.206   ABRAMS, LAWRENCE                        VARIOUS                             Litigation             UNDETERMINED
        PO BOX 1285
        WATSONVILLE, CA 95077         ACCOUNT NO.: NOT AVAILABLE


3.207   ABRASIVE CONCEPTS, INC, TIM             VARIOUS                             Litigation             UNDETERMINED
        BOCKMAN
        PO BOX 12551                  ACCOUNT NO.: NOT AVAILABLE
        2700 Q STREET
        BAKERSFIELD, CA 93301


3.208   ABREGO, JESUS                           VARIOUS                             Litigation             UNDETERMINED
        302 E. BEACH ST
        WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.209   ABSOLUTE LEGAL DOCUMENT                 VARIOUS                             Litigation             UNDETERMINED
        PREP GROUP-GILL, AMBERJEET
        1960 ERICKSON CIRCLE          ACCOUNT NO.: NOT AVAILABLE
        STOCKTON, CA 95206


3.210   ABTAHI BALAS, ATTOSA                    VARIOUS                             Litigation             UNDETERMINED
        17080 WILSON WAY
        ROYAL OAKS, CA 95076          ACCOUNT NO.: NOT AVAILABLE


3.211   ABUNTO, MARIA                           VARIOUS                             Litigation             UNDETERMINED
        67 PARKWOOD DRIVE
        DALY CITY, CA 94015           ACCOUNT NO.: NOT AVAILABLE


3.212   ABUSHABAN, MOHAMED                      VARIOUS                             Litigation             UNDETERMINED
        6257 GRAND OAK WAY
        SAN JOSE, CA 95135            ACCOUNT NO.: NOT AVAILABLE


3.213   ABVSF LLC-REICHBORN, ERIK               VARIOUS                             Litigation             UNDETERMINED
        3174 16TH STREET
        SAN FRANCISCO, CA 94103       ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.214   ACB CN 201512 0J 0072 KLE,              VARIOUS                             Litigation             UNDETERMINED
        AT&T
        909 CHESTNUT ST               ACCOUNT NO.: NOT AVAILABLE
        ROOM 39-N-13
        ST. LOUIS, CA 63101-3099


3.215   ACCOUNTING, BUSINESS                    VARIOUS                             Litigation             UNDETERMINED
        SERVICES & TAXES, INC.-
        SCHWARTZ, DAVID               ACCOUNT NO.: NOT AVAILABLE
        PO BOX 682
        CAPITOLA, CA 95010


3.216   ACCT# IS 37335702389-                   VARIOUS                             Litigation             UNDETERMINED
        WARTHEMANN, TOBY
        216 MT. HERMON RD STE #       ACCOUNT NO.: NOT AVAILABLE
        333
        SCOTTS VALLEY, CA 95066


3.217   ACEVEDO, HERLINDA                       VARIOUS                             Litigation             UNDETERMINED
        1791 WILLOW STREET
        SAN JOSE, CA 95125            ACCOUNT NO.: NOT AVAILABLE


3.218   ACEVEDO, MARIA                          VARIOUS                             Litigation             UNDETERMINED
        629 N. MILDRED AVENUE
        KING CITY, CA 93930           ACCOUNT NO.: NOT AVAILABLE


3.219   ACEVES, MARIA GUADALUPE                 VARIOUS                             Litigation             UNDETERMINED
        862 SAN MIGUEL CANYON RD
        WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.220   ACHACH, ROSA                            VARIOUS                             Litigation             UNDETERMINED
        1600 ASTER DR
        APT 42                        ACCOUNT NO.: NOT AVAILABLE
        ANTIOCH, CA 94509


3.221   ACITO, LUCILLE                          VARIOUS                             Litigation             UNDETERMINED
        2311 SAND POINT CT.
        DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.222   ACKERMAN, SAM                           VARIOUS                             Litigation             UNDETERMINED
        14961 S. UNION AVE
        BAKERSFIELD, CA 93307         ACCOUNT NO.: NOT AVAILABLE


3.223   ACME PRESS INC-TAHERIPOUR,              VARIOUS                             Litigation             UNDETERMINED
        MARDJAN
        2312 STANWELL DR              ACCOUNT NO.: NOT AVAILABLE
        CONCORD, CA 94520




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.224   ACOSTA & DAUGHTERS LLC-                VARIOUS                             Litigation             UNDETERMINED
        ACOSTA, CLIFF
        3812 GREEN JADE CT           ACCOUNT NO.: NOT AVAILABLE
        MODESTO, CA 95355


3.225   ACOSTA, JAMES                          VARIOUS                             Litigation             UNDETERMINED
        18130 BOURBON STREET
        JACKSON, CA 95642            ACCOUNT NO.: NOT AVAILABLE


3.226   ACOSTA, TIFFANY                        VARIOUS                             Litigation             UNDETERMINED
        351 ROCKWOOD DR.
        SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
        94080


3.227   ACREE, DARLENE                         VARIOUS                             Litigation             UNDETERMINED
        2722 LEXINGTON AVE
        MERCED, CA 95340             ACCOUNT NO.: NOT AVAILABLE


3.228   ACREY, KENNETH                         VARIOUS                             Litigation             UNDETERMINED
        P.O. BOX 900
        NICE, CA 95464               ACCOUNT NO.: NOT AVAILABLE


3.229   ACRI, GEORGE OR EDNA                   VARIOUS                             Litigation             UNDETERMINED
        1220 MAXWELL LANE
        REDWOOD CITY, CA 94062       ACCOUNT NO.: NOT AVAILABLE


3.230   ADAM KENNON                            VARIOUS                             Litigation             UNDETERMINED
        MARY ALEXANDER, BRENDAN
        WAY, CATALINA MUNOZ          ACCOUNT NO.: NOT AVAILABLE
        44 MONTGOMERY STREET
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.231   ADAM KENNON                            VARIOUS                             Litigation             UNDETERMINED
        BOBBY THOMPSON
        726 AIRPORT BLVD             ACCOUNT NO.: NOT AVAILABLE
        SUITE 186
        BURLINGAME, CA 94010


3.232   ADAMEE, MONICA                         VARIOUS                             Litigation             UNDETERMINED
        3466 SAGINAW AVE
        CLOVIS, CA 93619             ACCOUNT NO.: NOT AVAILABLE


3.233   ADAMS, ANTHONY                         VARIOUS                             Litigation             UNDETERMINED
        360 HIAWATHA RD
        BOULDER CREEK, CA 95006      ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.234   ADAMS, ARHEA                            VARIOUS                             Litigation             UNDETERMINED
        27366 SAUNDERS RD
        MADERA, CA 93637              ACCOUNT NO.: NOT AVAILABLE


3.235   ADAMS, BETTY                            VARIOUS                             Litigation             UNDETERMINED
        2247 COVE COURT
        DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.236   ADAMS, CARRIE                           VARIOUS                             Litigation             UNDETERMINED
        10337 MOUNTAIN LION LANE
        GRASS VALLEY, CA 95949        ACCOUNT NO.: NOT AVAILABLE


3.237   ADAMS, KRISTINA                         VARIOUS                             Litigation             UNDETERMINED
        14612 BASS DR.
        REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.238   ADAMS, LARRY                            VARIOUS                             Litigation             UNDETERMINED
        347 W MADILL ST
        ANTIOCH, CA 94509             ACCOUNT NO.: NOT AVAILABLE


3.239   ADAMS, LAURENCE                         VARIOUS                             Litigation             UNDETERMINED
        P.O. BOX 1704
        LUCERNE, CA 95458             ACCOUNT NO.: NOT AVAILABLE


3.240   ADAMS, LYN                              VARIOUS                             Litigation             UNDETERMINED
        8065 CHESTNUT CT.
        GRANITE BAY, CA 95746         ACCOUNT NO.: NOT AVAILABLE


3.241   ADAMS, MARJORIE                         VARIOUS                             Litigation             UNDETERMINED
        889 6TH STREET
        ARCATA, CA 95521              ACCOUNT NO.: NOT AVAILABLE


3.242   ADAMS, RACHEL                           VARIOUS                             Litigation             UNDETERMINED
        P.O. BOX 831
        WINDSOR, CA 95492             ACCOUNT NO.: NOT AVAILABLE


3.243   ADAMS, RICHARD                          VARIOUS                             Litigation             UNDETERMINED
        16661 S FOWLER AVENUE
        SELMA, CA 93662               ACCOUNT NO.: NOT AVAILABLE


3.244   ADAMS, ROBERT                           VARIOUS                             Litigation             UNDETERMINED
        11438 INVERNESS WAY
        AUBURN, CA 95602              ACCOUNT NO.: NOT AVAILABLE


3.245   ADAMS, ROBIN                            VARIOUS                             Litigation             UNDETERMINED
        2247 COVE CT
        DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.246   ADAMS, RONALD                           VARIOUS                             Litigation             UNDETERMINED
        PO BOX 383
        488 FAMILY CIRCLE             ACCOUNT NO.: NOT AVAILABLE
        SAN ANDREAS, CA 95249


3.247   ADAMS, RUSSELL                          VARIOUS                             Litigation             UNDETERMINED
        2730 LAS AROMAS
        OAKLAND, CA 94611             ACCOUNT NO.: NOT AVAILABLE


3.248   ADAMS, SETH                             VARIOUS                             Litigation             UNDETERMINED
        PO BOX 4801
        ARCATA, CA 95518              ACCOUNT NO.: NOT AVAILABLE


3.249   ADAMSON, RITA                           VARIOUS                             Litigation             UNDETERMINED
        404 DENTON WAY
        SANTA ROSA, CA 95401          ACCOUNT NO.: NOT AVAILABLE


3.250   ADCOCK, ADAM                            VARIOUS                             Litigation             UNDETERMINED
        3725 KELLOGG CREEK RD
        BYRON, CA 94514               ACCOUNT NO.: NOT AVAILABLE


3.251   ADEDEJI-WATSON, KWESI                   VARIOUS                             Litigation             UNDETERMINED
        247 RUBY AVE
        RICHMOND, CA 94801            ACCOUNT NO.: NOT AVAILABLE


3.252   ADELEKAN, KELLY                         VARIOUS                             Litigation             UNDETERMINED
        2028 SULTANA DRIVE
        PETALUMA, CA 94954            ACCOUNT NO.: NOT AVAILABLE


3.253   ADELUS, JOHN                            VARIOUS                             Litigation             UNDETERMINED
        15210 OLD RANCH RD
        LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.254   ADITAJS, MARA                           VARIOUS                             Litigation             UNDETERMINED
        1329 CHECTNUT LANE
        DAVIS, CA 95616               ACCOUNT NO.: NOT AVAILABLE


3.255   ADKINS, CYNTHIA                         VARIOUS                             Litigation             UNDETERMINED
        7630 MORNINGSIDE DRIVE
        GRANITE BAY, CA 95746         ACCOUNT NO.: NOT AVAILABLE


3.256   ADL 5, LLC-ARON, NAVNEET                VARIOUS                             Litigation             UNDETERMINED
        655 CASTRO ST.
         STE 8                        ACCOUNT NO.: NOT AVAILABLE
        MOUNTAIN VIEW, CA 94041




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Litigation & Disputes

3.257   ADLER, HEATHER                           VARIOUS                             Litigation             UNDETERMINED
        2467 ABERDEEN LANE
        DISCOVERY BAY, CA 94505        ACCOUNT NO.: NOT AVAILABLE


3.258   ADMIRAL, KIMBERLY                        VARIOUS                             Litigation             UNDETERMINED
        6890 FLOYD WAY
        NICE, CA 95464                 ACCOUNT NO.: NOT AVAILABLE


3.259   ADOBE CREEK ORCHARDS,                    VARIOUS                             Litigation             UNDETERMINED
        KENNETH BARR
        PO BOX 946                     ACCOUNT NO.: NOT AVAILABLE
        40 MENDENHALL AVENUE,
        UPPER LAKE
        KELSEYVILLE, CA 95451


3.260   ADOBE INN, LLC, ENGDAHL KEN              VARIOUS                             Litigation             UNDETERMINED
        ADOBE INN / DELORES AND TH
        CARMEL, CA                     ACCOUNT NO.: NOT AVAILABLE


3.261   ADRIAANSZ, MARY                          VARIOUS                             Litigation             UNDETERMINED
        125 LORI LANE
        APTOS, CA 95003                ACCOUNT NO.: NOT AVAILABLE


3.262   ADRIANNE GOMEZ DAY CARE-                 VARIOUS                             Litigation             UNDETERMINED
        GOMEZ, JOSE
        1999 N PATTERSON RD            ACCOUNT NO.: NOT AVAILABLE
        STOCKTON, CA 95215


3.263   ADVANCED ELECTRIC-                       VARIOUS                             Litigation             UNDETERMINED
        MARIDON, RUSSEL
        180 LAKEVIEW                   ACCOUNT NO.: NOT AVAILABLE
        WATSONVILLE, CA 95076


3.264   ADVANCED LOGICAL DESIGN,                 VARIOUS                             Litigation             UNDETERMINED
        INC.-KEENAN, JOHN
        22215 MT. EDEN RD              ACCOUNT NO.: NOT AVAILABLE
        SARATOGA, CA 95070, CA 95070


3.265   ADVANCED POOL COATINGS-                  VARIOUS                             Litigation             UNDETERMINED
        WALTER, DAVE
        6141 ANGELO COURT              ACCOUNT NO.: NOT AVAILABLE
        LOOMIS, CA 95650


3.266   ADVANTAGE CARPET CARE                    VARIOUS                             Litigation             UNDETERMINED
        AND BUILDING MAINTENANCE-
        MOSER JR., RAY                 ACCOUNT NO.: NOT AVAILABLE
        3000 COLLEGE DRIVE
        SAN BRUNO, CA 94066



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Litigation & Disputes

3.267   ADVANTAGE METAL                         VARIOUS                             Litigation             UNDETERMINED
        PRODUCTS, INC-LEVAN, LISA
        7855 SOUTHFRONT ROAD          ACCOUNT NO.: NOT AVAILABLE
        LIVERMORE, CA 94551


3.268   ADVANTECH CORPORATION-                  VARIOUS                             Litigation             UNDETERMINED
        ZHENG, SNOW
        380 FAIRVIEW WAY              ACCOUNT NO.: NOT AVAILABLE
        MILPITAS, CA 95035


3.269   ADVERSALO, DONALD                       VARIOUS                             Litigation             UNDETERMINED
        9262 TAVERN RD.
        I-5 SOUTH JUST AFTER LAGUNA   ACCOUNT NO.: NOT AVAILABLE
        BLVD.
        WILTON, CA 95693


3.270   AESTHETIC DERMATOLOGY                   VARIOUS                             Litigation             UNDETERMINED
        535 MILLER AVENUE
        MILL VALLEY, CA 94920         ACCOUNT NO.: NOT AVAILABLE


3.271   AFA CLAIM SERVICES, PACIFIC             VARIOUS                             Litigation             UNDETERMINED
        PIONEER INSURANCE
        PO BOX 25329                  ACCOUNT NO.: NOT AVAILABLE
        CA 90703


3.272   AFFENTRANGER & SONS DAIRY               VARIOUS                             Litigation             UNDETERMINED
        FARMS, ROSEMARIE MILLAN
        18107 KRATZMEYER RAOAD        ACCOUNT NO.: NOT AVAILABLE
        BAKERSFIELD, CA 93314


3.273   AFFINITY FOR BEAUTY &                   VARIOUS                             Litigation             UNDETERMINED
        WELLNESS SPA-BEAN, KRISTA
        152 SOUTH K STREET            ACCOUNT NO.: NOT AVAILABLE
        LIVERMORE, CA 94550


3.274   AFFL-AF-201606-AF-0010-CRL,             VARIOUS                             Litigation             UNDETERMINED
        ATT PACBELL AFFL-AF-201606-
        AF-0010-CRL                   ACCOUNT NO.: NOT AVAILABLE
        909 CHESTNUT ST
        12920 EARHART AVE, AUBURN
        CA
        SAINT LOUIS, CA 63101-2017


3.275   AFFORDABLE GARAGE DOORS-                VARIOUS                             Litigation             UNDETERMINED
        DUNCAN, JO
        22592 SONOMA ST               ACCOUNT NO.: NOT AVAILABLE
        HAYWARD, CA 94541




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Litigation & Disputes

3.276   AFNI, JOANNA ROLAND                     VARIOUS                             Litigation             UNDETERMINED
        PO BOX 3068
        BLOOMINGTON, CA 61702-3068    ACCOUNT NO.: NOT AVAILABLE


3.277   AFNI, NANCY DRECKMAN                    VARIOUS                             Litigation             UNDETERMINED
        PO BOX 3068
        308 HARBOR VIEW AVE           ACCOUNT NO.: NOT AVAILABLE
        PISMO BEACH, CA


3.278   AFNI, SUBROGATION                       VARIOUS                             Litigation             UNDETERMINED
        DEPARTMENT
        P.O. BOX 3068                 ACCOUNT NO.: NOT AVAILABLE
        BLOOMINGTON, CA 61702-3068


3.279   AFSHAN, AMBREEN                         VARIOUS                             Litigation             UNDETERMINED
        9165 TORINO WAY
        SACRAMENTO, CA 95829          ACCOUNT NO.: NOT AVAILABLE


3.280   AGARKAR/ATTY REP                        VARIOUS                             Litigation             UNDETERMINED
        2057 FOREST AVENUE, SUITE 3
        CHICO, CA 95928               ACCOUNT NO.: NOT AVAILABLE


3.281   AGARWAL, SATISH KUMAR                   VARIOUS                             Litigation             UNDETERMINED
        39349 MONTEREY WAY
        FREMONT, CA 94538             ACCOUNT NO.: NOT AVAILABLE


3.282   AGGARWAL, DEEPA                         VARIOUS                             Litigation             UNDETERMINED
        10457 MANZANITA COURT
        CUPERTINO, CA 95014           ACCOUNT NO.: NOT AVAILABLE


3.283   AGHA, JOANN                             VARIOUS                             Litigation             UNDETERMINED
        8710 PRUNEDALE NORTH SPC
        #20                           ACCOUNT NO.: NOT AVAILABLE
        SALINAS, CA 93907


3.284   AGRAVIADOR, HELEN                       VARIOUS                             Litigation             UNDETERMINED
        33670 COLGATE DRIVE
        UNION CITY, CA 94587          ACCOUNT NO.: NOT AVAILABLE


3.285   AGROJAL FARMS-MALDONADO,                VARIOUS                             Litigation             UNDETERMINED
        ALEJANDRO
        PO BOX 1862                   ACCOUNT NO.: NOT AVAILABLE
        SANTA MARIA, CA 93456


3.286   AGUIAR, CARLOTA                         VARIOUS                             Litigation             UNDETERMINED
        1011 GEORGIA AVE
        MADERA, CA 93637              ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.287   AGUILAR LOPEZ, MARINA                  VARIOUS                             Litigation             UNDETERMINED
        1038 E LAUREL DR APT C
        SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.288   AGUILAR, ADRIANA                       VARIOUS                             Litigation             UNDETERMINED
        1205 CABERNET DR
        GONZALES, CA 93926           ACCOUNT NO.: NOT AVAILABLE


3.289   AGUILAR, ANGELA                        VARIOUS                             Litigation             UNDETERMINED
        2050 SOQUEL AVE
        200 BUTTON STREET            ACCOUNT NO.: NOT AVAILABLE
        SANTA CRUZ, CA 95060


3.290   AGUILAR, BALDOMERO                     VARIOUS                             Litigation             UNDETERMINED
        7538 BALDWIN ST
        VALLEY SPRINGS, CA 95252     ACCOUNT NO.: NOT AVAILABLE


3.291   AGUILAR, CHRISTINA                     VARIOUS                             Litigation             UNDETERMINED
        15018 E FLORAL AVE
        PARLIER, CA 93648            ACCOUNT NO.: NOT AVAILABLE


3.292   AGUILAR, KARINA                        VARIOUS                             Litigation             UNDETERMINED
        4460 W CORONA AVE
        FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE


3.293   AGUILAR, LUIS                          VARIOUS                             Litigation             UNDETERMINED
        2053 GREG STONE DRIVE
        STOCKTON, CA 95206           ACCOUNT NO.: NOT AVAILABLE


3.294   AGUILAR, ROBERT                        VARIOUS                             Litigation             UNDETERMINED
        770 SIR FRANCIS DRAKE BLVD
        APT. 1                       ACCOUNT NO.: NOT AVAILABLE
        SAN ANSELMO, CA 94960


3.295   AGUILAR, TERESA                        VARIOUS                             Litigation             UNDETERMINED
        35820 S LASSEN AVE
        PO BOX 1748                  ACCOUNT NO.: NOT AVAILABLE
        HURON, CA 93234


3.296   AGUILAR, VERONICA                      VARIOUS                             Litigation             UNDETERMINED
        2451 MYRAN AVENUE
        STOCKTON, CA 95205           ACCOUNT NO.: NOT AVAILABLE


3.297   AGUILERA ALDRETE, DORA                 VARIOUS                             Litigation             UNDETERMINED
        534 20TH ST
        RICHMOND, CA 94801           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.298   AGUILERA, REYNA                         VARIOUS                             Litigation             UNDETERMINED
        1438 20TH AVENUE
        SAN FRANCISCO, CA 94122       ACCOUNT NO.: NOT AVAILABLE


3.299   AGUINALDO, DANIEL                       VARIOUS                             Litigation             UNDETERMINED
        2820 MCAIN CT
        SAN JOSE, CA 95121            ACCOUNT NO.: NOT AVAILABLE


3.300   AGUIRRE, JAMES                          VARIOUS                             Litigation             UNDETERMINED
        2518 LA MIRADA DRIVE
        SAN JOSE, CA 95125            ACCOUNT NO.: NOT AVAILABLE


3.301   AGUIRRE, MIGUEL                         VARIOUS                             Litigation             UNDETERMINED
        400 WINDSOR STREET
        KING CITY, CA 93930           ACCOUNT NO.: NOT AVAILABLE


3.302   AGUIRRE, ROSE                           VARIOUS                             Litigation             UNDETERMINED
        57 PARK SHARON DR.
        SAN JOSE, CA 95136            ACCOUNT NO.: NOT AVAILABLE


3.303   AGUIRRE, SONYA                          VARIOUS                             Litigation             UNDETERMINED
        1642 W GRIFFITH WAY
        FRESNO, CA 93705              ACCOUNT NO.: NOT AVAILABLE


3.304   AGUIRRE, VANESSA                        VARIOUS                             Litigation             UNDETERMINED
        21117 GARY DRIVE
        HAYWARD, CA 94546             ACCOUNT NO.: NOT AVAILABLE


3.305   AGUIRRE, YOLANDA                        VARIOUS                             Litigation             UNDETERMINED
        PO BOX 6762
        SALINAS, CA 93912             ACCOUNT NO.: NOT AVAILABLE


3.306   AHAEV, ANTHONY AND                      VARIOUS                             Litigation             UNDETERMINED
        VICTORIA
        22461 FOREST HILL             ACCOUNT NO.: NOT AVAILABLE
        LAKE FOREST, CA 92630


3.307   AHEARN, GEORGE                          VARIOUS                             Litigation             UNDETERMINED
        123 VERONA CT
        LOS GATOS, CA 95030           ACCOUNT NO.: NOT AVAILABLE


3.308   AHERN RENTALS                           VARIOUS                             Litigation             UNDETERMINED
        ATTN: BOB WURTZ, RISK MGT.
        1401 MINERAL AVE.             ACCOUNT NO.: NOT AVAILABLE
        LAS VEGAS, CA 89106




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Including Zip Code                            Account Number                           Claim

Litigation & Disputes

3.309   AHERN RENTALS-MUNOZ, JOHN                VARIOUS                             Litigation             UNDETERMINED
        1885 W BONANZA RD
        LAS VEGAS, CA 89106            ACCOUNT NO.: NOT AVAILABLE


3.310   AHLBERG, LAURIE                          VARIOUS                             Litigation             UNDETERMINED
        PO BOX 714
        ARNOLD, CA 95223               ACCOUNT NO.: NOT AVAILABLE


3.311   AHLERS, ROBERTO                          VARIOUS                             Litigation             UNDETERMINED
        10270 STERLING BLVD
        CUPERTINO, CA 95014            ACCOUNT NO.: NOT AVAILABLE


3.312   AHLONE CHYNOWETH MINI                    VARIOUS                             Litigation             UNDETERMINED
        MARKET-MOUSSA, ANTANIOS
        5330 TERNER WAY, SUITE #10     ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95136


3.313   AHLUWALIA, TARUNJIT                      VARIOUS                             Litigation             UNDETERMINED
        513 EMERALD HILL CIRCLE
        FAIRFIELD, CA 94533            ACCOUNT NO.: NOT AVAILABLE


3.314   AHMED, MAQSOOD                           VARIOUS                             Litigation             UNDETERMINED
        1024 2ND ST
        APT 32                         ACCOUNT NO.: NOT AVAILABLE
        LAFAYETTE, CA 94549


3.315   AHMED, RAMZI                             VARIOUS                             Litigation             UNDETERMINED
        3915 FINISH LINE DRIVE
        BAKERSFIELD, CA 93306          ACCOUNT NO.: NOT AVAILABLE


3.316   AHN, PYONG GAG                           VARIOUS                             Litigation             UNDETERMINED
        1356 KENNETH STREET
        SEASIDE, CA 93955              ACCOUNT NO.: NOT AVAILABLE


3.317   AHRENS, JANE                             VARIOUS                             Litigation             UNDETERMINED
        2750 MERRITT ROAD
        KELSEYVILLE, CA 95451          ACCOUNT NO.: NOT AVAILABLE


3.318   AHU, RAYMOND                             VARIOUS                             Litigation             UNDETERMINED
        226 E 11TH STREET
        MARYSVILLE, CA 95901           ACCOUNT NO.: NOT AVAILABLE


3.319   AHUMADA, HUMBERTO & DULCE                VARIOUS                             Litigation             UNDETERMINED
        305 HARRISON ROAD
        SALINAS, CA 93907              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                           Claim

Litigation & Disputes

3.320   AI KINJO SLO INC. DBA IZAKAYA             VARIOUS                             Litigation             UNDETERMINED
        RAKU-SHIN, KYUNG
        953 W GRAND AVE                 ACCOUNT NO.: NOT AVAILABLE
        GROVER BEACH, CA 93433


3.321   AICHELE V PGE, (ATTY                      VARIOUS                             Litigation             UNDETERMINED
        ANTHONY CALERO)
        2055 JUNCTION AVE STE 138       ACCOUNT NO.: NOT AVAILABLE
        17545 HILLVIEW LN, MORGAN
        HILL
        SAN JOSE, CA 95131


3.322   AIDEN, DINO                               VARIOUS                             Litigation             UNDETERMINED
        503 CALISTOGA ROAD
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.323   AIMONETTI, JAMIE                          VARIOUS                             Litigation             UNDETERMINED
        5941 HOLGATE AVENUE
        SAN JOSE, CA 95123              ACCOUNT NO.: NOT AVAILABLE


3.324   AINSWORTH, WENDY                          VARIOUS                             Litigation             UNDETERMINED
        28779 UNDERWOOD ROAD
        SALINAS, CA 93908               ACCOUNT NO.: NOT AVAILABLE


3.325   AIRBNB, RUTH                              VARIOUS                             Litigation             UNDETERMINED
        CA 0
                                        ACCOUNT NO.: NOT AVAILABLE


3.326   AIRBNB-KADKHODAYAN,                       VARIOUS                             Litigation             UNDETERMINED
        PARINAZ
        12853 NORMANDY LANE             ACCOUNT NO.: NOT AVAILABLE
        LOS ALTOS, CA 94022


3.327   AIRFILM-HERRING, SCOTT                    VARIOUS                             Litigation             UNDETERMINED
        6245 AERODROME WAY
        HANGER NO. 2                    ACCOUNT NO.: NOT AVAILABLE
        GEORGETOWN, CA 95634


3.328   AISON, MARVIN                             VARIOUS                             Litigation             UNDETERMINED
        3621 COMANCHE WAY
        ANTELOPE, CA 95843              ACCOUNT NO.: NOT AVAILABLE


3.329   AJ SLENDERS FARMS-                        VARIOUS                             Litigation             UNDETERMINED
        SLENDERS, ANDY
        625 E. COLEMAN AVE              ACCOUNT NO.: NOT AVAILABLE
        LATON, CA 93242




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Litigation & Disputes

3.330   AJAELO, NKIRU                            VARIOUS                             Litigation             UNDETERMINED
        4616 MACARTHUR BLVD
        OAKLAND, CA 94619              ACCOUNT NO.: NOT AVAILABLE


3.331   AJIBOLA, HILDA                           VARIOUS                             Litigation             UNDETERMINED
        2925 E 16TH ST APT A
        OAKLAND, CA 94601              ACCOUNT NO.: NOT AVAILABLE


3.332   AKAGI RESTAURANT-                        VARIOUS                             Litigation             UNDETERMINED
        TAKAHASHI, NOBUMASA
        713 CAMINO PLZ                 ACCOUNT NO.: NOT AVAILABLE
        SAN BRUNO, CA 94066


3.333   AKBARI, SAFIA                            VARIOUS                             Litigation             UNDETERMINED
        1783 EGRET DRIVE
        TRACY, CA 95376                ACCOUNT NO.: NOT AVAILABLE


3.334   AKINS, GARY                              VARIOUS                             Litigation             UNDETERMINED
        2224 REEF COURT
        DISCOVERY BAY, CA 94505        ACCOUNT NO.: NOT AVAILABLE


3.335   AKINTOMIDE, FELIX                        VARIOUS                             Litigation             UNDETERMINED
        PO BOX 496149
        GARLAND, CA 75049              ACCOUNT NO.: NOT AVAILABLE


3.336   AKITA 1010, LLC, NANCY                   VARIOUS                             Litigation             UNDETERMINED
        MACALLISTER
        1010 FAIR AVE #12              ACCOUNT NO.: NOT AVAILABLE
        SANTA CRUZ, CA 95060


3.337   AKITOYE, BRIAN                           VARIOUS                             Litigation             UNDETERMINED
        3234 E 27TH STREET #2
        OAKLAND, CA 94601              ACCOUNT NO.: NOT AVAILABLE


3.338   AKITOYE, BRIAN                           VARIOUS                             Litigation             UNDETERMINED
        3234 E 27TH STREET #2
        OAKLAND, CA 94601              ACCOUNT NO.: NOT AVAILABLE


3.339   AKL, FADY                                VARIOUS                             Litigation             UNDETERMINED
        133 BEDFORD
        HERCULES, CA 94567             ACCOUNT NO.: NOT AVAILABLE


3.340   AKL, RANDY                               VARIOUS                             Litigation             UNDETERMINED
        617 MIA COURT
        DANVILLE, CA 94526             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.341   AKROUSH, HELEN                          VARIOUS                             Litigation             UNDETERMINED
        2809 DEL MONTE DR
        BAKERSFIELD, CA 93306         ACCOUNT NO.: NOT AVAILABLE


3.342   AKSENOFF, MARIA                         VARIOUS                             Litigation             UNDETERMINED
        575 BOYD RD
        PLEASANT HILL, CA 94523       ACCOUNT NO.: NOT AVAILABLE


3.343   AL ASHER & SONS, INC.-NERI,             VARIOUS                             Litigation             UNDETERMINED
        PATTY
        5301 VALLEY BLVD.             ACCOUNT NO.: NOT AVAILABLE
        LOS ANGELES, CA 90032


3.344   ALAGA, ALEX                             VARIOUS                             Litigation             UNDETERMINED
        10301 WRANGLER DRIVE
        ELK GROVE, CA 95624           ACCOUNT NO.: NOT AVAILABLE


3.345   ALAJOU, SAMIR                           VARIOUS                             Litigation             UNDETERMINED
        431 WILHAGGIN DR
        SACRAMENTO, CA 95864          ACCOUNT NO.: NOT AVAILABLE


3.346   ALAMEDA CONSTRUCTION,                   VARIOUS                             Litigation             UNDETERMINED
        ALAMEDA, DWAYNE
        PO BOX 111                    ACCOUNT NO.: NOT AVAILABLE
        LANDER AVE
        TURLOCK, CA 95380


3.347   ALAMEDA COUNTY WATER                    VARIOUS                             Litigation             UNDETERMINED
        DISTRICT
        43885 S GRIMMER BLVD          ACCOUNT NO.: NOT AVAILABLE
        FREMONT, CA 94538


3.348   ALAMO, NORMA                            VARIOUS                             Litigation             UNDETERMINED
        1021 POLK STREET
        SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.349   ALAZZAWY, SAFWAN                        VARIOUS                             Litigation             UNDETERMINED
        786 SANTA PAULA AVE
        SUNNYVALE, CA 94085           ACCOUNT NO.: NOT AVAILABLE


3.350   ALBEE, DEBRA                            VARIOUS                             Litigation             UNDETERMINED
        10118 BARNES DR
        BAKERSFIELD, CA 93311         ACCOUNT NO.: NOT AVAILABLE


3.351   ALBERT CHOW MEDICAL                     VARIOUS                             Litigation             UNDETERMINED
        CORPORATION, ALBERT CHOW
        1 DANIEL DURHAM COURT,        ACCOUNT NO.: NOT AVAILABLE
        SUITE 368C
        SAN FRANCISCO, CA 94109

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Litigation & Disputes

3.352   ALBERTSEN, KELLY                        VARIOUS                             Litigation             UNDETERMINED
        21970 ALLAN RD
        VOLCANO, CA 95689             ACCOUNT NO.: NOT AVAILABLE


3.353   ALBERTSEN, KELLY                        VARIOUS                             Litigation             UNDETERMINED
        21970 ALLAN ROAD
        VOLCANO, CA 95689             ACCOUNT NO.: NOT AVAILABLE


3.354   ALBERTSON, URSULA                       VARIOUS                             Litigation             UNDETERMINED
        595 JENSEN LANE
        WINDSOR, CA 95492             ACCOUNT NO.: NOT AVAILABLE


3.355   ALBIN LIVESTOCK LLC-ALBIN,              VARIOUS                             Litigation             UNDETERMINED
        SARAH
        PO BOX 601                    ACCOUNT NO.: NOT AVAILABLE
        FORTUNA, CA 95540


3.356   ALBINO, GLORIA                          VARIOUS                             Litigation             UNDETERMINED
        828 TOBY WAY
        SHANDON, CA 93461             ACCOUNT NO.: NOT AVAILABLE


3.357   ALBRECHT, JOHNNY                        VARIOUS                             Litigation             UNDETERMINED
        525 PINE STREET
        COALINGA, CA 93210            ACCOUNT NO.: NOT AVAILABLE


3.358   ALBRECHT/SPRINSOCK,                     VARIOUS                             Litigation             UNDETERMINED
        KRISTINE/BRION
        417 PACHECO AVE.              ACCOUNT NO.: NOT AVAILABLE
        SANTA CRUZ, CA 95062


3.359   ALC MACHINE INC-                        VARIOUS                             Litigation             UNDETERMINED
        FOLLANSBEE, GINA
        244B COLGAN AVE               ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95404


3.360   ALCALA, ESPERANZA                       VARIOUS                             Litigation             UNDETERMINED
        8332 JOE RODGERS RD.
        GRANITE BAY, CA 95746         ACCOUNT NO.: NOT AVAILABLE


3.361   ALCALA, JOSE                            VARIOUS                             Litigation             UNDETERMINED
        21871 GRANCEVILLE BLVD
        LEMOORE, CA 93245             ACCOUNT NO.: NOT AVAILABLE


3.362   ALCALA, MARIA                           VARIOUS                             Litigation             UNDETERMINED
        578 STRAUSS COURT
        MADERA, CA 93637              ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.363   ALCANTAR, CRYSTAL                       VARIOUS                             Litigation             UNDETERMINED
        4301 GATSON RD
        SHAFTER, CA 93314             ACCOUNT NO.: NOT AVAILABLE


3.364   ALCARAZ, MARIA                          VARIOUS                             Litigation             UNDETERMINED
        110 COLLEGE ROAD
        WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.365   ALCARRAZ, NAZARI                        VARIOUS                             Litigation             UNDETERMINED
        32940 SOQUEL ST
        UNION CITY, CA 94587          ACCOUNT NO.: NOT AVAILABLE


3.366   ALCOCER, BARBARA                        VARIOUS                             Litigation             UNDETERMINED
        5 GLEN FALLS CIR
        SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.367   ALCOCER, EDWIN                          VARIOUS                             Litigation             UNDETERMINED
        2294 NORTH MAIN STREET
        53                            ACCOUNT NO.: NOT AVAILABLE
        SALINAS, CA 93906


3.368   ALDO, JENNIFER                          VARIOUS                             Litigation             UNDETERMINED
        4941 CLIPPER DR
        DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.369   ALDRICH, JAIME                          VARIOUS                             Litigation             UNDETERMINED
        22080 CHOLET WAY
        PALO CEDRO, CA 96073          ACCOUNT NO.: NOT AVAILABLE


3.370   ALDRICH, ROBIN                          VARIOUS                             Litigation             UNDETERMINED
        8345 STEVENSON
        MOKELUMNE HILL, CA 95245      ACCOUNT NO.: NOT AVAILABLE


3.371   ALESO, CAMILA                           VARIOUS                             Litigation             UNDETERMINED
        567 N EDEN AVENUE
        SUNNYVALE, CA 94085-3744      ACCOUNT NO.: NOT AVAILABLE


3.372   ALEXANDER VALLEY UNION                  VARIOUS                             Litigation             UNDETERMINED
        SCHOOL DISTRICT-RENO, MATT
        8511 HIGHWAY 128              ACCOUNT NO.: NOT AVAILABLE
        HEALDSBURG, CA 95448


3.373   ALEXANDER, BRIAN                        VARIOUS                             Litigation             UNDETERMINED
        1250 ROAD D
        REDWOOD VALLEY, CA 95470      ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.374   ALEXANDER, DAVID                       VARIOUS                             Litigation             UNDETERMINED
        525 KENTUCKY AVE
        SAN MATEO, CA 94402          ACCOUNT NO.: NOT AVAILABLE


3.375   ALEXANDER, ERIC                        VARIOUS                             Litigation             UNDETERMINED
        1908 VIA APPIA
        WALNUT CREEK, CA 94598       ACCOUNT NO.: NOT AVAILABLE


3.376   ALEXANDER, FREDRICK                    VARIOUS                             Litigation             UNDETERMINED
        801 DRAKE AVE.
        MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.377   ALEXANDER, JOSHUA                      VARIOUS                             Litigation             UNDETERMINED
        3530 WHITE CLIFF CIR
        NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.378   ALEXANDER, KATHERINE                   VARIOUS                             Litigation             UNDETERMINED
        11600 SUMMIT WOOD COURT
        LOS ALTOS HILLS, CA 94022    ACCOUNT NO.: NOT AVAILABLE


3.379   ALEXANDER, KATHERINE                   VARIOUS                             Litigation             UNDETERMINED
        11600 SUMMIT WOOD COURT
        LOS ALTOS HILLS, CA 94022    ACCOUNT NO.: NOT AVAILABLE


3.380   ALEXANDER, MARGARET                    VARIOUS                             Litigation             UNDETERMINED
        2241 E. 32ND STREET
        OAKLAND, CA 94602            ACCOUNT NO.: NOT AVAILABLE


3.381   ALEXANDER, MITHUN                      VARIOUS                             Litigation             UNDETERMINED
        429 VALVERDE DR
        SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
        94080


3.382   ALEXANDER, RYAN                        VARIOUS                             Litigation             UNDETERMINED
        21C ORINDA WAY #127
        ORINDA, CA 94563             ACCOUNT NO.: NOT AVAILABLE


3.383   ALEXANDER, TIFFINI                     VARIOUS                             Litigation             UNDETERMINED
        784 WESLEY AVE
        APT 2                        ACCOUNT NO.: NOT AVAILABLE
        VACAVILLE, CA 95688


3.384   ALEXANDER, YOLANDA                     VARIOUS                             Litigation             UNDETERMINED
        1001 POLK ST.
        1049 HOWARD ST.              ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94103




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Litigation & Disputes

3.385   ALEXANDRE, SUZANNE                      VARIOUS                             Litigation             UNDETERMINED
        12300 WESTSIDE ROAD
        FORESTVILLE, CA 95436         ACCOUNT NO.: NOT AVAILABLE


3.386   ALEXANDRIA GHASSAN, A                   VARIOUS                             Litigation             UNDETERMINED
        MINOR, EMILIE GRANDCHAMPS,
        LUCIENNE GHASSAN, A MINOR     ACCOUNT NO.: NOT AVAILABLE
        IBIERE N. SECK, MARCELIS
        MORRIS
        4929 WILSHIRE BLVD
        SUITE 1010
        LOS ANGELES, CA 90010


3.387   ALEXANDRIA GHASSAN, A                   VARIOUS                             Litigation             UNDETERMINED
        MINOR, EMILIE GRANDCHAMPS,
        LUCIENNE GHASSAN, A MINOR     ACCOUNT NO.: NOT AVAILABLE
        CHRISTOPHER AUMAIS,
        ASHKAHN MOHAMADI, KELLY
        WINTER
        1126 WILSHIRE BLVD.
        LOS ANGELES, CA 90017


3.388   ALEXANDRIA GHASSAN, A                   VARIOUS                             Litigation             UNDETERMINED
        MINOR, EMILIE GRANDCHAMPS,
        LUCIENNE GHASSAN, A MINOR     ACCOUNT NO.: NOT AVAILABLE
        MARY ALEXANDER, BRENDAN
        WAY, CATALINA MUNOZ
        44 MONTGOMERY STREET
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.389   ALEXANDRIA GHASSON,                     VARIOUS                             Litigation             UNDETERMINED
        LESLEY MORAN, LUCIENNE
        GHASSAN                       ACCOUNT NO.: NOT AVAILABLE
        BOBBY THOMPSON
        706 AIRPORT BLVD
        SUITE 166
        BURLINGAME, CA 94010


3.390   ALEXANDRIA GHASSON,                     VARIOUS                             Litigation             UNDETERMINED
        LESLEY MORAN, LUCIENNE
        GHASSAN                       ACCOUNT NO.: NOT AVAILABLE
        MARY ALEXANDER, BRENDAN
        WAY, CATALINA MUNOZ
        44 MONTGOMERY STREET
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.391   ALEXIS, ASHLEY                          VARIOUS                             Litigation             UNDETERMINED
        5 VINTAGE CT.
        CHICO, CA 95973               ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.392   ALEX'S BARBERSHOP-VILKIS,                VARIOUS                             Litigation             UNDETERMINED
        ALEXANDER
        1287 20TH AVE                  ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94122


3.393   ALFARO, DANIEL                           VARIOUS                             Litigation             UNDETERMINED
        2031 SUCRE CFT
        SALINAS, CA 93906              ACCOUNT NO.: NOT AVAILABLE


3.394   ALFARO, IRMA                             VARIOUS                             Litigation             UNDETERMINED
        1209 MARGALO ST.
        WASCO, CA 93280                ACCOUNT NO.: NOT AVAILABLE


3.395   ALFARO, XAVIER                           VARIOUS                             Litigation             UNDETERMINED
        344 N 16TH STREET
        GROVER BEACH, CA 93433         ACCOUNT NO.: NOT AVAILABLE


3.396   ALFINDA, ADAM                            VARIOUS                             Litigation             UNDETERMINED
        11233 LOCH LOMOND ROAD
        MIDDLETOWN, CA 95461           ACCOUNT NO.: NOT AVAILABLE


3.397   ALFORD, KAYJA                            VARIOUS                             Litigation             UNDETERMINED
        2733 COUNTRY CLUB BLVD, APT
        8                              ACCOUNT NO.: NOT AVAILABLE
        STOCKTON, CA 95204


3.398   ALGHAZALY, NAGI                          VARIOUS                             Litigation             UNDETERMINED
        963 BAKER STREET
        BAKERSFIELD, CA 93305          ACCOUNT NO.: NOT AVAILABLE


3.399   ALHOMEDI, AHMED                          VARIOUS                             Litigation             UNDETERMINED
        1491 HILLSBORO AVE
        MADERA, CA 93637               ACCOUNT NO.: NOT AVAILABLE


3.400   ALIBO, CLAIRE                            VARIOUS                             Litigation             UNDETERMINED
        1905 E PONTIAC WAY
        225                            ACCOUNT NO.: NOT AVAILABLE
        FRESNO, CA 93726


3.401   ALIMPIC, LULII AND JOHN                  VARIOUS                             Litigation             UNDETERMINED
        1100 CRESTMONT DR.
        ANGWIN, CA 94508               ACCOUNT NO.: NOT AVAILABLE


3.402   ALIN PERFECTION SPA, HUA JIN             VARIOUS                             Litigation             UNDETERMINED
        7850 WHITE LANE
        BAKERSFIELD, CA 93309          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.403   ALIOTO, JOSEPHINE                       VARIOUS                             Litigation             UNDETERMINED
        2159 WALNUT GROVE AVE
        SAN JOSE, CA 95128            ACCOUNT NO.: NOT AVAILABLE


3.404   ALIOTTA, NICOLE                         VARIOUS                             Litigation             UNDETERMINED
        PO BOX 44
        CAZADERO, CA 95422            ACCOUNT NO.: NOT AVAILABLE


3.405   ALIOTTI, JOHN                           VARIOUS                             Litigation             UNDETERMINED
        221 JAMAICA STREET
        TIBURON, CA 94920             ACCOUNT NO.: NOT AVAILABLE


3.406   ALIOTTI, ROBERT                         VARIOUS                             Litigation             UNDETERMINED
        462 JACKSON ST
        MONTEREY, CA 93940            ACCOUNT NO.: NOT AVAILABLE


3.407   ALISAL PIZZERIA-YI, MUN                 VARIOUS                             Litigation             UNDETERMINED
        706 EAST ALISAL STREET
        SALINAS, CA 93905             ACCOUNT NO.: NOT AVAILABLE


3.408   ALKADIRY, WALEED                        VARIOUS                             Litigation             UNDETERMINED
        24565 SOQUEL SN JOSE ROAD
        LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.409   ALKHASSADEH, HELBARD                    VARIOUS                             Litigation             UNDETERMINED
        16795 LITTLE HILL LANE
        ROYAL OAKS, CA 95076          ACCOUNT NO.: NOT AVAILABLE


3.410   ALL ABOUT THE PARTY-MILLER,             VARIOUS                             Litigation             UNDETERMINED
        ARTURO
        1768 E ANDERSON ST            ACCOUNT NO.: NOT AVAILABLE
        STOCKTON, CA 95205


3.411   ALL TIRE-GREATHOUSE, LARRY              VARIOUS                             Litigation             UNDETERMINED
        359 POTRERO AVE
        SAN FRANCISCO, CA 94103       ACCOUNT NO.: NOT AVAILABLE


3.412   ALLAN AUTOMATIC SPRINKLER               VARIOUS                             Litigation             UNDETERMINED
        CORP.-RORABAUGH, JOHN
        20303 MACK STREET             ACCOUNT NO.: NOT AVAILABLE
        HAYWARD, CA 94545


3.413   ALLAN, MICHAEL                          VARIOUS                             Litigation             UNDETERMINED
        11540 STATE HIGHWAY 99E
        RED BLUFF, CA 96080           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.414   ALLARD, GAYLE                           VARIOUS                             Litigation             UNDETERMINED
        19361 MIDDLECAMP
        #1889                         ACCOUNT NO.: NOT AVAILABLE
        TWAIN HARTE, CA 95383


3.415   ALLARDE, ALLAN                          VARIOUS                             Litigation             UNDETERMINED
        2290 VALLEY WOOD DRIVE
        SAN BRUNO, CA 94066           ACCOUNT NO.: NOT AVAILABLE


3.416   ALLEGRETTA, MAMA'S                      VARIOUS                             Litigation             UNDETERMINED
        MEATBALL RESTAURANT -
        NICOLA                        ACCOUNT NO.: NOT AVAILABLE
        570 HIGUERA ST STE 130
        SAN LUIS OBISPO, CA 93401


3.417   ALLEGRETTO VINEYARD                     VARIOUS                             Litigation             UNDETERMINED
        RESORT-DIXON, BRET
        2700 BUENA VISTA DR           ACCOUNT NO.: NOT AVAILABLE
        PASO ROBLES, CA 93446


3.418   ALLEGRO GOURNET PIZZERIA-               VARIOUS                             Litigation             UNDETERMINED
        ABRAHAM, JEAN
        3770 THE BARNYARD             ACCOUNT NO.: NOT AVAILABLE
        SUITE I11
        CARMEL, CA 93923


3.419   ALLEN, DAVID                            VARIOUS                             Litigation             UNDETERMINED
        38153 ACACIA COURT
        FREMONT, CA 94536             ACCOUNT NO.: NOT AVAILABLE


3.420   ALLEN, GAIL                             VARIOUS                             Litigation             UNDETERMINED
        19875 PLAINVIEW DR
        SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.421   ALLEN, JAMES E                          VARIOUS                             Litigation             UNDETERMINED
        700 COLTON ST
        MONTEREY, CA 93940            ACCOUNT NO.: NOT AVAILABLE


3.422   ALLEN, JENNIFER                         VARIOUS                             Litigation             UNDETERMINED
        2871 WHIPPORWILL DRIVE
        MORGAN HILL, CA 95037         ACCOUNT NO.: NOT AVAILABLE


3.423   ALLEN, KENNETH                          VARIOUS                             Litigation             UNDETERMINED
        2431 33RD AVE
        SAN FRANCISCO, CA 94116       ACCOUNT NO.: NOT AVAILABLE


3.424   ALLEN, LAURA                            VARIOUS                             Litigation             UNDETERMINED
        2600 OAK VIEW COURT
        BAKERSFIELD, CA 93311         ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.425   ALLEN, LETICIA                          VARIOUS                             Litigation             UNDETERMINED
        3007 MARTIN LUTHER KING JR
        WAY                           ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94609


3.426   ALLEN, MICHAEL                          VARIOUS                             Litigation             UNDETERMINED
        923 BRANCIFORTE
        VALLEJO, CA 94590             ACCOUNT NO.: NOT AVAILABLE


3.427   ALLEN, PAMELA                           VARIOUS                             Litigation             UNDETERMINED
        164 ROBLES WAY #341
        VALLEJO, CA 94591             ACCOUNT NO.: NOT AVAILABLE


3.428   ALLEN, RANDY                            VARIOUS                             Litigation             UNDETERMINED
        4404 CRON WAY
        BAKERSFIELD, CA 93311         ACCOUNT NO.: NOT AVAILABLE


3.429   ALLEN, RUSSELL                          VARIOUS                             Litigation             UNDETERMINED
        3918 WHIRLWIND DRIVE
        BAKERSFIELD, CA 93313         ACCOUNT NO.: NOT AVAILABLE


3.430   ALLEN, STEPHANIE                        VARIOUS                             Litigation             UNDETERMINED
        10809 W KEARNEY BLVD
        FRESNO, CA 93706              ACCOUNT NO.: NOT AVAILABLE


3.431   ALLERGY AND ASTHMA                      VARIOUS                             Litigation             UNDETERMINED
        ASSOCIATES OF SANTA CLARA
        VALLEY, PATRICIA CUNNANE      ACCOUNT NO.: NOT AVAILABLE
        4050 MOORPARK AVE.
        SAN JOSE, CA 95117


3.432   ALLEY, DAVID & NORMA                    VARIOUS                             Litigation             UNDETERMINED
        1504 E WOODSTONE DRIVE
        HAYDEN LAKE, CA 83835         ACCOUNT NO.: NOT AVAILABLE


3.433   ALLIANCE HOMES, EBERT BILL              VARIOUS                             Litigation             UNDETERMINED
        2967 DAYLIGHT WAY
        SAN JOSE, CA 95111            ACCOUNT NO.: NOT AVAILABLE


3.434   ALLIANCE INSURANCE CO, FOR              VARIOUS                             Litigation             UNDETERMINED
        DIANA BAUTISTA RAMIREZ
        PO BOX 2927                   ACCOUNT NO.: NOT AVAILABLE
        CLINTON, CA 52733


3.435   ALLIANCE UNITED INSURNACE-              VARIOUS                             Litigation             UNDETERMINED
        SCHNITZER, RACHEL
        PO BOX 2927                   ACCOUNT NO.: NOT AVAILABLE
        CLINTON, CA 52733


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Including Zip Code                            Account Number                           Claim

Litigation & Disputes

3.436   ALLIANZ GLOBAL CORP                      VARIOUS                             Litigation             UNDETERMINED
        SECURITY, PATRICIA KHEIFL
        FOR JACK BROWN                 ACCOUNT NO.: NOT AVAILABLE
        PO BOX 898
        6473 BUCKS LANE
        MEADOW VALLEY, CA 95956


3.437   ALLIDURAI, SASIKUMAR V. PG&E             VARIOUS                             Litigation             UNDETERMINED
        3203 MADDEN WAY
        DUBLIN, CA 94568               ACCOUNT NO.: NOT AVAILABLE


3.438   ALLIED CNG VENTURES, LLC;                VARIOUS                             Litigation             UNDETERMINED
        PLAZA, LLC, ALLIED FUEL
        SERVICES, INC.; ALLIED CNG     ACCOUNT NO.: NOT AVAILABLE
        OPERATIONS, LLC; ALLIED
        PROPANE SERVICES, INC.;
        HUNT ALLIED PETROLEUM, LLC;
        SAJET RESOURCES, LLC
        THE ARNS LAW FIRM
        515 FOLSOM ST. 3RD FLOOR
        SAN FRANCISCO, CA 94105


3.439   ALLIED P & C INSURANCE A/S/O             VARIOUS                             Litigation             UNDETERMINED
        SHARON LAWLEY-SCHWARZ,
        SELISIA                        ACCOUNT NO.: NOT AVAILABLE
        PO BOX 182068
        COLUMBUS, CA 43218


3.440   ALLIED PROPERTY (LUTTER)                 VARIOUS                             Litigation             UNDETERMINED
        BENSON LEGAL, APC
        6345 BALBOA BLVD, STE 365      ACCOUNT NO.: NOT AVAILABLE
        ENCINO, CA 91316


3.441   ALLIED PROPERTY (STEEN-                  VARIOUS                             Litigation             UNDETERMINED
        LARSON)
        BENSON LEGAL, APC              ACCOUNT NO.: NOT AVAILABLE
        6345 BALBOA BOULEVARD,
        SUITE 265
        ENCINO, CA 91316


3.442   ALLISON STREET, FARMER'S                 VARIOUS                             Litigation             UNDETERMINED
        INSURANCE
        4845 CANOPY LN                 ACCOUNT NO.: NOT AVAILABLE
        OAKLEY, CA 94561


3.443   ALLISON, ALANE                           VARIOUS                             Litigation             UNDETERMINED
        4815 ROAD N
        ORLAND, CA 95963               ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.444   ALLISON, KENT                           VARIOUS                             Litigation             UNDETERMINED
        701 SHELTER CREEK LANE UNIT
        4206                          ACCOUNT NO.: NOT AVAILABLE
        SAN BRUNO, CA 94066


3.445   ALLISON, PETER                          VARIOUS                             Litigation             UNDETERMINED
        103 W 20TH ST APT D
        ANTIOCH, CA 94509             ACCOUNT NO.: NOT AVAILABLE


3.446   ALLQUIP UNIVERSAL INC-                  VARIOUS                             Litigation             UNDETERMINED
        CHYEBLOOM, CYNTHIA
        3212 WEST CAPITOL AVENUE      ACCOUNT NO.: NOT AVAILABLE
        WEST SACRAMENTO, CA 95691


3.447   ALLSTATE INS FOR NORMAN                 VARIOUS                             Litigation             UNDETERMINED
        COTE
        ATTN: JULIE SINK, SUBRO       ACCOUNT NO.: NOT AVAILABLE
        P.O. BOX 21169
        ROANOKE, CA 21169


3.448   ALLSTATE INS.                           VARIOUS                             Litigation             UNDETERMINED
        PO BOX 21169
        ROANOKE, CA 24018             ACCOUNT NO.: NOT AVAILABLE


3.449   ALLSTATE INSURANCE (ASO OF              VARIOUS                             Litigation             UNDETERMINED
        WILLIAM FRANCIS)
        P.O BOX 650271                ACCOUNT NO.: NOT AVAILABLE
        DALLAS, CA 75265-0271


3.450   ALLSTATE INSURANCE (ASO OF              VARIOUS                             Litigation             UNDETERMINED
        WILLIAM FRANCIS)
        P.O BOX 650271                ACCOUNT NO.: NOT AVAILABLE
        DALLAS, CA 75265-0271


3.451   ALLSTATE INSURANCE (COTE)               VARIOUS                             Litigation             UNDETERMINED
        LAW OFFICES OF GREGORY
        LUCETT                        ACCOUNT NO.: NOT AVAILABLE
        330 N. BRAND BLVD.
        GLENDALE, CA 91203


3.452   ALLSTATE INSURANCE (LEE)                VARIOUS                             Litigation             UNDETERMINED
        SCHROEDER LOSCOTOFF LLP
        7410 GREENHAVEN DRIVE,        ACCOUNT NO.: NOT AVAILABLE
        SUITE 200
        SACRAMENTO, CA 95831




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Litigation & Disputes

3.453   ALLSTATE INSURANCE                        VARIOUS                             Litigation             UNDETERMINED
        (MEDEARIS)
        LAW OFFICES OF GREGORY          ACCOUNT NO.: NOT AVAILABLE
        LUCHTT
        330 N. BRAND BLVD., SUITE 900
        GLENDALE, CA 91203


3.454   ALLSTATE INSURANCE                        VARIOUS                             Litigation             UNDETERMINED
        COMPANY
        P.O. BOX 21169                  ACCOUNT NO.: NOT AVAILABLE
        ROANOKE, CA 24018


3.455   ALLSTATE INSURANCE                        VARIOUS                             Litigation             UNDETERMINED
        COMPANY
        P.O. BOX 6525                   ACCOUNT NO.: NOT AVAILABLE
        DIAMOND BAR, CA 91765


3.456   ALLSTATE, 0496171000 RRM                  VARIOUS                             Litigation             UNDETERMINED
        P.O. BOX 619053
        CA 95661                        ACCOUNT NO.: NOT AVAILABLE


3.457   ALLSTATE, ARACELI EUSEBIO -               VARIOUS                             Litigation             UNDETERMINED
        INSURED.
        PO BOX 660636                   ACCOUNT NO.: NOT AVAILABLE
        DALLAS, CA 75266


3.458   ALLSTATE, BIRD, EDWARD                    VARIOUS                             Litigation             UNDETERMINED
        PO BOX 60636
        HWY 116                         ACCOUNT NO.: NOT AVAILABLE
        SEBASTOPOL, CA


3.459   ALLSTATE, DIAZ, KAREN                     VARIOUS                             Litigation             UNDETERMINED
        3077 W BELLAIRE
        FRESNO, CA                      ACCOUNT NO.: NOT AVAILABLE


3.460   ALLSTATE, FOR MICHAEL CHAN                VARIOUS                             Litigation             UNDETERMINED
        PO BOX 660636
        905 KEATNY DR                   ACCOUNT NO.: NOT AVAILABLE
        DALLAS, CA 75266


3.461   ALLSTATE, JENNIFER SMITH                  VARIOUS                             Litigation             UNDETERMINED
        PO BOX 660636
        WILLOW CREEK & HWY 49           ACCOUNT NO.: NOT AVAILABLE
        AUBURN, CA


3.462   ALLSTATE, LAKSOWSKA, GIZELA               VARIOUS                             Litigation             UNDETERMINED
        PO BOX 660636
        DALLAS, CA 75266                ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                            Account Number                           Claim

Litigation & Disputes

3.463   ALLSTATE-CALDERA, RICHARD                VARIOUS                             Litigation             UNDETERMINED
        PO BOX 660636
        DALLAS, CA 75266               ACCOUNT NO.: NOT AVAILABLE


3.464   ALLUXA, INC.-BARGETZI, PAUL              VARIOUS                             Litigation             UNDETERMINED
        3660 NORTH LAUGHLIN RD.
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.465   ALLUXA, INC.-BARGETZI, PAUL              VARIOUS                             Litigation             UNDETERMINED
        3660 NORTH LAUGHLIN RD.
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.466   ALLWIRE-HOPKINS, ALAN                    VARIOUS                             Litigation             UNDETERMINED
        PO BOX 1000
        CHOWCHILLA, CA 93610           ACCOUNT NO.: NOT AVAILABLE


3.467   ALMANZA, MANUEL                          VARIOUS                             Litigation             UNDETERMINED
        1750 CONN VALLEY RD
        SAINT HELENA, CA 94574         ACCOUNT NO.: NOT AVAILABLE


3.468   ALMARE LLC, ALBERTO                      VARIOUS                             Litigation             UNDETERMINED
        MALVESTIO
        2170 SMATTUCK AVENUE           ACCOUNT NO.: NOT AVAILABLE
        BERKELEY, CA 94704


3.469   ALMEIDA, BOB                             VARIOUS                             Litigation             UNDETERMINED
        38047 PARKMONT DRIVE
        2126 5TH GREEN DR              ACCOUNT NO.: NOT AVAILABLE
        ARNOLD, CA


3.470   ALOK JAIN; RAKHI JAIN; ANJU              VARIOUS                             Litigation             UNDETERMINED
        JAIN; SHALU JAIN; GORI JAIN;
        NEHA JAIN                      ACCOUNT NO.: NOT AVAILABLE
        CORSIGLIA, MCMAHON &
        ALLARD (ATTORNEYS FOR
        PLAINTIFFS)
        96 NORTH THIRD STREET,
        SUITE 620
        SAN JOSE, CA 95112


3.471   ALON, GEORGE                             VARIOUS                             Litigation             UNDETERMINED
        730 CARDIGAN DRIVE
        SUNNYVALE, CA 94087            ACCOUNT NO.: NOT AVAILABLE


3.472   ALONGI, ALESSANDRO                       VARIOUS                             Litigation             UNDETERMINED
        2085 EAST AVE
        HAYWARD, CA 94541              ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.473   ALONSO, ISIDRO                          VARIOUS                             Litigation             UNDETERMINED
        26260 STANWOOD AVE
        HAYWARD, CA 94544             ACCOUNT NO.: NOT AVAILABLE


3.474   ALONZO, JUDY                            VARIOUS                             Litigation             UNDETERMINED
        369 NIAGARA AVE
        SAN FRANCISCO, CA 94112       ACCOUNT NO.: NOT AVAILABLE


3.475   ALONZO, ROBERT                          VARIOUS                             Litigation             UNDETERMINED
        404 HIDDEN VALLEY RD.
        ROYAL OAKS, CA 95076          ACCOUNT NO.: NOT AVAILABLE


3.476   ALPACKA GROUP-APPLEBAUM,                VARIOUS                             Litigation             UNDETERMINED
        LAURA
        178 BARNARD AVE.              ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95125


3.477   ALPHABET SOUP STORES-                   VARIOUS                             Litigation             UNDETERMINED
        KULASINGAM, ADRIENNE
        203 WESTERNAVE                ACCOUNT NO.: NOT AVAILABLE
        PETALUMA, CA 94952


3.478   ALQUINZO, GEORGE                        VARIOUS                             Litigation             UNDETERMINED
        3325 E. TERRACE AVENUE
        FRESNO, CA 93703              ACCOUNT NO.: NOT AVAILABLE


3.479   ALSANABANY, TAHANI                      VARIOUS                             Litigation             UNDETERMINED
        PO BOX 650293
        DALLAS, CA 75265              ACCOUNT NO.: NOT AVAILABLE


3.480   ALSKY, WALTER                           VARIOUS                             Litigation             UNDETERMINED
        224 PETER PAN RD.
        CARMEL, CA 93923              ACCOUNT NO.: NOT AVAILABLE


3.481   ALSOFYANI, SADRADDIN                    VARIOUS                             Litigation             UNDETERMINED
        2732 COOLIDGE AVE
        OAKLAND, CA 94601             ACCOUNT NO.: NOT AVAILABLE


3.482   ALTAMIRA CORP-KANG,                     VARIOUS                             Litigation             UNDETERMINED
        RANDHIR
        39180 LIBERTY STREET          ACCOUNT NO.: NOT AVAILABLE
        208
        FREMONT, CA 94538


3.483   ALTAMIRANO JR, LUIS                     VARIOUS                             Litigation             UNDETERMINED
        1646 DAVIS ST APT 7
        SAN JOSE, CA 95126            ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.484   ALTAMIRANO, MARBELLA                     VARIOUS                             Litigation             UNDETERMINED
        4085 E LOWE AVE
        FRESNO, CA 93702               ACCOUNT NO.: NOT AVAILABLE


3.485   ALTANO, SYDNEY                           VARIOUS                             Litigation             UNDETERMINED
        5311 SOQUEL DR
        SOQUEL, CA 95073               ACCOUNT NO.: NOT AVAILABLE


3.486   ALTERMANN, AXEL                          VARIOUS                             Litigation             UNDETERMINED
        424 MIDDLE RD.
        BELMONT, CA 94002              ACCOUNT NO.: NOT AVAILABLE


3.487   ALTMAN, IAN                              VARIOUS                             Litigation             UNDETERMINED
        121 BARN ROAD
        TIBURON, CA 94920              ACCOUNT NO.: NOT AVAILABLE


3.488   ALTMAN, STEPHEN                          VARIOUS                             Litigation             UNDETERMINED
        63 TAMALPAIS RD
        FAIRFAX, CA 94930              ACCOUNT NO.: NOT AVAILABLE


3.489   ALTWARG, EMILY                           VARIOUS                             Litigation             UNDETERMINED
        625 3RD ST.
        3RD ST., B/W MLK & JEFFERSON   ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94607


3.490   ALUAG, ROMANA                            VARIOUS                             Litigation             UNDETERMINED
        223 CAMELLIA ST
        FAIRFIELD, CA 94533            ACCOUNT NO.: NOT AVAILABLE


3.491   ALVA, SALVADOR                           VARIOUS                             Litigation             UNDETERMINED
        161 DEL NORTE DRIVE
        SAN BRUNO, CA 94066            ACCOUNT NO.: NOT AVAILABLE


3.492   ALVARADO RAMIREZ, SONIA                  VARIOUS                             Litigation             UNDETERMINED
        2630 MOZART AVE
        SAN JOSE, CA 95122             ACCOUNT NO.: NOT AVAILABLE


3.493   ALVARADO, ANGEL V. PG&E                  VARIOUS                             Litigation             UNDETERMINED
        9248 NORTH GREEN MEADOWS
        LANE                           ACCOUNT NO.: NOT AVAILABLE
        LANE FRESNO, CA 93720


3.494   ALVARADO, CELIA                          VARIOUS                             Litigation             UNDETERMINED
        388 E ALVIN DRIVE
        SALINAS, CA 93906              ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address       Date Claim Was Incurred And       C U    D   Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.495   ALVARADO, JOSE                          VARIOUS                             Litigation             UNDETERMINED
        940 W GRIFFITH WAY APT #107
        FRESNO, CA 93705              ACCOUNT NO.: NOT AVAILABLE


3.496   ALVARADO, LUPE                          VARIOUS                             Litigation             UNDETERMINED
        3331 FARRELL ROAD
        VACAVILLE, CA 95688           ACCOUNT NO.: NOT AVAILABLE


3.497   ALVARAVO, SAM                           VARIOUS                             Litigation             UNDETERMINED
        1135 MOSSWOOD LANE
        DIXON, CA 95620               ACCOUNT NO.: NOT AVAILABLE


3.498   ALVAREZ LOPEZ, MARGARITA                VARIOUS                             Litigation             UNDETERMINED
        546 TWTT STREET
        SALINAS, CA 93905             ACCOUNT NO.: NOT AVAILABLE


3.499   ALVAREZ, ALFONSO                        VARIOUS                             Litigation             UNDETERMINED
        9A COTTAGE DRIVE
        WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.500   ALVAREZ, ANGIE                          VARIOUS                             Litigation             UNDETERMINED
        2344 MESQUITE CT
        MERCED, CA 95348              ACCOUNT NO.: NOT AVAILABLE


3.501   ALVAREZ, DAVID                          VARIOUS                             Litigation             UNDETERMINED
        55 CRAZY HORSE CYN RD
        SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.502   ALVAREZ, DENISE                         VARIOUS                             Litigation             UNDETERMINED
        2386 N. MAIN ST.
        D                             ACCOUNT NO.: NOT AVAILABLE
        SALINAS, CA 93906


3.503   ALVAREZ, JOE                            VARIOUS                             Litigation             UNDETERMINED
        1556 N TEMPERANCE AVE
        FRESNO, CA 93727              ACCOUNT NO.: NOT AVAILABLE


3.504   ALVAREZ, LUIS                           VARIOUS                             Litigation             UNDETERMINED
        4092 N CHESTNUT AVE
        126                           ACCOUNT NO.: NOT AVAILABLE
        FRESNO, CA 93726


3.505   ALVAREZ, OLIVIA                         VARIOUS                             Litigation             UNDETERMINED
        246 EGRET LN
        GUADALUPE, CA 93434           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.506   ALVAREZ, SUSANA                         VARIOUS                             Litigation             UNDETERMINED
        1850 MADRONA ST
        NAPA, CA 94559                ACCOUNT NO.: NOT AVAILABLE


3.507   ALVES, DANIEL                           VARIOUS                             Litigation             UNDETERMINED
        896 BLAKE STREET
        SANTA MARIA, CA 93455         ACCOUNT NO.: NOT AVAILABLE


3.508   ALVES, GIANI                            VARIOUS                             Litigation             UNDETERMINED
        1501 ALMADEN EXPY APT 2208
        SAN JOSE, CA 95125            ACCOUNT NO.: NOT AVAILABLE


3.509   ALVIDREZ, LAURENCE                      VARIOUS                             Litigation             UNDETERMINED
        2628 MONTGOMERY DR
        SANTA ROSA, CA                ACCOUNT NO.: NOT AVAILABLE


3.510   ALVIDREZ, LAURENCE V. PG&E              VARIOUS                             Litigation             UNDETERMINED
        2628 MONTGOMERY DR
        SANTA ROSA, CA 95405          ACCOUNT NO.: NOT AVAILABLE


3.511   ALVINAWILSON, VIVIAN                    VARIOUS                             Litigation             UNDETERMINED
        13686 DRY CREEK RD
        BELLA VISTA, CA 96008         ACCOUNT NO.: NOT AVAILABLE


3.512   AMADIO, LINDA                           VARIOUS                             Litigation             UNDETERMINED
        3265 BLUE RIDGE CIR
        STOCKTON, CA 95219            ACCOUNT NO.: NOT AVAILABLE


3.513   AMADOR ALTHETIC CLUB,                   VARIOUS                             Litigation             UNDETERMINED
        DAVID GEBAUER
        460 HIGHWAY 49                ACCOUNT NO.: NOT AVAILABLE
        SUTTER CREEK, CA 95685


3.514   AMADOR WATER AGENCY-                    VARIOUS                             Litigation             UNDETERMINED
        WYCKOFF, DAMON
        12800 RIDGE RD                ACCOUNT NO.: NOT AVAILABLE
        SUTTER CREEK, CA 95685


3.515   AMADOR WATER AGENCY-                    VARIOUS                             Litigation             UNDETERMINED
        WYCKOFF, DAMON
        12800 RIDGE RD                ACCOUNT NO.: NOT AVAILABLE
        SUTTER CREEK, CA 95685


3.516   AMADOR, KRISTIN                         VARIOUS                             Litigation             UNDETERMINED
        3491 TURNER CT
        CONCORD, CA 94518             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.517   AMADOR, PABLO                           VARIOUS                             Litigation             UNDETERMINED
        P.O. BOX 983
        GONZALES, CA 93926            ACCOUNT NO.: NOT AVAILABLE


3.518   AMANTE, KRISTINE                        VARIOUS                             Litigation             UNDETERMINED
        PO BOX 1471
        CLEARLAKE OAKS, CA 95423      ACCOUNT NO.: NOT AVAILABLE


3.519   AMARU, LOIS                             VARIOUS                             Litigation             UNDETERMINED
        508 4TH ST.
        SAN RAFAEL, CA 94901          ACCOUNT NO.: NOT AVAILABLE


3.520   AMASALIAN, SAMUEL A                     VARIOUS                             Litigation             UNDETERMINED
        1016 N SAN PABLO AVE
        FRESNO, CA 93728              ACCOUNT NO.: NOT AVAILABLE


3.521   AMATE, TROY                             VARIOUS                             Litigation             UNDETERMINED
        131 OXBOW MARINA
        ISLETON, CA 95641             ACCOUNT NO.: NOT AVAILABLE


3.522   AMAYA, LEAMSI                           VARIOUS                             Litigation             UNDETERMINED
        2050 STANTON AVE
        APT #4                        ACCOUNT NO.: NOT AVAILABLE
        SAN PABLO, CA 94806


3.523   AMAZING COOKING SS INC.,                VARIOUS                             Litigation             UNDETERMINED
        ROY - ALI MOINI
        1152 VALENCIA STREET          ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94110


3.524   AMBE HOSPITALITY LLC-                   VARIOUS                             Litigation             UNDETERMINED
        PANCHAL, ANKIT
        1605 AUTO CENTER DR           ACCOUNT NO.: NOT AVAILABLE
        ANTIOCH, CA 94509


3.525   AMBELANG, DEBRA                         VARIOUS                             Litigation             UNDETERMINED
        1530 HILLCREST
        SAN JOSE, CA 95118            ACCOUNT NO.: NOT AVAILABLE


3.526   AMBER LOGISTICS, ARO,                   VARIOUS                             Litigation             UNDETERMINED
        ERNEST
        6226 INDUSTRIAL WAY           ACCOUNT NO.: NOT AVAILABLE
        LIVERMORE, CA 94551


3.527   AMBERWOOD GARDENS-                      VARIOUS                             Litigation             UNDETERMINED
        BRUCE, MAX
        1601 PETERSEN AVENUE          ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95129


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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.528   AMBROSE FAMILY LP-GILBERT,             VARIOUS                             Litigation             UNDETERMINED
        GREG
        750 MENLO AVENUE             ACCOUNT NO.: NOT AVAILABLE
        #250
        MENLO PARK, CA 94025


3.529   AMBROSE, JAMES                         VARIOUS                             Litigation             UNDETERMINED
        9891 COUNTRY MEADOW DR.
        STOCKTON, CA 95209           ACCOUNT NO.: NOT AVAILABLE


3.530   AMBROSE, KAREN                         VARIOUS                             Litigation             UNDETERMINED
        P O BOX 153
        19486 LAST MILE DRIVE        ACCOUNT NO.: NOT AVAILABLE
        GRASS VALLEY, CA 95712


3.531   AMBROSINI, MICHAEL                     VARIOUS                             Litigation             UNDETERMINED
        2000 HILLCREST AVE
        ANTIOCH, CA 94509            ACCOUNT NO.: NOT AVAILABLE


3.532   AMBURGEY, SYLVIA                       VARIOUS                             Litigation             UNDETERMINED
        1721 VIEJO RD
        ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.533   AMCO INSURANCE (SPENCER)               VARIOUS                             Litigation             UNDETERMINED
        LAW OFFICE OF MCCARTHY &
        BEAVERS                      ACCOUNT NO.: NOT AVAILABLE
        4685 MACARTHUR CT #200
        NEWPORT BEACH, CA 92660


3.534   AMCO INSURANCE (THOMPSON)              VARIOUS                             Litigation             UNDETERMINED
        LAW OFFICE OF ANTHONY T.
        SCHNEIDER                    ACCOUNT NO.: NOT AVAILABLE
        4685 MACARTHUR COURT, STE
        200
        NEWPORT BEACH, CA 92660


3.535   AMDAHL, CARLTON                        VARIOUS                             Litigation             UNDETERMINED
        6711 CRYSTAL SPRINGS DR.
        SAN JOSE, CA 95120           ACCOUNT NO.: NOT AVAILABLE


3.536   AMERICAN BEST VALUE INN-               VARIOUS                             Litigation             UNDETERMINED
        HINKLER, LEILANI
        122 E 12TH STREET            ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94606


3.537   AMERICAN CANYON BAPTIST                VARIOUS                             Litigation             UNDETERMINED
        CHURCH, /NOAH'S ARK
        CHRISTIAN SCHOOL             ACCOUNT NO.: NOT AVAILABLE
        2 ANDREW RD
        AMERICAN CANYON, CA 94503

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Litigation & Disputes

3.538   AMERICAN CLAIMS EXPERTS-               VARIOUS                             Litigation             UNDETERMINED
        BOCCI, DON
        PO BOX 697                   ACCOUNT NO.: NOT AVAILABLE
        RANCHO CUCAMONGA, CA
        91729


3.539   AMERICAN CLAIMS                        VARIOUS                             Litigation             UNDETERMINED
        MANAGEMENT CARLSBAD,
        PIMENTEL # 4202646           ACCOUNT NO.: NOT AVAILABLE
        P. O. BOX 9060
        13140 HERITAGE CIRLCE
        CARLSBAD, CA 92018-9060


3.540   AMERICAN CLAIMS                        VARIOUS                             Litigation             UNDETERMINED
        MANAGEMENT, UNIVERSAL
        NORTH AMERICA INSURANCE      ACCOUNT NO.: NOT AVAILABLE
        COMPANY
        PO BOX 9033
        FRESNO
        CARLSBAD, CA 92018


3.541   AMERICAN LINEN-BROWN,                  VARIOUS                             Litigation             UNDETERMINED
        ANTHONY
        3311 INDUSTRIAL DR.          ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.542   AMERICAN REDSTONE -                    VARIOUS                             Litigation             UNDETERMINED
        CHIOUPEK, CAROL
        1859 LITTLE ORCHARD          ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95125


3.543   AMERICAN SALON, CHRISTIAN              VARIOUS                             Litigation             UNDETERMINED
        LUU
        2521 WINCHESTER BLVD         ACCOUNT NO.: NOT AVAILABLE
        CAMPBELL, CA 95008


3.544   AMERICAN UNDERGROUND                   VARIOUS                             Litigation             UNDETERMINED
        CONTRACTOR-SWAFFORD,
        DOYLE                        ACCOUNT NO.: NOT AVAILABLE
        PO BOX 670
        BYRON, CA 94514


3.545   AMERICAN WATER WORKS                   VARIOUS                             Litigation             UNDETERMINED
        SERVICE
        1275 WIKIUP DR.              ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.546   AMERICAS BEST VALUE INN-               VARIOUS                             Litigation             UNDETERMINED
        KHANTRI, KANTI
        122 E 12TH ST                ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94606

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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.547   AMERICAS BEST VALUE INN-MA,             VARIOUS                             Litigation             UNDETERMINED
        SIMON
        7600 REDWOOD BLVD             ACCOUNT NO.: NOT AVAILABLE
        NOVATO, CA 94945


3.548   AMERICAS BEST VALUE INN-MA,             VARIOUS                             Litigation             UNDETERMINED
        SIMON
        7600 REDWOOD BLVD             ACCOUNT NO.: NOT AVAILABLE
        NOVATO, CA 94945


3.549   AMERIGIAN, GARY                         VARIOUS                             Litigation             UNDETERMINED
        PO BOX 363
        MANCHESTER, CA 95459          ACCOUNT NO.: NOT AVAILABLE


3.550   AMERIPRISE AUTO AND HOME                VARIOUS                             Litigation             UNDETERMINED
        INSURANCE-TOLLESON, CORY
        2815 SUNNY GROVE AVE          ACCOUNT NO.: NOT AVAILABLE
        MCKINLEYVILLE, CA 95519


3.551   AMERIPRISE, CLAIM NUMBER                VARIOUS                             Litigation             UNDETERMINED
        2254206K111
        3500 PACKERLAND DRIVE         ACCOUNT NO.: NOT AVAILABLE
        3 PINE AVENUE, MOUNT
        HERMON, CA 95041
        DE PERE, CA 54115-9070


3.552   AMES, JEFFREY & LAURA                   VARIOUS                             Litigation             UNDETERMINED
        2475 CREEK MEADOW DR.
        SANTA ROSA, CA 95404          ACCOUNT NO.: NOT AVAILABLE


3.553   AMIDON, SUSAN                           VARIOUS                             Litigation             UNDETERMINED
        1741 BRUSH CREEK RD
        SANTA ROSA, CA 95404          ACCOUNT NO.: NOT AVAILABLE


3.554   AMINI, BIJAN                            VARIOUS                             Litigation             UNDETERMINED
        505 ELLA DR
        SAN JOSE, CA 95111            ACCOUNT NO.: NOT AVAILABLE


3.555   AMIOT, BONNIE                           VARIOUS                             Litigation             UNDETERMINED
        3000 SUMMIT ROAD
        SAN BRUNO, CA 94066           ACCOUNT NO.: NOT AVAILABLE


3.556   AMMAR, TRINA                            VARIOUS                             Litigation             UNDETERMINED
        718 SUNSET DR
        PACIFIC GROVE, CA 93950       ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.557   AMMARI, RAY                            VARIOUS                             Litigation             UNDETERMINED
        18700 MORO ROAD
        UNIT A                       ACCOUNT NO.: NOT AVAILABLE
        PRUNEDALE, CA 93907


3.558   AMMIRATA, MARGIT                       VARIOUS                             Litigation             UNDETERMINED
        PO BOX 653
        6000 AMMRUS WAY              ACCOUNT NO.: NOT AVAILABLE
        DIAMOND SPRINGS, CA 95619


3.559   AMMONS, SHWANA                         VARIOUS                             Litigation             UNDETERMINED
        1017 E 22ND ST
        APT 6                        ACCOUNT NO.: NOT AVAILABLE
        OAKLAND, CA 94606


3.560   AMODOR CLEANING-BARDSLEY,              VARIOUS                             Litigation             UNDETERMINED
        NOLA
        PO BOX 484                   ACCOUNT NO.: NOT AVAILABLE
        MOKELUMNE HILL, CA 95245


3.561   AMORAL, MANUEL                         VARIOUS                             Litigation             UNDETERMINED
        PO BOX Z
        GONZALES, CA 93926           ACCOUNT NO.: NOT AVAILABLE


3.562   AMOROSO, DAVID                         VARIOUS                             Litigation             UNDETERMINED
        600 MOORE ROAD
        WOODSIDE, CA 94062           ACCOUNT NO.: NOT AVAILABLE


3.563   AMOURA RESTAURANT AND                  VARIOUS                             Litigation             UNDETERMINED
        CAFE-SHIHADEH, BASSAM
        713 LINDEN AVE               ACCOUNT NO.: NOT AVAILABLE
        SOUTH SAN FRANCISCO, CA
        94080


3.564   AMPIRE, NICHOLASA                      VARIOUS                             Litigation             UNDETERMINED
        440 BRAZIL AVE
        SAN FRANCISCO, CA 94112      ACCOUNT NO.: NOT AVAILABLE


3.565   AMTELTEK INC.-GHANEH,                  VARIOUS                             Litigation             UNDETERMINED
        AFSHIN
        20221 SKYLINE BLVD           ACCOUNT NO.: NOT AVAILABLE
        REDWOOD CITY, CA 94062


3.566   AMTELTEK, INC                          VARIOUS                             Litigation             UNDETERMINED
        20221 SKYLINE BLVD
        349 SANGO COURT              ACCOUNT NO.: NOT AVAILABLE
        MILPITAS, CA 95035




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Litigation & Disputes

3.567   AMUZIE, DON                            VARIOUS                             Litigation             UNDETERMINED
        145 APPIAN WAY
        SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
        94080


3.568   AMY, MARIE                             VARIOUS                             Litigation             UNDETERMINED
        1164 BAYWOOD DRIVE APT 18
        PETALUMA, CA 94954           ACCOUNT NO.: NOT AVAILABLE


3.569   AMZCUA, RAMIRO                         VARIOUS                             Litigation             UNDETERMINED
        3902 BUCKNALL RD
        CAMPBELL, CA 95008           ACCOUNT NO.: NOT AVAILABLE


3.570   ANA VIDA REID REPORTING                VARIOUS                             Litigation             UNDETERMINED
        SERVICE-REID, ANA
        1838 CHERRY HILLS DR         ACCOUNT NO.: NOT AVAILABLE
        DISCOVERY BAY, CA 94505


3.571   ANALOG DEVICES INC                     VARIOUS                             Litigation             UNDETERMINED
        1630 MCCARTHY BLVD
        ATTN ACCOUNTS PAYABLE        ACCOUNT NO.: NOT AVAILABLE
        MILPITAS, CA 95035


3.572   ANASTON, LOULA                         VARIOUS                             Litigation             UNDETERMINED
        2141 VIA ESCALERA
        LOS ALTOS, CA 94024          ACCOUNT NO.: NOT AVAILABLE


3.573   ANAYA, DAVID                           VARIOUS                             Litigation             UNDETERMINED
        716 BROADWAY
        SANTA CRUZ, CA 95062         ACCOUNT NO.: NOT AVAILABLE


3.574   ANCHETA, ABRAHAM                       VARIOUS                             Litigation             UNDETERMINED
        8975 SOUTH PRUNEDALE ROAD
        SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.575   AND VEGETABLE INGREDIENTS,             VARIOUS                             Litigation             UNDETERMINED
        OLAM SPICES
        6229 MYERS RD.               ACCOUNT NO.: NOT AVAILABLE
        ATTN ZACH BAGLEY
        WILLIAMS, CA 95987


3.576   ANDALON, RUTH                          VARIOUS                             Litigation             UNDETERMINED
        9950 DAVIS RD
        STOCTON, CA 96820            ACCOUNT NO.: NOT AVAILABLE


3.577   ANDEREGG, CHRISTOPHER &                VARIOUS                             Litigation             UNDETERMINED
        SARAH
        2676 HARNESS DR.             ACCOUNT NO.: NOT AVAILABLE
        POPE VALLEY, CA 94567

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Litigation & Disputes

3.578   ANDERSEN, ELIZABETH                      VARIOUS                             Litigation             UNDETERMINED
        PO BOX 892
        TWAIN HARTE, CA 95383          ACCOUNT NO.: NOT AVAILABLE


3.579   ANDERSEN, GAYLE                          VARIOUS                             Litigation             UNDETERMINED
        28614 ALTA VISTA DRIVE
        WINTERS, CA 95694              ACCOUNT NO.: NOT AVAILABLE


3.580   ANDERSON FARMS-ANDERSON,                 VARIOUS                             Litigation             UNDETERMINED
        KEITH
        87 B STREET                    ACCOUNT NO.: NOT AVAILABLE
        BIGGS, CA 95917


3.581   ANDERSON, ALAN                           VARIOUS                             Litigation             UNDETERMINED
        2186 RIDGEPOINT COURT
        WALNUT CREEK, CA 94596         ACCOUNT NO.: NOT AVAILABLE


3.582   ANDERSON, AMY                            VARIOUS                             Litigation             UNDETERMINED
        2152 GREENWOOD AVE
        SAN CARLOS, CA 94070           ACCOUNT NO.: NOT AVAILABLE


3.583   ANDERSON, ARLENE                         VARIOUS                             Litigation             UNDETERMINED
        2355 MEADOW CT.
        MCKINLEYVILLE, CA 95472        ACCOUNT NO.: NOT AVAILABLE


3.584   ANDERSON, CHRISTINE R                    VARIOUS                             Litigation             UNDETERMINED
        P.O. BOX 3
        JACKSON, CA 95642              ACCOUNT NO.: NOT AVAILABLE


3.585   ANDERSON, DANIELLE                       VARIOUS                             Litigation             UNDETERMINED
        1504 DOUGLAS ROAD
        STOCKTON, CA 95207             ACCOUNT NO.: NOT AVAILABLE


3.586   ANDERSON, DONALD                         VARIOUS                             Litigation             UNDETERMINED
        2125 CALIFORNIA STREET
        ESCALON, CA 95320              ACCOUNT NO.: NOT AVAILABLE


3.587   ANDERSON, DONNA                          VARIOUS                             Litigation             UNDETERMINED
        1920 SPRUCE AVENUE
        CHICO, CA 95926                ACCOUNT NO.: NOT AVAILABLE


3.588   ANDERSON, EARNEST                        VARIOUS                             Litigation             UNDETERMINED
        3146 DESERET DR
        RICHMOND, CA 94803             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.589   ANDERSON, ERIN                          VARIOUS                             Litigation             UNDETERMINED
        HEATHER BAKER DOBBS,
        KIRTLAND & PACKARD            ACCOUNT NO.: NOT AVAILABLE
        1638 S. PACIFIC COAST
        HIGHWAY
        REDONDO BEACH, CA 90277


3.590   ANDERSON, GREG & LINDA                  VARIOUS                             Litigation             UNDETERMINED
        501 LUDS WAY
        OROVILLE, CA 95965            ACCOUNT NO.: NOT AVAILABLE


3.591   ANDERSON, HARVEY                        VARIOUS                             Litigation             UNDETERMINED
        JAMES B. BERGLUND,
        ATTORNEY AT LAW               ACCOUNT NO.: NOT AVAILABLE
        1453 DOWNER STREET, SUITE B
        OROVILLE, CA 95965


3.592   ANDERSON, HARVEY                        VARIOUS                             Litigation             UNDETERMINED
        C/O JAMES BERGLUND, ESQ.
        1453 DOWNER ST., # B          ACCOUNT NO.: NOT AVAILABLE
        OROVILLE, CA 95965


3.593   ANDERSON, HOWARD                        VARIOUS                             Litigation             UNDETERMINED
        17 LOWER SALT CREEK
        195 HILTON DRIVE              ACCOUNT NO.: NOT AVAILABLE
        APPLEGATE, CA 95703


3.594   ANDERSON, JAMES                         VARIOUS                             Litigation             UNDETERMINED
        1104 BLACK PINE LANE
        PLEASANT HILL, CA 94523       ACCOUNT NO.: NOT AVAILABLE


3.595   ANDERSON, JOSHUA                        VARIOUS                             Litigation             UNDETERMINED
        1577 BRUCE DR APT. F
        ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


3.596   ANDERSON, JOYCE                         VARIOUS                             Litigation             UNDETERMINED
        15232 GRANT DRIVE
        CLEARLAKE, CA 95422           ACCOUNT NO.: NOT AVAILABLE


3.597   ANDERSON, JUDITH                        VARIOUS                             Litigation             UNDETERMINED
        217 ESSEX WAY
        BENICIA, CA 94510             ACCOUNT NO.: NOT AVAILABLE


3.598   ANDERSON, KEITH                         VARIOUS                             Litigation             UNDETERMINED
        2772 SHANILEY RD
        AUBURN, CA 95603              ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.599   ANDERSON, LAURA                         VARIOUS                             Litigation             UNDETERMINED
        1597 BRUCE DR
        A                             ACCOUNT NO.: NOT AVAILABLE
        ANDERSON, CA 96007


3.600   ANDERSON, LELAND &                      VARIOUS                             Litigation             UNDETERMINED
        ELIZABETH
        5605 LUPIN LANE               ACCOUNT NO.: NOT AVAILABLE
        POLLOCK PINES, CA 95726


3.601   ANDERSON, LESLIE                        VARIOUS                             Litigation             UNDETERMINED
        3626 KIMBERLY ROAD
        CAMERON PARK, CA 95682        ACCOUNT NO.: NOT AVAILABLE


3.602   ANDERSON, LISA                          VARIOUS                             Litigation             UNDETERMINED
        33352 CASCADEL HEIGHTS
        DRIVE                         ACCOUNT NO.: NOT AVAILABLE
        NORTH FORK, CA 93643


3.603   ANDERSON, LOUIS                         VARIOUS                             Litigation             UNDETERMINED
        6841 PERRY CREEK RD
        SOMERSET, CA 95684            ACCOUNT NO.: NOT AVAILABLE


3.604   ANDERSON, MATTHEW                       VARIOUS                             Litigation             UNDETERMINED
        3058 BRYAN COURT
        PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.605   ANDERSON, MILES & JOYCE                 VARIOUS                             Litigation             UNDETERMINED
        220 MORRISSEY BLVD
        SANTA CRUZ, CA 95062          ACCOUNT NO.: NOT AVAILABLE


3.606   ANDERSON, NANCY                         VARIOUS                             Litigation             UNDETERMINED
        4484 EASTPARK CT
        STONYFORD, CA 95979           ACCOUNT NO.: NOT AVAILABLE


3.607   ANDERSON, PANSY                         VARIOUS                             Litigation             UNDETERMINED
        312 CENTRAL AVE
        VALLEJO, CA 94590             ACCOUNT NO.: NOT AVAILABLE


3.608   ANDERSON, RICHARD                       VARIOUS                             Litigation             UNDETERMINED
        23132 QUAIL DRIVE
        TWAIN HARTE, CA 95383         ACCOUNT NO.: NOT AVAILABLE


3.609   ANDERSON, ROSS                          VARIOUS                             Litigation             UNDETERMINED
        PO BOX 850
        HEALDSBURG, CA 95448          ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.610   ANDERSON, SANDRA                        VARIOUS                             Litigation             UNDETERMINED
        10680 DAM ROAD
        CLEAR LAKE, CA 95422          ACCOUNT NO.: NOT AVAILABLE


3.611   ANDERSON, SCOTT                         VARIOUS                             Litigation             UNDETERMINED
        672 LOHRMAN LANE
        PETALUMA, CA 94952            ACCOUNT NO.: NOT AVAILABLE


3.612   ANDERSON, SHEILA                        VARIOUS                             Litigation             UNDETERMINED
        1145 E KAVILAND AVE
        FRESNO, CA 93706              ACCOUNT NO.: NOT AVAILABLE


3.613   ANDERSON, TERRELL                       VARIOUS                             Litigation             UNDETERMINED
        PO BOX 633
        282 PREZ ST APT 343           ACCOUNT NO.: NOT AVAILABLE
        SEASIDE, CA 93955


3.614   ANDERSON, THOM                          VARIOUS                             Litigation             UNDETERMINED
        20 ELEGANT TERN RD
        NOVATO, CA 94949              ACCOUNT NO.: NOT AVAILABLE


3.615   ANDERSON, WALLLIS                       VARIOUS                             Litigation             UNDETERMINED
        2053 FOXHALL LOOPS
        SAN JOSE, CA 95125            ACCOUNT NO.: NOT AVAILABLE


3.616   ANDERSONS HIDDEN VALLEY                 VARIOUS                             Litigation             UNDETERMINED
        RANCH, JOHN ANDERSON
        384 C CORRAL DE TIERRA        ACCOUNT NO.: NOT AVAILABLE
        BACK OF CROPPIGN FENCE
        SALINAS, CA 93908


3.617   ANDRADE, BRITTANY                       VARIOUS                             Litigation             UNDETERMINED
        6620 COLLIER AVE # 17
        UPPER LAKE, CA 95485          ACCOUNT NO.: NOT AVAILABLE


3.618   ANDRADE, ELIZABETH                      VARIOUS                             Litigation             UNDETERMINED
        3067 BELLEVIEW AVE
        STOCKTON, CA 95206            ACCOUNT NO.: NOT AVAILABLE


3.619   ANDRADE, ESTHER & JOSE                  VARIOUS                             Litigation             UNDETERMINED
        7141 DRIFT CREEK STREET
        BAKERSFIELD, CA 93313         ACCOUNT NO.: NOT AVAILABLE


3.620   ANDRADE, MARVIN                         VARIOUS                             Litigation             UNDETERMINED
        1730 ARROWHEAD DRIVE
        OAKLAND, CA 94611             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.621   ANDRADE, RAYMUNDO                       VARIOUS                             Litigation             UNDETERMINED
        545 LEWIS RD
        WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.622   ANDRADE, VICTOR                         VARIOUS                             Litigation             UNDETERMINED
        295 STRATFORD AVE
        APT B                         ACCOUNT NO.: NOT AVAILABLE
        DIXON, CA 95620


3.623   ANDRE, CHARLES                          VARIOUS                             Litigation             UNDETERMINED
        350 CATHERINE DRIVE
        SOUTH SAN FRANCISCO, CA       ACCOUNT NO.: NOT AVAILABLE
        94080


3.624   ANDRE, MARY                             VARIOUS                             Litigation             UNDETERMINED
        PO BOX 24219
        2685 EVORA DRIVE              ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95724


3.625   ANDREINI BROTHERS, INC.-                VARIOUS                             Litigation             UNDETERMINED
        ANGELINI, ALISA
        151 MAIN ST.                  ACCOUNT NO.: NOT AVAILABLE
        HALF MOON BAY, CA 94019


3.626   ANDREINI BROTHERS, INC.-                VARIOUS                             Litigation             UNDETERMINED
        ANGELINI, ALISA
        151 MAIN ST.                  ACCOUNT NO.: NOT AVAILABLE
        HALF MOON BAY, CA 94019


3.627   ANDRESEN, JOSH                          VARIOUS                             Litigation             UNDETERMINED
        319 RICARDO RD
        MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE


3.628   ANDREW RUIZ                             VARIOUS                             Litigation             UNDETERMINED
        BOBBY THOMPSON
        733 AIRPORT BLVD              ACCOUNT NO.: NOT AVAILABLE
        SUITE 193
        BURLINGAME, CA 94010


3.629   ANDREW RUIZ                             VARIOUS                             Litigation             UNDETERMINED
        MARY ALEXANDER, BRENDAN
        WAY, CATALINA MUNOZ           ACCOUNT NO.: NOT AVAILABLE
        44 MONTGOMERY STREET
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.630   ANDREW S. KOUVARIS, DDS,                VARIOUS                             Litigation             UNDETERMINED
        MSD, INC-KOUVARIS, ANDREW
        14435 LENRAY LANE             ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95124

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Litigation & Disputes

3.631   ANDREWS, CATHERINE                       VARIOUS                             Litigation             UNDETERMINED
        825 WIKIUP DRIVE
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.632   ANDREWS, EVELYN & CLIFF                  VARIOUS                             Litigation             UNDETERMINED
        18455 MEADOW RIDGE ROAD
        SALINAS, CA 93907              ACCOUNT NO.: NOT AVAILABLE


3.633   ANDREWS, ROBERT                          VARIOUS                             Litigation             UNDETERMINED
        2905 PEBBLE BEACH CIRCLE
        FAIRFIELD, CA 94534            ACCOUNT NO.: NOT AVAILABLE


3.634   ANDREWSEN, WILLIAM                       VARIOUS                             Litigation             UNDETERMINED
        1873 RENEE WAY
        CONCORD, CA 94521              ACCOUNT NO.: NOT AVAILABLE


3.635   ANDRIES, ALBERT                          VARIOUS                             Litigation             UNDETERMINED
        17255 NILE RIVER DRIVE
        SONORA, CA 95370               ACCOUNT NO.: NOT AVAILABLE


3.636   ANDRINI, ROBERT                          VARIOUS                             Litigation             UNDETERMINED
        157 WESTGATE DRIVE
        SAN FRANCISCO, CA 94127        ACCOUNT NO.: NOT AVAILABLE


3.637   ANDROLOWICZ, SOPHIA                      VARIOUS                             Litigation             UNDETERMINED
        2880 BEARD RD
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.638   ANDRUS, MARIE                            VARIOUS                             Litigation             UNDETERMINED
        21396 MADRONE DR
        LOS GATOS, CA 95033            ACCOUNT NO.: NOT AVAILABLE


3.639   ANDY'S ALL SUBARU REPAIR-                VARIOUS                             Litigation             UNDETERMINED
        MELLOTT, ANDREW
        14216 TUOLUMNE RD              ACCOUNT NO.: NOT AVAILABLE
        SUITE 1
        SONORA, CA 95370


3.640   ANEZIONS, CHRIS                          VARIOUS                             Litigation             UNDETERMINED
        1340 TUOLUMNE ROAD
        MILLBRAE, CA 94030             ACCOUNT NO.: NOT AVAILABLE


3.641   ANG, EDWARD                              VARIOUS                             Litigation             UNDETERMINED
        3472 16TH ST.
        SAN FRANCISCO, CA 94114        ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.642   ANGEL, JENNIFER                         VARIOUS                             Litigation             UNDETERMINED
        2324 KENTUCKY ST
        BAKERSFIELD, CA 93306         ACCOUNT NO.: NOT AVAILABLE


3.643   ANGEL, KIM                              VARIOUS                             Litigation             UNDETERMINED
        21830 RUSSIAN RIVER DR
        SONORA, CA 95370              ACCOUNT NO.: NOT AVAILABLE


3.644   ANGEL, RUTH                             VARIOUS                             Litigation             UNDETERMINED
        PO BOX 165
        SHASTA, CA 96087              ACCOUNT NO.: NOT AVAILABLE


3.645   ANGELERI, JOHN                          VARIOUS                             Litigation             UNDETERMINED
        2986 TEPUSQUET RD
        SANTA MARIA, CA 93454         ACCOUNT NO.: NOT AVAILABLE


3.646   ANGELES, EUGENIO                        VARIOUS                             Litigation             UNDETERMINED
        2073 SANTA RITA STREET
        SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.647   ANGELES, KENT MARK                      VARIOUS                             Litigation             UNDETERMINED
        1317 COLUMBUS ST
        BAKERSFIELD, CA 93305         ACCOUNT NO.: NOT AVAILABLE


3.648   ANGELICH, CELESTE                       VARIOUS                             Litigation             UNDETERMINED
        16741 WILD OAK CT.
        MORGAN HILL, CA 95037         ACCOUNT NO.: NOT AVAILABLE


3.649   ANGELINAS-COPELLO, STEVE                VARIOUS                             Litigation             UNDETERMINED
        1563 E. FREMONT ST.
        STOCKTON, CA 95205            ACCOUNT NO.: NOT AVAILABLE


3.650   ANGELL, LYNDA                           VARIOUS                             Litigation             UNDETERMINED
        4055 ALTA VISTA AVE
        SANTA ROSA, CA 95404          ACCOUNT NO.: NOT AVAILABLE


3.651   ANGELOV, IVELIN                         VARIOUS                             Litigation             UNDETERMINED
        5899 KILLARNEY CIRCLE
        SAN JOSE, CA 95138            ACCOUNT NO.: NOT AVAILABLE


3.652   ANGELS NAIL SPA, JO, DINH               VARIOUS                             Litigation             UNDETERMINED
        965 NORD AVE #100
        CHICO, CA 95926               ACCOUNT NO.: NOT AVAILABLE


3.653   ANGLE, BALAJI                           VARIOUS                             Litigation             UNDETERMINED
        35584 CONOVAN LANE
        FREMONT, CA 94536             ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.654   ANILAO, RICHARD                          VARIOUS                             Litigation             UNDETERMINED
        142 SAN TOMAS DRIVE
        PITTSBURG, CA 94565            ACCOUNT NO.: NOT AVAILABLE


3.655   ANIMAL DENTAL CLINIC                     VARIOUS                             Litigation             UNDETERMINED
        987 LAUREL ST.
        SAN CARLOS, CA 94070           ACCOUNT NO.: NOT AVAILABLE


3.656   ANKOLA, SANGEETHA                        VARIOUS                             Litigation             UNDETERMINED
        1289 HEATHERSTONE WAY
        SUNNYVALE, CA 94087            ACCOUNT NO.: NOT AVAILABLE


3.657   ANNIS, ANDREW                            VARIOUS                             Litigation             UNDETERMINED
        662 BANKS ST.
        SAN FRANCISCO, CA 94110        ACCOUNT NO.: NOT AVAILABLE


3.658   ANNONIO, ISELIN                          VARIOUS                             Litigation             UNDETERMINED
        PO BOX 1213
        NEWCASTLE, CA 95658            ACCOUNT NO.: NOT AVAILABLE


3.659   ANSELMO, STACY                           VARIOUS                             Litigation             UNDETERMINED
        7878 N MERIDIAN AVE
        FRESNO, CA 93720               ACCOUNT NO.: NOT AVAILABLE


3.660   ANSOK, RHONDA                            VARIOUS                             Litigation             UNDETERMINED
        17704 PARA DEROSA LANE
        PRUNEDALE, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.661   ANTHONY CROZIER PRE-LIT                  VARIOUS                             Litigation             UNDETERMINED
        7656 N. GREGORY AVENUE
        FRESNO, CA 93722               ACCOUNT NO.: NOT AVAILABLE


3.662   ANTHONY GERONIMO, JR.                    VARIOUS                             Litigation             UNDETERMINED
        TRUST-GERONIMO
        CONTRERAS, CYNTHIA             ACCOUNT NO.: NOT AVAILABLE
        7909 SCHROEDER ROAD
        DIXON, CA 95620


3.663   ANTHONY PERRAULT                         VARIOUS                             Litigation             UNDETERMINED
        PAUL ALAGA
        885 BRYANT STREET              ACCOUNT NO.: NOT AVAILABLE
        2ND FLOOR
        SAN FRANCISCO, CA 94103


3.664   ANTIBODIES, INC...-KROGSRUD,             VARIOUS                             Litigation             UNDETERMINED
        RICHARD
        25242 COUNTY ROAD 95           ACCOUNT NO.: NOT AVAILABLE
        DAVIS, CA 95616


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Litigation & Disputes

3.665   ANTIOCH RANCH, JERRY &                  VARIOUS                             Litigation             UNDETERMINED
        PATRICIA
        39451 COMPTCHE UKIAH ROAD     ACCOUNT NO.: NOT AVAILABLE
        MENDOCINO, CA 95460


3.666   ANTONE L GOMES AND SON-                 VARIOUS                             Litigation             UNDETERMINED
        GOMES, DAN
        515 EAST STUHR ROAD           ACCOUNT NO.: NOT AVAILABLE
        NEWMAN, CA 95360


3.667   ANTONIO B. ZARATE, DDS-                 VARIOUS                             Litigation             UNDETERMINED
        ZARATE, ANTONIO
        1225 TRAVIS BLVD              ACCOUNT NO.: NOT AVAILABLE
        SUITE B
        FAIRFIELD, CA 94533


3.668   ANTONYUK, ANDREY                        VARIOUS                             Litigation             UNDETERMINED
        1345 LISBON AVE
        WEST SACRAMENTO, CA 95605     ACCOUNT NO.: NOT AVAILABLE


3.669   ANTOVICH, RADOMIR                       VARIOUS                             Litigation             UNDETERMINED
        362 ST. ANDREWS DR.
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.670   ANTRACCOLI, CAROL                       VARIOUS                             Litigation             UNDETERMINED
        224 OXFORD ST
        SAN FRANCISCO, CA 94134       ACCOUNT NO.: NOT AVAILABLE


3.671   ANTROBUS, MARSHA                        VARIOUS                             Litigation             UNDETERMINED
        3 SOUTH LAKE COURT
        CORNER OF HILLCREST DRIVE     ACCOUNT NO.: NOT AVAILABLE
        & SOUTH LAKE DRIVE
        ABTIOCH, CA 94509


3.672   ANVICK, LENORE                          VARIOUS                             Litigation             UNDETERMINED
        1246 ANVICK RD
        ARCATA, CA 95221              ACCOUNT NO.: NOT AVAILABLE


3.673   ANVO NAILS, KRISTINE NGUYEN             VARIOUS                             Litigation             UNDETERMINED
        133 HICKEY BLVD
        S SAN FRANCISCO, CA 94080     ACCOUNT NO.: NOT AVAILABLE


3.674   ANY KRIS BEAUTY SALON,                  VARIOUS                             Litigation             UNDETERMINED
        JOSEFA & JUNE
        1407 A STREET                 ACCOUNT NO.: NOT AVAILABLE
        ANTIOCH, CA 94509




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Litigation & Disputes

3.675   ANZINI, DIANA                          VARIOUS                             Litigation             UNDETERMINED
        15112 ALDERPOINT ROAD
        ALDERPOINT, CA 95511         ACCOUNT NO.: NOT AVAILABLE


3.676   ANZO, PHYLLIS                          VARIOUS                             Litigation             UNDETERMINED
        POBOX733
        COTTONWOOD, CA 96022         ACCOUNT NO.: NOT AVAILABLE


3.677   APODACA ENTERPRISES KFC,               VARIOUS                             Litigation             UNDETERMINED
        HANK
        PO BOX 1329                  ACCOUNT NO.: NOT AVAILABLE
        WILLOWS, CA 95988


3.678   APPEL, CHEYO                           VARIOUS                             Litigation             UNDETERMINED
        3924 WORTHING WAY
        DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.679   APPELBLOM JEWELRY CO-                  VARIOUS                             Litigation             UNDETERMINED
        APPELBLOM, PAUL
        82 E 3RD AVE                 ACCOUNT NO.: NOT AVAILABLE
        SAN MATEO, CA 94401


3.680   APPELGREN, JOHN                        VARIOUS                             Litigation             UNDETERMINED
        1634 WAKEFIELD TER
        LOS ALTOS, CA 94024          ACCOUNT NO.: NOT AVAILABLE


3.681   APPLEYARD, SHEILA                      VARIOUS                             Litigation             UNDETERMINED
        217 HILLCREST ROAD
        BERKELEY, CA 94705           ACCOUNT NO.: NOT AVAILABLE


3.682   APPLIANCE 911-PISHCH,                  VARIOUS                             Litigation             UNDETERMINED
        VLADIMIR
        213 CUMBERLAND WAY           ACCOUNT NO.: NOT AVAILABLE
        DISCOVERY BAY, CA 94505


3.683   APPLING, LYNDA                         VARIOUS                             Litigation             UNDETERMINED
        4962 WATT ROAD
        MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE


3.684   AQUAFRESH PREMIUM PURE                 VARIOUS                             Litigation             UNDETERMINED
        WATER-FAROUK, SAROYA
        2135 TULLY RD                ACCOUNT NO.: NOT AVAILABLE
        A
        SAN JOSE, CA 95122


3.685   AQUILINA, JOE                          VARIOUS                             Litigation             UNDETERMINED
        P.O.BOX 4298
        CAMP CONNELL, CA 95223       ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.686   AQUILINO, JACK                          VARIOUS                             Litigation             UNDETERMINED
        24215 MANNY MARSHALL
        TWAIN HARTE, CA 95383         ACCOUNT NO.: NOT AVAILABLE


3.687   AQUINO, JOSEPHINE                       VARIOUS                             Litigation             UNDETERMINED
        1964 TIA PLACE
        SAN JOSE, CA 95131            ACCOUNT NO.: NOT AVAILABLE


3.688   AQUINO, ROMMEL                          VARIOUS                             Litigation             UNDETERMINED
        1133 PEMBRIDGE DR
        SAN JOSE, CA 95118            ACCOUNT NO.: NOT AVAILABLE


3.689   ARAMBULA & BROS                         VARIOUS                             Litigation             UNDETERMINED
        PO BOX 612
        WILLIAMS, CA 95987            ACCOUNT NO.: NOT AVAILABLE


3.690   ARAMBULA, ERNESTO                       VARIOUS                             Litigation             UNDETERMINED
        1410 WOLF CT
        SALINAS, CA 93905             ACCOUNT NO.: NOT AVAILABLE


3.691   ARAMBULA, JUAN & ARGCLIA                VARIOUS                             Litigation             UNDETERMINED
        1314 TRAZADO AVENUE
        SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.692   ARAMBULA, KEVIN                         VARIOUS                             Litigation             UNDETERMINED
        2515 K STREET
        BAKERSFIELD, CA 93301         ACCOUNT NO.: NOT AVAILABLE


3.693   ARANA, ELSIA                            VARIOUS                             Litigation             UNDETERMINED
        821 ATCHISON DRIVE
        VACAVILLE, CA 95687           ACCOUNT NO.: NOT AVAILABLE


3.694   ARANDA, JANIE                           VARIOUS                             Litigation             UNDETERMINED
        12332 S VILLA AVE
        FRESNO, CA 93725              ACCOUNT NO.: NOT AVAILABLE


3.695   ARANDA, RYNA                            VARIOUS                             Litigation             UNDETERMINED
        820 MORGAN LN
        RIO VISTA, CA 94571           ACCOUNT NO.: NOT AVAILABLE


3.696   ARATA, NANCY                            VARIOUS                             Litigation             UNDETERMINED
        GOSSAGE AVENUE AND PET
        BLVD                          ACCOUNT NO.: NOT AVAILABLE
        2001 PETALUMA BLVD
        PETALUMA, CA 94952




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.697   ARCADIA DESIGNS LLC-CHUNG,             VARIOUS                             Litigation             UNDETERMINED
        JOEY
        2133 DONALD DRIVE            ACCOUNT NO.: NOT AVAILABLE
        4
        MORAGA, CA 94556


3.698   ARCANGEL, LENITA                       VARIOUS                             Litigation             UNDETERMINED
        1220 MANZANITA CT
        ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.699   ARCATA FIRE DISTRICT                   VARIOUS                             Litigation             UNDETERMINED
        2149 CENTRAL AVENUE
        MCKINLEYVILLE, CA 95519      ACCOUNT NO.: NOT AVAILABLE


3.700   ARCATA FLORIST-PADILLA,                VARIOUS                             Litigation             UNDETERMINED
        HANA
        52 SUNNYBRAE CTR             ACCOUNT NO.: NOT AVAILABLE
        ARCATA, CA 95521


3.701   ARCATA GUEST HOUSE-                    VARIOUS                             Litigation             UNDETERMINED
        HEANEY, CHARLES
        8445 KNEELAND RD             ACCOUNT NO.: NOT AVAILABLE
        KNEELAND, CA 95549


3.702   ARCHBOLD, HANA                         VARIOUS                             Litigation             UNDETERMINED
        959 EMERALD HILL ROAD
        REDWOOD CITY, CA 94061       ACCOUNT NO.: NOT AVAILABLE


3.703   ARCIDIACONO, TONI                      VARIOUS                             Litigation             UNDETERMINED
        2780 VENTURA ST APT 120
        ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.704   ARCINIEGA, MARIA                       VARIOUS                             Litigation             UNDETERMINED
        510 FAWN GLEN DR
        TRACY, CA 95376              ACCOUNT NO.: NOT AVAILABLE


3.705   ARCO GAS STATION-PALUKURI,             VARIOUS                             Litigation             UNDETERMINED
        SRI
        401 SARATOGA AVE             ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95129


3.706   ARCOS, HECTOR                          VARIOUS                             Litigation             UNDETERMINED
        3675 YACHT DR
        DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.707   ARDEN, INGRID & PAUL                   VARIOUS                             Litigation             UNDETERMINED
        NEGUCESCU
        179 ST. GERMAIN AVENUE       ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94114

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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.708   ARELLANO, ALEX                          VARIOUS                             Litigation             UNDETERMINED
        108 DOGWOOD DR
        WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.709   ARELLANO, MARGARITA                     VARIOUS                             Litigation             UNDETERMINED
        2326 NORTH MAIN ST
        E                             ACCOUNT NO.: NOT AVAILABLE
        SALINAS, CA 93906


3.710   ARELLANOJONES, SHARON                   VARIOUS                             Litigation             UNDETERMINED
        3701 YACHT DRIVE
        DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.711   ARENAS CASTILLO, OLIVIA                 VARIOUS                             Litigation             UNDETERMINED
        1760 W. SPRINGCREST ST.
        HANFORD, CA 93230             ACCOUNT NO.: NOT AVAILABLE


3.712   ARENDT, KENNETH                         VARIOUS                             Litigation             UNDETERMINED
        108 ANN ARBOR CT
        LOS GATOS, CA 95032           ACCOUNT NO.: NOT AVAILABLE


3.713   AREVALO, JOSE                           VARIOUS                             Litigation             UNDETERMINED
        CA 0
                                      ACCOUNT NO.: NOT AVAILABLE


3.714   ARFSTEN, GARY                           VARIOUS                             Litigation             UNDETERMINED
        1030 KAY LANE
        OAKLEY, CA 94561              ACCOUNT NO.: NOT AVAILABLE


3.715   ARGONZA, CORAZON                        VARIOUS                             Litigation             UNDETERMINED
        2620 SOUTH KING ROAD
        SAN JOSE, CA 95122            ACCOUNT NO.: NOT AVAILABLE


3.716   ARGUETA, FRANCISCO                      VARIOUS                             Litigation             UNDETERMINED
        416S EL DORADO ST.
        SAN MATEO, CA 94402           ACCOUNT NO.: NOT AVAILABLE


3.717   ARGUETA, RODRIGO                        VARIOUS                             Litigation             UNDETERMINED
        1465 83RD AVE
        OAKLAND, CA 94621             ACCOUNT NO.: NOT AVAILABLE


3.718   ARGUETA, SALVADOR                       VARIOUS                             Litigation             UNDETERMINED
        1441 QUESADA AVE
        SAN FRANCISCO, CA 94124       ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.719   ARIAS REYES, MARGARITA                  VARIOUS                             Litigation             UNDETERMINED
        823 TAPER CT
        VALLEJO, CA 94589             ACCOUNT NO.: NOT AVAILABLE


3.720   ARIAS, JOE                              VARIOUS                             Litigation             UNDETERMINED
        7601 NORRIS ROAD
        BAKERSFIELD, CA 93308         ACCOUNT NO.: NOT AVAILABLE


3.721   ARIAS, KEVIN V. PG&E                    VARIOUS                             Litigation             UNDETERMINED
        C/O JUDE EGAN LAW
        1616 SKYVIEW DRIVE            ACCOUNT NO.: NOT AVAILABLE
        PASO ROBLES, CA 93446


3.722   ARIETTA, CARL                           VARIOUS                             Litigation             UNDETERMINED
        1191 MANCHESTER DR
        EL DORADO HILLS, CA 95762     ACCOUNT NO.: NOT AVAILABLE


3.723   ARIETTA, DAVID                          VARIOUS                             Litigation             UNDETERMINED
        P.O. BOX 511
        PHILO, CA 95406               ACCOUNT NO.: NOT AVAILABLE


3.724   ARIKAT, SULIMAN                         VARIOUS                             Litigation             UNDETERMINED
        2701 EL PORTAL DR
        SAN PABLO, CA 94806           ACCOUNT NO.: NOT AVAILABLE


3.725   ARIN, MYRA                              VARIOUS                             Litigation             UNDETERMINED
        2814 MADRONE WAY
        CLEARLAKE OAKS, CA 95423      ACCOUNT NO.: NOT AVAILABLE


3.726   ARIN, MYRA                              VARIOUS                             Litigation             UNDETERMINED
        2814 MADRONE WAY
        CLEARLAKE OAKS, CA 95423      ACCOUNT NO.: NOT AVAILABLE


3.727   ARMIJO, DAVID                           VARIOUS                             Litigation             UNDETERMINED
        319 REEVES CT
        LINCOLN, CA 95648             ACCOUNT NO.: NOT AVAILABLE


3.728   ARMSTRONG, ANTHONAY                     VARIOUS                             Litigation             UNDETERMINED
        3225 FORTIER STREET, APT #B
        BAKERSFIELD, CA 93306         ACCOUNT NO.: NOT AVAILABLE


3.729   ARMSTRONG, CHERYL                       VARIOUS                             Litigation             UNDETERMINED
        1236 BIDWELL AVENUE
        CHICO, CA 95926               ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.730   ARMSTRONG, HEIDI                        VARIOUS                             Litigation             UNDETERMINED
        6935 RIATA DRIVE
        REDDING, CA 96002             ACCOUNT NO.: NOT AVAILABLE


3.731   ARMSTRONG, JOANNE                       VARIOUS                             Litigation             UNDETERMINED
        304 HERMAN CIRCLE
        AUBURN, CA 95603              ACCOUNT NO.: NOT AVAILABLE


3.732   ARMSTRONG, LIONEL                       VARIOUS                             Litigation             UNDETERMINED
        114 SUSSEX
        SAN FRANCISCO, CA 94131       ACCOUNT NO.: NOT AVAILABLE


3.733   ARMSTRONG, MICHELLE                     VARIOUS                             Litigation             UNDETERMINED
        14252 CAMPAGNA WAY
        ROYAL OAKS, CA 95076          ACCOUNT NO.: NOT AVAILABLE


3.734   ARMSTRONG, SAMANTHA                     VARIOUS                             Litigation             UNDETERMINED
        2220 MANSELL ST.,
        N/B HWY 70, OROVILLE, CA.     ACCOUNT NO.: NOT AVAILABLE
        QUINCY, CA 95971


3.735   ARMSTRONG, SCOTT                        VARIOUS                             Litigation             UNDETERMINED
        8376 VIERRA KNOLLS DR
        SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.736   ARNDT, MICHELLE                         VARIOUS                             Litigation             UNDETERMINED
        1119
        DEARDORFF                     ACCOUNT NO.: NOT AVAILABLE
        MOKELUMNE HILL, CA 95245


3.737   ARNOLD, DOUGLAS                         VARIOUS                             Litigation             UNDETERMINED
        5890 EAST HWY 20 # 18
        LUCERNE, CA 95458             ACCOUNT NO.: NOT AVAILABLE


3.738   ARNOLD, EARLINE                         VARIOUS                             Litigation             UNDETERMINED
        6450 BROOKDALE DRIVE
        CARMEL, CA 93923              ACCOUNT NO.: NOT AVAILABLE


3.739   ARNOLD, MARK                            VARIOUS                             Litigation             UNDETERMINED
        BOX 252
        11850 GIFFORD SPRING ROAD     ACCOUNT NO.: NOT AVAILABLE
        COBB, CA 95426


3.740   ARNOLD'S-ANDREOTTI, PETE                VARIOUS                             Litigation             UNDETERMINED
        P.O. BOX 298
        COLUSA, CA 95932              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.741   ARNOLDUSSEN, THOMAS                     VARIOUS                             Litigation             UNDETERMINED
        1085 SEENA AVENUE
        225 OAK PLACE                 ACCOUNT NO.: NOT AVAILABLE
        PACIFIC GROVE, CA 93950


3.742   ARON DEVELOPERS-                        VARIOUS                             Litigation             UNDETERMINED
        IZAGUIRRE, MANUEL
        655 CASTRO ST, SUITE 4        ACCOUNT NO.: NOT AVAILABLE
        MOUNTAIN VIEW, CA 94041


3.743   ARREAZOLA, ISMAEL                       VARIOUS                             Litigation             UNDETERMINED
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP                  ACCOUNT NO.: NOT AVAILABLE
        700 EL CAMINO REAL
        MILLBRAE, CA 94030


3.744   ARRELLANO, JANETTE                      VARIOUS                             Litigation             UNDETERMINED
        9660 MARTIN LANE
        PRUNEDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.745   ARREOLA, FERNANDO                       VARIOUS                             Litigation             UNDETERMINED
        1822 CHABLIS WAY
        GONZALES, CA 93926            ACCOUNT NO.: NOT AVAILABLE


3.746   ARREOLA, JOSE                           VARIOUS                             Litigation             UNDETERMINED
        1111 DAINTY AVE
        BRENTWOOD, CA 94513           ACCOUNT NO.: NOT AVAILABLE


3.747   ARRIOLA, RAQUEL                         VARIOUS                             Litigation             UNDETERMINED
        1509 SOUTH BARBARA
        SANTA MARIA, CA 93458         ACCOUNT NO.: NOT AVAILABLE


3.748   ARROW, DAVID                            VARIOUS                             Litigation             UNDETERMINED
        27 ARIES LANE
        NOVATO, CA 94947              ACCOUNT NO.: NOT AVAILABLE


3.749   ARROYAVE-OLIVER, NANCY                  VARIOUS                             Litigation             UNDETERMINED
        53 VISTA DRIVE
        SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.750   ARROYO, ANNE                            VARIOUS                             Litigation             UNDETERMINED
        3729 CATLETT ROAD
        PLEASANT GROVE, CA 95668      ACCOUNT NO.: NOT AVAILABLE


3.751   ARRUDA, PATRICIA                        VARIOUS                             Litigation             UNDETERMINED
        2489 SHAY COURT
        FORTUNA, CA 95540             ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                            Account Number                           Claim

Litigation & Disputes

3.752   ARTERO, AMANDA                           VARIOUS                             Litigation             UNDETERMINED
        2199 RANCH VIEW DR
        ROCKLIN, CA 95765              ACCOUNT NO.: NOT AVAILABLE


3.753   ARTHUR, DIANE                            VARIOUS                             Litigation             UNDETERMINED
        3555 POAG ROAD
        VALLECITO, CA 95251            ACCOUNT NO.: NOT AVAILABLE


3.754   ARTS, RICHARD                            VARIOUS                             Litigation             UNDETERMINED
        6421 PEACEFUL MOUNTAIN RD
        GARDEN VALLEY, CA 95633-9219   ACCOUNT NO.: NOT AVAILABLE


3.755   AS SUBROGEE FOR COYLE,                   VARIOUS                             Litigation             UNDETERMINED
        TRAVELERS
        11070 WHITE ROCK ROAD #266     ACCOUNT NO.: NOT AVAILABLE
        ATTN. JOHN BIARD
        RANCHO CORDOVA, CA 95670


3.756   ASCHHEIM, KATHRYN                        VARIOUS                             Litigation             UNDETERMINED
        79 FLORIDA AVE
        BERKELEY, CA 94707             ACCOUNT NO.: NOT AVAILABLE


3.757   ASEM, MATTEO                             VARIOUS                             Litigation             UNDETERMINED
        853 E. STANLEY BLVD
        LIVERMORE, CA 94550            ACCOUNT NO.: NOT AVAILABLE


3.758   ASH, AMY                                 VARIOUS                             Litigation             UNDETERMINED
        16249 CASTROVILLE BLVD
        SALINAS, CA 93907              ACCOUNT NO.: NOT AVAILABLE


3.759   ASH, HAROLD BARBARA                      VARIOUS                             Litigation             UNDETERMINED
        2125 COAST HWY ONE
        PACIFICA, CA 94044             ACCOUNT NO.: NOT AVAILABLE


3.760   ASH, XINA                                VARIOUS                             Litigation             UNDETERMINED
        5633 SAN PABLO DAM ROAD
        EL SOBRANTE, CA 94803          ACCOUNT NO.: NOT AVAILABLE


3.761   ASHBY, DEENA                             VARIOUS                             Litigation             UNDETERMINED
        11813 SCOTT RD
        REDDING, CA 96003              ACCOUNT NO.: NOT AVAILABLE


3.762   ASHBY, DEFONTE                           VARIOUS                             Litigation             UNDETERMINED
        611 VIRGINIA STREET
        VALLEJO, CA 94590              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                           Claim

Litigation & Disputes

3.763   ASHBY, KRYSTAL                           VARIOUS                             Litigation             UNDETERMINED
        268 ALTERRA DR
        LAKEPORT, CA 95453             ACCOUNT NO.: NOT AVAILABLE


3.764   ASHCRAFT, MARK                           VARIOUS                             Litigation             UNDETERMINED
        19765 AMEN LANE
        COTTONWOOD, CA 96022           ACCOUNT NO.: NOT AVAILABLE


3.765   ASHE, CYRIL N.                           VARIOUS                             Litigation             UNDETERMINED
        P. O. BOX 37
        25653 SUGARPINE ROAD           ACCOUNT NO.: NOT AVAILABLE
        LONG BARN, CA 95335


3.766   ASHLEY, JANET                            VARIOUS                             Litigation             UNDETERMINED
        10545 CREEKWOOD DRIVE
        FELTON, CA 95018               ACCOUNT NO.: NOT AVAILABLE


3.767   ASHLEY, MEAGAN                           VARIOUS                             Litigation             UNDETERMINED
        454 JACQUELINE DR.
        SANTA ROSA, CA                 ACCOUNT NO.: NOT AVAILABLE


3.768   ASHLOCK, TIM                             VARIOUS                             Litigation             UNDETERMINED
        PO BOX 720
        AVERY, CA 95223                ACCOUNT NO.: NOT AVAILABLE


3.769   ASHMORE, GAEL                            VARIOUS                             Litigation             UNDETERMINED
        3808 COFFEY LANE
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.770   ASHTON, DAVID                            VARIOUS                             Litigation             UNDETERMINED
        22602 CEDARCREST ROAD
        SONORA, CA 95370               ACCOUNT NO.: NOT AVAILABLE


3.771   ASHTON, ROSEMARIE                        VARIOUS                             Litigation             UNDETERMINED
        14744 WASHINGTON AVENUE
        SAN LEANDRO, CA 94578          ACCOUNT NO.: NOT AVAILABLE


3.772   ASIAN LIVE SEAFOOD INC.-HUA,             VARIOUS                             Litigation             UNDETERMINED
        VINH
        1051 LAKEBIRD DRIVE            ACCOUNT NO.: NOT AVAILABLE
        SUNNYVALE, CA 94089


3.773   ASIAN LIVE SEAFOOD INC.-HUA,             VARIOUS                             Litigation             UNDETERMINED
        VINH
        1051 LAKEBIRD DRIVE            ACCOUNT NO.: NOT AVAILABLE
        SUNNYVALE, CA 94089




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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.774   ASIAN MARKET, SOR LO                    VARIOUS                             Litigation             UNDETERMINED
        347 NORD AVE
        CHICO, CA 95926               ACCOUNT NO.: NOT AVAILABLE


3.775   ASIASF-NELSON, AARON                    VARIOUS                             Litigation             UNDETERMINED
        201 9TH STREET
        SAN FRANCISCO, CA 94103       ACCOUNT NO.: NOT AVAILABLE


3.776   ASIS, HASINA                            VARIOUS                             Litigation             UNDETERMINED
        20 EAST 16TH STREET
        208                           ACCOUNT NO.: NOT AVAILABLE
        ANRIOCH, CA 94509


3.777   ASKEW, ALBERT                           VARIOUS                             Litigation             UNDETERMINED
        40 CAPANNA STREET
        PISMO BEACH, CA 93449         ACCOUNT NO.: NOT AVAILABLE


3.778   ASMAN, AARON                            VARIOUS                             Litigation             UNDETERMINED
        16617 MADRONE CIRCLE
        SONORA, CA 95370              ACCOUNT NO.: NOT AVAILABLE


3.779   ASO LIBERTY MUTUAL, THOMAS              VARIOUS                             Litigation             UNDETERMINED
        GEORGE ASSOC.
        PO BOX 30                     ACCOUNT NO.: NOT AVAILABLE
        EAST NORTHPORT, CA 11731


3.780   ASPD INC-PAPAS, DIMITRIOS               VARIOUS                             Litigation             UNDETERMINED
        1360 EL CAMINO REAL
        BELMONT, CA 94002             ACCOUNT NO.: NOT AVAILABLE


3.781   ASSALI, ALDO                            VARIOUS                             Litigation             UNDETERMINED
        2508 YOUD RD
        WINTON, CA 95388              ACCOUNT NO.: NOT AVAILABLE


3.782   ASSEF, OMAR                             VARIOUS                             Litigation             UNDETERMINED
        4402 FITZWILLIAM ST
        DUBLIN, CA 94568              ACCOUNT NO.: NOT AVAILABLE


3.783   ASSOCIATED PODIATRY GROUP               VARIOUS                             Litigation             UNDETERMINED
        OF SAN CARLOS-LEVIANT,
        CURTIS                        ACCOUNT NO.: NOT AVAILABLE
        961 LAUREL STREET
        SUITE 100
        SAN CARLOS, CA 94070


3.784   ASTESANA, JAMES                         VARIOUS                             Litigation             UNDETERMINED
        PO BOX 375
        DOWNIEVILLE, CA 95936         ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.785   ASTURIAS, CHRIS                            VARIOUS                             Litigation             UNDETERMINED
        659 MERRITT CT
        DISCOVERY BAY, CA 94505          ACCOUNT NO.: NOT AVAILABLE


3.786   ASUNCION, FRANK                            VARIOUS                             Litigation             UNDETERMINED
        1761 13TH STREET
        LOS OSOS, CA 93402               ACCOUNT NO.: NOT AVAILABLE


3.787   AT&T                                       VARIOUS                             Litigation             UNDETERMINED
        3444 MISTY LANE
        CONCORD, CA                      ACCOUNT NO.: NOT AVAILABLE


3.788   AT&T                                       VARIOUS                             Litigation             UNDETERMINED
        909 CHESTNUT STREET, ROOM
        39-N-13                          ACCOUNT NO.: NOT AVAILABLE
        SAINT LOUIS, MO, CA 63101-3099


3.789   AT&T                                       VARIOUS                             Litigation             UNDETERMINED
        909 CHESTNUT ST, RM 39-N-13
        6396 GARDEN AVENUE               ACCOUNT NO.: NOT AVAILABLE
        FRESNO, CA 93710


3.790   AT&T                                       VARIOUS                             Litigation             UNDETERMINED
        PO BOX 5070
        34575 S. HIGHWAY 1, GUALALA,     ACCOUNT NO.: NOT AVAILABLE
        CA.,
        CAROL STREAM, CA 60197-5070


3.791   AT&T                                       VARIOUS                             Litigation             UNDETERMINED
        909 CHESTNUT STREET 29-N-13
        ST. LOUIS, CA 63101              ACCOUNT NO.: NOT AVAILABLE


3.792   AT&T                                       VARIOUS                             Litigation             UNDETERMINED
        P.O. BOX 5070
        CAROL STREAM, CA 60197-5070      ACCOUNT NO.: NOT AVAILABLE


3.793   AT&T                                       VARIOUS                             Litigation             UNDETERMINED
        P.O. BOX 5070
        CAROL STREAM, CA 60197-5070      ACCOUNT NO.: NOT AVAILABLE


3.794   AT&T                                       VARIOUS                             Litigation             UNDETERMINED
        PO BOX 5070
        CAROL STREAM, CA 60197-5070      ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.795   AT&T CALIFORNIA                   VARIOUS                                    Litigation             UNDETERMINED
        ATTN: RISK
        MGMT/CLM#PACBCN2017090W01 ACCOUNT NO.: NOT AVAILABLE
        20
        PO BOX 5070
        CAROL STREAM, CA 60197-5070


3.796   AT&T PABC-CN-201609-0W-0087-             VARIOUS                             Litigation             UNDETERMINED
        WFB, CONTINENTAL
        ASJUSTMENT BUREAU INC          ACCOUNT NO.: NOT AVAILABLE
        6300 STATE HWY 16
        PLYMOUTH, CA


3.797   AT&T PACB-CN-201511-0W-0040-             VARIOUS                             Litigation             UNDETERMINED
        SCJ, AT&T
        136 BROOKDALE DRIVE            ACCOUNT NO.: NOT AVAILABLE
        VACAVILLE, CA


3.798   AT&T PACB-CS-201610-0H-0033-             VARIOUS                             Litigation             UNDETERMINED
        WFB, SIA IN FRONT OF 1115
        BROWN                          ACCOUNT NO.: NOT AVAILABLE
        IN FRONT OF 1115 BROWN
        BAKERSFIELD, CA


3.799   AT&T RISK MANAGEMENT                     VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 06-NW
        ST. LOUIS, CA 63101            ACCOUNT NO.: NOT AVAILABLE


3.800   AT&T RISK MANAGEMENT                     VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 06-NW
        ST. LOUIS, CA 63101            ACCOUNT NO.: NOT AVAILABLE


3.801   AT&T RISK MANAGEMENT                     VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        SAINT LOUIS, CA 63101          ACCOUNT NO.: NOT AVAILABLE


3.802   AT&T RISK MANAGEMENT                     VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        SAINT LOUIS, CA 63101          ACCOUNT NO.: NOT AVAILABLE


3.803   AT&T RISK MANAGEMENT                     VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        SAINT LOUIS, CA 63101          ACCOUNT NO.: NOT AVAILABLE


3.804   AT&T RISK MANAGEMENT                     VARIOUS                             Litigation             UNDETERMINED
        PO BOX 5070
        4774 E. FOUNTAIN WAY,          ACCOUNT NO.: NOT AVAILABLE
        FRESNO, CA.,
        CAROL STREAM, CA 60197-5070


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Creditor's Name, Mailing Address       Date Claim Was Incurred And       C U    D   Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.805   AT&T RISK MANAGEMENT                    VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        SAINT LOUIS, CA 63101         ACCOUNT NO.: NOT AVAILABLE


3.806   AT&T RISK MANAGEMENT                    VARIOUS                             Litigation             UNDETERMINED
        PO BOX 5070
        4774 E. FOUNTAIN WAY,         ACCOUNT NO.: NOT AVAILABLE
        FRESNO, CA.,
        CAROL STREAM, CA 60197-5070


3.807   AT&T RISK MANAGEMENT                    VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        SAINT LOUIS, CA 63101         ACCOUNT NO.: NOT AVAILABLE


3.808   AT&T RISK MANAGEMENT                    VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        SAINT LOUIS, CA 63101         ACCOUNT NO.: NOT AVAILABLE


3.809   AT&T RISK MANAGEMENT                    VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        SAINT LOUIS, CA 63101         ACCOUNT NO.: NOT AVAILABLE


3.810   AT&T RISK MANAGEMENT                    VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        SAINT LOUIS, CA 63101         ACCOUNT NO.: NOT AVAILABLE


3.811   AT&T RISK MANAGEMENT                    VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        SAINT LOUIS, CA 63101         ACCOUNT NO.: NOT AVAILABLE


3.812   AT&T RISK MANAGEMENT                    VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        SAINT LOUIS, CA 63101         ACCOUNT NO.: NOT AVAILABLE


3.813   AT&T SERVICES INC.-GERBER,              VARIOUS                             Litigation             UNDETERMINED
        PETER
        1520 20TH ST                  ACCOUNT NO.: NOT AVAILABLE
        BAKERSFIELD, CA 93301


3.814   AT&T, AT&T PACB-CN-201702-              VARIOUS                             Litigation             UNDETERMINED
        0W-0128-WFB
        1010 PINE 06-NW               ACCOUNT NO.: NOT AVAILABLE
        CORNER OF S GEORGE
        WASHINGTON/BOGUE
        SAINT LOUIS, CA 63101




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Including Zip Code                             Account Number                           Claim

Litigation & Disputes

3.815   AT&T, AT&T PACB-CS-201705-0H-             VARIOUS                             Litigation             UNDETERMINED
        0048
        1010 PINE 6W-P-02               ACCOUNT NO.: NOT AVAILABLE
        8349 17 1/4TH AVE
        ST. LOUIS, CA 63101


3.816   AT&T, ATTN: RISK MGMT                     VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        ST. LOUIS, CA 63101             ACCOUNT NO.: NOT AVAILABLE


3.817   AT&T, ATTN: RISK MGMT                     VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        ST. LOUIS, CA 63101             ACCOUNT NO.: NOT AVAILABLE


3.818   AT&T, ATTN: RISK MGMT                     VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        ST. LOUIS, CA 63101             ACCOUNT NO.: NOT AVAILABLE


3.819   AT&T, ATTN: RISK MGMT                     VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        ST. LOUIS, CA 63101             ACCOUNT NO.: NOT AVAILABLE


3.820   AT&T, ATTN: RISK MGMT                     VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        ST. LOUIS, CA 63101             ACCOUNT NO.: NOT AVAILABLE


3.821   AT&T, ATTN: RISK MGMT                     VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        ST. LOUIS, CA 63101             ACCOUNT NO.: NOT AVAILABLE


3.822   AT&T, ATTN: RISK MGMT                     VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        ST. LOUIS, CA 63101             ACCOUNT NO.: NOT AVAILABLE


3.823   AT&T, ATTN: RISK MGMT                     VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        3067 WARREN LAN                 ACCOUNT NO.: NOT AVAILABLE
        EL DORADO HILLS, CA


3.824   AT&T, ATTN: RISK MGMT                     VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        ST. LOUIS, CA 63101             ACCOUNT NO.: NOT AVAILABLE


3.825   AT&T, GARRET*ADJUSTER                     VARIOUS                             Litigation             UNDETERMINED
        909 CHESTNUT STREET, RM 39-
        N-13                            ACCOUNT NO.: NOT AVAILABLE
        1627 CHRISTINA
        SAINT LOUIS, CA 63101-3099


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Creditor's Name, Mailing Address         Date Claim Was Incurred And       C U    D   Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                           Claim

Litigation & Disputes

3.826   AT&T, PABC-CN-201712-0W-0173-             VARIOUS                             Litigation             UNDETERMINED
        TZH
        RISK MANAGEMENT                 ACCOUNT NO.: NOT AVAILABLE
        4006 N BEALE RA
        ST LOUIS, CA 63101


3.827   AT&T, PAC BELL, PACB-CN-                  VARIOUS                             Litigation             UNDETERMINED
        201708-OJ-0143-WFB
        1010 PINE 6W-P-02               ACCOUNT NO.: NOT AVAILABLE
        ST. LOUIS, CA 63101


3.828   AT&T, PACB CN 201702 0J 0040              VARIOUS                             Litigation             UNDETERMINED
        WFB
        1010 PINE 06-NW                 ACCOUNT NO.: NOT AVAILABLE
        1116 W RIVARA RD
        STOCTON, CA


3.829   AT&T, PACB CN 201702 0J 0040              VARIOUS                             Litigation             UNDETERMINED
        WFB
        1010 PINE 06-NW                 ACCOUNT NO.: NOT AVAILABLE
        1116 W RIVARA RD
        STOCTON, CA


3.830   AT&T, PACB CN 201702 0J 0040              VARIOUS                             Litigation             UNDETERMINED
        WFB
        1010 PINE 06-NW                 ACCOUNT NO.: NOT AVAILABLE
        1116 W RIVARA RD
        STOCTON, CA


3.831   AT&T, PACB-CN-201504-0W-0115-             VARIOUS                             Litigation             UNDETERMINED
        SCJ
        909 CHESTNUT STREET             ACCOUNT NO.: NOT AVAILABLE
        3448 NORWALK PLACE
        FAIRFIELD, CA 94534


3.832   AT&T, PACB-CN-201509-0W-0051-             VARIOUS                             Litigation             UNDETERMINED
        SCJ
        909 CHESTNUT STREET, ROOM       ACCOUNT NO.: NOT AVAILABLE
        39-N-13
        5649 ANGELINA AVENUE
        CARMICHAEL, CA 95608


3.833   AT&T, PACB-CN-201511-0J-0115-             VARIOUS                             Litigation             UNDETERMINED
        KLE
        909 CHESNUT STREET. ROOM        ACCOUNT NO.: NOT AVAILABLE
        39-N-13
        6316 N. GARDEN AVENUE
        CLOVIS, CA 93710




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Including Zip Code                             Account Number                           Claim

Litigation & Disputes

3.834   AT&T, PACB-CN-201511-0J-0115-             VARIOUS                             Litigation             UNDETERMINED
        KLE
        909 CHESNUT STREET. ROOM        ACCOUNT NO.: NOT AVAILABLE
        39-N-13
        6316 N. GARDEN AVENUE
        CLOVIS, CA 93710


3.835   AT&T, PACB-CN-201511-0J-0115-             VARIOUS                             Litigation             UNDETERMINED
        KLE
        909 CHESNUT STREET. ROOM        ACCOUNT NO.: NOT AVAILABLE
        39-N-13
        6316 N. GARDEN AVENUE
        CLOVIS, CA 93710


3.836   AT&T, PACB-CN-201512-0W-0073-             VARIOUS                             Litigation             UNDETERMINED
        SCJ
        909 CHESTNUT ST 29-N-13         ACCOUNT NO.: NOT AVAILABLE
        137 ANDOVER DRIVE
        VACAVILLE, CA 95687


3.837   AT&T, PACB-CN-201602-0W-0092-             VARIOUS                             Litigation             UNDETERMINED
        SCJ
        909 CHESTNUT ST                 ACCOUNT NO.: NOT AVAILABLE
        1221 WILLOW ROAD, MENLO
        PARK CA
        SAINT LOUIS, CA 63101


3.838   AT&T, PACB-CN-201605-0W-0089-             VARIOUS                             Litigation             UNDETERMINED
        SCJ
        909 CHESTNUT ST                 ACCOUNT NO.: NOT AVAILABLE
        I STREET AND 9TH STREET
        SACRAMENTO, CA 95814


3.839   AT&T, PACB-CN-201605-0W-0089-             VARIOUS                             Litigation             UNDETERMINED
        SCJ
        909 CHESTNUT ST                 ACCOUNT NO.: NOT AVAILABLE
        I STREET AND 9TH STREET
        SACRAMENTO, CA 95814


3.840   AT&T, PACB-CN-201605-OW-                  VARIOUS                             Litigation             UNDETERMINED
        0114-SCJ
        909 CHESTNUT ST                 ACCOUNT NO.: NOT AVAILABLE
        9093 HAZEL OAK COURT,
        ORANGEVALE CA
        SAINT LOUIS, CA 63101-2017


3.841   AT&T, PACB-CN-201606-0J-0025-             VARIOUS                             Litigation             UNDETERMINED
        KLE
        909 CHESTNUT ST 29-N-13         ACCOUNT NO.: NOT AVAILABLE
        17280 TIMBER DRIVE
        SONORA, CA 95372



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Creditor's Name, Mailing Address         Date Claim Was Incurred And       C U    D   Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                           Claim

Litigation & Disputes

3.842   AT&T, PACB-CN-201607-0J-0122-             VARIOUS                             Litigation             UNDETERMINED
        WFB
        1010 PINE O6-NW                 ACCOUNT NO.: NOT AVAILABLE
        CO BROADWAY & WHITMORE
        OAKLAND, CA


3.843   AT&T, PACB-CN-201608-0J-0096-             VARIOUS                             Litigation             UNDETERMINED
        WFB
        909 CHESTNUT STREET             ACCOUNT NO.: NOT AVAILABLE
        26854 PURISSIMA ROAD LAH
        LOS ALTOS HILLS, CA 94022


3.844   AT&T, PACB-CN-201608-0J-0178-             VARIOUS                             Litigation             UNDETERMINED
        WFB
        1010 PINE 06-NW                 ACCOUNT NO.: NOT AVAILABLE
        17673 W 6TH STREET
        STEVINSON, CA 95374


3.845   AT&T, PACB-CN-201609-0J-0052-             VARIOUS                             Litigation             UNDETERMINED
        WFB
        1010 PINE 06-NW                 ACCOUNT NO.: NOT AVAILABLE
        BURLINGTON WAY &
        WOODSTOCK CT, WALNUT
        CREEK
        SAINT LOUIS, CA 63101


3.846   AT&T, PACB-CN-201610-0J-0020-             VARIOUS                             Litigation             UNDETERMINED
        WFB
        1010 PINE, 06-NW                ACCOUNT NO.: NOT AVAILABLE
        6531 CATAMARAN DRIVE
        SAN JOSE, CA 95119


3.847   AT&T, PACB-CN-201610-0J-0020-             VARIOUS                             Litigation             UNDETERMINED
        WFB
        1010 PINE, 06-NW                ACCOUNT NO.: NOT AVAILABLE
        6531 CATAMARAN DRIVE
        SAN JOSE, CA 95119


3.848   AT&T, PACB-CN-201611-0J-0116-             VARIOUS                             Litigation             UNDETERMINED
        WFB
        1010 PINE, 06-NW                ACCOUNT NO.: NOT AVAILABLE
        33020 MARSH HAWK RD
        UNION CITY, CA


3.849   AT&T, PACB-CN-201612-0J-0127-             VARIOUS                             Litigation             UNDETERMINED
        SCJ
        1010 PINE 06-NW                 ACCOUNT NO.: NOT AVAILABLE
        925 KIRKCREST ROAD
        ALAMO, CA




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Creditor's Name, Mailing Address         Date Claim Was Incurred And       C U    D   Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                           Claim

Litigation & Disputes

3.850   AT&T, PACB-CN-201702-0J-0010-             VARIOUS                             Litigation             UNDETERMINED
        SCJ
        1010 PINE 06-NW                 ACCOUNT NO.: NOT AVAILABLE
        E10TH & 2ND AVE
        OAKLAND, CA


3.851   AT&T, PACB-CN-201702-0J-0038-             VARIOUS                             Litigation             UNDETERMINED
        WFB
        1010 PINE 06-NW                 ACCOUNT NO.: NOT AVAILABLE
        320 ALEUT CT
        FREMONT, CA


3.852   AT&T, PACB-CN-201705-0W-0157-             VARIOUS                             Litigation             UNDETERMINED
        KMB
        1047 S CLAREMONT                ACCOUNT NO.: NOT AVAILABLE
        SAN MATEO, CA


3.853   AT&T, PACB-CN-201706-0J-0117-             VARIOUS                             Litigation             UNDETERMINED
        WFB
        1010 PINE, 06-NW                ACCOUNT NO.: NOT AVAILABLE
        5467 RIVER ROAD
        OAKDALE, CA


3.854   AT&T, PACB-CN-201707-0J-0183-             VARIOUS                             Litigation             UNDETERMINED
        SCJ
        1010 PINE 6W-P-02               ACCOUNT NO.: NOT AVAILABLE
        3620 CHEROKEE LANE
        MODESTO, CA


3.855   AT&T, PACB-CN-201708-0J-0191-             VARIOUS                             Litigation             UNDETERMINED
        SCJ
        1010 PINE 6W-P-02               ACCOUNT NO.: NOT AVAILABLE
        115 ORCHARD HEIGHT LANE
        WATSONVILLE, CA


3.856   AT&T, PACB-CN-201710-0W-0357-             VARIOUS                             Litigation             UNDETERMINED
        WFB
        1010 PINE 6W-P-02               ACCOUNT NO.: NOT AVAILABLE
        3890 LEISURE LANE
        PLACERVILLE, CA


3.857   AT&T, PACB-CS-201509-0M-0002-             VARIOUS                             Litigation             UNDETERMINED
        CMK
        909 CHESTNUT ST, 39-N-13        ACCOUNT NO.: NOT AVAILABLE
        HAGMAN 200 FT WEST OF
        HAGMAN ROAD
        BAKERSFIELD, CA 93311




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Creditor's Name, Mailing Address         Date Claim Was Incurred And       C U    D   Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                           Claim

Litigation & Disputes

3.858   AT&T, PACB-CS-201604-0M-0008-             VARIOUS                             Litigation             UNDETERMINED
        WFB
        1010 PINE 06-NW                 ACCOUNT NO.: NOT AVAILABLE
        EL TORO DRIVE
        BAKERSFIELD, CA


3.859   AT&T, PACIFIC BELL, PACB-CN-              VARIOUS                             Litigation             UNDETERMINED
        201707-OJ-0052-WFB
        1010 PINE 6W-P-02               ACCOUNT NO.: NOT AVAILABLE
        ST. LOUIS, CA 63101


3.860   AT&T, RISK MANAGEMENT                     VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 06-NW
        6752 LANGELY CANYON RD,         ACCOUNT NO.: NOT AVAILABLE
        PRUNEDALE
        SAINT LOUIS, CA 63101


3.861   AT&T, RISK MANAGEMENT                     VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 06-NW
        561 GETTYSBURG, CLOVIS          ACCOUNT NO.: NOT AVAILABLE
        SAINT LOUIS, CA 63101


3.862   AT&T, RISK MANAGEMENT                     VARIOUS                             Litigation             UNDETERMINED
        P 11 X 11TH AVENUE
        SAINT LOUIS, CA 63101           ACCOUNT NO.: NOT AVAILABLE


3.863   AT&T, RISK MANAGEMENT                     VARIOUS                             Litigation             UNDETERMINED
        909 CHESTNUT ST. 39-N-13
        SAINT LOUIS, CA 63101           ACCOUNT NO.: NOT AVAILABLE


3.864   AT&T, RISK MGMT                           VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        SAINT LOUIS, CA 63101           ACCOUNT NO.: NOT AVAILABLE


3.865   AT&T, RISK MGMT                           VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        SAINT LOUIS, CA 63101           ACCOUNT NO.: NOT AVAILABLE


3.866   AT&T, RISK MGMT                           VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        SAINT LOUIS, CA 63101           ACCOUNT NO.: NOT AVAILABLE


3.867   AT&T, RISK MGMT                           VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        SAINT LOUIS, CA 63101           ACCOUNT NO.: NOT AVAILABLE


3.868   AT&T, RISK MGMT                           VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        SAINT LOUIS, CA 63101           ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.869   AT&T, RISK MGMT                         VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        SAINT LOUIS, CA 63101         ACCOUNT NO.: NOT AVAILABLE


3.870   AT&T, RISK MGMT                         VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        SAINT LOUIS, CA 63101         ACCOUNT NO.: NOT AVAILABLE


3.871   AT&T, RISK MGMT                         VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        SAINT LOUIS, CA 63101         ACCOUNT NO.: NOT AVAILABLE


3.872   AT&T, RISK MGMT                         VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        SAINT LOUIS, CA 63101         ACCOUNT NO.: NOT AVAILABLE


3.873   AT&T, RISK MGMT                         VARIOUS                             Litigation             UNDETERMINED
        1010 PINE 6W-P-02
        SAINT LOUIS, CA 63101         ACCOUNT NO.: NOT AVAILABLE


3.874   ATAFI, MARIAM                           VARIOUS                             Litigation             UNDETERMINED
        80 BUCKINGHAM DRIVE
        MORAGA, CA 94556              ACCOUNT NO.: NOT AVAILABLE


3.875   ATAIDE, CRAIG                           VARIOUS                             Litigation             UNDETERMINED
        P.O. BOX 5302
        CARMEL, CA 93921              ACCOUNT NO.: NOT AVAILABLE


3.876   ATASCADERO SEWING AND                   VARIOUS                             Litigation             UNDETERMINED
        VACUUM CENTER, KIM/PAT
        YOUNG                         ACCOUNT NO.: NOT AVAILABLE
        5925 TRAFFIC WAY
        ATASCADERO, CA 93422


3.877   ATHENS ADMINISTRATORS,                  VARIOUS                             Litigation             UNDETERMINED
        CITY OF VALLEJO
        PO BOX 696                    ACCOUNT NO.: NOT AVAILABLE
        180 MOUNTAIN VIEW
        CONCORD, CA 945223002


3.878   ATHENS, BETTY                           VARIOUS                             Litigation             UNDETERMINED
        35501 S. HWY 1
        46381 REDWOOD WAY             ACCOUNT NO.: NOT AVAILABLE
        GUALALA, CA 95445


3.879   ATHERTON, JENNIFER                      VARIOUS                             Litigation             UNDETERMINED
        155 ESTATES DRIVE
        BEN LOMOND, CA 95005          ACCOUNT NO.: NOT AVAILABLE


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Creditor's Name, Mailing Address        Date Claim Was Incurred And       C U    D   Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                           Claim

Litigation & Disputes

3.880   ATKINS, JAMIE                            VARIOUS                             Litigation             UNDETERMINED
        728 W 12TH AVE
        CHICO, CA 95926                ACCOUNT NO.: NOT AVAILABLE


3.881   ATKINSON, IAN                            VARIOUS                             Litigation             UNDETERMINED
        29551 PALOMARES RD
        CASTRO VALLEY, CA 94552        ACCOUNT NO.: NOT AVAILABLE


3.882   ATKINSON, JAMES                          VARIOUS                             Litigation             UNDETERMINED
        24475 PASEO PRIVADO
        SALINAS, CA 93908              ACCOUNT NO.: NOT AVAILABLE


3.883   ATKINSON, JENIFER                        VARIOUS                             Litigation             UNDETERMINED
        PO BOX 4996
        CARMELBYTHESEA, CA 93921       ACCOUNT NO.: NOT AVAILABLE


3.884   ATKINSON, JOY                            VARIOUS                             Litigation             UNDETERMINED
        220 HILLCREST RD
        BERKELEY, CA 94705             ACCOUNT NO.: NOT AVAILABLE


3.885   ATKINSON, MEAGAN                         VARIOUS                             Litigation             UNDETERMINED
        9980 HEDGER ROAD
        LIVE OAK, CA 95953             ACCOUNT NO.: NOT AVAILABLE


3.886   ATLAS HEATING / TUCK AIRE                VARIOUS                             Litigation             UNDETERMINED
        HEATING-TUCK, HUGH
        407 CABOT                      ACCOUNT NO.: NOT AVAILABLE
        SOUTH SAN FRANCISCO, CA
        94080


3.887   ATT, PACB-CN-201710-OJ-0106-             VARIOUS                             Litigation             UNDETERMINED
        TZH
        1010 PINE ST                   ACCOUNT NO.: NOT AVAILABLE
        5322 CAMINO ALTA MIRA,
        CASTRO VALLEY CA
        ST LOUIS, CA 63101


3.888   ATT, RISK MANAGEMENT                     VARIOUS                             Litigation             UNDETERMINED
        2748 PEACH STREET
        LIVE OAK, CA                   ACCOUNT NO.: NOT AVAILABLE


3.889   ATWELL, LUTHER & DOLORES                 VARIOUS                             Litigation             UNDETERMINED
        P.O. BOX 3406
        12499 AGARZOLI                 ACCOUNT NO.: NOT AVAILABLE
        MAFARLAND, CA 93250


3.890   ATWELL, SABINE                           VARIOUS                             Litigation             UNDETERMINED
        8001 VIERRA MEADWOS PLACE
        SALINAS, CA 93907              ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.891   AU LOUNGE-SEBHATU, MEKDEM               VARIOUS                             Litigation             UNDETERMINED
        2430 BROADWAY
        OAKLAND, CA 94612             ACCOUNT NO.: NOT AVAILABLE


3.892   AU, GLENN                               VARIOUS                             Litigation             UNDETERMINED
        111 SCHWERIN STREET
        SAN FRANCISCO, CA 94134       ACCOUNT NO.: NOT AVAILABLE


3.893   AU, KENNETH/JESSIE                      VARIOUS                             Litigation             UNDETERMINED
        1145 YORKSHIRE DRIVE
        CUPERTINO, CA 95814           ACCOUNT NO.: NOT AVAILABLE


3.894   AU, NANCY                               VARIOUS                             Litigation             UNDETERMINED
        2818 KIRKHAM ST
        SAN FRANCISCO, CA 94122       ACCOUNT NO.: NOT AVAILABLE


3.895   AUBE, LARRY & SHARI                     VARIOUS                             Litigation             UNDETERMINED
        31602 APACHE RD.
        COARSEGOLD, CA 93614          ACCOUNT NO.: NOT AVAILABLE


3.896   AUDIAT, JERRY                           VARIOUS                             Litigation             UNDETERMINED
        4314 FAULKNER DR
        FREEMONT, CA 94536            ACCOUNT NO.: NOT AVAILABLE


3.897   AUDRA SCOTT(BI) ATTY                    VARIOUS                             Litigation             UNDETERMINED
        GHERMEZIAN, RAYMOND
        GHERMEZIAN, ESQ.              ACCOUNT NO.: NOT AVAILABLE
        808 N. MAIN ST. # 205.
        SALINAS, CA 93906


3.898   AUELUA, JUDITH                          VARIOUS                             Litigation             UNDETERMINED
        6963 RIATA DR
        REDDING, CA 96002             ACCOUNT NO.: NOT AVAILABLE


3.899   AUGUST, DONNIKA PRAYAUSHA               VARIOUS                             Litigation             UNDETERMINED
        594 ROCKY HILL RD APT D,
        VACAVILLE, CA 95688           ACCOUNT NO.: NOT AVAILABLE


3.900   AUGUST, LANA                            VARIOUS                             Litigation             UNDETERMINED
        257 GARDENSIDE AVENUE
        SOUTH SAN FRANCISCO, CA       ACCOUNT NO.: NOT AVAILABLE
        94080


3.901   AUGUSTON, STACEY                        VARIOUS                             Litigation             UNDETERMINED
        PO BOX 10735
        BAKERSFIELD, CA 93389         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.902   AULDSUSOTT, EVAN                         VARIOUS                             Litigation             UNDETERMINED
        5485 BUTLER RD
        PENRYN, CA 95663               ACCOUNT NO.: NOT AVAILABLE


3.903   AUSONIO APARTMENTS-GRIER,                VARIOUS                             Litigation             UNDETERMINED
        LINDA
        11420 COMMERCIAL PARKWAY       ACCOUNT NO.: NOT AVAILABLE
        A
        CASTROVILLE, CA 95012


3.904   AUSTIN, ALAN                             VARIOUS                             Litigation             UNDETERMINED
        P.O. BOX 341
        CEDAR RIDGE, CA 95924          ACCOUNT NO.: NOT AVAILABLE


3.905   AUSTIN, ALLAN                            VARIOUS                             Litigation             UNDETERMINED
        16558 FRENCHTOWN RD.
        BROWNSVILLE, CA                ACCOUNT NO.: NOT AVAILABLE


3.906   AUSTIN, CARL                             VARIOUS                             Litigation             UNDETERMINED
        POBOX 536
        GARDEN VALLEY, CA 95633        ACCOUNT NO.: NOT AVAILABLE


3.907   AUSTIN, JAN                              VARIOUS                             Litigation             UNDETERMINED
        700 BRIGGS AVE #14
        PACIFIC GROVE, CA 93950        ACCOUNT NO.: NOT AVAILABLE


3.908   AUSTIN, NICOLE                           VARIOUS                             Litigation             UNDETERMINED
        3763 E ROBINSON AVE
        FRESNO, CA 93726               ACCOUNT NO.: NOT AVAILABLE


3.909   AUSTIN, SHELLY                           VARIOUS                             Litigation             UNDETERMINED
        16115 JOE DOG LANE
        COTTONWOOD, CA 96022           ACCOUNT NO.: NOT AVAILABLE


3.910   AUTO CLEAN, INC.-LAM, ALFRED             VARIOUS                             Litigation             UNDETERMINED
        215 EL CAMINO REAL
        REDWOD CITY, CA 94062          ACCOUNT NO.: NOT AVAILABLE


3.911   AUTO GLOW-SHAMLOU, BEN                   VARIOUS                             Litigation             UNDETERMINED
        80 PULLMAN WAY
        SAN JOSE, CA 95111             ACCOUNT NO.: NOT AVAILABLE


3.912   AUTUMN, ALYCIA                           VARIOUS                             Litigation             UNDETERMINED
        18600 BIG BASIN WAY
        BOULDER CREEK, CA 95006        ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.913   AUZCO MANAGEMENT INC.-                  VARIOUS                             Litigation             UNDETERMINED
        RIEKKI, SUNDAY
        835 AEROVISTA PLACE STE 230   ACCOUNT NO.: NOT AVAILABLE
        SAN LUIS OBISPO, CA 93401


3.914   AVALOS, GUILLERMO                       VARIOUS                             Litigation             UNDETERMINED
        4848 GRIFFITH AVE
        LIVINGSTON, CA 95334          ACCOUNT NO.: NOT AVAILABLE


3.915   AVALOS, MIGUEL                          VARIOUS                             Litigation             UNDETERMINED
        2363 E TAYLOR STREET
        STOCKTON, CA 95205            ACCOUNT NO.: NOT AVAILABLE


3.916   AVALOS, MONIQUE                         VARIOUS                             Litigation             UNDETERMINED
        220 CALIFORNIA ST #14
        WOODLAND, CA 95695            ACCOUNT NO.: NOT AVAILABLE


3.917   AVALOS, SILVIA                          VARIOUS                             Litigation             UNDETERMINED
        26174 MAGNOLIA AVE
        ESCALON, CA 95320             ACCOUNT NO.: NOT AVAILABLE


3.918   AVANI SALON&SPA-AURILIO,                VARIOUS                             Litigation             UNDETERMINED
        KRISTIN
        225 ROCKAWAY BEACH AVE        ACCOUNT NO.: NOT AVAILABLE
        #2
        PACIFICA94044, CA 94044


3.919   AVEDISSIAN, ANNIE                       VARIOUS                             Litigation             UNDETERMINED
        3127 TEXAS ST
        OAKLAND, CA 94602             ACCOUNT NO.: NOT AVAILABLE


3.920   AVELAR, MICHAEL                         VARIOUS                             Litigation             UNDETERMINED
        1057 IMESON ROAD
        MCKINLEYVILLE, CA 95519       ACCOUNT NO.: NOT AVAILABLE


3.921   AVELLA, JOE                             VARIOUS                             Litigation             UNDETERMINED
        18THORNTON CT
        NOVATO, CA 94945              ACCOUNT NO.: NOT AVAILABLE


3.922   AVENAL LANDFILL, GEORGE                 VARIOUS                             Litigation             UNDETERMINED
        ANDERSON
        1201 SKYLINE BLVD             ACCOUNT NO.: NOT AVAILABLE
        AVENAL, CA 93204


3.923   AVERY FOOD CORPORATION-                 VARIOUS                             Litigation             UNDETERMINED
        SELF, SCOTT
        PO BOX 6195                   ACCOUNT NO.: NOT AVAILABLE
        ARNOLD, CA 95223


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Litigation & Disputes

3.924   AVERY, ANTHONY                          VARIOUS                             Litigation             UNDETERMINED
        19145 MALLORY CYN RD
        SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.925   AVILA, FRAN                             VARIOUS                             Litigation             UNDETERMINED
        230 GROVE ACRE AVE.
        PACIFIC GROVE, CA 93950       ACCOUNT NO.: NOT AVAILABLE


3.926   AVILA, MAYRA                            VARIOUS                             Litigation             UNDETERMINED
        PO BOX 1423
        YUBA CITY, CA 95992           ACCOUNT NO.: NOT AVAILABLE


3.927   AVILA, MICHAEL                          VARIOUS                             Litigation             UNDETERMINED
        2221 CEDARWOOD CIR
        RIVERBANK, CA 95367           ACCOUNT NO.: NOT AVAILABLE


3.928   AVILA, ROLANDO                          VARIOUS                             Litigation             UNDETERMINED
        1219 KAUFMAN RD
        OAKDALE, CA 95361             ACCOUNT NO.: NOT AVAILABLE


3.929   AVILA, RUTH                             VARIOUS                             Litigation             UNDETERMINED
        P.O. BOX 1292
        CARMEL VALLEY, CA 93924       ACCOUNT NO.: NOT AVAILABLE


3.930   AVILA, TERESINHA                        VARIOUS                             Litigation             UNDETERMINED
        1672 BERRYWOOD DRIVE
        SAN JOSE, CA 95133            ACCOUNT NO.: NOT AVAILABLE


3.931   AVILA, TRAVIS                           VARIOUS                             Litigation             UNDETERMINED
        1229 CORBEROSA DR
        ARROYO GRANDE, CA 93420       ACCOUNT NO.: NOT AVAILABLE


3.932   AVILES GARCIA, GIABIR                   VARIOUS                             Litigation             UNDETERMINED
        2526 S DICKENSON AVE
        FRESNO, CA 93706              ACCOUNT NO.: NOT AVAILABLE


3.933   AWAD, KAMA                              VARIOUS                             Litigation             UNDETERMINED
        1299 S WINCHESTER BLVD
        SAN JOSE, CA 95128            ACCOUNT NO.: NOT AVAILABLE


3.934   AXELL, LUANN & ALBERT                   VARIOUS                             Litigation             UNDETERMINED
        18719 MEADOWLARK COURT
        PENN VALLEY, CA 95946         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.935   AXELSON, ERNEST                        VARIOUS                             Litigation             UNDETERMINED
        17531 ROCKER CEDAR CIRCLE
        WAY                          ACCOUNT NO.: NOT AVAILABLE
        BROWNSVILLE, CA 95919


3.936   AYAG, LORNA                            VARIOUS                             Litigation             UNDETERMINED
        10 LONGVIEW DRIVE
        DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE


3.937   AYALA, EDUARDO                         VARIOUS                             Litigation             UNDETERMINED
        74 HOLLIS LANE
        HWY 99 AND SHELDON AVENUE    ACCOUNT NO.: NOT AVAILABLE
        GRIDLEY, CA 95948


3.938   AYALA, ERICA                           VARIOUS                             Litigation             UNDETERMINED
        7474 N WOODROW AVE
        FRESNO, CA 93720             ACCOUNT NO.: NOT AVAILABLE


3.939   AYALA, ESPERANZA                       VARIOUS                             Litigation             UNDETERMINED
        35 ELAINE AVENUE
        148 FARALLONES STREET        ACCOUNT NO.: NOT AVAILABLE
        SAN FRANCISCO, CA 94941


3.940   AYALA, FRANCISCO AND                   VARIOUS                             Litigation             UNDETERMINED
        CONNIE
        3785 WILBUR AVENUE           ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95127


3.941   AYALA, JUAN & ELIZABETH                VARIOUS                             Litigation             UNDETERMINED
        2506 MIST TRAIL COURT
        STOCKTON, CA 95206           ACCOUNT NO.: NOT AVAILABLE


3.942   AYALA, LOURDES                         VARIOUS                             Litigation             UNDETERMINED
        P.O BOX 1334
        GONZLAES, CA 93926           ACCOUNT NO.: NOT AVAILABLE


3.943   AYALA, NELSON                          VARIOUS                             Litigation             UNDETERMINED
        1719 15TH STREET
        OAKLAND, CA 94607            ACCOUNT NO.: NOT AVAILABLE


3.944   AYALA-ESPINOZA, INES                   VARIOUS                             Litigation             UNDETERMINED
        2469 N BENDEL AVE
        FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE


3.945   AYARZAGOITIA, ISRAEL                   VARIOUS                             Litigation             UNDETERMINED
        2128 ALTON ST
        SELMA, CA 93662              ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.946   AYERS, LESLIE                           VARIOUS                             Litigation             UNDETERMINED
        1600 WAYJAC LANE
        WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.947   AYRES, GEORGE                           VARIOUS                             Litigation             UNDETERMINED
        HC 69 BOX 3081
        13855 GARNET ROAD             ACCOUNT NO.: NOT AVAILABLE
        SANTA MARGARITA, CA 93453


3.948   AYYAD, MURAD                            VARIOUS                             Litigation             UNDETERMINED
        174 RIO DEL PAJARO
        WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.949   AYYOUB,BATOOL-AYYOUB,                   VARIOUS                             Litigation             UNDETERMINED
        BATOOL
        115 E DORSET DR               ACCOUNT NO.: NOT AVAILABLE
        STE B
        DIXON, CA 95620


3.950   AZARANI, AREZOU                         VARIOUS                             Litigation             UNDETERMINED
        732 VILLA CENTRE WAY
        SAN JOSE, CA 94025            ACCOUNT NO.: NOT AVAILABLE


3.951   AZEVEDO, CAROL                          VARIOUS                             Litigation             UNDETERMINED
        24830 WARD AVE.
        FORT BRAGG, CA 96437          ACCOUNT NO.: NOT AVAILABLE


3.952   AZEVEDO, KAREN                          VARIOUS                             Litigation             UNDETERMINED
        5077 SKI RUN
        POLLOCK PINES, CA 95726       ACCOUNT NO.: NOT AVAILABLE


3.953   AZEVEDO, REED                           VARIOUS                             Litigation             UNDETERMINED
        7200 VERITAS ROAD
        MANTECA, CA 95337             ACCOUNT NO.: NOT AVAILABLE


3.954   AZOV, OLEG                              VARIOUS                             Litigation             UNDETERMINED
        349 KIELY BLVD
        APT A304,                     ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95129


3.955   B & D FARMS-MCKINSEY, GARY              VARIOUS                             Litigation             UNDETERMINED
        3400 HIGHWAY 1
        SANTA MARIA, CA 93455         ACCOUNT NO.: NOT AVAILABLE


3.956   B AND D PROPERTIES-BAKER,               VARIOUS                             Litigation             UNDETERMINED
        CHRIS
        65 ARBOR DRIVE                ACCOUNT NO.: NOT AVAILABLE
        PIEDMONT, CA 94610


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Litigation & Disputes

3.957   B&L FARMS-SANDERS, KYLE                 VARIOUS                             Litigation             UNDETERMINED
        3990 THRIFT RD
        MERCED, CA 95341              ACCOUNT NO.: NOT AVAILABLE


3.958   BABAKHANI, ARDALAN                      VARIOUS                             Litigation             UNDETERMINED
        538 E. DRIFTWOOD DR
        FRESNO, CA 93730              ACCOUNT NO.: NOT AVAILABLE


3.959   BABB, KRISTI                            VARIOUS                             Litigation             UNDETERMINED
        549 HADDON ROAD
        OAKLAND, CA 94606             ACCOUNT NO.: NOT AVAILABLE


3.960   BABB, SPRING                            VARIOUS                             Litigation             UNDETERMINED
        237 BLUEBONNET LANE
        704                           ACCOUNT NO.: NOT AVAILABLE
        SCOTTS VALLEY, CA 95066


3.961   BABWIN, EDWARD                          VARIOUS                             Litigation             UNDETERMINED
        1960 BROOK MAR DRIVE
        EL DORADO HILLS, CA 95762     ACCOUNT NO.: NOT AVAILABLE


3.962   BABY YALE ACADEMY INC-                  VARIOUS                             Litigation             UNDETERMINED
        REEVES, LITA
        5521 LONE TREE WAY STE 100    ACCOUNT NO.: NOT AVAILABLE
        BRENTOWOOD, CA 94513


3.963   BACA, LORI AND DANIEL                   VARIOUS                             Litigation             UNDETERMINED
        5910 GROVE ST
        LUCERNE, CA 95458             ACCOUNT NO.: NOT AVAILABLE


3.964   BACCHETTI HAY SERVICE,                  VARIOUS                             Litigation             UNDETERMINED
        JOSEPH & KRISTIN BACCHETTI
        20451 LAUREL ROAD             ACCOUNT NO.: NOT AVAILABLE
        12940 FINCK ROAD
        TRACY, CA 95304


3.965   BACCHINI, TINO                          VARIOUS                             Litigation             UNDETERMINED
        1901 CONCORD AVE.
        BRENTWOOD, CA 94513           ACCOUNT NO.: NOT AVAILABLE


3.966   BACHAR, LISA & HICHAM                   VARIOUS                             Litigation             UNDETERMINED
        2373 GRAFTON WAY
        BRENTWOOD, CA 94513           ACCOUNT NO.: NOT AVAILABLE


3.967   BACIGALUPI, THOMAS                      VARIOUS                             Litigation             UNDETERMINED
        PO BOX 183
        BUTTE CITY, CA 95920          ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.968   BACIGALUPI, VIRGINIA                    VARIOUS                             Litigation             UNDETERMINED
        95 WELCOME AVE
        CONCORD, CA 94518             ACCOUNT NO.: NOT AVAILABLE


3.969   BACINETT, FELINA                        VARIOUS                             Litigation             UNDETERMINED
        1099 MITCHELL WAY
        EL SOBRANTE, CA 94803         ACCOUNT NO.: NOT AVAILABLE


3.970   BACKUS, JOE                             VARIOUS                             Litigation             UNDETERMINED
        PO BOX 3182
        SAN RAFAEL, CA 94912          ACCOUNT NO.: NOT AVAILABLE


3.971   BACLIG, CONNIE                          VARIOUS                             Litigation             UNDETERMINED
        PO BOX 99
        29137 CHUALAR CYN RD          ACCOUNT NO.: NOT AVAILABLE
        CHUALAR, CA 93925


3.972   BADEKER, KELLY                          VARIOUS                             Litigation             UNDETERMINED
        8422 SHOEMAKER WAY
        CITRUS HEIGHTS, CA 95610      ACCOUNT NO.: NOT AVAILABLE


3.973   BADELITA, DANIEL                        VARIOUS                             Litigation             UNDETERMINED
        1536 BARCELONA DR
        EL DORADO HILLS, CA 95762     ACCOUNT NO.: NOT AVAILABLE


3.974   BADGLEY, ELLEN                          VARIOUS                             Litigation             UNDETERMINED
        5347 VISTA GRANDE DRIVE
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.975   BADILLO VERA, ELIZABETH                 VARIOUS                             Litigation             UNDETERMINED
        1230 E AUSAL ST #D48
        SALINAS, CA 93905             ACCOUNT NO.: NOT AVAILABLE


3.976   BADO, PAUL                              VARIOUS                             Litigation             UNDETERMINED
        5080 SAGEBRUSH ROAD
        GARDEN VALLEY, CA 95633       ACCOUNT NO.: NOT AVAILABLE


3.977   BAEK, NAM KYU                           VARIOUS                             Litigation             UNDETERMINED
        5625 OMNI DRIVE
        SACRAMENTO, CA 95841          ACCOUNT NO.: NOT AVAILABLE


3.978   BAER TREGER LLP, SUSIE                  VARIOUS                             Litigation             UNDETERMINED
        STONE
        1999 AVENUE OF THE STARS,     ACCOUNT NO.: NOT AVAILABLE
        SUITE 1100
        LOS ANGELES, CA 90067




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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.979   BAER, HAROLD                            VARIOUS                             Litigation             UNDETERMINED
        2210 RIBBLE VALLEY DR
        BAKERSFIELD, CA 93311         ACCOUNT NO.: NOT AVAILABLE


3.980   BAEZA CARRILLO, RAMON                   VARIOUS                             Litigation             UNDETERMINED
        700 HARDY DRIVE
        WEST SACRAMENTO, CA 95605     ACCOUNT NO.: NOT AVAILABLE


3.981   BAEZA, AIMEE                            VARIOUS                             Litigation             UNDETERMINED
        3293 E CLAY AVE, APT 101
        FRESNO, CA 93702              ACCOUNT NO.: NOT AVAILABLE


3.982   BAGDASARIAN, DEBORAH                    VARIOUS                             Litigation             UNDETERMINED
        1464 W MORAGA RD.
        2270 PACIFIC AVE. FRESNO      ACCOUNT NO.: NOT AVAILABLE
        FRESNO, CA 93430


3.983   BAGGETT, PHILLIP                        VARIOUS                             Litigation             UNDETERMINED
        1316 BOLTON DRIVE
        MORRO BAY, CA 93442           ACCOUNT NO.: NOT AVAILABLE


3.984   BAGGETTA, RICHARD                       VARIOUS                             Litigation             UNDETERMINED
        1929 ARBOR AVE
        BELMONT, CA 94002             ACCOUNT NO.: NOT AVAILABLE


3.985   BAGHDASARIAN, KRYSTLE                   VARIOUS                             Litigation             UNDETERMINED
        12341 LAGO VISTA DR
        REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.986   BAGHERI, SIAMAK                         VARIOUS                             Litigation             UNDETERMINED
        6 SHEILA CT
        PLEASANT HILL, CA 94523       ACCOUNT NO.: NOT AVAILABLE


3.987   BAGLEY FOR PORTER,                      VARIOUS                             Litigation             UNDETERMINED
        CHARMAGNE FOR JIM
        4052 HESSEL RD                ACCOUNT NO.: NOT AVAILABLE
        SEBASTOPOLL, CA 95472


3.988   BAGNATO, JOHN / CYNTHIA                 VARIOUS                             Litigation             UNDETERMINED
        5854 PENTZ ROAD
        PARADISE, CA 95969            ACCOUNT NO.: NOT AVAILABLE


3.989   BAHARI, BIBI                            VARIOUS                             Litigation             UNDETERMINED
        451 NORTHLAKE DRIVE
        41                            ACCOUNT NO.: NOT AVAILABLE
        SAN JOSE, CA 95117




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Including Zip Code                           Account Number                           Claim

Litigation & Disputes

3.990   BAHIA, JARJEET                          VARIOUS                             Litigation             UNDETERMINED
        672 SPRUCE AVENUE
        SOUTH SAN FRANCISCO, CA       ACCOUNT NO.: NOT AVAILABLE
        94080


3.991   BAIER, SHELLEY                          VARIOUS                             Litigation             UNDETERMINED
        2105 VINE STREET
        PO BOX 2303                   ACCOUNT NO.: NOT AVAILABLE
        PASO ROBLES, CA 93447


3.992   BAIG, MARIAM                            VARIOUS                             Litigation             UNDETERMINED
        38800 HASTINGS ST.
        #106                          ACCOUNT NO.: NOT AVAILABLE
        FREMONT, CA 94536


3.993   BAILEY, CHRISTINE                       VARIOUS                             Litigation             UNDETERMINED
        38839 STILLWATER COMMON
        FREMONT, CA 94536             ACCOUNT NO.: NOT AVAILABLE


3.994   BAILEY, GREG                            VARIOUS                             Litigation             UNDETERMINED
        361 RABB ST
        SUTTER CREEK, CA 95685        ACCOUNT NO.: NOT AVAILABLE


3.995   BAILEY, MARIAN                          VARIOUS                             Litigation             UNDETERMINED
        411 GRAND AVE
        SAN LUIS OBISPO, CA 93405     ACCOUNT NO.: NOT AVAILABLE


3.996   BAILEY, RAYMOND                         VARIOUS                             Litigation             UNDETERMINED
        18225 BARRY LANE
        SONORA, CA 95370              ACCOUNT NO.: NOT AVAILABLE


3.997   BAILEY, REBECCA                         VARIOUS                             Litigation             UNDETERMINED
        239 VEGA AVE
        LOMPOC, CA 93436              ACCOUNT NO.: NOT AVAILABLE


3.998   BAILEY, STACY                           VARIOUS                             Litigation             UNDETERMINED
        638 CALIFORNIA ST
        W SACRAMENTO, CA 95605        ACCOUNT NO.: NOT AVAILABLE


3.999   BAILEY, STEVEN                          VARIOUS                             Litigation             UNDETERMINED
        2080 EAST AVENUE
        HAYWARD, CA 94541             ACCOUNT NO.: NOT AVAILABLE


3.1000 BAILEY'S INC-RAMSEY, BOB                 VARIOUS                             Litigation             UNDETERMINED
       1210 COMMERCE AVE
       STE 8                          ACCOUNT NO.: NOT AVAILABLE
       WOODLAND, CA 95776



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Including Zip Code                          Account Number                           Claim

Litigation & Disputes

3.1001 BAILLIF, ROBYN                          VARIOUS                             Litigation             UNDETERMINED
       625 MANZANITA AVE
       BOULDER CREEK, CA 95006       ACCOUNT NO.: NOT AVAILABLE


3.1002 BAIM, BREVEN                            VARIOUS                             Litigation             UNDETERMINED
       1750 EL CAMINO REAL STE D
       GROVER BEACH, CA 93433        ACCOUNT NO.: NOT AVAILABLE


3.1003 BAINES, GLEN                            VARIOUS                             Litigation             UNDETERMINED
       1567 WILLOWSIDE RD.
       SANTA ROSA, CA 95401          ACCOUNT NO.: NOT AVAILABLE


3.1004 BAIOCCHI, JOEL                          VARIOUS                             Litigation             UNDETERMINED
       PO BOX 347
       DUTCH FLAT, CA 95714          ACCOUNT NO.: NOT AVAILABLE


3.1005 BAISA, DENN                             VARIOUS                             Litigation             UNDETERMINED
       155 CINEMA STREET
       SACRAMENTO, CA 95823          ACCOUNT NO.: NOT AVAILABLE


3.1006 BAJARI, JAMES                           VARIOUS                             Litigation             UNDETERMINED
       2 SHEPHERDS PL
       MONTEREY, CA 93940            ACCOUNT NO.: NOT AVAILABLE


3.1007 BAKER AND ASSOCIATES                    VARIOUS                             Litigation             UNDETERMINED
       PROPERTY MANAGEMENT-
       MACKINNON, MATT               ACCOUNT NO.: NOT AVAILABLE
       2247 KNOLLS HILL CIRCLE
       SANTA ROSA, CA 95405


3.1008 BAKER GOFF, TAMMIE                      VARIOUS                             Litigation             UNDETERMINED
       626 LUCARD ST. #2
       TAFT, CA 93268                ACCOUNT NO.: NOT AVAILABLE


3.1009 BAKER, BENJAMIN                         VARIOUS                             Litigation             UNDETERMINED
       12822 BALTIC CIR
       AUBURN, CA 95603              ACCOUNT NO.: NOT AVAILABLE


3.1010 BAKER, CATALINA                         VARIOUS                             Litigation             UNDETERMINED
       3257 FITZGERALD CIRCLE
       MARINA, CA 93933              ACCOUNT NO.: NOT AVAILABLE


3.1011 BAKER, CHARLES                          VARIOUS                             Litigation             UNDETERMINED
       4586 HWY 20
       MARYSVILLE, CA 95901          ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1012 BAKER, CLAUDIA                           VARIOUS                              Litigation              UNDETERMINED
       7085 KINGSMILL WAY
       CITRUS HEIGHTS, CA 95610     ACCOUNT NO.: NOT AVAILABLE


3.1013 BAKER, DAN                               VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 793
       ROSS, CA 94957               ACCOUNT NO.: NOT AVAILABLE


3.1014 BAKER, DEBRA                             VARIOUS                              Litigation              UNDETERMINED
       145 VICK DRIVE
       SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE


3.1015 BAKER, GWEN                              VARIOUS                              Litigation              UNDETERMINED
       25503 SOUTH AVE
       CORNING, CA 96021            ACCOUNT NO.: NOT AVAILABLE


3.1016 BAKER, JOANNE                            VARIOUS                              Litigation              UNDETERMINED
       25 RIALTO DR
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.1017 BAKER, JOHN                              VARIOUS                              Litigation              UNDETERMINED
       2671 SHIRLAND TREAT ROAD
       AUBURN, CA 95603             ACCOUNT NO.: NOT AVAILABLE


3.1018 BAKER, JOSEPH                            VARIOUS                              Litigation              UNDETERMINED
       45 HIDE A WAY RD
       OROVILLE, CA 95966           ACCOUNT NO.: NOT AVAILABLE


3.1019 BAKER, KELLEY                            VARIOUS                              Litigation              UNDETERMINED
       121 DEAN LANE
       KNEELAND, CA 95549           ACCOUNT NO.: NOT AVAILABLE


3.1020 BAKER, LEO                               VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 154
       PETROLIA, CA 95558-0154      ACCOUNT NO.: NOT AVAILABLE


3.1021 BAKER, LIDIA & CHRIS                     VARIOUS                              Litigation              UNDETERMINED
       606 KENWOOD DR.
       BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.1022 BAKER, MARGARET                          VARIOUS                              Litigation              UNDETERMINED
       312 CROWN CIR
       SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
       94080




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.1023 BAKER, REGINA                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 607
       UPPER LAKE, CA 95485          ACCOUNT NO.: NOT AVAILABLE


3.1024 BAKER, ROBERT                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2338
       REDWAY, CA 95560              ACCOUNT NO.: NOT AVAILABLE


3.1025 BAKER, SHYENNE                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 127
       MAGALIA, CA 95954             ACCOUNT NO.: NOT AVAILABLE


3.1026 BAKER, WILLIAM                            VARIOUS                              Litigation              UNDETERMINED
       549 BROCK ROAD
       NEVADA CITY, CA 95959         ACCOUNT NO.: NOT AVAILABLE


3.1027 BAKIS, MIKE & JOANNE                      VARIOUS                              Litigation              UNDETERMINED
       1361 JONES ROAD
       YUBA CITY, CA 95991           ACCOUNT NO.: NOT AVAILABLE


3.1028 BAL, GURPAL                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1056
       KINGSBURG, CA 93631           ACCOUNT NO.: NOT AVAILABLE


3.1029 BALANCE THE BOOKS INC, JEFF               VARIOUS                              Litigation              UNDETERMINED
       FORESTIER
       340 WHITE COTTAGE RD SOUTH    ACCOUNT NO.: NOT AVAILABLE
       ANGWIN, CA 94508


3.1030 BALAS, PAUL                               VARIOUS                              Litigation              UNDETERMINED
       998 OHARA LANE
       LINCOLN, CA 95648             ACCOUNT NO.: NOT AVAILABLE


3.1031 BALASEK, JEROME                           VARIOUS                              Litigation              UNDETERMINED
       6639 VIEW ACRES DRIVE
       PARADISE, CA 95969            ACCOUNT NO.: NOT AVAILABLE


3.1032 BALCACERES, ASHLEY                        VARIOUS                              Litigation              UNDETERMINED
       200 E BELLE TERRACE
       BAKERSFIELD, CA 93307         ACCOUNT NO.: NOT AVAILABLE


3.1033 BALCOMB, ROBERT/GWENNIE                   VARIOUS                              Litigation              UNDETERMINED
       195 STACIA STREET
       LOS GATOS, CA 95030-6243      ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                                    Account Number                           Claim

Litigation & Disputes

3.1034 BALDANZI, DOUGLAS AND                            VARIOUS                              Litigation              UNDETERMINED
       DEBRA
       2432 KENWOOD AVENUE                     ACCOUNT NO.: NOT AVAILABLE
       206650MUHELI ROAD
       MI WUK VILLEGE, CA 95346


3.1035 BALDINA, SOFIA                                   VARIOUS                              Litigation              UNDETERMINED
       2047 21ST AVENUE
       SAN FRANCISCO, CA 94116                 ACCOUNT NO.: NOT AVAILABLE


3.1036 BALDING, TERESA                                  VARIOUS                              Litigation              UNDETERMINED
       1601 41ST AVE, STE P
       CAPITOLA, CA 95010                      ACCOUNT NO.: NOT AVAILABLE


3.1037 BALDINGER, BEVERLY                               VARIOUS                              Litigation              UNDETERMINED
       6341 HIRONYMOUS WAY, LOT
       #2931                                   ACCOUNT NO.: NOT AVAILABLE
       VALLEY SPRINGS, CA 95252


3.1038 Baldovinos, Eraclio; Galvan,                     VARIOUS                              Litigation              UNDETERMINED
       Carlota; Baldovinos, Alejandro;
       Baldovinos, Juan; Baldovinos,           ACCOUNT NO.: NOT AVAILABLE
       Yesenia; Baldonivos, Saul;
       Baldovinos, Isabel; Trujillo, Refugia
       Iasabel; Sanchez, Andrea; Corral,
       Antonio; Corral, Victor; Flores,
       Emilio; Flores, Aunsencia Guzman
       Carlson & Johnson
       472 S. Glassell Street
       Orange, CA 92866


3.1039 BALDWIN, CHAZ                                    VARIOUS                              Litigation              UNDETERMINED
       16770 BUNNY LN
       ANDERSON, CA 96007                      ACCOUNT NO.: NOT AVAILABLE


3.1040 BALDWIN, SALLY & MARK                            VARIOUS                              Litigation              UNDETERMINED
       5125 CLAYTON ROAD
       FAIRFIELD, CA 94534                     ACCOUNT NO.: NOT AVAILABLE


3.1041 BALDY, CAROLE                                    VARIOUS                              Litigation              UNDETERMINED
       PO BOX 503
       LOT 102L AGENCY FIELD                   ACCOUNT NO.: NOT AVAILABLE
       HOOPA, CA 95546


3.1042 BALDYGA, RILLANN                                 VARIOUS                              Litigation              UNDETERMINED
       261 CAPRICORN AVE
       OAKLAND, CA 94611                       ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.1043 BALI HAI GARDEN APARTMENTS-         VARIOUS                                    Litigation              UNDETERMINED
       LOUIS, MAZEN
       5255 CAMDEN AVE             ACCOUNT NO.: NOT AVAILABLE
       LEASING OFFICE
       SAN JOSE, CA 95124


3.1044 BALL, RANDY                               VARIOUS                              Litigation              UNDETERMINED
       2041 WALNUT STREET
       SUTTER, CA 95982              ACCOUNT NO.: NOT AVAILABLE


3.1045 BALL, THOMAS                              VARIOUS                              Litigation              UNDETERMINED
       3935 CAMDEN AVE
       SAN JOSE, CA 95124            ACCOUNT NO.: NOT AVAILABLE


3.1046 BALLADARES, BELINDA                       VARIOUS                              Litigation              UNDETERMINED
       12533 GEORGIA CIRCLE, APT B
       MADERA, CA 93637              ACCOUNT NO.: NOT AVAILABLE


3.1047 BALLARD, BRIAN                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 224
       GLENCOE, CA 95232             ACCOUNT NO.: NOT AVAILABLE


3.1048 BALLARD, JOYCE                            VARIOUS                              Litigation              UNDETERMINED
       4201 POVERTY LANE
       WILSEYVILLE, CA 95257         ACCOUNT NO.: NOT AVAILABLE


3.1049 BALLARD, NICOLE                           VARIOUS                              Litigation              UNDETERMINED
       901 RUSSELL AVE
       137                           ACCOUNT NO.: NOT AVAILABLE
       SANTA ROSA, CA 95403


3.1050 BALLECER, FRANCIS                         VARIOUS                              Litigation              UNDETERMINED
       1141 MARTIN LUTHER KING
       DRIVE                         ACCOUNT NO.: NOT AVAILABLE
       HAYWARD, CA 94541


3.1051 BALLESTEROS, JUDITH                       VARIOUS                              Litigation              UNDETERMINED
       93 CASTRO ST
       204                           ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.1052 BALLETTI, DOREEN                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 783
       2757 INDIAN ROCK ROAD         ACCOUNT NO.: NOT AVAILABLE
       DORRINGTON, CA 95223




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Litigation & Disputes

3.1053 BALMAIN, GARY C                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 474
       DEXTER ROAD                  ACCOUNT NO.: NOT AVAILABLE
       COULTERVILLE, CA 95311


3.1054 BALOS, KAREN                             VARIOUS                              Litigation              UNDETERMINED
       CA 0
                                    ACCOUNT NO.: NOT AVAILABLE


3.1055 BALOWSKI, CAROL BALOWSKI                 VARIOUS                              Litigation              UNDETERMINED
       PO BOX 454
       SUTTER CREEK, CA 95685       ACCOUNT NO.: NOT AVAILABLE


3.1056 BALUCAS, MAKYNZEE                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 624
       DEL REY, CA 93616            ACCOUNT NO.: NOT AVAILABLE


3.1057 BALUK, AUDREY                            VARIOUS                              Litigation              UNDETERMINED
       2185 GENTRY WAY
       RED BLUFF, CA 96080          ACCOUNT NO.: NOT AVAILABLE


3.1058 BALUNDA, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       4830 SILVERADO STREET
       FAIR OAKS, CA 95628          ACCOUNT NO.: NOT AVAILABLE


3.1059 BAMBOO DEPOT, CHAN                       VARIOUS                              Litigation              UNDETERMINED
       WARREN
       441 INDUSTRIAL WAY           ACCOUNT NO.: NOT AVAILABLE
       BENICIA, CA 94510


3.1060 BAMBOO INSURANCE-MAHAN,                  VARIOUS                              Litigation              UNDETERMINED
       KRIS
       2356 GOLD MEADOW WAY         ACCOUNT NO.: NOT AVAILABLE
       #130
       GOLD RIVER, CA 95670


3.1061 BAMORADI, SUSAN                          VARIOUS                              Litigation              UNDETERMINED
       17763 STATE HIGHWAY 20
       NEVADA CITY, CA 95959        ACCOUNT NO.: NOT AVAILABLE


3.1062 BAMORADI, SUSAN                          VARIOUS                              Litigation              UNDETERMINED
       17763 STATE HIGHWAY 20
       NEVADA CITY, CA 95959        ACCOUNT NO.: NOT AVAILABLE


3.1063 BAN, HENRY                               VARIOUS                              Litigation              UNDETERMINED
       5580 FLEMING ROAD
       ATWATER, CA 95301            ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.1064 BANDITO, BURRITO                         VARIOUS                              Litigation              UNDETERMINED
       8938 AIRPORT RD SUITE C
       REDDING, CA 96002            ACCOUNT NO.: NOT AVAILABLE


3.1065 BANDRAPALLI, SAMUEL                      VARIOUS                              Litigation              UNDETERMINED
       1524 MEADOW LANE
       BURLINGAME, CA 94010         ACCOUNT NO.: NOT AVAILABLE


3.1066 BANDY, PEGGY                             VARIOUS                              Litigation              UNDETERMINED
       11005 W KEARNEY BOULEVARD
       FRESNO, CA 93706             ACCOUNT NO.: NOT AVAILABLE


3.1067 BANE, ERIN                               VARIOUS                              Litigation              UNDETERMINED
       40 VERDOSO AVE
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.1068 BANGERT, BRUCE                           VARIOUS                              Litigation              UNDETERMINED
       2501 PAUL MINNIE AVE
       SANTA CRUZ, CA 95062         ACCOUNT NO.: NOT AVAILABLE


3.1069 BANKS, LYDIA                             VARIOUS                              Litigation              UNDETERMINED
       184 E 2ND AVENUE
       CHICO, CA 95926              ACCOUNT NO.: NOT AVAILABLE


3.1070 BANKS, LYDIA                             VARIOUS                              Litigation              UNDETERMINED
       184 E 2ND AVE
       CHICO, CA 95926              ACCOUNT NO.: NOT AVAILABLE


3.1071 BANKS, YOLANDA                           VARIOUS                              Litigation              UNDETERMINED
       12500 PATTISON RD
       BURSON, CA 95252             ACCOUNT NO.: NOT AVAILABLE


3.1072 BANTAM-SIMS, BENJAMIN                    VARIOUS                              Litigation              UNDETERMINED
       1010 FAIR AVE
       STE J                        ACCOUNT NO.: NOT AVAILABLE
       SANTA CRUZ, CA 95060


3.1073 BANUELOS, ANDREA                         VARIOUS                              Litigation              UNDETERMINED
       1233 W. PONTIAC WAY
       FRESNO, CA 93705             ACCOUNT NO.: NOT AVAILABLE


3.1074 BANUELOS, CARRISSA                       VARIOUS                              Litigation              UNDETERMINED
       1253 LOS OLIVOS DR
       24                           ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93901




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.1075 BANUELOS, JUAN                            VARIOUS                              Litigation              UNDETERMINED
       43464 COLUMBIA AVE
       FREMONT, CA 94538             ACCOUNT NO.: NOT AVAILABLE


3.1076 BANWARTH, RONALD                          VARIOUS                              Litigation              UNDETERMINED
       3370 SMITH BOTTOM RD
       COTTONWOOD, CA 96022          ACCOUNT NO.: NOT AVAILABLE


3.1077 BAR ALE, INC.                             VARIOUS                              Litigation              UNDETERMINED
       P. O. BOX 699
       WILLIAMS, CA 95987            ACCOUNT NO.: NOT AVAILABLE


3.1078 BARAJAS RODRIGUEZ,                        VARIOUS                              Litigation              UNDETERMINED
       FILIBERTO
       615 E. SUNSET AVE             ACCOUNT NO.: NOT AVAILABLE
       SANTA MARIA, CA 93454


3.1079 BARAJAS, JOAQUIN                          VARIOUS                              Litigation              UNDETERMINED
       16820 EL RANCHO WAY
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.1080 BARAL, HIMANSHU                           VARIOUS                              Litigation              UNDETERMINED
       1941 JACKSON COURT
       FREMONT, CA 94539             ACCOUNT NO.: NOT AVAILABLE


3.1081 BARANCO-SMITH (ATTY REPD),                VARIOUS                              Litigation              UNDETERMINED
       LISA
       1970 BROADWAY, STE. 750       ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94612


3.1082 BARANIK GUITARS-BARANIK,                  VARIOUS                              Litigation              UNDETERMINED
       MICHAEL
       3850 RAMADA DRIVE, SUITE B1   ACCOUNT NO.: NOT AVAILABLE
       PASO ROBLES, CA 93446


3.1083 BARAONA, JAMES                            VARIOUS                              Litigation              UNDETERMINED
       20714 MUHELI RD
       MI WUK VILLAGE, CA 95346      ACCOUNT NO.: NOT AVAILABLE


3.1084 BARBA, KELSEY                             VARIOUS                              Litigation              UNDETERMINED
       620 32ND STREET
       PASO ROBLES, CA 93445         ACCOUNT NO.: NOT AVAILABLE


3.1085 BARBA, PATRICIA                           VARIOUS                              Litigation              UNDETERMINED
       374 WILSON DROVE
       SANTA MARIA, CA 93455         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1086 BARBARA SCHAFFER AS                      VARIOUS                              Litigation              UNDETERMINED
       SUCCESSOR-IN-INTEREST TO
       WILLIAM REID DECEASED; AND    ACCOUNT NO.: NOT AVAILABLE
       CARLA GUZMAN, JEFFREY
       REID, DEBRA REID, AS
       WRONGFUL DEATH HEIRS OF
       WILLIAM REID, DECEASED
       BRAYTON PURCELL, LLP
       224 RUSH LANDING ROAD, P.O
       BOX 6169
       NOVATO, CA 94949-6169


3.1087 BARBARA SMITH, INDIVIDUALLY              VARIOUS                              Litigation              UNDETERMINED
       AND AS SUCCESSOR-IN-
       INTEREST TO WILLIS O. HAYS,   ACCOUNT NO.: NOT AVAILABLE
       DECEASED; MILDRED HAYS,
       KENNETH HAYS AND MARILYN
       FURTADO
       MAUNE, RAICHLE, HARTLEY,
       FRENCH & MUDD, LLC
       70 WASHINGTON STREET,
       SUITE 200
       OAKLAND, CA 94607


3.1088 BARBER, ANNA                             VARIOUS                              Litigation              UNDETERMINED
       721 MULHOLAND DRIVE
       RIPON, CA 95366               ACCOUNT NO.: NOT AVAILABLE


3.1089 BARBER, BRITTANY                         VARIOUS                              Litigation              UNDETERMINED
       5050 BAGGINS HILL ROAD
       TEMPLETON, CA 93465           ACCOUNT NO.: NOT AVAILABLE


3.1090 BARBER, BRYAN                            VARIOUS                              Litigation              UNDETERMINED
       26 RANCHERIA ROAD
       KENTFIELD, CA 94904           ACCOUNT NO.: NOT AVAILABLE


3.1091 BARBER, GREGORY                          VARIOUS                              Litigation              UNDETERMINED
       53 MERLOT CT
       OAKLEY, CA 94561              ACCOUNT NO.: NOT AVAILABLE


3.1092 BARBER, NANCY                            VARIOUS                              Litigation              UNDETERMINED
       11699 GOLD BUG DR
       FRENCH GULCH, CA 96033        ACCOUNT NO.: NOT AVAILABLE


3.1093 BARBER, ROB                              VARIOUS                              Litigation              UNDETERMINED
       144 CLEARWATER LANE
       NIPOMO, CA 93444              ACCOUNT NO.: NOT AVAILABLE


3.1094 BARBER, STEVE                            VARIOUS                              Litigation              UNDETERMINED
       430 FAIRWAY DR
       HALF MOON BAY, CA 94019       ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.1095 BARBER, STEVE                            VARIOUS                              Litigation              UNDETERMINED
       430 FAIRWAY DR
       HALF MOON BAY, CA 94019      ACCOUNT NO.: NOT AVAILABLE


3.1096 BARBER, WILLIAM                          VARIOUS                              Litigation              UNDETERMINED
       1176 RUNNYMEDE DRIVE
       SAN JOSE, CA 95117           ACCOUNT NO.: NOT AVAILABLE


3.1097 BARBOSA, GINA                            VARIOUS                              Litigation              UNDETERMINED
       916 TURNBERRY CT
       WINDSOR, CA 95492            ACCOUNT NO.: NOT AVAILABLE


3.1098 BARBOSA, MARIA                           VARIOUS                              Litigation              UNDETERMINED
       13335 S WILLOW AVE
       SELMA, CA 93662              ACCOUNT NO.: NOT AVAILABLE


3.1099 BARBOUR, BRYCE                           VARIOUS                              Litigation              UNDETERMINED
       4713 SCHOOL HOUSE RD
       CATHEYS VALLEY, CA 95306     ACCOUNT NO.: NOT AVAILABLE


3.1100 BARCKLAY, CAROLYN                        VARIOUS                              Litigation              UNDETERMINED
       849 NAVARONNE WAY
       CONCORD, CA 94518            ACCOUNT NO.: NOT AVAILABLE


3.1101 BARCLAY, CHRIS                           VARIOUS                              Litigation              UNDETERMINED
       4507 HERON CT
       ROHNERT PARK, CA 94928       ACCOUNT NO.: NOT AVAILABLE


3.1102 BARD, LORI                               VARIOUS                              Litigation              UNDETERMINED
       30 KNIGHTWOOD LANE
       HILLSBOROUGH, CA 94010       ACCOUNT NO.: NOT AVAILABLE


3.1103 BARD, THOMAS                             VARIOUS                              Litigation              UNDETERMINED
       178 GERALD DRIVE
       DANVILLE, CA 94526           ACCOUNT NO.: NOT AVAILABLE


3.1104 BARFIELD, DARREN                         VARIOUS                              Litigation              UNDETERMINED
       1560 YOUD RD
       WINTON, CA 95388             ACCOUNT NO.: NOT AVAILABLE


3.1105 BARICZA, JOHN & BRENDA                   VARIOUS                              Litigation              UNDETERMINED
       2300 ALTURAS ROAD
       ATASCADERO, CA 93422         ACCOUNT NO.: NOT AVAILABLE


3.1106 BARILE, KATJA                            VARIOUS                              Litigation              UNDETERMINED
       1007 N VAN NESS AVE
       FRESNO, CA 93728             ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.1107 BARKER, TRACY                            VARIOUS                              Litigation              UNDETERMINED
       9950 HWY 20
       CLEAR OAKS, CA 95423         ACCOUNT NO.: NOT AVAILABLE


3.1108 BARKHOFF, JODY                           VARIOUS                              Litigation              UNDETERMINED
       27648 ASHLAND DRIVE
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.1109 BARLETT, MANDY                           VARIOUS                              Litigation              UNDETERMINED
       5509 EL ENCANTO DR.
       SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE


3.1110 BARLOME, ARLETTE                         VARIOUS                              Litigation              UNDETERMINED
       10357 E. LIME KILN RD
       GRASS VALLEY, CA 95949       ACCOUNT NO.: NOT AVAILABLE


3.1111 BARLOW, MELINDA                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 134
       CLIPPER MILLS, CA 95930      ACCOUNT NO.: NOT AVAILABLE


3.1112 BARNARD, HOLLY                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 565
       WILLITS, CA 95490            ACCOUNT NO.: NOT AVAILABLE


3.1113 BARNES, C. LINDA                         VARIOUS                              Litigation              UNDETERMINED
       5635 CHANEY LANE
       PARADISE, CA 95969           ACCOUNT NO.: NOT AVAILABLE


3.1114 BARNES, LANITA                           VARIOUS                              Litigation              UNDETERMINED
       13007 KING PALM CT
       BAKERSFIELD, CA 93314        ACCOUNT NO.: NOT AVAILABLE


3.1115 BARNES, MARJORIE                         VARIOUS                              Litigation              UNDETERMINED
       3740 VIA VERDE
       RICHMOND, CA 94803           ACCOUNT NO.: NOT AVAILABLE


3.1116 BARNES, SHEILA                           VARIOUS                              Litigation              UNDETERMINED
       25004 MAIN ST #9
       BARSTOW, CA 92311            ACCOUNT NO.: NOT AVAILABLE


3.1117 BARNETT, BRAD                            VARIOUS                              Litigation              UNDETERMINED
       6990 LONG VALLEY SPUR
       CASTROVILLE, CA 95012        ACCOUNT NO.: NOT AVAILABLE


3.1118 BARNETT, JUDY                            VARIOUS                              Litigation              UNDETERMINED
       123 MADRONE AVENUE
       LARKSPUR, CA 94939           ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.1119 BARNETTE VILBERT, KELLIE                 VARIOUS                              Litigation              UNDETERMINED
       306 LAS QUEBRADAS
       ALAMO, CA 94507              ACCOUNT NO.: NOT AVAILABLE


3.1120 BARNEY JR, WILLIAM                       VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1470
       LINDEN, CA 95236             ACCOUNT NO.: NOT AVAILABLE


3.1121 BARNEY, KENNETH                          VARIOUS                              Litigation              UNDETERMINED
       985 FICKLE HILL ROAD
       ARCATA, CA 95521             ACCOUNT NO.: NOT AVAILABLE


3.1122 BARNUM AND CELILLO                       VARIOUS                              Litigation              UNDETERMINED
       ELECTRIC INC, FRED BAMIM
       135 MAIN AVE                 ACCOUNT NO.: NOT AVAILABLE
       13033 S. AIRPORT WAY,
       MANTECA
       SACRAMENTO, CA 95838


3.1123 BARNWOOD ARMS-MANGELOS,                  VARIOUS                              Litigation              UNDETERMINED
       JOSEPH
       120 E MAIN ST                ACCOUNT NO.: NOT AVAILABLE
       RIPON, CA 95366


3.1124 BARO, APOLONIO                           VARIOUS                              Litigation              UNDETERMINED
       477 EL CAJON DR
       SAN JOSE, CA 95111           ACCOUNT NO.: NOT AVAILABLE


3.1125 BARONI, MARCIA                           VARIOUS                              Litigation              UNDETERMINED
       18838 SANDY RD
       CASTRO VALLEY, CA 94546      ACCOUNT NO.: NOT AVAILABLE


3.1126 BARR, ROBERT                             VARIOUS                              Litigation              UNDETERMINED
       9733 KELLY LANE
       PENNGROVE, CA 94951          ACCOUNT NO.: NOT AVAILABLE


3.1127 BARR, TONY                               VARIOUS                              Litigation              UNDETERMINED
       1168 RIVIERA DR
       REDDING, CA 96001            ACCOUNT NO.: NOT AVAILABLE


3.1128 BARR, TRACE                              VARIOUS                              Litigation              UNDETERMINED
       42363 AUBERRY ROAD
       AUBERRY, CA 93602            ACCOUNT NO.: NOT AVAILABLE


3.1129 BARRAGAN, LORENA                         VARIOUS                              Litigation              UNDETERMINED
       1908 OSAGE AVE
       HAYWARD, CA 94545            ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.1130 BARRERA, ERWS                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 9231
       SALINAS, CA 93915             ACCOUNT NO.: NOT AVAILABLE


3.1131 BARRERA, RACHEL                           VARIOUS                              Litigation              UNDETERMINED
       2200 96TH AVE
       OAKLAND, CA 94603             ACCOUNT NO.: NOT AVAILABLE


3.1132 BARRERA, SERGIO                           VARIOUS                              Litigation              UNDETERMINED
       1439 1/2 S. BROADWAY
       SANTA MARIA, CA 93454         ACCOUNT NO.: NOT AVAILABLE


3.1133 BARRERA, VIRGINIA                         VARIOUS                              Litigation              UNDETERMINED
       1103 DILLON DR
       NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.1134 BARRETT BUSINESS SERVICES                 VARIOUS                              Litigation              UNDETERMINED
       INC., SERGEY LABUTIN
       P.O. BOX 277550               ACCOUNT NO.: NOT AVAILABLE
       SACRAMENTO, CA 95827


3.1135 BARRETT, EDIE                             VARIOUS                              Litigation              UNDETERMINED
       250 TEMELEC CIR
       SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


3.1136 BARRETT, MARK                             VARIOUS                              Litigation              UNDETERMINED
       18498 WILDWOOD DRIVE
       TWAIN HARTE, CA 95383         ACCOUNT NO.: NOT AVAILABLE


3.1137 BARRETT, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       19625 LAKE CALIFORNIA DR #A
       COTTONWOOD, CA 96022          ACCOUNT NO.: NOT AVAILABLE


3.1138 BARRETT, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
       4861 RACETRACK CIRCLE
       ROCKLIN, CA 95677             ACCOUNT NO.: NOT AVAILABLE


3.1139 BARRINGER, JENNIFER                       VARIOUS                              Litigation              UNDETERMINED
       6694 CROW CANYON RD
       CASTRO VALLEY, CA 94552       ACCOUNT NO.: NOT AVAILABLE


3.1140 BARRIOS FARMS, DAVID LONG                 VARIOUS                              Litigation              UNDETERMINED
       P.O BOX 173
       E/CO RD 94, N/CO RD 12        ACCOUNT NO.: NOT AVAILABLE
       ZAMORA, CA 95698




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Litigation & Disputes

3.1141 BARRIOS BEARDEN, VIRGINIA                VARIOUS                              Litigation              UNDETERMINED
       110 LINDO LN
       MORGAN HILL, CA 95037        ACCOUNT NO.: NOT AVAILABLE


3.1142 BARRIOS, YERANIA                         VARIOUS                              Litigation              UNDETERMINED
       1500 POPLAR AVE, APT 7D
       WASCO, CA 93280              ACCOUNT NO.: NOT AVAILABLE


3.1143 BARRON, GERARDO                          VARIOUS                              Litigation              UNDETERMINED
       1531 GILBERT LN
       CHICO, CA 95926              ACCOUNT NO.: NOT AVAILABLE


3.1144 BARROW REALES, ALMA                      VARIOUS                              Litigation              UNDETERMINED
       3021 HUFF AVE.
       312                          ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95128


3.1145 BARROW, EUGENE                           VARIOUS                              Litigation              UNDETERMINED
       458 BROWN AVE
       YUBA CITY, CA 95991          ACCOUNT NO.: NOT AVAILABLE


3.1146 BARRY, KATHY                             VARIOUS                              Litigation              UNDETERMINED
       24645 FOOTHILL DR
       SALINAS, CA 93908            ACCOUNT NO.: NOT AVAILABLE


3.1147 BARRY, SHIRLEY                           VARIOUS                              Litigation              UNDETERMINED
       12645 FERN ROAD EAST
       WHITMORE, CA 96096           ACCOUNT NO.: NOT AVAILABLE


3.1148 BARRY, WILLIAM                           VARIOUS                              Litigation              UNDETERMINED
       101 SHALE CLIFF CT
       CLAYTON, CA 94517            ACCOUNT NO.: NOT AVAILABLE


3.1149 BARSHA PROPERTIES, HAHH,                 VARIOUS                              Litigation              UNDETERMINED
       BRIT1
       5214 DIAMONS HEIGHTS BLVD    ACCOUNT NO.: NOT AVAILABLE
       #125
       509 MOLINO DRIVE
       SAN FRANCISCO, CA 94131


3.1150 BARSOTTI, JULIE                          VARIOUS                              Litigation              UNDETERMINED
       4717 DRY CREEK RD.
       HEALDSBURG, CA               ACCOUNT NO.: NOT AVAILABLE


3.1151 BARTAL, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       4171 WHISPERING PINES DR.
       SANTA MARIA, CA 93455        ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.1152 BARTEL, RICHARD                          VARIOUS                              Litigation              UNDETERMINED
       132 PAX PL CT
       APTOS, CA 95003              ACCOUNT NO.: NOT AVAILABLE


3.1153 BARTHOLDI, CHERYL                        VARIOUS                              Litigation              UNDETERMINED
       6380 TUSTIN RD
       PRUNEDSLE, CA 93907          ACCOUNT NO.: NOT AVAILABLE


3.1154 BARTHOLOMEW, ELDON                       VARIOUS                              Litigation              UNDETERMINED
       3190 E WESTFALL ROAD
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE


3.1155 BARTHOLOMEW, JIM & DELORES         VARIOUS                                    Litigation              UNDETERMINED
       6489 LONE PINE ROAD
       SEBASTOPOL, CA 95472       ACCOUNT NO.: NOT AVAILABLE


3.1156 BARTO, JOSEPH                            VARIOUS                              Litigation              UNDETERMINED
       709 ST ANDREWS WAY
       LOMPOC, CA 93436             ACCOUNT NO.: NOT AVAILABLE


3.1157 BARTOLETTI, MELANIE                      VARIOUS                              Litigation              UNDETERMINED
       2065 SAN RAMON VALLEY BLVD
       SAN RAMON, CA 94583          ACCOUNT NO.: NOT AVAILABLE


3.1158 BARTON, CARRIE                           VARIOUS                              Litigation              UNDETERMINED
       155 STANFORD DR
       BEN LOMOND, CA 95005         ACCOUNT NO.: NOT AVAILABLE


3.1159 BARTON, DEBRA                            VARIOUS                              Litigation              UNDETERMINED
       3026 DEL PASO BLVD
       SACRAMENTO, CA 95815         ACCOUNT NO.: NOT AVAILABLE


3.1160 BARTON, DEBRA                            VARIOUS                              Litigation              UNDETERMINED
       3026 DEL PASO BLVD
       SACRAMENTO, CA 95815         ACCOUNT NO.: NOT AVAILABLE


3.1161 BARTON, LENORE                           VARIOUS                              Litigation              UNDETERMINED
       19798 HIGHWAY 26
       WEST POINT, CA 95255         ACCOUNT NO.: NOT AVAILABLE


3.1162 BARTON, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
       2290 REDWOOD WAY
       FORTUNA, CA 95540            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1163 BARWIG, EMILY                            VARIOUS                              Litigation              UNDETERMINED
       130 SHARENE LN # 25
       25                           ACCOUNT NO.: NOT AVAILABLE
       WALNUT CREEK, CA 94596


3.1164 BARZAGA INC DBA KALESA,                  VARIOUS                              Litigation              UNDETERMINED
       TAGLE. MARCELO
       30982 HUNTWOOD AVE           ACCOUNT NO.: NOT AVAILABLE
       1783 N MILPITAS BLVD
       MILPITAS, CA 95035


3.1165 BASHAM, DIANE                            VARIOUS                              Litigation              UNDETERMINED
       558 W SAN JOSE AVE
       CLOVIS, CA 93612             ACCOUNT NO.: NOT AVAILABLE


3.1166 BASINGER, GLORIA                         VARIOUS                              Litigation              UNDETERMINED
       535 WEST F STREET
       DIXON, CA 95620              ACCOUNT NO.: NOT AVAILABLE


3.1167 BASINGER, ROBERT                         VARIOUS                              Litigation              UNDETERMINED
       919 EAST 2620 NORTH
       3616 ELECTRIC LANE           ACCOUNT NO.: NOT AVAILABLE
       COTTONWOOD, CA


3.1168 BASKIN ROBBINS -QUESADA,                 VARIOUS                              Litigation              UNDETERMINED
       LOUIE
       10742 TRINITY PKWY STE B     ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA 95219


3.1169 BASKIN ROBBINS-KWATRA,                   VARIOUS                              Litigation              UNDETERMINED
       SAANIYA
       2673 FASHION PLACE           ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93306


3.1170 BASMAJIAN, LORI                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 313
       2330 MEIKLE ROAD             ACCOUNT NO.: NOT AVAILABLE
       HICKMAN, CA 95323


3.1171 BASTIDAS, YARITZA                        VARIOUS                              Litigation              UNDETERMINED
       26603 GADING RD APT 126
       HAYWARD, CA 94544            ACCOUNT NO.: NOT AVAILABLE


3.1172 BASTIEN, WILLIAM                         VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 517
       GARDEN VALLEY, CA 95633      ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1173 BASURTO, DIANA                           VARIOUS                              Litigation              UNDETERMINED
       65 DESMOND RD.
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.1174 BATANIDES, PETER                         VARIOUS                              Litigation              UNDETERMINED
       777 48TH AVE
       SAN FRANCISCO, CA 94121      ACCOUNT NO.: NOT AVAILABLE


3.1175 BATES, CHARLES                           VARIOUS                              Litigation              UNDETERMINED
       577 VIEJO RD
       CARMEL, CA 93923             ACCOUNT NO.: NOT AVAILABLE


3.1176 BATES, CLAYTON                           VARIOUS                              Litigation              UNDETERMINED
       1955 VILLAGE DR
       IONE, CA 94640               ACCOUNT NO.: NOT AVAILABLE


3.1177 BATES, COLBY                             VARIOUS                              Litigation              UNDETERMINED
       983 E LASSEN AVE
       #5                           ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95973


3.1178 BATES, DEBRA                             VARIOUS                              Litigation              UNDETERMINED
       440 SANTA RITA AVENUE
       MENLO PARK, CA 94025         ACCOUNT NO.: NOT AVAILABLE


3.1179 BATES, GALE                              VARIOUS                              Litigation              UNDETERMINED
       8151 DESCHUTES RD
       PO CEDRO, CA 96073           ACCOUNT NO.: NOT AVAILABLE


3.1180 BATES, LORI                              VARIOUS                              Litigation              UNDETERMINED
       2522 TAMWORTH LN
       SAN RAMON, CA 94582          ACCOUNT NO.: NOT AVAILABLE


3.1181 BATES, NATHANIEL                         VARIOUS                              Litigation              UNDETERMINED
       300 SEAVIEW DRIVE
       RICHMOND, CA 94801           ACCOUNT NO.: NOT AVAILABLE


3.1182 BATINA, JERILYN                          VARIOUS                              Litigation              UNDETERMINED
       8785 POPLAR DRIVE
       GILROY, CA 95020             ACCOUNT NO.: NOT AVAILABLE


3.1183 BATISTE, KENNETH                         VARIOUS                              Litigation              UNDETERMINED
       2709 SUNSET AVE.
       OAKLAND, CA 94601            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.1184 BATISTICH, CLAIRE                        VARIOUS                              Litigation              UNDETERMINED
       24960 LA LOMA DR
       LOS ALTOS, CA 94022          ACCOUNT NO.: NOT AVAILABLE


3.1185 BAUER, BARRY                             VARIOUS                              Litigation              UNDETERMINED
       242 W. BLUFF AVE.
       FRESNO, CA 93711             ACCOUNT NO.: NOT AVAILABLE


3.1186 BAUER, BRUCE                             VARIOUS                              Litigation              UNDETERMINED
       477 TURRIN DRIVE
       PLEASANT HILL, CA 94523      ACCOUNT NO.: NOT AVAILABLE


3.1187 BAUER, JOHN                              VARIOUS                              Litigation              UNDETERMINED
       5051 STAGECOACH HILL
       MOUNTAIN RANCH, CA 95246     ACCOUNT NO.: NOT AVAILABLE


3.1188 BAUER, STEPHEN                           VARIOUS                              Litigation              UNDETERMINED
       319 WALK CIRCLE
       SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE


3.1189 BAUHS, JULIE                             VARIOUS                              Litigation              UNDETERMINED
       1659 ST. DAVID DR.
       DANVILLE, CA 94526           ACCOUNT NO.: NOT AVAILABLE


3.1190 BAUM, KEVIN                              VARIOUS                              Litigation              UNDETERMINED
       2128 HILLCREST RD
       REDWOOD CITY, CA 94062       ACCOUNT NO.: NOT AVAILABLE


3.1191 BAUMAN LAW APLC, FELICIA                 VARIOUS                              Litigation              UNDETERMINED
       TOBIAS & ALTON GREEN
       6800 OWENSMOUTH AVE SUITE    ACCOUNT NO.: NOT AVAILABLE
       410
       705 P STREET
       FRESNO, CA 93721


3.1192 BAUMAN, MATTHEW                          VARIOUS                              Litigation              UNDETERMINED
       21432 BROADWAY RD
       UNIT 372                     ACCOUNT NO.: NOT AVAILABLE
       REDWOOD ESTATES, CA 95044


3.1193 BAUMANN, BROOKE                          VARIOUS                              Litigation              UNDETERMINED
       2814 POLARIS ST
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.1194 BAUMANN, JULIE                           VARIOUS                              Litigation              UNDETERMINED
       845 KNOLL DR
       SAN CARLOS, CA 94070         ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.1195 BAUMBACH, DONALD                         VARIOUS                              Litigation              UNDETERMINED
       55 MADRONE AVE
       LARKSPUR, CA 94939           ACCOUNT NO.: NOT AVAILABLE


3.1196 BAUMGARDNER, BRIAN                       VARIOUS                              Litigation              UNDETERMINED
       9108 PINE RIDGE WAY
       BAKERSFIELD, CA 93312        ACCOUNT NO.: NOT AVAILABLE


3.1197 BAUMGARTEN, MARK                         VARIOUS                              Litigation              UNDETERMINED
       166 HARBOUR DRIVE
       HALF MOON BAY, CA 94019      ACCOUNT NO.: NOT AVAILABLE


3.1198 BAUMGARTNER, KEN                         VARIOUS                              Litigation              UNDETERMINED
       18175 N. HWY 1
       FORT BRAGG, CA 95437         ACCOUNT NO.: NOT AVAILABLE


3.1199 BAUTISTA, VALERIA                        VARIOUS                              Litigation              UNDETERMINED
       18 THOMAS COURT
       SAN MATEO, CA 94401          ACCOUNT NO.: NOT AVAILABLE


3.1200 BAXTER, DON                              VARIOUS                              Litigation              UNDETERMINED
       4236 BEACON PL
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.1201 BAY AREA GOLF & INDUSTRIAL               VARIOUS                              Litigation              UNDETERMINED
       VEHICLES-LOTY, MAUREEN
       2508 PACHECO BLVD            ACCOUNT NO.: NOT AVAILABLE
       MARTINEZ, CA 94553


3.1202 BAY AREA YAKINIKU II LLC                 VARIOUS                              Litigation              UNDETERMINED
       19620 STEVENS CREEK
       BOULEVARD SUITE 200          ACCOUNT NO.: NOT AVAILABLE
       329 S ELLSWORTH AVENUE
       SAN MATEO, CA 94401


3.1203 BAY FOODS INC-SHAYESTEH,                 VARIOUS                              Litigation              UNDETERMINED
       AMIR
       3567 GEARY BLVD              ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94118


3.1204 BAY VIEW BUILDERS, INC-                  VARIOUS                              Litigation              UNDETERMINED
       PURCELL, BRIAN
       2063 MOUNTAIN BLVD #6        ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94611




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.1205 BAY.ORG, DBA AQUARIUM OF                 VARIOUS                              Litigation              UNDETERMINED
       THE BAY-EVANS, BOBBI
       39 PIER, EMBARCADO AT         ACCOUNT NO.: NOT AVAILABLE
       BEACH ST
       SAN FRANCISCO, CA 94133


3.1206 BAYATI, NICHOLAS, HADI, AND              VARIOUS                              Litigation              UNDETERMINED
       FLAVIA
       13028 PFEIFLE AVENUE          ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95111


3.1207 BAYKALOVA, SVETLANA                      VARIOUS                              Litigation              UNDETERMINED
       1150 MCLAUGHLIN AVE, APT
       #327                          ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95122


3.1208 BAYLEY, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       1223 W SWAIN RD
       STOCKTON, CA 95207            ACCOUNT NO.: NOT AVAILABLE


3.1209 BAYLEY, JOHN/HAIDAI                      VARIOUS                              Litigation              UNDETERMINED
       1223 W SWAIN RD
       STOCKTON, CA 95207            ACCOUNT NO.: NOT AVAILABLE


3.1210 BAYOTT/ALLSTATE, OLIVER                  VARIOUS                              Litigation              UNDETERMINED
       284 PEBBLE BEACH RD
       BRENTWOOD, CA 94513           ACCOUNT NO.: NOT AVAILABLE


3.1211 BAYS, VICKIE                             VARIOUS                              Litigation              UNDETERMINED
       1900 LYNWOOD DR
       APT E                         ACCOUNT NO.: NOT AVAILABLE
       CONCORD, CA 94519


3.1212 BAYSIDE INTERIORS, INC.                  VARIOUS                              Litigation              UNDETERMINED
       LEONIDOU & ROSIN
       777 CUESTA DRIVE, SUITE 200   ACCOUNT NO.: NOT AVAILABLE
       MOUNTAIN VIEW, CA 94040


3.1213 BAYSIDER CAFE INC.-SHAMIEH,              VARIOUS                              Litigation              UNDETERMINED
       ZIADEH
       290 UTAH AVE.                 ACCOUNT NO.: NOT AVAILABLE
       SO. SAN FRANCISCO, CA 94030


3.1214 BAYSINGER, CRAIG                         VARIOUS                              Litigation              UNDETERMINED
       1499 JUSTINE CT.
       LIVERMORE, CA 94550           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.1215 BAYVIEW PARK ESTATES HOME                VARIOUS                              Litigation              UNDETERMINED
       OWNERS ASSC, KHOR, KUAN
       645 QUINCE LANE              ACCOUNT NO.: NOT AVAILABLE
       MILPITAS, CA 95035


3.1216 BAYVIEW VINEYARDS                        VARIOUS                              Litigation              UNDETERMINED
       CORPORATII
       5135 SOLANO AVENUE           ACCOUNT NO.: NOT AVAILABLE
       NAPA, CA 94588-1332


3.1217 BAYWOOD VILLAGE HOA (ATTY                VARIOUS                              Litigation              UNDETERMINED
       REP)
       3195 MCCARTNEY ROAD          ACCOUNT NO.: NOT AVAILABLE
       ALAMEDA, CA 94502


3.1218 BAYWOOD VILLAGE                          VARIOUS                              Litigation              UNDETERMINED
       HOMEOWNERS
       HUGHES GILL COCHRANE         ACCOUNT NO.: NOT AVAILABLE
       TINETTI, P.C.
       2820 SHADELANDS DRIVE,
       SUITE 160
       WALNUT CREEK, CA 94598


3.1219 BAZAN, MARLENE                           VARIOUS                              Litigation              UNDETERMINED
       623 W TERRACE AVE
       FRESNO, CA 93705             ACCOUNT NO.: NOT AVAILABLE


3.1220 BEACH STREET INN-FERRANTE,               VARIOUS                              Litigation              UNDETERMINED
       CHRIS
       125 BEACH ST                 ACCOUNT NO.: NOT AVAILABLE
       SANTA CRUZ, CA 95060


3.1221 BEACH, CAROLINA                          VARIOUS                              Litigation              UNDETERMINED
       3422 MONTERO RD
       CAMERON PARK, CA 95682       ACCOUNT NO.: NOT AVAILABLE


3.1222 BEACH, CHARLES                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 37
       GRIZZLY FLATS, CA 95636      ACCOUNT NO.: NOT AVAILABLE


3.1223 BEACH, GREG AND MICHELLE                 VARIOUS                              Litigation              UNDETERMINED
       921 JUNIPERO WAY
       SALINAS, CA 93901            ACCOUNT NO.: NOT AVAILABLE


3.1224 BEACHAM, RICHARD                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 22392
       CARMEL, CA 93922             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.1225 BEACHAM, RICHARD & GRACE                 VARIOUS                              Litigation              UNDETERMINED
       3452 TAYLOR ROAD
       CARMEL, CA 93923             ACCOUNT NO.: NOT AVAILABLE


3.1226 BEACHWALKER INN & SUITES-                VARIOUS                              Litigation              UNDETERMINED
       PANCHAL, HARSHAD
       490 DOLLIVER STREET          ACCOUNT NO.: NOT AVAILABLE
       PISMO BEACH, CA 93420


3.1227 BEAL, MARCUS                             VARIOUS                              Litigation              UNDETERMINED
       78 VILLA COURT
       PISMO BEACH, CA 93449        ACCOUNT NO.: NOT AVAILABLE


3.1228 BEAL, MELISSA                            VARIOUS                              Litigation              UNDETERMINED
       8690 E. NEES
       CLOVIS, CA 93619             ACCOUNT NO.: NOT AVAILABLE


3.1229 BEALL, ARTHUR                            VARIOUS                              Litigation              UNDETERMINED
       1090 RUF RD
       COLFAX, CA 95713             ACCOUNT NO.: NOT AVAILABLE


3.1230 BEALL, MARGOT                            VARIOUS                              Litigation              UNDETERMINED
       157 24TH AVE.
       SAN FRANCISCO, CA 94121      ACCOUNT NO.: NOT AVAILABLE


3.1231 BEAMAN, JAMES                            VARIOUS                              Litigation              UNDETERMINED
       712 BRIDLE PATH RD.
       COLFAX, CA 95713             ACCOUNT NO.: NOT AVAILABLE


3.1232 BEAMON, MICHELLE                         VARIOUS                              Litigation              UNDETERMINED
       2101 65 AVE.
       OAKLAND, CA 94621            ACCOUNT NO.: NOT AVAILABLE


3.1233 BEAN, BARBARA                            VARIOUS                              Litigation              UNDETERMINED
       952 EVELYN AVE.
       ALBANY, CA 94706             ACCOUNT NO.: NOT AVAILABLE


3.1234 BEAN, JUDIE & GERRY                      VARIOUS                              Litigation              UNDETERMINED
       315 APRICOT STREET
       NIPOMO, CA 93444             ACCOUNT NO.: NOT AVAILABLE


3.1235 BEAN, PEGGY                              VARIOUS                              Litigation              UNDETERMINED
       375 E STATE HIGHWAY 20 SPC
       68                           ACCOUNT NO.: NOT AVAILABLE
       UPPER LAKE, CA 95485




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Litigation & Disputes

3.1236 BEARD, RICHARD                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 182
       ROUND MOUNTAIN, CA 96084     ACCOUNT NO.: NOT AVAILABLE


3.1237 BEAS, JOSE                               VARIOUS                              Litigation              UNDETERMINED
       1924 BRIARWOOD LANE
       CORCORAN, CA 93212           ACCOUNT NO.: NOT AVAILABLE


3.1238 BEASLEY, LISA                            VARIOUS                              Litigation              UNDETERMINED
       311 ACORN DRIVE
       BOULDER CREEK, CA 95006      ACCOUNT NO.: NOT AVAILABLE


3.1239 BEATON, MYTCHELL                         VARIOUS                              Litigation              UNDETERMINED
       1185 MONROE ST.
       APT. #64                     ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.1240 BEATON, ROB                              VARIOUS                              Litigation              UNDETERMINED
       3001 BRIDGEWAY SUITE K201
       SAUSALITO, CA 94965          ACCOUNT NO.: NOT AVAILABLE


3.1241 BEATTIE, RANDY                           VARIOUS                              Litigation              UNDETERMINED
       5215 GREENWOOD
       KNEELAND, CA 95549           ACCOUNT NO.: NOT AVAILABLE


3.1242 BEAUDIN, SCOTT                           VARIOUS                              Litigation              UNDETERMINED
       21005 COMPANY RANCH ROAD
       FORT BRAGG, CA 95437         ACCOUNT NO.: NOT AVAILABLE


3.1243 BEAVERS, CARROLL                         VARIOUS                              Litigation              UNDETERMINED
       9847 STANLEY AVE
       OAKLAND, CA 94605            ACCOUNT NO.: NOT AVAILABLE


3.1244 BEBERIAN FAMILY FAMS-                    VARIOUS                              Litigation              UNDETERMINED
       BEBERIAN, GREG
       9181 W DAKOTA AV             ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93723


3.1245 BECAUSE WE CAN-NORTHRUP,                 VARIOUS                              Litigation              UNDETERMINED
       JILLIAN
       2500 KIRKHAM ST              ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94607


3.1246 BECCHIO, BRETT                           VARIOUS                              Litigation              UNDETERMINED
       25771 SUGAR PINE DR
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.1247 BECCHIO, PENNY                            VARIOUS                              Litigation              UNDETERMINED
       25361 SUGAR PINE DRIVE
       PIONEER, CA 95666             ACCOUNT NO.: NOT AVAILABLE


3.1248 BECERRA, ALEX                             VARIOUS                              Litigation              UNDETERMINED
       15145 AMARAL ROAD
       CASTROVILLE, CA 95012         ACCOUNT NO.: NOT AVAILABLE


3.1249 BECERRA, EVANGELINA O.                    VARIOUS                              Litigation              UNDETERMINED
       LAW OFFICE OF JEAN
       SCHAEFER/THE ROSA LAW         ACCOUNT NO.: NOT AVAILABLE
       GROUP
       1333 HOWE AVENUE, SUITE 110
       SACRAMENTO, CA 95825


3.1250 BECERRA, FELIX                            VARIOUS                              Litigation              UNDETERMINED
       4028 CRANFORD CIRCLE
       SAN JOSE, CA 95124            ACCOUNT NO.: NOT AVAILABLE


3.1251 BECERRA, FRANCISCA                        VARIOUS                              Litigation              UNDETERMINED
       7591 CHURCH ST
       A                             ACCOUNT NO.: NOT AVAILABLE
       GILROY, CA 95020


3.1252 BECERRA, JULIO                            VARIOUS                              Litigation              UNDETERMINED
       126 S. EL CAMINO REAL
       GREENFIELD, CA 93927          ACCOUNT NO.: NOT AVAILABLE


3.1253 BECERRA, MANUEL                           VARIOUS                              Litigation              UNDETERMINED
       125 FORD ST.
       A                             ACCOUNT NO.: NOT AVAILABLE
       WATSONVILLE, CA 95076


3.1254 BECERRIL SOTELO, ROBERTO                  VARIOUS                              Litigation              UNDETERMINED
       438 S FRONT ST
       RIO VISTA, CA 94571           ACCOUNT NO.: NOT AVAILABLE


3.1255 BECHHOLD, SCOTT                           VARIOUS                              Litigation              UNDETERMINED
       9695 MIDWAY
       DURHAM, CA 95938              ACCOUNT NO.: NOT AVAILABLE


3.1256 BECHWATI, JOSEPH                          VARIOUS                              Litigation              UNDETERMINED
       329 SANGO CT
       MILPITAS, CA 95035            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1257 BECK & BLOOM WISE SONS-                  VARIOUS                              Litigation              UNDETERMINED
       BLOOM, EVAN
       1489 WEBSTER ST               ACCOUNT NO.: NOT AVAILABLE
       200
       SAN FRANCISCO, CA 94115


3.1258 BECK RANCH-BECK, BILL                    VARIOUS                              Litigation              UNDETERMINED
       2556 S. HWY 99W
       RANCH SHOP                    ACCOUNT NO.: NOT AVAILABLE
       CORNING, CA 96021


3.1259 BECK, ANGELA                             VARIOUS                              Litigation              UNDETERMINED
       20291 CANYONVIEW DRIVE
       TUOLUMNE, CA 95379            ACCOUNT NO.: NOT AVAILABLE


3.1260 BECK, BLADE                              VARIOUS                              Litigation              UNDETERMINED
       14777 WONDERLAND BLVD.
       REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.1261 BECK, DAGNY                              VARIOUS                              Litigation              UNDETERMINED
       2522 OLD HWY
       CATHEYS VALLEY, CA 95306      ACCOUNT NO.: NOT AVAILABLE


3.1262 BECK, DOUG                               VARIOUS                              Litigation              UNDETERMINED
       2340 FAIRFIELD ST
       EUREKA, CA 95501              ACCOUNT NO.: NOT AVAILABLE


3.1263 BECK, ELLEN                              VARIOUS                              Litigation              UNDETERMINED
       P.O BOX 2427
       CARMEL, CA 93921              ACCOUNT NO.: NOT AVAILABLE


3.1264 BECK, HAL                                VARIOUS                              Litigation              UNDETERMINED
       429 60TH ST
       OAKLAND, CA 94609             ACCOUNT NO.: NOT AVAILABLE


3.1265 BECKER, KEN                              VARIOUS                              Litigation              UNDETERMINED
       1412 WEST YOSEMITE AVE
       MANTECA, CA 95336             ACCOUNT NO.: NOT AVAILABLE


3.1266 BECKER, RHONDA                           VARIOUS                              Litigation              UNDETERMINED
       2630 LAKESHORE BLVD, UNIT B
       UPPER LAKE, CA 95485          ACCOUNT NO.: NOT AVAILABLE


3.1267 BECKETT, HOLLY                           VARIOUS                              Litigation              UNDETERMINED
       5621 DAISY CIR
       POLLOCK PINES, CA 95726       ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1268 BECKHAM, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       151 RIVERWOOD DR
       WOODBRIDGE, CA 95258         ACCOUNT NO.: NOT AVAILABLE


3.1269 BECKMAN, MINDY                           VARIOUS                              Litigation              UNDETERMINED
       1050 HUNTS DR.
       MCKINLEYVILLE, CA 95519      ACCOUNT NO.: NOT AVAILABLE


3.1270 BEDFORD, ALICE                           VARIOUS                              Litigation              UNDETERMINED
       730 MEADOW DRIVE
       SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.1271 BEDOLLA, CUAUHTEMOC                      VARIOUS                              Litigation              UNDETERMINED
       10025 VAN RUITEN LN
       ELK GROVE, CA 95624          ACCOUNT NO.: NOT AVAILABLE


3.1272 BEDROSSIAN, MATT                         VARIOUS                              Litigation              UNDETERMINED
       3745 RHODA AVE.
       OAKLAND, CA 94602            ACCOUNT NO.: NOT AVAILABLE


3.1273 BEELER, JOSEPH                           VARIOUS                              Litigation              UNDETERMINED
       14230 FRENCH CAMP RD
       RIPON, CA 95366              ACCOUNT NO.: NOT AVAILABLE


3.1274 BEERLE, ESTER                       VARIOUS                                   Litigation              UNDETERMINED
       1800 WASHINGTON STREET #416
       SAN FRANCISCO, CA 94109     ACCOUNT NO.: NOT AVAILABLE


3.1275 BEESLEY, WILLIAM                         VARIOUS                              Litigation              UNDETERMINED
       1217 KENNETH STREET
       SEASIDE, CA 93955            ACCOUNT NO.: NOT AVAILABLE


3.1276 BEGBIE, RACHEL                           VARIOUS                              Litigation              UNDETERMINED
       1032 THORTON WAY
       SAN JOSE, CA 95128           ACCOUNT NO.: NOT AVAILABLE


3.1277 BEGGS, LORRIE                            VARIOUS                              Litigation              UNDETERMINED
       12201 LOMA RICA DR
       GRASS VALLEY, CA 95945       ACCOUNT NO.: NOT AVAILABLE


3.1278 BEGIER, JAMES                            VARIOUS                              Litigation              UNDETERMINED
       2001 EAST 14TH STREET
       SAN LEANDRO, CA 94577        ACCOUNT NO.: NOT AVAILABLE


3.1279 BEHARRY, ALEX                            VARIOUS                              Litigation              UNDETERMINED
       670 BAILEY COURT
       MARINA, CA 93933             ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.1280 BEHM, JAMES                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 46
       5416 HWY 4                     ACCOUNT NO.: NOT AVAILABLE
       HATHAWAY PINES, CA 95233


3.1281 BEHRINGER, CHASE                         VARIOUS                              Litigation              UNDETERMINED
       27360 SHERLOCK RD
       LOS ALTOS HILLS, CA 94022      ACCOUNT NO.: NOT AVAILABLE


3.1282 BEHRMAN, MATTHEW                         VARIOUS                              Litigation              UNDETERMINED
       49 MARQUARD AVENUE
       SAN RAFAEL, CA 94901           ACCOUNT NO.: NOT AVAILABLE


3.1283 BEHYMER, JODY                            VARIOUS                              Litigation              UNDETERMINED
       6046 THIRD AVENUE
       LUCERNE, CA 95458              ACCOUNT NO.: NOT AVAILABLE


3.1284 BEHZADI, HALLEH                          VARIOUS                              Litigation              UNDETERMINED
       1401 DEL RIO CIRCLE, UNIT #B
       CONCORD, CA 94518              ACCOUNT NO.: NOT AVAILABLE


3.1285 BEIFUSS, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       66 MARION AVE
       SAULSALITO, CA 94965           ACCOUNT NO.: NOT AVAILABLE


3.1286 BEISLER, JESSE                           VARIOUS                              Litigation              UNDETERMINED
       4 CHEDA KNOLLS DR
       NOVATO, CA 94947               ACCOUNT NO.: NOT AVAILABLE


3.1287 BEITASHOUR, MAGDA                        VARIOUS                              Litigation              UNDETERMINED
       2266 NINTH AVE.
       SAN FRANCISCO, CA 94116        ACCOUNT NO.: NOT AVAILABLE


3.1288 BEK, TATIANA                             VARIOUS                              Litigation              UNDETERMINED
       100 CHILPACINGO PKWY APT
       2110                           ACCOUNT NO.: NOT AVAILABLE
       PLEASANT HILL, CA 94523


3.1289 BEKHIT, HELEN                            VARIOUS                              Litigation              UNDETERMINED
       435 MADISON AVENUE
       SAN BRUNO, CA 94066            ACCOUNT NO.: NOT AVAILABLE


3.1290 BELAIDI, NADJIBA                         VARIOUS                              Litigation              UNDETERMINED
       771 BASALT DR.
       VALLEJO, CA 94589              ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1291 BELANGER, CHARNETH                        VARIOUS                              Litigation              UNDETERMINED
       10 MANZANITA PLACE
       MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE


3.1292 BELARBI, LAURA                            VARIOUS                              Litigation              UNDETERMINED
       1201 B STREET, APT #12
       HAYWARD, CA 94541             ACCOUNT NO.: NOT AVAILABLE


3.1293 BELGARD, ROGER                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 313
       24415 LAVENE                  ACCOUNT NO.: NOT AVAILABLE
       MI WOK VILLAGE, CA 95346


3.1294 BELHUMEUR, MARK                           VARIOUS                              Litigation              UNDETERMINED
       14120 OLD CAZADERO ROAD
       GUERNEVILLE, CA 95446         ACCOUNT NO.: NOT AVAILABLE


3.1295 BELL SUBROGATION                          VARIOUS                              Litigation              UNDETERMINED
       SERVICE/STATE FARM, WALTER
       WATKINS                       ACCOUNT NO.: NOT AVAILABLE
       1411 N. WESTSHORE BLVD.
       681 GENEVA AVENUE, SAN
       FRANCISCO
       TAMPA, CA 33604


3.1296 BELL SUBROGATION SERVICES                 VARIOUS                              Litigation              UNDETERMINED
       PO BOX 24538
       831 8TH AVE., OAKLAND, CA     ACCOUNT NO.: NOT AVAILABLE
       94606
       TAMPA, CA 33623


3.1297 BELL, ADAM                                VARIOUS                              Litigation              UNDETERMINED
       2561 SUNNY HILL RD
       RESCUE, CA 95672              ACCOUNT NO.: NOT AVAILABLE


3.1298 BELL, ALISHA                              VARIOUS                              Litigation              UNDETERMINED
       1231 EL TEJON
       BAKERSFIELD, CA 93308         ACCOUNT NO.: NOT AVAILABLE


3.1299 BELL, ANNE                                VARIOUS                              Litigation              UNDETERMINED
       79 POPPY RD
       APT 3134                      ACCOUNT NO.: NOT AVAILABLE
       CARMEL VALLEY, CA 93924


3.1300 BELL, BEVERLY                             VARIOUS                              Litigation              UNDETERMINED
       1050 GOLD RIDGE LANE
       COLFAX, CA 95713              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.1301 BELL, BRENDA                             VARIOUS                              Litigation              UNDETERMINED
       14073 OLD OREGON TRAIL
       REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.1302 BELL, LAUREN                             VARIOUS                              Litigation              UNDETERMINED
       2221 OCEAN AVE.
       SANTA MONICA, CA 90405        ACCOUNT NO.: NOT AVAILABLE


3.1303 BELL, MICHAEL                            VARIOUS                              Litigation              UNDETERMINED
       5010 VIA SIENNA DR
       BAKERSFIELD, CA 93306         ACCOUNT NO.: NOT AVAILABLE


3.1304 BELL, RYAN                               VARIOUS                              Litigation              UNDETERMINED
       123 TUCKER ROAD
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.1305 BELL, TARA                               VARIOUS                              Litigation              UNDETERMINED
       3012 MAX CIRCLE
       MARINA, CA 93933              ACCOUNT NO.: NOT AVAILABLE


3.1306 BELL, VIRGINIA                           VARIOUS                              Litigation              UNDETERMINED
       2340 WILD DEER CT
       PASO ROBLES, CA 93446         ACCOUNT NO.: NOT AVAILABLE


3.1307 BELLA VISTA WATER DISTRICT-              VARIOUS                              Litigation              UNDETERMINED
       DIAS, DEBBIE
       11368 EAST STILLWATER WAY     ACCOUNT NO.: NOT AVAILABLE
       REDDING, CA 96003


3.1308 BELLAH, STEVE                            VARIOUS                              Litigation              UNDETERMINED
       25 LUPOYAMA AVE.
       LAKEPORT, CA 95453            ACCOUNT NO.: NOT AVAILABLE


3.1309 BELLAMY, ROGER                           VARIOUS                              Litigation              UNDETERMINED
       141 POWELL RIDGE RD
       OROVILLE, CA 95966            ACCOUNT NO.: NOT AVAILABLE


3.1310 BELLIDO, ALEJANDRINA                     VARIOUS                              Litigation              UNDETERMINED
       917 HOITT AVE
       LINCOLN, CA 95648             ACCOUNT NO.: NOT AVAILABLE


3.1311 BELLINGER, TRISH                         VARIOUS                              Litigation              UNDETERMINED
       2361 YELLOW FINCH WAY
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1312 BELLO, TOM                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 14560
       SAN LUIS OBISPO, CA 93401    ACCOUNT NO.: NOT AVAILABLE


3.1313 BELLOMO, VALARIE                         VARIOUS                              Litigation              UNDETERMINED
       2405 SUNSET DRIVE #C
       ANTIOCH, CA 94509            ACCOUNT NO.: NOT AVAILABLE


3.1314 BELLOU, SANDY                            VARIOUS                              Litigation              UNDETERMINED
       8312 CHIANTI CT
       SAN JOSE, CA 95135           ACCOUNT NO.: NOT AVAILABLE


3.1315 BELLUOMINI, JANE                         VARIOUS                              Litigation              UNDETERMINED
       15370 E. SARGENT RD.
       LODI, CA 95240               ACCOUNT NO.: NOT AVAILABLE


3.1316 BELLUOMINI, MISTY                        VARIOUS                              Litigation              UNDETERMINED
       1019 N PEACH, APT #150
       FRESNO, CA 93727             ACCOUNT NO.: NOT AVAILABLE


3.1317 BELLY UPTOWN LLC-WOO, ALMA         VARIOUS                                    Litigation              UNDETERMINED
       1901 SAN PABLO AVENUE
       OAKLAND, CA 94612          ACCOUNT NO.: NOT AVAILABLE


3.1318 BELVILLE, GARIAN                         VARIOUS                              Litigation              UNDETERMINED
       309 GLENWOOD CUT OFF
       SANTA CRUZ, CA 95066         ACCOUNT NO.: NOT AVAILABLE


3.1319 BEMARDINO, JOSE & YADIVA                 VARIOUS                              Litigation              UNDETERMINED
       552 PARK AVENUE
       YUBA CITY, CA 95991          ACCOUNT NO.: NOT AVAILABLE


3.1320 BEN PAX APPRAISER-PAX,                   VARIOUS                              Litigation              UNDETERMINED
       BENEDICT
       272 JERSEY STREET            ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94114


3.1321 BEN, PHILLIP                             VARIOUS                              Litigation              UNDETERMINED
       2420 GREEN PLACE
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.1322 BENABENTE, LINDA                         VARIOUS                              Litigation              UNDETERMINED
       36690 SPARTA AVE
       MADERA, CA 93636             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1323 BENASSO, STEVEN                          VARIOUS                              Litigation              UNDETERMINED
       53 KEEL CT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.1324 BENAVIDES, SARAH                         VARIOUS                              Litigation              UNDETERMINED
       171 ANGELITA AVENUE
       PACIFICA, CA 94044           ACCOUNT NO.: NOT AVAILABLE


3.1325 BENCHMARK ELECTRONICS                    VARIOUS                              Litigation              UNDETERMINED
       CALIFORNIA
       42701 CHRISTY STREET         ACCOUNT NO.: NOT AVAILABLE
       FREMONT, CA 94538


3.1326 BENDER, ERIKA                            VARIOUS                              Litigation              UNDETERMINED
       4232 SHORTHORN DR
       CHICO, CA 95973              ACCOUNT NO.: NOT AVAILABLE


3.1327 BENEDICT, WANDA                          VARIOUS                              Litigation              UNDETERMINED
       P.O BOX 1205
       042 LOWER CAMPBELL FIELD     ACCOUNT NO.: NOT AVAILABLE
       HOOPA, CA 95546


3.1328 BENGANI, LEENA                           VARIOUS                              Litigation              UNDETERMINED
       2181 DEODARA DR
       LOS ALTOS, CA 94024          ACCOUNT NO.: NOT AVAILABLE


3.1329 BENGOECHEA, GLORIA                       VARIOUS                              Litigation              UNDETERMINED
       944 E SAGINAW WAY
       FRESNO, CA 93704             ACCOUNT NO.: NOT AVAILABLE


3.1330 BENITEZ, DIANE                           VARIOUS                              Litigation              UNDETERMINED
       227 REGENCY CT
       SANTA ROSA, CA 95401         ACCOUNT NO.: NOT AVAILABLE


3.1331 BENITEZ, MARIA                           VARIOUS                              Litigation              UNDETERMINED
       9469 COMUNIDAD WAY
       CASTROLVILLE, CA 95012       ACCOUNT NO.: NOT AVAILABLE


3.1332 BENITEZ, RICARDO                         VARIOUS                              Litigation              UNDETERMINED
       963 PALM AVE.
       BIGGS, CA 95917              ACCOUNT NO.: NOT AVAILABLE


3.1333 BENITEZ, VERONICA                        VARIOUS                              Litigation              UNDETERMINED
       1465 165TH AVE
       104                          ACCOUNT NO.: NOT AVAILABLE
       SAN LEANDRO, CA 94578




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Litigation & Disputes

3.1334 BENJAMIN LANGFUR                         VARIOUS                              Litigation              UNDETERMINED
       CHRISTOPHER AUMAIS,
       ASHKAHN MOHAMADI, KELLY      ACCOUNT NO.: NOT AVAILABLE
       WINTER
       1132 WILSHIRE BLVD.
       LOS ANGELES, CA 90017


3.1335 BENKELMAN, ALICE                         VARIOUS                              Litigation              UNDETERMINED
       273 BERNARD ST REAR
       BAKERSFIELD, CA 93305        ACCOUNT NO.: NOT AVAILABLE


3.1336 BENNETT, ANTHONY                         VARIOUS                              Litigation              UNDETERMINED
       412 HICKORY CT
       SANTA ROSA, CA 95407         ACCOUNT NO.: NOT AVAILABLE


3.1337 BENNETT, DENISE                          VARIOUS                              Litigation              UNDETERMINED
       950 39TH STREET
       OAKLAND, CA 94608            ACCOUNT NO.: NOT AVAILABLE


3.1338 BENNETT, JOSANNA                         VARIOUS                              Litigation              UNDETERMINED
       18723 GOPHER LN
       GRASS VALLEY, CA 95949       ACCOUNT NO.: NOT AVAILABLE


3.1339 BENNETT, KELLY                           VARIOUS                              Litigation              UNDETERMINED
       3433 GOLDEN GATE WAY
       APT 2                        ACCOUNT NO.: NOT AVAILABLE
       LAFAYETTE, CA 94549


3.1340 BENNETT, KELLY                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 463
       SANTA CLARA, CA 95052        ACCOUNT NO.: NOT AVAILABLE


3.1341 BENNETT, STEVE (CARA                     VARIOUS                              Litigation              UNDETERMINED
       TURCHIE)
       620 GREAT JONES STREET       ACCOUNT NO.: NOT AVAILABLE
       FAIRFIELD, CA 94533


3.1342 BENNETT, STEVE (CARA                     VARIOUS                              Litigation              UNDETERMINED
       TURCHIE)
       620 GREAT JONES STREET       ACCOUNT NO.: NOT AVAILABLE
       FAIRFIELD, CA 94533


3.1343 BENNETTS, RICK                           VARIOUS                              Litigation              UNDETERMINED
       23795 DEER CANYON ROAD
       MILLVILLE, CA 96062          ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1344 BENNING, GUY                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1046
       18836 PROVIDENCE MINE ROAD    ACCOUNT NO.: NOT AVAILABLE
       TUOLUMNE, CA 95379


3.1345 BENNISON, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       2311 WALNUT BLVD
       WALNUT CREEK, CA 94597        ACCOUNT NO.: NOT AVAILABLE


3.1346 BENNY SIRIVORANANKUL,                     VARIOUS                              Litigation              UNDETERMINED
       MICHELLE NGUYEN
       2186 MENDOCINO LN             ACCOUNT NO.: NOT AVAILABLE
       BLDG 7
       SAN JOSE, CA 95124


3.1347 BENSON LEGAL, APC                         VARIOUS                              Litigation              UNDETERMINED
       6345 BALBOA BLVD.
       SUITE 365, BUILDING 3         ACCOUNT NO.: NOT AVAILABLE
       ENCINO, CA 91316


3.1348 BENSON, DEBORAH                           VARIOUS                              Litigation              UNDETERMINED
       2460 SPRING VALLEY RD
       CLEARLAKE OAKS, CA 95423      ACCOUNT NO.: NOT AVAILABLE


3.1349 BENTLEY, LORIN                            VARIOUS                              Litigation              UNDETERMINED
       53 CORTE MORADA
       KENTFIELD, CA 94904           ACCOUNT NO.: NOT AVAILABLE


3.1350 BENTON, CONNIE                            VARIOUS                              Litigation              UNDETERMINED
       4505 JEWEL ST.
       CAPITOLA, CA 95010            ACCOUNT NO.: NOT AVAILABLE


3.1351 BENTON, JAMES                             VARIOUS                              Litigation              UNDETERMINED
       19543 MALLORY CYN RD
       PRUNEDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.1352 BENTON, MELVIN                            VARIOUS                              Litigation              UNDETERMINED
       3801 LAKESIDE DR.
       RICHMOND, CA 94806            ACCOUNT NO.: NOT AVAILABLE


3.1353 BENTZ, STEVE                              VARIOUS                              Litigation              UNDETERMINED
       1424 MELLOW LANE
       SIMI VALLEY, CA 93065         ACCOUNT NO.: NOT AVAILABLE


3.1354 BENWAY, EVAN                              VARIOUS                              Litigation              UNDETERMINED
       116 TOLEDO ST
       SANTA CRUZ, CA 95060          ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.1355 BENZ, RUTH                                VARIOUS                              Litigation              UNDETERMINED
       PO BOX 236
       250 REDWOOD DR                ACCOUNT NO.: NOT AVAILABLE
       WOODACRE, CA 94973


3.1356 BENZEL, LINDA                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 8
       190 QUIET LANE                ACCOUNT NO.: NOT AVAILABLE
       CARLOTTA, CA 95528


3.1357 BENZING, JEFFREY                          VARIOUS                              Litigation              UNDETERMINED
       21107 MICHAELS DRIVE
       SARATOGA, CA 95070            ACCOUNT NO.: NOT AVAILABLE


3.1358 BERARDO, LYNN                             VARIOUS                              Litigation              UNDETERMINED
       46 GLEN LAKE DRIVE
       PACIFIC GROVE, CA 93950       ACCOUNT NO.: NOT AVAILABLE


3.1359 BERASATEGUI, FELISA                       VARIOUS                              Litigation              UNDETERMINED
       2751 41ST AVENUE
       SAN FRANCISCO, CA 94116       ACCOUNT NO.: NOT AVAILABLE


3.1360 BERCHTOLD, PETER                          VARIOUS                              Litigation              UNDETERMINED
       1281 ROSIER ST.
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.1361 BERENSON, JEFFREY                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 38
       45081 LITTLE IDLE STREET      ACCOUNT NO.: NOT AVAILABLE
       MENDOCINO, CA 95460


3.1362 BERETTA, JENNIFER                         VARIOUS                              Litigation              UNDETERMINED
       7201 VALLE PACIFICO RD
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.1363 BEREVINO ETEMADI                          VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISES, INC-SHAGHASI,
       SADAF                         ACCOUNT NO.: NOT AVAILABLE
       4590 DUBLIN BLVD.
       DUBLIN, CA 94568


3.1364 BEREZAY, MIKE                             VARIOUS                              Litigation              UNDETERMINED
       969 MONARCH CT
       MANTECA, CA 95337             ACCOUNT NO.: NOT AVAILABLE


3.1365 BERG, CHRIS                               VARIOUS                              Litigation              UNDETERMINED
       1021ARROYO LINDA CT
       NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.1366 BERG, TINA                                VARIOUS                              Litigation              UNDETERMINED
       1324 MANGROVE AVENUE STE
       111                           ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95926


3.1367 BERGAM, TIM                               VARIOUS                              Litigation              UNDETERMINED
       813 FAIRFAX DR
       SALINAS, CA 93901             ACCOUNT NO.: NOT AVAILABLE


3.1368 BERGER, JOHN                              VARIOUS                              Litigation              UNDETERMINED
       861 BATES AVENUE
       EL CERRITO, CA 94530          ACCOUNT NO.: NOT AVAILABLE


3.1369 BERGER, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       1290 LAKEVIEW DR
       2101 PACIFIC AVE              ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA


3.1370 BERGERON, MOLLY                           VARIOUS                              Litigation              UNDETERMINED
       211 EL CAMINO REAL
       VALLEJO, CA 94590             ACCOUNT NO.: NOT AVAILABLE


3.1371 BERGFRIED, HERM                           VARIOUS                              Litigation              UNDETERMINED
       2 RAFAEL DRIVE
       SAN RAFAEL, CA 94901          ACCOUNT NO.: NOT AVAILABLE


3.1372 BERGMAN, DALE                             VARIOUS                              Litigation              UNDETERMINED
       5060 GADDY LN
       KELSEYVILLE, CA 95451         ACCOUNT NO.: NOT AVAILABLE


3.1373 BERGMAN, RICHARD                          VARIOUS                              Litigation              UNDETERMINED
       3471 FOX HOLLOW LANE
       MARIPOSA, CA 95338            ACCOUNT NO.: NOT AVAILABLE


3.1374 BERGQUIST, ERIC                           VARIOUS                              Litigation              UNDETERMINED
       53 GARDNER COURT
       NOVATO, CA 94949              ACCOUNT NO.: NOT AVAILABLE


3.1375 BERHANE, MAKEDA                           VARIOUS                              Litigation              UNDETERMINED
       3508 FABERGE WAY
       SACRAMENTO, CA 95826          ACCOUNT NO.: NOT AVAILABLE


3.1376 BERKHEIMER, KRISTIN                       VARIOUS                              Litigation              UNDETERMINED
       1484 PALOMA PL
       ARROYO GRANDE, CA 93420       ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1377 BERKOWITZ, JAY                           VARIOUS                              Litigation              UNDETERMINED
       13441 ADRIAN DRIVE
       MAGALIA, CA 95954             ACCOUNT NO.: NOT AVAILABLE


3.1378 BERKSHIRE DEVELOPMENT                    VARIOUS                              Litigation              UNDETERMINED
       CORP-LEHRER, JAKE
       PO BOX 14683                  ACCOUNT NO.: NOT AVAILABLE
       SANTA ROSA, CA 95402


3.1379 BERLIN, JERRY                            VARIOUS                              Litigation              UNDETERMINED
       3096 W BELMONT AVE #109
       FRESNO, CA 93722              ACCOUNT NO.: NOT AVAILABLE


3.1380 BERLOGAR, STEVENS &                      VARIOUS                              Litigation              UNDETERMINED
       ASSOCIATES
       C/O COLLIN COLLINS MUIR &     ACCOUNT NO.: NOT AVAILABLE
       STEWART LLP
       1999 HARRISON STREET, SUITE
       1700
       0
       OAKLAND, CA 94612


3.1381 BERLOUI, ARMAN                           VARIOUS                              Litigation              UNDETERMINED
       222 MADISON ST
       OAKLAND, CA 94607             ACCOUNT NO.: NOT AVAILABLE


3.1382 BERMAN, MATT                             VARIOUS                              Litigation              UNDETERMINED
       445 CYPRESS AVE #A
       HALF MOON BAY, CA 94019       ACCOUNT NO.: NOT AVAILABLE


3.1383 BERMAN, MITCHEL                          VARIOUS                              Litigation              UNDETERMINED
       128 ALDER AVENUE
       SAN ANSELMO, CA 94960         ACCOUNT NO.: NOT AVAILABLE


3.1384 BERMUDEZ, RONALD                         VARIOUS                              Litigation              UNDETERMINED
       1517 JACOB AVENUE
       SAN JOSE, CA 95118            ACCOUNT NO.: NOT AVAILABLE


3.1385 BERNADETTA, RICKARD                      VARIOUS                              Litigation              UNDETERMINED
       628 QUASAR COURT
       BAKERSFIELD, CA 93301         ACCOUNT NO.: NOT AVAILABLE


3.1386 BERNAL, JIMMY                            VARIOUS                              Litigation              UNDETERMINED
       1428 GARRETT CT
       ROHNERT PARK, CA 94928        ACCOUNT NO.: NOT AVAILABLE


3.1387 BERNAL, JOSEPHINE                        VARIOUS                              Litigation              UNDETERMINED
       6602 SKYFARM DR
       SAN JOSE, CA 95120            ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.1388 BERNARD, BUD                             VARIOUS                              Litigation              UNDETERMINED
       8351 PINECREST DR
       REDWOOD VALLEY, CA 95470     ACCOUNT NO.: NOT AVAILABLE


3.1389 BERNARD, RICHARD                         VARIOUS                              Litigation              UNDETERMINED
       40 DONNAS LANE
       HOLLISTER, CA 95023          ACCOUNT NO.: NOT AVAILABLE


3.1390 BERNARDI, SARA                           VARIOUS                              Litigation              UNDETERMINED
       3987 E HWY 20
       APT 3                        ACCOUNT NO.: NOT AVAILABLE
       NICE, CA 95464


3.1391 BERNARDO, CHRIS                          VARIOUS                              Litigation              UNDETERMINED
       135 SHADOWBROOK
       BEN LOMOND, CA 95005         ACCOUNT NO.: NOT AVAILABLE


3.1392 BERNHARD, DANIEL                         VARIOUS                              Litigation              UNDETERMINED
       1304 TALBRYN DR
       BELMONT, CA 94002            ACCOUNT NO.: NOT AVAILABLE


3.1393 BERNHARD, MARK                           VARIOUS                              Litigation              UNDETERMINED
       140 SUGAR CREEK LANE
       ALAMO, CA 94507              ACCOUNT NO.: NOT AVAILABLE


3.1394 BERNSTEIN, SARA                          VARIOUS                              Litigation              UNDETERMINED
       125 A CYPRESS WAY
       CARMEL, CA 93923             ACCOUNT NO.: NOT AVAILABLE


3.1395 BERRAL-ENRIQUEZ, YSAURA                  VARIOUS                              Litigation              UNDETERMINED
       10944 EATON ROAD
       OAKDALE, CA 95361            ACCOUNT NO.: NOT AVAILABLE


3.1396 BERRIO, LISA                             VARIOUS                              Litigation              UNDETERMINED
       4523 COVE LN
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.1397 BERRY, BELINDA A                         VARIOUS                              Litigation              UNDETERMINED
       3183 WAYSIDE PLAZA
       #320                         ACCOUNT NO.: NOT AVAILABLE
       WALNUT CREEK, CA 94597


3.1398 BERRY, EDWARD & DONNA                    VARIOUS                              Litigation              UNDETERMINED
       2701 MILL CREEK RD.
       UKIAH, CA 95482              ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1399 BERRY, SHAD                               VARIOUS                              Litigation              UNDETERMINED
       10235 N. PIERPONT CIRCLE
       FRESNO, CA 93730              ACCOUNT NO.: NOT AVAILABLE


3.1400 BERTEL, RICHARD                           VARIOUS                              Litigation              UNDETERMINED
       1644 CIPRIANI PLACE
       BRENTWOOD, CA 94513           ACCOUNT NO.: NOT AVAILABLE


3.1401 BERTHOLF, CONNIE & ROBERT                 VARIOUS                              Litigation              UNDETERMINED
       330 GOLDEN GATE DR.
       CARLOTTA, CA 95528            ACCOUNT NO.: NOT AVAILABLE


3.1402 BERTON, JAN                               VARIOUS                              Litigation              UNDETERMINED
       344 SKYWAY DR
       SAN JOSE, CA 95111            ACCOUNT NO.: NOT AVAILABLE


3.1403 BERTSCH, BRIEANN                          VARIOUS                              Litigation              UNDETERMINED
       6527 DEER CANYON COURT
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.1404 BERTUCCELLI, ROBERT                       VARIOUS                              Litigation              UNDETERMINED
       1147 HEATHER DR
       1924 DAYTON AVE., SAN         ACCOUNT NO.: NOT AVAILABLE
       LEANDRO, CA
       MURPHYS, CA 94579


3.1405 BERUMEN, ISAIAS                           VARIOUS                              Litigation              UNDETERMINED
       829 JENNIFER CT
       SANTA MARIA, CA 93454         ACCOUNT NO.: NOT AVAILABLE


3.1406 BERUMEN, VINCENT                          VARIOUS                              Litigation              UNDETERMINED
       4173 BLEWETT ST.
       FREMONT, CA 94538             ACCOUNT NO.: NOT AVAILABLE


3.1407 BERWICK, CHRIS                            VARIOUS                              Litigation              UNDETERMINED
       5036 TIBERAN WAY
       SAN JOSE, CA 95130            ACCOUNT NO.: NOT AVAILABLE


3.1408 BEST BAY APARTMENTS, INC,                 VARIOUS                              Litigation              UNDETERMINED
       %PATRICIA GAINES
       160 FRANKLIN ST.              ACCOUNT NO.: NOT AVAILABLE
       SUITE #300
       OAKLAND, CA 94560


3.1409 BEST BURGER-TOY, ANDREW                   VARIOUS                              Litigation              UNDETERMINED
       323 3RD ST
       SUITE A                       ACCOUNT NO.: NOT AVAILABLE
       SAN RAFAEL, CA 94901


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Litigation & Disputes

3.1410 BETHANY BAPTIST CHURCH                   VARIOUS                              Litigation              UNDETERMINED
       1443 ADOBE DRIVE
       PACIFICA, CA 94044           ACCOUNT NO.: NOT AVAILABLE


3.1411 BETHEL CHURCH NEVADA                     VARIOUS                              Litigation              UNDETERMINED
       COUNTY-PHARIS, MARY
       13010 STATE HWY 49           ACCOUNT NO.: NOT AVAILABLE
       STATE HWY 49
       GRASS VALLEY, CA 95949


3.1412 BETHEL, MARCELLA                         VARIOUS                              Litigation              UNDETERMINED
       206 1/2 B STREET
       TAFT, CA 93268               ACCOUNT NO.: NOT AVAILABLE


3.1413 BETHLEHEM CONSTRUCTION                   VARIOUS                              Litigation              UNDETERMINED
       425 J STREET
       WASCO, CA 93280              ACCOUNT NO.: NOT AVAILABLE


3.1414 BETOURNE, VIRGINIA                       VARIOUS                              Litigation              UNDETERMINED
       1424 F ST
       NAPA, CA 94559               ACCOUNT NO.: NOT AVAILABLE


3.1415 BETRY, ANDREW                            VARIOUS                              Litigation              UNDETERMINED
       6628 ANDREW WY
       WINDSOR, CA 95492            ACCOUNT NO.: NOT AVAILABLE


3.1416 BETRY, ANDREW                            VARIOUS                              Litigation              UNDETERMINED
       6628 ANDREW WY
       WINDSOR, CA 95492            ACCOUNT NO.: NOT AVAILABLE


3.1417 BETTAHAR, CARIDAD                        VARIOUS                              Litigation              UNDETERMINED
       95 SEACREST CT
       DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE


3.1418 BETTENCOURT, RONALD                      VARIOUS                              Litigation              UNDETERMINED
       6723 DE WOODY AVE
       LATON, CA 93242              ACCOUNT NO.: NOT AVAILABLE


3.1419 BETTER BUSINESS BUREAU-                  VARIOUS                              Litigation              UNDETERMINED
       PACHECO, ANGELO
       1000 BROADWAY, SUITE 625     ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94607


3.1420 BETTES, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       3760 JOANNE LANE
       COTTONWOOD, CA 96022         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1421 BETTIS, LYNN & MARJORIE                  VARIOUS                              Litigation              UNDETERMINED
       6458 PINE DRIVE
       COULTERVILLE, CA 95311       ACCOUNT NO.: NOT AVAILABLE


3.1422 BEVAN, CINDY                             VARIOUS                              Litigation              UNDETERMINED
       1240 ROYCOTT WAY
       SAN JOSE, CA 95125           ACCOUNT NO.: NOT AVAILABLE


3.1423 BEVER, MICHAEL                           VARIOUS                              Litigation              UNDETERMINED
       40 RANCHO GRANDE CIRCLE
       ATWATER, CA 95301            ACCOUNT NO.: NOT AVAILABLE


3.1424 BEVY PRODUCE-CHANG, YESIE                VARIOUS                              Litigation              UNDETERMINED
       1162 STARLING RIDGE COURT
       SAN JOSE, CA 95120           ACCOUNT NO.: NOT AVAILABLE


3.1425 BEYER, GALE                              VARIOUS                              Litigation              UNDETERMINED
       14074 IRISHTOWN ROAD #2
       PINE GROVE, CA 95665         ACCOUNT NO.: NOT AVAILABLE


3.1426 BHAMBRA, HARJIT                          VARIOUS                              Litigation              UNDETERMINED
       758 CORAL RIDGE CIR
       RODEO, CA 94572              ACCOUNT NO.: NOT AVAILABLE


3.1427 BHANDARI, RASHMI                         VARIOUS                              Litigation              UNDETERMINED
       1011 SEVIER AVENUE
       MENLO PARK, CA 94025         ACCOUNT NO.: NOT AVAILABLE


3.1428 BHARDWAJ, DANNY                          VARIOUS                              Litigation              UNDETERMINED
       5507 PENNSYLVANIA BLVD
       CONCORD, CA 94521            ACCOUNT NO.: NOT AVAILABLE


3.1429 BHATNAGAR, ALOKE                         VARIOUS                              Litigation              UNDETERMINED
       6898 GARLAND CT
       PLEASANTON, CA 94588         ACCOUNT NO.: NOT AVAILABLE


3.1430 BHATTACHARJEE, RIPON                     VARIOUS                              Litigation              UNDETERMINED
       41543 ERMA AVE
       FREMONT, CA 94539            ACCOUNT NO.: NOT AVAILABLE


3.1431 BHATTACHARYA, SONALI                     VARIOUS                              Litigation              UNDETERMINED
       3875 FORESTER CT
       SAN JOSE, CA 95121           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.1432 BIAGIO CRECZENZO                         VARIOUS                              Litigation              UNDETERMINED
       THORNTON LAW FIRM, LLP
       100 SUMMER ST., 30TH FLOOR    ACCOUNT NO.: NOT AVAILABLE
       BOSTON, MA 02110


3.1433 BIANCHINI, SERAFINO                      VARIOUS                              Litigation              UNDETERMINED
       309 MAR VISTA DRIVE
       MONTEREY, CA 93940            ACCOUNT NO.: NOT AVAILABLE


3.1434 BIANCHINIS THE SANDWICH                  VARIOUS                              Litigation              UNDETERMINED
       AND SALAD MARKET-CRANE,
       BRYAN                         ACCOUNT NO.: NOT AVAILABLE
       2240 MENDOCINO AVE SUITE C1
       SANTA ROSA, CA 95403


3.1435 BIBB, ERIN                               VARIOUS                              Litigation              UNDETERMINED
       796 WILLBOROUGH RD
       BURLINGAME, CA 94010          ACCOUNT NO.: NOT AVAILABLE


3.1436 BIBLE, PHIL                              VARIOUS                              Litigation              UNDETERMINED
       70 BALDWIN COURT
       1104 OAKDALE & BALDWIN        ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94124


3.1437 BICHIER, PETER                           VARIOUS                              Litigation              UNDETERMINED
       506 POPLAR AVE
       SANTA CRUZ, CA 95062          ACCOUNT NO.: NOT AVAILABLE


3.1438 BICKEL, CHRIS                            VARIOUS                              Litigation              UNDETERMINED
       5610 SCOTTS VALLEY DRIVE
       B252                          ACCOUNT NO.: NOT AVAILABLE
       SCOTTS VALLEY, CA 95066


3.1439 BICKNELL, PAULA                          VARIOUS                              Litigation              UNDETERMINED
       3998 W BUTTE RD
       SUTTER, CA 95982              ACCOUNT NO.: NOT AVAILABLE


3.1440 BIDDLE, LARRY                            VARIOUS                              Litigation              UNDETERMINED
       6321 HIGHLAND PLACE
       SENASTOPOL, CA 95472          ACCOUNT NO.: NOT AVAILABLE


3.1441 BIDINOST, RICHARD                        VARIOUS                              Litigation              UNDETERMINED
       5893 ERSKINE CT.
       SAN JOSE, CA 95123            ACCOUNT NO.: NOT AVAILABLE


3.1442 BIEG, WILLIAM                            VARIOUS                              Litigation              UNDETERMINED
       4515 WILLOWGLEN WAY
       ROCKLIN, CA 95677             ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                            Account Number                           Claim

Litigation & Disputes

3.1443 BIELECKI, MICHAEL                        VARIOUS                              Litigation              UNDETERMINED
       9617 BERKSHIRE WAY
       WINDSOR, CA 95492               ACCOUNT NO.: NOT AVAILABLE


3.1444 BIELERT, JENNIFER                        VARIOUS                              Litigation              UNDETERMINED
       3301 CIMMARRON RD
       8A                              ACCOUNT NO.: NOT AVAILABLE
       CAMERON PARK, CA 95682


3.1445 BIG BASIN BURGER BAR-                    VARIOUS                              Litigation              UNDETERMINED
       ALBRIGHT, JANICE
       14413 BIG BASIN WAY             ACCOUNT NO.: NOT AVAILABLE
        SARATOGA, CA 95070


3.1446 BIG OIL & TIRE CO-POMREHN,               VARIOUS                              Litigation              UNDETERMINED
       RICHARD
       1125 16TH STREET                ACCOUNT NO.: NOT AVAILABLE
       210
       ARCATA, CA 95521


3.1447 BIG SKY CAFE, INC.-HOLT, GREG            VARIOUS                              Litigation              UNDETERMINED
       1121 BROAD STREET
       SAN LUIS OBISPO, CA 93401       ACCOUNT NO.: NOT AVAILABLE


3.1448 BIG TREES VILLAGE PROPERTY               VARIOUS                              Litigation              UNDETERMINED
       OWNERS ASSOCIATION-
       DIEGOLI, EDITH                  ACCOUNT NO.: NOT AVAILABLE
       PO BOX 4276
       1211 SIERRA PARKWAY,
       ARNOLD
       ARNOLD, CA 95223


3.1449 BIG VALLEY MARKET-BABCOCK,               VARIOUS                              Litigation              UNDETERMINED
       TAMMY
       P O BOX 125                     ACCOUNT NO.: NOT AVAILABLE
       BRIDGE STREET
       BIEBER, CA 96009


3.1450 BIGBEE, YOLONDA                          VARIOUS                              Litigation              UNDETERMINED
       1013 CHELSEA
       HERCULES, CA 94547              ACCOUNT NO.: NOT AVAILABLE


3.1451 BIGGS CARDOSA ASSOCIATES,                VARIOUS                              Litigation              UNDETERMINED
       INC.-OEN, RON
       865 THE ALAMEDA                 ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95128


3.1452 BILLETER, BYRON & ELAINE                 VARIOUS                              Litigation              UNDETERMINED
       3840 COWELL ROAD
       CONCORD, CA 94518               ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.1453 BILL'S AUTO OF KINGSBURG,                VARIOUS                              Litigation              UNDETERMINED
       INC-DODD, BILL
       1165 SIMPSON ST              ACCOUNT NO.: NOT AVAILABLE
       KINGSBURG, CA 93631


3.1454 BILLS VALEROGHANAYEM,              VARIOUS                                    Litigation              UNDETERMINED
       CHRIS
       3705 GRAVENSTEIN HWY SOUTH ACCOUNT NO.: NOT AVAILABLE
       SEBASTOPOL, CA 95472


3.1455 BILORUSKY, JANET                         VARIOUS                              Litigation              UNDETERMINED
       340 51ST ST
       OAKLAND, CA 94609            ACCOUNT NO.: NOT AVAILABLE


3.1456 BIMBO BAKERIES USA-CID,                  VARIOUS                              Litigation              UNDETERMINED
       VICTOR
       264 S. SPRUCE AVE.           ACCOUNT NO.: NOT AVAILABLE
       SOUTH SAN FRANCISCO, CA
       94080


3.1457 BIN, ZHENG                               VARIOUS                              Litigation              UNDETERMINED
       363 HUMMINGBIRD LN
       LIVERMORE, CA 94551          ACCOUNT NO.: NOT AVAILABLE


3.1458 BINIK, ALEXANDER                         VARIOUS                              Litigation              UNDETERMINED
       7 MEADOW WAY
       FAIRFAX, CA 94930            ACCOUNT NO.: NOT AVAILABLE


3.1459 BIRCHARD, JOHN                           VARIOUS                              Litigation              UNDETERMINED
       44420 GORDON LANE
       MENDOCINO, CA 95460          ACCOUNT NO.: NOT AVAILABLE


3.1460 BIRCHFIELD, VIRGINIA                     VARIOUS                              Litigation              UNDETERMINED
       5404 STATE HWY 147
       LAKE ALMANOR, CA 96137       ACCOUNT NO.: NOT AVAILABLE


3.1461 BIRD, DONI                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1507
       GLEN ELLEN, CA 95442         ACCOUNT NO.: NOT AVAILABLE


3.1462 BIRD, STACY                              VARIOUS                              Litigation              UNDETERMINED
       526 SUMNER AVE
       APTOS, CA 95003              ACCOUNT NO.: NOT AVAILABLE


3.1463 BIRDSONG, BECKY                          VARIOUS                              Litigation              UNDETERMINED
       2815 LAKESHORE BLVD
       LAKEPORT, CA 95453           ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.1464 BIRKENSTOCK LIGHTING                     VARIOUS                              Litigation              UNDETERMINED
       DESIGN, BIRKENSTOCK INGA
       1434 LINCOLN AVE             ACCOUNT NO.: NOT AVAILABLE
       SAN RAFAEL, CA 94901


3.1465 BIROLO, LOUIEGINO                        VARIOUS                              Litigation              UNDETERMINED
       1510 MAURO PIETRO DR
       PETALUMA, CA 94954           ACCOUNT NO.: NOT AVAILABLE


3.1466 BIRRIERIA RESTAURANT                     VARIOUS                              Litigation              UNDETERMINED
       ESEILO COALCOMAN-MORENO,
       CECILIA                      ACCOUNT NO.: NOT AVAILABLE
       10500 MERRITT ST
       CASTROVILLE, CA 95012


3.1467 BISANA, LORRAWE                          VARIOUS                              Litigation              UNDETERMINED
       2399 AVENIDA DE GUADALUPE
       SANTA CLARA, CA 95054        ACCOUNT NO.: NOT AVAILABLE


3.1468 BISEL, WILLIAM                           VARIOUS                              Litigation              UNDETERMINED
       8541 LAKEWOOD AVE.
       COTATI, CA 94931             ACCOUNT NO.: NOT AVAILABLE


3.1469 BISHOP, BRIAN                            VARIOUS                              Litigation              UNDETERMINED
       529 SARABANDE AVE
       BAKERSFIELD, CA 93308        ACCOUNT NO.: NOT AVAILABLE


3.1470 BISHOP, HOLLY                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 302
       ORLEANS, CA 95556            ACCOUNT NO.: NOT AVAILABLE


3.1471 BISHOP, JAMES                            VARIOUS                              Litigation              UNDETERMINED
       1467 MCKINNON AVE
       SAN FRANCISCO, CA 94124      ACCOUNT NO.: NOT AVAILABLE


3.1472 BISS, DEANN                              VARIOUS                              Litigation              UNDETERMINED
       1693 MAR WEST STEET
       TIBURON, CA 94920            ACCOUNT NO.: NOT AVAILABLE


3.1473 BISSMEYER, DEBBIE                        VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 961
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE


3.1474 BISSON, CALVERT                          VARIOUS                              Litigation              UNDETERMINED
       6907 WISE ROAS
       AUBURN, CA 95603             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1475 BIT HOLDINGS SIXTY NINE INC-              VARIOUS                              Litigation              UNDETERMINED
       888 SAN MATEO APTSBIT
       HOLDIN, BIT HOLDINGS SIXTY     ACCOUNT NO.: NOT AVAILABLE
       NINE INC
       888 N SAN MATEO DR
       HOUSE B
       SAN MATEO, CA 94401


3.1476 BIT-REGONINI, TODD                        VARIOUS                              Litigation              UNDETERMINED
       901 MARINERS AVENUE BLVD,
       7TH FLOOR                      ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94404


3.1477 BITTON, PATRICK                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 912
       OREGON HOUSE, CA 95962         ACCOUNT NO.: NOT AVAILABLE


3.1478 BIXLER, CLIFFORD AND LISE                 VARIOUS                              Litigation              UNDETERMINED
       91 COUNTRY ESTATES DRIVE
       SANTA CRUZ, CA 95060           ACCOUNT NO.: NOT AVAILABLE


3.1479 BJORNSON, RANDY                           VARIOUS                              Litigation              UNDETERMINED
       10285 N FOWLER AVE
       CLOVIS, CA 93619               ACCOUNT NO.: NOT AVAILABLE


3.1480 BK MILL AND FIXTURES-                     VARIOUS                              Litigation              UNDETERMINED
       BARCLAY, SANDRA
       37523 SYCAMORE ST              ACCOUNT NO.: NOT AVAILABLE
       NEWARK, CA 94560


3.1481 BLACHLEY, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       852 WIKIUP DRIVE
       SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.1482 BLACK BEAR DINER, TRUJILLO,               VARIOUS                              Litigation              UNDETERMINED
       OLGA
       1703 E YOSEMITE AVE            ACCOUNT NO.: NOT AVAILABLE
       MANTECA, CA 95336


3.1483 BLACK BOX NETWORK                         VARIOUS                              Litigation              UNDETERMINED
       SERVICES-WILSON, SUE
       5742 HILLBRIGHT CIRCLE         ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95123


3.1484 BLACK OAK MINE                            VARIOUS                              Litigation              UNDETERMINED
       USD/GEORGETOWN SCHOOL-
       WINTERS, KELLEY                ACCOUNT NO.: NOT AVAILABLE
       PO BOX 619079
       ROSEVILLE, CA 95661


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Litigation & Disputes

3.1485 BLACK, DEANNA                            VARIOUS                              Litigation              UNDETERMINED
       1248 FOXWORTHY AVE
       SAN JOSE, CA 95118           ACCOUNT NO.: NOT AVAILABLE


3.1486 BLACK, HARRY                             VARIOUS                              Litigation              UNDETERMINED
       395 SELBY
       MORRO BAY, CA 93442          ACCOUNT NO.: NOT AVAILABLE


3.1487 BLACK, JUDY                              VARIOUS                              Litigation              UNDETERMINED
       11919 KERN RIVER AVE.
       BAKERSFIELD, CA 93308        ACCOUNT NO.: NOT AVAILABLE


3.1488 BLACK, LYNN                              VARIOUS                              Litigation              UNDETERMINED
       389 HALF MOON LANE
       7                            ACCOUNT NO.: NOT AVAILABLE
       DALY CITY, CA 94015


3.1489 BLACK, MARCELLA                          VARIOUS                              Litigation              UNDETERMINED
       136 MATTISON LANE
       APTOS, CA 95003              ACCOUNT NO.: NOT AVAILABLE


3.1490 BLACK/CSAA, LYNN                         VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 24523
       OAKLAND, CA 94623-1523       ACCOUNT NO.: NOT AVAILABLE


3.1491 BLACKBIRD VINEYARDS-                     VARIOUS                              Litigation              UNDETERMINED
       POLENSKE, MICHAEL
       1330 OAK KNOLL AVE           ACCOUNT NO.: NOT AVAILABLE
       NAPA, CA 94558


3.1492 BLACKBURN, TAMI V. PG&E                  VARIOUS                              Litigation              UNDETERMINED
       W. ZEV ABRAMSON, ESQ.
       3580 WILSHIRE BLVD., #1260   ACCOUNT NO.: NOT AVAILABLE
       LOS ANGELES, CA 90010


3.1493 BLACKMAN, MATTHEW &                      VARIOUS                              Litigation              UNDETERMINED
       ERLINDA
       22141 RAVINE COURT           ACCOUNT NO.: NOT AVAILABLE
       REDDING, CA 96003


3.1494 BLACKWELL, SUE                           VARIOUS                              Litigation              UNDETERMINED
       18650 MORCO RD
       PRUNEDALE, CA 93907          ACCOUNT NO.: NOT AVAILABLE


3.1495 BLAIR, CINDY                             VARIOUS                              Litigation              UNDETERMINED
       1020 AVALON DRIVE
       LEMOORE, CA 93245            ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.1496 BLAIR, COLLEEN                           VARIOUS                              Litigation              UNDETERMINED
       5921 DEBBIE LANE
       PARADISE, CA 95969             ACCOUNT NO.: NOT AVAILABLE


3.1497 BLAIR, JASON & SHALLYN                   VARIOUS                              Litigation              UNDETERMINED
       11317 MAUREEN WAY
       GRASS VALLEY, CA 95949         ACCOUNT NO.: NOT AVAILABLE


3.1498 BLAKE, LOVAE                             VARIOUS                              Litigation              UNDETERMINED
       14 TISH-TANG RD
       PO BOX 1003                    ACCOUNT NO.: NOT AVAILABLE
       HOOPA, CA 95546


3.1499 BLAKE, MISTY                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 236
       236 RIVER ROAD                 ACCOUNT NO.: NOT AVAILABLE
       HOOPA, CA 95546


3.1500 BLAKE'S LANDING FARM-                    VARIOUS                              Litigation              UNDETERMINED
       HOLLIS, JOSH
       22188 HWY 1                    ACCOUNT NO.: NOT AVAILABLE
       MARSHALL, CA 94940


3.1501 BLAKE'S LANDING FARMS, INC.-             VARIOUS                              Litigation              UNDETERMINED
       HOLLIS, JOSH
       22188 HWY 1                    ACCOUNT NO.: NOT AVAILABLE
       MARSHALL, CA 94940


3.1502 BLANCHI, SERAFINO                        VARIOUS                              Litigation              UNDETERMINED
       5530 JOHNSTON ROAD
       PLEASANTON, CA 94588           ACCOUNT NO.: NOT AVAILABLE


3.1503 BLANCO, ALICE                            VARIOUS                              Litigation              UNDETERMINED
       11023 SEYMOUR STREET
       CASTROVILLE, CA 95012          ACCOUNT NO.: NOT AVAILABLE


3.1504 BLANCO, TEODORO                          VARIOUS                              Litigation              UNDETERMINED
       440 S BAYVIEW AVE
       750 E ST JAMES ST              ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA


3.1505 BLAND, KAREN                             VARIOUS                              Litigation              UNDETERMINED
       141 INVERNESS DRIVE
       VALLEJO, CA 94589              ACCOUNT NO.: NOT AVAILABLE


3.1506 BLANDY, CAROLE                           VARIOUS                              Litigation              UNDETERMINED
       30485 CORRAL DR
       COARSEGOLD, CA 93614           ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.1507 BLANKENHEIM, ANNA                         VARIOUS                              Litigation              UNDETERMINED
       14555 SURREY JUNCTION LANE
       SUTTER CREEK, CA 95685        ACCOUNT NO.: NOT AVAILABLE


3.1508 BLANKENSHIP, MARY BETH                    VARIOUS                              Litigation              UNDETERMINED
       5700 N VALLEY RD
       GREENVILLE, CA 95947          ACCOUNT NO.: NOT AVAILABLE


3.1509 BLANKENSHIP, ROBERT                       VARIOUS                              Litigation              UNDETERMINED
       3861 GRIZZLE BLUFF
       FERNDALE, CA 95536            ACCOUNT NO.: NOT AVAILABLE


3.1510 BLAST 825-FERDINANDI, WENDY               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 14759
       SAN LUIS OBISPO, CA 93406     ACCOUNT NO.: NOT AVAILABLE


3.1511 BLAZIN WINGS, INC.                        VARIOUS                              Litigation              UNDETERMINED
       5500 WAYZATA BLVD.
       MINNEAPOLIS, CA 55416         ACCOUNT NO.: NOT AVAILABLE


3.1512 BLEDSOE, JANELLE                          VARIOUS                              Litigation              UNDETERMINED
       110 MARY AVE., #2/125
       NIPOMO, CA 93444              ACCOUNT NO.: NOT AVAILABLE


3.1513 BLEDSOE, KEVIN                            VARIOUS                              Litigation              UNDETERMINED
       17794 PETERSON LN
       REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.1514 BLEIWEIS, NEIL                            VARIOUS                              Litigation              UNDETERMINED
       883 MARIA VISTA WAY
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.1515 BLESS, SHARON                             VARIOUS                              Litigation              UNDETERMINED
       55499 LAKE POINT DRIVE
       BASS LAKE, CA 93604           ACCOUNT NO.: NOT AVAILABLE


3.1516 BLESSING, KERRY                           VARIOUS                              Litigation              UNDETERMINED
       1902 ALGHERO DRIVE
       MANTECA, CA 95336             ACCOUNT NO.: NOT AVAILABLE


3.1517 BLITZ ELECTRIC, INC.-                     VARIOUS                              Litigation              UNDETERMINED
       CARDENAS, JASON
       P.O. BOX 8                    ACCOUNT NO.: NOT AVAILABLE
       COALINGA, CA 93210




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Litigation & Disputes

3.1518 BLOCH, LEONARD                           VARIOUS                              Litigation              UNDETERMINED
       20390 GIST ROAD
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.1519 BLOCK, JAMES & KARIN                     VARIOUS                              Litigation              UNDETERMINED
       1895 MOWRY AVE #114
       FREMONT, CA 94538            ACCOUNT NO.: NOT AVAILABLE


3.1520 BLOCK, SARAH                             VARIOUS                              Litigation              UNDETERMINED
       809 WILMINGTON RD.
       SAN MATEO, CA 94402          ACCOUNT NO.: NOT AVAILABLE


3.1521 BLOCK, STEVEN                            VARIOUS                              Litigation              UNDETERMINED
       11751 WINGING WAY
       LOS ALTOS, CA 94024          ACCOUNT NO.: NOT AVAILABLE


3.1522 BLOCKER, TED                             VARIOUS                              Litigation              UNDETERMINED
       631 TOYON DRIVE
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.1523 BLOMBERG, JOHN                           VARIOUS                              Litigation              UNDETERMINED
       2289 S HOLLENBECK ROAD
       STOCKTON, CA 95215           ACCOUNT NO.: NOT AVAILABLE


3.1524 BLOOD, VIVAN                             VARIOUS                              Litigation              UNDETERMINED
       5 SUMMERSKY WAY
       LODI, CA 95242               ACCOUNT NO.: NOT AVAILABLE


3.1525 BLOUNT, CARLY                            VARIOUS                              Litigation              UNDETERMINED
       22463 BRIDLEWOOD LN
       PALO CEDRO, CA 96073         ACCOUNT NO.: NOT AVAILABLE


3.1526 BLUE ACES BAKE SHOPPE-                   VARIOUS                              Litigation              UNDETERMINED
       JIMENEZ, ADRIANA
       8 W GABILAN STREET           ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93901


3.1527 BLUE BARN GOURMET-SCALES,                VARIOUS                              Litigation              UNDETERMINED
       STRYKER
       2090 CHESTNUT ST             ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94123


3.1528 BLUE LINE RENTAL-BISHOP,                 VARIOUS                              Litigation              UNDETERMINED
       DUSTIN
       27775 DUTCHER CREEK RD       ACCOUNT NO.: NOT AVAILABLE
       CLOVERDALE, CA 95425




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Litigation & Disputes

3.1529 BLUE OAK TERRACE OWNERA                  VARIOUS                              Litigation              UNDETERMINED
       ASSOC., AL LEDFORD
       19 TUSCAN DRIVE              ACCOUNT NO.: NOT AVAILABLE
       PARADISE, CA 94969


3.1530 BLUE POLK LLC-SCALES,                    VARIOUS                              Litigation              UNDETERMINED
       STRYKER
       2237 POLK ST                 ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94109


3.1531 BLUEBIRD OAKS, EDWARD                    VARIOUS                              Litigation              UNDETERMINED
       UEBER
       48609 LOS GATOS ROAD         ACCOUNT NO.: NOT AVAILABLE
       COALINGA, CA 93210


3.1532 BLUELINE RENTAL, JUSTINE                 VARIOUS                              Litigation              UNDETERMINED
       WILCOX
       PO BOX 840062                ACCOUNT NO.: NOT AVAILABLE
       540 SOUTH CENTER
       CA 95201


3.1533 BLUELINE RENTAL, JUSTINE                 VARIOUS                              Litigation              UNDETERMINED
       WILCOX
       PO BOX 840062                ACCOUNT NO.: NOT AVAILABLE
       540 SOUTH CENTER
       CA 95201


3.1534 BLUELINE RENTAL, JUSTINE                 VARIOUS                              Litigation              UNDETERMINED
       WILCOX
       PO BOX 840062                ACCOUNT NO.: NOT AVAILABLE
       540 SOUTH CENTER
       CA 95201


3.1535 BLUELINE RENTAL, JUSTINE                 VARIOUS                              Litigation              UNDETERMINED
       WILCOX
       PO BOX 840062                ACCOUNT NO.: NOT AVAILABLE
       540 SOUTH CENTER
       CA 95201


3.1536 BLUESMITH, JASON & SACHI                 VARIOUS                              Litigation              UNDETERMINED
       1332 MILLS STREET
       MENLO PARK, CA 94025         ACCOUNT NO.: NOT AVAILABLE


3.1537 BLUM, SYLVIA                             VARIOUS                              Litigation              UNDETERMINED
       19205 REDNECK RIDGE ROAD
       TWAIN HARTE, CA 95383        ACCOUNT NO.: NOT AVAILABLE


3.1538 BLUNT, CHRISTOPHER                       VARIOUS                              Litigation              UNDETERMINED
       2871 SHINGLE SPRINGS DRIVE
       SHINGLE SPRINGS, CA 95682    ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.1539 BLYTHE, DANIEL                           VARIOUS                              Litigation              UNDETERMINED
       2734 STONEBROOK CIRCLE
       DIABLO CANYON DOWER PLANT    ACCOUNT NO.: NOT AVAILABLE
       PASO ROBLES, CA 93446


3.1540 BNIMBLE TECHNOLOGIES-                    VARIOUS                              Litigation              UNDETERMINED
       MEHTA, SUNIL
       45987 PASEO PADRE PARKWAY    ACCOUNT NO.: NOT AVAILABLE
       FREMONT, CA 94539


3.1541 BOARDWALK GRILL                          VARIOUS                              Litigation              UNDETERMINED
       5879 MARINA ROAD
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.1542 BOAT US, DON AND VICKY                   VARIOUS                              Litigation              UNDETERMINED
       SPITZER
       880 SOUTH PICKETTE STREET    ACCOUNT NO.: NOT AVAILABLE
       5777 HEIGHTS ROAD
       ALEXANDRIA, CA 22304


3.1543 BOATU.S.-TRUMBETIC, BONNIE               VARIOUS                              Litigation              UNDETERMINED
       880 SOUTH PICKETT ST
       ALEXANDRIA, CA 22304         ACCOUNT NO.: NOT AVAILABLE


3.1544 BOB BAKER TRUCKING-BAKER,                VARIOUS                              Litigation              UNDETERMINED
       ROBERT
       P.O. BOX 655                 ACCOUNT NO.: NOT AVAILABLE
       GUALALA, CA 95445


3.1545 BOBDE, MAITHILI                          VARIOUS                              Litigation              UNDETERMINED
       270 STRATFORD PLACE
       LOS ALTOS, CA 94022          ACCOUNT NO.: NOT AVAILABLE


3.1546 BOCCA, WAYNE                             VARIOUS                              Litigation              UNDETERMINED
       5340 SHELTER CREEK LANE
       SAN BRUNO, CA 94066          ACCOUNT NO.: NOT AVAILABLE


3.1547 BOCK, GREG                               VARIOUS                              Litigation              UNDETERMINED
       6275 N CONSTANCE AVE
       FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE


3.1548 BOCK, MARTHA                             VARIOUS                              Litigation              UNDETERMINED
       17576 BRIGHT PATH
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.1549 BOCK, NANCY                              VARIOUS                              Litigation              UNDETERMINED
       10680 HWY 26
       8609 EASYBIRD ROAD           ACCOUNT NO.: NOT AVAILABLE
       MOKELUMNE HILL, CA 95245

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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.1550 BOCKES, BOBBIE                            VARIOUS                              Litigation              UNDETERMINED
       10935 FOOTHILL AVE
       10935 FOOTHILL AVE            ACCOUNT NO.: NOT AVAILABLE
       GILROY, CA 95020


3.1551 BODA, TED                                 VARIOUS                              Litigation              UNDETERMINED
       1212 MCKENDRIE ST
       SAN JOSE, CA 95126            ACCOUNT NO.: NOT AVAILABLE


3.1552 BODAL, AJIT                               VARIOUS                              Litigation              UNDETERMINED
       1924 KRISTOFF CT.
       TRACY, CA 95376               ACCOUNT NO.: NOT AVAILABLE


3.1553 BODEN, NEIL                               VARIOUS                              Litigation              UNDETERMINED
       909 SCENIC CT
       BRENTWOOD, CA 94513           ACCOUNT NO.: NOT AVAILABLE


3.1554 BODEN, TERRENCE                           VARIOUS                              Litigation              UNDETERMINED
       607 ANDRIEUX ST
       SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


3.1555 BODGE, ANGELA                             VARIOUS                              Litigation              UNDETERMINED
       5967 DEL ORO RD
       GRANITE BAY, CA 95746         ACCOUNT NO.: NOT AVAILABLE


3.1556 BODSKY, NICHOLAS                          VARIOUS                              Litigation              UNDETERMINED
       10897 WEST DRIVE
       FELTON, CA 95018              ACCOUNT NO.: NOT AVAILABLE


3.1557 BOER, JASON                               VARIOUS                              Litigation              UNDETERMINED
       240 CUMBERLAND WAY
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.1558 BOGART, CAROL                             VARIOUS                              Litigation              UNDETERMINED
       760 DOROTHY ADAMO LANE
       921                           ACCOUNT NO.: NOT AVAILABLE
       WEST SACRAMENTO, CA 95605


3.1559 BOGERT, LISA                              VARIOUS                              Litigation              UNDETERMINED
       8595 WALDEN WOODS WAY
       GRANITE BAY, CA 95746         ACCOUNT NO.: NOT AVAILABLE


3.1560 BOGETTI, LAURIE                           VARIOUS                              Litigation              UNDETERMINED
       35088 WELTY RD.
       VERNALIS, CA 95385            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1561 BOGGIANO, JIM                            VARIOUS                              Litigation              UNDETERMINED
       15219 E EIGHT MILE ROAD
       LINDEN, CA 95236             ACCOUNT NO.: NOT AVAILABLE


3.1562 BOGGS, MICHELLE                          VARIOUS                              Litigation              UNDETERMINED
       6612 N EFFIE STREET
       FRESNO, CA 93710             ACCOUNT NO.: NOT AVAILABLE


3.1563 BOGHOSION, PETER                         VARIOUS                              Litigation              UNDETERMINED
       6636 N LEAD AVE
       FRESNO, CA 93711             ACCOUNT NO.: NOT AVAILABLE


3.1564 BOGUSLAWSKI-HANZEL, DYAN                 VARIOUS                              Litigation              UNDETERMINED
       SHAWN STEEL LAW FIRM
       3010 OLD RANCH PARKWAY,      ACCOUNT NO.: NOT AVAILABLE
       SUITE 260
       SEAL BEACH, CA 90740


3.1565 BOHAN, DARREN & CATHY                    VARIOUS                              Litigation              UNDETERMINED
       1806 FAIRWAY
       CALISTOGA, CA 94515          ACCOUNT NO.: NOT AVAILABLE


3.1566 BOHEMIAN MARKET-MEYER,                   VARIOUS                              Litigation              UNDETERMINED
       COURTNEY
       3691 MAIN STREET             ACCOUNT NO.: NOT AVAILABLE
       PO BOX 128
       OCCIDENTAL, CA 95465


3.1567 BOHNERT, KEVIN                           VARIOUS                              Litigation              UNDETERMINED
       1758 44TH AVE
       SAN FRANCISCO, CA 94122      ACCOUNT NO.: NOT AVAILABLE


3.1568 BOICHAT, SUSAN                           VARIOUS                              Litigation              UNDETERMINED
       751 MAYVIEW WAY
       LIVERMORE, CA 94550          ACCOUNT NO.: NOT AVAILABLE


3.1569 BOISE, CALEB V. PG&E                     VARIOUS                              Litigation              UNDETERMINED
       500 WILLIAMS ST #416
       OAKLAND, CA 94612            ACCOUNT NO.: NOT AVAILABLE


3.1570 BOISO, JOSE                              VARIOUS                              Litigation              UNDETERMINED
       800 LONG BARN DRIVE
       LATHROP, CA 95330            ACCOUNT NO.: NOT AVAILABLE


3.1571 BOL, KLAAS                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1016
       815 WOODLAND RIDGE           ACCOUNT NO.: NOT AVAILABLE
       LOS GATOS, CA 95031


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Litigation & Disputes

3.1572 BOLA,KUMAD-BOLA, KUMAD                   VARIOUS                              Litigation              UNDETERMINED
       18970 N HIGHWAY 88
       LOCKEFORD, CA 95237          ACCOUNT NO.: NOT AVAILABLE


3.1573 BOLANOS, KARINA                          VARIOUS                              Litigation              UNDETERMINED
       8604 LAIRD ST
       GRAYSON, CA 95363            ACCOUNT NO.: NOT AVAILABLE


3.1574 BOLANOS, MARTHA                          VARIOUS                              Litigation              UNDETERMINED
       5633 SCHOONER LOOP
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.1575 BOLDROFF, MARK                           VARIOUS                              Litigation              UNDETERMINED
       13933 CREEK TRL
       REDDING, CA 96003            ACCOUNT NO.: NOT AVAILABLE


3.1576 BOLECHE, VIRGILIO                        VARIOUS                              Litigation              UNDETERMINED
       62 PAMELA COURT
       BAYPOINT, CA 94565           ACCOUNT NO.: NOT AVAILABLE


3.1577 BOLEN, SHERIE                            VARIOUS                              Litigation              UNDETERMINED
       9325 HOLLY OAK WAY
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.1578 BOLES, GRANT                             VARIOUS                              Litigation              UNDETERMINED
       3917 ADAR LANE
       SOQUEL, CA 95073             ACCOUNT NO.: NOT AVAILABLE


3.1579 BOLIEK, MARTIN                           VARIOUS                              Litigation              UNDETERMINED
       865 CHENERY STREET
       SAN FRANCISCO, CA 94131      ACCOUNT NO.: NOT AVAILABLE


3.1580 BOLIN, GREG                              VARIOUS                              Litigation              UNDETERMINED
       162 VALLEY RIDGE DRIVE
       PARADISE, CA 95969           ACCOUNT NO.: NOT AVAILABLE


3.1581 BOLINAS MUSEUM-BORG,                     VARIOUS                              Litigation              UNDETERMINED
       CHRISTINE
       PO BOX 348                   ACCOUNT NO.: NOT AVAILABLE
       BOLINAS, CA 94924


3.1582 BOLLES, BENJAMIN                         VARIOUS                              Litigation              UNDETERMINED
       1559 17TH AVENUE
       SAN FRANCISCO, CA 94122      ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1583 BOLLOCK, MARK & RENEE                     VARIOUS                              Litigation              UNDETERMINED
       37950 OCEAN RIDGE DRIVE
       GUALALA, CA 95445             ACCOUNT NO.: NOT AVAILABLE


3.1584 BOLT, DENNIS                              VARIOUS                              Litigation              UNDETERMINED
       3057 PLEASANT HILL RD.
       SEBASTOPOL, CA 95472          ACCOUNT NO.: NOT AVAILABLE


3.1585 BOLTON, CHARLENE                          VARIOUS                              Litigation              UNDETERMINED
       1799 PIEDMONT RD
       SAN JOSE, CA 95132            ACCOUNT NO.: NOT AVAILABLE


3.1586 BOLTS, MARQUITA                           VARIOUS                              Litigation              UNDETERMINED
       6 PARK CREST COURT
       APT C                         ACCOUNT NO.: NOT AVAILABLE
       NOVATO, CA 94947


3.1587 BOLTS, MARQUITA                           VARIOUS                              Litigation              UNDETERMINED
       6 PARK CREST COURT
       APT C                         ACCOUNT NO.: NOT AVAILABLE
       NOVATO, CA 94947


3.1588 BOMACTAO, MILDRED                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 524
       MOSS LANDING, CA 95039        ACCOUNT NO.: NOT AVAILABLE


3.1589 BOMFARE MARKET #30,                       VARIOUS                              Litigation              UNDETERMINED
       MANJINDER SANDHU
       2240 SACRAMENTO STREET        ACCOUNT NO.: NOT AVAILABLE
       VALLEJO, CA 94590


3.1590 BON GOUT GELATO LOUNGE-                   VARIOUS                              Litigation              UNDETERMINED
       SARA, JAVIER
       2950 E NEES AVE, SUITE 105    ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93720


3.1591 BOND, RICHARD                             VARIOUS                              Litigation              UNDETERMINED
       454 CHESAPEAKE AVE
       FOSTER CITY, CA 94404         ACCOUNT NO.: NOT AVAILABLE


3.1592 BONDAN, GARY                              VARIOUS                              Litigation              UNDETERMINED
       2635 MAIN STREET
       NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.1593 BONDI INC. DBA THE RAWBAR-                VARIOUS                              Litigation              UNDETERMINED
       CHADDERDON, DARREN
       346 BROADWAY ST.              ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95928


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Litigation & Disputes

3.1594 BONIFACIO, JOHN                           VARIOUS                              Litigation              UNDETERMINED
       421 DEODORA
       VACAVILLE, CA 95688           ACCOUNT NO.: NOT AVAILABLE


3.1595 BONILLA, ANA                              VARIOUS                              Litigation              UNDETERMINED
       2188 BRUTUS ST APT H
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.1596 BONILLA, KATIA                            VARIOUS                              Litigation              UNDETERMINED
       2009 ASCOT DR.
       8                             ACCOUNT NO.: NOT AVAILABLE
       MORAGA, CA 94556


3.1597 BONILLA, PATRICIA                         VARIOUS                              Litigation              UNDETERMINED
       3015 WILLOW BASIN LANE
       BAKERSFIELD, CA 93313         ACCOUNT NO.: NOT AVAILABLE


3.1598 BONILLA, YARIELA                          VARIOUS                              Litigation              UNDETERMINED
       1051 SAN MIGUEL CNYON RD #A
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.1599 BONNER, SHELLY                            VARIOUS                              Litigation              UNDETERMINED
       9046 HILLSIDE ST
       APT B                         ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94603


3.1600 BONOS, BASIL                              VARIOUS                              Litigation              UNDETERMINED
       6263 COLLIER AVE #1
       UPPER LAKE, CA 95485          ACCOUNT NO.: NOT AVAILABLE


3.1601 BONSTIN, SUSIE                            VARIOUS                              Litigation              UNDETERMINED
       347 MILITARY EAST
       BENICIA, CA 94510             ACCOUNT NO.: NOT AVAILABLE


3.1602 BONTHU, JESWANTH                          VARIOUS                              Litigation              UNDETERMINED
       1731 TIMBREL WAY
       ROCKLIN, CA 95765             ACCOUNT NO.: NOT AVAILABLE


3.1603 BOOK, DAVID                               VARIOUS                              Litigation              UNDETERMINED
       23830 FAIRFIELD PLACE
       CARMEL, CA 93923              ACCOUNT NO.: NOT AVAILABLE


3.1604 BOOKEO PTY LTD-PORTER,                    VARIOUS                              Litigation              UNDETERMINED
       KATHI
       1555 32ND STREET              ACCOUNT NO.: NOT AVAILABLE
       APT 1
       OAKLAND, CA 94608



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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.1605 BOOKER VINEYARD & WINERY-                 VARIOUS                              Litigation              UNDETERMINED
       JENSEN, ERIC
       2640 ANDERSON ROAD            ACCOUNT NO.: NOT AVAILABLE
       PASO ROBLES, CA 93446


3.1606 BOOKHEIMER, BARBARA                       VARIOUS                              Litigation              UNDETERMINED
       943 E SKYLARK
       SANTA MARIA, CA 93455         ACCOUNT NO.: NOT AVAILABLE


3.1607 BOOLOOTIAN, BRIAN                         VARIOUS                              Litigation              UNDETERMINED
       3558 E BUTLER AVE
       FRESNO, CA 93702              ACCOUNT NO.: NOT AVAILABLE


3.1608 BOOM, LISA                                VARIOUS                              Litigation              UNDETERMINED
       349 WALSH ROAD
       ATHERTON, CA 94027            ACCOUNT NO.: NOT AVAILABLE


3.1609 BOOMGAARDEN, JERI                         VARIOUS                              Litigation              UNDETERMINED
       320 LEE STREET
       902                           ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94610


3.1610 BOON, JOHN                                VARIOUS                              Litigation              UNDETERMINED
       3521 CATALINA WAY
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.1611 BOONE, DAVID                              VARIOUS                              Litigation              UNDETERMINED
       5597 SAWMILL RD
       PARADISE, CA 95969            ACCOUNT NO.: NOT AVAILABLE


3.1612 BOOP, STEPHAN                             VARIOUS                              Litigation              UNDETERMINED
       2521 GARLAND ST
       EUREKA, CA 95501              ACCOUNT NO.: NOT AVAILABLE


3.1613 BOOTH, ROBERT                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2280
       MILL VALLEY, CA 94942         ACCOUNT NO.: NOT AVAILABLE


3.1614 BOOTH, ROSE                               VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 158
       PENNGROVE, CA 94951           ACCOUNT NO.: NOT AVAILABLE


3.1615 BOOZER, RUSSELL                           VARIOUS                              Litigation              UNDETERMINED
       120 SHANNON AVE
       MADERA, CA 93637              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.1616 BORE ONE INC.                            VARIOUS                              Litigation              UNDETERMINED
       6032 PIPIT WAY
       GILROY, CA 95020             ACCOUNT NO.: NOT AVAILABLE


3.1617 BORELLI, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 22275
       CARMEL, CA 93922             ACCOUNT NO.: NOT AVAILABLE


3.1618 BORELLI, MARISSA                         VARIOUS                              Litigation              UNDETERMINED
       17870 PEAK AVE
       MORGAN HILL, CA 95037        ACCOUNT NO.: NOT AVAILABLE


3.1619 BORGARDT, RICHARD &                      VARIOUS                              Litigation              UNDETERMINED
       JUANITA
       P.O. BOX 91                  ACCOUNT NO.: NOT AVAILABLE
       DUNLAP, CA 93621


3.1620 BORGES, ERIN                             VARIOUS                              Litigation              UNDETERMINED
       24731 GUADALUPE STREET
       CARMEL, CA 93923             ACCOUNT NO.: NOT AVAILABLE


3.1621 BORGES, MYRNA                            VARIOUS                              Litigation              UNDETERMINED
       6468 WASHONGTON STREET
       NAPA, CA 94599               ACCOUNT NO.: NOT AVAILABLE


3.1622 BORGES, SCOTT                            VARIOUS                              Litigation              UNDETERMINED
       3192 VENTANA CT
       CHICO, CA 95928              ACCOUNT NO.: NOT AVAILABLE


3.1623 BORGES, VICTORIA                         VARIOUS                              Litigation              UNDETERMINED
       4488 E BALL AVE
       FRESNO, CA 39702             ACCOUNT NO.: NOT AVAILABLE


3.1624 BORGES, VICTORIA                         VARIOUS                              Litigation              UNDETERMINED
       703 N ORANGE ST
       STOCKTON, CA 95203           ACCOUNT NO.: NOT AVAILABLE


3.1625 BORING, ALAN & GINA                      VARIOUS                              Litigation              UNDETERMINED
       26800 MONET LANE
       2689 PINE RIDGE ROAD         ACCOUNT NO.: NOT AVAILABLE
       BRADLEY, CA 91355


3.1626 BORJORQUEZ, JESUS                        VARIOUS                              Litigation              UNDETERMINED
       320 RODRIGUEZ AVE
       SHAFTER, CA 93263            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.1627 BOROVAC, LINDA                           VARIOUS                              Litigation              UNDETERMINED
       CHAD BOWMAN, ESQ.
       3230 RAMOS CIRCLE            ACCOUNT NO.: NOT AVAILABLE
       SACRAMENTO, CA 95827


3.1628 BORUM, TYE                               VARIOUS                              Litigation              UNDETERMINED
       3943 WOODPOINTE CIT
       SACRAMENTO, CA 95821         ACCOUNT NO.: NOT AVAILABLE


3.1629 BOSCACCI, DAN                            VARIOUS                              Litigation              UNDETERMINED
       2003 MEZES AVENUE
       BELMONT, CA 94002            ACCOUNT NO.: NOT AVAILABLE


3.1630 BOSKI, STEPHEN                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 241
       ARNOLD, CA 95223             ACCOUNT NO.: NOT AVAILABLE


3.1631 BOSQUE, CAROLYNE                         VARIOUS                              Litigation              UNDETERMINED
       12 KIMMIE CT.
       BELMONT, CA 94002            ACCOUNT NO.: NOT AVAILABLE


3.1632 BOSQUE, DIANNE                           VARIOUS                              Litigation              UNDETERMINED
       23795 S FORK ROAD
       TWAIN HARTE, CA 95383        ACCOUNT NO.: NOT AVAILABLE


3.1633 BOSSENBROEK, CHELSEA                     VARIOUS                              Litigation              UNDETERMINED
       38 COMMERCE AVE SUITE 200
       GRAND RAPIDS, CA 49503       ACCOUNT NO.: NOT AVAILABLE


3.1634 BOSTROM, DENNIS                          VARIOUS                              Litigation              UNDETERMINED
       14 MESA WAY
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.1635 BOSTROM, JEFF                            VARIOUS                              Litigation              UNDETERMINED
       141 CARDINAL LANE
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.1636 BOTELLO, MARIA                           VARIOUS                              Litigation              UNDETERMINED
       132 VALENCIA ST
       SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.1637 BOTTEON, DENNIS                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2132
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.1638 BOTTEON, DENNIS                          VARIOUS                              Litigation              UNDETERMINED
       100 VALLE VISTA
       CARMEL VALLEY, CA 94924      ACCOUNT NO.: NOT AVAILABLE


3.1639 BOTTOMS UP ESPRESSO-                     VARIOUS                              Litigation              UNDETERMINED
       PATEL, SPANDAN
       4721 WATERSTONE DRIVE        ACCOUNT NO.: NOT AVAILABLE
       ROSEVILLE, CA 95747


3.1640 BOTTRELL, IRENE                          VARIOUS                              Litigation              UNDETERMINED
       1355 TIFFANY RANCH ROAD
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.1641 BOUAZIZ, SOFIEN                          VARIOUS                              Litigation              UNDETERMINED
       20379 KENT WAY
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.1642 BOUCHER, JESSIE                          VARIOUS                              Litigation              UNDETERMINED
       48 FOOTHILL RD
       SAN ANSELMO, CA 94960        ACCOUNT NO.: NOT AVAILABLE


3.1643 BOUCHER, SANDY                           VARIOUS                              Litigation              UNDETERMINED
       STEPHEN H. CORNET, ESQ
       1970 BROADWAY, STE. 1000     ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94612


3.1644 BOUCHER, SANDY                           VARIOUS                              Litigation              UNDETERMINED
       3912 FORREST HILL AVE
       OAKLAND, CA 94612            ACCOUNT NO.: NOT AVAILABLE


3.1645 BOUGHTON, JUDITH                         VARIOUS                              Litigation              UNDETERMINED
       13570 CENTERVILLE RD
       CHICO, CA 95928              ACCOUNT NO.: NOT AVAILABLE


3.1646 BOULDIN, BILLIE                          VARIOUS                              Litigation              UNDETERMINED
       31000 CAMP 1 TEN MILE RD.
       PO BOX 2362                  ACCOUNT NO.: NOT AVAILABLE
       FORT BRAGG, CA 95437


3.1647 BOULES, PAUL                             VARIOUS                              Litigation              UNDETERMINED
       2202 MEGAN DRIVE
       SAN JOSE, CA 95121           ACCOUNT NO.: NOT AVAILABLE


3.1648 BOULEVARD RESTAURANT-                    VARIOUS                              Litigation              UNDETERMINED
       GILLIGAN, ADRIANNA
       665 GEARY ST                 ACCOUNT NO.: NOT AVAILABLE
       407
       SAN FRANCISCO, CA 94102


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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.1649 BOULEVARD RESTAURANT-LEE,                 VARIOUS                              Litigation              UNDETERMINED
       JIMMY
       ONE MISSION STREET            ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94105


3.1650 BOULEVARD RESTAURANT-                     VARIOUS                              Litigation              UNDETERMINED
       ROSEN, WENDY LEA
       1390 N.MCDOWELL BLVD.         ACCOUNT NO.: NOT AVAILABLE
       SUITE G #189
       PETALUMA, CA 94954


3.1651 BOUMAN, ARLENE                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1105
       MEADOW VISTA, CA 95722        ACCOUNT NO.: NOT AVAILABLE


3.1652 BOURASA, SANDY                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 145
       FEATHER FALLS, CA 95940       ACCOUNT NO.: NOT AVAILABLE


3.1653 BOURDREAU, DIANE                          VARIOUS                              Litigation              UNDETERMINED
       300 PLUM ST.
       VACAVILLE, CA 95688           ACCOUNT NO.: NOT AVAILABLE


3.1654 BOURI, LUAY                               VARIOUS                              Litigation              UNDETERMINED
       1900 GARDEN DR
       BURLINGAME, CA 94010          ACCOUNT NO.: NOT AVAILABLE


3.1655 BOURLAND, CATHERINE                       VARIOUS                              Litigation              UNDETERMINED
       5763 HIGHWAY 49
       MOKELUMNE HILL, CA 95245      ACCOUNT NO.: NOT AVAILABLE


3.1656 BOURNES, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       1027 POLK ST
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.1657 BOVILL, MARTIN                            VARIOUS                              Litigation              UNDETERMINED
       77 LA SALLE AVENUE
       PIEDMONT, CA 94611            ACCOUNT NO.: NOT AVAILABLE


3.1658 BOWDEN, JAY                               VARIOUS                              Litigation              UNDETERMINED
       800 PARLIAMENT AVE.
       MODESTO, CA 95356             ACCOUNT NO.: NOT AVAILABLE


3.1659 BOWDEN, TINA                              VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 966
       FORESTVILLE, CA 95436         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1660 BOWEN, JAMES                             VARIOUS                              Litigation              UNDETERMINED
       2177 BODEGA AVE
       PETALUMA, CA 94952            ACCOUNT NO.: NOT AVAILABLE


3.1661 BOWEN, JANINE                            VARIOUS                              Litigation              UNDETERMINED
       4435 WHISPERING OAKS CIRCLE
       GRANITE BAY, CA 94746         ACCOUNT NO.: NOT AVAILABLE


3.1662 BOWEN, KEITH                             VARIOUS                              Litigation              UNDETERMINED
       7420 CARR HALL LN
       LOOMIS, CA 95650              ACCOUNT NO.: NOT AVAILABLE


3.1663 BOWEN, MICHELE                           VARIOUS                              Litigation              UNDETERMINED
       805 WEST DAYTON
       FRESNO, CA 93705              ACCOUNT NO.: NOT AVAILABLE


3.1664 BOWEN, WINSTON                           VARIOUS                              Litigation              UNDETERMINED
       15340 SEADRIFT AVE.
       CASPAR, CA 95420              ACCOUNT NO.: NOT AVAILABLE


3.1665 BOWERS, BRYAN                            VARIOUS                              Litigation              UNDETERMINED
       1750 PREFUMO CANYON RD
       APT 29                        ACCOUNT NO.: NOT AVAILABLE
       SAN LUIS OBISPO, CA 93405


3.1666 BOWERS, MARY                             VARIOUS                              Litigation              UNDETERMINED
       210 DELTA AVE
       BRENTWOOD, CA 94513           ACCOUNT NO.: NOT AVAILABLE


3.1667 BOWERS, ROY                              VARIOUS                              Litigation              UNDETERMINED
       7863 GABOR STREET
       VALLEY SPRINGS, CA 95252      ACCOUNT NO.: NOT AVAILABLE


3.1668 BOWERS, SCOTT                            VARIOUS                              Litigation              UNDETERMINED
       1393 YORK
       SAN FRANCISCO, CA 94110       ACCOUNT NO.: NOT AVAILABLE


3.1669 BOWIE ENTERPRISES-BOWIE,                 VARIOUS                              Litigation              UNDETERMINED
       MICHAEL
       4433 N BLACKSTONE AVE         ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93726


3.1670 BOWIE ENTERPRISES-BOWIE,                 VARIOUS                              Litigation              UNDETERMINED
       MICHAEL
       4433 N BLACKSTONE AVE         ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93726




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Litigation & Disputes

3.1671 BOWLAN, WILLIAM                          VARIOUS                              Litigation              UNDETERMINED
       44725 MANZANITA DRIVE
       OAKHURST, CA 93644            ACCOUNT NO.: NOT AVAILABLE


3.1672 BOWLIN, SOMMER                           VARIOUS                              Litigation              UNDETERMINED
       2394 NORTH MAIN STREET UNIT
       B                             ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.1673 BOWMAN ASPHALT INC,                      VARIOUS                              Litigation              UNDETERMINED
       WILLIAMS, JIM
       3351 FAIRHAVEN DRIVE          ACCOUNT NO.: NOT AVAILABLE
       4717 MERIDAIN AVE
       BAKERSFIELD, CA 93308


3.1674 BOWMAN, DAVID                            VARIOUS                              Litigation              UNDETERMINED
       12751 IONE CT.
       SARATOGA, CA 95070            ACCOUNT NO.: NOT AVAILABLE


3.1675 BOWMAN, HELENA                           VARIOUS                              Litigation              UNDETERMINED
       24247 DUTCHERCREEK RD
       P.O. BOX 1133, HEALDSBURG     ACCOUNT NO.: NOT AVAILABLE
       CLOVERDALE, CA 95448


3.1676 BOWSER, DAVE                             VARIOUS                              Litigation              UNDETERMINED
       16040 SHANNON ROAD
       LOS GATOS, CA 95032           ACCOUNT NO.: NOT AVAILABLE


3.1677 BOX, MATTHEW                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1029
       CHESTER, CA 96020             ACCOUNT NO.: NOT AVAILABLE


3.1678 BOYCE, JAMES                             VARIOUS                              Litigation              UNDETERMINED
       255 WILLOWGREEN PL,
       SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.1679 BOYCE, OLIVIA                            VARIOUS                              Litigation              UNDETERMINED
       1003 SMITH GRADE
       SANTA CRUZ, CA 95060          ACCOUNT NO.: NOT AVAILABLE


3.1680 BOYCE, THOMAS                            VARIOUS                              Litigation              UNDETERMINED
       134 WILDER AVE
       LOS GATOS, CA 95030           ACCOUNT NO.: NOT AVAILABLE


3.1681 BOYD, BRUCE                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 66341
       SCOTTS VALLEY, CA 95067       ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.1682 BOYD, FRANCESCA                           VARIOUS                              Litigation              UNDETERMINED
       7305 CHABOT ROAD
       OAKLAND, CA 94618              ACCOUNT NO.: NOT AVAILABLE


3.1683 BOYDSTON, MARILYN                         VARIOUS                              Litigation              UNDETERMINED
       886 CAMBRIA AVE
       SANTA MARIA, CA 93455          ACCOUNT NO.: NOT AVAILABLE


3.1684 BOYER, CRAYTON                            VARIOUS                              Litigation              UNDETERMINED
       8901 E. HARNEY LANE
       LODI, CA 95240                 ACCOUNT NO.: NOT AVAILABLE


3.1685 BOYER, DAVID                              VARIOUS                              Litigation              UNDETERMINED
       631 WAYSIDE DR
       TURLOCK, CA 95380              ACCOUNT NO.: NOT AVAILABLE


3.1686 BOYER, JAMES                              VARIOUS                              Litigation              UNDETERMINED
       18930 HIDDEN VALLEY RD
       HIDDEN VALLEY LAKE, CA 95467   ACCOUNT NO.: NOT AVAILABLE


3.1687 BOYKIN, MELISSA                           VARIOUS                              Litigation              UNDETERMINED
       4175 ORO BANGOR HWY
       OROVILLE, CA 95966             ACCOUNT NO.: NOT AVAILABLE


3.1688 BOYLE TIMBER-POWELL, ALEX                 VARIOUS                              Litigation              UNDETERMINED
       SPROWL CREEK RD
       GARBERVILLE, CA 95542          ACCOUNT NO.: NOT AVAILABLE


3.1689 BOYLE, DAN                                VARIOUS                              Litigation              UNDETERMINED
       18500 FOSTER RD
       LOS GATOS, CA 95030            ACCOUNT NO.: NOT AVAILABLE


3.1690 BOYS & GIRLS CLUB EL                      VARIOUS                              Litigation              UNDETERMINED
       DORADO COUNTY WESTERN
       SLOPE-MCCARTNEY, SEAN          ACCOUNT NO.: NOT AVAILABLE
       PO BOX 2535
       PLACERVILLE, CA 95667


3.1691 BOYS AND GIRLS CLUB OF                    VARIOUS                              Litigation              UNDETERMINED
       MONTEREY COUNTY, GLOVER,
       LA TONYA                       ACCOUNT NO.: NOT AVAILABLE
       133 LA SALLE
       85 MARYAL DRIVE
       SALINAS, CA 93906




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Litigation & Disputes

3.1692 BOYSEN, HEATHER                          VARIOUS                              Litigation              UNDETERMINED
       LAW OFFICE OF CHARLES E.
       HILL III                       ACCOUNT NO.: NOT AVAILABLE
       582 MARKET STREET, STE. 1007
       SAN FRANCISCO, CA 94104


3.1693 BOYSEN, HEATHER                          VARIOUS                              Litigation              UNDETERMINED
       KERN, SEGAL & MURRAY,
       SUTTER STREET, SUITE 600,      ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA
       94109582 MARKET STREET,
       STE
       SAN FRANCISCO, CA 94109


3.1694 BOYSEN, HEATHER (ATTY REP)               VARIOUS                              Litigation              UNDETERMINED
       C/O KERN, SEGAL & MURRAY
       1388 SUTTER STREET, SUITE      ACCOUNT NO.: NOT AVAILABLE
       600
       0
       SAN FRANCISCO, CA 94109


3.1695 BP PRECISION-PERANICK, BRAD              VARIOUS                              Litigation              UNDETERMINED
       7546 N TOLETACHI ROAD
       FRESNO, CA 93711               ACCOUNT NO.: NOT AVAILABLE


3.1696 BR PRINTERS-GALL, DAVID                  VARIOUS                              Litigation              UNDETERMINED
       665 LENFEST RD
       SAN JOSE, CA 95133             ACCOUNT NO.: NOT AVAILABLE


3.1697 BRACK, STACIA                            VARIOUS                              Litigation              UNDETERMINED
       545 GREENWICH ST
       PETALUMA, CA 94954             ACCOUNT NO.: NOT AVAILABLE


3.1698 BRACKE, PAUL                             VARIOUS                              Litigation              UNDETERMINED
       1395 DAILY DRIVE
       SAN LEANDRO, CA 94577          ACCOUNT NO.: NOT AVAILABLE


3.1699 BRACKMAN, REBECCA                        VARIOUS                              Litigation              UNDETERMINED
       101 EAST MANOR DRIVE
       MILL VALLEY, CA 94941          ACCOUNT NO.: NOT AVAILABLE


3.1700 BRADBURY, PATRICIA                       VARIOUS                              Litigation              UNDETERMINED
       6345 DOGTOWN ROAD
       COULTERVILLE, CA 95311         ACCOUNT NO.: NOT AVAILABLE


3.1701 BRADEN 1996 FAMILY LP,                   VARIOUS                              Litigation              UNDETERMINED
       MANNY SILVA
       PO BOX 1022                    ACCOUNT NO.: NOT AVAILABLE
       COZ FERRY RD
       SNELLING, CA

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Litigation & Disputes

3.1702 BRADEN 1996 FAMILY LP,                   VARIOUS                              Litigation              UNDETERMINED
       MANNY SILVA
       PO BOX 1022                   ACCOUNT NO.: NOT AVAILABLE
       COZ FERRY RD
       SNELLING, CA


3.1703 BRADEN 1996 FAMILY LP,                   VARIOUS                              Litigation              UNDETERMINED
       MANNY SILVA
       PO BOX 1022                   ACCOUNT NO.: NOT AVAILABLE
       COZ FERRY RD
       SNELLING, CA


3.1704 BRADFORD, PERRY                          VARIOUS                              Litigation              UNDETERMINED
       LAW OFFICES OF MICHAEL C.
       COHEN                         ACCOUNT NO.: NOT AVAILABLE
       1814 FRANKLIN STREET, SUITE
       900
       OAKLAND, CA 94612


3.1705 BRADFORD/ATTY REP, PERRY                 VARIOUS                              Litigation              UNDETERMINED
       2727 55TH AVE
       OAKLAND, CA 94605             ACCOUNT NO.: NOT AVAILABLE


3.1706 BRADLEY, ANDREW                          VARIOUS                              Litigation              UNDETERMINED
       9390 HOLLY OAK WAY
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.1707 BRADLEY, BRIAN                           VARIOUS                              Litigation              UNDETERMINED
       11807
       VALLEY HOME RD                ACCOUNT NO.: NOT AVAILABLE
       OAKDALE, CA 95361


3.1708 BRADLEY, DENNIS                          VARIOUS                              Litigation              UNDETERMINED
       2765 GREENWOOD HEIGHTS
       DRIVE                         ACCOUNT NO.: NOT AVAILABLE
       KNEELAND, CA 95549


3.1709 BRADLEY, DON                             VARIOUS                              Litigation              UNDETERMINED
       20087 AUDREY LANE
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.1710 BRADLEY, NORA                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1015
       35540 CULBERSON RD            ACCOUNT NO.: NOT AVAILABLE
       ALTA, CA 95701


3.1711 BRADSHAW, BRUCE                          VARIOUS                              Litigation              UNDETERMINED
       6320 SCHENCK RANCH ROAD
       SHINGLE SPRINGS, CA 95682     ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.1712 BRADSHAW, WILLIAM                        VARIOUS                              Litigation              UNDETERMINED
       3927 LIHJTHOUSE PLACE
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.1713 BRADY, BRIAN                             VARIOUS                              Litigation              UNDETERMINED
       1946 WILLIAMK DRIVE
       PENNGROVE, CA 94951          ACCOUNT NO.: NOT AVAILABLE


3.1714 BRADY, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 3112
       ARNOLD, CA 95223             ACCOUNT NO.: NOT AVAILABLE


3.1715 BRADY, DILLYN                            VARIOUS                              Litigation              UNDETERMINED
       3002 6TH ST
       CLEARLAKE, CA 95422          ACCOUNT NO.: NOT AVAILABLE


3.1716 BRADY, MARIA                             VARIOUS                              Litigation              UNDETERMINED
       568 ARLINGTON STREET
       SAN FRANCISCO, CA 94131      ACCOUNT NO.: NOT AVAILABLE


3.1717 BRADY, PHILIP                            VARIOUS                              Litigation              UNDETERMINED
       789 IRWIN LANE
       SANTA ROSA, CA 95401         ACCOUNT NO.: NOT AVAILABLE


3.1718 BRADYLONG, MARGARET                      VARIOUS                              Litigation              UNDETERMINED
       206 GILBERT DR
       SANTA ROSA, CA 95405         ACCOUNT NO.: NOT AVAILABLE


3.1719 BRAGA, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       3706 W CARUTHERS AVENUE
       CARUTHERS, CA 93609          ACCOUNT NO.: NOT AVAILABLE


3.1720 BRAL & ASSOCIATES -                      VARIOUS                              Litigation              UNDETERMINED
       WILLIAMS, EBONY
       1875 CENTURY PARK E, STE     ACCOUNT NO.: NOT AVAILABLE
       1770
       LOS ANGELES, CA 90067


3.1721 BRAL & ASSOCIATES                        VARIOUS                              Litigation              UNDETERMINED
       ATTORNEY AT LAW, DANIEL
       PATTERSON                    ACCOUNT NO.: NOT AVAILABLE
       1875 CENTURY PARK EAST,
       17TH FLOOR
       969 PETALUMA BLVD
       PETALUMA, CA


3.1722 BRAMLETT, KATIE                          VARIOUS                              Litigation              UNDETERMINED
       1695 49TH AVE
       CAPITOLA, CA 95010           ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                            Account Number                           Claim

Litigation & Disputes

3.1723 BRANCO, KRISTEN                          VARIOUS                              Litigation              UNDETERMINED
       2 W WHITTIER AVE
       TRACY, CA 95376                 ACCOUNT NO.: NOT AVAILABLE


3.1724 BRANCO, LOUISE                           VARIOUS                              Litigation              UNDETERMINED
       6390 TRAHERN ROAD
       MANTECA, CA 95337               ACCOUNT NO.: NOT AVAILABLE


3.1725 BRANDON HARRIS, SARAH                    VARIOUS                              Litigation              UNDETERMINED
       HARRIS, ESTATE OF LILY
       HARRIS; CLAIRE HARRIS;          ACCOUNT NO.: NOT AVAILABLE
       KIMBERLY HARRIS; JUSTIN
       HARRIS
       (1) WARREN R. PABOOJIAN,
       BARADAT & PABOOJIAN, INC.
       (2) TODD B. BARSOTTI, TODD B.
       BARSOTTI , A PROF. CORP
       720 WEST ALLUVIAL AVENUE
       FRESNO, CA 93711


3.1726 BRANDON, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       19827 RHODE ISLAND RD
       REDDING, CA 96003               ACCOUNT NO.: NOT AVAILABLE


3.1727 BRANDS, CONSTELLATION                    VARIOUS                              Litigation              UNDETERMINED
       980 BRYANT CANYON ROAD
       SOLEDAD, CA                     ACCOUNT NO.: NOT AVAILABLE


3.1728 BRANDT, BETHANY                          VARIOUS                              Litigation              UNDETERMINED
       514 10TH ST.
       PACIFIC GROVE, CA 93950         ACCOUNT NO.: NOT AVAILABLE


3.1729 BRANDT, JACK                             VARIOUS                              Litigation              UNDETERMINED
       6040 AVE 430
       REEDLEY, CA 93654               ACCOUNT NO.: NOT AVAILABLE


3.1730 BRANSCUM, ROBERT                         VARIOUS                              Litigation              UNDETERMINED
       24595 MARSH CREEK
       BRENTWOOD, CA 94513             ACCOUNT NO.: NOT AVAILABLE


3.1731 BRAR, DHANWANT                           VARIOUS                              Litigation              UNDETERMINED
       21959 HWY 46
       LOST HILLS, CA 93249            ACCOUNT NO.: NOT AVAILABLE


3.1732 BRAR, GURMEJ                             VARIOUS                              Litigation              UNDETERMINED
       1705 OAK STREET
       SELMA, CA 93662                 ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.1733 BRASHER, MATT                            VARIOUS                              Litigation              UNDETERMINED
       525 BEVINS ST.
       16                           ACCOUNT NO.: NOT AVAILABLE
       LAKEPORT, CA 95453


3.1734 BRASIL, MARIO                            VARIOUS                              Litigation              UNDETERMINED
       1664 MELODY LANE
       423 ANN DARLING DRIVE        ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95133


3.1735 BRASWELL, ELISHA                         VARIOUS                              Litigation              UNDETERMINED
       1682 E 11TH ST
       STOCKTON, CA 95206           ACCOUNT NO.: NOT AVAILABLE


3.1736 BRATSET, SUSAN                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 54
       MOUNTAIN RANCH, CA 95246     ACCOUNT NO.: NOT AVAILABLE


3.1737 BRAVO, AIME                              VARIOUS                              Litigation              UNDETERMINED
       4144 N. BRIARWOOD
       FRESNO, CA 93705             ACCOUNT NO.: NOT AVAILABLE


3.1738 BRAVO, AURORA                            VARIOUS                              Litigation              UNDETERMINED
       16 CHAMISE CIRCLE
       SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.1739 BRAVO, ROSA                              VARIOUS                              Litigation              UNDETERMINED
       13 TULIP CIR
       SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.1740 BRAVO, TANYA                             VARIOUS                              Litigation              UNDETERMINED
       6846 HAWLEY ST
       105                          ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94621


3.1741 BRAVO-TRUJILLO, VIRGILIO                 VARIOUS                              Litigation              UNDETERMINED
       2604 BEATRICE LANE
       MODESTO, CA 95355            ACCOUNT NO.: NOT AVAILABLE


3.1742 BRAZELL, RICKY                           VARIOUS                              Litigation              UNDETERMINED
       407 17TH STREET
       SACRAMENTO, CA 95811         ACCOUNT NO.: NOT AVAILABLE


3.1743 BREAKSPEAR, ANTHONY                      VARIOUS                              Litigation              UNDETERMINED
       1111 OCEAN STREET
       UNIT 201                     ACCOUNT NO.: NOT AVAILABLE
       SANTA CRUZ, CA 95060



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.1744 BRECHTEL, DWAYNE                         VARIOUS                              Litigation              UNDETERMINED
       5893 EMBEE DRIVE
       SAN JOSE, CA 95123           ACCOUNT NO.: NOT AVAILABLE


3.1745 BREEDLOVE, RICHARD                       VARIOUS                              Litigation              UNDETERMINED
       20448 OLD ARTURAS RD
       REDDING, CA 96003            ACCOUNT NO.: NOT AVAILABLE


3.1746 BREEN, JEANNI                            VARIOUS                              Litigation              UNDETERMINED
       39 POND VIEW LANE
       OROVILLE, CA 95966           ACCOUNT NO.: NOT AVAILABLE


3.1747 BREEZE, ERIC                             VARIOUS                              Litigation              UNDETERMINED
       5213 ROYAL OAK PLACE
       ROYAL OAKS, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.1748 BREGANTE, RICHARD                        VARIOUS                              Litigation              UNDETERMINED
       211 POTTER ROAD
       APTOS, CA 95003              ACCOUNT NO.: NOT AVAILABLE


3.1749 BREIDENBACH, DEREK                       VARIOUS                              Litigation              UNDETERMINED
       3025 ROLLING HILLS DRIVE
       GEORGETOWN, CA 95634         ACCOUNT NO.: NOT AVAILABLE


3.1750 BRENDEN THEATER INC,                     VARIOUS                              Litigation              UNDETERMINED
       WALTER EICHINGER
       1985 WILLOW PASS RD.         ACCOUNT NO.: NOT AVAILABLE
       CONCORD, CA 94520


3.1751 BRENNAN, PATRICK                         VARIOUS                              Litigation              UNDETERMINED
       8235 GRANADA LN
       LOOMIS, CA 95650             ACCOUNT NO.: NOT AVAILABLE


3.1752 BRENNER, DANIEL                          VARIOUS                              Litigation              UNDETERMINED
       904 BARNESON AVE
       SAN MATEO, CA 94402          ACCOUNT NO.: NOT AVAILABLE


3.1753 BRESNAHAN, FRANCIS                       VARIOUS                              Litigation              UNDETERMINED
       54 MAYBECK ST.
       NOVATO, CA 94949             ACCOUNT NO.: NOT AVAILABLE


3.1754 BRETT, STEPHEN                           VARIOUS                              Litigation              UNDETERMINED
       1461 HILL ROAD
       GLEN ELLEN, CA 95442         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1755 BREWER, MITCHELL                         VARIOUS                              Litigation              UNDETERMINED
       644 GARFILED PL
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.1756 BREWER, SHANNON                          VARIOUS                              Litigation              UNDETERMINED
       3227 PRENTISS STREET
       OAKLAND, CA 94601            ACCOUNT NO.: NOT AVAILABLE


3.1757 BREWSTER, JEANINA                        VARIOUS                              Litigation              UNDETERMINED
       7780 MILL RUN
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.1758 BREWSTER, JEANINA                        VARIOUS                              Litigation              UNDETERMINED
       7780 MILL RUN
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.1759 BREWSTER, SARAH                          VARIOUS                              Litigation              UNDETERMINED
       6274 JERSEYDALE RD.
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE


3.1760 BRIAN HOUGH, JUDY HOUGH                  VARIOUS                              Litigation              UNDETERMINED
       BOBBY THOMPSON
       715 AIRPORT BLVD             ACCOUNT NO.: NOT AVAILABLE
       SUITE 175
       BURLINGAME, CA 94010


3.1761 BRIAN HOUGH, JUDY HOUGH                  VARIOUS                              Litigation              UNDETERMINED
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ          ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.1762 BRIAN HOUGH, JUDY HOUGH                  VARIOUS                              Litigation              UNDETERMINED
       CHRISTOPHER DOLAN, ARSEN
       SARAPINIAN, AIMEE KIRBY      ACCOUNT NO.: NOT AVAILABLE
       1438 MARKET STREET
       SAN FRANCISCO, CA 94102


3.1763 BRIAN SOWARD CUSTOM                      VARIOUS                              Litigation              UNDETERMINED
       PAINTING-SOWARD, BRIAN
       PO BOX 448                   ACCOUNT NO.: NOT AVAILABLE
       HEALDSBURG, CA 95448


3.1764 BRIDGER, BETTY                           VARIOUS                              Litigation              UNDETERMINED
       5567 S. LOCAN AVE
       FOWLER, CA 93625             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1765 BRIDGES, CECIL & JUNE                    VARIOUS                              Litigation              UNDETERMINED
       433 SYLVAN AVE.
       SPC 106                      ACCOUNT NO.: NOT AVAILABLE
       MOUNTAIN VIEW, CA 94041


3.1766 BRIDGES, OSCAR                           VARIOUS                              Litigation              UNDETERMINED
       2203 POTOMAC AVE
       BAKERSFIELD, CA 93307-2531   ACCOUNT NO.: NOT AVAILABLE


3.1767 BRIDGES, ROBIN                           VARIOUS                              Litigation              UNDETERMINED
       803 ISLAND PINE COURT
       HAYWARD, CA 94544            ACCOUNT NO.: NOT AVAILABLE


3.1768 BRIDGES, TAMIKO                          VARIOUS                              Litigation              UNDETERMINED
       2812 9TH AVENUE APT 307
       OAKLAND, CA 94605            ACCOUNT NO.: NOT AVAILABLE


3.1769 BRIDGEWATER, GARY                        VARIOUS                              Litigation              UNDETERMINED
       P O BOX 388
       COTATI, CA 94931             ACCOUNT NO.: NOT AVAILABLE


3.1770 BRIERLY, MARY                            VARIOUS                              Litigation              UNDETERMINED
       4618 HERON LAKES DRIVE
       STOCKTON, CA 95219           ACCOUNT NO.: NOT AVAILABLE


3.1771 BRIF, TATIANA                            VARIOUS                              Litigation              UNDETERMINED
       23254 CURRIER DR
       TRACY, CA 95304              ACCOUNT NO.: NOT AVAILABLE


3.1772 BRIGHT DAWN INSTITUTE INC-               VARIOUS                              Litigation              UNDETERMINED
       KUBOSE, ADRIENNE
       28372 MARGARET ROAD          ACCOUNT NO.: NOT AVAILABLE
       COARSEGOLD, CA 93614


3.1773 BRIGHT, CANDICE                          VARIOUS                              Litigation              UNDETERMINED
       3707 YACHT DR
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.1774 BRIGNETTI, CHRIS                         VARIOUS                              Litigation              UNDETERMINED
       709 TAMARACK DR
       SAN RAFAEL, CA 94903         ACCOUNT NO.: NOT AVAILABLE


3.1775 BRILLIANT, MELISSA                       VARIOUS                              Litigation              UNDETERMINED
       678 20TH AVE
       SAN FRANCISCO, CA            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1776 BRINDIS, ANTHONY                         VARIOUS                              Litigation              UNDETERMINED
       1138 RUTH DR.
       SAN JOSE, CA 95125           ACCOUNT NO.: NOT AVAILABLE


3.1777 BRINDLE, PATRICK                         VARIOUS                              Litigation              UNDETERMINED
       1167 RAYMOND DRIVE
       PACHECO, CA 94553            ACCOUNT NO.: NOT AVAILABLE


3.1778 BRINGHURST, KENNETH                      VARIOUS                              Litigation              UNDETERMINED
       1166 CARR AVE
       SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE


3.1779 BRINGOLF, BRYAN                          VARIOUS                              Litigation              UNDETERMINED
       335 BRESEE PL
       GRASS VALLEY, CA 95945       ACCOUNT NO.: NOT AVAILABLE


3.1780 BRINK, THOMAS                            VARIOUS                              Litigation              UNDETERMINED
       7417 TWIN ACRE WAY
       SACRAMENTO, CA 95829         ACCOUNT NO.: NOT AVAILABLE


3.1781 BRINTON, WILLIAM AND                     VARIOUS                              Litigation              UNDETERMINED
       GERALDINE
       19201 HIGHWAY 12             ACCOUNT NO.: NOT AVAILABLE
       SUITE 402
       SONOMA, CA 95476


3.1782 BRIONES, JOSE                            VARIOUS                              Litigation              UNDETERMINED
       11151 BAKER RD
       REDDING, CA 96003            ACCOUNT NO.: NOT AVAILABLE


3.1783 BRIONES, REYES                           VARIOUS                              Litigation              UNDETERMINED
       4494 ARCADIA AVENUE
       OAKLAND, CA 94602            ACCOUNT NO.: NOT AVAILABLE


3.1784 BRIONES, REYES                           VARIOUS                              Litigation              UNDETERMINED
       4494 ARCADIA AVENUE
       OAKLAND, CA 94602            ACCOUNT NO.: NOT AVAILABLE


3.1785 BRISCOE, KATIE                           VARIOUS                              Litigation              UNDETERMINED
       2713 5TH AVE
       SACRAMENTO, CA 95818         ACCOUNT NO.: NOT AVAILABLE


3.1786 BRISENO, DARA                            VARIOUS                              Litigation              UNDETERMINED
       546 E. GARLAND AVE
       FRESNO, CA 93704             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1787 BRISENO, LORENA                           VARIOUS                              Litigation              UNDETERMINED
       6486 PALO VERDE RD
       CASTRO VALLEY, CA 94552       ACCOUNT NO.: NOT AVAILABLE


3.1788 BRISTOW, PATRICIA                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 44
       BYRON, CA 94514               ACCOUNT NO.: NOT AVAILABLE


3.1789 BRITTON, CHRIS                            VARIOUS                              Litigation              UNDETERMINED
       P O BOX 454
       STORYBROOK COURT              ACCOUNT NO.: NOT AVAILABLE
       GRISSLY FLATS, CA 95636


3.1790 BROADHEAD, SETH                           VARIOUS                              Litigation              UNDETERMINED
       603 LYDING LANE
       SEBASTOPOL, CA 95472          ACCOUNT NO.: NOT AVAILABLE


3.1791 BROBECK, BILL                             VARIOUS                              Litigation              UNDETERMINED
       1125 BOLLINGER CANYON ROAD
       MORAGA, CA 94556              ACCOUNT NO.: NOT AVAILABLE


3.1792 BROCK, ELDON & DONLENE                    VARIOUS                              Litigation              UNDETERMINED
       4 CACHUMA VILLAGE
       SANTA BARBARA, CA 93105       ACCOUNT NO.: NOT AVAILABLE


3.1793 BROCK, HEATHER                            VARIOUS                              Litigation              UNDETERMINED
       102 BRETANO WAY
       GREENBRAE, CA 94904           ACCOUNT NO.: NOT AVAILABLE


3.1794 BROCKER, TRENT                            VARIOUS                              Litigation              UNDETERMINED
       1591 170TH AVE
       HAYWARD, CA 94541             ACCOUNT NO.: NOT AVAILABLE


3.1795 BROCKFIELD, MIKE                          VARIOUS                              Litigation              UNDETERMINED
       10285 STARR RD
       WINDSOR, CA 95492             ACCOUNT NO.: NOT AVAILABLE


3.1796 BROCKHOFF, LIBBY                          VARIOUS                              Litigation              UNDETERMINED
       32 PLAZA DRIVE
       MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE


3.1797 BROD, GREGOR                              VARIOUS                              Litigation              UNDETERMINED
       80 UPPER BRIAR ROAD
       KENTFIELD, CA 94904           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1798 BRODDIE, RICHARD                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 985
       TWAIN HARTE, CA 95383         ACCOUNT NO.: NOT AVAILABLE


3.1799 BROKEN ARROW                             VARIOUS                              Litigation              UNDETERMINED
       COMMUNICATIONS
       4970 ALLISON PKWY #B          ACCOUNT NO.: NOT AVAILABLE
       8330 ENTERPRISE DRIVE
       VACAVILLE, CA 95688


3.1800 BRONER, SANDRA                           VARIOUS                              Litigation              UNDETERMINED
       450 E STRAWBERRY DR APT 25
       MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE


3.1801 BROOKEY, GEORGE                          VARIOUS                              Litigation              UNDETERMINED
       35937 RUTH HILL ROAD
       SQUAW VALLEY, CA 93675        ACCOUNT NO.: NOT AVAILABLE


3.1802 BROOKMAN, ROBERT                         VARIOUS                              Litigation              UNDETERMINED
       1082 MISSION ROAD
       PEBBLE BEACH, CA 93953        ACCOUNT NO.: NOT AVAILABLE


3.1803 BROOKS, CAMILLE                          VARIOUS                              Litigation              UNDETERMINED
       405 WOODHAVEN PL
       WEST SACRAMENTO, CA 95605     ACCOUNT NO.: NOT AVAILABLE


3.1804 BROOKS, GERALD                           VARIOUS                              Litigation              UNDETERMINED
       2801 HOLLY HILLS LN
       CAMERON PARK, CA 95682        ACCOUNT NO.: NOT AVAILABLE


3.1805 BROOKS, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       21886 RUSSIAN RIVER DRIVE
       SONORA, CA 95370              ACCOUNT NO.: NOT AVAILABLE


3.1806 BROOKS, KRISTA                           VARIOUS                              Litigation              UNDETERMINED
       3811 MADERA WAY
       SAN BRUNO, CA 94066           ACCOUNT NO.: NOT AVAILABLE


3.1807 BROOKS, MISTY                            VARIOUS                              Litigation              UNDETERMINED
       P.O BOX 981161
       16814 STATE HIGHWAY 160 #27   ACCOUNT NO.: NOT AVAILABLE
       RIO VISTA, CA 94511


3.1808 BROOKS, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
       5 WINDMERE LN
       APTOS, CA 95003               ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1809 BROOKWOOD, JOHNNIE                       VARIOUS                              Litigation              UNDETERMINED
       700 SHADY GLEN RD
       SPACE 42A                    ACCOUNT NO.: NOT AVAILABLE
       VACAVILLE, CA 95688


3.1810 BROONER, ANN                             VARIOUS                              Litigation              UNDETERMINED
       1538 WEST 7TH ST
       BENICIA, CA 94510            ACCOUNT NO.: NOT AVAILABLE


3.1811 BROS, BIAGI                              VARIOUS                              Litigation              UNDETERMINED
       787 AIRPARK ROAD
       ATTN. NEAL LAWRENCE          ACCOUNT NO.: NOT AVAILABLE
       AMERICAN CANYON, CA 94503


3.1812 BROSAMLE, KATHARINE                      VARIOUS                              Litigation              UNDETERMINED
       3945 THACHER ROAD
       2631 N HOOVER WAY            ACCOUNT NO.: NOT AVAILABLE
       WAWONA, CA 95389


3.1813 BROSE, JAMES                             VARIOUS                              Litigation              UNDETERMINED
       609 BRISTOL CT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.1814 BROUGHTON, MARK                          VARIOUS                              Litigation              UNDETERMINED
       6970 BLACKDUCK WAY
       SACRAMENTO, CA 95842         ACCOUNT NO.: NOT AVAILABLE


3.1815 BROUWER, FRANKIE                         VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 506
       MONTE RIO, CA 95462          ACCOUNT NO.: NOT AVAILABLE


3.1816 BROUWER, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       2112 ARTHUR AVENUE
       BELMONT, CA 94002            ACCOUNT NO.: NOT AVAILABLE


3.1817 BROWARD, JENNIFER                        VARIOUS                              Litigation              UNDETERMINED
       103 CASA LINDA DRIVE
       CA 95695                     ACCOUNT NO.: NOT AVAILABLE


3.1818 BROWN CALDWELL, JANET                    VARIOUS                              Litigation              UNDETERMINED
       23033 TOKAYANA WAY
       COLFAX, CA 95713             ACCOUNT NO.: NOT AVAILABLE


3.1819 BROWN, ALBERT                            VARIOUS                              Litigation              UNDETERMINED
       940 BARKLEY CT.
       PINOLE, CA 94564             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.1820 BROWN, ANDRA                              VARIOUS                              Litigation              UNDETERMINED
       9350 GOVERNMENT STREET #12
       UPPER LAKE, CA 95485          ACCOUNT NO.: NOT AVAILABLE


3.1821 BROWN, ANN                                VARIOUS                              Litigation              UNDETERMINED
       6028 ALBION LITTLE RIVER RD
       LITTLE RIVER, CA 95456        ACCOUNT NO.: NOT AVAILABLE


3.1822 BROWN, BARBARA                            VARIOUS                              Litigation              UNDETERMINED
       573 SWANTON RD
       DAVENPORT, CA 95017           ACCOUNT NO.: NOT AVAILABLE


3.1823 BROWN, BEVERLEY                           VARIOUS                              Litigation              UNDETERMINED
       412 EL PORTAL DRIVE
       SHELL BEACH, CA 93449         ACCOUNT NO.: NOT AVAILABLE


3.1824 BROWN, BRYAN                              VARIOUS                              Litigation              UNDETERMINED
       2300 PICTORIA DRIVE
       BAKERSFIELD, CA 93306         ACCOUNT NO.: NOT AVAILABLE


3.1825 BROWN, CANDACE                            VARIOUS                              Litigation              UNDETERMINED
       11080 PALOMINO CT.
       AUBURN, CA 95603              ACCOUNT NO.: NOT AVAILABLE


3.1826 BROWN, CARL                               VARIOUS                              Litigation              UNDETERMINED
       2109 W. BULLARD, SUITE 121
       FRESNO, CA 93711              ACCOUNT NO.: NOT AVAILABLE


3.1827 BROWN, CIENNA                             VARIOUS                              Litigation              UNDETERMINED
       P.O.BOX 632
       PINE GROVE, CA 95665          ACCOUNT NO.: NOT AVAILABLE


3.1828 BROWN, CYNTHIA                            VARIOUS                              Litigation              UNDETERMINED
       CA 0
                                     ACCOUNT NO.: NOT AVAILABLE


3.1829 BROWN, DANEVE                             VARIOUS                              Litigation              UNDETERMINED
       4361 EL DORADO RD
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.1830 BROWN, DARIO/DENISSE                      VARIOUS                              Litigation              UNDETERMINED
       4643 RISHELL CT
       CONCORD, CA 94521             ACCOUNT NO.: NOT AVAILABLE


3.1831 BROWN, DAVID                              VARIOUS                              Litigation              UNDETERMINED
       2962 SALLY COURT
       SANTA CLARA, CA 95051         ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.1832 BROWN, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       2780 ALDER DR
       CAMINO, CA 95709             ACCOUNT NO.: NOT AVAILABLE


3.1833 BROWN, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       1951 KING OF THE MOUNTAIN
       RD                           ACCOUNT NO.: NOT AVAILABLE
       POLLOCK PINES, CA 95726


3.1834 BROWN, DESIREE                           VARIOUS                              Litigation              UNDETERMINED
       24436 DAPPLE GREY LANE
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.1835 BROWN, DUANE                             VARIOUS                              Litigation              UNDETERMINED
       559 16TH ST
       402                          ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94612


3.1836 BROWN, ELISSA                            VARIOUS                              Litigation              UNDETERMINED
       32485 ROAD 228
       NORTHFORK, CA                ACCOUNT NO.: NOT AVAILABLE


3.1837 BROWN, GRETCHEN                          VARIOUS                              Litigation              UNDETERMINED
       11120 LAKE BLVD
       FELTON, CA 95018             ACCOUNT NO.: NOT AVAILABLE


3.1838 BROWN, JACKIE                            VARIOUS                              Litigation              UNDETERMINED
       50913 CEDAR RIDGE CIRCLE N
       OAKHURST, CA 93644           ACCOUNT NO.: NOT AVAILABLE


3.1839 BROWN, JAMES                             VARIOUS                              Litigation              UNDETERMINED
       711 SUNSET DR
       PARADISE, CA 95969           ACCOUNT NO.: NOT AVAILABLE


3.1840 BROWN, JAMIE                             VARIOUS                              Litigation              UNDETERMINED
       131 LU RAY DRIVE
       LOS GATOS, CA 95032          ACCOUNT NO.: NOT AVAILABLE


3.1841 BROWN, JEANETTE                          VARIOUS                              Litigation              UNDETERMINED
       P.O.BOX 3122
       MOSS BEACH, CA 94038         ACCOUNT NO.: NOT AVAILABLE


3.1842 BROWN, JUDY                              VARIOUS                              Litigation              UNDETERMINED
       1421 HOAG AVE
       SANGER, CA 93657             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1843 BROWN, KAREN                             VARIOUS                              Litigation              UNDETERMINED
       1284 W SHAW AVE STE 101
       1163 HIGHWAY 41              ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93711


3.1844 BROWN, KELLIN                            VARIOUS                              Litigation              UNDETERMINED
       17590 WINTERHAVEN RD.
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.1845 BROWN, KRISTEN                           VARIOUS                              Litigation              UNDETERMINED
       16725 BUNNY LN
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.1846 BROWN, MARLENE                           VARIOUS                              Litigation              UNDETERMINED
       1830 NOMARK COURT
       SAN JOSE, CA 95125           ACCOUNT NO.: NOT AVAILABLE


3.1847 BROWN, MARY                              VARIOUS                              Litigation              UNDETERMINED
       5463 KATHY WAY
       LIVERMORE, CA 94550          ACCOUNT NO.: NOT AVAILABLE


3.1848 BROWN, MAURICE                           VARIOUS                              Litigation              UNDETERMINED
       3640 BUENA VISTA DR
       SHINGLE SPRINGS, CA 95682    ACCOUNT NO.: NOT AVAILABLE


3.1849 BROWN, MILLIE                            VARIOUS                              Litigation              UNDETERMINED
       1140 N CEDAR ST
       APT 2                        ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95926


3.1850 BROWN, MIRIAM                            VARIOUS                              Litigation              UNDETERMINED
       3838 LAKESHORE BLVD
       NICE, CA 95464               ACCOUNT NO.: NOT AVAILABLE


3.1851 BROWN, RACHELLE                          VARIOUS                              Litigation              UNDETERMINED
       185 NEY ST
       SAN FRANCISCO, CA 94112      ACCOUNT NO.: NOT AVAILABLE


3.1852 BROWN, RAY                               VARIOUS                              Litigation              UNDETERMINED
       5960 LAIRD RD
       LOOMIS, CA 95650             ACCOUNT NO.: NOT AVAILABLE


3.1853 BROWN, RAYNA                             VARIOUS                              Litigation              UNDETERMINED
       994 MENLO AVENUE
       MENLO PARK, CA 94025         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1854 BROWN, REBECCA                            VARIOUS                              Litigation              UNDETERMINED
       19387 PONDEROSA DRIVE
       PIONEER, CA 95666             ACCOUNT NO.: NOT AVAILABLE


3.1855 BROWN, ROBERT                             VARIOUS                              Litigation              UNDETERMINED
       3214 SUNSET LANE
       ANTIOCH, CA 94509             ACCOUNT NO.: NOT AVAILABLE


3.1856 BROWN, SEPTEMBER                          VARIOUS                              Litigation              UNDETERMINED
       6967 WOODPECKER LANE
       SHINGLETOWN, CA 96088         ACCOUNT NO.: NOT AVAILABLE


3.1857 BROWN, SHERRY                             VARIOUS                              Litigation              UNDETERMINED
       9 EDITH CT
       NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.1858 BROWN, STEVE                              VARIOUS                              Litigation              UNDETERMINED
       10550 WOODSIDE DR.
       FORESTVILLE, CA 95436         ACCOUNT NO.: NOT AVAILABLE


3.1859 BROWN, TABITHA                            VARIOUS                              Litigation              UNDETERMINED
       1084 LIGHTHOUSE AVE
       PACIFIC GROVE, CA 93950       ACCOUNT NO.: NOT AVAILABLE


3.1860 BROWN, TERRI                              VARIOUS                              Litigation              UNDETERMINED
       6278 PURPLE HILLS DRIVE
       SAN JOSE, CA 95119            ACCOUNT NO.: NOT AVAILABLE


3.1861 BROWN, TEYA                               VARIOUS                              Litigation              UNDETERMINED
       1700 MENDOCINO ST.
       RICHMOND, CA 94804            ACCOUNT NO.: NOT AVAILABLE


3.1862 BROWNE, LAURIE                            VARIOUS                              Litigation              UNDETERMINED
       4050 BUSKE HILL DRIVE
       UKIAH, CA 95482               ACCOUNT NO.: NOT AVAILABLE


3.1863 BROWNE, PAULA                             VARIOUS                              Litigation              UNDETERMINED
       765 GLENHAVEN PL
       NIPOMO, CA 93444              ACCOUNT NO.: NOT AVAILABLE


3.1864 BROWNELL, ROGER                           VARIOUS                              Litigation              UNDETERMINED
       2039 WINDWARD POINT
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.1865 BROWNING CONTRACTORS INC-                VARIOUS                              Litigation              UNDETERMINED
       ACREE, HEATHER
       2914 N ARGYLE AVE            ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93727


3.1866 BROWNING CONTRACTORS INC-                VARIOUS                              Litigation              UNDETERMINED
       ACREE, HEATHER
       2914 N ARGYLE AVE            ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93727


3.1867 BROWNING CONTRACTORS INC-                VARIOUS                              Litigation              UNDETERMINED
       ACREE, HEATHER
       2914 N ARGYLE AVE            ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93727


3.1868 BROWNING CONTRACTORS INC-                VARIOUS                              Litigation              UNDETERMINED
       ACREE, HEATHER
       2914 N ARGYLE AVE            ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93727


3.1869 BROWNING CONTRACTORS INC-                VARIOUS                              Litigation              UNDETERMINED
       ACREE, HEATHER
       2914 N ARGYLE AVE            ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93727


3.1870 BROWNING CONTRACTORS,                    VARIOUS                              Litigation              UNDETERMINED
       INC.-JOHNSON, TARAH
       2914 N. ARGYLE AVE.          ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93727


3.1871 BROWNING CONTRACTORS,                    VARIOUS                              Litigation              UNDETERMINED
       INC.-JOHNSON, TARAH
       2914 N. ARGYLE AVE.          ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93727


3.1872 BROWNING CONTRACTORS,                    VARIOUS                              Litigation              UNDETERMINED
       INC.-JOHNSON, TARAH
       2914 N. ARGYLE AVE.          ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93727


3.1873 BROWNING CONTRACTORS,                    VARIOUS                              Litigation              UNDETERMINED
       INC.-JOHNSON, TARAH
       2914 N. ARGYLE AVE.          ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93727


3.1874 BROWNING CONTRACTORS,                    VARIOUS                              Litigation              UNDETERMINED
       INC.-JOHNSON, TARAH
       2914 N. ARGYLE AVE.          ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93727


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Litigation & Disputes

3.1875 BROWNING, DARLA                          VARIOUS                              Litigation              UNDETERMINED
       15615 CHARTER OAK BLVD
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.1876 BROWNING, DARLA                          VARIOUS                              Litigation              UNDETERMINED
       15615 CHARTER OAK BLV
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.1877 BROWNING, MICHELE                        VARIOUS                              Litigation              UNDETERMINED
       1432 SOLANO DR.
       SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE


3.1878 BRUBECK, ALAN                            VARIOUS                              Litigation              UNDETERMINED
       2220 WALNUT STREET
       SUTTER, CA 95982             ACCOUNT NO.: NOT AVAILABLE


3.1879 BRUCE FRITZ, NANCY FRITZ                 VARIOUS                              Litigation              UNDETERMINED
       BOBBY THOMPSON
       708 AIRPORT BLVD             ACCOUNT NO.: NOT AVAILABLE
       SUITE 168
       BURLINGAME, CA 94010


3.1880 BRUCE FRITZ, NANCY FRITZ                 VARIOUS                              Litigation              UNDETERMINED
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ          ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.1881 BRUCE, BARBARA                           VARIOUS                              Litigation              UNDETERMINED
       50322 RD 20
       O'NEALS, CA 93645            ACCOUNT NO.: NOT AVAILABLE


3.1882 BRUCE, DALE                              VARIOUS                              Litigation              UNDETERMINED
       1727 11TH ST
       LOS OSOS, CA 93402           ACCOUNT NO.: NOT AVAILABLE


3.1883 BRUCE, JASON                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 288
       14356 E LIBERTY ROAD         ACCOUNT NO.: NOT AVAILABLE
       GALT, CA 95237


3.1884 BRUCE, JOHN                              VARIOUS                              Litigation              UNDETERMINED
       5394 TIP TOP ROAD
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE


3.1885 BRUCE, JOYCE                             VARIOUS                              Litigation              UNDETERMINED
       720 TATUM AVE.
       GILROY, CA 95020             ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.1886 BRUGALETTA, JOHN & LESLIE                VARIOUS                              Litigation              UNDETERMINED
       1751 KIT CARSON CIRCLE
       1053 CATALPA WAY, PETALUMA,   ACCOUNT NO.: NOT AVAILABLE
       CA., 94954
       ARNOLD, CA 95223


3.1887 BRUGGEMAN, MATTHEW                       VARIOUS                              Litigation              UNDETERMINED
       PO BOX 502
       MI WUK VILLLAGE, CA 95346     ACCOUNT NO.: NOT AVAILABLE


3.1888 BRUINGTON, PATTY                         VARIOUS                              Litigation              UNDETERMINED
       6834 TUSTIN RD
       PRUNEDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.1889 BRUMBAUGH/FARMERS, DORIAN            VARIOUS                                  Litigation              UNDETERMINED
       P.O. BOX 268992
       OKLAHOMA CITY, CA 73126-8892 ACCOUNT NO.: NOT AVAILABLE


3.1890 BRUMFIELD, EDGAR                         VARIOUS                              Litigation              UNDETERMINED
       5021 WARM SPRINGS RD
       GLEN ELLEN, CA 95442          ACCOUNT NO.: NOT AVAILABLE


3.1891 BRUMFIELD, PAUL                          VARIOUS                              Litigation              UNDETERMINED
       24764 STATE HIGHWAY 49
       AUBURN, CA 95602              ACCOUNT NO.: NOT AVAILABLE


3.1892 BRUNER JR., GEORGE                       VARIOUS                              Litigation              UNDETERMINED
       PO BOX 173
       NICE, CA 95464                ACCOUNT NO.: NOT AVAILABLE


3.1893 BRUNETTI, BATTISTA                       VARIOUS                              Litigation              UNDETERMINED
       4615 HARBORD DRIVE
       OAKLAND, CA 94618             ACCOUNT NO.: NOT AVAILABLE


3.1894 BRUNO, JOSE ANTONIO                      VARIOUS                              Litigation              UNDETERMINED
       2034 N MAIN ST APT 5
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.1895 BRUSCHI, MAURO                           VARIOUS                              Litigation              UNDETERMINED
       1404 LINCOLN AVE
       BURLINGAME, CA 94010          ACCOUNT NO.: NOT AVAILABLE


3.1896 BRYANT, IRENE                            VARIOUS                              Litigation              UNDETERMINED
       P.O,.BOX 74
       FERNDALE, CA 95536            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1897 BRYCE, ALAN                              VARIOUS                              Litigation              UNDETERMINED
       2855 STATE HIGHWAY 49 SOUTH
       MARIPOSA, CA 95338            ACCOUNT NO.: NOT AVAILABLE


3.1898 BRYCE, MARK                              VARIOUS                              Litigation              UNDETERMINED
       1713 BROMPTON ST
       PETALUMA, CA 94954            ACCOUNT NO.: NOT AVAILABLE


3.1899 BRYON, TAMSEN                            VARIOUS                              Litigation              UNDETERMINED
       7001 LA MESA LN
       SOMERSET, CA 95684            ACCOUNT NO.: NOT AVAILABLE


3.1900 BRYSON, LARRY                            VARIOUS                              Litigation              UNDETERMINED
       450 SUTTER SUITE 1723
       SAN FRANCISCO, CA 94108       ACCOUNT NO.: NOT AVAILABLE


3.1901 BUBAR, SHANNON                           VARIOUS                              Litigation              UNDETERMINED
       100 REVERE CT.
       VACAVILLE, CA 95687           ACCOUNT NO.: NOT AVAILABLE


3.1902 BUCHANAN AUTO ELECTRIC-                  VARIOUS                              Litigation              UNDETERMINED
       ANDREOTTI, JARED
       2300 MANDELA PKWY             ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94607


3.1903 BUCHANAN, JUSTIN                         VARIOUS                              Litigation              UNDETERMINED
       4800 NORDIC DR.
       APT B                         ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93309


3.1904 BUCHANAN, JUSTIN                         VARIOUS                              Litigation              UNDETERMINED
       3626 BOSWELLIA DR.
       BAKERSFIELD, CA 93311         ACCOUNT NO.: NOT AVAILABLE


3.1905 BUCHANAN, WILLIAM                        VARIOUS                              Litigation              UNDETERMINED
       6380 SADDLE TRL
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


3.1906 BUCHE, MARY                              VARIOUS                              Litigation              UNDETERMINED
       28620 HERRING CREEK LANE
       P.O. BOX 1280, PINECREST      ACCOUNT NO.: NOT AVAILABLE
       STRAWBERRY, CA 95364


3.1907 BUCK, ELYSIA                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 211
       AMADOR CITY, CA 95601         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.1908 BUCKELS, CHRISTOPHER                     VARIOUS                              Litigation              UNDETERMINED
       39 APPIAN WAY
       UNIT D                       ACCOUNT NO.: NOT AVAILABLE
       SOUTH SAN FRANCISCO, CA
       94080


3.1909 BUCKLEY, MARINA                          VARIOUS                              Litigation              UNDETERMINED
       1808 CARVER ST
       BAKERSFIELD, CA 93307        ACCOUNT NO.: NOT AVAILABLE


3.1910 BUCKNER, WILL                            VARIOUS                              Litigation              UNDETERMINED
       LAW OFFICES OF STEVEN D.
       HOFFMAN                      ACCOUNT NO.: NOT AVAILABLE
       563 SOUTH MURPHY AVE.
       AVE., SUNNYVALE, CA 94086


3.1911 BUCNYTE, JOLITA                          VARIOUS                              Litigation              UNDETERMINED
       P.O.BOX 6443
       CARMEL, CA 93921             ACCOUNT NO.: NOT AVAILABLE


3.1912 BUDDERMAN, MARVIN                        VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 515
       AMADOR CITY, CA 95601        ACCOUNT NO.: NOT AVAILABLE


3.1913 BUDINKO, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 462
       7401 SPRING VALLEY ROAD      ACCOUNT NO.: NOT AVAILABLE
       POLLOCK PINES, CA 95726


3.1914 BUECHLER, ANEL                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 571
       COBB, CA 95426               ACCOUNT NO.: NOT AVAILABLE


3.1915 BUENA LANE PARTNERS &                    VARIOUS                              Litigation              UNDETERMINED
       BLUESTEM BRASSERIE, ADAM
       JED                          ACCOUNT NO.: NOT AVAILABLE
       1 YERBA BUENA LANE
       SAN FRANCISCO, CA 94103


3.1916 BUENA VISTA ENERGY, LLC-                 VARIOUS                              Litigation              UNDETERMINED
       MADDOCK, BRYAN
       6688 N. CENTRAL EXPY         ACCOUNT NO.: NOT AVAILABLE
       500
       DALLAS, CA 75206


3.1917 BUENO, MONICA                            VARIOUS                              Litigation              UNDETERMINED
       4500 CHAFFIN RD
       MCKINLEYVILLE, CA 95519      ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.1918 BUENROSTRO, ALMA                          VARIOUS                              Litigation              UNDETERMINED
       4614 MARTIN AVE
       SANTA MARIA, CA 93455         ACCOUNT NO.: NOT AVAILABLE


3.1919 BUI, THE                                  VARIOUS                              Litigation              UNDETERMINED
       4984 PAGE MILL DR
       SAN JOSE, CA 95111            ACCOUNT NO.: NOT AVAILABLE


3.1920 BULL, NICOLE                              VARIOUS                              Litigation              UNDETERMINED
       16917 SANTA BARBARA DR
       REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.1921 BULLARD, LINDA                            VARIOUS                              Litigation              UNDETERMINED
       101 MADRONE AVE
       LARKSPUR, CA 94939            ACCOUNT NO.: NOT AVAILABLE


3.1922 BULLETSET, THOMAS                         VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1883
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.1923 BULLOCK, KRISTINA                         VARIOUS                              Litigation              UNDETERMINED
       19811 ALMADEN ROAD
       SAN JOSE, CA 95120            ACCOUNT NO.: NOT AVAILABLE


3.1924 BUNCH, LINDA                              VARIOUS                              Litigation              UNDETERMINED
       38 E ACACIA ST
       SALINAS, CA 93901             ACCOUNT NO.: NOT AVAILABLE


3.1925 BUNDOO KHAN, SHABANA                      VARIOUS                              Litigation              UNDETERMINED
       HAKIM
       3915 WASHINGTON BLVD          ACCOUNT NO.: NOT AVAILABLE
       FREMONT, CA 94538


3.1926 BUONA TAVOLA-FABBRETTI,                   VARIOUS                              Litigation              UNDETERMINED
       ANDREA
       1037 MONTEREY STREET          ACCOUNT NO.: NOT AVAILABLE
       SAN LUIS OBISPO, CA 93401


3.1927 BUONO, AMY                                VARIOUS                              Litigation              UNDETERMINED
       19914 OLD OREGON TRL N
       REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.1928 BURANIS, JEREMY                    VARIOUS                                     Litigation              UNDETERMINED
       PO BOX 24
       MONTGOMERY CREEK, CA 96065 ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.1929 BURBANK HOUSING                          VARIOUS                              Litigation              UNDETERMINED
       MANAGEMENT-STRIBLING,
       SANDRA                       ACCOUNT NO.: NOT AVAILABLE
       790 SONOMA AVE
       SANTA ROSA, CA 95404


3.1930 BURCH, JOE                               VARIOUS                              Litigation              UNDETERMINED
       185 S 15TH ST
       SAN JOSE, CA 95112           ACCOUNT NO.: NOT AVAILABLE


3.1931 BURCHENAL, JOSEPH                        VARIOUS                              Litigation              UNDETERMINED
       882 PRESIDIO AVE
       SAN FRANCISCO, CA 94115      ACCOUNT NO.: NOT AVAILABLE


3.1932 BURCHILL, MARK                           VARIOUS                              Litigation              UNDETERMINED
       2529 CABALLO COURT
       SANTA ROSA, CA 95401         ACCOUNT NO.: NOT AVAILABLE


3.1933 BURDEN, STEVEN                           VARIOUS                              Litigation              UNDETERMINED
       4030 MORA LANE
       PEBBLE BEACH, CA 93953       ACCOUNT NO.: NOT AVAILABLE


3.1934 BURDICK, MELISSA                         VARIOUS                              Litigation              UNDETERMINED
       8516 PARDINI PL
       VALLEY SPRINGS, CA 95252     ACCOUNT NO.: NOT AVAILABLE


3.1935 BURFORD RANCH                            VARIOUS                              Litigation              UNDETERMINED
       1443 W SAMPLE AVE
       FRESNO, CA 93711             ACCOUNT NO.: NOT AVAILABLE


3.1936 BURFORD RANCH, METER #                   VARIOUS                              Litigation              UNDETERMINED
       1009515943
       1443 W SAMPLE AVE            ACCOUNT NO.: NOT AVAILABLE
       NE NE NE 9 16 15
       FRESNO, CA 93711


3.1937 BURFORD RANCH, SW NE 9 16                VARIOUS                              Litigation              UNDETERMINED
       15
       1443 WEST SAMPLE AVENUE      ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93711


3.1938 BURFORD RANCH, SW NE 9 16                VARIOUS                              Litigation              UNDETERMINED
       15
       1443 WEST SAMPLE AVENUE      ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93711




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.1939 BURFORD RANCH, SW NE 9 16                VARIOUS                              Litigation              UNDETERMINED
       15
       1443 WEST SAMPLE AVENUE      ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93711


3.1940 BURGAN, JAMES                            VARIOUS                              Litigation              UNDETERMINED
       20135 HWY 26
       WEST POINT, CA 95255         ACCOUNT NO.: NOT AVAILABLE


3.1941 BURGER, ROBERT & MARY                    VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 336
       IGO, CA 96047                ACCOUNT NO.: NOT AVAILABLE


3.1942 BURGESS PEDIATRICS, TENANT-         VARIOUS                                   Litigation              UNDETERMINED
       BENAK, LAURA
       401 BURGESS DR              ACCOUNT NO.: NOT AVAILABLE
       STE B
       MENLO PARK, CA 94025


3.1943 BURGESS, HOLLY                           VARIOUS                              Litigation              UNDETERMINED
       16440 PLATEAU CIR
       REDDING, CA 96001            ACCOUNT NO.: NOT AVAILABLE


3.1944 BURGESS, JR., DONALD                     VARIOUS                              Litigation              UNDETERMINED
       50829 ROAD 220
       OAKHURST, CA 93644           ACCOUNT NO.: NOT AVAILABLE


3.1945 BURGESS, KENNETH & PATRICIA         VARIOUS                                   Litigation              UNDETERMINED
       2830 GREENWOOD AVE.
       MORRO BAY, CA 93442         ACCOUNT NO.: NOT AVAILABLE


3.1946 BURGESS, MONTY                           VARIOUS                              Litigation              UNDETERMINED
       88 E HOLLAND
       FRESNO, CA 93704             ACCOUNT NO.: NOT AVAILABLE


3.1947 BURGESS, ROXANE                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1111
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.1948 BURGESS, VICTORIA                        VARIOUS                              Litigation              UNDETERMINED
       1505 KIRKER PASS RD
       260                          ACCOUNT NO.: NOT AVAILABLE
       CONCORD, CA 94521


3.1949 BURGOS, RAMONA                           VARIOUS                              Litigation              UNDETERMINED
       255 E BOLOVAR STREET 88
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.1950 BURKE JR., RICHARD                       VARIOUS                              Litigation              UNDETERMINED
       6250 N. FRESNO STREET
       513 W. FEDORA                ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93710


3.1951 BURKE WOODWARD, EILEEN                   VARIOUS                              Litigation              UNDETERMINED
       369 STRAWBERRY CANYON RD
       ROYAL OAKS, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.1952 BURKE, ANDREA                            VARIOUS                              Litigation              UNDETERMINED
       1309 DRUID ISLE RD
       MAITLAND, CA 32751           ACCOUNT NO.: NOT AVAILABLE


3.1953 BURKE, EDNA                              VARIOUS                              Litigation              UNDETERMINED
       1381 PINON AVENUE
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.1954 BURKE, JAMES                             VARIOUS                              Litigation              UNDETERMINED
       998 VIA PALO ALTO
       APTOS, CA 95003              ACCOUNT NO.: NOT AVAILABLE


3.1955 BURKE, TERESA                            VARIOUS                              Litigation              UNDETERMINED
       13700 SANTA LUCIA ROAD
       ATASCADERO, CA 93422         ACCOUNT NO.: NOT AVAILABLE


3.1956 BURKE, ZANE                              VARIOUS                              Litigation              UNDETERMINED
       104 LILAC LN
       BREA, CA 92823               ACCOUNT NO.: NOT AVAILABLE


3.1957 BURKHART, SALLY                          VARIOUS                              Litigation              UNDETERMINED
       482 NOTTINGHAM WAY
       CAMPBELL, CA 95008           ACCOUNT NO.: NOT AVAILABLE


3.1958 BURLEIGH, KAITLIN                        VARIOUS                              Litigation              UNDETERMINED
       17230 LITTLE BIT LN
       COTTONWOOD, CA 96022         ACCOUNT NO.: NOT AVAILABLE


3.1959 BURLEY, CIARRA                           VARIOUS                              Litigation              UNDETERMINED
       9 EAGLE CREST ROAD
       OROVILLE, CA 95966           ACCOUNT NO.: NOT AVAILABLE


3.1960 BURLINGAME CHAMBER OF                    VARIOUS                              Litigation              UNDETERMINED
       COMMERCE, GEORGETTE
       BALOPIELOS                   ACCOUNT NO.: NOT AVAILABLE
       417 CALIFORNIA DRIVE
       BURLINGAME, CA 94010




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.1961 BURNAM, JENNIFER                          VARIOUS                              Litigation              UNDETERMINED
       1819 BUTTNER COURT
       PLEASANT HILL, CA 94523       ACCOUNT NO.: NOT AVAILABLE


3.1962 BURNETT, GUILLERMO                        VARIOUS                              Litigation              UNDETERMINED
       2424 BURLWOOD DR
       MODESTO, CA 95355             ACCOUNT NO.: NOT AVAILABLE


3.1963 BURNETT, LEE                              VARIOUS                              Litigation              UNDETERMINED
       2753 CORNELIUS DR
       SAN PABLO, CA 94806           ACCOUNT NO.: NOT AVAILABLE


3.1964 BURNETTE, RALPH                           VARIOUS                              Litigation              UNDETERMINED
       6105 FRIANT DRIVE
       BAKERSFIELD, CA 93309         ACCOUNT NO.: NOT AVAILABLE


3.1965 BURNEY, TRUDI AND RAY                     VARIOUS                              Litigation              UNDETERMINED
       13210 VIA MADRONAS DRIVE
       SARATOGA, CA 95070            ACCOUNT NO.: NOT AVAILABLE


3.1966 BURNEZKY, DEBRA                           VARIOUS                              Litigation              UNDETERMINED
       8814 A SODA BAY ROAD
       KELSEYVILLE, CA 95451         ACCOUNT NO.: NOT AVAILABLE


3.1967 BURNHAM, BONNIE                           VARIOUS                              Litigation              UNDETERMINED
       107 NORTHWOOD COMMONS
       PLACE                         ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95973


3.1968 BURNOR, PAMELA                            VARIOUS                              Litigation              UNDETERMINED
       2733 CORMORANT CT
       UNION CITY, CA 94587          ACCOUNT NO.: NOT AVAILABLE


3.1969 BURNS, DEXTER V. PG&E                     VARIOUS                              Litigation              UNDETERMINED
       593 ADELINE AVENUE
       SAN JOSE, CA 95136            ACCOUNT NO.: NOT AVAILABLE


3.1970 BURNS, DWAYNE                             VARIOUS                              Litigation              UNDETERMINED
       59511 CASCADEL DR
       NORTH FORK, CA 93643          ACCOUNT NO.: NOT AVAILABLE


3.1971 BURNS, JORDAN                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1030
       SEBASTOPOL, CA 95473          ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1972 BURNS, KATHY                             VARIOUS                              Litigation              UNDETERMINED
       6694 PALOVERDE RD
       CASTRO VALLEY, CA 94552      ACCOUNT NO.: NOT AVAILABLE


3.1973 BURNS, MIKE                              VARIOUS                              Litigation              UNDETERMINED
       290 E SAN MARTIN AVE
       SAN MARTIN, CA 95046         ACCOUNT NO.: NOT AVAILABLE


3.1974 BURNS, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       370 ARBOR ST
       SAN FRANCISCO, CA 94131      ACCOUNT NO.: NOT AVAILABLE


3.1975 BURROLA, LINDA                           VARIOUS                              Litigation              UNDETERMINED
       1872 RIVER RANCH DRIVE
       SANTA MARIA, CA 93454        ACCOUNT NO.: NOT AVAILABLE


3.1976 BURROUGHS, WILLIAM                       VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1663
       2091 RACOON TRAIL            ACCOUNT NO.: NOT AVAILABLE
       POLLOCK PINES, CA 95726


3.1977 BURROUS-SHARP, KATHRYN                   VARIOUS                              Litigation              UNDETERMINED
       330 PACHECO AVE
       SANTA CRUZ, CA 95062         ACCOUNT NO.: NOT AVAILABLE


3.1978 BURT, SHERYL                             VARIOUS                              Litigation              UNDETERMINED
       9 BRIDGEHAMPTON PLACE
       SACRAMENTO, CA 95835         ACCOUNT NO.: NOT AVAILABLE


3.1979 BURTON, CLARK                            VARIOUS                              Litigation              UNDETERMINED
       3928 LIGHTHOUSE PL
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.1980 BURTON, KENNETH                          VARIOUS                              Litigation              UNDETERMINED
       9760 N ALPINE RD
       STOCKTON, CA 95212           ACCOUNT NO.: NOT AVAILABLE


3.1981 BURTON, NOAH                             VARIOUS                              Litigation              UNDETERMINED
       15809 PIONEER CREEK ROAD
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.1982 BURTS, ANGELA                            VARIOUS                              Litigation              UNDETERMINED
       2222 W. HOLLAND AVE.
       FRESNO, CA 93705             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.1983 BUSCH, ANHEUSER                          VARIOUS                              Litigation              UNDETERMINED
       3101 BUSCH DR.
       ATTN. BEN RUTLEDGE           ACCOUNT NO.: NOT AVAILABLE
       FAIRFIELD, CA 94534


3.1984 BUSH, LORI                               VARIOUS                              Litigation              UNDETERMINED
       16911 EL RANCHO WAY
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.1985 BUSHNELL, DAVID                          VARIOUS                              Litigation              UNDETERMINED
       5255 DOUGLAS BLVD
       4485 SOUTH BREWER ROAD,      ACCOUNT NO.: NOT AVAILABLE
       PLEASANT GROVE
       GRANITE BAY, CA 95746


3.1986 BUSINESS PARK PLAZA-                     VARIOUS                              Litigation              UNDETERMINED
       BOYNTON, BUTCH
       5401 BUSINESS PARK SOUTH     ACCOUNT NO.: NOT AVAILABLE
       SUITE B
       BAKERSFIELD, CA 93309


3.1987 BUSKIRK, MAYNARD                         VARIOUS                              Litigation              UNDETERMINED
       2999 LAUGHLIN RD.
       WINDSOR, CA 95492            ACCOUNT NO.: NOT AVAILABLE


3.1988 BUSSINGER, ROBERT                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 221940
       CARMEL, CA 93922             ACCOUNT NO.: NOT AVAILABLE


3.1989 BUSTOS, CELIA                            VARIOUS                              Litigation              UNDETERMINED
       52 RIVER ROO ALPAINE #3
       GAONZALEZ, CA 93926          ACCOUNT NO.: NOT AVAILABLE


3.1990 BUSTOS, ROSE                             VARIOUS                              Litigation              UNDETERMINED
       133 OAKES BLVD
       SAN LEANDRO, CA 94577        ACCOUNT NO.: NOT AVAILABLE


3.1991 BUSUTTIL, LAURA                          VARIOUS                              Litigation              UNDETERMINED
       1681 PORTACOVE PLACE
       MANTECA, CA 95336            ACCOUNT NO.: NOT AVAILABLE


3.1992 BUSY BEE BOOKKEEPING-                    VARIOUS                              Litigation              UNDETERMINED
       GUTIERREZ, YOLANDA
       2230 DRACENA STREET          ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93304


3.1993 BUTCHER, MATILENE                        VARIOUS                              Litigation              UNDETERMINED
       5490 CRITTENDEN ST
       OAKLAND, CA 94601            ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.1994 BUTHMANN, REX                             VARIOUS                              Litigation              UNDETERMINED
       20094 & 22078 TUOLUMNE ROAD
       TWAIN HARTE, CA 95376         ACCOUNT NO.: NOT AVAILABLE


3.1995 BUTLER WILSON, CORY                       VARIOUS                              Litigation              UNDETERMINED
       2079 CALDER COURT
       FAIRFIELD, CA 94533           ACCOUNT NO.: NOT AVAILABLE


3.1996 BUTLER, DIANE & JIM                       VARIOUS                              Litigation              UNDETERMINED
       23799 MONTEREY SALINAS
       HIGHWAY #12                   ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93908


3.1997 BUTLER, JOHN                              VARIOUS                              Litigation              UNDETERMINED
       4128 SIERRA SPRINGS DR
       POLLOCK PINES, CA 95726       ACCOUNT NO.: NOT AVAILABLE


3.1998 BUTLER, MIKE                              VARIOUS                              Litigation              UNDETERMINED
       5575 HIGHWAY 49 N # B
       MARIPOSA, CA 95338            ACCOUNT NO.: NOT AVAILABLE


3.1999 BUTLER, RAMONA                            VARIOUS                              Litigation              UNDETERMINED
       182 WILLIAM WAY
       PITTSBURG, CA 94565-4859      ACCOUNT NO.: NOT AVAILABLE


3.2000 BUTLER, RUSSELL                           VARIOUS                              Litigation              UNDETERMINED
       19488 LITTLE VALLEY DRIVE
       COTTONWOOD, CA 96022          ACCOUNT NO.: NOT AVAILABLE


3.2001 BUTLER, SUSAN A                           VARIOUS                              Litigation              UNDETERMINED
       2875 HERMOSA CRT
       CAMINO, CA 95709              ACCOUNT NO.: NOT AVAILABLE


3.2002 BUTTERCUP GRILL AND BAR,                  VARIOUS                              Litigation              UNDETERMINED
       BEN SHAHVAR
       4301 CLAYTON ROAD             ACCOUNT NO.: NOT AVAILABLE
       CONCORD, CA 94521


3.2003 BUTTERWORTH, CHARLES                      VARIOUS                              Litigation              UNDETERMINED
       1620 MARILANN CT
       ARCATA, CA 95521              ACCOUNT NO.: NOT AVAILABLE


3.2004 BUTZBACH, CAROL                           VARIOUS                              Litigation              UNDETERMINED
       16100 QUAIL TRAIL
       CLEARLAKE OAKS, CA 95423      ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                           Claim

Litigation & Disputes

3.2005 BUZON, JUSTIN                            VARIOUS                              Litigation              UNDETERMINED
       175 WILD HORSE VALLEY ROAD
       NOVATO, CA 94947                ACCOUNT NO.: NOT AVAILABLE


3.2006 BUZZARD, GAIL/JANE                       VARIOUS                              Litigation              UNDETERMINED
       22340 GERALDINE CIRCLE
       SONORA, CA 95370                ACCOUNT NO.: NOT AVAILABLE


3.2007 BYAIS, MAYA                              VARIOUS                              Litigation              UNDETERMINED
       3425 FLEMING AVE
       RICHMOND, CA 94804              ACCOUNT NO.: NOT AVAILABLE


3.2008 BYERS, VAL                               VARIOUS                              Litigation              UNDETERMINED
       P O BOX 1471
       OAKHURST, CA 93644              ACCOUNT NO.: NOT AVAILABLE


3.2009 BYRNE, KATY                              VARIOUS                              Litigation              UNDETERMINED
       18490 RIVERSIDE DR
       SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.2010 BYRNE, KATY                              VARIOUS                              Litigation              UNDETERMINED
       18490 RIVERSIDE DR
       SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.2011 BYRNE, TRISH                             VARIOUS                              Litigation              UNDETERMINED
       2522 SHASTA RD
       CLEARLAKE OAKS, CA 95423        ACCOUNT NO.: NOT AVAILABLE


3.2012 BYRON INN CAFE-ROSE,                     VARIOUS                              Litigation              UNDETERMINED
       ROBERT
       16141 BYRON HWY                 ACCOUNT NO.: NOT AVAILABLE
       BYRON, CA 94514


3.2013 BYTE CAFE-RICHEY, MICHELLE               VARIOUS                              Litigation              UNDETERMINED
       6140 STONERIDGE MALL ROAD
       SUITE 155                       ACCOUNT NO.: NOT AVAILABLE
       PLEASANTON, CA 94588


3.2014 C R ENGLAND                              VARIOUS                              Litigation              UNDETERMINED
       4701 WEST 2100 SOUTH
       P.O. BOX 27728                  ACCOUNT NO.: NOT AVAILABLE
       SALT LAKE CITY, CA 84127-0728


3.2015 C. OVERAA & COMPANY                      VARIOUS                              Litigation              UNDETERMINED
       CLARK HILL LLP
       1055 WEST 7TH STREET            ACCOUNT NO.: NOT AVAILABLE
       24TH FLOOR
       LOS ANGELES, CA 90017


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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.2016 C. OVERAA & COMPANY                      VARIOUS                              Litigation              UNDETERMINED
       O'CONNOR THOMPSON
       MCDONOUGH KLOTSCHE LLP         ACCOUNT NO.: NOT AVAILABLE
       1999 HARRISON STREET
       SUITE 1700
       OAKLAND, CA 94612


3.2017 C. OVERAA & COMPANY                      VARIOUS                              Litigation              UNDETERMINED
       NIXON PEABODY LLP
       ONE EMBARACADERO CENTER        ACCOUNT NO.: NOT AVAILABLE
       32ND FLOOR
       SAN FRANCISCO, CA 94111


3.2018 C. OVERAA & COMPANY                      VARIOUS                              Litigation              UNDETERMINED
       LEONIDOU & ROSIN
       777 CUESTA DRIVE               ACCOUNT NO.: NOT AVAILABLE
       SUITE 200
       MOUNTAIN VIEW, CA 94040


3.2019 C. OVERAA & COMPANY                      VARIOUS                              Litigation              UNDETERMINED
       BURKE & KESSLER A
       PARTNERSHIP OF                 ACCOUNT NO.: NOT AVAILABLE
       PROFESSIONAL LAW
       CORPORATIONS
       11 EMBARCADERO WEST
       SUITE 230
       OAKLAND, CA 94607


3.2020 C. OVERAA & COMPANY                      VARIOUS                              Litigation              UNDETERMINED
       COLLINS COLLINS MUIR +
       STEWART LLP                    ACCOUNT NO.: NOT AVAILABLE
       745 UNIVERSITY AVENUE
       SACRAMENTO, CA 95825


3.2021 C. OVERAA & COMPANY                      VARIOUS                              Litigation              UNDETERMINED
       KEVIN M. CAPABLO
       940 MAIN CAMPUS DRIVE          ACCOUNT NO.: NOT AVAILABLE
       SUITE 2
       RALIEGH, NC 27606


3.2022 C. OVERAA & COMPANY                      VARIOUS                              Litigation              UNDETERMINED
       VARELA, LEE, METZ & GUARINO,
       LLP                            ACCOUNT NO.: NOT AVAILABLE
       333 BUSH STREET
       SUITE 1500
       SAN FRANCISCO, CA 94104


3.2023 C/O MOUNTAIN GATE RV PARK-               VARIOUS                              Litigation              UNDETERMINED
       DOTOLO, MARIA
       14161 HOLIDAY RD               ACCOUNT NO.: NOT AVAILABLE
       #73
       REDDING, CA 96003


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Litigation & Disputes

3.2024 C2R ENGINEERING, INC.                    VARIOUS                              Litigation              UNDETERMINED
       664 WILLOWGATE STREET
       MOUNTAIN VIEW, CA 94043      ACCOUNT NO.: NOT AVAILABLE


3.2025 CABALLERO, JOSEPH                        VARIOUS                              Litigation              UNDETERMINED
       14455 E JUNIPER AVE
       LOCKFORD, CA 95237           ACCOUNT NO.: NOT AVAILABLE


3.2026 CABANAS, JUSTIN                          VARIOUS                              Litigation              UNDETERMINED
       P O BOX 217
       101 G DOWNTOWN EXIT          ACCOUNT NO.: NOT AVAILABLE
       SANTA ROSA, CA 94931


3.2027 CABANERO/ATTY REP, ALICIA                VARIOUS                              Litigation              UNDETERMINED
       14721 SONORA RD
       OAKDALE, CA 95361            ACCOUNT NO.: NOT AVAILABLE


3.2028 CABRAL, HORTENCIA                        VARIOUS                              Litigation              UNDETERMINED
       3014 AMBER CANYON PLACE
       BAKERSFIELD, CA 93313        ACCOUNT NO.: NOT AVAILABLE


3.2029 CABRAL, KRISTEN                          VARIOUS                              Litigation              UNDETERMINED
       6900 FRONTIER RD
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.2030 CABRAL, MARK                             VARIOUS                              Litigation              UNDETERMINED
       10403 JALAPA WAY
       LA GRANGE, CA 95329          ACCOUNT NO.: NOT AVAILABLE


3.2031 CABRERA, CYNTHIA                         VARIOUS                              Litigation              UNDETERMINED
       1008 ELLIOT ST
       WEST SACRAMENTO, CA 95605    ACCOUNT NO.: NOT AVAILABLE


3.2032 CABRERA, DANIEL                          VARIOUS                              Litigation              UNDETERMINED
       2142 WHITSON ST #12
       SELMA, CA 93662              ACCOUNT NO.: NOT AVAILABLE


3.2033 CABRERA, JOSEFINA                        VARIOUS                              Litigation              UNDETERMINED
       184 TRINITY AVENUE
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.2034 CACAS, CAROLINE                          VARIOUS                              Litigation              UNDETERMINED
       2741 MERION DRIVE
       SAN BRUNO, CA 94066          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.2035 CACERES, MARLENE                         VARIOUS                              Litigation              UNDETERMINED
       170 SAGAMORE
       SAN FRANCISCO, CA 94112       ACCOUNT NO.: NOT AVAILABLE


3.2036 CADLE, SEVINA                            VARIOUS                              Litigation              UNDETERMINED
       2278 PEREZ ST
       261                           ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.2037 CAFE MONTEREY-KIM, HYUNKYU         VARIOUS                                    Litigation              UNDETERMINED
       980 FREMONT ST
       CAFE MONTEREY              ACCOUNT NO.: NOT AVAILABLE
       MONTEREY, CA 93940


3.2038 CAFE ROMA VENTURES, IVENE                VARIOUS                              Litigation              UNDETERMINED
       AZZOLLINI
       143 SOUTH EL CAMINO           ACCOUNT NO.: NOT AVAILABLE
       MILLBRAE, CA 94030


3.2039 CAFE SAUSALITOINC-                       VARIOUS                              Litigation              UNDETERMINED
       RUPERSINGAM, DAMMITH
       1000 BRIDEGWAY                ACCOUNT NO.: NOT AVAILABLE
       A
       SAUSALITO, CA 94965


3.2040 CAFE SPARROW INC-                        VARIOUS                              Litigation              UNDETERMINED
       MONTAGUE, ROBERT
       8042 SOQUEL DR # A            ACCOUNT NO.: NOT AVAILABLE
       APTOS, CA 95003


3.2041 CAFE, CITY LIGHTS                        VARIOUS                              Litigation              UNDETERMINED
       1515 TENNESSEE ST.
       VALLEJO, CA 94590             ACCOUNT NO.: NOT AVAILABLE


3.2042 CAFFE DELLE STELLE INC-                  VARIOUS                              Litigation              UNDETERMINED
       SBOLCI, ENRICO
       395 HAYES STREET              ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94102


3.2043 CAFFE ROMA-AZZOLLINI, IRENE              VARIOUS                              Litigation              UNDETERMINED
       885 BRYANT ST
       203                           ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94103


3.2044 CAGUIOA, MARCIAL                         VARIOUS                              Litigation              UNDETERMINED
       730 40TH STREET
       RICHMOND, CA 94805            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.2045 CAGWIN, GEORGE                            VARIOUS                              Litigation              UNDETERMINED
       457 RALSTON AVE
       MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE


3.2046 CAHILL, DENNIS & SHIRLEY                  VARIOUS                              Litigation              UNDETERMINED
       73 N. WILDERNESS DRIVE
       SANGER, CA 93657              ACCOUNT NO.: NOT AVAILABLE


3.2047 CAHILL, DENNIS & SHIRLEY                  VARIOUS                              Litigation              UNDETERMINED
       73 N. WILDERNESS DRIVE
       SANGER, CA 93657              ACCOUNT NO.: NOT AVAILABLE


3.2048 CAHILL, TIMOTHY                           VARIOUS                              Litigation              UNDETERMINED
       3681 SAND RIDGE ROAD
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.2049 CAI, JOYCE                                VARIOUS                              Litigation              UNDETERMINED
       5103 SUTCLIFF AVE
       SAN JOSE, CA 95118            ACCOUNT NO.: NOT AVAILABLE


3.2050 CAIN, ROGER                               VARIOUS                              Litigation              UNDETERMINED
       45 SCENIC VIEW DRIVE
       OROVILLE, CA 95965            ACCOUNT NO.: NOT AVAILABLE


3.2051 CAL FIRE                                  VARIOUS                              Litigation              UNDETERMINED
       PO BOX 080775
       WEST SACRAMENTO, CA           ACCOUNT NO.: NOT AVAILABLE


3.2052 CAL FIRE                                  VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 94424
       SACRAMENTO, CA 94244          ACCOUNT NO.: NOT AVAILABLE


3.2053 CAL FIRE                                  VARIOUS                              Litigation              UNDETERMINED
       1234 E. SHAW AVENUE
       FRESNO, CA 93710              ACCOUNT NO.: NOT AVAILABLE


3.2054 CAL FIRE                                  VARIOUS                              Litigation              UNDETERMINED
       1234 E. SHAW AVENUE
       FRESNO, CA 93710              ACCOUNT NO.: NOT AVAILABLE


3.2055 CAL FIRE                                  VARIOUS                              Litigation              UNDETERMINED
       1234 E. SHAW AVENUE
       FRESNO, CA 93710              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.2056 CAL POLY SWANTON PACIFIC                 VARIOUS                              Litigation              UNDETERMINED
       RANCH-AUTEN, STEVE
       125 SWANTON                   ACCOUNT NO.: NOT AVAILABLE
       DAVENPORT, CA 95017


3.2057 CAL TEX CATTLE CO. INC.,                 VARIOUS                              Litigation              UNDETERMINED
       LEONARD ROOT
       PO BOX 541                    ACCOUNT NO.: NOT AVAILABLE
       WEST OF PIEDRA, NORTHWEST
       OF SANGER
       SQUAW VALLEY, CA 93675


3.2058 CAL WATER-HEAVENSTON,                    VARIOUS                              Litigation              UNDETERMINED
       JOSH
       732 OLIVINA                   ACCOUNT NO.: NOT AVAILABLE
       LIVERMORE, CA 94550


3.2059 CALATLANTIC GROUP                        VARIOUS                              Litigation              UNDETERMINED
       COLLINS COLLINS MUIR AND
       STEWART LLP (ATTORNEYS        ACCOUNT NO.: NOT AVAILABLE
       FOR BERLOGAR, STEVENS &
       ASSOCIATES)
       1999 HARRISON STREET, SUITE
       1700
       CONCORD, CA 94612


3.2060 CALATLANTIC GROUP                        VARIOUS                              Litigation              UNDETERMINED
       WOOD SMITH HENNING &
       BERMAN LLP (ATTORNEYS FOR     ACCOUNT NO.: NOT AVAILABLE
       CALATLANTIC GROUP, INC.)
       1401 WILLOW PASS ROAD,
       SUITE 700
       CONCORD, CA 94520


3.2061 CALAUSTRO, TRACY                         VARIOUS                              Litigation              UNDETERMINED
       2426 BAY STREET
       3039 SPRUCE STREET            ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93301


3.2062 CALAVERAS POOL SERVICE-                  VARIOUS                              Litigation              UNDETERMINED
       LIMA, MIGUEL
       P.O. BOX 1628                 ACCOUNT NO.: NOT AVAILABLE
       475 FOOTHILL CT APT#1
       SAN ANDREAS, CA 95249


3.2063 CALCAGNO, LOUIS                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 62
       MOSS LANDING, CA 95039        ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2064 CALDERON, CAMERON                        VARIOUS                              Litigation              UNDETERMINED
       201 ACORN CT
       OAKLEY, CA 94561             ACCOUNT NO.: NOT AVAILABLE


3.2065 CALDERON, EDUARDO                        VARIOUS                              Litigation              UNDETERMINED
       1375 CHESTNUT HILL DR
       MANTECA, CA 95336            ACCOUNT NO.: NOT AVAILABLE


3.2066 CALDERON, LUIS                           VARIOUS                              Litigation              UNDETERMINED
       255 E BOLIVAR STREET
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.2067 CALDERON, SAMUEL                         VARIOUS                              Litigation              UNDETERMINED
       10200 SAN EMIDIO ST
       LAMONT, CA 93241             ACCOUNT NO.: NOT AVAILABLE


3.2068 CALDWELL, JOHN                           VARIOUS                              Litigation              UNDETERMINED
       606 SULTANA CT
       RIPN, CA 95366               ACCOUNT NO.: NOT AVAILABLE


3.2069 CALDWELL, PHILIP                         VARIOUS                              Litigation              UNDETERMINED
       1143 DOUGLAS RD
       STOCKTON, CA 95207           ACCOUNT NO.: NOT AVAILABLE


3.2070 CALDWELL, SHARON                         VARIOUS                              Litigation              UNDETERMINED
       12 ANAIR WAY
       OAKLAND, CA 94605-4872       ACCOUNT NO.: NOT AVAILABLE


3.2071 CALEB SEONG JO, YO SOOK JO               VARIOUS                              Litigation              UNDETERMINED
       DO KIM
       3435 WILSHIRE BLVD           ACCOUNT NO.: NOT AVAILABLE
       SUITE 2700
       LOS ANGELES, CA 90010-2013


3.2072 CALEN CHAPMAN CONSULTING-                VARIOUS                              Litigation              UNDETERMINED
       CHAPMAN, CALEN
       443 STONEBRIDGE DRIVE        ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95973


3.2073 CALENDA, GIFFORD                         VARIOUS                              Litigation              UNDETERMINED
       856 MIRAMAR TER
       BELMONT, CA 94002            ACCOUNT NO.: NOT AVAILABLE


3.2074 CALENDA, NICK                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1780
       SOQUEL, CA 95073             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2075 CALERA CORPORATION, JILL                 VARIOUS                              Litigation              UNDETERMINED
       AUFRICHT
       7697 HIGHWAY ONE             ACCOUNT NO.: NOT AVAILABLE
       MOSS LANDING, CA 95039


3.2076 CALFO, CATHRYN                           VARIOUS                              Litigation              UNDETERMINED
       135 GREEN STREET
       SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE


3.2077 CALIFORNIA (PEOPLE OF)                   VARIOUS                              Litigation              UNDETERMINED
       SCHERER, MONTOYA, DADAIAN,
       SOLARES, HIDDLESON, DEL      ACCOUNT NO.: NOT AVAILABLE
       RIVO
       100 SOUTH MAIN STREET
       LOS ANGELES, CA 90012


3.2078 CALIFORNIA AUTO REPAIR AND               VARIOUS                              Litigation              UNDETERMINED
       TOWING-AZANUDO, FRANCISCO
       37049 OLIVE ST               ACCOUNT NO.: NOT AVAILABLE
       NEWARK, CA 94560


3.2079 CALIFORNIA AUTO WORKS-                   VARIOUS                              Litigation              UNDETERMINED
       TZELEPIS, ALEXANDROS
       2666 MIDDLEFIELD RD.         ACCOUNT NO.: NOT AVAILABLE
       REDWOOD CITY, CA 94063


3.2080 CALIFORNIA AUTOMOBILE                    VARIOUS                              Litigation              UNDETERMINED
       INSURANCE COMPANY-GRADO,
       MICHAEL                      ACCOUNT NO.: NOT AVAILABLE
       14901 GOLF LINKS DRIVE
       LOS GATOS, CA 95032


3.2081 CALIFORNIA CAPITAL                       VARIOUS                              Litigation              UNDETERMINED
       INSURANCE COMPANY-
       LEPORATI, SUE                ACCOUNT NO.: NOT AVAILABLE
       POST OFFICE BOX 40460
       BAKERSFIELD, CA 93384


3.2082 CALIFORNIA CAR WASH-BYRNE,               VARIOUS                              Litigation              UNDETERMINED
       PATRICK
       4661 QUAIL LAKES DRIVE       ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA 95207


3.2083 CALIFORNIA CAR WASH-BYRNE,               VARIOUS                              Litigation              UNDETERMINED
       PATRICK
       4661 QUAIL LAKES DRIVE       ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA 95207




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.2084 CALIFORNIA CASUALTY-STARR,               VARIOUS                              Litigation              UNDETERMINED
       ERYN
       PO BOX 29171                  ACCOUNT NO.: NOT AVAILABLE
       SHAWNEE MISSION, CA 66201


3.2085 CALIFORNIA CEREAL                        VARIOUS                              Litigation              UNDETERMINED
       PRODUCTS, INC.-GRAHAM,
       MARK                          ACCOUNT NO.: NOT AVAILABLE
       1267 14TH STREET
       OAKLAND, CA 94607


3.2086 CALIFORNIA COLLEGE OF ARTS-              VARIOUS                              Litigation              UNDETERMINED
       LEUTHOLD, MIKE
       1111 8TH STREET               ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94107


3.2087 CALIFORNIA CUISINE, HALIM                VARIOUS                              Litigation              UNDETERMINED
       AMINA
       1862 S NORFOLK STREET         ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94403


3.2088 CALIFORNIA FRESNO OIL-                   VARIOUS                              Litigation              UNDETERMINED
       RAMER, STEVE
       3242 E GARRETT AVE            ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93706


3.2089 CALIFORNIA GRAND CASINO-                 VARIOUS                              Litigation              UNDETERMINED
       BEPLER, NICK
       5988 PACHECO BLVD             ACCOUNT NO.: NOT AVAILABLE
       PACHECO, CA 94553


3.2090 CALIFORNIA PROPERTY                      VARIOUS                              Litigation              UNDETERMINED
       SERVICES-PETRIK, JAMES
       1200 PRICE ST.                ACCOUNT NO.: NOT AVAILABLE
       PISMO BEACH, CA 93449


3.2091 CALIFORNIA SPORT TOURING,                VARIOUS                              Litigation              UNDETERMINED
       INC.-LEONG, KIM
       636 ALFRED NOBEL DR.          ACCOUNT NO.: NOT AVAILABLE
       HERCULES, CA 94547


3.2092 CALIFORNIA STATE TEACHERS                VARIOUS                              Litigation              UNDETERMINED
       RETIREMENT SYSTEM-
       MARIGOLD, LIZ                 ACCOUNT NO.: NOT AVAILABLE
       1340 TREAT BLVD
       SUITE 160
       WALNUT CREEK, CA 94597




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.2093 CALIFORNIA TANK LINES, YORK              VARIOUS                              Litigation              UNDETERMINED
       MARSH CREEK CROSSRAOD
       10 CENTENNIAL DRIVE STE 201    ACCOUNT NO.: NOT AVAILABLE
       PEABODY,, CA 01960


3.2094 CALIFORNIA TRENCHLESS INC                VARIOUS                              Litigation              UNDETERMINED
       2283 DUNN ROAD
       716 MARIN AVENUE               ACCOUNT NO.: NOT AVAILABLE
       HAYWARD, CA 94545


3.2095 CALIFORNIA TRENCHLESS, INC.-             VARIOUS                              Litigation              UNDETERMINED
       WONDER, CAROL
       2283 DUNN ROAD                 ACCOUNT NO.: NOT AVAILABLE
       HAYWARD, CA 94545


3.2096 CALIFORNIA TRENCHLESS, INC.-             VARIOUS                              Litigation              UNDETERMINED
       WONDER, CAROL
       2283 DUNN ROAD                 ACCOUNT NO.: NOT AVAILABLE
       HAYWARD, CA 94545


3.2097 CALIFORNIA TRENCHLESS, INC.-             VARIOUS                              Litigation              UNDETERMINED
       WONDER, CAROL
       2283 DUNN ROAD                 ACCOUNT NO.: NOT AVAILABLE
       HAYWARD, CA 94545


3.2098 CALIFORNIA WATER SERVICE                 VARIOUS                              Litigation              UNDETERMINED
       CO
       3725 SOUTH H ST                ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93304


3.2099 CALIFORNIA WATER SERVICE,                VARIOUS                              Litigation              UNDETERMINED
       DAVE DONOVAN
       1720 NORTH FIRST STREET        ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95122


3.2100 CALIFORNIA, WATER SERVICES               VARIOUS                              Litigation              UNDETERMINED
       IN SELMA
       2042 2ND STREET                ACCOUNT NO.: NOT AVAILABLE
       MCCALL AND TODD
       SELMA, CA 93662


3.2101 CALIJA, AGUSTINE                         VARIOUS                              Litigation              UNDETERMINED
       76 VESTA
       SAN FRANCISCO, CA 94124        ACCOUNT NO.: NOT AVAILABLE


3.2102 CALLADO, SUSAN                           VARIOUS                              Litigation              UNDETERMINED
       1421 12TH ST
       LOS OSOS, CA 93402             ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                            Account Number                           Claim

Litigation & Disputes

3.2103 CALLAGHAN, CATHY                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1553
       CLEARLAKE, CA 95422             ACCOUNT NO.: NOT AVAILABLE


3.2104 CALLAHAN, CLANCY                         VARIOUS                              Litigation              UNDETERMINED
       937 KAREN DR
       CHICO, CA 95926                 ACCOUNT NO.: NOT AVAILABLE


3.2105 CALLAHAN, MICHAEL                        VARIOUS                              Litigation              UNDETERMINED
       240 MOUNTAIRE PKWY
       CLAYTON, CA 94517               ACCOUNT NO.: NOT AVAILABLE


3.2106 CALLAHAN, ROBIN                          VARIOUS                              Litigation              UNDETERMINED
       516 ROCK FORGE LOOP
       ANGELS CAMP, CA 95222           ACCOUNT NO.: NOT AVAILABLE


3.2107 CALLAWAY & WOLF, LORETTE                 VARIOUS                              Litigation              UNDETERMINED
       HINTZ
       150 POST ST., SUITE 600         ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94108


3.2108 CALLAWAY, DON                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 405
       ROUND MOUNTAIN, CA 96084        ACCOUNT NO.: NOT AVAILABLE


3.2109 CALLEGARI, CHRISTINE                     VARIOUS                              Litigation              UNDETERMINED
       754 MILL CREEK WAY
       MANTECA, CA 95336               ACCOUNT NO.: NOT AVAILABLE


3.2110 CALLISON, TED                            VARIOUS                              Litigation              UNDETERMINED
       10874 PINE HILL DR
       GRASS VALLEY, CA 95945          ACCOUNT NO.: NOT AVAILABLE


3.2111 CALLISTO MEDIA-KNOX, KIAH                VARIOUS                              Litigation              UNDETERMINED
       6005 SHELLMOUND ST
       SUITE 175                       ACCOUNT NO.: NOT AVAILABLE
       EMERYVILLE, CA 94806


3.2112 CALMERIN, LESLIE                         VARIOUS                              Litigation              UNDETERMINED
       202 SHORELINE DRIVE
       PITTSBURG, CA 94565             ACCOUNT NO.: NOT AVAILABLE


3.2113 CALONEGO, DONNA MARIE V.                 VARIOUS                              Litigation              UNDETERMINED
       SPAULDING MCCULLOUGH &
       TANSIL LLP                      ACCOUNT NO.: NOT AVAILABLE
       90 SOUTH E. STREET, SUITE 200
       SANTA ROSA, CA 95404



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2114 CALVARY PRESBYTERIAN                     VARIOUS                              Litigation              UNDETERMINED
       CHURCH-FOSTER, DAVID
       2515 FILLMORE ST             ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94115


3.2115 CALVELLO, MICHAEL                        VARIOUS                              Litigation              UNDETERMINED
       3941 PIEDMONT AVE
       OAKLAND, CA                  ACCOUNT NO.: NOT AVAILABLE


3.2116 CALVILLO, BELEN                          VARIOUS                              Litigation              UNDETERMINED
       6903 PLAZA TERRACE PO BOX
       1802                         ACCOUNT NO.: NOT AVAILABLE
       LUCERNE, CA 95458


3.2117 CALVILLO, THELMA                         VARIOUS                              Litigation              UNDETERMINED
       3808 APACHE AVE.
       BAKERSFIELD, CA 93309        ACCOUNT NO.: NOT AVAILABLE


3.2118 CALVIN, REGAN                            VARIOUS                              Litigation              UNDETERMINED
       9500 TAN OAK WAY
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.2119 CALVINO, STEVE                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1440
       FRENCH CAMP, CA 95231        ACCOUNT NO.: NOT AVAILABLE


3.2120 CALVO, KIMBERLY                          VARIOUS                              Litigation              UNDETERMINED
       1201 KIMBERLY CT
       HOLLISTER, CA 95023          ACCOUNT NO.: NOT AVAILABLE


3.2121 CAMACHO, DANIEL                          VARIOUS                              Litigation              UNDETERMINED
       8021 VIERRA MEADOWS PL
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.2122 CAMACHO, ERIK                            VARIOUS                              Litigation              UNDETERMINED
       712 TENNYSON DRIVE
       GILROY, CA 95020             ACCOUNT NO.: NOT AVAILABLE


3.2123 CAMACHO, FRANCISCO                       VARIOUS                              Litigation              UNDETERMINED
       4343 BARDINI WAY
       TURLOCK, CA 95392            ACCOUNT NO.: NOT AVAILABLE


3.2124 CAMARENA, CELSA                          VARIOUS                              Litigation              UNDETERMINED
       1068 EAGLE DR
       SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2125 CAMARENA, RAUL                           VARIOUS                              Litigation              UNDETERMINED
       2048 ELLEN AVE
       SAN JOSE, CA 95125           ACCOUNT NO.: NOT AVAILABLE


3.2126 CAMARLINGHI, DIANA                       VARIOUS                              Litigation              UNDETERMINED
       205 MARNELL AVE.
       SANTA CRUZ, CA 95062         ACCOUNT NO.: NOT AVAILABLE


3.2127 CAMBRIDGE INN MOTOR                      VARIOUS                              Litigation              UNDETERMINED
       LODGE, PATEL JAGADISH
       100 CAMBRIDGE AVE            ACCOUNT NO.: NOT AVAILABLE
       1620 E. ELM AVE
       COALINGA, CA 93210


3.2128 CAMERON ESTATES                          VARIOUS                              Litigation              UNDETERMINED
       COMMUNITY SERVICES
       DISTRICT-JOHNSON, ANGELA     ACCOUNT NO.: NOT AVAILABLE
       P O BOX 171
       SHINGLE SPRINGS, CA 95682


3.2129 CAMERON ESTATES                          VARIOUS                              Litigation              UNDETERMINED
       COMMUNITY SERVICES
       DISTRICT-JOHNSON, ANGELA     ACCOUNT NO.: NOT AVAILABLE
       P O BOX 171
       SHINGLE SPRINGS, CA 95682


3.2130 CAMERON, NANCY W                         VARIOUS                              Litigation              UNDETERMINED
       918 EMERALD HILL RD
       REDWOOD CITY, CA 94061       ACCOUNT NO.: NOT AVAILABLE


3.2131 CAMILLERI, STEVE                         VARIOUS                              Litigation              UNDETERMINED
       443 HANSEN DR
       SAN MATEO, CA 94403          ACCOUNT NO.: NOT AVAILABLE


3.2132 CAMINO UNION SCHOOL                      VARIOUS                              Litigation              UNDETERMINED
       DISTRICT-WALL, JUSTIN
       P.O BOX 276710               ACCOUNT NO.: NOT AVAILABLE
       SACRAMENTO, CA 95827


3.2133 CAMOUS DRIVE-IN, GAYLE                   VARIOUS                              Litigation              UNDETERMINED
       COSTAS
       1000 FOLSOM ROAD             ACCOUNT NO.: NOT AVAILABLE
       660 E. ELM
       COALINGA, CA 93210


3.2134 CAMP WAWONA-PRATT,                       VARIOUS                              Litigation              UNDETERMINED
       SHERRY
       8110 FOREST DRIVE            ACCOUNT NO.: NOT AVAILABLE
       WAWONA, CA 95389


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Litigation & Disputes

3.2135 CAMP, JUNIUS                             VARIOUS                              Litigation              UNDETERMINED
       159 VERNON STREET
       SAN FRANCISCO, CA 94132      ACCOUNT NO.: NOT AVAILABLE


3.2136 CAMPANA, DIAANE & ROBERT                 VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 252
       791 SHEEP RANCH ROAD         ACCOUNT NO.: NOT AVAILABLE
       MURPHYS, CA 95247


3.2137 CAMPAZ, RAQUEL                           VARIOUS                              Litigation              UNDETERMINED
       632 KEFIR DRIVE
       WEST SACRAMENTO, CA 95605    ACCOUNT NO.: NOT AVAILABLE


3.2138 CAMPBELL PLAZA CLEANER,                  VARIOUS                              Litigation              UNDETERMINED
       YEARMAN DAWN
       2345 WINCHESTER BLVD SUITE   ACCOUNT NO.: NOT AVAILABLE
       D
       CAMPBELL, CA 95050


3.2139 CAMPBELL SOUP COMPANY-                   VARIOUS                              Litigation              UNDETERMINED
       RAMACHANDRAN,
       JAGANNATHAN                  ACCOUNT NO.: NOT AVAILABLE
       760 INDUSTRIAL DRIVE
       STOCKTON, CA 95213


3.2140 CAMPBELL, BOB                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 373
       LOOP RD                      ACCOUNT NO.: NOT AVAILABLE
       HOOPA, CA 95546


3.2141 CAMPBELL, CAROL                          VARIOUS                              Litigation              UNDETERMINED
       2481 WARREN ROAD
       WALNUT CREEK, CA 94595       ACCOUNT NO.: NOT AVAILABLE


3.2142 CAMPBELL, DAWN                           VARIOUS                              Litigation              UNDETERMINED
       144 CUTTER DR
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.2143 CAMPBELL, JACK                           VARIOUS                              Litigation              UNDETERMINED
       895 RIDGE DR.
       CONCORD, CA 94578            ACCOUNT NO.: NOT AVAILABLE


3.2144 CAMPBELL, KIM                            VARIOUS                              Litigation              UNDETERMINED
       POB 1526
       MURPHYS, CA 95247            ACCOUNT NO.: NOT AVAILABLE


3.2145 CAMPBELL, MICHELLE                       VARIOUS                              Litigation              UNDETERMINED
       10350 ENTWORTH SPRINGS RD
       GEORGETWON, CA 95634         ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2146 CAMPBELL, PAT                            VARIOUS                              Litigation              UNDETERMINED
       1338 11TH ST.
       LOS OSOS, CA 93402           ACCOUNT NO.: NOT AVAILABLE


3.2147 CAMPBELL, RHONDA & NORMAN                VARIOUS                              Litigation              UNDETERMINED
       7629 WOODLAND AVENUE
       GERBER, CA 96035             ACCOUNT NO.: NOT AVAILABLE


3.2148 CAMPBELL, RICHARD                        VARIOUS                              Litigation              UNDETERMINED
       1013 SHORT STREET
       PACIFIC GROVE, CA 93950      ACCOUNT NO.: NOT AVAILABLE


3.2149 CAMPBELL, ROBERT                         VARIOUS                              Litigation              UNDETERMINED
       18467 EDMINTON DR.
       CUPERTINO, CA 95014          ACCOUNT NO.: NOT AVAILABLE


3.2150 CAMPBELL, SEAN                           VARIOUS                              Litigation              UNDETERMINED
       2193 GRACE AVENUE
       MCKINLEYVILLE, CA 95519      ACCOUNT NO.: NOT AVAILABLE


3.2151 CAMPBELL, SUSAN                          VARIOUS                              Litigation              UNDETERMINED
       501 MAYA LANE
       FORTUNA, CA 95540            ACCOUNT NO.: NOT AVAILABLE


3.2152 CAMPBELL, TIMOTHY                        VARIOUS                              Litigation              UNDETERMINED
       2707 SHASTA ROAD
       CLEARLAKE OAKS, CA 95423     ACCOUNT NO.: NOT AVAILABLE


3.2153 CAMPLIN, RONALD                          VARIOUS                              Litigation              UNDETERMINED
       19690 VALLEY LANE
       REDDING, CA 96002            ACCOUNT NO.: NOT AVAILABLE


3.2154 CAMPOS, CARLOS                           VARIOUS                              Litigation              UNDETERMINED
       1135 GROVE AVE
       GUSTINE, CA 95322            ACCOUNT NO.: NOT AVAILABLE


3.2155 CAMPOS, FABIANA                          VARIOUS                              Litigation              UNDETERMINED
       101 WILDES CT
       BAY POINT, CA 94565          ACCOUNT NO.: NOT AVAILABLE


3.2156 CAMPOS, GRACIELA                         VARIOUS                              Litigation              UNDETERMINED
       1131 W MARIPOSA AVE
       STOCKTON, CA 95204           ACCOUNT NO.: NOT AVAILABLE


3.2157 CAMPWALA, PARVIN                         VARIOUS                              Litigation              UNDETERMINED
       3101 MILNER RD
       ANTIOCH, CA 94509            ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2158 CANA, ALONA                              VARIOUS                              Litigation              UNDETERMINED
       2512 WHITESTONE CT
       SAN JOSE, CA 95122           ACCOUNT NO.: NOT AVAILABLE


3.2159 CANADA, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
       19530 SHERMAN ISLAND RD.
       RIO VISTA, CA 94571          ACCOUNT NO.: NOT AVAILABLE


3.2160 CANCHALA, MARIA                          VARIOUS                              Litigation              UNDETERMINED
       1118 NELSON AVE.
       P.O. BOX 345                 ACCOUNT NO.: NOT AVAILABLE
       ARBUCKLE, CA 95912


3.2161 CANCIAMILLE, CHRISTOPHER                 VARIOUS                              Litigation              UNDETERMINED
       19261 MALLORY CYN RD
       PRUNEDALE, CA 93907          ACCOUNT NO.: NOT AVAILABLE


3.2162 CANDERLE, CONRAD                         VARIOUS                              Litigation              UNDETERMINED
       18894 CABERNET DRIVE
       SARATOGA, CA 95070           ACCOUNT NO.: NOT AVAILABLE


3.2163 CANDITO, JOYCE                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 806
       COLUSA, CA 95932             ACCOUNT NO.: NOT AVAILABLE


3.2164 CANELA BISTRO & WINE BAR-                VARIOUS                              Litigation              UNDETERMINED
       SCHUSTER, MAT
       2272 MARKET STREET           ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94114


3.2165 CANELA BISTRO & WINE BAR-                VARIOUS                              Litigation              UNDETERMINED
       SCHUSTER, MAT
       2272 MARKET STREET           ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94114


3.2166 CANEPA, JOSEPH                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 782
       22140 N. CLEMENTS RD         ACCOUNT NO.: NOT AVAILABLE
       CLEMENTS, CA 95227


3.2167 CANIS, NEAL                              VARIOUS                              Litigation              UNDETERMINED
       2320 BALD ROCK RD
       BERRY CREEK, CA 95916        ACCOUNT NO.: NOT AVAILABLE


3.2168 CANNON, KEVIN                            VARIOUS                              Litigation              UNDETERMINED
       1213 EASTERN AVE
       SACRAMENTO, CA 95864         ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.2169 CANTERBURY WOODS-                        VARIOUS                              Litigation              UNDETERMINED
       BRAMBILLA, NORMA
       651 SINEX AVE                ACCOUNT NO.: NOT AVAILABLE
       PACIFIC GROVE, CA 93950


3.2170 CANTERO, AIMEE                           VARIOUS                              Litigation              UNDETERMINED
       7135 DOGWOOD DR
       SHINGLETOWN, CA 96088        ACCOUNT NO.: NOT AVAILABLE


3.2171 CANTERO, AIMEE                           VARIOUS                              Litigation              UNDETERMINED
       7135 DOGWOOD DR
       SHINGLETOWN, CA 96088        ACCOUNT NO.: NOT AVAILABLE


3.2172 CANTO, BARBARA                           VARIOUS                              Litigation              UNDETERMINED
       5955 OLD EMIGRANT TRL W
       MOUNTAIN RANCH, CA 95246     ACCOUNT NO.: NOT AVAILABLE


3.2173 CANTOR, LEWIS                            VARIOUS                              Litigation              UNDETERMINED
       82 PASEO HERMOSO
       SALINAS, CA 93908            ACCOUNT NO.: NOT AVAILABLE


3.2174 CANTRELL, KIM                            VARIOUS                              Litigation              UNDETERMINED
       3137 SEACREST AVENUE
       APT 22                       ACCOUNT NO.: NOT AVAILABLE
       MARINA, CA 93933


3.2175 CANTU, DANIEL                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 161
       17146 STANFORD AVE           ACCOUNT NO.: NOT AVAILABLE
       HURON, CA 93234


3.2176 CANYON CREEK HOA, CONTRA                 VARIOUS                              Litigation              UNDETERMINED
       COSTA COUNTY
       70 RAILROAD AVE.             ACCOUNT NO.: NOT AVAILABLE
       DANVILLE, CA 94526


3.2177 CANYON ROCK QUARRY-                      VARIOUS                              Litigation              UNDETERMINED
       TRAPPE, JON
       7525 CA HWY 116              ACCOUNT NO.: NOT AVAILABLE
       FORESTVILLE, CA 95436


3.2178 CANYON ROCK QUARRY-                      VARIOUS                              Litigation              UNDETERMINED
       TRAPPE, JON
       7525 CA HWY 116              ACCOUNT NO.: NOT AVAILABLE
       FORESTVILLE, CA 95436




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Litigation & Disputes

3.2179 CANYON ROCK QUARRY-                       VARIOUS                              Litigation              UNDETERMINED
       TRAPPE, JON
       7525 CA HWY 116               ACCOUNT NO.: NOT AVAILABLE
       FORESTVILLE, CA 95436


3.2180 CANYON ROCK QUARRY-                       VARIOUS                              Litigation              UNDETERMINED
       TRAPPE, JON
       7525 HWY 116                  ACCOUNT NO.: NOT AVAILABLE
       FORESTVILLE, CA 95436


3.2181 CANYON ROCK QUARRY-                       VARIOUS                              Litigation              UNDETERMINED
       TRAPPE, JON
       7525 CA HWY 116               ACCOUNT NO.: NOT AVAILABLE
       FORESTVILLE, CA 95436


3.2182 CAO, ANGIE                                VARIOUS                              Litigation              UNDETERMINED
       1902 9TH AVE
       SAN FRANCISCO, CA 94116       ACCOUNT NO.: NOT AVAILABLE


3.2183 CAPELL VALLEY BOAT AND RV                 VARIOUS                              Litigation              UNDETERMINED
       STORAGE, JEAN HOWELL
       1243 LOS ROBLES COURT         ACCOUNT NO.: NOT AVAILABLE
       HWY 128,NAPA
       VACAVILLE, CA 95687


3.2184 CAPETILLO, MARIA                          VARIOUS                              Litigation              UNDETERMINED
       965 S TH ST APT 14301
       SAN JOSE, CA 95112            ACCOUNT NO.: NOT AVAILABLE


3.2185 CAPITAL INSURANCE GROUP,                  VARIOUS                              Litigation              UNDETERMINED
       /SOPHIA YINGLIN
       P.O, BOX 40460                ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93384


3.2186 CAPITAL INSURANCE GROUP,                  VARIOUS                              Litigation              UNDETERMINED
       ATTN: ANGELA DELOZ
       P.O. BOX 40460                ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93384


3.2187 CAPITAL INSURANCE GROUP-                  VARIOUS                              Litigation              UNDETERMINED
       LEPORATI, SUE
       POST OFFICE BOX 40460         ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93384


3.2188 CAPITAL LAUNDRY-MILLER,                   VARIOUS                              Litigation              UNDETERMINED
       JOHN
       1933 W EL CAMINO REAL         ACCOUNT NO.: NOT AVAILABLE
       MOUNTAIN VIEW, CA 94040



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Litigation & Disputes

3.2189 CAPITO, ANDREA                           VARIOUS                              Litigation              UNDETERMINED
       17135 CASTROVILLE BLVD
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.2190 CAPLAN, JOHN A                           VARIOUS                              Litigation              UNDETERMINED
       550 BEAR CANYON LANE
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.2191 CAPPUCCI, DOMINIC                        VARIOUS                              Litigation              UNDETERMINED
       1764 WOODEN VALLEY
       NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.2192 CAPRARA, JANICE AND DENNIS               VARIOUS                              Litigation              UNDETERMINED
       26769 EL CAMINO REAL NORTH
       GONZALES, CA 93926           ACCOUNT NO.: NOT AVAILABLE


3.2193 CAPRI MOTEL, ULTAM PATEL                 VARIOUS                              Litigation              UNDETERMINED
       2380 EL CAMINO REAL
       REDWOOD CITY, CA 94063       ACCOUNT NO.: NOT AVAILABLE


3.2194 CAPUANO, PAUL                            VARIOUS                              Litigation              UNDETERMINED
       625 MULLIGAN LANE
       ARROYO GRANDE, CA 93449      ACCOUNT NO.: NOT AVAILABLE


3.2195 CAR COMPUTERS-RAMIREZ,                   VARIOUS                              Litigation              UNDETERMINED
       JOSEPH
       10461 RIVER BLUFF LANE       ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA 95209


3.2196 CAR VS PMH                               VARIOUS                              Litigation              UNDETERMINED
       TRACY, CA 0
                                    ACCOUNT NO.: NOT AVAILABLE


3.2197 CARAMES, AGAPITO                         VARIOUS                              Litigation              UNDETERMINED
       106 EQUESTRIAN WAY
       4250 ALLEN RD. #14           ACCOUNT NO.: NOT AVAILABLE
       PASO ROBLES, CA 93446


3.2198 CARAVAN TRADING CORP-                    VARIOUS                              Litigation              UNDETERMINED
       RUGGERI, MARIA
       33300 WESTERN AVE            ACCOUNT NO.: NOT AVAILABLE
       UNION CITY, CA 94587


3.2199 CARBAJAL, BLANCA                         VARIOUS                              Litigation              UNDETERMINED
       196 S 22TH ST
       SAN JOSE, CA                 ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.2200 CARBAJAL, DIANA                           VARIOUS                              Litigation              UNDETERMINED
       248 NAVAJO DR
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.2201 CARBAJAL, JORGE                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 641
       POINT ARENA, CA 95468         ACCOUNT NO.: NOT AVAILABLE


3.2202 CARBON GRILL-DANG, EDWARD                 VARIOUS                              Litigation              UNDETERMINED
       852 CLEMENT ST
       SAN FRANCISCO, CA 94118       ACCOUNT NO.: NOT AVAILABLE


3.2203 CARBONES BAR-CARBONE,                     VARIOUS                              Litigation              UNDETERMINED
       SALVATORE
       214 LIGHTHOUSE                ACCOUNT NO.: NOT AVAILABLE
       MONTEREY, CA 93940


3.2204 CARCIONE, ROBERTA                         VARIOUS                              Litigation              UNDETERMINED
       1817 OAKDELL DR
       MENLO PARK, CA 94025          ACCOUNT NO.: NOT AVAILABLE


3.2205 CARDEMAS, JULIAN                          VARIOUS                              Litigation              UNDETERMINED
       705 PARK WAY
       SOUTH SAN FRANCISCO, CA       ACCOUNT NO.: NOT AVAILABLE
       94080


3.2206 CARDENAS AGUILAR, VIDAL                   VARIOUS                              Litigation              UNDETERMINED
       1566 VIRGINIA PL
       SAN JOSE, CA 95116            ACCOUNT NO.: NOT AVAILABLE


3.2207 CARDENAS AGUILAR, VIDAL                   VARIOUS                              Litigation              UNDETERMINED
       1566 VIRGINIA PL
       SAN JOSE, CA 95116            ACCOUNT NO.: NOT AVAILABLE


3.2208 CARDENAS, CARLOS                          VARIOUS                              Litigation              UNDETERMINED
       2135 NORD AVE SPC 30
       CHICHO, CA 95926              ACCOUNT NO.: NOT AVAILABLE


3.2209 CARDENAS, ELIZABETH                       VARIOUS                              Litigation              UNDETERMINED
       1831 E 25TH ST APT C
       OAKLAND, CA 94606             ACCOUNT NO.: NOT AVAILABLE


3.2210 CARDENAS, JEANETTE                        VARIOUS                              Litigation              UNDETERMINED
       2805 PANSY COURT
       STOCKTON, CA 95212            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.2211 CARDENAS, JESSE                          VARIOUS                              Litigation              UNDETERMINED
       474 E 6TH ST
       GILROY, CA 95020              ACCOUNT NO.: NOT AVAILABLE


3.2212 CARDENAS, LUIS                           VARIOUS                              Litigation              UNDETERMINED
       1322 LARKSPUR LANE
       PASO ROBLES, CA 93446         ACCOUNT NO.: NOT AVAILABLE


3.2213 CARDONA, GENA                            VARIOUS                              Litigation              UNDETERMINED
       1575 PARTRIDGE STREET
       SALINAS, CA 93905             ACCOUNT NO.: NOT AVAILABLE


3.2214 CARDS AND COMICS CENTRAL-                VARIOUS                              Litigation              UNDETERMINED
       GIN, HERBERT
       5424 GEARY BLVD.              ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94121


3.2215 CAREN CASTELLI FOR TELLO,            VARIOUS                                  Litigation              UNDETERMINED
       ROBERT AND BETTY TELLO
       510 ELM AVE                  ACCOUNT NO.: NOT AVAILABLE
       PO BOX 2411, NOVATO CA 94948
       SAN BRUNO, CA 94066


3.2216 CARHARTT, MIKE                           VARIOUS                              Litigation              UNDETERMINED
       1541 RANCHO SANTA YNEZ
       ROAD                          ACCOUNT NO.: NOT AVAILABLE
       SOLVANG, CA 93446


3.2217 CARINI, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       246 BIEBER DR.
       SAN JOSE, CA 95123            ACCOUNT NO.: NOT AVAILABLE


3.2218 CARITHERS, KIMBERLY & JIMMY              VARIOUS                              Litigation              UNDETERMINED
       928 E. FESLER ST.
       SANTA MARIA, CA 93454         ACCOUNT NO.: NOT AVAILABLE


3.2219 CARKIN, CAROLYN                          VARIOUS                              Litigation              UNDETERMINED
       212 THOMPSON ST
       UKIAH, CA 95482               ACCOUNT NO.: NOT AVAILABLE


3.2220 CARL WARREN & COMPANY,                   VARIOUS                              Litigation              UNDETERMINED
       ATTN: HEATHER MENDEZ
       P.O. BOX 2411                 ACCOUNT NO.: NOT AVAILABLE
       TUSTIN, CA 92781


3.2221 CARL, BRYON                              VARIOUS                              Litigation              UNDETERMINED
       7693 LONGARD ROAD
       LIVERMORE, CA 94551           ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.2222 CARL, CARL                               VARIOUS                              Litigation              UNDETERMINED
       519 W. TAYLOR ST., SP#330
       SANTA MARIA, CA 33458         ACCOUNT NO.: NOT AVAILABLE


3.2223 CARLOMAGNO, JOE                          VARIOUS                              Litigation              UNDETERMINED
       1139 MC CLELLAND DRIVE
       NOVATO, CA 94945              ACCOUNT NO.: NOT AVAILABLE


3.2224 CARLOTTA, LARRY                          VARIOUS                              Litigation              UNDETERMINED
       1055 AYER DRIVE
       GILROY, CA 95020              ACCOUNT NO.: NOT AVAILABLE


3.2225 CARLSBERG, RICKEY                        VARIOUS                              Litigation              UNDETERMINED
       515 LOMA ALTA ROAD
       CARMEL, CA 93923              ACCOUNT NO.: NOT AVAILABLE


3.2226 CARLSON, BROOKE                          VARIOUS                              Litigation              UNDETERMINED
       636 MIRAMONTE AVE
       MORGAN HILL, CA 95037         ACCOUNT NO.: NOT AVAILABLE


3.2227 CARLSON, DONNA                           VARIOUS                              Litigation              UNDETERMINED
       1650 E SHEPHERD APT 114
       FRESNO, CA 93720              ACCOUNT NO.: NOT AVAILABLE


3.2228 CARLSON, JOSEPH                          VARIOUS                              Litigation              UNDETERMINED
       305 25TH ST
       SACRAMENTO, CA 95816          ACCOUNT NO.: NOT AVAILABLE


3.2229 CARLSON, SARAH                           VARIOUS                              Litigation              UNDETERMINED
       160 HALLMAN LN APT 13
       OAKDALE, CA 95361             ACCOUNT NO.: NOT AVAILABLE


3.2230 CARMALEE ESTATES HOA,                    VARIOUS                              Litigation              UNDETERMINED
       ARLENE DARLING
       2750 CLOVIS AVENUE # 127      ACCOUNT NO.: NOT AVAILABLE
       6983 E. CAEMALESS LANE
       FRESNO, CA 93727


3.2231 CARMAN, PAUL                             VARIOUS                              Litigation              UNDETERMINED
       5800 BURLINGAME AVE
       RICHMOND, CA 94804            ACCOUNT NO.: NOT AVAILABLE


3.2232 CARMEL INN AND SUITES-                   VARIOUS                              Litigation              UNDETERMINED
       PATEL, VASANT
       PO BOX 1295                   ACCOUNT NO.: NOT AVAILABLE
       JUNIPERO & 5TH NE
       CARMEL BY THE SEA, CA 93921



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Litigation & Disputes

3.2233 CARMEL INN-VASANT, RAKESH                VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1295
       CARMEL, CA 93921             ACCOUNT NO.: NOT AVAILABLE


3.2234 CARMEL MISSION INN-                      VARIOUS                              Litigation              UNDETERMINED
       BUESCHER, ROBERT
       3665 RIO RD                  ACCOUNT NO.: NOT AVAILABLE
       CARMEL, CA 93923


3.2235 CARMEL OAKS INN-VASANT,                  VARIOUS                              Litigation              UNDETERMINED
       RAKESH
       PO BOX 3696                  ACCOUNT NO.: NOT AVAILABLE
       CARMEL, CA 93921


3.2236 CARMEN BRITO                             VARIOUS                              Litigation              UNDETERMINED
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ          ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.2237 CARMEN BRITO                             VARIOUS                              Litigation              UNDETERMINED
       BOBBY THOMPSON
       719 AIRPORT BLVD             ACCOUNT NO.: NOT AVAILABLE
       SUITE 179
       BURLINGAME, CA 94010


3.2238 CARMICAL, CALVIN                         VARIOUS                              Litigation              UNDETERMINED
       FREIDBERG LAW CORP.
       2443 FAIR OAKS BLVD., #391   ACCOUNT NO.: NOT AVAILABLE
       SACRAMENTO, CA 95825


3.2239 CARMICHAEL, BETTY                        VARIOUS                              Litigation              UNDETERMINED
       18662 LLOYD LANE
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.2240 CARMICHAEL, KIM                          VARIOUS                              Litigation              UNDETERMINED
       3840 CHAPPARAL DR.
       FAIRFIELD, CA 94534          ACCOUNT NO.: NOT AVAILABLE


3.2241 CAROL CIDLIK                             VARIOUS                              Litigation              UNDETERMINED
       BOBBY THOMPSON
       716 AIRPORT BLVD             ACCOUNT NO.: NOT AVAILABLE
       SUITE 176
       BURLINGAME, CA 94010




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2242 CAROL CIDLIK                             VARIOUS                              Litigation              UNDETERMINED
       CHRISTOPHER DOLAN, ARSEN
       SARAPINIAN, AIMEE KIRBY      ACCOUNT NO.: NOT AVAILABLE
       1439 MARKET STREET
       SAN FRANCISCO, CA 94102


3.2243 CAROL CIDLIK                             VARIOUS                              Litigation              UNDETERMINED
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ          ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.2244 CAROL TROEDSON-TROEDSON,                 VARIOUS                              Litigation              UNDETERMINED
       CAROL
       3695 CALVIN AVENUE           ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95124


3.2245 CAROLYN'S CREATIONS                      VARIOUS                              Litigation              UNDETERMINED
       UNLIMITED, A FULL SERVICE
       SALO-WINZER, CAROLYN         ACCOUNT NO.: NOT AVAILABLE
       4226 ROSEWOOD AVE
       RICHMOND, CA 94804


3.2246 CARPENTER, ALEX                          VARIOUS                              Litigation              UNDETERMINED
       15351 WILLOW RD
       RIO NIDO, CA 95446           ACCOUNT NO.: NOT AVAILABLE


3.2247 CARPENTER, AMY                           VARIOUS                              Litigation              UNDETERMINED
       1124 HAZEL AVE
       CAMPBELL, CA 95008           ACCOUNT NO.: NOT AVAILABLE


3.2248 CARPENTER, DEBRA                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1032
       HOOPA, CA 95546              ACCOUNT NO.: NOT AVAILABLE


3.2249 CARPENTER, DENISE                        VARIOUS                              Litigation              UNDETERMINED
       1010 SUNSET AVE
       SANTA ROSA, CA 95407         ACCOUNT NO.: NOT AVAILABLE


3.2250 CARPENTER, DENNIS                        VARIOUS                              Litigation              UNDETERMINED
       18472 LLOYD LANE
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.2251 CARPENTER, DONALD                        VARIOUS                              Litigation              UNDETERMINED
       18132 BOBKAT LANE
       LAKEHEAD, CA 96051           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.2252 CARPENTER, KERRY                         VARIOUS                              Litigation              UNDETERMINED
       1899 QUEENS ROAD
       250 BAYSHORE BLVD            ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94124


3.2253 CARPENTER, LAILUS                        VARIOUS                              Litigation              UNDETERMINED
       11284 BOBLINK WAY
       AUBURN, CA 95602             ACCOUNT NO.: NOT AVAILABLE


3.2254 CARPENTER, MICHAEL                       VARIOUS                              Litigation              UNDETERMINED
       31084 HIGHWAY 33
       TRACY, CA 95304              ACCOUNT NO.: NOT AVAILABLE


3.2255 CARR, BEA ANNE                           VARIOUS                              Litigation              UNDETERMINED
       6837 FAIR OAKS BLVD
       CARMICHAEL, CA 95608         ACCOUNT NO.: NOT AVAILABLE


3.2256 CARR, CALVIN                             VARIOUS                              Litigation              UNDETERMINED
       12 SUNSET COVE
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.2257 CARR, JAMES                              VARIOUS                              Litigation              UNDETERMINED
       13950 SPRING MEADOW LN
       ATASCADERO, CA 93422         ACCOUNT NO.: NOT AVAILABLE


3.2258 CARR, KIRSTIE                            VARIOUS                              Litigation              UNDETERMINED
       21839 OLD 44 DRIVE
       PALO CEDRO, CA 96073         ACCOUNT NO.: NOT AVAILABLE


3.2259 CARR, LYNNE                              VARIOUS                              Litigation              UNDETERMINED
       699 KINGSWOOD WAY
       LOS ALTOS, CA 94022          ACCOUNT NO.: NOT AVAILABLE


3.2260 CARR, WILLIAM                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 3981
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.2261 CARRANGO RIOS, MARTHA A                  VARIOUS                              Litigation              UNDETERMINED
       1041 BUCKHORN DR
       34                           ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93905


3.2262 CARRASCO, MARIA                          VARIOUS                              Litigation              UNDETERMINED
       REAL RD & MING AVE-
       BAKERSFIELD                  ACCOUNT NO.: NOT AVAILABLE
       5109 HAMPTON COURT
       BAKERSFIELD, CA 93303



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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.2263 CARRASCO, RONITA                         VARIOUS                              Litigation              UNDETERMINED
       30481 REEDY CAMP RD
       BIG BEND, CA 96011             ACCOUNT NO.: NOT AVAILABLE


3.2264 CARRENO, JUAN                            VARIOUS                              Litigation              UNDETERMINED
       5350 SHELTER CREEK LN
       SAN BRUNO, CA 94066            ACCOUNT NO.: NOT AVAILABLE


3.2265 CARRERE, LYNN                            VARIOUS                              Litigation              UNDETERMINED
       2062 STRATTON ROAD
       WALNUT CREEK, CA 94598         ACCOUNT NO.: NOT AVAILABLE


3.2266 CARRICO, TONY                            VARIOUS                              Litigation              UNDETERMINED
       5104 RED ROCK DR
       FORESTHILL, CA 95631           ACCOUNT NO.: NOT AVAILABLE


3.2267 CARRILLO V BHV PROP, ET AL.,             VARIOUS                              Litigation              UNDETERMINED
       JOYCE CARRILLO
       C/O BRADY LAW GROUP            ACCOUNT NO.: NOT AVAILABLE
       1015 IRWIN STREET, SUITE A
       0
       SAN RAFAEL, CA 94901


3.2268 CARRILLO, ANGELICA                       VARIOUS                              Litigation              UNDETERMINED
       2909 NIEMAN BLVD
       636                            ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95148


3.2269 CARRILLO, JESUS                          VARIOUS                              Litigation              UNDETERMINED
       4843 GATSON STREET
       SHAFTER, CA 93314              ACCOUNT NO.: NOT AVAILABLE


3.2270 CARRILLO, JOYCE                          VARIOUS                              Litigation              UNDETERMINED
       LORBER, GREENFIELD &
       POLITO, LLP (ATTORNEYS FOR     ACCOUNT NO.: NOT AVAILABLE
       DEFENDANT & CROSS-
       COMPLAINANT)
       150 POST ST., STE 700
       SAN FRANCISCO, CA 94108


3.2271 CARRILLO, JOYCE                          VARIOUS                              Litigation              UNDETERMINED
       BRADY LAW GROUP (ATTORNEY
       FOR PLAINTIFF)                 ACCOUNT NO.: NOT AVAILABLE
       1015 IRWIN STREET, SUITE A
       SAN FRANCISCO, CA 94901


3.2272 CARRILLO, JUSTINA                        VARIOUS                              Litigation              UNDETERMINED
       3045 NORTH PARSON AVENUE
       MERCED, CA 95340               ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.2273 CARRILLO, ROSA                           VARIOUS                              Litigation              UNDETERMINED
       531 MOULTRIE ST.
       SAN FRANCISCO, CA 94110      ACCOUNT NO.: NOT AVAILABLE


3.2274 CARRION, VICKI                           VARIOUS                              Litigation              UNDETERMINED
       14766 DALMATIAN DRIVE
       GRASS VALLEY, CA 95945       ACCOUNT NO.: NOT AVAILABLE


3.2275 CARRISOSA, CYNTHIA                       VARIOUS                              Litigation              UNDETERMINED
       1944 W ASHLAN AVENUE, APT
       107                          ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93705


3.2276 CARROLL, AUGUSTUS                        VARIOUS                              Litigation              UNDETERMINED
       1523 JAMES AVE
       REDWOOD CITY, CA 94062       ACCOUNT NO.: NOT AVAILABLE


3.2277 CARROLL, BETTY                           VARIOUS                              Litigation              UNDETERMINED
       9554 N WINERY AVE
       FRESNO, CA 93720             ACCOUNT NO.: NOT AVAILABLE


3.2278 CARROLL, JEANIE                          VARIOUS                              Litigation              UNDETERMINED
       6700 ALCANTARA AVE
       APTG                         ACCOUNT NO.: NOT AVAILABLE
       ATASCADERO, CA 93422


3.2279 CARROLL, PATRICK                         VARIOUS                              Litigation              UNDETERMINED
       2876 BURTIN CIRCLE
       2884 BURTIN CIRCLE           ACCOUNT NO.: NOT AVAILABLE
       CAMBRIA, CA 93428


3.2280 CARROLL, WILLIAM                         VARIOUS                              Litigation              UNDETERMINED
       797 VAN DUZEN RD
       MAD RIVER, CA 95526          ACCOUNT NO.: NOT AVAILABLE


3.2281 CARRUBBA, ROBERT                         VARIOUS                              Litigation              UNDETERMINED
       3352 S EL POMAR
       TEMPLETON, CA 93465          ACCOUNT NO.: NOT AVAILABLE


3.2282 CARSON, RICKETTA                         VARIOUS                              Litigation              UNDETERMINED
       5919 CENTRAL AVE
       EL CERRITO, CA 94530         ACCOUNT NO.: NOT AVAILABLE


3.2283 CARSTENS, CLAYTON                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 91
       ANGWIN, CA 94508             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.2284 CARSTENSEN, BILL AND DANA                VARIOUS                              Litigation              UNDETERMINED
       9801 JOLLY COURT
       OAKDALE, CA 95361            ACCOUNT NO.: NOT AVAILABLE


3.2285 CARSTON, ARNOLD                          VARIOUS                              Litigation              UNDETERMINED
       1100 PINER RD
       STE 7                        ACCOUNT NO.: NOT AVAILABLE
       SANTA ROSA, CA 95403


3.2286 CARTA, VIANCA                            VARIOUS                              Litigation              UNDETERMINED
       17521 WICKMAN PL
       SAN LORENZO, CA 94580        ACCOUNT NO.: NOT AVAILABLE


3.2287 CARTAGENA, GUADALUPE                     VARIOUS                              Litigation              UNDETERMINED
       2430 TOTTEN AVE.
       STOCKTON, CA 95205           ACCOUNT NO.: NOT AVAILABLE


3.2288 CARTER MOFFETT, BARBARA                  VARIOUS                              Litigation              UNDETERMINED
       322 LOS CERRITOS DR
       VALLEJO, CA 94589            ACCOUNT NO.: NOT AVAILABLE


3.2289 CARTER, ALEXANDER                        VARIOUS                              Litigation              UNDETERMINED
       1534 WILLARD GARDEN CT
       SAN JOSE, CA 95126           ACCOUNT NO.: NOT AVAILABLE


3.2290 CARTER, BRAZELL                          VARIOUS                              Litigation              UNDETERMINED
       3109 MONTEREY BLVD
       OAKLAND, CA 94602            ACCOUNT NO.: NOT AVAILABLE


3.2291 CARTER, GEORGE                           VARIOUS                              Litigation              UNDETERMINED
       11772 N DAVIS ROAD
       LODI, CA 95242               ACCOUNT NO.: NOT AVAILABLE


3.2292 CARUSO, LARRY                            VARIOUS                              Litigation              UNDETERMINED
       18626 GOLD CREEK TRAIL
       VOLCANO, CA 95689            ACCOUNT NO.: NOT AVAILABLE


3.2293 CARVALHO, DENNIS & BILL                  VARIOUS                              Litigation              UNDETERMINED
       LERNER
       1434 COUNTRY MANOR DRIVE     ACCOUNT NO.: NOT AVAILABLE
       941 GROVE STREET
       HEALDSBURG, CA 95448


3.2294 CARVER, DAVE                             VARIOUS                              Litigation              UNDETERMINED
       432 N. FRANKWOOD
       SANGER, CA 93657             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.2295 CARVER, WILLIAM                          VARIOUS                              Litigation              UNDETERMINED
       38820 TIN BARN ROAD
       STEWARTS POINT, CA 95480     ACCOUNT NO.: NOT AVAILABLE


3.2296 CARY, JAMES                              VARIOUS                              Litigation              UNDETERMINED
       3243 WEEPING WILLOW WAY
       CLEARLAKE OAKS, CA 95423     ACCOUNT NO.: NOT AVAILABLE


3.2297 CARY, JASON                              VARIOUS                              Litigation              UNDETERMINED
       303 MARNELL AVE
       SANTA CRUZ, CA 95062         ACCOUNT NO.: NOT AVAILABLE


3.2298 CASA AMIGOS-KADLE, MARIA                 VARIOUS                              Litigation              UNDETERMINED
       BETH
       1085 TASMAN DR               ACCOUNT NO.: NOT AVAILABLE
       SPC 812
       SUNNYVALE, CA 95089


3.2299 CASA ARROYO-CASTRO, IRMA                 VARIOUS                              Litigation              UNDETERMINED
       5800 3RD ST
       UNIT 1321                    ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94124


3.2300 CASA SORRENTO INC                        VARIOUS                              Litigation              UNDETERMINED
       393 SALINAS STREET
       SALINAS, CA 93901            ACCOUNT NO.: NOT AVAILABLE


3.2301 CASAL, PAULA                             VARIOUS                              Litigation              UNDETERMINED
       501 STRAWBERRY CANYON
       ROAD                         ACCOUNT NO.: NOT AVAILABLE
       WATSONVILLE, CA 95076


3.2302 CASAREZ, JAMES                           VARIOUS                              Litigation              UNDETERMINED
       3665 MCCALL AVE
       SELMA, CA 93662              ACCOUNT NO.: NOT AVAILABLE


3.2303 CASAS, LAURA                             VARIOUS                              Litigation              UNDETERMINED
       326 PINGREE WAY
       SSLINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.2304 CASAS, ROBERTO                           VARIOUS                              Litigation              UNDETERMINED
       409 LOS CERRITOS DR.
       VALLEJO, CA 94589            ACCOUNT NO.: NOT AVAILABLE


3.2305 CASE, ANN                                VARIOUS                              Litigation              UNDETERMINED
       415 PACHECHO AVE
       SANTA CRUZ, CA 95602         ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.2306 CASE, ROGER                              VARIOUS                              Litigation              UNDETERMINED
       91 MONTSALAS DR
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.2307 CASELLI, RICHARD                         VARIOUS                              Litigation              UNDETERMINED
       19329 ORANGE AVE
       19591 REDWOOD DRIVE          ACCOUNT NO.: NOT AVAILABLE
       MONTE RIO, CA 95462


3.2308 CASELLI, RONALD                          VARIOUS                              Litigation              UNDETERMINED
       742 BICKNELL ROAD
       LOS GATOS, CA 95030          ACCOUNT NO.: NOT AVAILABLE


3.2309 CASERZA, THERESA                         VARIOUS                              Litigation              UNDETERMINED
       931 PRIMROSE AVENUE
       SUNNYVALE, CA 94086          ACCOUNT NO.: NOT AVAILABLE


3.2310 CASEY CHAINEE-CHAINEE,                   VARIOUS                              Litigation              UNDETERMINED
       CASEY
       3044 GREENTREE WAY           ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95128


3.2311 CASEY MOVING SYSTEMS-                    VARIOUS                              Litigation              UNDETERMINED
       SMITH, LARRY
       2209 FAIRVIEW DRIVE          ACCOUNT NO.: NOT AVAILABLE
       CERES, CA 95307


3.2312 CASEY, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       507 ARROYO GRANDE LN
       SUISUN CITY, CA 94585        ACCOUNT NO.: NOT AVAILABLE


3.2313 CASEY, STEVE                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 2376
       ARNOLD, CA 95223             ACCOUNT NO.: NOT AVAILABLE


3.2314 CASEY, WILLIAM & LINDA                   VARIOUS                              Litigation              UNDETERMINED
       3243 MUNRAS PL
       SAN RAMON, CA 94583          ACCOUNT NO.: NOT AVAILABLE


3.2315 CASHO, CRAIG                             VARIOUS                              Litigation              UNDETERMINED
       2420 SHIBLEY AVE
       SAN JOSE, CA 95125           ACCOUNT NO.: NOT AVAILABLE


3.2316 CASH-WOLFE, LINDA                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 93
       8425 E HARNEY LANE           ACCOUNT NO.: NOT AVAILABLE
       LODI, CA 95237



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Litigation & Disputes

3.2317 CASILLAS, FRANCISCO                       VARIOUS                              Litigation              UNDETERMINED
       7 BAY FARMS RD
       ROYAL OAKS, CA 95076          ACCOUNT NO.: NOT AVAILABLE


3.2318 CASON, MICHELLE                           VARIOUS                              Litigation              UNDETERMINED
       521 ALTA VISTA COURT
       EL DORADO HILLS, CA 95762     ACCOUNT NO.: NOT AVAILABLE


3.2319 CASPAR BEACH RV PARK-                     VARIOUS                              Litigation              UNDETERMINED
       SCHNETGOECKE, MELISSA
       14441 POINT CABRILLO DRIVE    ACCOUNT NO.: NOT AVAILABLE
       MENDOCINO, CA 95460


3.2320 CASPER, TROY                              VARIOUS                              Litigation              UNDETERMINED
       2889 PRATO LANE
       CLOVIS, CA 93611              ACCOUNT NO.: NOT AVAILABLE


3.2321 CASS, MARLA                               VARIOUS                              Litigation              UNDETERMINED
       1046 W HILLSDALE BLVD
       SAN MATEO, CA                 ACCOUNT NO.: NOT AVAILABLE


3.2322 CASSAN, STANLEY                           VARIOUS                              Litigation              UNDETERMINED
       63 YANKEE POINT DRIVE
       CARMEL, CA 93923              ACCOUNT NO.: NOT AVAILABLE


3.2323 CASTANEDA, CORALENE                       VARIOUS                              Litigation              UNDETERMINED
       19010 KAREN DRIVE
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.2324 CASTANEDA, MARIA                          VARIOUS                              Litigation              UNDETERMINED
       333 EL CASTILLO VISTA
       SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


3.2325 CASTANEDA, ROBERT                         VARIOUS                              Litigation              UNDETERMINED
       1534 CLAY ST
       LOS ALTOS, CA 94024           ACCOUNT NO.: NOT AVAILABLE


3.2326 CASTANEDA, SANDRA                         VARIOUS                              Litigation              UNDETERMINED
       2701 VIRGINIA DRIVE
       BRENTWOOD, CA 94513           ACCOUNT NO.: NOT AVAILABLE


3.2327 CASTANEDA, VICTOR                         VARIOUS                              Litigation              UNDETERMINED
       LAW OFFICES OF ARA
       JABAGCHOURIAN, P.C.           ACCOUNT NO.: NOT AVAILABLE
       1650 S. AMPHLETT BLVD
       SAN MATEO, CA 94402




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Litigation & Disputes

3.2328 CASTANIETO ENTERPRISES-                  VARIOUS                              Litigation              UNDETERMINED
       CASTANIETO, CHERYLANN
       17490 LAZY DOG RD            ACCOUNT NO.: NOT AVAILABLE
       NEVADA CITY, CA 95959


3.2329 CASTEEL, TERI                            VARIOUS                              Litigation              UNDETERMINED
       9783 RASTRO WAY
       LA GRANGE, CA 95329          ACCOUNT NO.: NOT AVAILABLE


3.2330 CASTEEN, MARY                            VARIOUS                              Litigation              UNDETERMINED
       23 MONTE VISTA
       NOVATO, CA 94947             ACCOUNT NO.: NOT AVAILABLE


3.2331 CASTELLANOS, EDGAR                       VARIOUS                              Litigation              UNDETERMINED
       19265 REAVIS WAY
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.2332 CASTELLO, RICHARD                        VARIOUS                              Litigation              UNDETERMINED
       9831 EQUESTRIAN PL
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.2333 CASTELLON, BARBARA                       VARIOUS                              Litigation              UNDETERMINED
       133 VISTA LN
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.2334 CASTILLO, JESS                           VARIOUS                              Litigation              UNDETERMINED
       2215 LIBERTA DRIVE
       MORGAN HILL, CA 95037        ACCOUNT NO.: NOT AVAILABLE


3.2335 CASTILLO, JESSICA                        VARIOUS                              Litigation              UNDETERMINED
       18 LEROS COURT
       SACRAMENTO, CA 95823         ACCOUNT NO.: NOT AVAILABLE


3.2336 CASTILLO, JESSICA                        VARIOUS                              Litigation              UNDETERMINED
       256 LUCERNE AVENUE
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.2337 CASTILLO, LUIS                           VARIOUS                              Litigation              UNDETERMINED
       8721 CHURN VIEW PL
       REDDING, CA 96002            ACCOUNT NO.: NOT AVAILABLE


3.2338 CASTILLO, RAMONA                         VARIOUS                              Litigation              UNDETERMINED
       16917 EL RANCHO WAY
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address      Date Claim Was Incurred And         C U    D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.2339 CASTILLO, SANDRA                          VARIOUS                              Litigation              UNDETERMINED
       1236 DETROIT AVE APT 24
       CONCORD, CA 94520             ACCOUNT NO.: NOT AVAILABLE


3.2340 CASTILLO, SONNE                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 4037
       401 MCKEE RD., FELTON, CA,    ACCOUNT NO.: NOT AVAILABLE
       95018
       FELTON, CA 95018


3.2341 CASTILLO, TONYA                           VARIOUS                              Litigation              UNDETERMINED
       786 SPINDRIFT PLACE
       SAN JOSE, CA 95134            ACCOUNT NO.: NOT AVAILABLE


3.2342 CASTILLO, VINCENT                         VARIOUS                              Litigation              UNDETERMINED
       1337 VIENTO LANE
       WOODLAND, CA 95695            ACCOUNT NO.: NOT AVAILABLE


3.2343 CASTLE, BILL                              VARIOUS                              Litigation              UNDETERMINED
       5695 TUDOR WAY
       LOOMIS, CA 95650              ACCOUNT NO.: NOT AVAILABLE


3.2344 CASTLE, KAREN                             VARIOUS                              Litigation              UNDETERMINED
       4922 N. SUNSET AVE
       FRESNO, CA 93704              ACCOUNT NO.: NOT AVAILABLE


3.2345 CASTLE, MICHAEL                           VARIOUS                              Litigation              UNDETERMINED
       1025 RODRIGUEZ ST., SANTA
       CRUZ                          ACCOUNT NO.: NOT AVAILABLE
       4575 CRYSTAL ST.
       CAPITOLA, CA 95010


3.2346 CASTLEBERRY, DORINE                       VARIOUS                              Litigation              UNDETERMINED
       307 CABRILLO AVE
       SANTA CRUZ, CA 95065          ACCOUNT NO.: NOT AVAILABLE


3.2347 CASTO, HAROLD                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 388
       MARIPOSA, CA 95338            ACCOUNT NO.: NOT AVAILABLE


3.2348 CASTRO NAIL SALON                         VARIOUS                              Litigation              UNDETERMINED
       431 CASTRO STREET
       SAN FRANCISCO, CA 94114       ACCOUNT NO.: NOT AVAILABLE


3.2349 CASTRO, ERICA                             VARIOUS                              Litigation              UNDETERMINED
       1720 S DEPOT ST
       Q101                          ACCOUNT NO.: NOT AVAILABLE
       SANTA MARIA, CA 93458


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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.2350 CASTRO, ERICA                             VARIOUS                              Litigation              UNDETERMINED
       1720 S DEPOT ST
       Q101                          ACCOUNT NO.: NOT AVAILABLE
       SANTA MARIA, CA 93458


3.2351 CASTRO, FRANK                             VARIOUS                              Litigation              UNDETERMINED
       353 FAREHAM CT
       BYRON, CA 94505               ACCOUNT NO.: NOT AVAILABLE


3.2352 CASTRO, HUMBERTO                          VARIOUS                              Litigation              UNDETERMINED
       1658 BRANDON RD
       GRIDLEY, CA 95948             ACCOUNT NO.: NOT AVAILABLE


3.2353 CASTRO, JANET                             VARIOUS                              Litigation              UNDETERMINED
       2287 PEREZ ST APT 370
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.2354 CASTRO, MARLA                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 492933
       REDDING, CA 96049             ACCOUNT NO.: NOT AVAILABLE


3.2355 CASTRO, MARLENE                           VARIOUS                              Litigation              UNDETERMINED
       1119 PEMBRIDGE DR
       SAN JOSE, CA 95118            ACCOUNT NO.: NOT AVAILABLE


3.2356 CASTRO, RAMON                             VARIOUS                              Litigation              UNDETERMINED
       929A LINCOLN ST.
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.2357 CASTRO, VALERIE                           VARIOUS                              Litigation              UNDETERMINED
       388 NATURE DR, #A
       SAN JOSE, CA 95123            ACCOUNT NO.: NOT AVAILABLE


3.2358 CASTRO-HUMAR, PAMELA                      VARIOUS                              Litigation              UNDETERMINED
       30 EAST ROSSI #304
       SALINAS, CA 93901             ACCOUNT NO.: NOT AVAILABLE


3.2359 CATALAN, CHRISTOPHER                      VARIOUS                              Litigation              UNDETERMINED
       701 RAVEN DRIVE
       VACAVILLE, CA 95687           ACCOUNT NO.: NOT AVAILABLE


3.2360 CATCHINGS, LYNN & JOHN                    VARIOUS                              Litigation              UNDETERMINED
       469 2ND AVE
       SAN FRANCISCO, CA 94118       ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.2361 CATHERINE MADDEN, MICHAEL                VARIOUS                              Litigation              UNDETERMINED
       MADDED
       MARY ALEXANDER, BRENDAN      ACCOUNT NO.: NOT AVAILABLE
       WAY, CATALINA MUNOZ
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.2362 CATHERINE MADDEN, MICHAEL                VARIOUS                              Litigation              UNDETERMINED
       MADDED
       BOBBY THOMPSON               ACCOUNT NO.: NOT AVAILABLE
       701 AIRPORT BLVD
       SUITE 161
       BURLINGAME, CA 94010


3.2363 CATHEYS VALLEY FOOD AND                  VARIOUS                              Litigation              UNDETERMINED
       GAS-SINGH, PARMINDER
       4993 HORNITOS RD             ACCOUNT NO.: NOT AVAILABLE
       CATHEYS VALLEY, CA 95306


3.2364 CATHY, SYLVIA                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 10074
       SAN JOSE, CA 95157           ACCOUNT NO.: NOT AVAILABLE


3.2365 CATON PROPERTIES, CLIFF                  VARIOUS                              Litigation              UNDETERMINED
       2812 G STREET, STE #10
       MERCED, CA 95340             ACCOUNT NO.: NOT AVAILABLE


3.2366 CATRON, JANELL                           VARIOUS                              Litigation              UNDETERMINED
       2207 1ST ST
       BAKERSFIELD, CA 93304        ACCOUNT NO.: NOT AVAILABLE


3.2367 CATTLEMENS-AMANDA, C/O                   VARIOUS                              Litigation              UNDETERMINED
       250 DUTTON AVE
       SANTA ROSA, CA 95407         ACCOUNT NO.: NOT AVAILABLE


3.2368 CAUGHEY, DAN                             VARIOUS                              Litigation              UNDETERMINED
       P. O. BOX 71
       LA HONDA, CA 94020-0071      ACCOUNT NO.: NOT AVAILABLE


3.2369 CAUSIN, LARK & NED                       VARIOUS                              Litigation              UNDETERMINED
       13457 JESSICA WAY
       BROWNS VALLEY, CA 95918      ACCOUNT NO.: NOT AVAILABLE


3.2370 CAVALIERE, RICHARD                       VARIOUS                              Litigation              UNDETERMINED
       10566 RIDGECREST DRIVE
       JACKSON, CA 95642            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.2371 CAVALLO, MARC                             VARIOUS                              Litigation              UNDETERMINED
       2416 GREENWOOD HEIGHTS
       DRIVE                         ACCOUNT NO.: NOT AVAILABLE
       KNEELAND, CA 95549


3.2372 CAVANAGH, CHERYL                          VARIOUS                              Litigation              UNDETERMINED
       1601 SYLVAN WAY
       PARADISE, CA 95969            ACCOUNT NO.: NOT AVAILABLE


3.2373 CAVAZOS, JOANNA                           VARIOUS                              Litigation              UNDETERMINED
       3990 ELLMAR OAKS DR
       SAN JOSE, CA 95136            ACCOUNT NO.: NOT AVAILABLE


3.2374 CAVAZOS, JOSE                             VARIOUS                              Litigation              UNDETERMINED
       69 ROGGE RD
       352 MAIN ST., SALINAS, CA.,   ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.2375 CAVIL, RICHARD                            VARIOUS                              Litigation              UNDETERMINED
       18918 SEQUOIA DRIVE
       TWAIN HARTE, CA               ACCOUNT NO.: NOT AVAILABLE


3.2376 CAZARES, DIANA                            VARIOUS                              Litigation              UNDETERMINED
       9822 E EIGHT MILE ROAD
       STOCKTON, CA 95212            ACCOUNT NO.: NOT AVAILABLE


3.2377 CAZARES, VERONICA                         VARIOUS                              Litigation              UNDETERMINED
       1107 RYAN AVE
       FOWLER, CA 93625              ACCOUNT NO.: NOT AVAILABLE


3.2378 CAZAREZ VASQUEZ, VERONICA                 VARIOUS                              Litigation              UNDETERMINED
       2169 E. KENNEDY ST., SP 37
       MADERA, CA 93637              ACCOUNT NO.: NOT AVAILABLE


3.2379 CAZZATO, ANDREW OR ANDY                   VARIOUS                              Litigation              UNDETERMINED
       5360 FREEDOM BLVD
       APTOS, CA 95003               ACCOUNT NO.: NOT AVAILABLE


3.2380 CBCS-BURGER, CODY                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 28
       DUBUQUE, CA 52001             ACCOUNT NO.: NOT AVAILABLE


3.2381 CBGT-CHINO, WILLIAM                       VARIOUS                              Litigation              UNDETERMINED
       791 8TH STREET, STE B
       ARCATA, CA 95521              ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.2382 CDI / INSIGHT IMAGING-                   VARIOUS                              Litigation              UNDETERMINED
       SHANKWEILER, REBECCAH
       5775 WAYZATA BLVD            ACCOUNT NO.: NOT AVAILABLE
       400
       ST. LOUIS PARK, CA 55416


3.2383 CDUBB RESTAURANT                         VARIOUS                              Litigation              UNDETERMINED
       VENTURES LLC-WEBB, LISA
       6762 OLIVE BRANCH CT         ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95120


3.2384 CEAGLIO, ERICHIA                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 83
       SALYER, CA 95563             ACCOUNT NO.: NOT AVAILABLE


3.2385 CEARLEY, JOE                             VARIOUS                              Litigation              UNDETERMINED
       4431 DRIFTWOOD CT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.2386 CEBALLOS, ANNETTE                        VARIOUS                              Litigation              UNDETERMINED
       7521 ALEXANDER ST
       GILROY, CA 95020             ACCOUNT NO.: NOT AVAILABLE


3.2387 CEBALLOS, ENRIQUE                        VARIOUS                              Litigation              UNDETERMINED
       2025 SANTA RITA STREET
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.2388 CEBALLOS, ROCIO                          VARIOUS                              Litigation              UNDETERMINED
       3158 ORCHARD VIEW DRIVE
       FAIRFIELD, CA 94534          ACCOUNT NO.: NOT AVAILABLE


3.2389 CECH, CHARLES                            VARIOUS                              Litigation              UNDETERMINED
       7 WRIGHT PL
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.2390 CECILIO, JAYMIE                          VARIOUS                              Litigation              UNDETERMINED
       74 CARLTON DR
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.2391 CEDAR GROVE VILLAS                       VARIOUS                              Litigation              UNDETERMINED
       HOMEOWNERS ASSOCIATION -
       CHOMBO, ENRIQUE              ACCOUNT NO.: NOT AVAILABLE
       1935 DRY CREEK ROAD, #203
       CAMPBELL, CA 95008


3.2392 CEDAR RIDGE APPLE RANCH                  VARIOUS                              Litigation              UNDETERMINED
       LLC, WATSON, JAY
       14951 SENA LANE              ACCOUNT NO.: NOT AVAILABLE
       SONORA, CA 95370

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Including Zip Code                           Account Number                             Claim

Litigation & Disputes

3.2393 CEDILLO, YESSENIA                     VARIOUS                                  Litigation              UNDETERMINED
       7100 SHORELINE DRIVE, APT #84
       STOCKTON, CA 95219            ACCOUNT NO.: NOT AVAILABLE


3.2394 CEFALU, LILLIAN & SAM                     VARIOUS                              Litigation              UNDETERMINED
       1712 DORRANCE DRIVE
       SAN JOSE, CA 95125             ACCOUNT NO.: NOT AVAILABLE


3.2395 CEJA, JOSE                                VARIOUS                              Litigation              UNDETERMINED
       1 CACHUMA VILLAGE
       SANTA BARBARA, CA 93105        ACCOUNT NO.: NOT AVAILABLE


3.2396 CEJA, MARITZA                             VARIOUS                              Litigation              UNDETERMINED
       4005 MONET DRIVE
       STOCKTON, CA 95206             ACCOUNT NO.: NOT AVAILABLE


3.2397 CEJA, PATRICIA                            VARIOUS                              Litigation              UNDETERMINED
       193 SCHWERIN ST
       SAN FRANCISCO, CA 94134        ACCOUNT NO.: NOT AVAILABLE


3.2398 CEJA, STEVEN                              VARIOUS                              Litigation              UNDETERMINED
       10256 E EIGHT MILE ROAD
       STOCKTON, CA 95212             ACCOUNT NO.: NOT AVAILABLE


3.2399 CELAYA, MICHELLE                          VARIOUS                              Litigation              UNDETERMINED
       220 SOUTH CLOVIS AVE APT 236
       FRESNO, CA 93727               ACCOUNT NO.: NOT AVAILABLE


3.2400 CELAYD, JENNIFER                          VARIOUS                              Litigation              UNDETERMINED
       1923 BAYWOOD
       SAN JOSE, CA 95132             ACCOUNT NO.: NOT AVAILABLE


3.2401 CELESTRE, RALPH                           VARIOUS                              Litigation              UNDETERMINED
       3865 VERENA COURT
       AUBURN, CA 95602               ACCOUNT NO.: NOT AVAILABLE


3.2402 CELIS (ATTY REP'D), DEBRA                 VARIOUS                              Litigation              UNDETERMINED
       7 GLADSTONE DR
       SAN FRANCISCO, CA 94112        ACCOUNT NO.: NOT AVAILABLE


3.2403 CELLA, MARYANN                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 88
       DIABLO, CA 94528               ACCOUNT NO.: NOT AVAILABLE


3.2404 CENTENO, MONICA                           VARIOUS                              Litigation              UNDETERMINED
       713 EVEREST STREET
       LOS BANOS, CA 93635            ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.2405 CENTERO, LINA                            VARIOUS                              Litigation              UNDETERMINED
       525 WEST F STREET
       DIXON, CA 95620               ACCOUNT NO.: NOT AVAILABLE


3.2406 CENTONOVE LOS GATOS-                     VARIOUS                              Litigation              UNDETERMINED
       ROMANO, ANDREA
       109 W. MAIN STREET            ACCOUNT NO.: NOT AVAILABLE
       LOS GATOS, CA 95032


3.2407 CENTRAL CALIFORNIA OIL CO.,              VARIOUS                              Litigation              UNDETERMINED
       J.W. COVELLO
       PO BOX 22050                  ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93390


3.2408 CENTURION INS AGENCY-ROJA,               VARIOUS                              Litigation              UNDETERMINED
       CATALINA
       1414 PAJARO AVE, APT #41      ACCOUNT NO.: NOT AVAILABLE
       MANTECA, CA 95336


3.2409 CENTURY PLAZA APTS LLC-                  VARIOUS                              Litigation              UNDETERMINED
       PRADO, DEE
       321 W CENTURY BLVD            ACCOUNT NO.: NOT AVAILABLE
       LODI, CA 95240


3.2410 CENTURYLINK-HANTOUR,                     VARIOUS                              Litigation              UNDETERMINED
       NADER
       3929 VISTA ROMA DR            ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95136


3.2411 CEPHEA VALVE                             VARIOUS                              Litigation              UNDETERMINED
       TECHNOLOGIES-THAURE,
       THIERRY                       ACCOUNT NO.: NOT AVAILABLE
       3050 THREE SPRINGS COURT
       SAN JOSE, CA 95140


3.2412 CERDA, MARIA                             VARIOUS                              Litigation              UNDETERMINED
       1221 SONORA AVE
       MODESTO, CA 95351             ACCOUNT NO.: NOT AVAILABLE


3.2413 CERTAINTEED, SANDY BEACH                 VARIOUS                              Litigation              UNDETERMINED
       17775 AVE 23 1/2
       CHOWCHILLA, CA 93610          ACCOUNT NO.: NOT AVAILABLE


3.2414 CERVANTES, ALFREDO                       VARIOUS                              Litigation              UNDETERMINED
       1624 14TH ST
       APT 1                         ACCOUNT NO.: NOT AVAILABLE
       SAN PABLO, CA 94806




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Including Zip Code                             Account Number                            Claim

Litigation & Disputes

3.2415 CERVANTES, CAROL                           VARIOUS                              Litigation              UNDETERMINED
       1807 VENICE DRIVE
       349 QUARTZ LANE                  ACCOUNT NO.: NOT AVAILABLE
       CONCORD, CA 94519


3.2416 CERVANTES, EVERARDO                        VARIOUS                              Litigation              UNDETERMINED
       3545 COLUMBINE DRIVE
       SAN JOSE, CA 95127               ACCOUNT NO.: NOT AVAILABLE


3.2417 CERVANTES, LORENA                          VARIOUS                              Litigation              UNDETERMINED
       130 ARCH ST
       6                                ACCOUNT NO.: NOT AVAILABLE
       REDWOOD CITY, CA 94062


3.2418 CERVANTES, MARIA                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 822
       CHUALAR, CA 93925                ACCOUNT NO.: NOT AVAILABLE


3.2419 CERVANTES, MARTIN                          VARIOUS                              Litigation              UNDETERMINED
       20500 HWY1
       PO BOX 1113                      ACCOUNT NO.: NOT AVAILABLE
       BODEGA BAY, CA 94923


3.2420 CERVANTES, SALVADOR &                      VARIOUS                              Litigation              UNDETERMINED
       DOLMA
       2105 N MAIN STREET               ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.2421 CERVANTEZ, HENRY                           VARIOUS                              Litigation              UNDETERMINED
       116 VALLEY VIEW DRIVE
       PISMO BEACH, CA 93449            ACCOUNT NO.: NOT AVAILABLE


3.2422 Cesar Montelongo, Sr.; Leticia             VARIOUS                              Litigation              UNDETERMINED
       Pulido; Tatiana Mendoza-
       Osseguera; Meleny Destiny        ACCOUNT NO.: NOT AVAILABLE
       Montelongo Mendoza, by and
       through her guardian ad litem
       Tatiana Mendoza-Oseguera
       Law Office of Bryman & Apelian
       (Attorney for Plaintiffs)
       24025 Park Sorrento, Suite 220
       Calabasas, CA 91302




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Including Zip Code                               Account Number                           Claim

Litigation & Disputes

3.2423 Cesar Montelongo, Sr.; Leticia              VARIOUS                              Litigation              UNDETERMINED
       Pulido; Tatiana Mendoza-
       Osseguera; Meleny Destiny          ACCOUNT NO.: NOT AVAILABLE
       Montelongo Mendoza, by and
       through her guardian ad litem
       Tatiana Mendoza-Oseguera
       Law Offices of Gerald L. Marcus
       (Attorney for Plaintiffs)
       24025 Park Sorrento, Suite 430
       Calabasas, CA 91302


3.2424 Cesar Montelongo, Sr.; Leticia              VARIOUS                              Litigation              UNDETERMINED
       Pulido; Tatiana Mendoza-
       Osseguera; Meleny Destiny          ACCOUNT NO.: NOT AVAILABLE
       Montelongo Mendoza, by and
       through her guardian ad litem
       Tatiana Mendoza-Oseguera
       LeClairRyan, LLP (Attorney for
       Defendants, Freitas Bros. Farms)
       44 Montgomery Street, 18th Floor
       San Francisco, CA 94104


3.2425 CESARETTI, ASHLEY                           VARIOUS                              Litigation              UNDETERMINED
       5240 HWY 116 N
       SEBASTOPOL, CA 95472               ACCOUNT NO.: NOT AVAILABLE


3.2426 CESARIO, LORI                               VARIOUS                              Litigation              UNDETERMINED
       5936 BALBOA DR
       OAKLAND, CA 94611                  ACCOUNT NO.: NOT AVAILABLE


3.2427 CESAR'S FLOWERS-GARCIA,                     VARIOUS                              Litigation              UNDETERMINED
       CESAR
       26000 ENCINAL RD                   ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93908


3.2428 CHABOYA, KURT                               VARIOUS                              Litigation              UNDETERMINED
       164 ROBINWOOD PL
       VALLEY SPRINGS, CA 95252           ACCOUNT NO.: NOT AVAILABLE


3.2429 CHADHA, TEJBANS                             VARIOUS                              Litigation              UNDETERMINED
       50 LIMA TERRACE
       FREMONT, CA 94539                  ACCOUNT NO.: NOT AVAILABLE


3.2430 CHADWIN, GAIL                               VARIOUS                              Litigation              UNDETERMINED
       130 BUENA VISTA DR
       SONOMA, CA 95476                   ACCOUNT NO.: NOT AVAILABLE


3.2431 CHAFFIN, PAMELA                             VARIOUS                              Litigation              UNDETERMINED
       4737 MONTGOMERY DR
       SANTA ROSA, CA 95409               ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.2432 CHAI THAI NOODLES-                        VARIOUS                              Litigation              UNDETERMINED
       MANYVONG, THOMAS
       20955 MISSION BLVD            ACCOUNT NO.: NOT AVAILABLE
       HAYWARD, CA 94541


3.2433 CHAKA, UDAY KIRAN                         VARIOUS                              Litigation              UNDETERMINED
       905 W MIDDLEFIELD ROAD
       UNIT 922                      ACCOUNT NO.: NOT AVAILABLE
       MOUNTAIN VIEW, CA 94043


3.2434 CHALK MOUNTAIN GOLF                       VARIOUS                              Litigation              UNDETERMINED
       COURSE-CLAY, JOEL
       10000 EL BORDO AVENUE         ACCOUNT NO.: NOT AVAILABLE
       ATASCADERO, CA 93422


3.2435 CHAMBERS, JOANNE                          VARIOUS                              Litigation              UNDETERMINED
       24861 HUTCHINSON RD
       LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.2436 CHAMBERS, JOY                             VARIOUS                              Litigation              UNDETERMINED
       2260 N MAIN ST
       APT104                        ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.2437 CHAMBERS, PEGGY                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 37
       WEST POINT, CA 95255          ACCOUNT NO.: NOT AVAILABLE


3.2438 CHAMBLISS, TARAZANO                       VARIOUS                              Litigation              UNDETERMINED
       1617 CAVALLO ROAD #D
       ANTIOCH, CA 94509             ACCOUNT NO.: NOT AVAILABLE


3.2439 CHAMORRO, DANIEL                          VARIOUS                              Litigation              UNDETERMINED
       553 THIRD AVE
       SAN BRUNO, CA 94066           ACCOUNT NO.: NOT AVAILABLE


3.2440 CHAMP, OREN                               VARIOUS                              Litigation              UNDETERMINED
       10206 RIATA LN
       BAKERSFIELD, CA 93306         ACCOUNT NO.: NOT AVAILABLE


3.2441 CHAMPAGNE, GARY                           VARIOUS                              Litigation              UNDETERMINED
       5632 PONCA WAY
       KELSEYVILLE, CA 95451         ACCOUNT NO.: NOT AVAILABLE


3.2442 CHAMPAS, MILTON                           VARIOUS                              Litigation              UNDETERMINED
       11128 VISTA DEL SOL
       AUBURN, CA 95603              ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.2443 CHAMPION, PETER                          VARIOUS                              Litigation              UNDETERMINED
       703 MARIPOSA AVE
       RODEO, CA 94572                ACCOUNT NO.: NOT AVAILABLE


3.2444 CHAN, CHEE WAI                           VARIOUS                              Litigation              UNDETERMINED
       990 AUTUMN OAK CIR
       CONCORD, CA 94521              ACCOUNT NO.: NOT AVAILABLE


3.2445 CHAN, CINDY                              VARIOUS                              Litigation              UNDETERMINED
       826 N. MAYFAIR AVE
       DALY CITY, CA 94015            ACCOUNT NO.: NOT AVAILABLE


3.2446 CHAN, DARLENE                            VARIOUS                              Litigation              UNDETERMINED
       1374 TAPER COURT
       1009 E CAPITOL EXP #252, SAN   ACCOUNT NO.: NOT AVAILABLE
       JOSE CA
       SAN JOSE, CA 95122


3.2447 CHAN, GABRIEL                            VARIOUS                              Litigation              UNDETERMINED
       113 CASEY DR
       SOUTH SAN FRANCISCO, CA        ACCOUNT NO.: NOT AVAILABLE
       94080


3.2448 CHAN, GINA                               VARIOUS                              Litigation              UNDETERMINED
       1631 7TH AVENUE
       SAN FRANCISCO, CA 94122        ACCOUNT NO.: NOT AVAILABLE


3.2449 CHAN, HO YIN                             VARIOUS                              Litigation              UNDETERMINED
       663 MOORPARK WAY
       APT 5                          ACCOUNT NO.: NOT AVAILABLE
       MOUNTAIN VIEW, CA 94041


3.2450 CHAN, JUDY                               VARIOUS                              Litigation              UNDETERMINED
       219 TOPAZ WAY
       SAN FRANCISCO, CA 94131        ACCOUNT NO.: NOT AVAILABLE


3.2451 CHAN, JUNG KUNG                          VARIOUS                              Litigation              UNDETERMINED
       1811 CROWN PEAK WAY
       ANTIOCH, CA 94531              ACCOUNT NO.: NOT AVAILABLE


3.2452 CHAN, NORMAN                             VARIOUS                              Litigation              UNDETERMINED
       1690 19TH AVE
       SAN FRANCISCO, CA 94122        ACCOUNT NO.: NOT AVAILABLE


3.2453 CHAN, TERRY                              VARIOUS                              Litigation              UNDETERMINED
       6241 MISSION STREET
       DALY CITY, CA 94104            ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.2454 CHAN, WAYNE                              VARIOUS                              Litigation              UNDETERMINED
       19300 SKYLINE BLVD
       LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.2455 CHAN, WAYNE                              VARIOUS                              Litigation              UNDETERMINED
       19300 SKYLINE BLVD
       LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.2456 CHAND, KASHMIR                           VARIOUS                              Litigation              UNDETERMINED
       4006 W FOUNTAIN WAY
       FRESNO, CA 93722              ACCOUNT NO.: NOT AVAILABLE


3.2457 CHAND, KIRAN                             VARIOUS                              Litigation              UNDETERMINED
       31 TANFORAN AVE
       SAN BRUNO, CA 94066           ACCOUNT NO.: NOT AVAILABLE


3.2458 CHAND, RONIEL                            VARIOUS                              Litigation              UNDETERMINED
       1030 FRANKLIN STREET, # 302
       SAN FRANCISCO, CA 94109       ACCOUNT NO.: NOT AVAILABLE


3.2459 CHAND, SURESH                            VARIOUS                              Litigation              UNDETERMINED
       26191 BUCKHORN RIDGE RD
       PIONEER, CA 95666             ACCOUNT NO.: NOT AVAILABLE


3.2460 CHANDLER, ADRIAN                         VARIOUS                              Litigation              UNDETERMINED
       25 MIMOSA LN
       CHICO, CA 95973               ACCOUNT NO.: NOT AVAILABLE


3.2461 CHANDLER, CALLIE                         VARIOUS                              Litigation              UNDETERMINED
       26400 VIA MALLORCA
       CARMEL, CA 93923              ACCOUNT NO.: NOT AVAILABLE


3.2462 CHANDLER, DAVE AND JEFF                  VARIOUS                              Litigation              UNDETERMINED
       3315 CAXTON COURT
       SAN MATEO, CA 94403           ACCOUNT NO.: NOT AVAILABLE


3.2463 CHANDLERS CONSTRUCTION-                  VARIOUS                              Litigation              UNDETERMINED
       VIRLA, SAM
       1226 11TH ST                  ACCOUNT NO.: NOT AVAILABLE
       MODESTO, CA 95354


3.2464 CHANDON, INC, DOMAINE                    VARIOUS                              Litigation              UNDETERMINED
       1 CALIFORNIA DR.
       ATTN. DAVID JUNOD             ACCOUNT NO.: NOT AVAILABLE
       YOUNTVILLE, CA 94599




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2465 CHANDRA, ILEEN                           VARIOUS                              Litigation              UNDETERMINED
       35 SAN BRUNO AVENUE
       APARTMENT # 17               ACCOUNT NO.: NOT AVAILABLE
       BRISBANE, CA 94005


3.2466 CHANE, WALLACE                           VARIOUS                              Litigation              UNDETERMINED
       7100 RAINBOW DRIVE
       SAN JOSE, CA 95129           ACCOUNT NO.: NOT AVAILABLE


3.2467 CHANEY, MILDRED                          VARIOUS                              Litigation              UNDETERMINED
       9133 E HARNEY LANE
       LODI, CA 95240               ACCOUNT NO.: NOT AVAILABLE


3.2468 CHANEY, TERRI                            VARIOUS                              Litigation              UNDETERMINED
       12318 ALTA SIERRA DR.
       GRASS VALLEY, CA 95949       ACCOUNT NO.: NOT AVAILABLE


3.2469 CHANG, CHARLENE                          VARIOUS                              Litigation              UNDETERMINED
       1620 HOLLY LANE
       DAVIS, CA 95616              ACCOUNT NO.: NOT AVAILABLE


3.2470 CHANG, CHARLOTTE                         VARIOUS                              Litigation              UNDETERMINED
       3265 16TH ST
       SAN FRANCISCO, CA 94103      ACCOUNT NO.: NOT AVAILABLE


3.2471 CHANG, HAJIN                             VARIOUS                              Litigation              UNDETERMINED
       3612 CUEN CT
       SAN JOSE, CA 95136           ACCOUNT NO.: NOT AVAILABLE


3.2472 CHANG, HANNA                             VARIOUS                              Litigation              UNDETERMINED
       392 SANTA DIANA TER
       SUNNYVALE, CA 94085          ACCOUNT NO.: NOT AVAILABLE


3.2473 CHANG, JULIUS                            VARIOUS                              Litigation              UNDETERMINED
       7124 BRET HARTE DRIVE
       SAN JOSE, CA 95120           ACCOUNT NO.: NOT AVAILABLE


3.2474 CHANG, MARIA                             VARIOUS                              Litigation              UNDETERMINED
       966 WHISPERING PINES DRIVE
       SCOTTS VALLEY, CA 95066      ACCOUNT NO.: NOT AVAILABLE


3.2475 CHANHMISAY, TIFFANIE                     VARIOUS                              Litigation              UNDETERMINED
       36613 BURDICK ST
       NEWARK, CA 94560             ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address     Date Claim Was Incurred And         C U    D    Basis For    Offset    Amount of Claim
Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2476 CHANHONG, WUTICHAI                       VARIOUS                              Litigation              UNDETERMINED
       626 HAMPTON RD
       HAYWARD, CA 94541            ACCOUNT NO.: NOT AVAILABLE


3.2477 CHANNEL ISLANDS FIDUCIARY                VARIOUS                              Litigation              UNDETERMINED
       GROUP-JOHN KATTAI, ESTATE
       OF                           ACCOUNT NO.: NOT AVAILABLE
       132 E. FIGUEROA STREET
       SANTA BARBARA, CA 93101


3.2478 CHAO, CHING YUAN                         VARIOUS                              Litigation              UNDETERMINED
       1489 W SAN CARLOS ST.
       SAN JOSE, CA 95126           ACCOUNT NO.: NOT AVAILABLE


3.2479 CHAO, MASON                              VARIOUS                              Litigation              UNDETERMINED
       2556 SHADOW MOUNTAIN ROAD
       SAN RAMON, CA 94583          ACCOUNT NO.: NOT AVAILABLE


3.2480 CHAPEL STREET HOMES, LLC,                VARIOUS                              Litigation              UNDETERMINED
       KELLY KELLEY
       4900 CALIFORNIA AVENUE       ACCOUNT NO.: NOT AVAILABLE
       3604 LAVERNE
       BAKERSFIELD, CA 93309


3.2481 CHAPMAN, CALEN                           VARIOUS                              Litigation              UNDETERMINED
       443 STONEBRIDGE DRIVE
       CHICO, CA 95973              ACCOUNT NO.: NOT AVAILABLE


3.2482 CHAPMAN, DAVID                           VARIOUS                              Litigation              UNDETERMINED
       4833 SOUTH POINT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.2483 CHAPMAN, JEREMY                          VARIOUS                              Litigation              UNDETERMINED
       34832 ROAD 223
       NORTH FORK, CA 93643         ACCOUNT NO.: NOT AVAILABLE


3.2484 CHAPMAN, JOSEPH                          VARIOUS                              Litigation              UNDETERMINED
       1824 SLEEPY DR
       YUBA CITY, CA 95991          ACCOUNT NO.: NOT AVAILABLE


3.2485 CHAPMAN, SCOTT                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX B81
       LA HONDA, CA 94020           ACCOUNT NO.: NOT AVAILABLE


3.2486 CHAPMAN, TREVOR                          VARIOUS                              Litigation              UNDETERMINED
       2664 EL GOYA DRIVE
       MODESTO, CA 95354            ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                            Account Number                           Claim

Litigation & Disputes

3.2487 CHAPPLE, JONATHAN                        VARIOUS                              Litigation              UNDETERMINED
       2516 SUTTER ST
       SAN FRANCISCO, CA 94115         ACCOUNT NO.: NOT AVAILABLE


3.2488 CHARITIES HOUSING-                       VARIOUS                              Litigation              UNDETERMINED
       HERNANDEZ, MARLENE
       1400 PARKMOOR AVE STE 190       ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95126


3.2489 CHARKOW, ALLEN                           VARIOUS                              Litigation              UNDETERMINED
       11887 OLD FRIANT RD
       FRESNO, CA 93730                ACCOUNT NO.: NOT AVAILABLE


3.2490 CHARLES HUFFMAN C/O                      VARIOUS                              Litigation              UNDETERMINED
       ATTORNEY
       JANG & ASSOCIATES, LLP          ACCOUNT NO.: NOT AVAILABLE
       1766 LACASSIE AVE., SUITE 200
       WALNUT CREEK, CA 94596


3.2491 CHARLES MAIER                            VARIOUS                              Litigation              UNDETERMINED
       BRERETON LAW OFFICE
       1362 PACIFIC AVE, STE. 220      ACCOUNT NO.: NOT AVAILABLE
       SANTA CRUZ, CA 95060


3.2492 CHARLES, PARIS                           VARIOUS                              Litigation              UNDETERMINED
       2420 HOFFMAN LANE
       BYRON, CA 94514                 ACCOUNT NO.: NOT AVAILABLE


3.2493 CHARLESTON, JEFF                         VARIOUS                              Litigation              UNDETERMINED
       16419 MARK ROAD
       MADERA, CA 93636                ACCOUNT NO.: NOT AVAILABLE


3.2494 CHARLESTON, LASHAY                       VARIOUS                              Litigation              UNDETERMINED
       137 CHASE STREET
       VALLEJO, CA 94590               ACCOUNT NO.: NOT AVAILABLE


3.2495 CHARLIES CAFE-HARB,                      VARIOUS                              Litigation              UNDETERMINED
       CHARLES
       3202 FOLSOM ST                  ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94110


3.2496 CHARMBURY, KARYN                         VARIOUS                              Litigation              UNDETERMINED
       120 TREVANA WAY
       OROVILLE, CA 95966              ACCOUNT NO.: NOT AVAILABLE


3.2497 CHARNOSKI, KIRSTEN                       VARIOUS                              Litigation              UNDETERMINED
       14515 BOBBIE LANE
       PIONEER, CA 95666               ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.2498 CHARTER PROPERTIES-                      VARIOUS                              Litigation              UNDETERMINED
       WILSON, KELLY
       38 GARDENSIDE DR APT 4       ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94131


3.2499 CHARTIS PROPERTY CASUALTY                VARIOUS                              Litigation              UNDETERMINED
       CO.-SUSSON, MARK
       2 CORPORATE PLAZA DR.        ACCOUNT NO.: NOT AVAILABLE
       275
       NEWPORT BEACH, CA 92660


3.2500 CHASAR, MARYANN                          VARIOUS                              Litigation              UNDETERMINED
       12350 CHRISTENSON STREET
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.2501 CHASE, BRENT                             VARIOUS                              Litigation              UNDETERMINED
       17250 FLOWERS LANE
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.2502 CHASE, CAROLYN                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 95
       41 DRAKE SUMMIT ROAD         ACCOUNT NO.: NOT AVAILABLE
       PT REYES STATION, CA 94956


3.2503 CHASE, DAWN                              VARIOUS                              Litigation              UNDETERMINED
       202 SPRUCE STREET
       NEWARK, CA 07108             ACCOUNT NO.: NOT AVAILABLE


3.2504 CHASE, JOHN & BARBARA                    VARIOUS                              Litigation              UNDETERMINED
       400 DEER VALLEY ROAD
       SAN RAFAEL, CA 94903         ACCOUNT NO.: NOT AVAILABLE


3.2505 CHASE, LAURA                             VARIOUS                              Litigation              UNDETERMINED
       210 ARDENNES CIR
       SEASIDE, CA 93955            ACCOUNT NO.: NOT AVAILABLE


3.2506 CHASER, MARYANN                          VARIOUS                              Litigation              UNDETERMINED
       12350 CHRISTENSEN ROAD #3
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.2507 CHATAS, BRETT                            VARIOUS                              Litigation              UNDETERMINED
       1916 CHERRY HILLS DR
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.2508 CHATEAU DU SUREAU, INC.-                 VARIOUS                              Litigation              UNDETERMINED
       STEPHENS, CARINA
       PO BOX 2413                  ACCOUNT NO.: NOT AVAILABLE
       OAKHURST, CA 93644


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Litigation & Disputes

3.2509 CHATEAU EDELWEISS-ULRICH,                VARIOUS                              Litigation              UNDETERMINED
       CATHERINE
       2030 OAK WAY                  ACCOUNT NO.: NOT AVAILABLE
       ARROYO GRANDE, CA 93420


3.2510 CHATMAN, OLAJIGDE                        VARIOUS                              Litigation              UNDETERMINED
       6300 SUMMERFIELD DRIVE, APT
       D1                            ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93313


3.2511 CHATMON, HERBERT                         VARIOUS                              Litigation              UNDETERMINED
       3811 LAKESIDE DR. APT. C106
       RICHMOND, CA 94806            ACCOUNT NO.: NOT AVAILABLE


3.2512 CHATOFF, WAYNE                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 469
       8825 E HWY 20                 ACCOUNT NO.: NOT AVAILABLE
       GLENHAVEN, CA 95443


3.2513 CHATOM WINERY-HATCHER,                   VARIOUS                              Litigation              UNDETERMINED
       MATT
       1969 HWY 4                    ACCOUNT NO.: NOT AVAILABLE
       VALLECITO, CA 95251


3.2514 CHATOM WINERY-HATCHER,                   VARIOUS                              Litigation              UNDETERMINED
       MATT
       1969 HWY 4                    ACCOUNT NO.: NOT AVAILABLE
       VALLECITO, CA 95251


3.2515 CHATTERTON, RANDAL                       VARIOUS                              Litigation              UNDETERMINED
       1521 R STREET
       ARCATA, CA 95521              ACCOUNT NO.: NOT AVAILABLE


3.2516 CHAUDHARY, LAXMI                         VARIOUS                              Litigation              UNDETERMINED
       1585 UNIVERSITY AVE.
       BERKELEY, CA 94703            ACCOUNT NO.: NOT AVAILABLE


3.2517 CHAUM, STEVEN                            VARIOUS                              Litigation              UNDETERMINED
       2040 NORTH AVE
       NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.2518 CHAUVENNE, RICHARD                       VARIOUS                              Litigation              UNDETERMINED
       1620 ADELAIDE ST.#29
       CONCORD, CA 94520             ACCOUNT NO.: NOT AVAILABLE


3.2519 CHAUVIN, DORIS                           VARIOUS                              Litigation              UNDETERMINED
       1125 LITAHNI LANE
       NIPOMO, CA 93444              ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.2520 CHAVARRIA, GABRIEL                        VARIOUS                              Litigation              UNDETERMINED
       126 CLAYTON AVE
       SAN JOSE, CA 95110            ACCOUNT NO.: NOT AVAILABLE


3.2521 CHAVES, DANNY                             VARIOUS                              Litigation              UNDETERMINED
       866 WILLOW CREEK RD
       PAICINES, CA 95043            ACCOUNT NO.: NOT AVAILABLE


3.2522 CHAVEZ OCHOA, BRIAN                       VARIOUS                              Litigation              UNDETERMINED
       3178 CRESTVIEW DR
       BURSON, CA 95225              ACCOUNT NO.: NOT AVAILABLE


3.2523 CHAVEZ, ANGELA                            VARIOUS                              Litigation              UNDETERMINED
       1807 MARLESTA COURT
       APARTMENT E                   ACCOUNT NO.: NOT AVAILABLE
       PINOLE, CA 94564


3.2524 CHAVEZ, BRIAN                             VARIOUS                              Litigation              UNDETERMINED
       2296 N MAIN ST
       APT 61                        ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.2525 CHAVEZ, CECILIA                           VARIOUS                              Litigation              UNDETERMINED
       1864 CHRISTINA AVE
       STOCKTON, CA 95204            ACCOUNT NO.: NOT AVAILABLE


3.2526 CHAVEZ, CRYSTAL                           VARIOUS                              Litigation              UNDETERMINED
       6951 MARVIN TRAIL
       REDDING, CA 96001             ACCOUNT NO.: NOT AVAILABLE


3.2527 CHAVEZ, ELI                               VARIOUS                              Litigation              UNDETERMINED
       945 NORTH STREET
       WOODLAND, CA 95695            ACCOUNT NO.: NOT AVAILABLE


3.2528 CHAVEZ, ERIC                              VARIOUS                              Litigation              UNDETERMINED
       20 TTALBOT ST
       SALINAS, CA 93901             ACCOUNT NO.: NOT AVAILABLE


3.2529 CHAVEZ, FLORINDA                          VARIOUS                              Litigation              UNDETERMINED
       413 LAKEVIEW RD
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.2530 CHAVEZ, GLORIA                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1846
       SAN JOAQUIN, CA 93660         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.2531 CHAVEZ, JOSE & GREISSY                   VARIOUS                              Litigation              UNDETERMINED
       1307 SUSSEX COURT
       KING CITY, CA 93930          ACCOUNT NO.: NOT AVAILABLE


3.2532 CHAVEZ, MARIA                            VARIOUS                              Litigation              UNDETERMINED
       511 ROOSEVELT ST.
       SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.2533 CHAVEZ, MICHELLE                         VARIOUS                              Litigation              UNDETERMINED
       3610 BISORDI IN
       FULTON, CA 95439             ACCOUNT NO.: NOT AVAILABLE


3.2534 CHAVEZ, ORLANDO                          VARIOUS                              Litigation              UNDETERMINED
       4137 NORTH ANCHOR CT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.2535 CHAVEZ, PEDRO & MELISSA                  VARIOUS                              Litigation              UNDETERMINED
       20459 MALSBARY STREET
       RIVERDALE, CA 93656          ACCOUNT NO.: NOT AVAILABLE


3.2536 CHAVEZ, ROBERT & NANCY                   VARIOUS                              Litigation              UNDETERMINED
       36742 REYNOLDS DRIVE
       FREMONT, CA 94536            ACCOUNT NO.: NOT AVAILABLE


3.2537 CHAVEZ, VANESSA                          VARIOUS                              Litigation              UNDETERMINED
       1021 POLK ST.
       24                           ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.2538 CHE, TRAN                                VARIOUS                              Litigation              UNDETERMINED
       1588 MERIDIAN AVE
       SAN JOSE, CA 95125           ACCOUNT NO.: NOT AVAILABLE


3.2539 CHEAR, VARN                              VARIOUS                              Litigation              UNDETERMINED
       34113 FREMONT BLVD.
       FREMONT, CA 94555            ACCOUNT NO.: NOT AVAILABLE


3.2540 CHEATHAM, CHARLIE                        VARIOUS                              Litigation              UNDETERMINED
       1607 PHILLIPS LN
       SAN LUIS OBISPO, CA 93401    ACCOUNT NO.: NOT AVAILABLE


3.2541 CHEDEKEL, CLAIRE                         VARIOUS                              Litigation              UNDETERMINED
       25 AZALEA AVE.
       FAIRFAX, CA 94930            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2542 CHEF LEES MANDARIN HOUSE                 VARIOUS                              Litigation              UNDETERMINED
       2-LEE, LINSTUN
       1616 NORTH MAIN STREET       ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.2543 CHEF XIN, LI ZHEY                        VARIOUS                              Litigation              UNDETERMINED
       855 W EL CAMINO READ
       MOUNTAIN VIEW, CA 94040      ACCOUNT NO.: NOT AVAILABLE


3.2544 CHEF'A KWAN-QUAN, JASON                  VARIOUS                              Litigation              UNDETERMINED
       630 MENLO AVE
       MENLO PARK, CA 94025         ACCOUNT NO.: NOT AVAILABLE


3.2545 CHEM A ALLEMAND -                        VARIOUS                              Litigation              UNDETERMINED
       ALLEMAND, CHERYL
       1069 PHELPS AVE              ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA


3.2546 CHEM, SOPHAT                             VARIOUS                              Litigation              UNDETERMINED
       1620 WAUDMAN AVENUE
       STOCKTON, CA 95209           ACCOUNT NO.: NOT AVAILABLE


3.2547 CHEN, ALBERT                             VARIOUS                              Litigation              UNDETERMINED
       4144 BEACON PLACE
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.2548 CHEN, ANDY                               VARIOUS                              Litigation              UNDETERMINED
       209 FAIRWAY DR
       SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
       94080


3.2549 CHEN, CHUNFEI                            VARIOUS                              Litigation              UNDETERMINED
       1438 MALLARD WAY
       SUNNYVALE, CA 94087          ACCOUNT NO.: NOT AVAILABLE


3.2550 CHEN, FANGWOAN                           VARIOUS                              Litigation              UNDETERMINED
       1110 DANBURY DRIVE
       SAN JOSE, CA 95129           ACCOUNT NO.: NOT AVAILABLE


3.2551 CHEN, HANXI                              VARIOUS                              Litigation              UNDETERMINED
       2993 SLOAT RD
       DEL MONTE FOREST, CA 93953   ACCOUNT NO.: NOT AVAILABLE


3.2552 CHEN, JIHYIN                             VARIOUS                              Litigation              UNDETERMINED
       44973 GARDENIA WAY
       FREMONT, CA 94539            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2553 CHEN, JOHN                               VARIOUS                              Litigation              UNDETERMINED
       5768 LUPIN LANE
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.2554 CHEN, MELINDA & HOOVER                   VARIOUS                              Litigation              UNDETERMINED
       21396 MARIA LANE
       SARATOGA, CA 95070           ACCOUNT NO.: NOT AVAILABLE


3.2555 CHEN, MIMI                               VARIOUS                              Litigation              UNDETERMINED
       94 CRESTLINE AVE
       DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE


3.2556 CHEN, TK                                 VARIOUS                              Litigation              UNDETERMINED
       1119 CORNELL AVE
       ALBANY, CA 94706             ACCOUNT NO.: NOT AVAILABLE


3.2557 CHEN, WILLIAM                            VARIOUS                              Litigation              UNDETERMINED
       26 LOMA VISTA DR.
       ORINDA, CA 94563             ACCOUNT NO.: NOT AVAILABLE


3.2558 CHEN, YUNGWEI                            VARIOUS                              Litigation              UNDETERMINED
       97 AMOROK WAY
       FREMONT, CA 94539            ACCOUNT NO.: NOT AVAILABLE


3.2559 CHEN/NATIONWIDE                          VARIOUS                              Litigation              UNDETERMINED
       1100 LOCUST STREET DEPT
       2019                         ACCOUNT NO.: NOT AVAILABLE
       DES MOINES, CA 50391-2019


3.2560 CHENEY, BLAIR                            VARIOUS                              Litigation              UNDETERMINED
       1649 CAIRO STREET
       LIVERMORE, CA 94550          ACCOUNT NO.: NOT AVAILABLE


3.2561 CHENG, HUIFEN                            VARIOUS                              Litigation              UNDETERMINED
       231 ALTA LOMA DR
       SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
       94080


3.2562 CHENG, LIK                               VARIOUS                              Litigation              UNDETERMINED
       1658 PROVINCETOWN DR
       SAN JOSE, CA 95129           ACCOUNT NO.: NOT AVAILABLE


3.2563 CHENG, LOUIS                             VARIOUS                              Litigation              UNDETERMINED
       591 BELLA VISTGA
       FREMONT, CA                  ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2564 CHENG, PAUL                              VARIOUS                              Litigation              UNDETERMINED
       115 OLYMPIA WAY
       SAN FRANCISCO, CA 94131      ACCOUNT NO.: NOT AVAILABLE


3.2565 CHENG, STEPHEN & WINNIE                  VARIOUS                              Litigation              UNDETERMINED
       2819 WAWONA ST.
       3259 COUNTRYSIDE DR., SAN    ACCOUNT NO.: NOT AVAILABLE
       MATEO, 94403
       SAN FRANCISCO, CA 94116


3.2566 CHENG, SUE                               VARIOUS                              Litigation              UNDETERMINED
       13685 CAMINO RICO
       SARATOGA, CA 95070           ACCOUNT NO.: NOT AVAILABLE


3.2567 CHENOWETH, DONALD                        VARIOUS                              Litigation              UNDETERMINED
       10333 MORGAN TERRITORY
       ROAD                         ACCOUNT NO.: NOT AVAILABLE
       LIVERMORE, CA 94551


3.2568 CHEONG, KAM                              VARIOUS                              Litigation              UNDETERMINED
       3238 FLEMINGTON CT
       PLEASANTON, CA 94588         ACCOUNT NO.: NOT AVAILABLE


3.2569 CHERF, SCOTT                             VARIOUS                              Litigation              UNDETERMINED
       734 PINO WAY
       PASO ROBLES, CA 93446        ACCOUNT NO.: NOT AVAILABLE


3.2570 CHERNOY, MICHAEL                         VARIOUS                              Litigation              UNDETERMINED
       25947 DEER RUN LANE
       SALINAS, CA 93908            ACCOUNT NO.: NOT AVAILABLE


3.2571 CHERRY, JAMES                            VARIOUS                              Litigation              UNDETERMINED
       651 E I ST
       BENICIA, CA 94510            ACCOUNT NO.: NOT AVAILABLE


3.2572 CHERRYWOOD CAFE & GRILL-                 VARIOUS                              Litigation              UNDETERMINED
       MACHADO, JAMES
       319 BUSH STREET              ACCOUNT NO.: NOT AVAILABLE
       GREENVILLE, CA 95947


3.2573 CHERRYWOOD CAFE AND GILL-                VARIOUS                              Litigation              UNDETERMINED
       MACHADO, JAMES
       301 CRESTCENT ST             ACCOUNT NO.: NOT AVAILABLE
       GREENVILE, CA 95947


3.2574 CHESNUTT, JOHN                           VARIOUS                              Litigation              UNDETERMINED
       195 PICKERING PLACE
       WALNUT CREEK, CA 94598       ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.2575 CHESS MOUNTAIN TREE                      VARIOUS                              Litigation              UNDETERMINED
       SERVICE, CHESS GREG
       27 CREEKSIDE DRIVE           ACCOUNT NO.: NOT AVAILABLE
       CAMP CONNELL, CA 95223


3.2576 CHETAL, MANJU                            VARIOUS                              Litigation              UNDETERMINED
       292 BAYBERRY COMMON
       FREMONT, CA 94539            ACCOUNT NO.: NOT AVAILABLE


3.2577 CHETCUTI, ELIZABETH                      VARIOUS                              Litigation              UNDETERMINED
       1636 WARBLER WAY
       SUNNYVALE, CA 94087          ACCOUNT NO.: NOT AVAILABLE


3.2578 CHETTRI, HARI                            VARIOUS                              Litigation              UNDETERMINED
       38863 FREMONT BLVD APT #28
       FREMONT, CA 94536            ACCOUNT NO.: NOT AVAILABLE


3.2579 CHEUNG, HOFFMAN                          VARIOUS                              Litigation              UNDETERMINED
       614 SERRAMONTE COURT
       DANVILLE, CA 94526           ACCOUNT NO.: NOT AVAILABLE


3.2580 CHEUNG, NAOMI                            VARIOUS                              Litigation              UNDETERMINED
       8 POINTE VIEW PL
       SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
       94080


3.2581 CHEUNG, SING                             VARIOUS                              Litigation              UNDETERMINED
       449 LAKESHIRE DRIVE
       DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE


3.2582 CHEVRON EXTRA MILE                       VARIOUS                              Litigation              UNDETERMINED
       3215 MACHADO AVENUE
       SANTA CLARA, CA 95051        ACCOUNT NO.: NOT AVAILABLE


3.2583 CHEVRON U.S.A. INC.-PAGE,                VARIOUS                              Litigation              UNDETERMINED
       DONALD
       9525 CAMINO MEDIA            ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93311


3.2584 CHEVRON WINTER-ALI, ASHRAF               VARIOUS                              Litigation              UNDETERMINED
       999 E GRANT AVE
       WINTER, CA 95694             ACCOUNT NO.: NOT AVAILABLE


3.2585 CHEW, DAVE                               VARIOUS                              Litigation              UNDETERMINED
       3831 RANCHO ESTATES RD
       COTTONWOOD, CA 96022         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2586 CHEW, ELENA                              VARIOUS                              Litigation              UNDETERMINED
       763 TRESTLE GLEN RD
       OAKLAND, CA 94610            ACCOUNT NO.: NOT AVAILABLE


3.2587 CHEW, LISA                               VARIOUS                              Litigation              UNDETERMINED
       1742 OLD OAK RD
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.2588 CHEZ MAMAN-BULOW, JOCELYN                VARIOUS                              Litigation              UNDETERMINED
       1401 18TH ST
       SAN FRANCISCO, CA 94107      ACCOUNT NO.: NOT AVAILABLE


3.2589 CHEZICK, DENNIS                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 234
       53950 DOGWOOD CREEK DRIVE    ACCOUNT NO.: NOT AVAILABLE
       BASS LAKE, CA 93604


3.2590 CHIANG, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       995 LUNDY LN
       LOS ALTOS, CA 94024          ACCOUNT NO.: NOT AVAILABLE


3.2591 CHIAPERO, LISA                           VARIOUS                              Litigation              UNDETERMINED
       33251 PACIFIC WAY
       FORT BRAGG, CA 95437         ACCOUNT NO.: NOT AVAILABLE


3.2592 CHICKFILA SUNNYVALE-                     VARIOUS                              Litigation              UNDETERMINED
       CHONG, ARNOLD
       550 W EL CAMINO REAL         ACCOUNT NO.: NOT AVAILABLE
       SUNNYVALE, CA 94087


3.2593 CHICO COFFEE COMPANY-                    VARIOUS                              Litigation              UNDETERMINED
       HAMILTON, SHAWN
       107 PARMAC                   ACCOUNT NO.: NOT AVAILABLE
       SUITE 180
       CHICO, CA 95928


3.2594 CHICO COLON HYDROTHERAPY-                VARIOUS                              Litigation              UNDETERMINED
       KUEFFER, MERCEDES
       1324 MANGROVE AVE            ACCOUNT NO.: NOT AVAILABLE
       SUITE 111
       CHICO, CA 95926


3.2595 CHIECHI, RICHARD                         VARIOUS                              Litigation              UNDETERMINED
       10882 TOWNSHIP RD.
       LIVE OAK, CA 95953           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.2596 CHIERICI, JENNIFER                       VARIOUS                              Litigation              UNDETERMINED
       1260 30TH STREET
       UNIT A                        ACCOUNT NO.: NOT AVAILABLE
       ARCATA, CA 95521


3.2597 CHILCOAT, MICHAEL                        VARIOUS                              Litigation              UNDETERMINED
       21955 VIA REGINA
       SARATOGA, CA 95070            ACCOUNT NO.: NOT AVAILABLE


3.2598 CHILDRESS, REUBEN                        VARIOUS                              Litigation              UNDETERMINED
       2546 WOODHOUSE MINE RD.
       WEST POINT, CA 95255          ACCOUNT NO.: NOT AVAILABLE


3.2599 CHILDRESS, WALTER                        VARIOUS                              Litigation              UNDETERMINED
       3341 RUPERT RD
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


3.2600 CHILDS, RICHARD                          VARIOUS                              Litigation              UNDETERMINED
       14450 PRAIRIE WAY
       MENDOCINO, CA 95460           ACCOUNT NO.: NOT AVAILABLE


3.2601 CHILDS, TERRI                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 540
       LAKEHEAD, CA 96051            ACCOUNT NO.: NOT AVAILABLE


3.2602 CHILI LEMON GARLIC - VIVIO,              VARIOUS                              Litigation              UNDETERMINED
       RICHARD
       518 BRYANT ST                 ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94107


3.2603 CHILTON, MELISSA                         VARIOUS                              Litigation              UNDETERMINED
       17301 CACHE CREEK RD
       CLEAR LAKE OAKS, CA 95423     ACCOUNT NO.: NOT AVAILABLE


3.2604 CHILTON, PAUL                            VARIOUS                              Litigation              UNDETERMINED
       1485 LEXINGTON WAY
       LIVERMORE, CA 94550           ACCOUNT NO.: NOT AVAILABLE


3.2605 CHILUKURU, SRIKANTH                      VARIOUS                              Litigation              UNDETERMINED
       5842 WALES CT
       SAN JOSE, CA 95138            ACCOUNT NO.: NOT AVAILABLE


3.2606 CHIN, JEFFREY                            VARIOUS                              Litigation              UNDETERMINED
       211 ACCACIA ST
       DALY CITY, CA 94014           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.2607 CHIN, KENNETH                            VARIOUS                              Litigation              UNDETERMINED
       384 ANNA AVENUE
       MOUNTAIN VIEW, CA            ACCOUNT NO.: NOT AVAILABLE


3.2608 CHIN, KWOK CHOI                          VARIOUS                              Litigation              UNDETERMINED
       183 ACCACIA ST
       DALY CITY, CA 94014          ACCOUNT NO.: NOT AVAILABLE


3.2609 CHIN, MIMI                               VARIOUS                              Litigation              UNDETERMINED
       29 UPLAND DRIVE
       S SAN FRANCISCO, CA 94080    ACCOUNT NO.: NOT AVAILABLE


3.2610 CHIN, RANDALL                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 3394
       CARMEL, CA 93921             ACCOUNT NO.: NOT AVAILABLE


3.2611 CHIN, STEVEN K                           VARIOUS                              Litigation              UNDETERMINED
       53 MIRA VISTA CT
       DALY CITY, CA 94014          ACCOUNT NO.: NOT AVAILABLE


3.2612 CHINA MOON RESTAURANT-                   VARIOUS                              Litigation              UNDETERMINED
       HUANG, RUI AI
       380 PARK STREET              ACCOUNT NO.: NOT AVAILABLE
       MORAGA, CA 94556


3.2613 CHINA OCEAN-LIN, LIAN WANG               VARIOUS                              Litigation              UNDETERMINED
       8484 FLORIN RD # 160&170
       SACRAMENTO, CA 95828         ACCOUNT NO.: NOT AVAILABLE


3.2614 CHINA VILLA SPICY HOUSE-                 VARIOUS                              Litigation              UNDETERMINED
       YANG, TIANYUAN
       4022 EAST AVE                ACCOUNT NO.: NOT AVAILABLE
       LIVERMORE, CA 94550


3.2615 CHINDULURU, NAGA                         VARIOUS                              Litigation              UNDETERMINED
       1653 STRATHMORE WAY
       ROCKLIN, CA 95765            ACCOUNT NO.: NOT AVAILABLE


3.2616 CHINESE VILLAGE REST -                   VARIOUS                              Litigation              UNDETERMINED
       WONG, RICHARD
       3780 CAPITOLA RD             ACCOUNT NO.: NOT AVAILABLE
       SANTA CRUZ, CA 95062


3.2617 CHIONG, LIN                              VARIOUS                              Litigation              UNDETERMINED
       2290 43RD AVE
       SAN FRANCISCO, CA 94116      ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.2618 CHIPMAN, LARRY                           VARIOUS                              Litigation              UNDETERMINED
       9171 PALOMAR AVE.
       ATASCADERO, CA 93422         ACCOUNT NO.: NOT AVAILABLE


3.2619 CHIU, ANDREW                             VARIOUS                              Litigation              UNDETERMINED
       36 TOBIN CLARK DRIVE
       HILLSBOROUGH, CA 94010       ACCOUNT NO.: NOT AVAILABLE


3.2620 CHIU, SHAUN                              VARIOUS                              Litigation              UNDETERMINED
       2309 POPPY DR.
       BURLINGAME, CA 94010         ACCOUNT NO.: NOT AVAILABLE


3.2621 CHIU, TIFFANI                            VARIOUS                              Litigation              UNDETERMINED
       227 BONITA AVE
       SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
       94080


3.2622 CHO, DONGJUN                             VARIOUS                              Litigation              UNDETERMINED
       186 4TH. STREET
       GREENFIELD, CA 93927         ACCOUNT NO.: NOT AVAILABLE


3.2623 CHOBANIAN, DEENAA                        VARIOUS                              Litigation              UNDETERMINED
       1276 CANEVARI DR
       ROSEVILLE, CA 95747          ACCOUNT NO.: NOT AVAILABLE


3.2624 CHOI, CHUNG                              VARIOUS                              Litigation              UNDETERMINED
       2305 ROSEWOOD DR
       SAN BRUNO, CA 94066          ACCOUNT NO.: NOT AVAILABLE


3.2625 CHOI, WING                               VARIOUS                              Litigation              UNDETERMINED
       6 CANTERBURY AVENUE
       DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE


3.2626 CHON, KUM                                VARIOUS                              Litigation              UNDETERMINED
       120 LAKEWOOD DR
       MARINA, CA 93933             ACCOUNT NO.: NOT AVAILABLE


3.2627 CHOOLJIAN BROS PACKING CO                VARIOUS                              Litigation              UNDETERMINED
       INC
       3192 S INDIANOLA AVE         ACCOUNT NO.: NOT AVAILABLE
       SANGER, CA 93657


3.2628 CHOSEN FROZEN YOGURT-                    VARIOUS                              Litigation              UNDETERMINED
       LICHTI, ROD
       8967 N CHESTNUT              ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93720




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2629 CHOTIA, THOMAS                           VARIOUS                              Litigation              UNDETERMINED
       18483 CHINA GRADE RD
       BOULDER CREEK, CA 95006      ACCOUNT NO.: NOT AVAILABLE


3.2630 CHOU, PAUL                               VARIOUS                              Litigation              UNDETERMINED
       185 POND VIEW LN
       NEWCASTLE, CA 95658          ACCOUNT NO.: NOT AVAILABLE


3.2631 CHOU, YUHSUEH                            VARIOUS                              Litigation              UNDETERMINED
       10986 LINDA VISTA DR
       CUPERTINO, CA 95014          ACCOUNT NO.: NOT AVAILABLE


3.2632 CHOU, YUO-LING                           VARIOUS                              Litigation              UNDETERMINED
       1068 MILLER DRIVE
       LAFAYETTE, CA 94549          ACCOUNT NO.: NOT AVAILABLE


3.2633 CHOU, YVONNE                             VARIOUS                              Litigation              UNDETERMINED
       697 BENVENUE AVE
       LOS ALTOS, CA 94024          ACCOUNT NO.: NOT AVAILABLE


3.2634 CHOUDHARI, PAVANKUMAR                    VARIOUS                              Litigation              UNDETERMINED
       39600 FREMONT BLVD
       77                           ACCOUNT NO.: NOT AVAILABLE
       FREMONT, CA 94538


3.2635 CHOW CHU, DANA                           VARIOUS                              Litigation              UNDETERMINED
       5910 MARIE WAY
       OAKLAND, CA 94618            ACCOUNT NO.: NOT AVAILABLE


3.2636 CHOW, ANDY                               VARIOUS                              Litigation              UNDETERMINED
       99 SKYLINE PLAZA
       DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE


3.2637 CHOW, JANET                              VARIOUS                              Litigation              UNDETERMINED
       8278 SKYLINE CIR
       OAKLAND, CA 94605            ACCOUNT NO.: NOT AVAILABLE


3.2638 CHOW, JIMMY                              VARIOUS                              Litigation              UNDETERMINED
       221 PEABODY RD
       VACAVILLE, CA 95687          ACCOUNT NO.: NOT AVAILABLE


3.2639 CHOW, JONATHAN                           VARIOUS                              Litigation              UNDETERMINED
       363 LAKESHORE DRIVE
       SAN FRANCISCO, CA 94132      ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.2640 CHOW, SANDY                              VARIOUS                              Litigation              UNDETERMINED
       261 GOETTINGEN STREET
       SAN FRANCISCO, CA 94134      ACCOUNT NO.: NOT AVAILABLE


3.2641 CHOWCHILLA WATER DISTRICT,               VARIOUS                              Litigation              UNDETERMINED
       KEITH MITCHELL
       P.O. BOX 905                 ACCOUNT NO.: NOT AVAILABLE
       CHOWCHILLA, CA 93610


3.2642 CHRISMAN, EVELYN                         VARIOUS                              Litigation              UNDETERMINED
       2293 NEW LONG VALLEY RD.,
       CLEARLAKE OAKS, CA. 95423    ACCOUNT NO.: NOT AVAILABLE
       P.O. BOX 3661
       CLEARLAKE, CA 95422


3.2643 CHRISTENSEN, CONCHILA                    VARIOUS                              Litigation              UNDETERMINED
       5749 S TRACY BLVD
       160 STANFORD AVENUE          ACCOUNT NO.: NOT AVAILABLE
       MILL VALLEY, CA 94941


3.2644 CHRISTENSEN, DEBRA AND                   VARIOUS                              Litigation              UNDETERMINED
       BRENT
       801 E SCHOOL WAY             ACCOUNT NO.: NOT AVAILABLE
       REDWOOD VALLEY, CA 95470


3.2645 CHRISTIAN, SANDRA                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 686
       SALINAS, CA 93702            ACCOUNT NO.: NOT AVAILABLE


3.2646 CHRISTIAN, W S                           VARIOUS                              Litigation              UNDETERMINED
       549 E. SAGINAW WAY
       FRESNO, CA 93704             ACCOUNT NO.: NOT AVAILABLE


3.2647 CHRISTIANO, MATT                         VARIOUS                              Litigation              UNDETERMINED
       21120 WARDELL RD
       SARATOGA, CA 95070           ACCOUNT NO.: NOT AVAILABLE


3.2648 CHRISTIANSON, JORDAN                     VARIOUS                              Litigation              UNDETERMINED
       19013 BEATRICE DRIVE
       PRUNEDALE, CA 93907          ACCOUNT NO.: NOT AVAILABLE


3.2649 CHRISTINA, CHERYL & ANTHONY         VARIOUS                                   Litigation              UNDETERMINED
       802 RIVERSIDE PARK RD
       CARLOTTA, CA 95528-9708     ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2650 CHRISTINE WRIGHT                         VARIOUS                              Litigation              UNDETERMINED
       DAUGHTER DPOA FOR AUDREY
       WRIGHT-WRIGHT, AUDREY        ACCOUNT NO.: NOT AVAILABLE
       200 WURR RD
       LOMA MAR, CA 94021


3.2651 CHRISTINE, PETER                         VARIOUS                              Litigation              UNDETERMINED
       1537 NADINA ST
       SAN MATEO, CA 94402          ACCOUNT NO.: NOT AVAILABLE


3.2652 CHRISTOFFERSON, JILL                     VARIOUS                              Litigation              UNDETERMINED
       151 CANON DR
       ORINDA, CA 94563             ACCOUNT NO.: NOT AVAILABLE


3.2653 CHRISTOPHER ASKEW                        VARIOUS                              Litigation              UNDETERMINED
       SANDRA RIBERA SPEED
       157 WEST PORTAL AVENUE       ACCOUNT NO.: NOT AVAILABLE
       SUITE 2
       SAN FRANCISCO, CA 94127


3.2654 CHRISTOPHER DANEMEYER,                   VARIOUS                              Litigation              UNDETERMINED
       PAMELA KRUEGER
       MARY ALEXANDER, BRENDAN      ACCOUNT NO.: NOT AVAILABLE
       WAY, CATALINA MUNOZ
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.2655 CHRISTOPHER DANEMEYER,                   VARIOUS                              Litigation              UNDETERMINED
       PAMELA KRUEGER
       JOHN M. FEDER, ROUDA FEDER   ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 750
       SAN FRANCISCO, CA 94104


3.2656 CHRISTOPHER DANEMEYER,                   VARIOUS                              Litigation              UNDETERMINED
       PAMELA KRUEGER
       BOBBY THOMPSON               ACCOUNT NO.: NOT AVAILABLE
       721 AIRPORT BLVD
       SUITE 181
       BURLINGAME, CA 94010


3.2657 CHRISTOPHER, DEBRA AND                   VARIOUS                              Litigation              UNDETERMINED
       RICHARD
       6332 DOGTOWN RD              ACCOUNT NO.: NOT AVAILABLE
       COULTERVILLE, CA 95311


3.2658 CHRISTOPHER, SONJA                       VARIOUS                              Litigation              UNDETERMINED
       3838 TERRA GRANADA DR.
       2B                           ACCOUNT NO.: NOT AVAILABLE
       WALNUT CREEK, CA 94595

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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2659 CHRUSZCH, JON                            VARIOUS                              Litigation              UNDETERMINED
       549 LOS OSOS VALLEY RD.
       LOS OSOS, CA 93402           ACCOUNT NO.: NOT AVAILABLE


3.2660 CHU, HARTINI                             VARIOUS                              Litigation              UNDETERMINED
       560 CAYON OAKS DR. APT#A
       A                            ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94605


3.2661 CHU, MICHAEL                             VARIOUS                              Litigation              UNDETERMINED
       10447 ANSON AVE.
       CUPERTINO, CA 95014          ACCOUNT NO.: NOT AVAILABLE


3.2662 CHU, STEPHEN                             VARIOUS                              Litigation              UNDETERMINED
       3 AUBURN AISLE
       IRVINE, CA 92612             ACCOUNT NO.: NOT AVAILABLE


3.2663 CHUBB INSURANCE, STEVEN                  VARIOUS                              Litigation              UNDETERMINED
       HONEA
       PO BOX 970                   ACCOUNT NO.: NOT AVAILABLE
       OFALLON, CA 63366


3.2664 CHUBB, FOR BANKERS                       VARIOUS                              Litigation              UNDETERMINED
       STANDARD 77159000
       3798 HOLSAY DRIVE            ACCOUNT NO.: NOT AVAILABLE
       BYRON, CA 94514


3.2665 CHUCK, MATTHEW                           VARIOUS                              Litigation              UNDETERMINED
       3738 MYRNA LANE
       SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
       94080


3.2666 CHUNG, ADRIANA V. PG&E                   VARIOUS                              Litigation              UNDETERMINED
       5142 BANCROFT AVENUE #101
       OAKLAND, CA 94601            ACCOUNT NO.: NOT AVAILABLE


3.2667 CHUNG, SEUNG                             VARIOUS                              Litigation              UNDETERMINED
       301 MERCURY WAY
       PLEASANT HILL, CA 94523      ACCOUNT NO.: NOT AVAILABLE


3.2668 CHUNG, SHERRY                            VARIOUS                              Litigation              UNDETERMINED
       199 LEWIS AVE
       MILLBRAE, CA 94030           ACCOUNT NO.: NOT AVAILABLE


3.2669 CHUNG, SUSANNA                           VARIOUS                              Litigation              UNDETERMINED
       3731 MADERA WAY
       SAN BRUNO, CA 94066          ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.2670 CHURCH OF THE GOOD                       VARIOUS                              Litigation              UNDETERMINED
       SHEPHERD-GRIFFIN, WILLIE
       799 52ND STREET                ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94609


3.2671 CHURCHILL, PETER AND ROBIN               VARIOUS                              Litigation              UNDETERMINED
       1682 NOVATO BLVD., SUITE 250
       NOVATO, CA 94947               ACCOUNT NO.: NOT AVAILABLE


3.2672 CHURCHWARD, JOANNE                       VARIOUS                              Litigation              UNDETERMINED
       345 EAGLE ROAD
       SCOTTS VALLEY, CA 95066        ACCOUNT NO.: NOT AVAILABLE


3.2673 CIAPPONI, LISA                           VARIOUS                              Litigation              UNDETERMINED
       19545 ANNA RD
       ANDERSON, CA 96007             ACCOUNT NO.: NOT AVAILABLE


3.2674 CICERONE, DANIELLE                       VARIOUS                              Litigation              UNDETERMINED
       2893 PEAR VIEW RD
       LAKEPORT, CA 95453             ACCOUNT NO.: NOT AVAILABLE


3.2675 CICHOSZ, DUSTIN                          VARIOUS                              Litigation              UNDETERMINED
       6843 LADYSMITH AVE
       ANDERSON, CA 96007             ACCOUNT NO.: NOT AVAILABLE


3.2676 CID MANAGEMENT-BONOVICH,                 VARIOUS                              Litigation              UNDETERMINED
       MADDY
       5011 CLAYTON RD                ACCOUNT NO.: NOT AVAILABLE
       CONCORD, CA 94521


3.2677 CIG INSURANCE, GUSTO PASTA               VARIOUS                              Litigation              UNDETERMINED
       & PIZZERIA
       PO BOX 40460                   ACCOUNT NO.: NOT AVAILABLE
       1901 FREMONT STREET
       BAKERSFIELD, CA 93384


3.2678 CIGAN, JOANN                             VARIOUS                              Litigation              UNDETERMINED
       2471 W SAN BRUNO AVE
       FRESNO, CA 93711               ACCOUNT NO.: NOT AVAILABLE


3.2679 CINE GRAND FREMONT 7-                    VARIOUS                              Litigation              UNDETERMINED
       SPAETH, MICHAEL
       39160 PASEO PADRE PKWY         ACCOUNT NO.: NOT AVAILABLE
       FREMONT, CA 94538


3.2680 CIOFFI, JOHN & ASSIA                     VARIOUS                              Litigation              UNDETERMINED
       323 STOCKBRIDGE AVENUE
       ATHERTON, CA 94027             ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2681 CIOPINOT RESTAURANT-                     VARIOUS                              Litigation              UNDETERMINED
       COHEN, LEONARD
       1051 NIPOMO ST               ACCOUNT NO.: NOT AVAILABLE
       SAN LUIS OBISPO, CA 93401


3.2682 CIRCLE BAR PARTNERSHIP LP,               VARIOUS                              Litigation              UNDETERMINED
       SMITH, SUZANNE
       25700 ARNOLD DRIVE           ACCOUNT NO.: NOT AVAILABLE
       SONOMA, CA 95476


3.2683 CIRCLE K STUDIO-KEENAN,                  VARIOUS                              Litigation              UNDETERMINED
       JULIE
       1078 CALAVERAS WAY           ACCOUNT NO.: NOT AVAILABLE
       VALLEJO, CA 94590


3.2684 CIRE MANAGEMENT-                         VARIOUS                              Litigation              UNDETERMINED
       TARKENTON, BRIAN
       PO BOX 11248                 ACCOUNT NO.: NOT AVAILABLE
       SANTA ROSA, CA 95406


3.2685 CIRELLI, JIM                             VARIOUS                              Litigation              UNDETERMINED
       1254 LARCH AVE
       MORAGA, CA 94556             ACCOUNT NO.: NOT AVAILABLE


3.2686 CIRILLO, RUTH                            VARIOUS                              Litigation              UNDETERMINED
       309 ARTHRU AVE
       APTOS, CA 95003              ACCOUNT NO.: NOT AVAILABLE


3.2687 CIRIMELE, ERIC                           VARIOUS                              Litigation              UNDETERMINED
       2290 FOUNTAIN OAKS DRIVE
       2320 MUSTANG ROAD, ARNOLD    ACCOUNT NO.: NOT AVAILABLE
       MORGAN HILL, CA 95037


3.2688 CIRIMELE, ERIC                           VARIOUS                              Litigation              UNDETERMINED
       2290 FOUNTAIN OAKS DRIVE
       2320 MUSTANG ROAD, ARNOLD    ACCOUNT NO.: NOT AVAILABLE
       MORGAN HILL, CA 95037


3.2689 CISCO SYSTEMS, INC.-                     VARIOUS                              Litigation              UNDETERMINED
       SHACKER, FOWZY
       1527 WHARTON CT.             ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95132


3.2690 CISCO SYSTEMS-SIVARAMAN,                 VARIOUS                              Litigation              UNDETERMINED
       KARTHIK
       840 RAINTREE DRIVE           ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95129




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.2691 CISLINI, PAUL & BARBARA                  VARIOUS                              Litigation              UNDETERMINED
       25600 PASO DE LOS ROBLES
       SALINAS, CA 93908             ACCOUNT NO.: NOT AVAILABLE


3.2692 CISNEROS, JOSE                           VARIOUS                              Litigation              UNDETERMINED
       2499 E. GERARD AVE. SPC 60
       MERCED, CA 95341              ACCOUNT NO.: NOT AVAILABLE


3.2693 CISNEROS, JUAN & LILIANA                 VARIOUS                              Litigation              UNDETERMINED
       24673 GRANT ST.
       CHUALAR, CA 93925             ACCOUNT NO.: NOT AVAILABLE


3.2694 CISNEROS, JUANITA                        VARIOUS                              Litigation              UNDETERMINED
       15573 ARNOLD DR
       SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


3.2695 CITATION WAY PROPERTIES                  VARIOUS                              Litigation              UNDETERMINED
       LLC-CAMANY, NOAH
       P.O.BOX 909                   ACCOUNT NO.: NOT AVAILABLE
       SAN JUAN BAUTISTA, CA 95045


3.2696 CITI, DAVID                              VARIOUS                              Litigation              UNDETERMINED
       4056 W. FOUNTAIN WAY
       FRESNO, CA 93722              ACCOUNT NO.: NOT AVAILABLE


3.2697 CITRANO, HELEN                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 294
       GOODSPEED STREET              ACCOUNT NO.: NOT AVAILABLE
       DURHAM, CA 95938


3.2698 CITY AND COUNTY OF SAN                   VARIOUS                              Litigation              UNDETERMINED
       FRANCISCO
       THOMAS C. TRAUGER             ACCOUNT NO.: NOT AVAILABLE
       1875 EYE STREET NW
       WASHINGTON, DC 20006


3.2699 CITY AND COUNTY OF SAN                   VARIOUS                              Litigation              UNDETERMINED
       FRANCISCO (CASITAS)
       CITY ATTORNEY'S OFFICE        ACCOUNT NO.: NOT AVAILABLE
       1390 MARKET STREET


3.2700 CITY OF ARCATA-NEANDER,                  VARIOUS                              Litigation              UNDETERMINED
       JULIE
       736 F STREET                  ACCOUNT NO.: NOT AVAILABLE
       ARCATA, CA 95521




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2701 CITY OF ATASCADERO-                      VARIOUS                              Litigation              UNDETERMINED
       PIWOWARSKI, MICHAEL
       6500 PALMA AVE.              ACCOUNT NO.: NOT AVAILABLE
       ATASCADERO, CA 93422


3.2702 CITY OF BAKERSFIELD RISK                 VARIOUS                              Litigation              UNDETERMINED
       MANAGEMENT-JUAREZ, ERICA
       1600 TRUXTUN AVE             ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93301


3.2703 CITY OF BENICIA, CARRIE                  VARIOUS                              Litigation              UNDETERMINED
       WENSLAWSKI
       250 EAST L STREET            ACCOUNT NO.: NOT AVAILABLE
       BENICIA, CA 94510


3.2704 CITY OF BURLINGAME, ATTN:          VARIOUS                                    Litigation              UNDETERMINED
       KEVIN OKADA
       501 PRIMROSE ROAD          ACCOUNT NO.: NOT AVAILABLE
       ROLLINGS RD AND BURLINGAME
       BURLINGAME, CA 94010-3997


3.2705 CITY OF CLOVIS, RISK MGMT.               VARIOUS                              Litigation              UNDETERMINED
       1033 FIFTH STREET,
       CLOVIS, CA 93612             ACCOUNT NO.: NOT AVAILABLE


3.2706 CITY OF CLOVIS, SAM MOON                 VARIOUS                              Litigation              UNDETERMINED
       1033 5TH ST
       157 PEACH AVENUE             ACCOUNT NO.: NOT AVAILABLE
       CLOVIS, CA 93612


3.2707 CITY OF FRESNO-WILHELM,                  VARIOUS                              Litigation              UNDETERMINED
       ACCOUNTANT AUDITOR, JENNY
       1910 E. UNIVERSITY AVE.      ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93703


3.2708 CITY OF FRESNO-WILHELM,                  VARIOUS                              Litigation              UNDETERMINED
       JENNY
       1910 E. UNIVERSITY AVE       ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93703


3.2709 CITY OF HURON                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 339
       HURON, CA 93234              ACCOUNT NO.: NOT AVAILABLE


3.2710 CITY OF MARINA-MCMINN, BRIAN         VARIOUS                                  Litigation              UNDETERMINED
       211 HILLCREST AVE
       MARINA, CA 93933             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.2711 CITY OF MODESTO                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 642
       1804 LANCEY DRIVE             ACCOUNT NO.: NOT AVAILABLE
       MODESTO, CA 95353


3.2712 CITY OF MODESTO                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 642
       306 ROSINA AVENUE             ACCOUNT NO.: NOT AVAILABLE
       MODESTO, CA 95353


3.2713 CITY OF OAKLAND, CITY                    VARIOUS                              Litigation              UNDETERMINED
       ATTORNEY'S OFFICE-HO, JERRY
       1 FRANK H. OGAWA PLAZA, 6TH   ACCOUNT NO.: NOT AVAILABLE
       FLOOR
       OAKLAND, CA 94619


3.2714 CITY OF SAN LEANDRO-                     VARIOUS                              Litigation              UNDETERMINED
       OSAKWE, AUSTINE
       835 EAST 14TH STREET          ACCOUNT NO.: NOT AVAILABLE
       SAN LEANDRO, CA 94577


3.2715 CITY OF SAN LEANDRO-                     VARIOUS                              Litigation              UNDETERMINED
       OSAKWE, AUSTINE
       835 EAST 14TH STREET          ACCOUNT NO.: NOT AVAILABLE
       SAN LEANDRO, CA 94577


3.2716 CITY OF SANTA ROSA WATER                 VARIOUS                              Litigation              UNDETERMINED
       ENGINEERING SERVICES
       100 SANTA ROSA AVENUE,        ACCOUNT NO.: NOT AVAILABLE
       ROOM 5
       SANTA ROSA, CA


3.2717 CITY OF WATSONVILLE                      VARIOUS                              Litigation              UNDETERMINED
       3043 GOLD CANCAL DR., SUITE
       200                           ACCOUNT NO.: NOT AVAILABLE
       RANCHO CORDOVA, CA 95670


3.2718 CITY OF WATSONVILLE-                     VARIOUS                              Litigation              UNDETERMINED
       KAYSER, BEAU
       500 CLEARWATER LANE           ACCOUNT NO.: NOT AVAILABLE
       WATSONVILLE, CA 95076


3.2719 CITY OF WILLIAMS-MITCHELL,               VARIOUS                              Litigation              UNDETERMINED
       MICHAEL
       P.O.BOX 310                   ACCOUNT NO.: NOT AVAILABLE
       WILLIAMS, CA 95987




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Litigation & Disputes

3.2720 CITY REAL ESTATE, RIVER                  VARIOUS                              Litigation              UNDETERMINED
       PO BOX 612
       ATT. LAWRENCE GONZI          ACCOUNT NO.: NOT AVAILABLE
       CARMICHAEL, CA 95609


3.2721 CIUFFO, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       202 N SANTA CLARA
       LOS BANOS, CA 93635          ACCOUNT NO.: NOT AVAILABLE


3.2722 CLAESSON, ANDREAS                        VARIOUS                              Litigation              UNDETERMINED
       8600 BANFF VISTA DR
       ELK GROVE, CA 95624          ACCOUNT NO.: NOT AVAILABLE


3.2723 CLAIMANTS REPRESENTED BY                 VARIOUS                              Litigation              UNDETERMINED
       CRAIG SIMON, ATTORNEY FOR
       MID-CENTURY INSURANCE        ACCOUNT NO.: NOT AVAILABLE
       EXCHANGE AND FIRE
       INSURANCE EXCHANGE
       2 PARK PLAZA
       IRVINE, CA 92614


3.2724 CLAIMS MANAGEMENT                        VARIOUS                              Litigation              UNDETERMINED
       RESOURCES, FRONTIER
       P.O. BOX 60553               ACCOUNT NO.: NOT AVAILABLE
       360 CLARKE LANE
       MORGAN HILL, CA


3.2725 CLAIMS MANAGEMENT                        VARIOUS                              Litigation              UNDETERMINED
       RESOURCES, FRONTIER C/O
       CLAIMS DEPARTMENT            ACCOUNT NO.: NOT AVAILABLE
       726 WEST SHERIDAN
       5235 N ARCHERDALE RD
       OKLAHOMA CITY, CA 73102


3.2726 CLAIMS RESOURCE SERVICES-                VARIOUS                              Litigation              UNDETERMINED
       RAMIREZ, JOSE
       603 CAMPBELL TECHNOLOGY      ACCOUNT NO.: NOT AVAILABLE
       PARKWAY
       CAMPBELL, CA 95008


3.2727 CLAPP, CHARLIE                           VARIOUS                              Litigation              UNDETERMINED
       21168 VALLE SAN JUAN DR
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.2728 CLARE, GARRETT                           VARIOUS                              Litigation              UNDETERMINED
       3548 HIGHLAND AVE.
       REDWOOD CITY, CA 94062       ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.2729 CLARIN, MARIN                            VARIOUS                              Litigation              UNDETERMINED
       5857 CARPENTER ROAD
       STOCKTON, CA 95215            ACCOUNT NO.: NOT AVAILABLE


3.2730 CLARISSA WILSTEAD                        VARIOUS                              Litigation              UNDETERMINED
       LAW OFFICE OF BALL & YORKE
       1001 PARTRIDGE DRIVE, SUITE   ACCOUNT NO.: NOT AVAILABLE
       330


3.2731 CLARK SHROUT, MERRY                      VARIOUS                              Litigation              UNDETERMINED
       6991 HAPPY VALLEY RD
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


3.2732 CLARK WOODWORKING,                       VARIOUS                              Litigation              UNDETERMINED
       CLARK, LAWRENCE
       2620 NORBRIDGE AVE            ACCOUNT NO.: NOT AVAILABLE
       CASTRO VALLEY, CA 94546


3.2733 CLARK, ANNE                              VARIOUS                              Litigation              UNDETERMINED
       4523 N SUNNYSIDE
       FRESNO, CA 93727              ACCOUNT NO.: NOT AVAILABLE


3.2734 CLARK, BRENDA                            VARIOUS                              Litigation              UNDETERMINED
       15400 CLOVERDALE ROAD
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


3.2735 CLARK, CHRISTINA                         VARIOUS                              Litigation              UNDETERMINED
       2033 N. MAIN ST., SUITE 201
       WALNUT CREEK, CA 94596        ACCOUNT NO.: NOT AVAILABLE


3.2736 CLARK, CRYSTAL                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 501
       COBB, CA 95426                ACCOUNT NO.: NOT AVAILABLE


3.2737 CLARK, DALE                              VARIOUS                              Litigation              UNDETERMINED
       5686 SCHOONER LOOP
       BYRON, CA 94505               ACCOUNT NO.: NOT AVAILABLE


3.2738 CLARK, JEREMY                            VARIOUS                              Litigation              UNDETERMINED
       3676 BANYAN PL
       SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.2739 CLARK, JOHN                              VARIOUS                              Litigation              UNDETERMINED
       520 WASHINGTON BLVD
       FREMONT, CA 94539             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.2740 CLARK, JOHN LEE                          VARIOUS                              Litigation              UNDETERMINED
       C/O DEMAS LAW GROUP, P.C.
       701 HOWE AVENUE, SUITE A-1    ACCOUNT NO.: NOT AVAILABLE
       0
       SACRAMENTO, CA 95825


3.2741 CLARK, JOHN LEE                          VARIOUS                              Litigation              UNDETERMINED
       DEMAS LAW GROUP, P.C.
       701 HOWE AVENUE, SUITE A-1    ACCOUNT NO.: NOT AVAILABLE
       SACRAMENTO, CA 95825


3.2742 CLARK, MARLA                             VARIOUS                              Litigation              UNDETERMINED
       2883 PALOMINO ST
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


3.2743 CLARK, STEPHANIE                         VARIOUS                              Litigation              UNDETERMINED
       VARLACK LEGAL SERVICES
       225 W. WINTON AVENUE, SUITE   ACCOUNT NO.: NOT AVAILABLE
       207
       HAYWARD, CA 94544


3.2744 CLARK, STEPHANIE (ATTY REPD)         VARIOUS                                  Litigation              UNDETERMINED
       225 W. WINTON AVENUE #207
       HAYWARD, CA 94544            ACCOUNT NO.: NOT AVAILABLE


3.2745 CLARK, SUSAN                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 73
       EL PORTAL, CA 95318           ACCOUNT NO.: NOT AVAILABLE


3.2746 CLARKE, JULIANN                          VARIOUS                              Litigation              UNDETERMINED
       2405 BROWN ST
       DURHAM, CA 95938              ACCOUNT NO.: NOT AVAILABLE


3.2747 CLARKSON, NATALIE                        VARIOUS                              Litigation              UNDETERMINED
       5 OAKGREEN
       SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.2748 CLAUSEN MILLER                           VARIOUS                              Litigation              UNDETERMINED
       17901 VON KARMAN AVE, SUITE
       650, IRVINE, CA., 92614       ACCOUNT NO.: NOT AVAILABLE
       50599 CEDAR PLACE,
       OAKHURST, CA.
       OAKHURST, CA


3.2749 CLAXTON, CHRISTOPHER                     VARIOUS                              Litigation              UNDETERMINED
       3092 MARMAC RD
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2750 CLAY, CYNDI                              VARIOUS                              Litigation              UNDETERMINED
       35 TRIPLETTE WAY
       MARYSVILLE, CA 95901         ACCOUNT NO.: NOT AVAILABLE


3.2751 CLAYBON, CHARLES                         VARIOUS                              Litigation              UNDETERMINED
       122 BURRILL ST.
       EUREKA, CA 95503             ACCOUNT NO.: NOT AVAILABLE


3.2752 CLAYMAN, MONTE                           VARIOUS                              Litigation              UNDETERMINED
       10650 HONEYSUCKLE LN.
       GRASS VALLEY, CA 95945       ACCOUNT NO.: NOT AVAILABLE


3.2753 CLAYTON VALLEY DENTAL,                   VARIOUS                              Litigation              UNDETERMINED
       LYLA TURKZADEH
       4450 CLAYTON ROAD            ACCOUNT NO.: NOT AVAILABLE
       CONCORD, CA 94521


3.2754 CLAYTON, DOYLE                           VARIOUS                              Litigation              UNDETERMINED
       12 VIA LAS ENCINCAS
       CARMEL VALLEY, CA 93924      ACCOUNT NO.: NOT AVAILABLE


3.2755 CLEAK, GEOFFREY                          VARIOUS                              Litigation              UNDETERMINED
       1453 MARCHBANKS DR.
       #3                           ACCOUNT NO.: NOT AVAILABLE
       WALNUT CREEK, CA 94598


3.2756 CLEANING AUTHORITY,                      VARIOUS                              Litigation              UNDETERMINED
       RICHARD WU
       1169 NIKETTE WAY             ACCOUNT NO.: NOT AVAILABLE
       3084 DRIFTWOOD DRIVE
       SAN JOSE, CA 95120


3.2757 CLEARLAKE OAKS COUNTY                    VARIOUS                              Litigation              UNDETERMINED
       WATER DISTRICT, DAN HODEM
       PO BOX 709                   ACCOUNT NO.: NOT AVAILABLE
       12545 E. HIGHWAY 20
       CLEARLAKES OAKS, CA 95423


3.2758 CLEARLAKE OAKS MOOSE                     VARIOUS                              Litigation              UNDETERMINED
       LODGE #2284- KIMSEYSAGER,
       SHARON                       ACCOUNT NO.: NOT AVAILABLE
       1976 NEW LONG VALLEY RD,
       NULL
       CLEARLAKE OAKS
       CLEARLAKE OAKS, CA 95423


3.2759 CLEARY, DAVID                            VARIOUS                              Litigation              UNDETERMINED
       273 CHATTANOOGA ST
       SAN FRANCISCO, CA 94114      ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.2760 CLEARY, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       212 MOUNT VERNON
       SAN FRANCISCO, CA 94112      ACCOUNT NO.: NOT AVAILABLE


3.2761 CLELLAND, JOHN                           VARIOUS                              Litigation              UNDETERMINED
       23000 CRICKET HILL ROAD
       CUPERTINO, CA 95014          ACCOUNT NO.: NOT AVAILABLE


3.2762 CLEMENTE, KRYSTAL                        VARIOUS                              Litigation              UNDETERMINED
       1782 LAUREL AVE
       SOLVANG, CA 93463            ACCOUNT NO.: NOT AVAILABLE


3.2763 CLEMENTI, CHERYL                         VARIOUS                              Litigation              UNDETERMINED
       1571 HANCHETT AVE
       SAN JOSE, CA 95126           ACCOUNT NO.: NOT AVAILABLE


3.2764 CLEMENTINE GROUP INC DBA                 VARIOUS                              Litigation              UNDETERMINED
       BUFFALO THEORY, GIL HOH
       1735 POLK STREET             ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94109


3.2765 CLEMENTS, GILLIAN                        VARIOUS                              Litigation              UNDETERMINED
       1528 36TH AVE
       SAN FRANCISCO, CA 94122      ACCOUNT NO.: NOT AVAILABLE


3.2766 CLEMENTS, MARLO                          VARIOUS                              Litigation              UNDETERMINED
       7395 HIHN RD
       BEN LOMOND, CA 95005         ACCOUNT NO.: NOT AVAILABLE


3.2767 CLEMENTS, TRAVIS                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 771
       SHASTA, CA 96087             ACCOUNT NO.: NOT AVAILABLE


3.2768 CLEMONS, KATHRYN                         VARIOUS                              Litigation              UNDETERMINED
       17673 S CARROLTON RD
       ESCALON, CA 95320            ACCOUNT NO.: NOT AVAILABLE


3.2769 CLEMONS, LELAND                          VARIOUS                              Litigation              UNDETERMINED
       1 ROSS COMMONS
       PO BOX 346                   ACCOUNT NO.: NOT AVAILABLE
       ROAS, CA 94957


3.2770 CLEMONS, STEPHANIE                       VARIOUS                              Litigation              UNDETERMINED
       95 GETZ STREET
       SAN FRANCISCO, CA 94112      ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.2771 CLEOTIDE, PLATA                           VARIOUS                              Litigation              UNDETERMINED
       745 ELAINE DRIVE
       STOCKTON, CA 95207            ACCOUNT NO.: NOT AVAILABLE


3.2772 CLERKIN SINCLAIR & MAHFOUZ                VARIOUS                              Litigation              UNDETERMINED
       LLP, FOR USAA KENNAN
       WOERNER AND PG&E              ACCOUNT NO.: NOT AVAILABLE
       530 B STREET
       SACRAMENTO, CA 92101


3.2773 CLEVELAND, CINDY                          VARIOUS                              Litigation              UNDETERMINED
       535 CUESTA PLACE
       ARROYO GRNADE, CA 93420       ACCOUNT NO.: NOT AVAILABLE


3.2774 CLEVENGER, DAVID                          VARIOUS                              Litigation              UNDETERMINED
       20543 BROOK DR
       SONORA, CA 95370              ACCOUNT NO.: NOT AVAILABLE


3.2775 CLEWETT, STEPHANIE                        VARIOUS                              Litigation              UNDETERMINED
       4201 BAYWOOD DR
       REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.2776 CLIE, SHAWN                               VARIOUS                              Litigation              UNDETERMINED
       5257 COLD SPRINGS DR
       FORESTHILL, CA 95631          ACCOUNT NO.: NOT AVAILABLE


3.2777 CLIFFORD, ALYSSA                          VARIOUS                              Litigation              UNDETERMINED
       3306 DEL MONTE BLVD #8
       MARINA, CA 93933              ACCOUNT NO.: NOT AVAILABLE


3.2778 CLIFFORD, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       153 RANDALL ST.
       SAN FRANCISCO, CA 94131       ACCOUNT NO.: NOT AVAILABLE


3.2779 CLIFT, MURIL & VICKI                      VARIOUS                              Litigation              UNDETERMINED
       P. O BOX 639
       1011 SUFFOLK STREET           ACCOUNT NO.: NOT AVAILABLE
       CAMBRIA, CA 93428


3.2780 CLIFT, SAMANTHA                           VARIOUS                              Litigation              UNDETERMINED
       25205 5TH AVE
       LOS MOLINOS, CA 96055         ACCOUNT NO.: NOT AVAILABLE


3.2781 CLINE, NICOLE                             VARIOUS                              Litigation              UNDETERMINED
       3025 LEWIS ST
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2782 CLINE, THOMAS/JOYCE                      VARIOUS                              Litigation              UNDETERMINED
       4164 MARKLEY RD
       YUBA CITY, CA 95993          ACCOUNT NO.: NOT AVAILABLE


3.2783 CLIU RESTAURANT INC-WANG,                VARIOUS                              Litigation              UNDETERMINED
       CHANGLING
       1680 WILLOW PASS RD          ACCOUNT NO.: NOT AVAILABLE
       STE G
       CONCORD, CA 94520


3.2784 CLOPTON, THEODORE                        VARIOUS                              Litigation              UNDETERMINED
       4550 FERN DR
       SCOTTS VALLEY, CA 95066      ACCOUNT NO.: NOT AVAILABLE


3.2785 CLORE, ANN                               VARIOUS                              Litigation              UNDETERMINED
       11813 AUGUSTA DRIVE
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.2786 CLOSE, CAMERON                           VARIOUS                              Litigation              UNDETERMINED
       8291 DAVONA DRIVE
       DUBLIN, CA 94568             ACCOUNT NO.: NOT AVAILABLE


3.2787 CLOUD, PRESTON                           VARIOUS                              Litigation              UNDETERMINED
       124 BIRMINGHAM CT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.2788 CLOUSE, ANGELO                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 356
       UPPER LAKE, CA 95485         ACCOUNT NO.: NOT AVAILABLE


3.2789 CLOVERDALE SOLAR 1 LLC-                  VARIOUS                              Litigation              UNDETERMINED
       PHAM, PETER
       3176 LIONSHEAD AVE           ACCOUNT NO.: NOT AVAILABLE
       CARLSBAD, CA 92010


3.2790 CLYMER, MICHELLE                         VARIOUS                              Litigation              UNDETERMINED
       3901 HIGH ST
       OAKLAND, CA 94619            ACCOUNT NO.: NOT AVAILABLE


3.2791 CMB INVESTMENT, CARMELO                  VARIOUS                              Litigation              UNDETERMINED
       MENDEZ
       1255 KENILWORTH ROAD         ACCOUNT NO.: NOT AVAILABLE
       HILLSBOROUGH, CA 94010


3.2792 CMR CLAIMS / FRONTIER-                   VARIOUS                              Litigation              UNDETERMINED
       WHITFIELD, MICHELLE
       726 W SHERIDAN               ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA CITY, CA 73102


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Litigation & Disputes

3.2793 CMR CLAIMS-HAMMON,                       VARIOUS                              Litigation              UNDETERMINED
       BRANDON
       2 RIVERS RD AND TRAHERN       ACCOUNT NO.: NOT AVAILABLE
       726 W SHERIDAN
       OKLAHOMA CITY, CA 73102


3.2794 CMR, C/O CLAIMS DEPT.                    VARIOUS                              Litigation              UNDETERMINED
       PO BOX 60553
       OKLAHOMA CITY, CA 73146       ACCOUNT NO.: NOT AVAILABLE


3.2795 CMR, VERIZON                             VARIOUS                              Litigation              UNDETERMINED
       726 W SHERIDAN
       23001 S OLIVE AVE, STOCKTON   ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA CITY, CA 73102


3.2796 CNA                                      VARIOUS                              Litigation              UNDETERMINED
       PO BOX 8317
       225 MOUNTAIN VISTA            ACCOUNT NO.: NOT AVAILABLE
       PARKWAY, LIVERMORE, CA.
       94551
       CHICAGO, CA 60680


3.2797 CNA, KATIE LAVALLIE                      VARIOUS                              Litigation              UNDETERMINED
       PO BOX 8317
       CHICAGO, CA 60680-8317        ACCOUNT NO.: NOT AVAILABLE


3.2798 CO SENG, TERREL DON                      VARIOUS                              Litigation              UNDETERMINED
       3870 COLBY WAY
       SAN BRUNO, CA 94066           ACCOUNT NO.: NOT AVAILABLE


3.2799 CO, CHRISTINE                            VARIOUS                              Litigation              UNDETERMINED
       1361 VISTA GRANDE
       MILLBRAE, CA 94030            ACCOUNT NO.: NOT AVAILABLE


3.2800 COALINGA FEED YARD INC                   VARIOUS                              Litigation              UNDETERMINED
       35244 OIL CITY RD
       COALINGA, CA 93210            ACCOUNT NO.: NOT AVAILABLE


3.2801 COAN, ANDY                               VARIOUS                              Litigation              UNDETERMINED
       11551 HILLPARK LANE
       LOS ALTOS HILLS, CA 94024     ACCOUNT NO.: NOT AVAILABLE


3.2802 COAST NUT AND BOLT, INC.-                VARIOUS                              Litigation              UNDETERMINED
       BAUMGARTNER, ANNETTE
       3468 SACRAMENTO DR, UNIT E    ACCOUNT NO.: NOT AVAILABLE
       SAN LUIS OBISPO, CA 93401




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Litigation & Disputes

3.2803 COASTAL FABRICATION                      VARIOUS                              Litigation              UNDETERMINED
       COMPANY, INC.-GEORGE,
       THOMAS                       ACCOUNT NO.: NOT AVAILABLE
       P.O. BOX 222278
       CARMEL, CA 93922


3.2804 COASTAL SHOP WORKS, JIM                  VARIOUS                              Litigation              UNDETERMINED
       JARVEY
       CA 0                         ACCOUNT NO.: NOT AVAILABLE


3.2805 COASTAL VALLEY DESIGN-                   VARIOUS                              Litigation              UNDETERMINED
       HERNANDEZ, ALECIA
       29505 CHUALAR CANYON RD      ACCOUNT NO.: NOT AVAILABLE
       CHUALAR, CA 93925


3.2806 COASTSIDE PETS-LOUBAL,                   VARIOUS                              Litigation              UNDETERMINED
       BLYTHE
       1790 SUNSHINE VALLEY RD      ACCOUNT NO.: NOT AVAILABLE
       MOSS BEACH, CA 94038


3.2807 COATS, HELEN                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 30
       6940 HWY 140 E               ACCOUNT NO.: NOT AVAILABLE
       MIDPINES, CA 95345


3.2808 COATS, SHARON                            VARIOUS                              Litigation              UNDETERMINED
       616 MIDDLEFIELD ROAD
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.2809 COBARRUVIAZ, BARBARA                     VARIOUS                              Litigation              UNDETERMINED
       25 CALLE ARDILLA
       RANCHO MIRAGE, CA 92270      ACCOUNT NO.: NOT AVAILABLE


3.2810 COBB AREA COUNTY WATER                   VARIOUS                              Litigation              UNDETERMINED
       DISTRICT
       PO BOX 284                   ACCOUNT NO.: NOT AVAILABLE
       COBB, CA 95426


3.2811 COBB VALLEY LLC-ALVAREZ,                 VARIOUS                              Litigation              UNDETERMINED
       JERRY
       14117 BOTTLE ROCK RD         ACCOUNT NO.: NOT AVAILABLE
       COBB, CA 95426


3.2812 COBB, BENICIA                            VARIOUS                              Litigation              UNDETERMINED
       2763 RAWSON STREET
       6922 ARTHUR STREET           ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94605




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Litigation & Disputes

3.2813 COBB, RUSSELL & JANICE                    VARIOUS                              Litigation              UNDETERMINED
       PO BOX 790
       20400 E ACAMPO ROAD            ACCOUNT NO.: NOT AVAILABLE
       CLEMENTS, CA 95227


3.2814 COBEN, RICHARD                            VARIOUS                              Litigation              UNDETERMINED
       19634 VENUS CT
       GRASS VALLEY, CA 95949         ACCOUNT NO.: NOT AVAILABLE


3.2815 COBLE, JONATHAN                           VARIOUS                              Litigation              UNDETERMINED
       3767 AUDUBON DRIVE
       CAMINO, CA 95709               ACCOUNT NO.: NOT AVAILABLE


3.2816 COCA, LEONA                               VARIOUS                              Litigation              UNDETERMINED
       6495 SLUG GULCH RD
       SOMERSET, CA 95684             ACCOUNT NO.: NOT AVAILABLE


3.2817 COCCA, NATALIE                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1344
       PLACERVILLE, CA 95667          ACCOUNT NO.: NOT AVAILABLE


3.2818 COCHRAN, CLANCY                           VARIOUS                              Litigation              UNDETERMINED
       717 AIRPORT BLVD.
       SOUTH SAN FRANCISCO, CA        ACCOUNT NO.: NOT AVAILABLE
       94080


3.2819 COCHRAN, ERICKSON                         VARIOUS                              Litigation              UNDETERMINED
       50 OLD COURTHOUSE
       SANTA ROSA, CA                 ACCOUNT NO.: NOT AVAILABLE


3.2820 COCHRAN, TONI                             VARIOUS                              Litigation              UNDETERMINED
       13824 PLUM CIRCLE
       CLEARLAKE OAKS, CA 95423       ACCOUNT NO.: NOT AVAILABLE


3.2821 COCKERTON, WAYNE                          VARIOUS                              Litigation              UNDETERMINED
       LAW OFFICES OF KENNETH M.
       FOLEY                          ACCOUNT NO.: NOT AVAILABLE
       37 N. MAIN STREET, SUITE 209
       SAN ANDREAS, CA 95249


3.2822 COCKERTON, WAYNE                          VARIOUS                              Litigation              UNDETERMINED
       1146 BALD MTN RD.
       WEST POINT, CA 95225           ACCOUNT NO.: NOT AVAILABLE


3.2823 COCKRELL, DANIEL                          VARIOUS                              Litigation              UNDETERMINED
       201 A MCCRAY ST #310
       HOLLISTER, CA 95023            ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.2824 COCKRUM, MELANIE                         VARIOUS                              Litigation              UNDETERMINED
       340 JETER ST
       REDWOOD CITY, CA 94062       ACCOUNT NO.: NOT AVAILABLE


3.2825 COCKSCOMB RESTAURANT-                    VARIOUS                              Litigation              UNDETERMINED
       COSENTINO, CHRISTOPHER
       564 4TH STREET               ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94107


3.2826 COCKSCOMB RESTAURANT-                    VARIOUS                              Litigation              UNDETERMINED
       COSENTINO, CHRISTOPHER
       564 4TH STREET               ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94107


3.2827 COCONUT BAY COMPANY INC.-                VARIOUS                              Litigation              UNDETERMINED
       SELIG, AIMORN
       1107 HOWARD AVENUE           ACCOUNT NO.: NOT AVAILABLE
       BURLINGAME, CA 94010


3.2828 COCONUT'S FISH CAFE-WEBB,                VARIOUS                              Litigation              UNDETERMINED
       LISA
       20010 STEVENS CREEK BLVD.    ACCOUNT NO.: NOT AVAILABLE
       CUPERTINO, CA 95014


3.2829 COFFEE BAR MONTGOMERY-                   VARIOUS                              Litigation              UNDETERMINED
       STANG, CORNELIA
       1890 BRYANT STREET #407      ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94110


3.2830 COGBURN, JEFF & SUSIE                    VARIOUS                              Litigation              UNDETERMINED
       1253 MAGNOLIA ST.
       OAKDALE, CA 95361            ACCOUNT NO.: NOT AVAILABLE


3.2831 COGHLAN, BEVERLY                         VARIOUS                              Litigation              UNDETERMINED
       11 CATALINA BLVD
       SAN RAFAEL, CA 94901         ACCOUNT NO.: NOT AVAILABLE


3.2832 COGLEY, LAURA                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 5743
       CARMEL, CA 93921             ACCOUNT NO.: NOT AVAILABLE


3.2833 COGLEY, LAURA                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 5743
       CARMEL, CA 93921             ACCOUNT NO.: NOT AVAILABLE


3.2834 COHEN, ANDREW                            VARIOUS                              Litigation              UNDETERMINED
       2000 WAYNE AVE
       SAN LEANDRO, CA 94577        ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.2835 COHEN, ANDREW                            VARIOUS                              Litigation              UNDETERMINED
       5959 SHELLMOUND
       EMERYVILLE, CA 94608         ACCOUNT NO.: NOT AVAILABLE


3.2836 COHEN, ANDREW                            VARIOUS                              Litigation              UNDETERMINED
       2000 WAYNE AVE
       SAN LEANDRO, CA 94577        ACCOUNT NO.: NOT AVAILABLE


3.2837 COHEN, BARRY                             VARIOUS                              Litigation              UNDETERMINED
       292 CREST RD
       NOVATO, CA 94945             ACCOUNT NO.: NOT AVAILABLE


3.2838 COHEN, CARMIEL                           VARIOUS                              Litigation              UNDETERMINED
       5955 S CITRUS AVE
       LOS ANGELES, CA 90043        ACCOUNT NO.: NOT AVAILABLE


3.2839 COHEN, IAN                               VARIOUS                              Litigation              UNDETERMINED
       27 REDWOOD AVE
       LARKSPUR, CA 94939           ACCOUNT NO.: NOT AVAILABLE


3.2840 COHEN, IAN                               VARIOUS                              Litigation              UNDETERMINED
       27 REDWOOD AVE
       LARKSPUR, CA 94939           ACCOUNT NO.: NOT AVAILABLE


3.2841 COHEN, LISA                              VARIOUS                              Litigation              UNDETERMINED
       6206 CLIVE AVE
       OAKLAND, CA 94611            ACCOUNT NO.: NOT AVAILABLE


3.2842 COHEN, MARTIN                            VARIOUS                              Litigation              UNDETERMINED
       4280 OFFHAM COURT
       SACRAMENTO, CA 95864         ACCOUNT NO.: NOT AVAILABLE


3.2843 COHN, GEORGE                             VARIOUS                              Litigation              UNDETERMINED
       342 SKYLINE DR.
       DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE


3.2844 COHN, GREGG                              VARIOUS                              Litigation              UNDETERMINED
       4275 GLENWOOD DRIVE
       SCOTTS VALLEY, CA 95066      ACCOUNT NO.: NOT AVAILABLE


3.2845 COKER, PATTY                             VARIOUS                              Litigation              UNDETERMINED
       587 AVALANE AVENUE APT. 4
       SAN JOSE, CA 95133           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.2846 COLA, COCA                               VARIOUS                              Litigation              UNDETERMINED
       1201 COMMERCE BLVD
       ATTN. RON STANLEY            ACCOUNT NO.: NOT AVAILABLE
       AMERICAN CANYON, CA 94503


3.2847 COLACI, FRANK                            VARIOUS                              Litigation              UNDETERMINED
       35955 CABRAL DRL
       FREMONT, CA 94536            ACCOUNT NO.: NOT AVAILABLE


3.2848 COLAO, JOHN & KRISTINA                   VARIOUS                              Litigation              UNDETERMINED
       1299 WOODEN VALLEY
       CROSSROAD                    ACCOUNT NO.: NOT AVAILABLE
       NAPA, CA 94558


3.2849 COLBY HARPER, ANN                        VARIOUS                              Litigation              UNDETERMINED
       2260 SILVERBROOK CT
       MCKINLEYVILLE, CA 95519      ACCOUNT NO.: NOT AVAILABLE


3.2850 COLBY, RIKI                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 226
       TYLER FOOT ROAD POWER        ACCOUNT NO.: NOT AVAILABLE
       STATION, COLUMBIA
       NORTH SAN JUAN, CA 95960


3.2851 COLCLASURE, EDWARD                       VARIOUS                              Litigation              UNDETERMINED
       11707 LINDALEE LN
       BAKERSFIELD, CA 93312        ACCOUNT NO.: NOT AVAILABLE


3.2852 COLD SPRINGS WATER CO.                   VARIOUS                              Litigation              UNDETERMINED
       29820 HWY 108
       29677 ALPINE DRIVE           ACCOUNT NO.: NOT AVAILABLE
       COLD SPRINGS, CA 95335


3.2853 COLE, DE NESHA                           VARIOUS                              Litigation              UNDETERMINED
       390 MACARTHUR BLVD APT 2
       SAN LEANDRO, CA 94577        ACCOUNT NO.: NOT AVAILABLE


3.2854 COLE, LINDSAY                            VARIOUS                              Litigation              UNDETERMINED
       223 MARIAH WAY
       LAKEPORT, CA 95453           ACCOUNT NO.: NOT AVAILABLE


3.2855 COLE, LISA                               VARIOUS                              Litigation              UNDETERMINED
       4354 HEREFORD WAY
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.2856 COLE, RONALD                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 816
       PLYMOUTH, CA 95669           ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.2857 COLE, STEVE                               VARIOUS                              Litigation              UNDETERMINED
       332 WINEMAKER WAY
       WINDSOR, CA 95492             ACCOUNT NO.: NOT AVAILABLE


3.2858 COLEGROVE, RABECKA                        VARIOUS                              Litigation              UNDETERMINED
       3030 NEW JERSEY WAY
       142                           ACCOUNT NO.: NOT AVAILABLE
       PLACERVILLE, CA 95667


3.2859 COLEMAN, ANGELA                           VARIOUS                              Litigation              UNDETERMINED
       3044 VALDEZ RD.
       PEBBLE BEACH, CA 93953        ACCOUNT NO.: NOT AVAILABLE


3.2860 COLEMAN, DOUGLAS                          VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 5783
       SANTA MARIA, CA 93456         ACCOUNT NO.: NOT AVAILABLE


3.2861 COLEMAN, OMAR                             VARIOUS                              Litigation              UNDETERMINED
       31 N LAKE DR
       ANTIOCH, CA 94509             ACCOUNT NO.: NOT AVAILABLE


3.2862 COLEMAN, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
       BRAYTON PURCELL, LLP
       222 RUSH LANDING ROAD, P.O    ACCOUNT NO.: NOT AVAILABLE
       BOX 6169
       NOVATO, CA 94949-6169


3.2863 COLEMAN, SUMMER                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1354
       HOSTLER RIDGE                 ACCOUNT NO.: NOT AVAILABLE
       HOOPA, CA 95546


3.2864 COLEMAN, YVONNE                           VARIOUS                              Litigation              UNDETERMINED
       2632 22ND AVENUE
       OAKLAND, CA 94606             ACCOUNT NO.: NOT AVAILABLE


3.2865 COLES CARPET CLEANING-                    VARIOUS                              Litigation              UNDETERMINED
       COLE, JARED
       4104 HINSDALE AVE             ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93306


3.2866 COLISEUM MOBIL, HUYNH, TOM                VARIOUS                              Litigation              UNDETERMINED
       845 66TH STREET
       OAKLAND, CA 94621             ACCOUNT NO.: NOT AVAILABLE


3.2867 COLIVER, GAIL                             VARIOUS                              Litigation              UNDETERMINED
       1375 ARROYO SECO DR
       CAMPBELL, CA 95008            ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.2868 COLLEEN DOLAN                            VARIOUS                              Litigation              UNDETERMINED
       THOMAS BRANDI, BRIAN
       MALLOY                        ACCOUNT NO.: NOT AVAILABLE
       355 PINE STREET
       4TH FLOOR
       SAN FRANCISCO, CA 94104


3.2869 COLLEEN DOLAN                            VARIOUS                              Litigation              UNDETERMINED
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ           ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.2870 COLLEEN GIMBEL,                          VARIOUS                              Litigation              UNDETERMINED
       INDIVIDUALLY AND AS SPECIAL
       ADMINISTRATOR OF THE          ACCOUNT NO.: NOT AVAILABLE
       ESTATE OF SI GIMBEL
       MENGES LAW, LLC
       6400 W. MAIN ST., STE. 1G
       BELLEVILLE, IL 62223


3.2871 COLLEEN MCCARTY, GENE                    VARIOUS                              Litigation              UNDETERMINED
       MCCARTY
       IBIERE N. SECK, MARCELIS      ACCOUNT NO.: NOT AVAILABLE
       MORRIS
       4931 WILSHIRE BLVD
       SUITE 1012
       LOS ANGELES, CA 90010


3.2872 COLLEEN MCCARTY, GENE                    VARIOUS                              Litigation              UNDETERMINED
       MCCARTY
       CHRISTOPHER AUMAIS,           ACCOUNT NO.: NOT AVAILABLE
       ASHKAHN MOHAMADI, KELLY
       WINTER
       1128 WILSHIRE BLVD.
       LOS ANGELES, CA 90017


3.2873 COLLEEN MCCARTY, GENE                    VARIOUS                              Litigation              UNDETERMINED
       MCCARTY
       MARY ALEXANDER, BRENDAN       ACCOUNT NO.: NOT AVAILABLE
       WAY, CATALINA MUNOZ
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.2874 COLLIER, ALLEN B                         VARIOUS                              Litigation              UNDETERMINED
       2300 SYLVAN AVE PO BOX
       579941                        ACCOUNT NO.: NOT AVAILABLE
       MODESTO, CA 95355




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Litigation & Disputes

3.2875 COLLIER, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       1 ROBERT AVENUE
       BELMONT, CA 94002             ACCOUNT NO.: NOT AVAILABLE


3.2876 COLLIER, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       2150 S LAUREL STREET
       STOCKTON, CA 95206            ACCOUNT NO.: NOT AVAILABLE


3.2877 COLLIER, OLIVIA                           VARIOUS                              Litigation              UNDETERMINED
       3750 SILVERWOOD AVE
       OAKLAND, CA                   ACCOUNT NO.: NOT AVAILABLE


3.2878 COLLIER, RHONDA                           VARIOUS                              Litigation              UNDETERMINED
       4348 RILEA WAY APT B
       OAKLAND, CA 94605             ACCOUNT NO.: NOT AVAILABLE


3.2879 COLLIER, RYAN                             VARIOUS                              Litigation              UNDETERMINED
       1803 BEALS ROAD
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.2880 COLLIERVILLE COUNTRY                      VARIOUS                              Litigation              UNDETERMINED
       STORE-SINGH, NAVEEN
       3668 E COLLIER ROAD           ACCOUNT NO.: NOT AVAILABLE
       ACAMPO, CA 95220


3.2881 COLLINS, ALEX                             VARIOUS                              Litigation              UNDETERMINED
       1830 BALL COURT
       SAN LEANDRO, CA 94578         ACCOUNT NO.: NOT AVAILABLE


3.2882 COLLINS, CONNIE & ROBERT                  VARIOUS                              Litigation              UNDETERMINED
       3043 E. WESTFALL RD.
       MARIPOSA, CA 95338            ACCOUNT NO.: NOT AVAILABLE


3.2883 COLLINS, DAVID                            VARIOUS                              Litigation              UNDETERMINED
       1247 COLUMBIA STREET
       PITTSBURG, CA 94565           ACCOUNT NO.: NOT AVAILABLE


3.2884 COLLINS, DELORAS                          VARIOUS                              Litigation              UNDETERMINED
       1102 DIABLO AVE
       CHICO, CA 95973               ACCOUNT NO.: NOT AVAILABLE


3.2885 COLLINS, GEORGE                           VARIOUS                              Litigation              UNDETERMINED
       10518 JOHANNA AVE
       SHADOW HILLS, CA 91040        ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.2886 COLLINS, HENRY                           VARIOUS                              Litigation              UNDETERMINED
       626 HEAD STREET
       151 COLE STREET              ACCOUNT NO.: NOT AVAILABLE
       CA, CA 94117


3.2887 COLLINS, KYLE                            VARIOUS                              Litigation              UNDETERMINED
       140 CARDINAL LANE
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.2888 COLLINS, LISA                            VARIOUS                              Litigation              UNDETERMINED
       532 MAY ST.
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.2889 COLLINS, LWANA                           VARIOUS                              Litigation              UNDETERMINED
       3912 WILSON RD
       BAKERSFIELD, CA 93309        ACCOUNT NO.: NOT AVAILABLE


3.2890 COLLINS, PHIL                            VARIOUS                              Litigation              UNDETERMINED
       505 PARNELL ST
       SANTA CRUZ, CA 95062         ACCOUNT NO.: NOT AVAILABLE


3.2891 COLLINS, PHIL & PAMELA                   VARIOUS                              Litigation              UNDETERMINED
       431 SARGENT AVE.
       JACKSON, CA 95642            ACCOUNT NO.: NOT AVAILABLE


3.2892 COLLINS, SANDRA                          VARIOUS                              Litigation              UNDETERMINED
       4911 E HARNEY LANE
       LODI, CA 95240               ACCOUNT NO.: NOT AVAILABLE


3.2893 COLLINS, SARA                            VARIOUS                              Litigation              UNDETERMINED
       777 19TH ST
       OAKLAND, CA 94612            ACCOUNT NO.: NOT AVAILABLE


3.2894 COLLINS, TAMMIE                          VARIOUS                              Litigation              UNDETERMINED
       6108 SKI SLOPE DRIVE
       BAKERSFIELD, CA 93313        ACCOUNT NO.: NOT AVAILABLE


3.2895 COLLINS, VELMA                           VARIOUS                              Litigation              UNDETERMINED
       606 SKYLARK DRIVE
       SUINSUN, CA 94585            ACCOUNT NO.: NOT AVAILABLE


3.2896 COLMENARES PLASTER AND                   VARIOUS                              Litigation              UNDETERMINED
       DECKING INC, JOSE
       COLMANERES                   ACCOUNT NO.: NOT AVAILABLE
       4150 SWEETWATER AVENUE
       SACRAMENTO, CA 95820




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Litigation & Disputes

3.2897 COLOMBAGE, SUNDEEPA                      VARIOUS                              Litigation              UNDETERMINED
       11925 MAIN STREET, #75
       3530 WELCH CREEK RD.,        ACCOUNT NO.: NOT AVAILABLE
       SUNOL, CA.
       SUNOL, CA 94586


3.2898 COLOMBAGE, SUNDEEPA                      VARIOUS                              Litigation              UNDETERMINED
       11925 MAIN STREET, #75
       3530 WELCH CREEK RD.,        ACCOUNT NO.: NOT AVAILABLE
       SUNOL, CA.
       SUNOL, CA 94586


3.2899 COLOMBAGE, SUNDEEPA                      VARIOUS                              Litigation              UNDETERMINED
       11925 MAIN STREET, #75
       3530 WELCH CREEK RD.,        ACCOUNT NO.: NOT AVAILABLE
       SUNOL, CA.
       SUNOL, CA 94586


3.2900 COLOMBO'S DELICATESSEN-                  VARIOUS                              Litigation              UNDETERMINED
       COLOMBO, NICK
       484 MANOR PLAZA              ACCOUNT NO.: NOT AVAILABLE
       PACIFICA, CA 94044


3.2901 COLON, SHAWN                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 712
       EL DORADO, CA 95623          ACCOUNT NO.: NOT AVAILABLE


3.2902 COLON, WILLIAM                           VARIOUS                              Litigation              UNDETERMINED
       318A LOMBARD STREET
       SAN FRANCISCO, CA 94133      ACCOUNT NO.: NOT AVAILABLE


3.2903 COLUMBIA LAUNDROMAT,                     VARIOUS                              Litigation              UNDETERMINED
       DAVID SCHELLER
       PO BOX 538                   ACCOUNT NO.: NOT AVAILABLE
       SHAWS FLAT ROAD
       SONORA, CA 95327


3.2904 COMBO, JOHN                              VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 565
       GARDEN VALLEY, CA 95633      ACCOUNT NO.: NOT AVAILABLE


3.2905 COMBS, YVETTE                            VARIOUS                              Litigation              UNDETERMINED
       17636 CANYON VIEW CT
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.2906 COMCAST COMMUNICATIONS-                  VARIOUS                              Litigation              UNDETERMINED
       BURROLA, ADRIANA
       5340 S QUEBEC ST             ACCOUNT NO.: NOT AVAILABLE
       SUITE 250S
       GREENWOOD VILLAGE, CA
       80111


3.2907 COMER, DALE & SUZANNE                    VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 464
       39797 CEDAR VISTA CIRCLE     ACCOUNT NO.: NOT AVAILABLE
       SOUTH
       BASS LAKE, CA 93604


3.2908 COMER, JOHN & BONNIE                     VARIOUS                              Litigation              UNDETERMINED
       25979 MISSION ST.
       CARMEL, CA 93923             ACCOUNT NO.: NOT AVAILABLE


3.2909 COMER, STACY                             VARIOUS                              Litigation              UNDETERMINED
       1059 PHILLIPS RD
       YUBA CITY, CA 95991          ACCOUNT NO.: NOT AVAILABLE


3.2910 COMICS CONSPIRACY, RYAN                  VARIOUS                              Litigation              UNDETERMINED
       HIGGINS
       115 EAST FREMONT AVENUE #A   ACCOUNT NO.: NOT AVAILABLE
       SUNNYVALE, CA 94087


3.2911 COMMODORE CRUISES &                      VARIOUS                              Litigation              UNDETERMINED
       EVENTS-PROESCHER, MORGAN
       2394 MARINER SQUARE DRIVE    ACCOUNT NO.: NOT AVAILABLE
       ALAMEDA, CA 94501


3.2912 COMMUNITY ACTION                         VARIOUS                              Litigation              UNDETERMINED
       PARTNERSHIP OF KERN FOOD
       BANK-RUSSELL, TERRY          ACCOUNT NO.: NOT AVAILABLE
       5005 BUSINESS PARK N
       BAKERSFIELD, CA 93309


3.2913 COMMUNITY EMERGENCY                      VARIOUS                              Litigation              UNDETERMINED
       RESPONSE TEAM CERT-
       ALVARADOMARTINEZ, MIGUEL     ACCOUNT NO.: NOT AVAILABLE
       ALFONSO
       C/O CITI PRIVATE BANK. 153
       EAST 53RD STREET,
       21ST FLOOR
       NEW YORK, CA 10022


3.2914 COMMUNITY PRESBYTERIAN                   VARIOUS                              Litigation              UNDETERMINED
       CHURCH
       425 HEMLOCK STREET           ACCOUNT NO.: NOT AVAILABLE
       VACAVILLE, CA 95688


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Litigation & Disputes

3.2915 COMPANY, ALLSTATE                        VARIOUS                              Litigation              UNDETERMINED
       INSURANCE
       P.O. BOX 6525                ACCOUNT NO.: NOT AVAILABLE
       DIAMOND BAR, CA 91765


3.2916 COMPEAU, WILLIAM                         VARIOUS                              Litigation              UNDETERMINED
       715 BREWER DRIVE
       HILLSBOROUGH, CA 94010       ACCOUNT NO.: NOT AVAILABLE


3.2917 COMPTON, BRENDAN                         VARIOUS                              Litigation              UNDETERMINED
       14010 CARRIAGE OAKS LN.
       AUBURN, CA 95602             ACCOUNT NO.: NOT AVAILABLE


3.2918 COMPTON, EMILY                           VARIOUS                              Litigation              UNDETERMINED
       9330 SIERRA COLLEGE BLVD.
       ROSEVILLE, CA 95661          ACCOUNT NO.: NOT AVAILABLE


3.2919 COMPTON, GREGG                           VARIOUS                              Litigation              UNDETERMINED
       403 PACHECO AVE
       SANTA CRUZ, CA 95062         ACCOUNT NO.: NOT AVAILABLE


3.2920 COMSTOCK, DONALD                         VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 55
       ORICK, CA 95555              ACCOUNT NO.: NOT AVAILABLE


3.2921 CONCEPTION, OLIVERIO                     VARIOUS                              Litigation              UNDETERMINED
       5511 HUGES PLACE
       FREMONT, CA 94538            ACCOUNT NO.: NOT AVAILABLE


3.2922 CONCORD IRON WORKS, INC.-                VARIOUS                              Litigation              UNDETERMINED
       MILLETTE, JENNIFER
       1501 LOVERIDGE RD., BOX 15   ACCOUNT NO.: NOT AVAILABLE
       PITTSBURG, CA 94565


3.2923 CONDER, LEITA                            VARIOUS                              Litigation              UNDETERMINED
       16539 CASTROVILLE BLVD
       HOUSE A                      ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93907


3.2924 CONE, JOANNE                             VARIOUS                              Litigation              UNDETERMINED
       125 PARMAC ROAD APT 45
       CHICO, CA 95926              ACCOUNT NO.: NOT AVAILABLE


3.2925 CONE, SHEILA                             VARIOUS                              Litigation              UNDETERMINED
       35340 HWY. 36 E
       PAYNES CREEK, CA 96075       ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.2926 CONFLUENCE RESTAURANTS,                  VARIOUS                              Litigation              UNDETERMINED
       INC.-KWOK, BILL
       39 S LIVERMORE AVE STE 125   ACCOUNT NO.: NOT AVAILABLE
       LIVERMORE, CA 94550


3.2927 CONFLUENCE RESTAURANTS,                  VARIOUS                              Litigation              UNDETERMINED
       INC.-KWOK, BILL
       39 S LIVERMORE AVE           ACCOUNT NO.: NOT AVAILABLE
       SUITE 125
       LIVERMORE, CA 94550


3.2928 CONGRESS, RACHEL                         VARIOUS                              Litigation              UNDETERMINED
       398 N. FERNWOOD CIRCLE
       SUNNYVALE, CA 94085          ACCOUNT NO.: NOT AVAILABLE


3.2929 CONKLIN, ELIZABETH                       VARIOUS                              Litigation              UNDETERMINED
       1201 BRICKYARD WAY
       118                          ACCOUNT NO.: NOT AVAILABLE
       RICHMOND, CA 94801


3.2930 CONLEY, TRAVIS                           VARIOUS                              Litigation              UNDETERMINED
       4692 COVE LANE
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.2931 CONN, LANE & MARION                      VARIOUS                              Litigation              UNDETERMINED
       223 FILBERT ST
       HALF MOON BAY, CA 94019      ACCOUNT NO.: NOT AVAILABLE


3.2932 CONN, MIKE                               VARIOUS                              Litigation              UNDETERMINED
       2420 CAMINO RAMON #215
       SAN RAMON, CA 94583          ACCOUNT NO.: NOT AVAILABLE


3.2933 CONNER, ZACARY                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1231
       CARMEL, CA 93921             ACCOUNT NO.: NOT AVAILABLE


3.2934 CONNOLLY, ERIC                           VARIOUS                              Litigation              UNDETERMINED
       25471 SUGAR PINE DRIVE
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.2935 CONNORS, MATTHEW                         VARIOUS                              Litigation              UNDETERMINED
       35 TOYON WAY
       CARMEL VALLEY, CA 93924      ACCOUNT NO.: NOT AVAILABLE


3.2936 CONO, AMY                                VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2218
       LOS GATOS, CA 95031          ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.2937 CON-QUEST CONTRACTORS,                   VARIOUS                              Litigation              UNDETERMINED
       INC
       290 TOLAND ST.                ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94124


3.2938 CONRAD, BARBARA                          VARIOUS                              Litigation              UNDETERMINED
       122 COTTAGE CIRCLE
       MURPHYS, CA 95247             ACCOUNT NO.: NOT AVAILABLE


3.2939 CONRAD, CAROL                            VARIOUS                              Litigation              UNDETERMINED
       1045 ALMANOR AVE
       MENLO PARK, CA 94025          ACCOUNT NO.: NOT AVAILABLE


3.2940 CONSTANTIN, GUS                          VARIOUS                              Litigation              UNDETERMINED
       25 FAIRWAY DRIVE
       SAN RAFAEL, CA 94901          ACCOUNT NO.: NOT AVAILABLE


3.2941 CONSTRUCTION PROTECTIVE                  VARIOUS                              Litigation              UNDETERMINED
       SERVICES-ORTIZ, JORGE
       3232 H ST                     ACCOUNT NO.: NOT AVAILABLE
       8
       BAKERSFIELD, CA 93301


3.2942 CONSUMER AUTO BODY &                     VARIOUS                              Litigation              UNDETERMINED
       REPAIR, ROBERT SONG
       923 VALENCIA STREET           ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94110


3.2943 CONTER, KATHY                            VARIOUS                              Litigation              UNDETERMINED
       8222 BIG OAKS DRIVE
       CITRUS HEIGHTS, CA 95610      ACCOUNT NO.: NOT AVAILABLE


3.2944 CONTRA COSTA ELECTRIC, INC               VARIOUS                              Litigation              UNDETERMINED
       LEONIDOU & ROSIN
       777 CUESTA DRIVE, SUITE 200   ACCOUNT NO.: NOT AVAILABLE
       MOUNTAIN VIEW, CA 94040


3.2945 CONTRA COSTA WATER                       VARIOUS                              Litigation              UNDETERMINED
       DISTRICT
       1331 CONCORD AVENUE           ACCOUNT NO.: NOT AVAILABLE
       CONCORD, CA 94520


3.2946 CONTRACTING, POWER                       VARIOUS                              Litigation              UNDETERMINED
       311 CALIFORNIA STREET
       SAN FRANCISCO, CA 94104       ACCOUNT NO.: NOT AVAILABLE


3.2947 CONTRERAS, EDWARD                        VARIOUS                              Litigation              UNDETERMINED
       5751 FUTURA WAY
       SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.2948 CONTRERAS, JESUS                         VARIOUS                              Litigation              UNDETERMINED
       380 E. PACHECO ROAD
       BAKERSFIELD, CA 93307        ACCOUNT NO.: NOT AVAILABLE


3.2949 CONTRERAS, JOSE                          VARIOUS                              Litigation              UNDETERMINED
       7197TUSTIN RD
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.2950 CONTRERAS, LORI                          VARIOUS                              Litigation              UNDETERMINED
       2325 RAINWOOD LN
       OAKDALE, CA 95361            ACCOUNT NO.: NOT AVAILABLE


3.2951 CONTRERAS, MARIA                         VARIOUS                              Litigation              UNDETERMINED
       8717 WILSON STREET
       GRAYSON, CA 95363            ACCOUNT NO.: NOT AVAILABLE


3.2952 CONTRERAS, PATRICIA                      VARIOUS                              Litigation              UNDETERMINED
       255 E BOLIVAR ST SPC 179
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.2953 CONTRERAS, PETE                          VARIOUS                              Litigation              UNDETERMINED
       357 S 15TH STREET
       SAN JOSE, CA 95112           ACCOUNT NO.: NOT AVAILABLE


3.2954 CONTRERAS, TERESA                        VARIOUS                              Litigation              UNDETERMINED
       2706 CRESCENT RIDGE ST.
       BAKERSFIELD, CA 93313        ACCOUNT NO.: NOT AVAILABLE


3.2955 CONTRIDAS, PORFERIO                      VARIOUS                              Litigation              UNDETERMINED
       PO BOX 35
       CASTROVILLE, CA 95012        ACCOUNT NO.: NOT AVAILABLE


3.2956 CONVERY, KENNETH & CHRIS                 VARIOUS                              Litigation              UNDETERMINED
       1495 SCHAEFFER ROAD
       1497 SCHAEFFER ROAD          ACCOUNT NO.: NOT AVAILABLE
       SEBASTOPOL, CA 95472


3.2957 CONWAY, GARRET                           VARIOUS                              Litigation              UNDETERMINED
       2813 PINE FLAT RD
       SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE


3.2958 CONWAYS GENERAL STORE,                   VARIOUS                              Litigation              UNDETERMINED
       MICHELE CONWAY
       6455 OMO RANCH RD            ACCOUNT NO.: NOT AVAILABLE
       SOMERSET, CA 95684




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Litigation & Disputes

3.2959 CONYERS, JAMIE                           VARIOUS                              Litigation              UNDETERMINED
       1049 AUBURN FOLSOM ROAD
       3489 AUBURN FOLSOM ROAD      ACCOUNT NO.: NOT AVAILABLE
       NEWCASTLE, CA 95658


3.2960 CONYERS, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       21901 GLENWOOD RD.
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.2961 CONZELMAN VINEYARDS-                     VARIOUS                              Litigation              UNDETERMINED
       CONZELMAN, BRUCE
       285 CURREY LANE              ACCOUNT NO.: NOT AVAILABLE
       SAUSALITO, CA 94965


3.2962 COOK, GAYE                               VARIOUS                              Litigation              UNDETERMINED
       1651 CABERNET LANE
       SAINT HELENA, CA 94574       ACCOUNT NO.: NOT AVAILABLE


3.2963 COOK, GREGORY                            VARIOUS                              Litigation              UNDETERMINED
       1836 LAREDO CIRCLE
       STOCKTON, CA 95209           ACCOUNT NO.: NOT AVAILABLE


3.2964 COOK, JAMES                              VARIOUS                              Litigation              UNDETERMINED
       16375 CRAIG LN
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.2965 COOK, JENNIFER                           VARIOUS                              Litigation              UNDETERMINED
       1205 EAST 22 STREET
       216                          ACCOUNT NO.: NOT AVAILABLE
       MARYSVILLE, CA 95901


3.2966 COOK, LAUREN                             VARIOUS                              Litigation              UNDETERMINED
       1202 FARROLL AVE
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.2967 COOK, PATRICIA                           VARIOUS                              Litigation              UNDETERMINED
       6313 MELVILLE DR
       OAKLAND, CA 94611            ACCOUNT NO.: NOT AVAILABLE


3.2968 COOK, WILLIAM                            VARIOUS                              Litigation              UNDETERMINED
       4343 PAPOOSE DR
       IONE, CA 95640               ACCOUNT NO.: NOT AVAILABLE


3.2969 COOKE, NICOLE                            VARIOUS                              Litigation              UNDETERMINED
       46 KEEL CT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.2970 COOKE, THOMAS                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 613
       HOOPA, CA 95546               ACCOUNT NO.: NOT AVAILABLE


3.2971 COOKIEBAR CREAMERY-NGU,                   VARIOUS                              Litigation              UNDETERMINED
       JOHN
       647 CENTRAL AVE               ACCOUNT NO.: NOT AVAILABLE
       ALAMEDA, CA 94501


3.2972 COOKS, PETER                              VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 231
       OAKLEY, CA 94561              ACCOUNT NO.: NOT AVAILABLE


3.2973 COOLER, WATSONVILLE BERRY                 VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1005
       ROYAL OAKS, CA 95077          ACCOUNT NO.: NOT AVAILABLE


3.2974 COOLING, RYAN                             VARIOUS                              Litigation              UNDETERMINED
       5838 CHRIS DR
       SAN JOSE, CA 95123            ACCOUNT NO.: NOT AVAILABLE


3.2975 COON, JAN                                 VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1685
       TWAIN HARTE, CA 95383         ACCOUNT NO.: NOT AVAILABLE


3.2976 COONEY, THOMAS                            VARIOUS                              Litigation              UNDETERMINED
       5337 COLD SPRINGS DR.
       FORESTHILL, CA 95631          ACCOUNT NO.: NOT AVAILABLE


3.2977 COOPER ATTORNEY REP,                      VARIOUS                              Litigation              UNDETERMINED
       JAMES
       CA 0                          ACCOUNT NO.: NOT AVAILABLE


3.2978 COOPER, DAVID & BRANDI                    VARIOUS                              Litigation              UNDETERMINED
       34116 ASH TERRACE
       FREMONT, CA 94555             ACCOUNT NO.: NOT AVAILABLE


3.2979 COOPER, DEBRA                             VARIOUS                              Litigation              UNDETERMINED
       11325 VALENCIA RD
       NEVADA CITY, CA 95959         ACCOUNT NO.: NOT AVAILABLE


3.2980 COOPER, DERWIN                            VARIOUS                              Litigation              UNDETERMINED
       711 CHERRY ST.
       VALLEJO, CA 94590             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.2981 COOPER, GAKQUIA                          VARIOUS                              Litigation              UNDETERMINED
       1230 TRIGGER CT
       UNIT 692                      ACCOUNT NO.: NOT AVAILABLE
       RODEO, CA 94572


3.2982 COOPER, HERBERT                          VARIOUS                              Litigation              UNDETERMINED
       324 VISTA GRANDE
       PACHECO, CA 94553             ACCOUNT NO.: NOT AVAILABLE


3.2983 COOPER, JAY                              VARIOUS                              Litigation              UNDETERMINED
       11584 POLARIS DR.
       GRASS VALLEY, CA 95949        ACCOUNT NO.: NOT AVAILABLE


3.2984 COOPER, THOMAS                           VARIOUS                              Litigation              UNDETERMINED
       1768 HALLMARK LN.
       SAN JOSE, CA 95124            ACCOUNT NO.: NOT AVAILABLE


3.2985 COPITA TEQUILERIA Y COMIDA-              VARIOUS                              Litigation              UNDETERMINED
       SVENDBERG, AMY
       739 BRIDGEWAY                 ACCOUNT NO.: NOT AVAILABLE
       SAUSALITO, CA 94965


3.2986 COPPER CANE LLC - MUSCIO,                VARIOUS                              Litigation              UNDETERMINED
       JASON
       PO BOX 660                    ACCOUNT NO.: NOT AVAILABLE
       RUTHERFORD, CA 94573


3.2987 COPPERNOLL, MARGARET                     VARIOUS                              Litigation              UNDETERMINED
       308 COSTA DEL MAR RD
       MARINA, CA 93933              ACCOUNT NO.: NOT AVAILABLE


3.2988 COPY PACIFIC INC.-KHAN, JAY              VARIOUS                              Litigation              UNDETERMINED
       1090 B STREET
       HAYWARD, CA 94541             ACCOUNT NO.: NOT AVAILABLE


3.2989 CORAL-SANDS (WILDER), ERIK               VARIOUS                              Litigation              UNDETERMINED
       6020 MARYSVILLE RD.
       BROWNS VALLEY, CA 95918       ACCOUNT NO.: NOT AVAILABLE


3.2990 CORBETT, GILDA                           VARIOUS                              Litigation              UNDETERMINED
       3535 OHIO AVE
       RICHMOND, CA 94804            ACCOUNT NO.: NOT AVAILABLE


3.2991 CORBETT, JIM                             VARIOUS                              Litigation              UNDETERMINED
       1526 WHITEHALL LANE
       SAINT HELENA, CA 94574        ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.2992 CORBIN, ANN                               VARIOUS                              Litigation              UNDETERMINED
       262 ALAMEDA DE LAS PULGAS
       REDWOOD CITY, CA 94062        ACCOUNT NO.: NOT AVAILABLE


3.2993 CORBIN, KIRA                              VARIOUS                              Litigation              UNDETERMINED
       26382 PARKSIDE DR
       HAYWARD, CA 94542             ACCOUNT NO.: NOT AVAILABLE


3.2994 CORBIT, DONNA                             VARIOUS                              Litigation              UNDETERMINED
       1458 JEFFRIES ST
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


3.2995 CORCORAN UNIFIED SCHOOL                   VARIOUS                              Litigation              UNDETERMINED
       DISTRICT-SMITH, DEBBIE R.
       1430 W. HERNDON AVENUE        ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93711


3.2996 CORCORAN, THOMAS                          VARIOUS                              Litigation              UNDETERMINED
       4874 FOSTER ROAD
       PARADISE, CA 95969            ACCOUNT NO.: NOT AVAILABLE


3.2997 CORDOVA, ANDRES                           VARIOUS                              Litigation              UNDETERMINED
       25314 FLANDERS DR.
       CARMEL, CA 93923              ACCOUNT NO.: NOT AVAILABLE


3.2998 CORDOVA, CARLOS AND                       VARIOUS                              Litigation              UNDETERMINED
       MARTHA
       3971 MISSION STREET, #2       ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94112


3.2999 CORDOVA, TERESA                           VARIOUS                              Litigation              UNDETERMINED
       1750 S. MAIN ST. SPC 110
       WILLITS, CA 95490             ACCOUNT NO.: NOT AVAILABLE


3.3000 CORDOVER, JILL                            VARIOUS                              Litigation              UNDETERMINED
       2140 OAK LEAF COURT
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.3001 CORE BUILDERS JV-DAVIS,                   VARIOUS                              Litigation              UNDETERMINED
       FRANK
       470 SOUTH MARKET STREET       ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95113


3.3002 COREMARK-NERING, MOLLY                    VARIOUS                              Litigation              UNDETERMINED
       31300 MEDALLION DRIVE
       FREMONT, CA 94544             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3003 CORI COSMETICS INC.,                     VARIOUS                              Litigation              UNDETERMINED
       YOLANDA SCHAMONL
       308 G STREET                 ACCOUNT NO.: NOT AVAILABLE
       ANTIOCH, CA 94509


3.3004 CORNEJO, ALEJANDRO                       VARIOUS                              Litigation              UNDETERMINED
       1021 POLK ST
       31                           ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.3005 CORNEJO, DEAN                            VARIOUS                              Litigation              UNDETERMINED
       20385 PLEASANT VALLEY RD.
       NORTH SAN JUAN, CA 95960     ACCOUNT NO.: NOT AVAILABLE


3.3006 CORNEJO, HOPE                            VARIOUS                              Litigation              UNDETERMINED
       459 OCEAN VIEW AVE
       PISMO BEACH, CA 93449        ACCOUNT NO.: NOT AVAILABLE


3.3007 CORNEJO, SHANNON                         VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 334
       GLENCOE, CA 95232            ACCOUNT NO.: NOT AVAILABLE


3.3008 CORNELIUS, MARGARET                      VARIOUS                              Litigation              UNDETERMINED
       3321 CARRIAGE LANE
       CA 96022                     ACCOUNT NO.: NOT AVAILABLE


3.3009 CORNELL, JULIE                           VARIOUS                              Litigation              UNDETERMINED
       2560 WALNUT BLVD APT 27
       WALNUT CREEK, CA 94596       ACCOUNT NO.: NOT AVAILABLE


3.3010 CORNELL, PAMELA AND GLEN                 VARIOUS                              Litigation              UNDETERMINED
       44669 MANZANITA DRIVE
       OAKHURST, CA 93644           ACCOUNT NO.: NOT AVAILABLE


3.3011 CORNERSTONE REAL ESTATE-                 VARIOUS                              Litigation              UNDETERMINED
       GAYDA, TIM
       2665 SHELL BEACH RD STE J    ACCOUNT NO.: NOT AVAILABLE
       PISMO BEACH, CA 93449


3.3012 CORNISH, LARRY                           VARIOUS                              Litigation              UNDETERMINED
       2495 WILD OAK DRIVE
       MURPHYS, CA 95247            ACCOUNT NO.: NOT AVAILABLE


3.3013 CORONA, ERIKA                            VARIOUS                              Litigation              UNDETERMINED
       5373 N EL SOL AVE
       FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3014 CORONADO, SABRYNA                        VARIOUS                              Litigation              UNDETERMINED
       4664 N VAGEDES AVE
       FRESNO, CA 93705             ACCOUNT NO.: NOT AVAILABLE


3.3015 CORONEL, DALLEN                          VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 7154
       SPRECKELS, CA 93962          ACCOUNT NO.: NOT AVAILABLE


3.3016 CORONEL, RAFAEL & MARIA                  VARIOUS                              Litigation              UNDETERMINED
       24570 CALLE EL ROSARIO
       SALINAS, CA 93908            ACCOUNT NO.: NOT AVAILABLE


3.3017 CORPORATE CLAIMS SERVICE                 VARIOUS                              Litigation              UNDETERMINED
       ONE GREENWOOD SQUARE
       3333 STREET RD, SUITE 305    ACCOUNT NO.: NOT AVAILABLE
       BENSALEM, CA 19020


3.3018 CORPORATION, INTEL                       VARIOUS                              Litigation              UNDETERMINED
       1900 PRAIRIE CITY ROAD
       MAIL STOP FM3 23             ACCOUNT NO.: NOT AVAILABLE
       FOLSOM, CA 95630


3.3019 CORRAL DE TIERRA COUNTRY                 VARIOUS                              Litigation              UNDETERMINED
       CLUB-NOVAK, ELIZABETH
       81 CORRAL DE TIERRA RD.      ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93908


3.3020 CORREA, ADRIANA                          VARIOUS                              Litigation              UNDETERMINED
       208 LA QUINTA DR
       WINDSOR, CA 95492            ACCOUNT NO.: NOT AVAILABLE


3.3021 CORREA, ERIC                             VARIOUS                              Litigation              UNDETERMINED
       2545 AMARYL CT
       SAN JOSE, CA 95132           ACCOUNT NO.: NOT AVAILABLE


3.3022 CORREA, ISABEL                           VARIOUS                              Litigation              UNDETERMINED
       4747 WONG ST
       GUADALUPE, CA 93434          ACCOUNT NO.: NOT AVAILABLE


3.3023 CORREA, WILLIAM                          VARIOUS                              Litigation              UNDETERMINED
       53757 S. RIVER RD
       CLARKSBURG, CA 95612         ACCOUNT NO.: NOT AVAILABLE


3.3024 CORREIA/EVANS,                           VARIOUS                              Litigation              UNDETERMINED
       KATHLEEN/STEPHEN
       PO BOX 933                   ACCOUNT NO.: NOT AVAILABLE
       LAFAYETTE, CA 94549



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Litigation & Disputes

3.3025 CORSO, SHANNON                           VARIOUS                              Litigation              UNDETERMINED
       13674 W PARK DR
       MAGALIA, CA 95954             ACCOUNT NO.: NOT AVAILABLE


3.3026 CORTES, SALVADOR                         VARIOUS                              Litigation              UNDETERMINED
       700 LUCY BROWN ROAD
       SAN JUAN BAUTISTA, CA 95045   ACCOUNT NO.: NOT AVAILABLE


3.3027 CORTES, TRINIDAD                         VARIOUS                              Litigation              UNDETERMINED
       608 FAIRHAVEN WAY
       NOVATO, CA 94947              ACCOUNT NO.: NOT AVAILABLE


3.3028 CORTEZ, DONNA                            VARIOUS                              Litigation              UNDETERMINED
       1812 BRADDOCK CT
       SAN JOSE, CA 95125            ACCOUNT NO.: NOT AVAILABLE


3.3029 CORTEZ, JESSE                            VARIOUS                              Litigation              UNDETERMINED
       83 CASTRO AVE APT 1
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.3030 CORTEZ, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       3611 PEACHWILLOW LANE
       WALNUT CREEK, CA 94598        ACCOUNT NO.: NOT AVAILABLE


3.3031 CORTIJO, RICHARD                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 85
       14152 FRENCH TOWN ROAD        ACCOUNT NO.: NOT AVAILABLE
       OREGON HOUSE, CA 95962


3.3032 CORTINA, ISALIA                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2468
       146 3RD STREET                ACCOUNT NO.: NOT AVAILABLE
       GONZALES, CA 93926


3.3033 CORWIN, CHRISTOPHER                      VARIOUS                              Litigation              UNDETERMINED
       2742 ACTON ST
       BERKELEY, CA 94702            ACCOUNT NO.: NOT AVAILABLE


3.3034 CORY, ASHLEY                             VARIOUS                              Litigation              UNDETERMINED
       28150 HOLIDAY LN
       PIONEER, CA 95666             ACCOUNT NO.: NOT AVAILABLE


3.3035 COSGROVE, DIANE                          VARIOUS                              Litigation              UNDETERMINED
       1224 LADERA WAY
       571 INNOCENT WAY              ACCOUNT NO.: NOT AVAILABLE
       BELMONT, CA 95228




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.3036 COSMETICS FOR LESS                       VARIOUS                              Litigation              UNDETERMINED
       19720 MOONGLOW ROAD
       PRUNEDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.3037 COSMI, ASHLEY                            VARIOUS                              Litigation              UNDETERMINED
       396 NORTHGATE AVE
       DALY CITY, CA 94015           ACCOUNT NO.: NOT AVAILABLE


3.3038 COST, BETH                               VARIOUS                              Litigation              UNDETERMINED
       7861 KENTWOOD WAY
       PLEASANTON, CA 94588          ACCOUNT NO.: NOT AVAILABLE


3.3039 COSTA VIEW FARMS                         VARIOUS                              Litigation              UNDETERMINED
       16800 ROAD 15
       FIELD 1417 SE SE SN 14 1115   ACCOUNT NO.: NOT AVAILABLE
       WELL 141
       MADERA, CA 93637-9445


3.3040 COSTA, EUGENE                            VARIOUS                              Litigation              UNDETERMINED
       122 MASATANI CT
       GUADALUPE, CA 93434           ACCOUNT NO.: NOT AVAILABLE


3.3041 COSTA, KAREN                             VARIOUS                              Litigation              UNDETERMINED
       1061 VIA DEL POZO
       LOS ALTOS, CA 94022           ACCOUNT NO.: NOT AVAILABLE


3.3042 COSTA, MARCELE                           VARIOUS                              Litigation              UNDETERMINED
       119 HALL LN
       WALNULT CREEK, CA 94597       ACCOUNT NO.: NOT AVAILABLE


3.3043 COSTA, NOELIA                            VARIOUS                              Litigation              UNDETERMINED
       909 VALENCIA DRIVE
       LOS BANOS, CA 93635           ACCOUNT NO.: NOT AVAILABLE


3.3044 COSTAS, CESAR & ROSA                     VARIOUS                              Litigation              UNDETERMINED
       112 LIGHTSHIP CT.
       VALLEJO, CA 94591             ACCOUNT NO.: NOT AVAILABLE


3.3045 COSTELLO, CLAIRE                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 755
       NICASIO, CA 94946             ACCOUNT NO.: NOT AVAILABLE


3.3046 COSTILLO, DAVID                          VARIOUS                              Litigation              UNDETERMINED
       35121 BAILEY CREEK DRIVE
       SHINGLETOWN, CA 96088         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3047 COTO, NORA                               VARIOUS                              Litigation              UNDETERMINED
       244 VERDE ST
       DALY CITY, CA 94014          ACCOUNT NO.: NOT AVAILABLE


3.3048 COTTER, JANIS                            VARIOUS                              Litigation              UNDETERMINED
       2124 CURTIS DR.
       PENNGROVE, CA 94951          ACCOUNT NO.: NOT AVAILABLE


3.3049 COTTLE, PAMELA                           VARIOUS                              Litigation              UNDETERMINED
       6233 ,BLOSSOM AVE
       SAN JOSE, CA 95123           ACCOUNT NO.: NOT AVAILABLE


3.3050 COTTONWOOD PLACE-SOARES,                 VARIOUS                              Litigation              UNDETERMINED
       BRIANA
       3701 PERALTA BLVD            ACCOUNT NO.: NOT AVAILABLE
       FREMONT, CA 94536


3.3051 COTTOR, MARY                             VARIOUS                              Litigation              UNDETERMINED
       2124 YORKSHIRE RD
       SACRAMENTO, CA 95815         ACCOUNT NO.: NOT AVAILABLE


3.3052 COUCH, WALTER                            VARIOUS                              Litigation              UNDETERMINED
       46358 SKYLINE RIDGE ROAD
       COARSEGOLD, CA 93614         ACCOUNT NO.: NOT AVAILABLE


3.3053 COUCHMAN, ANNA                           VARIOUS                              Litigation              UNDETERMINED
       304 DIEHL WAY
       PITTSBURG, CA 94656          ACCOUNT NO.: NOT AVAILABLE


3.3054 COUGHLIN, JERRY                          VARIOUS                              Litigation              UNDETERMINED
       22767 ADOBE RD
       COTTONWOOD, CA 96022         ACCOUNT NO.: NOT AVAILABLE


3.3055 COULSTON, KATHY                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1742
       APTOS, CA 95076              ACCOUNT NO.: NOT AVAILABLE


3.3056 COULTRAP, DAWN                           VARIOUS                              Litigation              UNDETERMINED
       21643 SLOPE LANE
       TWAIN HARTE, CA 95383        ACCOUNT NO.: NOT AVAILABLE


3.3057 COUNCIL II, WILLIAM                      VARIOUS                              Litigation              UNDETERMINED
       3205 STABLE DRIVE
       WEST SACRAMENTO, CA 95691    ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.3058 COUNTRY CLUB VILLAGE                     VARIOUS                              Litigation              UNDETERMINED
       CLEANERS-FARAHMAND,
       KAYVAN                       ACCOUNT NO.: NOT AVAILABLE
       9130 D ALCOSTA BLVD.
       SAN RAMON, CA 94583


3.3059 COUNTRYMAN, TERESA                       VARIOUS                              Litigation              UNDETERMINED
       779 MANDANA BLVD.
       OAKLAND, CA 94610            ACCOUNT NO.: NOT AVAILABLE


3.3060 COUNTS, KIMBERLY                         VARIOUS                              Litigation              UNDETERMINED
       6013 OUTINGDALE ROAD
       SOMERSET, CA 95684           ACCOUNT NO.: NOT AVAILABLE


3.3061 COUNTY JEWELER, CLAUDIA                  VARIOUS                              Litigation              UNDETERMINED
       SHAW
       17555 VIERRA CANYON ROAD     ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93907


3.3062 COUNTY OF ALAMEDA, C/O                   VARIOUS                              Litigation              UNDETERMINED
       COUNTY COUNSELS OFFICE
       1221 OAK ST                  ACCOUNT NO.: NOT AVAILABLE
       22053 MEEKLAND AVE.,
       HAYWARD, CA.
       OAKLAND, CA 94612


3.3063 COUNTY OF ALAMEDA-                       VARIOUS                              Litigation              UNDETERMINED
       RICKARD, STUART
       393 13TH STREET              ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94612


3.3064 COUNTY OF FRESNO                         VARIOUS                              Litigation              UNDETERMINED
       OVERSTREET & ASSOCIATES
       1300 E SHAW AVE STE 125      ACCOUNT NO.: NOT AVAILABLE
       STE 125, FRESNO, CA 93710


3.3065 COUNTY OF SAN LUIS OBISPO                VARIOUS                              Litigation              UNDETERMINED
       PARKS AND RECREATION-
       KAYE, SHANTESSY              ACCOUNT NO.: NOT AVAILABLE
       1144 MONTEREY
       SUITE A
       SAN LUIS OBISPO, CA 93408


3.3066 COUNTY OF SAN MATEO                      VARIOUS                              Litigation              UNDETERMINED
       555 COUNTY CENTER, 5TH
       FLOOR                        ACCOUNT NO.: NOT AVAILABLE
       REDWOOD CITY, CA 94063




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Litigation & Disputes

3.3067 COUNTY SERVICE AREA 43,                  VARIOUS                              Litigation              UNDETERMINED
       COUNTY OF TUOLUMNE-ZITNIK,
       DENISE                       ACCOUNT NO.: NOT AVAILABLE
       2 S GREEN ST
       SONORA, CA 95370


3.3068 COUPE, JUSTIN                            VARIOUS                              Litigation              UNDETERMINED
       7930 CRYSTAL SPRINGS WAY
       LOOMIS, CA 95650             ACCOUNT NO.: NOT AVAILABLE


3.3069 COURSHON, JAMES                          VARIOUS                              Litigation              UNDETERMINED
       10 ROCKWOOD CT.
       SAN MATEO, CA 94551          ACCOUNT NO.: NOT AVAILABLE


3.3070 COURT TANOUYE, TOMOKO                    VARIOUS                              Litigation              UNDETERMINED
       TANOUYE
       MARY ALEXANDER, BRENDAN      ACCOUNT NO.: NOT AVAILABLE
       WAY, CATALINA MUNOZ
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.3071 COURTESY AUTO SERVICE-                   VARIOUS                              Litigation              UNDETERMINED
       WANG, SHIHKWANG
       301 SANGO CT                 ACCOUNT NO.: NOT AVAILABLE
       MILPITAS, CA 95035


3.3072 COURTNEY, TERI                           VARIOUS                              Litigation              UNDETERMINED
       229 FLOOD RD
       AUBURN, CA 95603             ACCOUNT NO.: NOT AVAILABLE


3.3073 COURTYARD BY MARRIOTT-                   VARIOUS                              Litigation              UNDETERMINED
       ELKABBANY, NADER
       4320 EL CAMINO REAL          ACCOUNT NO.: NOT AVAILABLE
       LOS ALTOS, CA 94022


3.3074 COUTERMARSH, LAURA & RAY                 VARIOUS                              Litigation              UNDETERMINED
       5921 SUNNYBROOK LANE
       DIXON, CA 95620              ACCOUNT NO.: NOT AVAILABLE


3.3075 COUTHREN, JOE                            VARIOUS                              Litigation              UNDETERMINED
       19698 VALLEY LANE
       REDDING, CA 96002            ACCOUNT NO.: NOT AVAILABLE


3.3076 COUTO PARTNERSHIP,                       VARIOUS                              Litigation              UNDETERMINED
       KENNEDY
       1669 COUNTY ROAD V           ACCOUNT NO.: NOT AVAILABLE
       ATTN. DAN KENNEDY
       GLENN, CA 95943


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.3077 COUTURE, CHRISTINA                       VARIOUS                              Litigation              UNDETERMINED
       6329 N 11TH AVE
       HANFORD, CA 93230            ACCOUNT NO.: NOT AVAILABLE


3.3078 COVARRUBIAS, ALVARO                      VARIOUS                              Litigation              UNDETERMINED
       930 W EDMUNDSON AVE
       MORGAN HILL, CA 95037        ACCOUNT NO.: NOT AVAILABLE


3.3079 COVARRUBIAS, MICHAEL                     VARIOUS                              Litigation              UNDETERMINED
       3430 SILVERADO TRAIL, ST.
       HELENA                       ACCOUNT NO.: NOT AVAILABLE
       700 LARKSPUR LANDING
       CIRCLE, SUITE 280
       LARKSPUR, CA 94939


3.3080 COWAN, STEFAN                            VARIOUS                              Litigation              UNDETERMINED
       11685 LORENSON RD.
       AUBURN, CA 95602             ACCOUNT NO.: NOT AVAILABLE


3.3081 COWDREY, LISA                            VARIOUS                              Litigation              UNDETERMINED
       1205 SANDY LANE
       LAKEPORT, CA 95453           ACCOUNT NO.: NOT AVAILABLE


3.3082 COWEN, LEON                              VARIOUS                              Litigation              UNDETERMINED
       1956 MARINEVIEW DRIVE
       SAN LEANDRO, CA 94577        ACCOUNT NO.: NOT AVAILABLE


3.3083 COWLES, CYNTHIA                          VARIOUS                              Litigation              UNDETERMINED
       5350 PARKFORD CIRCLE
       GRANITE BAY, CA 95746        ACCOUNT NO.: NOT AVAILABLE


3.3084 COX, COLEMAN                             VARIOUS                              Litigation              UNDETERMINED
       17605 POND DEROSA LN # 27
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.3085 COX, DONOVON                             VARIOUS                              Litigation              UNDETERMINED
       207 E. BOLIVAR ST.
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.3086 COX, JASON                               VARIOUS                              Litigation              UNDETERMINED
       3458 RENNER DR
       FORTUNA, CA 95540            ACCOUNT NO.: NOT AVAILABLE


3.3087 COX, RAYMOND                             VARIOUS                              Litigation              UNDETERMINED
       381 N PEBBLE BEACH STREET
       VALLEY SPRINGS, CA 95252     ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3088 COX, SHARON                              VARIOUS                              Litigation              UNDETERMINED
       23115 KILKENNY LANE
       RED BLUFF, CA 96080          ACCOUNT NO.: NOT AVAILABLE


3.3089 COX, THOMAS A                            VARIOUS                              Litigation              UNDETERMINED
       395 ARBOLEDA DRIVE
       LOS ALTOS, CA 94024          ACCOUNT NO.: NOT AVAILABLE


3.3090 COYLE                                    VARIOUS                              Litigation              UNDETERMINED
       COTCHETT, PITRE &
       MCCARTHY, LLP                ACCOUNT NO.: NOT AVAILABLE
       840 MALCOLM RD., SUITE 200
       BURLINGAME, CA 94010


3.3091 COYLE, DEREK                             VARIOUS                              Litigation              UNDETERMINED
       6619 RIVER MESA DR
       RIVERBANK, CA 95367          ACCOUNT NO.: NOT AVAILABLE


3.3092 COYLE, JEREMY                            VARIOUS                              Litigation              UNDETERMINED
       2250 CHERYL WAY
       SAN JOSE, CA 95125           ACCOUNT NO.: NOT AVAILABLE


3.3093 COYLE, JOHN                              VARIOUS                              Litigation              UNDETERMINED
       950 CHAMPION LANE
       DEER PARK, CA 94576          ACCOUNT NO.: NOT AVAILABLE


3.3094 COYLE, LISA                              VARIOUS                              Litigation              UNDETERMINED
       5311 LENORE AVE
       LIVERMORE, CA 94550          ACCOUNT NO.: NOT AVAILABLE


3.3095 COYNE, LLOYD AND NANCY                   VARIOUS                              Litigation              UNDETERMINED
       7019 SCHMIDT LN.
       EL CERRITO, CA 94530         ACCOUNT NO.: NOT AVAILABLE


3.3096 COZZA, SCOTT                             VARIOUS                              Litigation              UNDETERMINED
       73 MISSION DR.
       PETALUMA, CA 94952           ACCOUNT NO.: NOT AVAILABLE


3.3097 CPS FARMS-SANCHEZ, CHRIS                 VARIOUS                              Litigation              UNDETERMINED
       11054 W MT WHITNEY AVE.
       RIVERDALE, CA 93656          ACCOUNT NO.: NOT AVAILABLE


3.3098 CR MARTIN AUCTIONEERS INC-               VARIOUS                              Litigation              UNDETERMINED
       MARTIN, REDGE
       5644 TELEGRAPH AVENUE        ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94609




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.3099 CR MOTORS INC-SHEARMAN,                  VARIOUS                              Litigation              UNDETERMINED
       JERRY
       481 E CYPRESS AVE            ACCOUNT NO.: NOT AVAILABLE
       REDDING, CA 96001


3.3100 CRABTREE, TOM                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2095
       PENN VALLEY, CA 95946        ACCOUNT NO.: NOT AVAILABLE


3.3101 CRADDOCK, LE ANN                         VARIOUS                              Litigation              UNDETERMINED
       3601 S. CHESTER AVE. #10
       BAKERSFIELD, CA              ACCOUNT NO.: NOT AVAILABLE


3.3102 CRAFTY FOX ALE HOUSE-MC                  VARIOUS                              Litigation              UNDETERMINED
       CLOSKEY, MICHEAL
       1921 HYDE STREET             ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94109


3.3103 CRAIG, ELINOR                            VARIOUS                              Litigation              UNDETERMINED
       7 FAIRVIEW CT
       SAN ANSELMO, CA 94960        ACCOUNT NO.: NOT AVAILABLE


3.3104 CRAIG, JOE AND ROSE MARY                 VARIOUS                              Litigation              UNDETERMINED
       2426 ADELFA STREET
       LA GRANGE, CA 95329          ACCOUNT NO.: NOT AVAILABLE


3.3105 CRAIG, NANCY                             VARIOUS                              Litigation              UNDETERMINED
       349 S SINCLAIR AVE
       STOCKTON, CA 95215           ACCOUNT NO.: NOT AVAILABLE


3.3106 CRAIN ORCHARDS, INC.-                    VARIOUS                              Litigation              UNDETERMINED
       WALLACE, MICHAEL
       10695 DECKER AVE.            ACCOUNT NO.: NOT AVAILABLE
       LOS MOLINOS, CA 96055


3.3107 CRAMTON, TRAVIS                          VARIOUS                              Litigation              UNDETERMINED
       18340 SHELTER HAVEN CT.
       COTTONWOOD, CA 96022         ACCOUNT NO.: NOT AVAILABLE


3.3108 CRANE, TRACY                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 532
       ARNOLD, CA 95223             ACCOUNT NO.: NOT AVAILABLE


3.3109 CRANFILL, JEFF                           VARIOUS                              Litigation              UNDETERMINED
       2860 GRAPEVINE GULCH RD
       IONE, CA 95640               ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3110 CRATUS INCORPORATED                      VARIOUS                              Litigation              UNDETERMINED
       945 TARAVAL STREET #302
       LINCOLN AVE & LINDEN LANE     ACCOUNT NO.: NOT AVAILABLE
       SAN RAFAEL, CA


3.3111 CRAWFORD, RONALD                         VARIOUS                              Litigation              UNDETERMINED
       2051 WINDWARD PT
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.3112 CRAZY EDDIE'S PANINI GRILL-              VARIOUS                              Litigation              UNDETERMINED
       HICE, ERIC
       PO BOX 664                    ACCOUNT NO.: NOT AVAILABLE
       664
       SAN ANDREAS, CA 95249


3.3113 CRC INVESTMENTS, LLC-                    VARIOUS                              Litigation              UNDETERMINED
       ALCAZAR, ABEL Z
       10256 CORALWOOD COURT         ACCOUNT NO.: NOT AVAILABLE
       ALTA LOMA, CA 91737


3.3114 CREATIVE INNOVATIONS-                    VARIOUS                              Litigation              UNDETERMINED
       MARTINEZ, NANCY
       3165 CAREY WAY                ACCOUNT NO.: NOT AVAILABLE
       HOLLISTER, CA 95023


3.3115 CREATIVE JUICES, INC. DBA                VARIOUS                              Litigation              UNDETERMINED
       JAMBA JUICE-KEENAN, MARK
       398 ALVARADO ST.              ACCOUNT NO.: NOT AVAILABLE
       MONTEREY, CA 93940


3.3116 CREATIVE LABS, INC.-                     VARIOUS                              Litigation              UNDETERMINED
       O'CONNOR, MICHELLE
       1901 MCCARTHY BLVD            ACCOUNT NO.: NOT AVAILABLE
       MILPITAS, CA 95035


3.3117 CREATIVE PROPERTY                        VARIOUS                              Litigation              UNDETERMINED
       MANAGEMENT-FORD, DONALD
       AND NINA                      ACCOUNT NO.: NOT AVAILABLE
       1055 VIA ESMERALDA
       SANTA MARIA, CA 93455


3.3118 CREATIVE PROPERTY                        VARIOUS                              Litigation              UNDETERMINED
       MANAGMENT-SHELBY, ELAINE
       2620 DEL SUR                  ACCOUNT NO.: NOT AVAILABLE
       SANTA MARIA, CA 93455




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Litigation & Disputes

3.3119 CREATIVE THERAPUTICS                     VARIOUS                              Litigation              UNDETERMINED
       PHYSICAL THERAPY, NANCY
       LARSON                        ACCOUNT NO.: NOT AVAILABLE
       2765 E SHAW, SUITE 102
       FRESNO, CA 93710


3.3120 CREDIT WORLD AUTO SALES,                 VARIOUS                              Litigation              UNDETERMINED
       JIM SPEARS
       3795 N CLOVIS AVE, STE B      ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93727


3.3121 CREEDONQ, JULIET                         VARIOUS                              Litigation              UNDETERMINED
       19674 SERRANO RD
       SONORA, CA 95370              ACCOUNT NO.: NOT AVAILABLE


3.3122 CREEKSIDE CAFE, MICHAEL                  VARIOUS                              Litigation              UNDETERMINED
       MONAHAN
       PO BOX 1379                   ACCOUNT NO.: NOT AVAILABLE
       BOYES HOT SPRINGS, CA 95416


3.3123 CREGER, DAWN/RANDALL                     VARIOUS                              Litigation              UNDETERMINED
       972 KING GEORGE WAY
       EL DORADO HILLS, CA 95762     ACCOUNT NO.: NOT AVAILABLE


3.3124 CRELLIN, THOMAS                          VARIOUS                              Litigation              UNDETERMINED
       1539 FREDERICK
       SANTA ROSA, CA 95401          ACCOUNT NO.: NOT AVAILABLE


3.3125 CRENSHAW, ELAINE                         VARIOUS                              Litigation              UNDETERMINED
       19963 BARONI CT
       SARATOGA, CA 95070            ACCOUNT NO.: NOT AVAILABLE


3.3126 CRESSMAN, BRUCE                          VARIOUS                              Litigation              UNDETERMINED
       7450 MATTERHORN PLACE
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.3127 CRETAN, ARAM                             VARIOUS                              Litigation              UNDETERMINED
       420 3RD ST., UNIT A
       OAKLAND, CA 94607             ACCOUNT NO.: NOT AVAILABLE


3.3128 CREWS, MICHAEL                           VARIOUS                              Litigation              UNDETERMINED
       231 WEST ALVIN DRIVE
       C                             ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.3129 CRILL, REBEKAH                           VARIOUS                              Litigation              UNDETERMINED
       585 ORMAN RD
       BOULDER CREEK, CA 95006       ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.3130 CRISP, JAMES                             VARIOUS                              Litigation              UNDETERMINED
       14830 AUSTIN RD
       CLEARLAKE, CA 95422          ACCOUNT NO.: NOT AVAILABLE


3.3131 CRISP, MELBA                             VARIOUS                              Litigation              UNDETERMINED
       3585 DEER PARK CT
       HAYWARD, CA 94542            ACCOUNT NO.: NOT AVAILABLE


3.3132 CRISP, MICHAEL                           VARIOUS                              Litigation              UNDETERMINED
       11332 RACETRACK ROAD, APT
       #A                           ACCOUNT NO.: NOT AVAILABLE
       SONORA, CA 95370


3.3133 CRIST, LETICIA                           VARIOUS                              Litigation              UNDETERMINED
       163 BANGOR AVE
       SAN JOSE, CA 95723           ACCOUNT NO.: NOT AVAILABLE


3.3134 CRISTIANI, CORINNE                       VARIOUS                              Litigation              UNDETERMINED
       900 NOB HILL ROAD.
       REDWOOD CITY, CA 94061       ACCOUNT NO.: NOT AVAILABLE


3.3135 CRITES, JASMINE                          VARIOUS                              Litigation              UNDETERMINED
       7665 SLEEPY HOLLOW LANE
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.3136 CRITZ, CAROLYN V. PG&E                   VARIOUS                              Litigation              UNDETERMINED
       1515 GRANDVIEW AVENUE
       MARTINEZ, CA 94553           ACCOUNT NO.: NOT AVAILABLE


3.3137 CRNICH, CAROLYN                          VARIOUS                              Litigation              UNDETERMINED
       P.O.BOX 695
       LOLETA, CA 95551             ACCOUNT NO.: NOT AVAILABLE


3.3138 CROCE, CAROLYN                           VARIOUS                              Litigation              UNDETERMINED
       33 HAYWARD AVENUE
       106                          ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94401


3.3139 CROCKER, JAMES                           VARIOUS                              Litigation              UNDETERMINED
       3211 CHERRY ST
       NICE, CA 95464               ACCOUNT NO.: NOT AVAILABLE


3.3140 CROCKER, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       13525 PAST TERRANO
       SALINAS, CA 98908            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3141 CROCKER, KRISTEN                         VARIOUS                              Litigation              UNDETERMINED
       520 MAY ST.
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.3142 CROCKER, LORRAINE                        VARIOUS                              Litigation              UNDETERMINED
       1027 E. MAGILL AVE
       FRESNO, CA 93710             ACCOUNT NO.: NOT AVAILABLE


3.3143 CROCKETT AUTO SERVICE-                   VARIOUS                              Litigation              UNDETERMINED
       SINGH, RAJINDER
       1245 POMONA ST.              ACCOUNT NO.: NOT AVAILABLE
       CROCKETT, CA 94525


3.3144 CROCKETT AUTO SERVICE-                   VARIOUS                              Litigation              UNDETERMINED
       SINGH, RAJINDER
       1245 POMONA ST.              ACCOUNT NO.: NOT AVAILABLE
       CROCKETT, CA 94525


3.3145 CROFT, DEANNE                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 478
       223 LA CRESTA                ACCOUNT NO.: NOT AVAILABLE
       ARROYO GRANDE, CA 93421


3.3146 CROGAN, IYDELL                           VARIOUS                              Litigation              UNDETERMINED
       610 LANDIS CIRCLE
       AUBURN, CA 95603             ACCOUNT NO.: NOT AVAILABLE


3.3147 CROM, BRUCE                              VARIOUS                              Litigation              UNDETERMINED
       15727 WHISPERING WOODS
       TRAIL                        ACCOUNT NO.: NOT AVAILABLE
       REDDING, CA 96001


3.3148 CRONE, CHRISTOPHER                       VARIOUS                              Litigation              UNDETERMINED
       3835 MOUNTCLIFF CT.
       SAN JOSE, CA 95136           ACCOUNT NO.: NOT AVAILABLE


3.3149 CROOK, HENRY                             VARIOUS                              Litigation              UNDETERMINED
       394 ALTA VISTA LANE
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.3150 CROSBY, DALLAS                           VARIOUS                              Litigation              UNDETERMINED
       9148 LINDA RIO DRIVE
       SACRAMENTO, CA 95826         ACCOUNT NO.: NOT AVAILABLE


3.3151 CROSE, LAUREL                            VARIOUS                              Litigation              UNDETERMINED
       4975 MT BULLION RD
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.3152 CROSETTI, KEN                            VARIOUS                              Litigation              UNDETERMINED
       12 HILLTOP ROAD
       SAN MATEO, CA 94402            ACCOUNT NO.: NOT AVAILABLE


3.3153 CROSS, DENNIS                            VARIOUS                              Litigation              UNDETERMINED
       3475 BIG OAK DR.
       FORESTHILL, CA 95631           ACCOUNT NO.: NOT AVAILABLE


3.3154 CROSS, HEATHER                           VARIOUS                              Litigation              UNDETERMINED
       7436 LEAFWOOD DR.
       SALINAS, CA 93907              ACCOUNT NO.: NOT AVAILABLE


3.3155 CROSS, JIM                               VARIOUS                              Litigation              UNDETERMINED
       5892 BEAUDRY ST
       EMERYVILLE, CA 94608           ACCOUNT NO.: NOT AVAILABLE


3.3156 CROUSE, THOMAS                           VARIOUS                              Litigation              UNDETERMINED
       33 HAMPSHIRE WAY
       NOVATO, CA 94945               ACCOUNT NO.: NOT AVAILABLE


3.3157 CROW, GRACE                              VARIOUS                              Litigation              UNDETERMINED
       4421 FREMONTS LOOP
       RESCUE, CA 95672               ACCOUNT NO.: NOT AVAILABLE


3.3158 CROW, KAY ZAR                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1107
       GROVELAND, CA 95321            ACCOUNT NO.: NOT AVAILABLE


3.3159 CROWDER, JON                             VARIOUS                              Litigation              UNDETERMINED
       2930 SHATTUCK AVE, STE, 200-
       14                             ACCOUNT NO.: NOT AVAILABLE
       BERKELEY, CA 94705


3.3160 CROWELL, VIRGINIA                        VARIOUS                              Litigation              UNDETERMINED
       1204 REDWOOD LANE
       DAVID, CA 95616                ACCOUNT NO.: NOT AVAILABLE


3.3161 CROWN DENTAL CARE-                       VARIOUS                              Litigation              UNDETERMINED
       FARAHMAND, BARDIA
       10810 SAN PABLO AVENUE         ACCOUNT NO.: NOT AVAILABLE
       30
       EL CERRITO, CA 94530


3.3162 CRTESE, KATHRYN                          VARIOUS                              Litigation              UNDETERMINED
       871 GINU LN
       BRENTWOOD, CA 94513            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.3163 CRUICKSHANK, WENDY                        VARIOUS                              Litigation              UNDETERMINED
       5285 PILOT VIEW DRIVE
       PILOT HILL, CA 95664          ACCOUNT NO.: NOT AVAILABLE


3.3164 CRUISERS SALOON, HARMON,                  VARIOUS                              Litigation              UNDETERMINED
       GREGORY
       1611 A STREET                 ACCOUNT NO.: NOT AVAILABLE
       ANTIOCH, CA 94509


3.3165 CRUMP, WAYNE                              VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 443
       CLEARLAKE OAKS, CA 95423      ACCOUNT NO.: NOT AVAILABLE


3.3166 CRUMPACKER, BRIAN                         VARIOUS                              Litigation              UNDETERMINED
       16652 MCKENZIE DRIVE
       PIONEER, CA 95666             ACCOUNT NO.: NOT AVAILABLE


3.3167 CRUMPACKER, BRIAN                         VARIOUS                              Litigation              UNDETERMINED
       16652 MCKENZIE DRIVE
       PIONEER, CA 95666             ACCOUNT NO.: NOT AVAILABLE


3.3168 CRUSE, MITCHELL                           VARIOUS                              Litigation              UNDETERMINED
       1712 1ST STREET
       BAKERSFIELD, CA 93304         ACCOUNT NO.: NOT AVAILABLE


3.3169 CRUTCHFIELD, LANA                         VARIOUS                              Litigation              UNDETERMINED
       560 MCKINNON HILL ROAD
       HOOPA, CA 95546               ACCOUNT NO.: NOT AVAILABLE


3.3170 CRUZ RODRIQUEZ, MARIA                     VARIOUS                              Litigation              UNDETERMINED
       1230 E ALISA STREET
       SALINAS, CA 93905             ACCOUNT NO.: NOT AVAILABLE


3.3171 CRUZ, BLANKY                              VARIOUS                              Litigation              UNDETERMINED
       1338 THAIS LANE
       HAYWARD, CA 94544             ACCOUNT NO.: NOT AVAILABLE


3.3172 CRUZ, FLERIDA                             VARIOUS                              Litigation              UNDETERMINED
       207 ALTA LOMA AVE
       DALY CITY, CA 94015           ACCOUNT NO.: NOT AVAILABLE


3.3173 CRUZ, HEATHER                             VARIOUS                              Litigation              UNDETERMINED
       2485 SMITH ROAD
       BRADLEY, CA 93426             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                              Claim

Litigation & Disputes

3.3174 CRUZ, MARCOS                               VARIOUS                              Litigation              UNDETERMINED
       1225 LORENE AVE
       MANTECA, CA 95336              ACCOUNT NO.: NOT AVAILABLE


3.3175 CRUZ, MIGUEL                               VARIOUS                              Litigation              UNDETERMINED
       737 REDWOOD AVE
       REDWOOD CITY, CA 94061         ACCOUNT NO.: NOT AVAILABLE


3.3176 CRUZ, NANCY                                VARIOUS                              Litigation              UNDETERMINED
       2721 E.C REEMS COURT
       2A                             ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94605


3.3177 CRUZ, RICHARD                              VARIOUS                              Litigation              UNDETERMINED
       1154 HALMES AVENUE
       CA 95008                       ACCOUNT NO.: NOT AVAILABLE


3.3178 CRUZ, ROBERT                               VARIOUS                              Litigation              UNDETERMINED
       LA INJURY ATTORNEYS
       1611 N. SAN FERNANDO BLVD.     ACCOUNT NO.: NOT AVAILABLE
       BURBANK, CA 91504


3.3179 CRUZ, ROBERT                               VARIOUS                              Litigation              UNDETERMINED
       4205 MARELLA WAY
       BAKERSFIELD, CA 93309          ACCOUNT NO.: NOT AVAILABLE


3.3180 CRUZ, SYLVIA                               VARIOUS                              Litigation              UNDETERMINED
       2744 S VIA VERSILIA DR
       FRESNO, CA 93727               ACCOUNT NO.: NOT AVAILABLE


3.3181 CRUZ, UBALDO                               VARIOUS                              Litigation              UNDETERMINED
       5634 E WASHINGTON ST
       STOCKTON, CA 95215             ACCOUNT NO.: NOT AVAILABLE


3.3182 CRUZ, YOLANDA                              VARIOUS                              Litigation              UNDETERMINED
       104 PAULINE DR
       WATSONVILLE, CA 95076          ACCOUNT NO.: NOT AVAILABLE


3.3183 CSAA                                       VARIOUS                              Litigation              UNDETERMINED
       PO BOX 24523
       OAKLAND, CA 94623              ACCOUNT NO.: NOT AVAILABLE


3.3184 CSAA                                       VARIOUS                              Litigation              UNDETERMINED
       PO BOX 24523
       OAKLAND, CA 94623-1523         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.3185 CSAA                                      VARIOUS                              Litigation              UNDETERMINED
       PO BOX 24523
       OAKLAND, CA 94623-1523        ACCOUNT NO.: NOT AVAILABLE


3.3186 CSAA                                      VARIOUS                              Litigation              UNDETERMINED
       3055 OAK ROAD MS 270
       WALNUT CREEK, CA 94597        ACCOUNT NO.: NOT AVAILABLE


3.3187 CSAA INSURANCE (OHLSSEN)                  VARIOUS                              Litigation              UNDETERMINED
       JANG & ASSOCIATES, LLP
       1766 LACASSIE AVENUE, SUITE   ACCOUNT NO.: NOT AVAILABLE
       200
       WALNUT CREEK, CA 95696


3.3188 CSAA ON BEHALF OF INSURED-                VARIOUS                              Litigation              UNDETERMINED
       FIERROS, VICTOR
       PO BOX 24523                  ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94623


3.3189 CSAA (SCHAFER), ATTN:                     VARIOUS                              Litigation              UNDETERMINED
       HEATHER BRAMHALL
       PO BOX 24523                  ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94623


3.3190 CSAA CLAIMS ADJUSTER                      VARIOUS                              Litigation              UNDETERMINED
       RACHEL RICARD-MCMICHAEL,
       RICHARD                       ACCOUNT NO.: NOT AVAILABLE
       PO BOX 24523
       OAKLAND, CA 94623


3.3191 CSAA IG-BEERER, KELLI                     VARIOUS                              Litigation              UNDETERMINED
       PO BOX 24523
       OAKLAND, CA 94623             ACCOUNT NO.: NOT AVAILABLE


3.3192 CSAA INSURANCE                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 24523
       OAKLAND, CA 94623             ACCOUNT NO.: NOT AVAILABLE


3.3193 CSAA INSURANCE - NESTLE,                  VARIOUS                              Litigation              UNDETERMINED
       REBECCA
       P.O. BOX 24523                ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94623


3.3194 CSAA INSURANCE (LUCKENBILL)               VARIOUS                              Litigation              UNDETERMINED
       THE GRUNSKY LAW FIRM
       240 WESTGATE DR.              ACCOUNT NO.: NOT AVAILABLE
       WATSONVILLE, CA 95076




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Litigation & Disputes

3.3195 CSAA INSURANCE EXCHANGE                  VARIOUS                              Litigation              UNDETERMINED
       3055 OAK ROAD MAILSTOP W270
       WALNUT CREEK, CA 94597        ACCOUNT NO.: NOT AVAILABLE


3.3196 CSAA INSURANCE EXCHANGE                  VARIOUS                              Litigation              UNDETERMINED
       3055 OAK ROAD MAILSTOP W270
       WALNUT CREEK, CA 94597        ACCOUNT NO.: NOT AVAILABLE


3.3197 CSAA INSURANCE EXCHANGE,                 VARIOUS                              Litigation              UNDETERMINED
       /RON LABARR
       1766 LACASSIE AVENUE, SUITE   ACCOUNT NO.: NOT AVAILABLE
       200
       WALNUT CREEK, CA 94596


3.3198 CSAA INSURANCE EXCHANGE,                 VARIOUS                              Litigation              UNDETERMINED
       ROBERT & ELIZABETH
       VANWAGENEN                    ACCOUNT NO.: NOT AVAILABLE
       240 WESTGATE DRIVE
       145 BROWNS VALLEY ROAD
       WATSONVILLE, CA 95076


3.3199 CSAA INSURANCE EXCHANGE,                 VARIOUS                              Litigation              UNDETERMINED
       SUBROGEE OF ALGONDA NOIA
       3055 OAK ROAD MAILSTOP W290   ACCOUNT NO.: NOT AVAILABLE
       38267 FAREWLL DRIVE
       FREMONT, CA 94536


3.3200 CSAA INSURANCE EXCHANGE-                 VARIOUS                              Litigation              UNDETERMINED
       DOYLE, AIMEE
       PO BOX 24523                  ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94623


3.3201 CSAA INSURANCE GROUP(KIM                 VARIOUS                              Litigation              UNDETERMINED
       HILL), BRITTANY HOGUE
       PO BOX 24523                  ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94623


3.3202 CSAA INSURANCE GROUP-                    VARIOUS                              Litigation              UNDETERMINED
       HOGUE, BRITTANY
       P.O. BOX 24523                ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94623


3.3203 CSAA INSURANCE GROUP-                    VARIOUS                              Litigation              UNDETERMINED
       PALANCADE, PIERRE
       1411 ARLINGTON BLVD           ACCOUNT NO.: NOT AVAILABLE
       EL CERRITO, CA 94530




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.3204 CSAA INSURANCE GROUP-                    VARIOUS                              Litigation              UNDETERMINED
       POWELL, SUSAN
       1960 TREADWAY LN.             ACCOUNT NO.: NOT AVAILABLE
       PLEASANT HILL, CA 94523


3.3205 CSAA INSURANCE GROUP-                    VARIOUS                              Litigation              UNDETERMINED
       WHITCANACK, SHARON
       27800 ELLIOTT RD.             ACCOUNT NO.: NOT AVAILABLE
       GALT, CA 95632


3.3206 CSAA INSURANCE-ALLTON,                   VARIOUS                              Litigation              UNDETERMINED
       JOSH
       PO BOX 24523                  ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94623


3.3207 CSAA INSURANCE-ELLIS, TOSHA              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 24523
       OAKLAND, CA 94623             ACCOUNT NO.: NOT AVAILABLE


3.3208 CSAA, ANDREA SMITH                       VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 24523
       OAKLAND, CA 94623             ACCOUNT NO.: NOT AVAILABLE


3.3209 CSAA, ROSE MENDOZA-                      VARIOUS                              Litigation              UNDETERMINED
       ADJUSTER
       PO BOX 24523                  ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94623


3.3210 CSAA-LUEBBERT, EDWARD                    VARIOUS                              Litigation              UNDETERMINED
       3030 CABRILLO DR
       TRACY, CA 95376               ACCOUNT NO.: NOT AVAILABLE


3.3211 CSAA-VAZQUEZ, BEVERLY                    VARIOUS                              Litigation              UNDETERMINED
       PO BOX 24523
       OAKLAND, CA 94623             ACCOUNT NO.: NOT AVAILABLE


3.3212 CSAA-WRIGHT, GREG                        VARIOUS                              Litigation              UNDETERMINED
       5825 SCOTTVALLEY ROAD
       LAKEPORT, CA 95453            ACCOUNT NO.: NOT AVAILABLE


3.3213 CSE INSURANCE GROUP,                     VARIOUS                              Litigation              UNDETERMINED
       MITCHELL ALLAN
       P.O. BOX 8041                 ACCOUNT NO.: NOT AVAILABLE
       WALNUT CREEK, CA 94596


3.3214 CUBA, FELIPE                             VARIOUS                              Litigation              UNDETERMINED
       601 ELLSWORTH ST
       SAN FRANCISCO, CA 94110       ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.3215 CUELLAR, TERRY                           VARIOUS                              Litigation              UNDETERMINED
       3734 CARRIGAN COMMON
       LIVERMORE, CA 94550          ACCOUNT NO.: NOT AVAILABLE


3.3216 CUESTA LA HONDA GUILD,                   VARIOUS                              Litigation              UNDETERMINED
       CHERYLDROFFNER
       PO BOX 518                   ACCOUNT NO.: NOT AVAILABLE
       LA HONDA, CA 94020


3.3217 CUESTA LA HONDA GUILD,                   VARIOUS                              Litigation              UNDETERMINED
       CHERYLDROFFNER
       PO BOX 518                   ACCOUNT NO.: NOT AVAILABLE
       LA HONDA, CA 94020


3.3218 CUEVAS, CHARLES                          VARIOUS                              Litigation              UNDETERMINED
       308 PLAYA BOULEVARD
       UNIT D                       ACCOUNT NO.: NOT AVAILABLE
       LA SELVA BEACH, CA 95076


3.3219 CUKIC, SANDRA                            VARIOUS                              Litigation              UNDETERMINED
       14510 CEDAR VALLEY DR
       LATHROP, CA 95330            ACCOUNT NO.: NOT AVAILABLE


3.3220 CULLIMORE, JULIE                         VARIOUS                              Litigation              UNDETERMINED
       12 BRIARWOOD COURT
       WALNUT CREEK, CA 94597       ACCOUNT NO.: NOT AVAILABLE


3.3221 CULLINGTON, LYNN                         VARIOUS                              Litigation              UNDETERMINED
       4633 N. WILSON
       FRESNO, CA 93704             ACCOUNT NO.: NOT AVAILABLE


3.3222 CULP, BETTIE                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2233
       2470                         ACCOUNT NO.: NOT AVAILABLE
       MARIPOSA, CA 95338


3.3223 CULVER, TAYLOR                           VARIOUS                              Litigation              UNDETERMINED
       372 EUCLID AVE #201
       OAKLAND, CA 94610            ACCOUNT NO.: NOT AVAILABLE


3.3224 CUMMINGS, ARTHUR                         VARIOUS                              Litigation              UNDETERMINED
       718 GATEVIEW AVE
       ALBANY, CA 94706             ACCOUNT NO.: NOT AVAILABLE


3.3225 CUMMINGS, JERRY F                        VARIOUS                              Litigation              UNDETERMINED
       11143 WALNUT AVENUE
       OAKDALE, CA 95361            ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.3226 CUMMINGS, MARK                           VARIOUS                              Litigation              UNDETERMINED
       920 NORTHRIDGE DRIVE
       YUBA CITY, CA 95991          ACCOUNT NO.: NOT AVAILABLE


3.3227 CUMMINGS, SHANNON                        VARIOUS                              Litigation              UNDETERMINED
       19885 MELLA DRIVE
       VOLCANO, CA 95689            ACCOUNT NO.: NOT AVAILABLE


3.3228 CUMMINGS, WILLIAM                        VARIOUS                              Litigation              UNDETERMINED
       715 LAGUNITA DRIVE
       SOQUEL, CA 95073             ACCOUNT NO.: NOT AVAILABLE


3.3229 CUMMINS, CHET                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 12230
       OAKDALE, CA 95361            ACCOUNT NO.: NOT AVAILABLE


3.3230 CUMMINS, LILY                            VARIOUS                              Litigation              UNDETERMINED
       6215 BUCKTAIL LN
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.3231 CUMPIAN, PAUL                            VARIOUS                              Litigation              UNDETERMINED
       1004 ADDISON ST
       BERKELEY, CA 94710           ACCOUNT NO.: NOT AVAILABLE


3.3232 CUMPSTON, WILLIAM                        VARIOUS                              Litigation              UNDETERMINED
       14195 EASTWOOD CT
       RED BLUFF, CA 96080          ACCOUNT NO.: NOT AVAILABLE


3.3233 CUNANEN, MARK                            VARIOUS                              Litigation              UNDETERMINED
       2281 TALLAHASSEE ST
       HAYWARD, CA 94545            ACCOUNT NO.: NOT AVAILABLE


3.3234 CUNEO, FRANK                             VARIOUS                              Litigation              UNDETERMINED
       1700 MARINA BLVD
       SAN LEANDRO, CA 94577        ACCOUNT NO.: NOT AVAILABLE


3.3235 CUNHA, ELISEU                            VARIOUS                              Litigation              UNDETERMINED
       6596 16TH AVENUE
       HANFORD, CA 93230            ACCOUNT NO.: NOT AVAILABLE


3.3236 CUNNINGHAM, EUGENE                       VARIOUS                              Litigation              UNDETERMINED
       27815 MESA DEL TORO ROAD
       SALINAS, CA 93908            ACCOUNT NO.: NOT AVAILABLE


3.3237 CUNNINGHAM, LUCY                         VARIOUS                              Litigation              UNDETERMINED
       1207 SANTA CLARA AVE
       ALAMEDA, CA 94501            ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.3238 CURBELO, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       3250 OLD LAWLEY TOLL ROAD
       CALISTOGA, CA 94515          ACCOUNT NO.: NOT AVAILABLE


3.3239 CURIEL, JERRY                            VARIOUS                              Litigation              UNDETERMINED
       3751 CANO CT
       NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.3240 CURL, THOMAS                             VARIOUS                              Litigation              UNDETERMINED
       775 DEBRA ST
       LIVERMORE, CA 94550          ACCOUNT NO.: NOT AVAILABLE


3.3241 CURRIE, BRANDON                          VARIOUS                              Litigation              UNDETERMINED
       43 N KEEBLE AVE
       APT 2                        ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95126


3.3242 CURRIE, JUDITH                           VARIOUS                              Litigation              UNDETERMINED
       1308 ENSIGN AVENUE
       VALLEJO, CA 94590            ACCOUNT NO.: NOT AVAILABLE


3.3243 CURRIER, MARK                            VARIOUS                              Litigation              UNDETERMINED
       POB 1036
       LOWER LAKE, CA 95457         ACCOUNT NO.: NOT AVAILABLE


3.3244 CURRIN, LISA                             VARIOUS                              Litigation              UNDETERMINED
       2764 HARTLEY GATE COURT
       PLEASANTON, CA 94566         ACCOUNT NO.: NOT AVAILABLE


3.3245 CURRY, CYNTHIA                           VARIOUS                              Litigation              UNDETERMINED
       560 AGUAJITO ROAD
       CARMEL, CA 93923             ACCOUNT NO.: NOT AVAILABLE


3.3246 CURRY, DANA                              VARIOUS                              Litigation              UNDETERMINED
       1604 SCOTT STREET
       SAN JOSE, CA 95126           ACCOUNT NO.: NOT AVAILABLE


3.3247 CURRY, STEVE &BRENDA                     VARIOUS                              Litigation              UNDETERMINED
       3025 ALEXANDRITE DRUVE
       RESCUE, CA 95672             ACCOUNT NO.: NOT AVAILABLE


3.3248 CURTIN, CYNTHIA                          VARIOUS                              Litigation              UNDETERMINED
       23635 FORTRESS WAY
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3249 CURTIS AUTOMOTIVE REPAIR-                 VARIOUS                              Litigation              UNDETERMINED
       CURTIS, JEFF
       1421 OLD COUNTY ROAD           ACCOUNT NO.: NOT AVAILABLE
       BELMONT, CA 94002


3.3250 CURTIS, CANDICE                           VARIOUS                              Litigation              UNDETERMINED
       10 WILLOW ST
       STE 10                         ACCOUNT NO.: NOT AVAILABLE
       MILL VALLEY, CA 94941


3.3251 CURTIS, CHEREE                            VARIOUS                              Litigation              UNDETERMINED
       760 GIVENS RD
       APT 6                          ACCOUNT NO.: NOT AVAILABLE
       RED BLUFF, CA 96080


3.3252 CURTIS, CHEREE                            VARIOUS                              Litigation              UNDETERMINED
       760 GIVENS RD
       APT 6                          ACCOUNT NO.: NOT AVAILABLE
       RED BLUFF, CA 96080


3.3253 CURTIS, JAMES                             VARIOUS                              Litigation              UNDETERMINED
       700 RIDGEMARK DR.
       HOLLISTER, CA 95023            ACCOUNT NO.: NOT AVAILABLE


3.3254 CURTIS, MARY ELLEN                        VARIOUS                              Litigation              UNDETERMINED
       601 COSTA RICA AVENUE
       SAN MATEO, CA 94402            ACCOUNT NO.: NOT AVAILABLE


3.3255 CURTIS, RAPHAEL                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 163
       IGO, CA 96047                  ACCOUNT NO.: NOT AVAILABLE


3.3256 CURTIS, RAYMOND                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 585
       POLLOCK PINES, CA 95726        ACCOUNT NO.: NOT AVAILABLE


3.3257 CURTISS, VICKI                            VARIOUS                              Litigation              UNDETERMINED
       27065 SKYVIEW CT
       PIONEER, CA 95666              ACCOUNT NO.: NOT AVAILABLE


3.3258 CURTOLA, TREY OR KERI                     VARIOUS                              Litigation              UNDETERMINED
       4361 MCGREGOR CT
       FAIRFIELD, CA 94534            ACCOUNT NO.: NOT AVAILABLE


3.3259 CUSICK, JOHN                              VARIOUS                              Litigation              UNDETERMINED
       21850 BELLVIEW ROAD, SPC #49
       SONORA, CA 95370               ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.3260 CUSIMANO, TINA                           VARIOUS                              Litigation              UNDETERMINED
       1545 FAIR OAKS DRIVE #4
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.3261 CUSTIS, WILLIAM                          VARIOUS                              Litigation              UNDETERMINED
       14865 MOLLUC DR.
       RED BLUFF, CA 96080          ACCOUNT NO.: NOT AVAILABLE


3.3262 CUTLER, WILLIAM                          VARIOUS                              Litigation              UNDETERMINED
       5030 SAILOR CK. ROAD/258
       GARDEN VALLEY, CA 95633      ACCOUNT NO.: NOT AVAILABLE


3.3263 CUTTING EDGE SOLUTIONS                   VARIOUS                              Litigation              UNDETERMINED
       LLC, JOHN PICCIRILLI
       PO BOX 1727                  ACCOUNT NO.: NOT AVAILABLE
       HAMPTON WAY STE A-C
       SANTA ROSA, CA 95402


3.3264 CV INDUSTRIAL CORP., CHRIS               VARIOUS                              Litigation              UNDETERMINED
       VIEIRA
       6181 ANGELO COURT UNIT 1     ACCOUNT NO.: NOT AVAILABLE
       LOOMIS, CA 95650


3.3265 CVSAN-QUIROZ, EFREN                      VARIOUS                              Litigation              UNDETERMINED
       21040 MARSHALL STREET
       CASTRO VALLEY, CA 94546      ACCOUNT NO.: NOT AVAILABLE


3.3266 CWIAK, ROGER                             VARIOUS                              Litigation              UNDETERMINED
       9856 SPYGLASS CIRCLE
       AUBURN, CA 95602             ACCOUNT NO.: NOT AVAILABLE


3.3267 CYNTHIA HAYNES PROPERITIES-         VARIOUS                                   Litigation              UNDETERMINED
       HAYNES, CYNTHIA
       PO BOX 195                  ACCOUNT NO.: NOT AVAILABLE
       13463 E. HIGHWAY 88
       LOCKEFORD, CA 95237


3.3268 CYR, BRUCE                               VARIOUS                              Litigation              UNDETERMINED
       669 CAYUGA AVE.
       SAN FRANCISCO, CA 94112      ACCOUNT NO.: NOT AVAILABLE


3.3269 CYWINSKI, JOE                            VARIOUS                              Litigation              UNDETERMINED
       260 MARIPOSA DR
       PITTSBURG, CA 94565          ACCOUNT NO.: NOT AVAILABLE


3.3270 D&M CONSTRUCTION, CHRIS                  VARIOUS                              Litigation              UNDETERMINED
       MUELRATH
       85 ELY ROAD                  ACCOUNT NO.: NOT AVAILABLE
       PETALUMA, CA 94954

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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.3271 D. DONALD GEIGER, ESQ.                   VARIOUS                              Litigation              UNDETERMINED
       KROLOFF, BELCHER, SMART,
       PERRY & CHRISTOPHERSON        ACCOUNT NO.: NOT AVAILABLE
       7540 SHORELINE DRIVE
       STOCKTON, CA 95219


3.3272 D.A. WOOD CONSTRUCTION,                  VARIOUS                              Litigation              UNDETERMINED
       INC.-MALCOM, JOSHUA
       PO BOX 1810                   ACCOUNT NO.: NOT AVAILABLE
       EMPIRE, CA 95319


3.3273 D.B. BAKER CONSTRUCTION-                 VARIOUS                              Litigation              UNDETERMINED
       BAKER, DALE
       3200 DUTTON AVE, # 116        ACCOUNT NO.: NOT AVAILABLE
       SANTA ROSA, CA 95407


3.3274 D.M. ALEGRE CONSTRUCTION                 VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 387
       TRACY, CA 95378               ACCOUNT NO.: NOT AVAILABLE


3.3275 DA KINE ISLAND GRILL                     VARIOUS                              Litigation              UNDETERMINED
       CORPORATION; PICASSO
       TAPAS, LLC; CHINA WOK         ACCOUNT NO.: NOT AVAILABLE
       RESTAURANT, DIEN LAM;
       JENNY DANG, DON POEDROS
       RESTAURANT, VICTOR
       ANGULO, SARA ANGULO
       CAMPBELL, WARBURTON,
       FITZSIMMONS, SMITH, MENDELL
       & PASTORE
       64 W SANTA CLARA ST
       SAN JOSE, CA 95113


3.3276 DA PAZ, EVILASIO                         VARIOUS                              Litigation              UNDETERMINED
       1887 HARTNELL COURT
       LOS BANOS, CA 93635           ACCOUNT NO.: NOT AVAILABLE


3.3277 DA SILVA, MANUEL                         VARIOUS                              Litigation              UNDETERMINED
       15656 STEINEGAL ROAD
       ESCALON, CA 95320             ACCOUNT NO.: NOT AVAILABLE


3.3278 DA THAO DELI, NGUYEN, TERRY              VARIOUS                              Litigation              UNDETERMINED
       888 STORY ROAD
       SAN JOSE, CA 95122            ACCOUNT NO.: NOT AVAILABLE


3.3279 DABIT, ALEX                              VARIOUS                              Litigation              UNDETERMINED
       201 MONTEREY ST.
       SALINAS, CA 93901             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.3280 DACANAY, FRANK                           VARIOUS                              Litigation              UNDETERMINED
       24221 S CHRISMAN RD
       44                           ACCOUNT NO.: NOT AVAILABLE
       TRACY, CA 95304


3.3281 DACHTLER, NICHOLAS                       VARIOUS                              Litigation              UNDETERMINED
       1816 PARK AVE
       APT 3                        ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95126


3.3282 DACOSTA, CAROLINA                        VARIOUS                              Litigation              UNDETERMINED
       1020 WARREN DR
       SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE


3.3283 DACOSTA, MAXINE                          VARIOUS                              Litigation              UNDETERMINED
       201 LOZANO ROAD
       NEWCASTLE, CA 95658          ACCOUNT NO.: NOT AVAILABLE


3.3284 DAGNEAU, GARRETT                         VARIOUS                              Litigation              UNDETERMINED
       2214 CYPRESS PT
       BYRON, CA 94505              ACCOUNT NO.: NOT AVAILABLE


3.3285 DAHL AIR CONDITIONING INC,               VARIOUS                              Litigation              UNDETERMINED
       JEFF TOURTILLOTTE
       85 INDUSTRIAL WAY STE H      ACCOUNT NO.: NOT AVAILABLE
       BUELLTON, CA 93427


3.3286 DAHL, PAMELA                             VARIOUS                              Litigation              UNDETERMINED
       11030 JOSHUA LANE
       REDDING, CA 96003            ACCOUNT NO.: NOT AVAILABLE


3.3287 DAHLBERG, LINDA                          VARIOUS                              Litigation              UNDETERMINED
       153 S. 14TH STREET
       SAN JOSE, CA 95112           ACCOUNT NO.: NOT AVAILABLE


3.3288 DAHLGREN, ANDREW                         VARIOUS                              Litigation              UNDETERMINED
       11014 STOUT LANE
       COULTERVILLE, CA 95311       ACCOUNT NO.: NOT AVAILABLE


3.3289 DAHLGREN, JOHN                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1212// SITE 24227 N
       WHITE FIR                    ACCOUNT NO.: NOT AVAILABLE
       MI MUK VILLAGE, CA 95346


3.3290 DAHLGREN, MERILL                         VARIOUS                              Litigation              UNDETERMINED
       8758 CHALK HILL RD.
       HEALDSBURG, CA 95448         ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.3291 DAHLQUIST, ROSE                          VARIOUS                              Litigation              UNDETERMINED
       16030 HIDDEN VALLEY LANE
       SONORA, CA 95370               ACCOUNT NO.: NOT AVAILABLE


3.3292 DAHME, JIM                               VARIOUS                              Litigation              UNDETERMINED
       15 MAPLE RD
       WOODACRE, CA 94973             ACCOUNT NO.: NOT AVAILABLE


3.3293 DAIGRE, GREGORY & DENISE E.              VARIOUS                              Litigation              UNDETERMINED
       1442 HUCKLEBERRY LN.
       VALLEY SPRINGS, CA 95252       ACCOUNT NO.: NOT AVAILABLE


3.3294 DAILEY/BEAULIEU, KRIS/JIM                VARIOUS                              Litigation              UNDETERMINED
       35485 COUNTY ROAD 31
       DAVIS, CA                      ACCOUNT NO.: NOT AVAILABLE


3.3295 DAILY MAC INC, MCDONALDS                 VARIOUS                              Litigation              UNDETERMINED
       RESTURANT
       400 IRON HILL STREET           ACCOUNT NO.: NOT AVAILABLE
       505 SERRARNOTE BLVD
       DALY CITY, CA 94014


3.3296 DAIRYLAND AUTO, VIKING                   VARIOUS                              Litigation              UNDETERMINED
       INSURANCE COMPANY OF
       WISCONSIN                      ACCOUNT NO.: NOT AVAILABLE
       PO BOX 8039
       STEVENS POINT, CA 54481-9994


3.3297 DAIRYLAND AUTO, VIKING                   VARIOUS                              Litigation              UNDETERMINED
       INSURANCE COMPANY OF
       WISCONSIN                      ACCOUNT NO.: NOT AVAILABLE
       PO BOX 8039
       STEVENS POINT, CA 54481-9994


3.3298 DAJANI, MUSA                             VARIOUS                              Litigation              UNDETERMINED
       P.O.BOX 210343
       SAN FRANCISCO, CA 94121        ACCOUNT NO.: NOT AVAILABLE


3.3299 DAL PORTO, DONNA                         VARIOUS                              Litigation              UNDETERMINED
       5200 NEWFOUND LANE
       ANGELS CAMP, CA 95222          ACCOUNT NO.: NOT AVAILABLE


3.3300 DALAL, MIHIR                             VARIOUS                              Litigation              UNDETERMINED
       2939 WEST CASTLE PINES
       TERRACE                        ACCOUNT NO.: NOT AVAILABLE
       DUBLIN, CA 94568




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.3301 DALE, DENVER                             VARIOUS                              Litigation              UNDETERMINED
       24005 FAIRFIELD PL
       CARMEL, CA 93923             ACCOUNT NO.: NOT AVAILABLE


3.3302 DALE, JERI                               VARIOUS                              Litigation              UNDETERMINED
       1085 ALLESANDRO ST.
       MORRO BAY, CA 93442          ACCOUNT NO.: NOT AVAILABLE


3.3303 DALE, KATHERINE                          VARIOUS                              Litigation              UNDETERMINED
       6870 RIVERLAND DR
       12                           ACCOUNT NO.: NOT AVAILABLE
       REDDING, CA 96002


3.3304 DALE, POWERS                             VARIOUS                              Litigation              UNDETERMINED
       170 MYRTLE ST
       CHESTER, CA 96020            ACCOUNT NO.: NOT AVAILABLE


3.3305 DALEY, CAILIN V. PG&E                    VARIOUS                              Litigation              UNDETERMINED
       3927 BEECHWOOD DRIVE
       CONCORD, CA 94519            ACCOUNT NO.: NOT AVAILABLE


3.3306 DALEY, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       881 ELKHORN
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.3307 DALEY, WILLIAM                           VARIOUS                              Litigation              UNDETERMINED
       13 VARNI RD.
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.3308 DALLARA, CHELLEY                         VARIOUS                              Litigation              UNDETERMINED
       19595 DRAPER ROAD
       COTTONWOOD, CA 96022         ACCOUNT NO.: NOT AVAILABLE


3.3309 DALTON, DANIEL                           VARIOUS                              Litigation              UNDETERMINED
       452 1ST ST
       UPPER LAKE, CA 95485         ACCOUNT NO.: NOT AVAILABLE


3.3310 DALTON, KATHY                            VARIOUS                              Litigation              UNDETERMINED
       2958 ROUNDHILL RD
       ALAMO, CA 94507              ACCOUNT NO.: NOT AVAILABLE


3.3311 DAMAGE RECOVERY UNIT,                    VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       PO BOX 843369                ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184




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Creditor's Name, Mailing Address      Date Claim Was Incurred And         C U    D    Basis For    Offset    Amount of Claim
Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.3312 DAMAGE RECOVERY UNIT,                     VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       PO BOX 843369                 ACCOUNT NO.: NOT AVAILABLE
       CLAIM # 13422844
       KANSAS CITY, CA 64184


3.3313 DAMAGE RECOVERY UNIT,                     VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       PO BOX 843369                 ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.3314 DAMAGE RECOVERY UNIT,                     VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       PO BOX 843369                 ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.3315 DAMAGE RECOVERY UNIT,                     VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       PO BOX 843369                 ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.3316 DAMAGE RECOVERY UNIT,                     VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       PO BOX 843369                 ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.3317 DAMAGE RECOVERY UNIT,                     VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       PO BOX 843369                 ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.3318 DAMAGE RECOVERY UNIT-                     VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       P.O. BOX 801770               ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64180


3.3319 DAMAGE RECOVERY UNIT-                     VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       P.O. BOX 801770               ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64180


3.3320 DAMAGE RECOVERY,                          VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       PO BOX 843369                 ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.3321 DAMAGE RECOVERY,                          VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       PO BOX 843369                 ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184

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Litigation & Disputes

3.3322 DAMAGING DRIVER: JEAN                    VARIOUS                              Litigation              UNDETERMINED
       SPRAUGE, JACOB WRIGHT
       PO BOX 24523                    ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94623


3.3323 DAMATO, ADRIANE                          VARIOUS                              Litigation              UNDETERMINED
       2800 MAYWOOD DRIVE
       16190 PAR ROAD                  ACCOUNT NO.: NOT AVAILABLE
       COBB, CA 94066


3.3324 D'AMATO, JENNIFER                        VARIOUS                              Litigation              UNDETERMINED
       45 E RIANDA RD
       WATSONVILLE, CA 95076           ACCOUNT NO.: NOT AVAILABLE


3.3325 DAMATO, VINCENT                          VARIOUS                              Litigation              UNDETERMINED
       241 ALCOTT RD
       SAN BRUNO, CA 94066             ACCOUNT NO.: NOT AVAILABLE


3.3326 DAMELIO, JOHN & RAELYN                   VARIOUS                              Litigation              UNDETERMINED
       222 JETER STREET
       SANTA CRUZ, CA 95060            ACCOUNT NO.: NOT AVAILABLE


3.3327 DAMI, RENEE                              VARIOUS                              Litigation              UNDETERMINED
       9209 OSPITAL ROAD
       VALLEY SPRINGS, CA 95252        ACCOUNT NO.: NOT AVAILABLE


3.3328 DAMICO, LAURA                            VARIOUS                              Litigation              UNDETERMINED
       1700 EL CAMINO REAL SPC 19 10
       SPC 1910                        ACCOUNT NO.: NOT AVAILABLE
       SSF, CA 94080


3.3329 DAN VIELE ASSOCIATES-VIELE,              VARIOUS                              Litigation              UNDETERMINED
       DANIEL
       145 MOUNTAIN MEADOW LANE        ACCOUNT NO.: NOT AVAILABLE
       SANTA ROSA, CA 95404


3.3330 DANA, DANIEL                             VARIOUS                              Litigation              UNDETERMINED
       1768 EAST PALO ALTO AVE
       FRESNO, CA 93710                ACCOUNT NO.: NOT AVAILABLE


3.3331 DANCER, STUART                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 117
       24029 RED CORRAL ROAD           ACCOUNT NO.: NOT AVAILABLE
       PIONEER, CA 95666


3.3332 DANDO, JESSICA                           VARIOUS                              Litigation              UNDETERMINED
       1117 PEMBRIDGE DRIVE
       SAN JOSE, CA 95118              ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.3333 D'ANDRADE, CHRISTIAN                     VARIOUS                              Litigation              UNDETERMINED
       2148 ONEIDA CIRCLE
       DANVILLE, CA 94526            ACCOUNT NO.: NOT AVAILABLE


3.3334 DANEN, ANN                               VARIOUS                              Litigation              UNDETERMINED
       787 SYLVANER DR
       PLEASANTON, CA 94566          ACCOUNT NO.: NOT AVAILABLE


3.3335 DANEY, PHYLLIS                           VARIOUS                              Litigation              UNDETERMINED
       55 HOLLINS DR
       SANTA CRUZ, CA 95060          ACCOUNT NO.: NOT AVAILABLE


3.3336 DANIEL S. TRUAX                          VARIOUS                              Litigation              UNDETERMINED
       NEUMILLER & BEARDSLEE P. O.
       BOX 20                        ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA 95201-3020


3.3337 DANIEL TIRASCHI-TIRASCHI,                VARIOUS                              Litigation              UNDETERMINED
       DANIEL
       77 UNDERHILL ROAD             ACCOUNT NO.: NOT AVAILABLE
       ORINDA, CA 94563


3.3338 DANIEL, LLOYD                            VARIOUS                              Litigation              UNDETERMINED
       820 PARK ROW 532
       SALINAS, CA 93901             ACCOUNT NO.: NOT AVAILABLE


3.3339 DANIEL, LULA M                           VARIOUS                              Litigation              UNDETERMINED
       9155 CREST AVE.
       OAKLAND, CA 94605             ACCOUNT NO.: NOT AVAILABLE


3.3340 DANIELS CHIROPRACTIC, INC.-              VARIOUS                              Litigation              UNDETERMINED
       DANIELS, PAMELA
       1165 PARK AVENUE              ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95126


3.3341 DANIELS, BARBARA                         VARIOUS                              Litigation              UNDETERMINED
       13621 ACADEMY OAKS LN
       FRESNO, CA 93619              ACCOUNT NO.: NOT AVAILABLE


3.3342 DANIELS, MOLLY                           VARIOUS                              Litigation              UNDETERMINED
       210 GROCE ACRE AVE
       PACIFIC GROVE, CA 93950       ACCOUNT NO.: NOT AVAILABLE


3.3343 DANIELSON, TIMOTHY                       VARIOUS                              Litigation              UNDETERMINED
       PO BOX 53
       SUTTER CREEK, CA 95685        ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3344 DANILOV, SERGEI                          VARIOUS                              Litigation              UNDETERMINED
       1265 AYALA DR
       APT 3                        ACCOUNT NO.: NOT AVAILABLE
       SUNNYVALE, CA 94086


3.3345 DANKS, IRENE                             VARIOUS                              Litigation              UNDETERMINED
       5561 N GRANTLAND AVE
       FRESNO, CA 93723             ACCOUNT NO.: NOT AVAILABLE


3.3346 DANTES, BRIAN AND LAURA                  VARIOUS                              Litigation              UNDETERMINED
       PO BOX 146
       EL GRANADA, CA 94018         ACCOUNT NO.: NOT AVAILABLE


3.3347 DANZER, DOUGLAS                          VARIOUS                              Litigation              UNDETERMINED
       161 HIDDEN VALLEY RD
       ROYAL OAKS, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.3348 DAO, JOANNE                              VARIOUS                              Litigation              UNDETERMINED
       726 BARNESON AVE
       SAN MATEO, CA 94402          ACCOUNT NO.: NOT AVAILABLE


3.3349 DARCEY, JAMES                            VARIOUS                              Litigation              UNDETERMINED
       47522 DIABLO LANE
       SQUAW VALLEY, CA 93675       ACCOUNT NO.: NOT AVAILABLE


3.3350 DARIGO, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       248 SANTA MARGARITA DR
       SAN RAFAEL, CA 94901         ACCOUNT NO.: NOT AVAILABLE


3.3351 DARLING, CREIGHTON                       VARIOUS                              Litigation              UNDETERMINED
       7069 RIATA DR
       REDDING, CA 96002            ACCOUNT NO.: NOT AVAILABLE


3.3352 DARROUGH, RICKY                          VARIOUS                              Litigation              UNDETERMINED
       2530 W FOUNTAIN WAY
       107                          ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93705


3.3353 DARROW, BRIAN                            VARIOUS                              Litigation              UNDETERMINED
       3300 MADERA AVE
       OAKLAND, CA 94619            ACCOUNT NO.: NOT AVAILABLE


3.3354 DARTYAN, GAGIK                           VARIOUS                              Litigation              UNDETERMINED
       33274 E EL MONTE WAY
       FRESNO, CA 93702             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.3355 DASCO, JAMILA                            VARIOUS                              Litigation              UNDETERMINED
       255 FREMONT STREET
       SAN FRANCISCO, CA 94105       ACCOUNT NO.: NOT AVAILABLE


3.3356 DASSEL'S PETROLEUM-POPE,                 VARIOUS                              Litigation              UNDETERMINED
       LLOYD
       1735 W D ST                   ACCOUNT NO.: NOT AVAILABLE
       LEMOORE, CA 93254


3.3357 DATTA, GAJANANA                          VARIOUS                              Litigation              UNDETERMINED
       LOS ALTOS, CA 94024
                                     ACCOUNT NO.: NOT AVAILABLE


3.3358 DATTA, SAURABH                           VARIOUS                              Litigation              UNDETERMINED
       518 MONTORI CT
       PLEASANTON, CA 94566          ACCOUNT NO.: NOT AVAILABLE


3.3359 DAUDISTEL, KATHLEEN                      VARIOUS                              Litigation              UNDETERMINED
       1165 CARDIFF COURT
       SAN JOSE, CA 95117            ACCOUNT NO.: NOT AVAILABLE


3.3360 DAUGHERTY, JOANN                         VARIOUS                              Litigation              UNDETERMINED
       16600 SODA SPRINGS ROAD
       LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.3361 DAUGHRITY, JODIE                         VARIOUS                              Litigation              UNDETERMINED
       2228 MALONEY DR
       LINCOLN, CA 95648             ACCOUNT NO.: NOT AVAILABLE


3.3362 DAVENPORT, CALVIN                        VARIOUS                              Litigation              UNDETERMINED
       294 FERN DRIVE
       BOULDER CREEK, CA 95006       ACCOUNT NO.: NOT AVAILABLE


3.3363 DAVENPORT, CHRISTA-DAVID                 VARIOUS                              Litigation              UNDETERMINED
       5684 N 8TH
       FRESNO, CA 93710              ACCOUNT NO.: NOT AVAILABLE


3.3364 DAVID ALLAN KINKADE,                     VARIOUS                              Litigation              UNDETERMINED
       INDIVIDUALLY AND AS SPECIAL
       ADMINISTRATOR OF THE          ACCOUNT NO.: NOT AVAILABLE
       ESTATE OF DWAINE ALONZO
       KINKADE, DECEASED
       SHRADER & ASSOCIATES
       3900 ESSEX LANE, 390
       HOUSTON, TX 77027


3.3365 DAVID ALVES-ALVES, DAVID                 VARIOUS                              Litigation              UNDETERMINED
       1873 MOLL RD
       PARADISE, CA 95969            ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.3366 DAVID BELKNAP WELL                       VARIOUS                              Litigation              UNDETERMINED
       DRILLING-BELKNAP, DAVID
       9274 S BUTTONWILLOW AVE       ACCOUNT NO.: NOT AVAILABLE
       REEDLEY, CA 93654


3.3367 DAVID CALVERA                            VARIOUS                              Litigation              UNDETERMINED
       BOBBY THOMPSON
       728 AIRPORT BLVD              ACCOUNT NO.: NOT AVAILABLE
       SUITE 188
       BURLINGAME, CA 94010


3.3368 DAVID CALVERA                            VARIOUS                              Litigation              UNDETERMINED
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ           ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.3369 DAVID D BOHANNON                         VARIOUS                              Litigation              UNDETERMINED
       ORGANIZATION-KNEIFL, PAT
       3146 GRIZZLY ISLAND RD.       ACCOUNT NO.: NOT AVAILABLE
       SUISUN CITY, CA 94585


3.3370 DAVID HUNT-KHAN, SATIK                   VARIOUS                              Litigation              UNDETERMINED
       PO BOX 4026
       CHATSWORTH, CA 91313          ACCOUNT NO.: NOT AVAILABLE


3.3371 DAVID K. UTHMAN, WENDACE C.              VARIOUS                              Litigation              UNDETERMINED
       WITT
       LAW OFFICES OF ALEXANDER J.   ACCOUNT NO.: NOT AVAILABLE
       PEREZ
       58 WEST PORTAL AVENUE
       SAN FRANCISCO, CA 94127


3.3372 DAVID LEVOY INSURANCE                    VARIOUS                              Litigation              UNDETERMINED
       AGENCY INC.-LEVOY, DAVID
       PO BOX 30                     ACCOUNT NO.: NOT AVAILABLE
       LOOMIS, CA 95650


3.3373 DAVID SAHAGUN ENTERPRISES                VARIOUS                              Litigation              UNDETERMINED
       INC DBA CASTRO STREET
       CHEVRON                       ACCOUNT NO.: NOT AVAILABLE
       2500 CALIFORNIA STREET
       SAN FRANCISCO, CA 94115


3.3374 DAVID, ALLISON                           VARIOUS                              Litigation              UNDETERMINED
       2534 PIEDMONT AVE
       APT 1                         ACCOUNT NO.: NOT AVAILABLE
       BERKELEY, CA 94704




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.3375 DAVID, KAREN                             VARIOUS                              Litigation              UNDETERMINED
       21680 ARDEN WAY
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.3376 DAVID, LEMUEL                            VARIOUS                              Litigation              UNDETERMINED
       15750 NATOMA PASS
       #3                           ACCOUNT NO.: NOT AVAILABLE
       PASO ROBLES, CA 93446


3.3377 DAVIDEK, SVETLANA                        VARIOUS                              Litigation              UNDETERMINED
       24525 OUTLOOK DR.
       15                           ACCOUNT NO.: NOT AVAILABLE
       CARMEL, CA 93923


3.3378 DAVIDOW, SHELDON                         VARIOUS                              Litigation              UNDETERMINED
       46 KREUSE CANYON ROAD
       NAPA, CA 94559               ACCOUNT NO.: NOT AVAILABLE


3.3379 DAVIDSON, CATHY                          VARIOUS                              Litigation              UNDETERMINED
       1231 LA SALLE AVE
       SEASIDE, CA 93955            ACCOUNT NO.: NOT AVAILABLE


3.3380 DAVIDSON, DIANE                          VARIOUS                              Litigation              UNDETERMINED
       1604 WEST AVENUE
       EUREKA, CA 95501             ACCOUNT NO.: NOT AVAILABLE


3.3381 DAVIDSON, JULIA                          VARIOUS                              Litigation              UNDETERMINED
       1832 FLORIBUNDA AVENUE
       HILLSBOROUGH, CA 94210       ACCOUNT NO.: NOT AVAILABLE


3.3382 DAVIDSON, MARGARET                       VARIOUS                              Litigation              UNDETERMINED
       7412 LANGELY CANYON RD.
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.3383 DAVIES, ANNE                             VARIOUS                              Litigation              UNDETERMINED
       747 12TH STREET
       COLUSA, CA 95932             ACCOUNT NO.: NOT AVAILABLE


3.3384 DAVIES, BEVERLY                          VARIOUS                              Litigation              UNDETERMINED
       519 LA TIERRA DRIVE
       ANGWIN, CA 94508             ACCOUNT NO.: NOT AVAILABLE


3.3385 DAVILA, FRANSISCO                        VARIOUS                              Litigation              UNDETERMINED
       819 19TH PLACE
       DELANO, CA 93215             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.3386 DAVILA, JESS                             VARIOUS                              Litigation              UNDETERMINED
       2963 RENWICK WAY
       SANTA CRUZ, CA 95062         ACCOUNT NO.: NOT AVAILABLE


3.3387 DAVILA, NAOMI AND JOSE MARIA         VARIOUS                                  Litigation              UNDETERMINED
       140 WINDING WAY ST
       ANGWIN, CA 94508             ACCOUNT NO.: NOT AVAILABLE


3.3388 DAVINCI CHARTER SCHOOL-                  VARIOUS                              Litigation              UNDETERMINED
       WIEGEL, COREY
       1400 E 8TH ST                ACCOUNT NO.: NOT AVAILABLE
       DAVIS, CA 95616


3.3389 DAVINER, DORIS                           VARIOUS                              Litigation              UNDETERMINED
       1364 BENEDICT DR
       SAN LEANDRO, CA 94577        ACCOUNT NO.: NOT AVAILABLE


3.3390 DAVIS TRUST                              VARIOUS                              Litigation              UNDETERMINED
       448 IGNACTIO BLVD #201
       NOVATO, CA 94949             ACCOUNT NO.: NOT AVAILABLE


3.3391 DAVIS, ALYSSA                            VARIOUS                              Litigation              UNDETERMINED
       2201 SAN JOSE DR APT S206
       ANTIOCH, CA 94509            ACCOUNT NO.: NOT AVAILABLE


3.3392 DAVIS, AMELIA                            VARIOUS                              Litigation              UNDETERMINED
       248 PEGASUS AVE
       LOMPOC, CA 93436             ACCOUNT NO.: NOT AVAILABLE


3.3393 DAVIS, APRIL                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1473
       HOOPA, CA 95546              ACCOUNT NO.: NOT AVAILABLE


3.3394 DAVIS, BILLY                             VARIOUS                              Litigation              UNDETERMINED
       10393 JALAPA WAY
       LA GRANGE, CA 95329          ACCOUNT NO.: NOT AVAILABLE


3.3395 DAVIS, CARLA & CRAIG                     VARIOUS                              Litigation              UNDETERMINED
       278 HERLONG AVE
       SAN JOSE, CA 95123           ACCOUNT NO.: NOT AVAILABLE


3.3396 DAVIS, DANIELLE                          VARIOUS                              Litigation              UNDETERMINED
       356 15TH STREET
       LAKEPORT, CA 95453           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.3397 DAVIS, DAVE                              VARIOUS                              Litigation              UNDETERMINED
       343 YALE AVENUE
       KENGINGTON, CA 94708         ACCOUNT NO.: NOT AVAILABLE


3.3398 DAVIS, ELIZABETH                         VARIOUS                              Litigation              UNDETERMINED
       430 B SHOEMAKER RAOD
       CA 95546                     ACCOUNT NO.: NOT AVAILABLE


3.3399 DAVIS, JAKE                              VARIOUS                              Litigation              UNDETERMINED
       BRAYTON PURCELL, LLP
       224 RUSH LANDING ROAD, P.O   ACCOUNT NO.: NOT AVAILABLE
       BOX 6169
       NOVATO, CA 94949-6169


3.3400 DAVIS, JEAN                              VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 683
       561 CENTERVILLE RD.          ACCOUNT NO.: NOT AVAILABLE
       FERNDALE, CA 95536


3.3401 DAVIS, JOHNATHAN                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 91
       17155 GARDENVALLEY RD        ACCOUNT NO.: NOT AVAILABLE
       CAMPTONVILLE, CA 95922


3.3402 DAVIS, KAY                               VARIOUS                              Litigation              UNDETERMINED
       4340 MARSHALL AVE
       CARMICHAEL, CA 95608         ACCOUNT NO.: NOT AVAILABLE


3.3403 DAVIS, KENNETH                           VARIOUS                              Litigation              UNDETERMINED
       43981 LITTLE LAKE ROAD
       MENDOCINO, CA 95460          ACCOUNT NO.: NOT AVAILABLE


3.3404 DAVIS, LEILANI                           VARIOUS                              Litigation              UNDETERMINED
       17395 LAUREL ROAD
       LOS GATOS, CA 95833          ACCOUNT NO.: NOT AVAILABLE


3.3405 DAVIS, LESLIE                            VARIOUS                              Litigation              UNDETERMINED
       10787 HUBBARD WAY
       SAN JOSE, CA 95127           ACCOUNT NO.: NOT AVAILABLE


3.3406 DAVIS, LESLIE                            VARIOUS                              Litigation              UNDETERMINED
       110 EDAN AVE
       STOCKTON, CA 95207           ACCOUNT NO.: NOT AVAILABLE


3.3407 DAVIS, MEGHAN                            VARIOUS                              Litigation              UNDETERMINED
       21697 CRYSTAL LAKE DRIVE
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.3408 DAVIS, PAUL                              VARIOUS                              Litigation              UNDETERMINED
       9545 CORDOBA BOULEVARD
       11155 SOCRATES MINE ROD      ACCOUNT NO.: NOT AVAILABLE
       MIDDLETOWN, CA 95461


3.3409 DAVIS, PAUL                              VARIOUS                              Litigation              UNDETERMINED
       5568 CROW CANYON RD
       CASTRO VALLEY, CA 94552      ACCOUNT NO.: NOT AVAILABLE


3.3410 DAVIS, RANDALL                           VARIOUS                              Litigation              UNDETERMINED
       96 BEAUCHAMP ROAD
       EUREKA, CA 95503             ACCOUNT NO.: NOT AVAILABLE


3.3411 DAVIS, RENEE                             VARIOUS                              Litigation              UNDETERMINED
       1101 MURPHY ROAD
       OLIVEHURST, CA 95961         ACCOUNT NO.: NOT AVAILABLE


3.3412 DAVIS, REX                               VARIOUS                              Litigation              UNDETERMINED
       12606 PALOMINO RD
       MADERA, CA 93636             ACCOUNT NO.: NOT AVAILABLE


3.3413 DAVIS, REX                               VARIOUS                              Litigation              UNDETERMINED
       12606 PALOMINO RD
       MADERA, CA 93636             ACCOUNT NO.: NOT AVAILABLE


3.3414 DAVIS, RICHARD                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 431
       BIEBER, CA 96009             ACCOUNT NO.: NOT AVAILABLE


3.3415 DAVIS, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       17922 TOLLHOUSE ROAD
       PEACH AVE & GETTSBURG AVE    ACCOUNT NO.: NOT AVAILABLE
       CLOVIS, CA 93619


3.3416 DAVIS, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       306 ANTHONY ST
       SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE


3.3417 DAVIS, SAMUEL                            VARIOUS                              Litigation              UNDETERMINED
       4865 N MILLBROOKE AVE
       FRESNO, CA 93726             ACCOUNT NO.: NOT AVAILABLE


3.3418 DAVIS, SUE                               VARIOUS                              Litigation              UNDETERMINED
       5008 RUSSO DR
       SAN JOSE, CA 95118           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3419 DAVIS, VIRGINIA                          VARIOUS                              Litigation              UNDETERMINED
       6613 SPRING WAY
       SOMERSET, CA 95684           ACCOUNT NO.: NOT AVAILABLE


3.3420 DAVIS, WILLIAM                           VARIOUS                              Litigation              UNDETERMINED
       109 BEARDSLEY AVE APT A
       BAKERSFIELD, CA 93308        ACCOUNT NO.: NOT AVAILABLE


3.3421 DAVIS, YCHOAYA                           VARIOUS                              Litigation              UNDETERMINED
       100 PENZANE AVE
       69                           ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95973


3.3422 DAVIS, ZORAYADA                          VARIOUS                              Litigation              UNDETERMINED
       4681 E BELMONT AVE
       FRESNO, CA 93702             ACCOUNT NO.: NOT AVAILABLE


3.3423 DAVOLI, KATHLEEN                         VARIOUS                              Litigation              UNDETERMINED
       21597 ELK TRAIL WEST
       REDDING, CA 96003            ACCOUNT NO.: NOT AVAILABLE


3.3424 DAVTYAN, GAGIK                           VARIOUS                              Litigation              UNDETERMINED
       3327 E EL MONTE WAY
       FRESNO, CA 93702             ACCOUNT NO.: NOT AVAILABLE


3.3425 DAWLEY, ERNEST                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 728
       ARBUCKLE, CA 95912           ACCOUNT NO.: NOT AVAILABLE


3.3426 DAWSON MAULDIN                           VARIOUS                              Litigation              UNDETERMINED
       CONSTRUCTION-MANGANAAN,
       CARMEN                       ACCOUNT NO.: NOT AVAILABLE
       P O BOX 8397
       HUNTINGTON BEACH, CA 92615


3.3427 DAWSON, BRITTANY                         VARIOUS                              Litigation              UNDETERMINED
       1184 SKYLAKE CT
       SUNNYVALE, CA 94089          ACCOUNT NO.: NOT AVAILABLE


3.3428 DAWSON, KIMBERLY                         VARIOUS                              Litigation              UNDETERMINED
       1160 RICE STREET
       VALLEJO, CA 94590            ACCOUNT NO.: NOT AVAILABLE


3.3429 DAWSON, PATRICIA & ROBERT                VARIOUS                              Litigation              UNDETERMINED
       8 BONNIE BANKS WAY
       SAN RAFAEL, CA 94901         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3430 DAWSON, WILLIAM                            VARIOUS                              Litigation              UNDETERMINED
       6359 LANCASTER DR
       PARADISE, CA 95969             ACCOUNT NO.: NOT AVAILABLE


3.3431 DAY, AIMEE                                 VARIOUS                              Litigation              UNDETERMINED
       239 FOOTHILL BLVD APT 6
       OAKLAND, CA 94606              ACCOUNT NO.: NOT AVAILABLE


3.3432 DAY, BARBARA                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 74
       1922 SWEETWATER TRL            ACCOUNT NO.: NOT AVAILABLE
       COOL, CA 95614


3.3433 DAY, BRANDON                               VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 767
       APTOS, CA 95001                ACCOUNT NO.: NOT AVAILABLE


3.3434 DAY, CAROL                                 VARIOUS                              Litigation              UNDETERMINED
       PO BOX 692
       4893 E. HOGAN LANE, LODI       ACCOUNT NO.: NOT AVAILABLE
       WOODBRIDGE, CA 95258


3.3435 DAY, DANIEL                                VARIOUS                              Litigation              UNDETERMINED
       27865 MESA DEL TORO RD.
       SALINAS, CA 93908              ACCOUNT NO.: NOT AVAILABLE


3.3436 DAY, JESSICA                               VARIOUS                              Litigation              UNDETERMINED
       8594 PRUNEDALE NORTH RD
       SALINAS, CA 93907              ACCOUNT NO.: NOT AVAILABLE


3.3437 DAY, JULIE                                 VARIOUS                              Litigation              UNDETERMINED
       21157 BIRCHWOOD DR
       FORESTHILL, CA 95631           ACCOUNT NO.: NOT AVAILABLE


3.3438 DAY, MELANIE                               VARIOUS                              Litigation              UNDETERMINED
       507 LATIMER CIRCLE
       CAMPBELL, CA 95008             ACCOUNT NO.: NOT AVAILABLE


3.3439 DAY, MICHAEL                               VARIOUS                              Litigation              UNDETERMINED
       24 MISSION SPRINGS
       HERCULES, CA 94547             ACCOUNT NO.: NOT AVAILABLE


3.3440 DAY, WAYNE                                 VARIOUS                              Litigation              UNDETERMINED
       1249 ILLINOIS ST STE 2
       FAIRFIELD, CA 94533            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3441 DAY-LAUSTRUP, MILDRED                    VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1226
       HAYFORK, CA 96041            ACCOUNT NO.: NOT AVAILABLE


3.3442 DAYS INN AND SUITES-                     VARIOUS                              Litigation              UNDETERMINED
       PANCHAL, ANKIT
       1605 AUTO CENTER DR          ACCOUNT NO.: NOT AVAILABLE
       ANTIOCH, CA 94509


3.3443 DAYS INN MONTEREY-PATEL,                 VARIOUS                              Litigation              UNDETERMINED
       NILAM
       1288 MUNRAS AVE              ACCOUNT NO.: NOT AVAILABLE
       MONTEREY, CA 93940


3.3444 DAYS INN, DAISEY MAHAY                   VARIOUS                              Litigation              UNDETERMINED
       121 OAK CT
       HERCULES, CA 94547           ACCOUNT NO.: NOT AVAILABLE


3.3445 DAYS INN-CHAUDHRI, PREM                  VARIOUS                              Litigation              UNDETERMINED
       406 GOLF CT
       WALNUT CREEK, CA 94598       ACCOUNT NO.: NOT AVAILABLE


3.3446 DBABALDWINCONTRACTING,                   VARIOUS                              Litigation              UNDETERMINED
       KNIFE RIVER
       1764 SKYWAY AVE.             ACCOUNT NO.: NOT AVAILABLE
       ATTN. KEITH MARBEITER
       CHICO, CA 95928


3.3447 DBI BEVERAGE SAN JOAQUIN-                VARIOUS                              Litigation              UNDETERMINED
       SOMERS, JOHN
       4524 RIALTO PLACE            ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA 95207


3.3448 DE BARROS, EDWARD                        VARIOUS                              Litigation              UNDETERMINED
       2061 GORDON VERNER CIRCLE
       STOCKTON, CA 95206           ACCOUNT NO.: NOT AVAILABLE


3.3449 DE BENEDETTI, MARIE                      VARIOUS                              Litigation              UNDETERMINED
       1118 HILLCREST DR
       LAFAYETTE, CA 94549          ACCOUNT NO.: NOT AVAILABLE


3.3450 DE BERGERAC, MILDRED                     VARIOUS                              Litigation              UNDETERMINED
       269 PRESIDIO WAY
       STOCKTON, CA 95207           ACCOUNT NO.: NOT AVAILABLE


3.3451 DE BREE, ROB                             VARIOUS                              Litigation              UNDETERMINED
       5951 THIMIO WAY
       ROYAL OAKS, CA               ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.3452 DE BU OF PISMO BEACH-                    VARIOUS                              Litigation              UNDETERMINED
       CABANDONG, JORDAN
       1250 PRICE STREET             ACCOUNT NO.: NOT AVAILABLE
       PISMO BEACH, CA 93449


3.3453 DE FREITAS, MANUEL                       VARIOUS                              Litigation              UNDETERMINED
       400 SHIRLEE DRIVE
       DANVILLE, CA 94551            ACCOUNT NO.: NOT AVAILABLE


3.3454 DE GROOT, LEO                            VARIOUS                              Litigation              UNDETERMINED
       10294 JEANNE RD.
       MANTECA, CA 95336             ACCOUNT NO.: NOT AVAILABLE


3.3455 DE HARO, LUIS                            VARIOUS                              Litigation              UNDETERMINED
       19441 PESANTE RD
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.3456 DE LA CRUZ, DOLORES                      VARIOUS                              Litigation              UNDETERMINED
       2445 SAN JUAN CANYON ROAD
       SAN JUAN BAUTISTA, CA 95045   ACCOUNT NO.: NOT AVAILABLE


3.3457 DE LA CRUZ, MARTHA                       VARIOUS                              Litigation              UNDETERMINED
       3343 E WELDON
       FRESNO, CA 93703              ACCOUNT NO.: NOT AVAILABLE


3.3458 DE LA CRUZ, VALERIE                      VARIOUS                              Litigation              UNDETERMINED
       PO BOX 387
       WEST POINT, CA 95255          ACCOUNT NO.: NOT AVAILABLE


3.3459 DE LA CRUZ, YOLANDA                      VARIOUS                              Litigation              UNDETERMINED
       1072 GILMAN AVE
       SAN FRANCISCO, CA 94124       ACCOUNT NO.: NOT AVAILABLE


3.3460 DE LA ROSA, MARYLEE                      VARIOUS                              Litigation              UNDETERMINED
       1206 DEL MONTE AVENUE
       SALINAS, CA 93905             ACCOUNT NO.: NOT AVAILABLE


3.3461 DE LA TORRE, HECTOR                      VARIOUS                              Litigation              UNDETERMINED
       1627 PRINCE ST
       BERKELEY, CA 94703            ACCOUNT NO.: NOT AVAILABLE


3.3462 DE LECEA, LUIS                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 20086
       PALO ALTO, CA 94309           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.3463 DE LEON GARCIA, JOSEFINA                  VARIOUS                              Litigation              UNDETERMINED
       PO BOX 401
       BOYES HOT SPRING, CA 95416    ACCOUNT NO.: NOT AVAILABLE


3.3464 DE LEON, ALYSON                           VARIOUS                              Litigation              UNDETERMINED
       3767 ANGELES RD
       SANTA MARIA, CA 93455         ACCOUNT NO.: NOT AVAILABLE


3.3465 DE LEON, KRISTINA                         VARIOUS                              Litigation              UNDETERMINED
       22 ARELLANO COURT
       WOODLAND, CA                  ACCOUNT NO.: NOT AVAILABLE


3.3466 DE LOS ANGELES, RAYMOND                   VARIOUS                              Litigation              UNDETERMINED
       1874 W HARDING WAY
       STOCKTON, CA 95203            ACCOUNT NO.: NOT AVAILABLE


3.3467 DE LOS SANTOS, PAYTON                     VARIOUS                              Litigation              UNDETERMINED
       705 N. STATE ST #252
       UKIAH, CA 95482               ACCOUNT NO.: NOT AVAILABLE


3.3468 DE MARIA, STEPHANIE                       VARIOUS                              Litigation              UNDETERMINED
       P.O.BOX 3122
       MOSS BEACH, CA 94038          ACCOUNT NO.: NOT AVAILABLE


3.3469 DE PAOLI, WILLIAM                         VARIOUS                              Litigation              UNDETERMINED
       133 OBISPO CT
       FREMONT, CA 94539             ACCOUNT NO.: NOT AVAILABLE


3.3470 DE SANTIAGO, SALLY                        VARIOUS                              Litigation              UNDETERMINED
       748 W ROBINSON
       FRESNO, CA 93705              ACCOUNT NO.: NOT AVAILABLE


3.3471 DE VRIES, MARTIN                          VARIOUS                              Litigation              UNDETERMINED
       920 CREST AVE
       PACIFIC GROVE, CA 93950       ACCOUNT NO.: NOT AVAILABLE


3.3472 DE WITT, JONATHON                         VARIOUS                              Litigation              UNDETERMINED
       800 NEEDLES COURT
       NAPA, CA 94559                ACCOUNT NO.: NOT AVAILABLE


3.3473 DE WITTE, RACHEL                          VARIOUS                              Litigation              UNDETERMINED
       1 MANDALAY PLACE APT 611
       S SAN FRANCISCO, CA 94080     ACCOUNT NO.: NOT AVAILABLE


3.3474 DE YOUNG, KRYSTAL                         VARIOUS                              Litigation              UNDETERMINED
       1719 TIMBREL WAY
       ROCKLIN, CA 95765             ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.3475 DEACON, BILLY JOE                         VARIOUS                              Litigation              UNDETERMINED
       48691 TODD EYMANN ROAD
       MIRAMONTE, CA 93641           ACCOUNT NO.: NOT AVAILABLE


3.3476 DEAGEN, EVA AND TOM                       VARIOUS                              Litigation              UNDETERMINED
       4143 SCHOOL STREET
       PLEASANTON, CA 94566          ACCOUNT NO.: NOT AVAILABLE


3.3477 DEAN, GARY                                VARIOUS                              Litigation              UNDETERMINED
       27 AVONDALE AVENUE
       REDWOOD CITY, CA 94062        ACCOUNT NO.: NOT AVAILABLE


3.3478 DEAN, GUY                                 VARIOUS                              Litigation              UNDETERMINED
       P.O.BOX 378
       LOS ALAMOS, CA 93440          ACCOUNT NO.: NOT AVAILABLE


3.3479 DEAN, ROBERT                              VARIOUS                              Litigation              UNDETERMINED
       2700 CHABOT DRIVE
       SAN BRUNO, CA 94066           ACCOUNT NO.: NOT AVAILABLE


3.3480 DEANDA, FEDERICO                          VARIOUS                              Litigation              UNDETERMINED
       3121 BECKETT LANE
       MODESTO, CA 95350             ACCOUNT NO.: NOT AVAILABLE


3.3481 DEANDA, TERESA                            VARIOUS                              Litigation              UNDETERMINED
       14 PACIFIC BAY CIRCLE
       203                           ACCOUNT NO.: NOT AVAILABLE
       SAN BRUNO, CA 94066


3.3482 DEANER, CHRIS                             VARIOUS                              Litigation              UNDETERMINED
       490 RIDGE RD
       NOVATO, CA 94947              ACCOUNT NO.: NOT AVAILABLE


3.3483 DEANS PRODUCE, VASILIOS                   VARIOUS                              Litigation              UNDETERMINED
       SOLDATOS
       44 E 4TH AVENUE               ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94401


3.3484 DEANS, BRIAN                              VARIOUS                              Litigation              UNDETERMINED
       60 ROBLE RD.
       BERKELEY, CA 94705            ACCOUNT NO.: NOT AVAILABLE


3.3485 DEBENEDETTO, NICK                         VARIOUS                              Litigation              UNDETERMINED
       5503 N WESTLAWN AVE
       FRESNO, CA 93723              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.3486 DEBERNARDI, MATTHEW                      VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 174
       NIPOMO, CA 93444             ACCOUNT NO.: NOT AVAILABLE


3.3487 DEBORAH GUTOF,WALTER                     VARIOUS                              Litigation              UNDETERMINED
       VANDERSCHRAAF
       WALKER, HAMILTON, KOENIG &   ACCOUNT NO.: NOT AVAILABLE
       BURBIDGE, LLP
       50 FRANCISCO STREET, SUITE
       460
       SAN FRANCISCO, CA 94133


3.3488 DEBORAH WALRATH, JAMES                   VARIOUS                              Litigation              UNDETERMINED
       WALRATH
       BOBBY THOMPSON               ACCOUNT NO.: NOT AVAILABLE
       711 AIRPORT BLVD
       SUITE 171
       BURLINGAME, CA 94010


3.3489 DEBORAH WALRATH, JAMES                   VARIOUS                              Litigation              UNDETERMINED
       WALRATH
       ROGER A. DREYER, ROBERT      ACCOUNT NO.: NOT AVAILABLE
       BALE, ANTON BABICH
       21 BICENTENNIAL CIRCLE
       SACRAMENTO, CA 95826


3.3490 DEBORAH WALRATH, JAMES                   VARIOUS                              Litigation              UNDETERMINED
       WALRATH
       MARY ALEXANDER, BRENDAN      ACCOUNT NO.: NOT AVAILABLE
       WAY, CATALINA MUNOZ
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.3491 DEBRUM, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
       16548 ALPINE LANE
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.3492 DEBWANI NUTRITION AND                    VARIOUS                              Litigation              UNDETERMINED
       COMPANY-ALI, SHARIF
       245 W YOSEMITE AVE           ACCOUNT NO.: NOT AVAILABLE
       MANTECA, CA 95336


3.3493 DECARLI, GREG                            VARIOUS                              Litigation              UNDETERMINED
       25360 OLD STAGE ROAD
       GONZALES, CA 93926           ACCOUNT NO.: NOT AVAILABLE


3.3494 DECARLI, JANICE                          VARIOUS                              Litigation              UNDETERMINED
       17542 QUAIL HILL LN
       ARAMOS, CA 95004             ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.3495 DECKER, JAMIE                            VARIOUS                              Litigation              UNDETERMINED
       2921 MAPLE AVE
       POLLOCK PINES, CA 95726         ACCOUNT NO.: NOT AVAILABLE


3.3496 DECKER, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       31030 GIBNEY LANE
       FORT BRAGG, CA 95437            ACCOUNT NO.: NOT AVAILABLE


3.3497 DECKER, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       43304 METCALF GAP RD.
       AHWAHNEE, CA 93601              ACCOUNT NO.: NOT AVAILABLE


3.3498 DEDERER, RICHARD                         VARIOUS                              Litigation              UNDETERMINED
       13724 BACK ACHERS WAY
       WHITMORE, CA 96096              ACCOUNT NO.: NOT AVAILABLE


3.3499 DEDRICK, DOROTHY                         VARIOUS                              Litigation              UNDETERMINED
       1796 PARADISE LANE
       SANTA ROSA, CA 95401            ACCOUNT NO.: NOT AVAILABLE


3.3500 DEENY, KIM                               VARIOUS                              Litigation              UNDETERMINED
       692 CABOT WAY
       NAPA, CA 94559                  ACCOUNT NO.: NOT AVAILABLE


3.3501 DEEP, SHARAN                             VARIOUS                              Litigation              UNDETERMINED
       6441 AGRA ST.
       POLLOCK PINES, CA 95726         ACCOUNT NO.: NOT AVAILABLE


3.3502 DEERWATER, REBECCA                       VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1786, MENDOCINO, CA.
       31450 EMERALD DR.               ACCOUNT NO.: NOT AVAILABLE
       FORT BRAGG, CA 95460


3.3503 DEESE, MICHELLE                          VARIOUS                              Litigation              UNDETERMINED
       53 DAGORRET LN
       OROVILLE, CA 95966              ACCOUNT NO.: NOT AVAILABLE


3.3504 DEFAZIO, MARTA                           VARIOUS                              Litigation              UNDETERMINED
       13276 VIA MADRONAS DRIVE
       SARATOGA, CA 95070              ACCOUNT NO.: NOT AVAILABLE


3.3505 DEFOREST, CHARLES & BECKY                VARIOUS                              Litigation              UNDETERMINED
       3656 JASPER LANE
       WHEATLAND, CA 95692             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3506 DEFRANCE, JULIANA                        VARIOUS                              Litigation              UNDETERMINED
       245 F STREET
       FREMONT, CA 94536            ACCOUNT NO.: NOT AVAILABLE


3.3507 DEGNER, BRIAN                            VARIOUS                              Litigation              UNDETERMINED
       4288 PINE FOREST DR
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.3508 DEGRAAF, TERRI                           VARIOUS                              Litigation              UNDETERMINED
       853 PINE VIEW DR
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.3509 DEGRANGE, SHAWNA                         VARIOUS                              Litigation              UNDETERMINED
       3892 OLD REDWOOD HWY
       SANTA ROSA, CA 95403         ACCOUNT NO.: NOT AVAILABLE


3.3510 DEGRAW, DWAYNE                           VARIOUS                              Litigation              UNDETERMINED
       21659 SHAKERIDGE ROAD
       VOLCANO, CA 95689            ACCOUNT NO.: NOT AVAILABLE


3.3511 DEGUZMAN, REYJI                          VARIOUS                              Litigation              UNDETERMINED
       181 QUINCY COURT
       VACAVILLE, CA 95687          ACCOUNT NO.: NOT AVAILABLE


3.3512 DEHN, KATHERINE                          VARIOUS                              Litigation              UNDETERMINED
       210 CARNEROS AVE
       AROMAS, CA 95004             ACCOUNT NO.: NOT AVAILABLE


3.3513 DEHNER, LYNN                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 650141
       VERO BEACH, CA 32965         ACCOUNT NO.: NOT AVAILABLE


3.3514 DEIS, GARY                               VARIOUS                              Litigation              UNDETERMINED
       355 ELIAS BALDWIN
       TRUCKEE, CA 96161            ACCOUNT NO.: NOT AVAILABLE


3.3515 DEL CASTILLO, ANTONIO                    VARIOUS                              Litigation              UNDETERMINED
       88 CAMBRIDGE STREET
       SAN FRANCISCO, CA 94134      ACCOUNT NO.: NOT AVAILABLE


3.3516 DEL CID, EVELIN                          VARIOUS                              Litigation              UNDETERMINED
       202 ARMOUR AVE, APT #B
       SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
       94080




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.3517 DEL MAR CLEANERS-SONG, HEE                VARIOUS                              Litigation              UNDETERMINED
       30 VISTA STREET
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.3518 DEL MAR FARMS                             VARIOUS                              Litigation              UNDETERMINED
       ARATA, SWINGLE, VAN
       EGMOND & GOODWIN              ACCOUNT NO.: NOT AVAILABLE
       PO BOX 3287
       MODESTO, CA 95353


3.3519 DEL RIO & ASSOCIATES, FOR                 VARIOUS                              Litigation              UNDETERMINED
       IVAN CRAWFORD
       2335 AMERICAN RIVER DR        ACCOUNT NO.: NOT AVAILABLE
       SUITE 200
       0
       SACRAMENTO, CA 95825


3.3520 DEL RIO & CARICHOFF-                      VARIOUS                              Litigation              UNDETERMINED
       GONZALES, LARRY
       928 ALAMO AVE                 ACCOUNT NO.: NOT AVAILABLE
       MODESTO, CA 95351


3.3521 DEL TORO, MANUEL & SUSANA                 VARIOUS                              Litigation              UNDETERMINED
       DEL TORO & DARIN & LORI
       SUNDGREN                      ACCOUNT NO.: NOT AVAILABLE
       PO BOX 81564
       1153 MARANATHA ROAD
       BAKERSFIELD, CA 93380


3.3522 DEL VILLAR, JOSE                          VARIOUS                              Litigation              UNDETERMINED
       1808 CORRIENTES STREET
       BAKERSFIELD, CA 93306         ACCOUNT NO.: NOT AVAILABLE


3.3523 DELAMORA, MARIA ELENA                     VARIOUS                              Litigation              UNDETERMINED
       5345 N VERNAL AVE
       FRESNO, CA 93722              ACCOUNT NO.: NOT AVAILABLE


3.3524 DELANEY, TIM                              VARIOUS                              Litigation              UNDETERMINED
       25003 MILLER CUT OFF RD
       LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.3525 DELANEY, TIM                              VARIOUS                              Litigation              UNDETERMINED
       25003 MILLER CUT OFF RD
       LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.3526 DELAPP, MAUREEN                           VARIOUS                              Litigation              UNDETERMINED
       2874 BENSON STREET
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.3527 DELATORRE, GILBERTO                      VARIOUS                              Litigation              UNDETERMINED
       1600 AMHERST WAY
       WOODLAND, CA 95695           ACCOUNT NO.: NOT AVAILABLE


3.3528 DELEON, LONI                             VARIOUS                              Litigation              UNDETERMINED
       17705 DEL MONTE AVE
       MORGAN HILL, CA 95037        ACCOUNT NO.: NOT AVAILABLE


3.3529 DELEON, LUZ                              VARIOUS                              Litigation              UNDETERMINED
       2270 RUMRILL BLVD
       SAN PABLO, CA 94806          ACCOUNT NO.: NOT AVAILABLE


3.3530 DELGADILLO, DENISE                       VARIOUS                              Litigation              UNDETERMINED
       2488 E MARKET STREET
       STOCKTON, CA 95205           ACCOUNT NO.: NOT AVAILABLE


3.3531 DELGADO PROPERTY                         VARIOUS                              Litigation              UNDETERMINED
       MANAGEMENT-GOMEZ, DIONA
       917 FIRST STREET             ACCOUNT NO.: NOT AVAILABLE
       BENICIA, CA 94510


3.3532 DELGADO, MARTIN                          VARIOUS                              Litigation              UNDETERMINED
       8477 AZALEA AVE
       PARLIER, CA 93648            ACCOUNT NO.: NOT AVAILABLE


3.3533 DELGADO, YOLANDA                         VARIOUS                              Litigation              UNDETERMINED
       587 ECHO VALLEY ROAD
       PRUNEDALE, CA 93907          ACCOUNT NO.: NOT AVAILABLE


3.3534 DELI DELICIOUS-ANG, RUDY                 VARIOUS                              Litigation              UNDETERMINED
       2053 EVERGLADE AVE
       CLOVIS, CA 93619             ACCOUNT NO.: NOT AVAILABLE


3.3535 DELIRIUM COCKTAILS, BASSO,               VARIOUS                              Litigation              UNDETERMINED
       ANGELO
       3139 16TH STREET             ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94103


3.3536 DELMAN, JANE                             VARIOUS                              Litigation              UNDETERMINED
       46041 RD 415
       SPC. 123                     ACCOUNT NO.: NOT AVAILABLE
       COARSEGOLD, CA 93614


3.3537 DELMURO, ELIAS                           VARIOUS                              Litigation              UNDETERMINED
       500 W 10TH ST SPC 74
       GILROY, CA 95020             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3538 DELOREAN, CHRIS                          VARIOUS                              Litigation              UNDETERMINED
       9 SKYMOUNTAIN CIRCLE
       CHICO, CA 95928              ACCOUNT NO.: NOT AVAILABLE


3.3539 DELORIS BROWN-SCHUETTER,                 VARIOUS                              Litigation              UNDETERMINED
       LARRY
       1312 PINTAIL DR              ACCOUNT NO.: NOT AVAILABLE
       SUISUN CITY, CA 94585


3.3540 DEL'S PIZZERIA-DELMORE,                  VARIOUS                              Litigation              UNDETERMINED
       BERNADETTE
       1101 PRICE ST STE 100        ACCOUNT NO.: NOT AVAILABLE
       PISMO BEACH, CA 93449


3.3541 DELSID, IRENE                            VARIOUS                              Litigation              UNDETERMINED
       241 LA QUINTA DR.
       WINDSOR, CA 95492            ACCOUNT NO.: NOT AVAILABLE


3.3542 DELTA BAY BUILDERS &                     VARIOUS                              Litigation              UNDETERMINED
       ROOFING, VALERIE VEGA
       2612 DELAWARE AVE            ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA 95204


3.3543 DELTORO, CESAR                           VARIOUS                              Litigation              UNDETERMINED
       467 S. PEACH DR.
       FRESNO, CA 93727             ACCOUNT NO.: NOT AVAILABLE


3.3544 DELTORO, DON                             VARIOUS                              Litigation              UNDETERMINED
       1028 W. SIERRA MADRE
       FRESNO, CA 93705             ACCOUNT NO.: NOT AVAILABLE


3.3545 DELUCA, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
       6470 N. WARREN AVE.
       FRESNO, CA 93711             ACCOUNT NO.: NOT AVAILABLE


3.3546 DELUCA, VINCENT                          VARIOUS                              Litigation              UNDETERMINED
       3710 SIGNAL HILL TRAIL
       COPPEROPOLIS, CA 95228       ACCOUNT NO.: NOT AVAILABLE


3.3547 DELUCCA, SHEILA                          VARIOUS                              Litigation              UNDETERMINED
       10 SHAMROCK COURT
       MILLBRAE, CA 94030           ACCOUNT NO.: NOT AVAILABLE


3.3548 DELUCCHI, MARK                           VARIOUS                              Litigation              UNDETERMINED
       3725 CHER MAR LN.
       LAKE ALMANOR, CA 96137       ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3549 DELUNA, CONNIE                           VARIOUS                              Litigation              UNDETERMINED
       17790 BERTA CANYON RD
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.3550 DELUXE INN-PATEL, MOHAN                  VARIOUS                              Litigation              UNDETERMINED
       21172 MISSION BLVD
       HAYWARD, CA 94541            ACCOUNT NO.: NOT AVAILABLE


3.3551 DEMAR, CORY                              VARIOUS                              Litigation              UNDETERMINED
       2167 SUMMERTON DRIVE
       SAN JOSE, CA 95122           ACCOUNT NO.: NOT AVAILABLE


3.3552 DEMAR, JOAN                              VARIOUS                              Litigation              UNDETERMINED
       32159 MISSION BLVD.
       HAYWARD, CA 94544            ACCOUNT NO.: NOT AVAILABLE


3.3553 DEMARCO, MEGHAN                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 273
       LAKEPORT, CA 95451           ACCOUNT NO.: NOT AVAILABLE


3.3554 DEMARTINI AND ASSOCIATES-                VARIOUS                              Litigation              UNDETERMINED
       DEMARTINI, LEONARD
       1050 NORTHGATE DR #190       ACCOUNT NO.: NOT AVAILABLE
       SAN RAFAEL, CA 94903


3.3555 DEMELLO, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       11501 SILVER OAK DRIVE
       OAKDALE, CA 95361            ACCOUNT NO.: NOT AVAILABLE


3.3556 DEMENTSON, ALEXANDER                     VARIOUS                              Litigation              UNDETERMINED
       13850 SKYLINE BLVD
       WOODSIDE, CA 94062           ACCOUNT NO.: NOT AVAILABLE


3.3557 DEMERA CONSTRUCTION-                     VARIOUS                              Litigation              UNDETERMINED
       DEMERA, DAN
       12628 FERNWOOD DRIVE         ACCOUNT NO.: NOT AVAILABLE
       MADERA, CA 93636


3.3558 DEMIDZIC, HARIS                          VARIOUS                              Litigation              UNDETERMINED
       20150 MANZANITA STREET
       TWAIN HARTE, CA 95383        ACCOUNT NO.: NOT AVAILABLE


3.3559 DEMING, ROBERT & JOY                     VARIOUS                              Litigation              UNDETERMINED
       60 RIO VISTA
       SOLVANG, CA 93463            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3560 DEMLER, DAVID                         VARIOUS                                 Litigation              UNDETERMINED
       P.O. BOX 207
       14460 PALM AVE., WASCO, 93280 ACCOUNT NO.: NOT AVAILABLE
       WASCO, CA 93280


3.3561 DEMLER, DAVID                         VARIOUS                                 Litigation              UNDETERMINED
       P.O. BOX 207
       14460 PALM AVE., WASCO, 93280 ACCOUNT NO.: NOT AVAILABLE
       WASCO, CA 93280


3.3562 DEMPEWOLF, ASHLEE                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 657
       #1 COMMUNITY SERVICE ROAD    ACCOUNT NO.: NOT AVAILABLE
       HOOPA, CA 95546


3.3563 DEMPEWOLF, SHELLI                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1469
       REDWOOD GROVE ROAD           ACCOUNT NO.: NOT AVAILABLE
       HOOPA, CA 95546


3.3564 DEMPSEY, PATRICIA                        VARIOUS                              Litigation              UNDETERMINED
       40 ATLAS AVE
       SAN JOSE, CA 95126           ACCOUNT NO.: NOT AVAILABLE


3.3565 DEN DULK, MARVIN                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 335
       RIPON, CA 95366              ACCOUNT NO.: NOT AVAILABLE


3.3566 DENGLER, NORMA                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 391
       MORRO BAY, CA 93443          ACCOUNT NO.: NOT AVAILABLE


3.3567 DENHAM CONTRACTING-                      VARIOUS                              Litigation              UNDETERMINED
       DENHAM, MICHAEL
       890 CAMINO DIABLO ROAD       ACCOUNT NO.: NOT AVAILABLE
       BRENTWOOD, CA 94513


3.3568 DENK, ROGER                              VARIOUS                              Litigation              UNDETERMINED
       22 GREENWOOD VALE
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.3569 DENK, ROGER                              VARIOUS                              Litigation              UNDETERMINED
       22 GREENWOOD VALE
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.3570 DENMAN, RICHARD AND GENE                 VARIOUS                              Litigation              UNDETERMINED
       PO BOX 782
       10587 PARADISE DRIVE         ACCOUNT NO.: NOT AVAILABLE
       ROUGH AND READY, CA 95975

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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.3571 DENNEHY, DAVID                           VARIOUS                              Litigation              UNDETERMINED
       106 HEPPLEWHITE CT.
       LOS GATOS, CA 95032           ACCOUNT NO.: NOT AVAILABLE


3.3572 DENNEY, JUDY                             VARIOUS                              Litigation              UNDETERMINED
       25 W CLEVELAND STREET
       STOCKTON, CA 95204            ACCOUNT NO.: NOT AVAILABLE


3.3573 DENNING, MARK                            VARIOUS                              Litigation              UNDETERMINED
       5485 WISE ROAD
       LINCOLN, CA 95648             ACCOUNT NO.: NOT AVAILABLE


3.3574 DENNIS CLINE, KARRY CLINE                VARIOUS                              Litigation              UNDETERMINED
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ           ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.3575 DENNIS CLINE, KARRY CLINE                VARIOUS                              Litigation              UNDETERMINED
       ROGER A. DREYER, ROBERT
       BALE, ANTON BABICH            ACCOUNT NO.: NOT AVAILABLE
       22 BICENTENNIAL CIRCLE
       SACRAMENTO, CA 95826


3.3576 DENNIS, DANIEL                           VARIOUS                              Litigation              UNDETERMINED
       919 S GRANT ST
       SAN MATEO, CA 94402           ACCOUNT NO.: NOT AVAILABLE


3.3577 DENNIS, JACQUELINE                       VARIOUS                              Litigation              UNDETERMINED
       PO BOX 33
       COLUMBIA, CA 95310            ACCOUNT NO.: NOT AVAILABLE


3.3578 DENNIS, JEREMY                           VARIOUS                              Litigation              UNDETERMINED
       1060 WAWONA WAY
       ARNOLD, CA 95223              ACCOUNT NO.: NOT AVAILABLE


3.3579 DENNYS 7416 C/O SAHDEV INC-              VARIOUS                              Litigation              UNDETERMINED
       SAGAR, SUNITA
       44816 SOUTH GRIMMER BLVD      ACCOUNT NO.: NOT AVAILABLE
       FREMONT, CA 94538


3.3580 DENNYS 8794-SAGAR, SUNITA                VARIOUS                              Litigation              UNDETERMINED
       44816 SOUTH GRIMMER BLVD
       FREMONT, CA 94538             ACCOUNT NO.: NOT AVAILABLE


3.3581 DENNYS 8882-SAGAR, SUNITA                VARIOUS                              Litigation              UNDETERMINED
       44816 SOUTH GRIMMER BLVD
       FREMONT, CA 94538             ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.3582 DENOVA HOMES, INC., TRENT                VARIOUS                              Litigation              UNDETERMINED
       SANSON
       1500 WILLOW PASS COURT       ACCOUNT NO.: NOT AVAILABLE
       CONCORD, CA 94520


3.3583 DENT, JEWEL                              VARIOUS                              Litigation              UNDETERMINED
       1160 FITZGERALD AVE
       SAN FRANCISCO, CA 94124      ACCOUNT NO.: NOT AVAILABLE


3.3584 DENTAL CONCEPTS-                         VARIOUS                              Litigation              UNDETERMINED
       BHATNAGAR, MANJU
       2200 EASTRIDGE LOOP          ACCOUNT NO.: NOT AVAILABLE
       SUITE 1060
       SAN JOSE, CA 95122


3.3585 DENTON, ALEDA                            VARIOUS                              Litigation              UNDETERMINED
       3900 FLINTRIDGE DR
       BAKERSFIELD, CA 93306        ACCOUNT NO.: NOT AVAILABLE


3.3586 DENTON, KANDACE                          VARIOUS                              Litigation              UNDETERMINED
       53313 ROAD 432
       BASS LAKE, CA 93604          ACCOUNT NO.: NOT AVAILABLE


3.3587 DENTURES PLUS-GUTIERREZ,                 VARIOUS                              Litigation              UNDETERMINED
       EDWINA
       1697 HAVANA DRIVE            ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95122


3.3588 DERBIN, LESLIE                           VARIOUS                              Litigation              UNDETERMINED
       7 VINDEL LANE
       NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.3589 DEREK, CRAY                              VARIOUS                              Litigation              UNDETERMINED
       11 RESERVATION RD.
       MARINA, CA 93933             ACCOUNT NO.: NOT AVAILABLE


3.3590 DERITZ LLC                               VARIOUS                              Litigation              UNDETERMINED
       887 MITTEN RD
       BURLINGAME, CA 94010         ACCOUNT NO.: NOT AVAILABLE


3.3591 DEROUSSE, KEITH                          VARIOUS                              Litigation              UNDETERMINED
       9345 S HENRY RD
       FARMINGTON, CA 95230         ACCOUNT NO.: NOT AVAILABLE


3.3592 DEROZA, CLIFTON & JULIA                  VARIOUS                              Litigation              UNDETERMINED
       1774 CALYPSO DRIVE
       APTOS, CA 95003              ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.3593 DERRICK CHUA DMD-CHUA,                   VARIOUS                              Litigation              UNDETERMINED
       DERRICK
       2489 MISSION ST.             ACCOUNT NO.: NOT AVAILABLE
       12
       SF, CA 94110


3.3594 DERRICKSON, IRENE                        VARIOUS                              Litigation              UNDETERMINED
       3005 N ADOLINE AVE
       FRESNO, CA 93705             ACCOUNT NO.: NOT AVAILABLE


3.3595 DERUM, RICHARD                           VARIOUS                              Litigation              UNDETERMINED
       13605 SEIGLER CANYON
       LOWER LAKE, CA               ACCOUNT NO.: NOT AVAILABLE


3.3596 DERVENI, BURIM                           VARIOUS                              Litigation              UNDETERMINED
       1820 5THA VE
       203                          ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94606


3.3597 DESALLES, JESSICA                        VARIOUS                              Litigation              UNDETERMINED
       2108 S NORFOLK STREET
       SAN MATEO, CA 94403          ACCOUNT NO.: NOT AVAILABLE


3.3598 DESANTIAGO, CHRISTOPHER                  VARIOUS                              Litigation              UNDETERMINED
       1840 AMBRIDGE DRIVE
       ROSEVILLE, CA 95747          ACCOUNT NO.: NOT AVAILABLE


3.3599 DESANTIAGO, LINDA                        VARIOUS                              Litigation              UNDETERMINED
       P.O BOX 790
       GONZALES, CA 93926           ACCOUNT NO.: NOT AVAILABLE


3.3600 DESCHENES, MISTY                         VARIOUS                              Litigation              UNDETERMINED
       765 POPE DR
       D                            ACCOUNT NO.: NOT AVAILABLE
       VALLEJO, CA 94591


3.3601 DESERT OASIS COMMUNITY LLC               VARIOUS                              Litigation              UNDETERMINED
       1030 N ARMANDO STREET
       241 CISCO                    ACCOUNT NO.: NOT AVAILABLE
       RIDGECREST, CA 93555


3.3602 DESHAIES, MARIE                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 356
       BIG OAK FLAT, CA 95305       ACCOUNT NO.: NOT AVAILABLE


3.3603 DESILVA, ANTONIO                         VARIOUS                              Litigation              UNDETERMINED
       12130 NEW AVE #2
       SAN MARTIN, CA 95046         ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.3604 DESMOND, NORMA                           VARIOUS                              Litigation              UNDETERMINED
       1243 S SUNNYSIDE AVE
       FRESNO, CA 93727              ACCOUNT NO.: NOT AVAILABLE


3.3605 DESOUSA, CARLOS                          VARIOUS                              Litigation              UNDETERMINED
       3207 KEMPER ROAD
       3223 KEMPER ROAD              ACCOUNT NO.: NOT AVAILABLE
       FREMONT, CA 94536


3.3606 DETJENS, SHARON                          VARIOUS                              Litigation              UNDETERMINED
       230 WILLOW LAKE DRIVE
       MARTINEZ, CA 94553            ACCOUNT NO.: NOT AVAILABLE


3.3607 DETTLING FARMS-DETTLING,                 VARIOUS                              Litigation              UNDETERMINED
       BOB
       866 MCNEILL CIRCLE            ACCOUNT NO.: NOT AVAILABLE
       WOODLAND, CA 95695


3.3608 DETTLING, COLLEEN                        VARIOUS                              Litigation              UNDETERMINED
       2066 FOXHALL LOOP
       SAN JOSE, CA 95125            ACCOUNT NO.: NOT AVAILABLE


3.3609 DETTMAN, KATHLEEN                        VARIOUS                              Litigation              UNDETERMINED
       655 PEDRO AVE
       BEN LOMOND, CA 95005          ACCOUNT NO.: NOT AVAILABLE


3.3610 DETTRICK, KIMBERLAND                     VARIOUS                              Litigation              UNDETERMINED
       PO BOX 481
       7295 SIR FRANCIS DRAKE BLVD   ACCOUNT NO.: NOT AVAILABLE
       LAGUNITAS, CA 94938


3.3611 DETWEILER, ANTHONY                       VARIOUS                              Litigation              UNDETERMINED
       2780 COAST VIEW DR
       ARROYO GRANDE, CA 93420       ACCOUNT NO.: NOT AVAILABLE


3.3612 DETWEILER, STEPHEN                       VARIOUS                              Litigation              UNDETERMINED
       5625 E. BUTLER AVENUE
       FRESNO, CA 93727              ACCOUNT NO.: NOT AVAILABLE


3.3613 DETZEL, CHARLES                          VARIOUS                              Litigation              UNDETERMINED
       4545 DISCOVERY POINT
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.3614 DEVANEY ENGINEERING INC.,                VARIOUS                              Litigation              UNDETERMINED
       DEREK DEVANEY
       1641 LOMBARD STREET           ACCOUNT NO.: NOT AVAILABLE
       764 TAMARACK AVENUE, SAN
       CARLOS
       SAN FRANCISCO, CA 94123

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Litigation & Disputes

3.3615 DEVENUTA FAMILY LIVING                   VARIOUS                              Litigation              UNDETERMINED
       TRUST
       12547 LOMA RICA ROAD           ACCOUNT NO.: NOT AVAILABLE
       LOMA RICA, CA 95901


3.3616 DEVER, LORI                              VARIOUS                              Litigation              UNDETERMINED
       115 FLORENCE AVE.
       GRASS VALLEY, CA 95945         ACCOUNT NO.: NOT AVAILABLE


3.3617 DEVERICK, LACEY                          VARIOUS                              Litigation              UNDETERMINED
       20 VISTA DR
       SALINAS, CA 93907              ACCOUNT NO.: NOT AVAILABLE


3.3618 DEVIKA RESTAURANT INC. JAB               VARIOUS                              Litigation              UNDETERMINED
       3465-SAGAR, SUNITA
       44816 S GRIMMER BLVD           ACCOUNT NO.: NOT AVAILABLE
       FREMONT, CA 94538


3.3619 DEVLIN, KELLY                            VARIOUS                              Litigation              UNDETERMINED
       15275 BLUEBELL
       SONORA, CA 95370               ACCOUNT NO.: NOT AVAILABLE


3.3620 DEVORE, JAY                              VARIOUS                              Litigation              UNDETERMINED
       2745 AUSTIN CT
       LOS OSOS, CA 93402             ACCOUNT NO.: NOT AVAILABLE


3.3621 DEW, PETER                               VARIOUS                              Litigation              UNDETERMINED
       78 A EL RIO
       111 HITCKCOCK CYN              ACCOUNT NO.: NOT AVAILABLE
       CARMEL VALLEY, CA 93824


3.3622 DEWALD, PAMELA                           VARIOUS                              Litigation              UNDETERMINED
       1072 PRESIDIO RD
       PEBBLE BEACH, CA 93953         ACCOUNT NO.: NOT AVAILABLE


3.3623 DEWEERD, MEL                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 126
       365 BELVEDERE AVE              ACCOUNT NO.: NOT AVAILABLE
       STINSON BEACH, CA 94970-0126


3.3624 DEWEESE, DUANE J                         VARIOUS                              Litigation              UNDETERMINED
       16080 DAM RD
       APT C18                        ACCOUNT NO.: NOT AVAILABLE
       CLERLAKE, CA 95422




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Litigation & Disputes

3.3625 DEWITT, PAUL & JAYNE                     VARIOUS                              Litigation              UNDETERMINED
       7602 ASPEN PLACE
       LOT 21 ECHO SUMMIT RD. N, EL    ACCOUNT NO.: NOT AVAILABLE
       DORADO COUNTY, CA.
       NEWARK, CA 94560


3.3626 DEXTER, GREG                             VARIOUS                              Litigation              UNDETERMINED
       833 LESLIE RD
       HEALDSBURG, CA 95448            ACCOUNT NO.: NOT AVAILABLE


3.3627 DEXTER, MURIEL                           VARIOUS                              Litigation              UNDETERMINED
       15748 RANCHLAND DR
       REDDING, CA 96001               ACCOUNT NO.: NOT AVAILABLE


3.3628 DFT HOTELS INC-ZILOBAF, TONY         VARIOUS                                  Litigation              UNDETERMINED
       801 TRUXTUN AVE.
       BAKERSFIELD, CA 93301        ACCOUNT NO.: NOT AVAILABLE


3.3629 DHALIWAL & SANDHER INC                   VARIOUS                              Litigation              UNDETERMINED
       320 LINCOLN BLVD
       LINCOLN, CA 95648               ACCOUNT NO.: NOT AVAILABLE


3.3630 DHANANJAYAN, SARADHAMBAL                 VARIOUS                              Litigation              UNDETERMINED
       9025 ALCOSTA BLVD. APT. # 243
       SAN RAMON, CA 94583             ACCOUNT NO.: NOT AVAILABLE


3.3631 DHARIA, AJAY                             VARIOUS                              Litigation              UNDETERMINED
       196 MADISON AVE
       SAN BRUNO, CA 94066             ACCOUNT NO.: NOT AVAILABLE


3.3632 DHUNDALE, JENNIFER                       VARIOUS                              Litigation              UNDETERMINED
       2816 GRINNEL DRIVE
       DAVIS, CA 95618                 ACCOUNT NO.: NOT AVAILABLE


3.3633 DI MAGGIO, VINCENT S                     VARIOUS                              Litigation              UNDETERMINED
       86 WYNGAARD AVENUE
       PIEDMONT, CA 94611              ACCOUNT NO.: NOT AVAILABLE


3.3634 DIABLO WATER DISTRICT                    VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 127
       3990 MAIN STREET                ACCOUNT NO.: NOT AVAILABLE
       OAKLEY, CA 94561


3.3635 DIAL, LYNETTE                            VARIOUS                              Litigation              UNDETERMINED
       6640 KIM ANN LANE
       PRUNEDALE, CA 93907             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3636 DIAMOND D CONSTRUCTION,                  VARIOUS                              Litigation              UNDETERMINED
       INC-DETERDING, DIANE
       28614 ALTA VISTA DRIVE       ACCOUNT NO.: NOT AVAILABLE
       WINTERS, CA 95694


3.3637 DIAMOND GAS AND FOOD MART-         VARIOUS                                    Litigation              UNDETERMINED
       OMAR, MUSHTAQ
       824 E. YOSEMITE AVE        ACCOUNT NO.: NOT AVAILABLE
       MANTECA, CA 95366


3.3638 DIAMOND ICE, INC-PARRINO,                VARIOUS                              Litigation              UNDETERMINED
       ROBERT
       PO BOX 7444                  ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA 95267


3.3639 DIAMOND MOTORS-SADAKIAN,                 VARIOUS                              Litigation              UNDETERMINED
       ARMEN
       1217 SOUTH RAILROAD AVE.     ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94402


3.3640 DIAMOND MOTORS-SADAKIAN,                 VARIOUS                              Litigation              UNDETERMINED
       ARMEN
       1217 SOUTH RAILROAD AVE.     ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94402


3.3641 DIAMOND PETROLEUM INC,                   VARIOUS                              Litigation              UNDETERMINED
       RIZKALLAH, EDGAR
       3400 WILLOW PASS ROAD        ACCOUNT NO.: NOT AVAILABLE
       CONCORD, CA 94519


3.3642 DIAMOND WEST FARMING CO,                 VARIOUS                              Litigation              UNDETERMINED
       INC., MARISSA WINCHESTER
       935 RIVERSIDE AVENUE         ACCOUNT NO.: NOT AVAILABLE
       SUITE 15
       PASO ROBLES, CA 93446


3.3643 DIAMOND WEST FARMING CO,                 VARIOUS                              Litigation              UNDETERMINED
       INC., MARISSA WINCHESTER
       935 RIVERSIDE AVENUE         ACCOUNT NO.: NOT AVAILABLE
       SUITE 15
       PASO ROBLES, CA 93446


3.3644 DIAMOND WEST FARMING CO,                 VARIOUS                              Litigation              UNDETERMINED
       INC.-SRAN, SUKHY
       935 RIVERSIDE AVENUE         ACCOUNT NO.: NOT AVAILABLE
       SUITE 15
       PASO ROBLES, CA 93446




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Litigation & Disputes

3.3645 DIAMOND WEST FARMING CO,                 VARIOUS                              Litigation              UNDETERMINED
       INC.-WINCHESTER, MARISSA
       PO BOX 722                    ACCOUNT NO.: NOT AVAILABLE
       PASO ROBLES, CA 93447


3.3646 DIAMOND WEST FARMING, INC.-              VARIOUS                              Litigation              UNDETERMINED
       WINCHESTER, MARISSA
       PO BOX 722                    ACCOUNT NO.: NOT AVAILABLE
       PASO ROBLES, CA 93447


3.3647 DIAMOND WEST FARMING-                    VARIOUS                              Litigation              UNDETERMINED
       WINCHESTER, MARISSA
       PO BOX 722                    ACCOUNT NO.: NOT AVAILABLE
       PASO ROBLES, CA 93447


3.3648 DIAMOND WEST FARMING-                    VARIOUS                              Litigation              UNDETERMINED
       WINCHESTER, MARISSA
       PO BOX 722                    ACCOUNT NO.: NOT AVAILABLE
       PASO ROBLES, CA 93447


3.3649 DIAMOND, JEFFREY                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 4543
       2308 BUCKLEBURY RD            ACCOUNT NO.: NOT AVAILABLE
       DAVIS, CA 95617


3.3650 DIAMONDBACK ENTERPRISE                   VARIOUS                              Litigation              UNDETERMINED
       INC, OSTROM
       4500 E FREMONT STREET         ACCOUNT NO.: NOT AVAILABLE
       6849 COX ROAD
       LINDEN, CA 95236


3.3651 DIANE FEARN GREEN CPA-                   VARIOUS                              Litigation              UNDETERMINED
       GREEN, DIANE
       25613 SHAFTER WAY             ACCOUNT NO.: NOT AVAILABLE
       CARMEL, CA 93923


3.3652 DIAS, CHANAKA                            VARIOUS                              Litigation              UNDETERMINED
       206 PINOT COURT
       SAN JOSE, CA 95119            ACCOUNT NO.: NOT AVAILABLE


3.3653 DIAS, KAREN                              VARIOUS                              Litigation              UNDETERMINED
       108 WINFIELD WAY
       APTOS, CA 95003               ACCOUNT NO.: NOT AVAILABLE


3.3654 DIAZ HERNANDEZ, GLORIA                   VARIOUS                              Litigation              UNDETERMINED
       1315 REGINA AVE.
       SAN PABLO, CA 94806           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3655 DIAZ, ANA                                 VARIOUS                              Litigation              UNDETERMINED
       919 CASTRO LN APT C
       BAKERSFIELD, CA 93304         ACCOUNT NO.: NOT AVAILABLE


3.3656 DIAZ, ANA                                 VARIOUS                              Litigation              UNDETERMINED
       1230 E ALISAL STREET
       SALINAS, CA 93905             ACCOUNT NO.: NOT AVAILABLE


3.3657 DIAZ, ANTHONY                             VARIOUS                              Litigation              UNDETERMINED
       17800 COUNTRYSIDE CT
       PRUNEDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.3658 DIAZ, ARMANDO                             VARIOUS                              Litigation              UNDETERMINED
       2830 G STREET SUITE B
       MERCED, CA 95340              ACCOUNT NO.: NOT AVAILABLE


3.3659 DIAZ, BETHANY                             VARIOUS                              Litigation              UNDETERMINED
       355 RAYMOND AVE
       SANTA MARIA, CA 93455         ACCOUNT NO.: NOT AVAILABLE


3.3660 DIAZ, ERNESTO                             VARIOUS                              Litigation              UNDETERMINED
       1394 PAJARO AVE, APT# 16
       MANTECA, CA 95336             ACCOUNT NO.: NOT AVAILABLE


3.3661 DIAZ, JESUS                               VARIOUS                              Litigation              UNDETERMINED
       321 LESLIE AVENUE
       STOCKTON, CA 95207            ACCOUNT NO.: NOT AVAILABLE


3.3662 DIAZ, JORGE                               VARIOUS                              Litigation              UNDETERMINED
       2073 SANTA RITA STREET
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.3663 DIAZ, JOSEPHINA                           VARIOUS                              Litigation              UNDETERMINED
       709 CARSON ST
       COLUSA, CA 95932              ACCOUNT NO.: NOT AVAILABLE


3.3664 DIAZ, MARGARITO                           VARIOUS                              Litigation              UNDETERMINED
       263 E MILGEO AVE
       RIPON, CA 95366               ACCOUNT NO.: NOT AVAILABLE


3.3665 DIAZ, ROBERT AND MARIA                    VARIOUS                              Litigation              UNDETERMINED
       1132 GINA WAY
       OAKDALE, CA 95361             ACCOUNT NO.: NOT AVAILABLE


3.3666 DIAZ, THOMAS                              VARIOUS                              Litigation              UNDETERMINED
       5968 JOSHUA TRAIL
       CAMARILLO, CA 93012           ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.3667 DIAZ, UBALDO                             VARIOUS                              Litigation              UNDETERMINED
       262 EBBETTS PASS RD
       VALLEJO, CA 94589            ACCOUNT NO.: NOT AVAILABLE


3.3668 DIAZ, VINCENT                            VARIOUS                              Litigation              UNDETERMINED
       1701 MADRID CIRCLE
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.3669 DIBUDUO & DEFENDIS-SMITH,                VARIOUS                              Litigation              UNDETERMINED
       CHRISTINE
       10897 N. BURGAN AVE          ACCOUNT NO.: NOT AVAILABLE
       CLOVIS, CA 93619


3.3670 DICKERMAN, CALVIN                        VARIOUS                              Litigation              UNDETERMINED
       4401 DRIFTWOOD CT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.3671 DICKERSON, GARY                          VARIOUS                              Litigation              UNDETERMINED
       4124 HAZEL ST
       OLIVEHURST, CA 95961         ACCOUNT NO.: NOT AVAILABLE


3.3672 DICKERSON, KASSANDRA                     VARIOUS                              Litigation              UNDETERMINED
       7000 KASHA LANE
       GARDEN VALLEY, CA 95633      ACCOUNT NO.: NOT AVAILABLE


3.3673 DICKEY, JAMES                            VARIOUS                              Litigation              UNDETERMINED
       107 LITTLEFIELD ROAD
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.3674 DICKIE, DARRYL                           VARIOUS                              Litigation              UNDETERMINED
       2790 CLAY ROAD
       MCKINLEYVILLE, CA 95519      ACCOUNT NO.: NOT AVAILABLE


3.3675 DICKINSON, AMY                           VARIOUS                              Litigation              UNDETERMINED
       240 BEEGUM WAY
       SAN JOSE, CA 95123           ACCOUNT NO.: NOT AVAILABLE


3.3676 DICKINSON, PETER                         VARIOUS                              Litigation              UNDETERMINED
       28559 ALTA VISTA
       WINTERS, CA 95694            ACCOUNT NO.: NOT AVAILABLE


3.3677 DICKSON, CATHERINE                       VARIOUS                              Litigation              UNDETERMINED
       110 TRAVALINI COURT
       EL SOBRANTE, CA 94803        ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3678 DICKSON, SHAWNEE                         VARIOUS                              Litigation              UNDETERMINED
       6278 BURNEY LN
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.3679 DIEC, CUONG                              VARIOUS                              Litigation              UNDETERMINED
       1433 SILLMAN STREET
       SAN FRANCISCO, CA 94134      ACCOUNT NO.: NOT AVAILABLE


3.3680 DIEMER, DAN                              VARIOUS                              Litigation              UNDETERMINED
       2924 PIGEON POINT ROAD
       APT/SUITE                    ACCOUNT NO.: NOT AVAILABLE
       EUREKA, CA 95503


3.3681 DIEMER, DENNIS                           VARIOUS                              Litigation              UNDETERMINED
       1575 RANCHO VIEW DR
       LAFAYETTE, CA 94549          ACCOUNT NO.: NOT AVAILABLE


3.3682 DIER, MARK                               VARIOUS                              Litigation              UNDETERMINED
       2260 BACON ST
       CONCORD, CA 94520            ACCOUNT NO.: NOT AVAILABLE


3.3683 DIFFENDERFER, JOANN                      VARIOUS                              Litigation              UNDETERMINED
       7082 KARMA LANE
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.3684 DIFFERDING, KATHLEEN                     VARIOUS                              Litigation              UNDETERMINED
       12776 DU PONT RD
       SEBASTOPOL, CA 95472         ACCOUNT NO.: NOT AVAILABLE


3.3685 DIFRONZO, JOE                            VARIOUS                              Litigation              UNDETERMINED
       891 PRICE ST.
       PISMO BEACH, CA 93449        ACCOUNT NO.: NOT AVAILABLE


3.3686 DIFRONZO, JOE                            VARIOUS                              Litigation              UNDETERMINED
       891 PRICE ST.
       PISMO BEACH, CA 93449        ACCOUNT NO.: NOT AVAILABLE


3.3687 DIGITAL MORTAR-GROSS,                    VARIOUS                              Litigation              UNDETERMINED
       JESSE
       110 SANTA CRUZ AVE.          ACCOUNT NO.: NOT AVAILABLE
       SAN ANSELMO, CA 94960


3.3688 DIGRAZIA, DEBRA                          VARIOUS                              Litigation              UNDETERMINED
       2240 SPRING VALLEY RD
       CLEARLAKE OAKS, CA 95423     ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3689 DIHN, DAWN                               VARIOUS                              Litigation              UNDETERMINED
       659 N 3RD ST APT 2
       SAN JOSE, CA 95112           ACCOUNT NO.: NOT AVAILABLE


3.3690 DILA FURNITURE INC., DIEP                VARIOUS                              Litigation              UNDETERMINED
       PHAN
       1150 W. 11TH STREET          ACCOUNT NO.: NOT AVAILABLE
       TRACY, CA 95376


3.3691 DILL, DAVID                              VARIOUS                              Litigation              UNDETERMINED
       630 PARK ROAD
       REDWOOD CITY, CA 94062       ACCOUNT NO.: NOT AVAILABLE


3.3692 DILLARD, JACQUELINE                      VARIOUS                              Litigation              UNDETERMINED
       27514 CEDAR COURT
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.3693 DILLARD, THERESA                         VARIOUS                              Litigation              UNDETERMINED
       1112 GLENN AVE
       SAN JOSE, CA 95125           ACCOUNT NO.: NOT AVAILABLE


3.3694 DILLER, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
       800 LAGUNITA DRIVE
       SOQUEL, CA 95073             ACCOUNT NO.: NOT AVAILABLE


3.3695 DILLON, JAMES & PATRICIA                 VARIOUS                              Litigation              UNDETERMINED
       11200 SCARLET OAK DRIVE
       OAKDALE, CA 95361            ACCOUNT NO.: NOT AVAILABLE


3.3696 DILLON, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       301 MISSION ST
       47 C                         ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94105


3.3697 DIMAIO, CHARLES                    VARIOUS                                    Litigation              UNDETERMINED
       PO BOX 382
       MONTGOMERY CREEK, CA 96065 ACCOUNT NO.: NOT AVAILABLE


3.3698 DIMALANTA, MARC                          VARIOUS                              Litigation              UNDETERMINED
       624
       LOMITA                       ACCOUNT NO.: NOT AVAILABLE
       MILLBRAE, CA 94030


3.3699 DIMAS ARRIAGA, CESAR                     VARIOUS                              Litigation              UNDETERMINED
       25 VILLA ST.
       SALINAS, CA 93901            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3700 DIMICH, STACEY                            VARIOUS                              Litigation              UNDETERMINED
       6450 VIA DEL ORO
       SAN JOSE, CA 95119             ACCOUNT NO.: NOT AVAILABLE


3.3701 DIMMICK, RAY * ANGELA                     VARIOUS                              Litigation              UNDETERMINED
       P.O BOX 803
       3940 STATE HIGHWAY 20          ACCOUNT NO.: NOT AVAILABLE
       BROWNS VALLEY, CA 95992


3.3702 DINKINS, BEVERLY                          VARIOUS                              Litigation              UNDETERMINED
       1470 DRAKE WAY
       SAN PABLO, CA 94806            ACCOUNT NO.: NOT AVAILABLE


3.3703 DINOS MARKET-NICOLAIDES,                  VARIOUS                              Litigation              UNDETERMINED
       DEAN
       10336 LOCH LOMOND RD           ACCOUNT NO.: NOT AVAILABLE
       122
       MIDDLETOWN, CA 95461


3.3704 DINSDALE, RACHELLE                        VARIOUS                              Litigation              UNDETERMINED
       548 SHADY GLEN AVE
       VACAVILLE, CA 95688            ACCOUNT NO.: NOT AVAILABLE


3.3705 DINSMORE, CAROL                           VARIOUS                              Litigation              UNDETERMINED
       9325 CHAPARRAL DR
       REDDING, CA 96001              ACCOUNT NO.: NOT AVAILABLE


3.3706 DINUBA PRESBYTERIAN                       VARIOUS                              Litigation              UNDETERMINED
       CHURCH - AVILA, KATIE
       1250 E NEBRASKA AVE            ACCOUNT NO.: NOT AVAILABLE
       DINUBA, CA 93618


3.3707 DINUZZO DBA MIKE'S PIZZERIA,              VARIOUS                              Litigation              UNDETERMINED
       PETER DINUZZO
       3228 N. WEST AVE.              ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93705


3.3708 DINWIDDLE, JACKSON                        VARIOUS                              Litigation              UNDETERMINED
       50025 HAMPSHIRE ROAD
       SODA SPRINGS, CA 95728         ACCOUNT NO.: NOT AVAILABLE


3.3709 DIONNE, JENNIFER                          VARIOUS                              Litigation              UNDETERMINED
       2721 HIDDEN VALLEY DR
       SANTA ROSA, CA 95404           ACCOUNT NO.: NOT AVAILABLE


3.3710 DIOSI, DAVID                              VARIOUS                              Litigation              UNDETERMINED
       6712 MELLON COURT
       BAKERSFIELD, CA 93308          ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.3711 DIPENTIMA, KYLE                          VARIOUS                              Litigation              UNDETERMINED
       290 TAMARISK DRIVE
       WALNUT CREEK, CA 94598       ACCOUNT NO.: NOT AVAILABLE


3.3712 DIRK FULTON INVESTMENTS,                 VARIOUS                              Litigation              UNDETERMINED
       DIRK FULTON
       2158 COLUMBUS PARKWAY        ACCOUNT NO.: NOT AVAILABLE
       BENICIA, CA 94510


3.3713 DIRKSEN, JAMES/JOAN                      VARIOUS                              Litigation              UNDETERMINED
       25608 CREEKVIEW CIRCLE
       SALINAS, CA 93908            ACCOUNT NO.: NOT AVAILABLE


3.3714 DIRTY GIRLS DONUTS-                      VARIOUS                              Litigation              UNDETERMINED
       WONDOLLECK, MARISSA
       PO BOX 312                   ACCOUNT NO.: NOT AVAILABLE
       COBB, CA 95426


3.3715 DISCOVERY BAY YACHT                      VARIOUS                              Litigation              UNDETERMINED
       HARBOR
       5901 MARINA RD # 1           ACCOUNT NO.: NOT AVAILABLE
       DISCOVERY BAY, CA 94505


3.3716 DISHMAN, JOYCE                           VARIOUS                              Litigation              UNDETERMINED
       3413 ASLIN STREET
       BAKERSFIELD, CA 93312        ACCOUNT NO.: NOT AVAILABLE


3.3717 DITTES, MARILYN                          VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1306
       MILLBRAE, CA 94030           ACCOUNT NO.: NOT AVAILABLE


3.3718 DITTMAN, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1365
       CLEARLAKE, CA 95422          ACCOUNT NO.: NOT AVAILABLE


3.3719 DITTNER, CHRIS                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 40
       RED BLUFF, CA 96080          ACCOUNT NO.: NOT AVAILABLE


3.3720 DITTY, MICHAEL                           VARIOUS                              Litigation              UNDETERMINED
       898 NEVADA AVE
       SAN JOSE, CA 95125           ACCOUNT NO.: NOT AVAILABLE


3.3721 DIVERS, ANTHONY                          VARIOUS                              Litigation              UNDETERMINED
       2247 SHASTA DR.
       MARTINEZ, CA 94553           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.3722 DIVINE, DAN                              VARIOUS                              Litigation              UNDETERMINED
       22 SHEPHERDS KNLS
       PEBBLE BEACH, CA 93953       ACCOUNT NO.: NOT AVAILABLE


3.3723 DIWA, FELIX                              VARIOUS                              Litigation              UNDETERMINED
       2241 PITTSBURG
       PITTSBERG, CA 94565          ACCOUNT NO.: NOT AVAILABLE


3.3724 DIXON, AMANDA                            VARIOUS                              Litigation              UNDETERMINED
       306 HERMAN CIR
       AUBURN, CA 95603             ACCOUNT NO.: NOT AVAILABLE


3.3725 DIXON, BRUCE                             VARIOUS                              Litigation              UNDETERMINED
       19604 MELLA DRIVE
       VOLCANO, CA 95689            ACCOUNT NO.: NOT AVAILABLE


3.3726 DIXON, CITY OF                           VARIOUS                              Litigation              UNDETERMINED
       600 EAST A STREET
       ATTN DEBORAH BARR            ACCOUNT NO.: NOT AVAILABLE
       DIXON, CA 95620


3.3727 DIXON, JON                               VARIOUS                              Litigation              UNDETERMINED
       116 CARDINAL LN
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.3728 DIXON, KAREN                             VARIOUS                              Litigation              UNDETERMINED
       8177 GREEN ACRES LN
       REDDING, CA 96002            ACCOUNT NO.: NOT AVAILABLE


3.3729 DIXON, KATHLEEN                          VARIOUS                              Litigation              UNDETERMINED
       6647 E HARNEY LN
       LODI, CA 95240               ACCOUNT NO.: NOT AVAILABLE


3.3730 DIXON, LARRY                             VARIOUS                              Litigation              UNDETERMINED
       40856 WILD IRIS LANE
       SHAVER LAKE, CA 93664        ACCOUNT NO.: NOT AVAILABLE


3.3731 DIXON, MELVIN                            VARIOUS                              Litigation              UNDETERMINED
       5049 SHIRLEY WAY
       LIVERMORE, CA 94550          ACCOUNT NO.: NOT AVAILABLE


3.3732 DIXON, RYAN                              VARIOUS                              Litigation              UNDETERMINED
       2103 SOUTH CHESTER AVE
       8                            ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93304




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Litigation & Disputes

3.3733 DIZO CLEANERS-VU, THUAN                  VARIOUS                              Litigation              UNDETERMINED
       2114 SENTER RD
       13                           ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95112


3.3734 DMES, INC., BRENDA NEVES                 VARIOUS                              Litigation              UNDETERMINED
       2427 STATION DRIVE
       STOCKTON, CA 95215           ACCOUNT NO.: NOT AVAILABLE


3.3735 DMG MORI-JOSE, DANIEL                    VARIOUS                              Litigation              UNDETERMINED
       3805 FARADAY AVE
       DAVIS, CA 95618              ACCOUNT NO.: NOT AVAILABLE


3.3736 DMG MORI-MATSUURA, NORI                  VARIOUS                              Litigation              UNDETERMINED
       3805 FARADAY AVE.
       DAVIS, CA 65618              ACCOUNT NO.: NOT AVAILABLE


3.3737 DOAN, DAVID                              VARIOUS                              Litigation              UNDETERMINED
       10080 BON VISTA CT.
       SAN JOSE, CA 95127           ACCOUNT NO.: NOT AVAILABLE


3.3738 DOAN, TUAN                               VARIOUS                              Litigation              UNDETERMINED
       112 WISCONSIN AVENUE
       WOODLAND, CA 95695           ACCOUNT NO.: NOT AVAILABLE


3.3739 DOANE, RON & PAIGE                       VARIOUS                              Litigation              UNDETERMINED
       19645 DRAPER ROAD
       COTTONWOOD, CA 96022         ACCOUNT NO.: NOT AVAILABLE


3.3740 DOBBAS SPRING WATER-                     VARIOUS                              Litigation              UNDETERMINED
       DOBBAS, PAMELA
       8260 HUBBARD RD              ACCOUNT NO.: NOT AVAILABLE
       AUBURN, CA 95602


3.3741 DOBBINS, KATE                            VARIOUS                              Litigation              UNDETERMINED
       3508 KEMPTON WAY
       OAKLAND, CA 94611            ACCOUNT NO.: NOT AVAILABLE


3.3742 DOBLE, DANIEL                            VARIOUS                              Litigation              UNDETERMINED
       4727 CUMMINGS RD
       EUREKA, CA 95503             ACCOUNT NO.: NOT AVAILABLE


3.3743 DOBLER, TIMOTHY                          VARIOUS                              Litigation              UNDETERMINED
       1401
       KNOB HILL RD                 ACCOUNT NO.: NOT AVAILABLE
       UKIAH, CA 95482




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Litigation & Disputes

3.3744 DOBSON, CARMELLA                          VARIOUS                              Litigation              UNDETERMINED
       8003 NARROWS LN
       REDDING, CA 96001             ACCOUNT NO.: NOT AVAILABLE


3.3745 DOBSON, CARMELLA                          VARIOUS                              Litigation              UNDETERMINED
       8003 NARROWS LN
       REDDING, CA 96001             ACCOUNT NO.: NOT AVAILABLE


3.3746 DOCTO, ARTHUR                             VARIOUS                              Litigation              UNDETERMINED
       4630 CARMEN WAY
       UNION CITY, CA 94587          ACCOUNT NO.: NOT AVAILABLE


3.3747 DODD, DARIUS                              VARIOUS                              Litigation              UNDETERMINED
       1404 PLYMOUTH LANE
       ANTIOCH, CA 94509             ACCOUNT NO.: NOT AVAILABLE


3.3748 DODD, SHARON                              VARIOUS                              Litigation              UNDETERMINED
       HWY 41 & RD 204 - TESORO
       VIEJO DEVELOPMENT             ACCOUNT NO.: NOT AVAILABLE
       7020 N. VAN NESS BLVD.
       FRESNO, CA 93711


3.3749 DODGE, BEVERLY                            VARIOUS                              Litigation              UNDETERMINED
       795 OXEN ST
       PASO ROBLES, CA 93446         ACCOUNT NO.: NOT AVAILABLE


3.3750 DODGE, JENEEN                             VARIOUS                              Litigation              UNDETERMINED
       1549 BRUCE ST. APT. B
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


3.3751 DODGE, MARY                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 472
       COULTERVILLE, CA 95311        ACCOUNT NO.: NOT AVAILABLE


3.3752 DODSON, NICHOLE                           VARIOUS                              Litigation              UNDETERMINED
       203 GLENWOOD RD.,
       P.O. BOX 1396                 ACCOUNT NO.: NOT AVAILABLE
       GRASS VALLEY, CA 95945


3.3753 DODSON, RICARDO V. PG&E                   VARIOUS                              Litigation              UNDETERMINED
       1825 GALINDO STREET #106
       CONCORD, CA 94520             ACCOUNT NO.: NOT AVAILABLE


3.3754 DODSON, SHEILA                            VARIOUS                              Litigation              UNDETERMINED
       701 CAPITOL STREET
       VALLEJO, CA 94590             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3755 DOELGER SENIOR CENTER                    VARIOUS                              Litigation              UNDETERMINED
       CITY OF DALY CITY-CURRAN,
       JOSEPH                       ACCOUNT NO.: NOT AVAILABLE
       111 LAKE MERCED BLVD RM 9
       DALY CITY, CA 94015


3.3756 DOERING, GEORGE                          VARIOUS                              Litigation              UNDETERMINED
       4583 HIGHWAY 99
       OROVILLE, CA 95965           ACCOUNT NO.: NOT AVAILABLE


3.3757 DOG SCOUTS OF AMERICA-                   VARIOUS                              Litigation              UNDETERMINED
       SPRAGUE, WENDY
       2795 CANTOR DRIVE            ACCOUNT NO.: NOT AVAILABLE
       MORGAN HILL, CA 95037


3.3758 DOGAN, EBRU                              VARIOUS                              Litigation              UNDETERMINED
       1410 STEINER STREET # 202
       SAN FRANCISCO, CA 94115      ACCOUNT NO.: NOT AVAILABLE


3.3759 DOHERTY, JENNIFER                        VARIOUS                              Litigation              UNDETERMINED
       13200 COLONY AVE
       SAN MARTIN, CA 95046         ACCOUNT NO.: NOT AVAILABLE


3.3760 DOHERTY, STEVE                           VARIOUS                              Litigation              UNDETERMINED
       220 HAIGHT ST
       MENLO PARK, CA 94025         ACCOUNT NO.: NOT AVAILABLE


3.3761 DOHLEN, HOWARD                           VARIOUS                              Litigation              UNDETERMINED
       2265 YORKSHIRE DR
       CAMBRIA, CA 93428            ACCOUNT NO.: NOT AVAILABLE


3.3762 DOHRMANN, KAREN                          VARIOUS                              Litigation              UNDETERMINED
       1352 SCIORTINO CCT
       BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.3763 DOIG, DUANE                              VARIOUS                              Litigation              UNDETERMINED
       17409 ISLAND DR
       MADERA, CA 93636             ACCOUNT NO.: NOT AVAILABLE


3.3764 DOLAN, JAMES                             VARIOUS                              Litigation              UNDETERMINED
       764 ALEXANDER VALLEY RD
       HEALDSBURG, CA 95448         ACCOUNT NO.: NOT AVAILABLE


3.3765 DOLAN, ORRIN                             VARIOUS                              Litigation              UNDETERMINED
       680 MONADELLA STREET
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3766 DOLAN, ROBERT                             VARIOUS                              Litigation              UNDETERMINED
       1001 STATE HWY 49
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.3767 D'OLIVEIRA, REINALDO                      VARIOUS                              Litigation              UNDETERMINED
       GUADALUPE 3NE 5TH
       CARMEL, CA 93923              ACCOUNT NO.: NOT AVAILABLE


3.3768 DOLLAR PLUS MART, MUAAD                   VARIOUS                              Litigation              UNDETERMINED
       ALGAAD
       612 COTTONWOOD DRIVE          ACCOUNT NO.: NOT AVAILABLE
       SUITE A
       BAKERSFIELD, CA 93307


3.3769 DOMBROWSKI, BOB                           VARIOUS                              Litigation              UNDETERMINED
       1440 GREAT HERON DR
       SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.3770 DOMBY, JAQUELINE                          VARIOUS                              Litigation              UNDETERMINED
       2709 DEBBIE CT
       SAN CARLOS, CA 94070          ACCOUNT NO.: NOT AVAILABLE


3.3771 DOMINGO, FREDDIE                          VARIOUS                              Litigation              UNDETERMINED
       22 EDGEMONT DRIVE
       DALY CITY, CA 94015           ACCOUNT NO.: NOT AVAILABLE


3.3772 DOMINGOS, GARY                            VARIOUS                              Litigation              UNDETERMINED
       106 GLEASON WAY
       SANTA CRUZ, CA 95060          ACCOUNT NO.: NOT AVAILABLE


3.3773 DOMINGUEZ, LAWRENCE                       VARIOUS                              Litigation              UNDETERMINED
       129 LOMITAS AVENUE
       SOUTH SAN FRANCISCO, CA       ACCOUNT NO.: NOT AVAILABLE
       94080-4141


3.3774 DOMINGUEZ, MARIA                          VARIOUS                              Litigation              UNDETERMINED
       680 NORTH, BY OLYMPIC BLVD.
       1235 AMBERSTONE LANE, SAN     ACCOUNT NO.: NOT AVAILABLE
       RAMON, CA., 94582
       WALNUT CREEK, CA


3.3775 DOMINGUEZ, RAFAEL F AND                   VARIOUS                              Litigation              UNDETERMINED
       MARIA G
       823 6TH ST                    ACCOUNT NO.: NOT AVAILABLE
       LIVINGSTON, CA 95334


3.3776 DOMINQUEZ, YASMIN                         VARIOUS                              Litigation              UNDETERMINED
       3901 PROSSER STREET
       SACRAMENTO, CA 95691          ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                           Account Number                              Claim

Litigation & Disputes

3.3777 DOMO JAPANESE SUSHI GRILL                  VARIOUS                              Litigation              UNDETERMINED
       & BAR, INC.-HA, DUYEN
       300 LINCOLN CENTER             ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA 95207


3.3778 DON AND GERRY BEERS (IO)                   VARIOUS                              Litigation              UNDETERMINED
       42 LOWER CRESCENT AVE.
       SAUSALITO, CA 94965            ACCOUNT NO.: NOT AVAILABLE


3.3779 DON PICKETT & ASSOCIATES,                  VARIOUS                              Litigation              UNDETERMINED
       INC., MARC HUTCHINSON
       7395 N PALM BLUFFS AVE,        ACCOUNT NO.: NOT AVAILABLE
       SUITE 101,
       FRESNO, CA 93711


3.3780 DON RIGGIO SCHOOL/LINCOLN                  VARIOUS                              Litigation              UNDETERMINED
       UNIFIED SCHOOL DIST-LIPNICK,
       CAROLYN                        ACCOUNT NO.: NOT AVAILABLE
       2010 W. SWAIN ROAD
       STOCKTON, CA 95207


3.3781 DONAHUE, ETHELYN                           VARIOUS                              Litigation              UNDETERMINED
       1350 S MAIN ST UNIT 27
       LAKEPORT, CA 95453             ACCOUNT NO.: NOT AVAILABLE


3.3782 DONAHUE, MARK                              VARIOUS                              Litigation              UNDETERMINED
       5114 YOSEMITE OAKS RD.
       MARIPOSA, CA 95338             ACCOUNT NO.: NOT AVAILABLE


3.3783 DONAHUE, MARK                              VARIOUS                              Litigation              UNDETERMINED
       5114 YOSEMITE OAKS RD.
       MARIPOSA, CA 95338             ACCOUNT NO.: NOT AVAILABLE


3.3784 DONAHUE, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1066
       529 SHEEP RANCH ROAD           ACCOUNT NO.: NOT AVAILABLE
       MURPHYS, CA 95247


3.3785 DONAHUE, THOMAS                            VARIOUS                              Litigation              UNDETERMINED
       1989 CHOCTAW DR/P O BOX
       4111                           ACCOUNT NO.: NOT AVAILABLE
       DORRINGTON/ARNOLD, CA
       95223


3.3786 DONALD, DEBBIE                             VARIOUS                              Litigation              UNDETERMINED
       4420 FIRST ST
       PLEASANTON, CA 94566           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3787 DONALD, VICTORIA                         VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1789
       PEBBLE BEACH, CA 93953       ACCOUNT NO.: NOT AVAILABLE


3.3788 DONALDSON, JOAN                          VARIOUS                              Litigation              UNDETERMINED
       297 MARKS DR
       HOLLISTER, CA 95023          ACCOUNT NO.: NOT AVAILABLE


3.3789 DONALDSON, SARI                          VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 73
       171 MARKET ST.               ACCOUNT NO.: NOT AVAILABLE
       STONYFORD, CA 95979


3.3790 DONG, WILLIAM                            VARIOUS                              Litigation              UNDETERMINED
       3028 MAUNA LOA COURT
       SAN JOSE, CA 95132           ACCOUNT NO.: NOT AVAILABLE


3.3791 DONLEY, ROBERT & PATRICIA                VARIOUS                              Litigation              UNDETERMINED
       19750 BUTTS CANYON RD.
       MIDDLETOWN, CA 95461         ACCOUNT NO.: NOT AVAILABLE


3.3792 DONNELLY, ERIC                           VARIOUS                              Litigation              UNDETERMINED
       979 PACIFIC ST
       MORRO BAY, CA 93442          ACCOUNT NO.: NOT AVAILABLE


3.3793 DONNER SKI RANCH DONNER                  VARIOUS                              Litigation              UNDETERMINED
       SUMMIT RESORTS-TUTTLE,
       MARSHALL                     ACCOUNT NO.: NOT AVAILABLE
       P.O. BOX 18
       TAHOE VISTA, CA 96148


3.3794 DONNY C. WONG                            VARIOUS                              Litigation              UNDETERMINED
       22737 CANYON COURT
       CASTRO VALLEY, CA 94552      ACCOUNT NO.: NOT AVAILABLE


3.3795 DONOVAN, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       829 18TH ST
       APT D                        ACCOUNT NO.: NOT AVAILABLE
       ARCATA, CA 95521


3.3796 DONSKY, AARON                            VARIOUS                              Litigation              UNDETERMINED
       1300 CREEKSIDE DRIVE
       APT 301                      ACCOUNT NO.: NOT AVAILABLE
       WALNUT CREEK, CA 94596


3.3797 DOOLING, LANE                            VARIOUS                              Litigation              UNDETERMINED
       384 MILLER CREEK ROAD
       SAN RAFAEL, CA 94903         ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.3798 DOOLITTLE, LEXI                           VARIOUS                              Litigation              UNDETERMINED
       BOX 23
       2                              ACCOUNT NO.: NOT AVAILABLE
       BURNT RANCH, CA 95527


3.3799 DOOLY, ROBERTA                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 588
       BIG BAR, CA 96010              ACCOUNT NO.: NOT AVAILABLE


3.3800 DOR, MOSTAFA                              VARIOUS                              Litigation              UNDETERMINED
       1049 SILVERHILL DRIVE
       LAFAYETTE, CA 94549            ACCOUNT NO.: NOT AVAILABLE


3.3801 DORAN, DOTY                               VARIOUS                              Litigation              UNDETERMINED
       11901 KANAKA VALLEY RD
       SUTTER CREEK, CA 95685         ACCOUNT NO.: NOT AVAILABLE


3.3802 DORAN, MICHAEL                            VARIOUS                              Litigation              UNDETERMINED
       226 DEL MONTE AVE
       SOUTH SAN FRANCISCO, CA        ACCOUNT NO.: NOT AVAILABLE
       94080


3.3803 DOREN ROBBINS, FARMERS                    VARIOUS                              Litigation              UNDETERMINED
       INSURANCE SUBROGEE FOR
       P.O. BOX 268992                ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA CITY, CA 73126-8992


3.3804 DORON CONSULTING-DORON,                   VARIOUS                              Litigation              UNDETERMINED
       DANA
       290 SAN CARLOS ST              ACCOUNT NO.: NOT AVAILABLE
       APT 4
       SAN FRANCISCO, CA 94110


3.3805 DORRINGTON REALTY, LINDA                  VARIOUS                              Litigation              UNDETERMINED
       PAYTON
       PO BOX 4432                    ACCOUNT NO.: NOT AVAILABLE
       DORRINGTON, CA 95223


3.3806 DORSA, JUDITH                             VARIOUS                              Litigation              UNDETERMINED
       5557 STREAM WAY
       SOMERSET, CA 95684             ACCOUNT NO.: NOT AVAILABLE


3.3807 DORSEY, KRISTY                            VARIOUS                              Litigation              UNDETERMINED
       2208 LAKE STREET, APT A
       BAKERSFIELD, CA 93306          ACCOUNT NO.: NOT AVAILABLE


3.3808 DORTO, CHRIS                              VARIOUS                              Litigation              UNDETERMINED
       1365 SAN MIGUEL
       WATSONVILLE, CA 95076          ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.3809 DOS PALOS ORO LOMA JT                    VARIOUS                              Litigation              UNDETERMINED
       UNIFIED
       2041 ALMOND STREET           ACCOUNT NO.: NOT AVAILABLE
       DOS PALOS, CA 93620


3.3810 DOSS, DENISE                             VARIOUS                              Litigation              UNDETERMINED
       9171 UPPER LAKE LUCERNE RD
       UPPER LAKE, CA 95485         ACCOUNT NO.: NOT AVAILABLE


3.3811 DOSS, DONNA                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 7091
       108 FIRST STREET             ACCOUNT NO.: NOT AVAILABLE
       SPRECKELS, CA 93962


3.3812 DOSSEN, EDWARD & PAULA                   VARIOUS                              Litigation              UNDETERMINED
       30105 CHUALAR CANYON ROAD
       CHUALAR, CA 93925-9522       ACCOUNT NO.: NOT AVAILABLE


3.3813 DOTY, KEN                                VARIOUS                              Litigation              UNDETERMINED
       40021 BEAL FIRE RD
        AUBERRY, CA 93602           ACCOUNT NO.: NOT AVAILABLE


3.3814 DOUBLE APPLES HOOKAH                     VARIOUS                              Litigation              UNDETERMINED
       LOUNGE-ZABIH, TAMIM
       3072 DRIFTWOOD DR            ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95128


3.3815 DOUBLE E FARMS INC-EFIRD,                VARIOUS                              Litigation              UNDETERMINED
       RUSSELL
       14580 S CEDAR                ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93725


3.3816 DOUBLE LUCK GROUP INC-                   VARIOUS                              Litigation              UNDETERMINED
       DING, WENXIN
       1851 EL CAMINO REAL          ACCOUNT NO.: NOT AVAILABLE
       BURLINGAME, CA 94010


3.3817 DOUBLE LUCKY GROUP INC-                  VARIOUS                              Litigation              UNDETERMINED
       DING, WENXIN
       1851 EL CAMINO REAL          ACCOUNT NO.: NOT AVAILABLE
       BURLINGAME, CA 94010


3.3818 DOUBLE LUCKY GROUP INC-                  VARIOUS                              Litigation              UNDETERMINED
       DING, WENXIN
       1851 EL CAMINO REAL          ACCOUNT NO.: NOT AVAILABLE
       BURLINGAME, CA 94010




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Litigation & Disputes

3.3819 DOUBLE M DAIRY LLC-                       VARIOUS                              Litigation              UNDETERMINED
       MENDOZA, JARROD
       25680 SF DRAKE BLVD           ACCOUNT NO.: NOT AVAILABLE
       POINT REYES STATION, CA
       94956


3.3820 DOUGHERTY, GREG                           VARIOUS                              Litigation              UNDETERMINED
       1415 BERNIE LANE
       ALAMO, CA 94507               ACCOUNT NO.: NOT AVAILABLE


3.3821 DOUGHERTY, MELISSA                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1564
       WILLOW CREEK, CA 95573        ACCOUNT NO.: NOT AVAILABLE


3.3822 DOUGHERTY, PATRICIA                       VARIOUS                              Litigation              UNDETERMINED
       126 ALTURA VISTA
       LOS GATOS, CA 95032           ACCOUNT NO.: NOT AVAILABLE


3.3823 DOUGLAS KNIGHT &                          VARIOUS                              Litigation              UNDETERMINED
       ASSOCIATES OBO QBE-
       RAVIZZA, HERMAN               ACCOUNT NO.: NOT AVAILABLE
       P.O BOX 10517
       BRADENTON, CA 34282


3.3824 DOUGLAS KNIGHT-HAYNES,                    VARIOUS                              Litigation              UNDETERMINED
       NANCY
       PO BOX 10517                  ACCOUNT NO.: NOT AVAILABLE
       BRADENTON, CA 34282


3.3825 DOUGLAS, CLOUDELL                         VARIOUS                              Litigation              UNDETERMINED
       103 SAN RAMON CT., SAN
       SAN PABLO, CA 94806           ACCOUNT NO.: NOT AVAILABLE


3.3826 DOUGLAS, GEOFFREY                         VARIOUS                              Litigation              UNDETERMINED
       3854 BALDWIN DRIVE
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.3827 DOUGLAS, PRUDENCE                         VARIOUS                              Litigation              UNDETERMINED
       2648 SUISUN AVE.
       SAN JOSE, CA 95121            ACCOUNT NO.: NOT AVAILABLE


3.3828 DOUNIAS, FRANK                            VARIOUS                              Litigation              UNDETERMINED
       312 VIEWMOUNT
       BENICIA, CA 94510             ACCOUNT NO.: NOT AVAILABLE


3.3829 DOW, MONIQUE                              VARIOUS                              Litigation              UNDETERMINED
       220 BAYHILL ROAD
       ROYAL OAKS, CA 95076          ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.3830 DOWDY MANOR APARTMENTS,                  VARIOUS                              Litigation              UNDETERMINED
       GARY KIMBALL
       4005 SUGAR MAPLE DRIVE       ACCOUNT NO.: NOT AVAILABLE
       DANVILLE, CA 94506


3.3831 DOWELL, MARJORIE                         VARIOUS                              Litigation              UNDETERMINED
       7158 REDWOOD RETREAT RD
       GILROY, CA 95020             ACCOUNT NO.: NOT AVAILABLE


3.3832 DOWLING, LORRAINE                        VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 4354
       3413 SHOSHONE DR.            ACCOUNT NO.: NOT AVAILABLE
       CAMP CONNELL, CA 95223


3.3833 DOWLING, PETER                           VARIOUS                              Litigation              UNDETERMINED
       5821 W WHITLOCK RD
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE


3.3834 DOWNEY, DANIEL                           VARIOUS                              Litigation              UNDETERMINED
       2467 PARQUET CT
       SAN JOSE, CA 95124           ACCOUNT NO.: NOT AVAILABLE


3.3835 DOWNHOLE STABILIZATION INC               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2467
       3905 THOMAS WAY              ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93303


3.3836 DOWNIE, SHERATAN                         VARIOUS                              Litigation              UNDETERMINED
       14 DEL RIO COURT
       SAINT HELENA, CA 94574       ACCOUNT NO.: NOT AVAILABLE


3.3837 DOWNING, ASHLEY                          VARIOUS                              Litigation              UNDETERMINED
       GARRAPATOS RD OFF OF
       COLORADO CANYON              ACCOUNT NO.: NOT AVAILABLE
       CARMEL, CA 93923


3.3838 DOWNS, RAMONA                            VARIOUS                              Litigation              UNDETERMINED
       2285 EDGEWATER ROAD
       SACRAMENTO, CA 95815         ACCOUNT NO.: NOT AVAILABLE


3.3839 DOYLE, AARON                             VARIOUS                              Litigation              UNDETERMINED
       209 VILLAGE PLACE
       MARTINEZ, CA 95936           ACCOUNT NO.: NOT AVAILABLE


3.3840 DOYLE, AMANDA                            VARIOUS                              Litigation              UNDETERMINED
       19915 REEDS CREEK RD
       RED BLUFF, CA 96080          ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.3841 DOYLE, CHRISTINE                         VARIOUS                              Litigation              UNDETERMINED
       1241 CRESCENT TERRACE
       SUNNYVALE, CA 94087          ACCOUNT NO.: NOT AVAILABLE


3.3842 DOZELENCIC, JOANNE                       VARIOUS                              Litigation              UNDETERMINED
       999 BAY ST
       EUREKA, CA 95501             ACCOUNT NO.: NOT AVAILABLE


3.3843 DP EXPRESS, PALVIDER NAGRA               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1049
       SELMA, CA 93662              ACCOUNT NO.: NOT AVAILABLE


3.3844 DR. JOHN CRAIG STEVENS                   VARIOUS                              Litigation              UNDETERMINED
       DDS - STEVENS, JOHN
       20 BRYSON DRIVE              ACCOUNT NO.: NOT AVAILABLE
       SUTTER CREEK, CA 95685


3.3845 DR. WARDANY D.D.S-WARDANY,               VARIOUS                              Litigation              UNDETERMINED
       TAMIR
       6332 GEARY BLVD.             ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94121


3.3846 DR.-HOSSAIN, HEMAYET                     VARIOUS                              Litigation              UNDETERMINED
       919 CHERRY BLOSSOM LN
       TRACY, CA 95377              ACCOUNT NO.: NOT AVAILABLE


3.3847 DR.-LOWEN, ROBERT                        VARIOUS                              Litigation              UNDETERMINED
       305 SOUTH DRIVE
       1                            ACCOUNT NO.: NOT AVAILABLE
       MOUNTAIN VIEW, CA 94040


3.3848 DRABO, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       10640 HIDDEN MESA PLACE
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.3849 DRABO, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       10640 HIDDEN MESA PLACE
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.3850 DRAKE, EDWARD                      VARIOUS                                    Litigation              UNDETERMINED
       19458 WOODHILL DRIVE
       PO BOX 254                 ACCOUNT NO.: NOT AVAILABLE
       MONTGOMERY CREEK, CA 96065


3.3851 DRAKE, JUANITA                           VARIOUS                              Litigation              UNDETERMINED
       3300 MLK JR WAY
       APT D                        ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94609


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Litigation & Disputes

3.3852 DRAKE, STEVE                             VARIOUS                              Litigation              UNDETERMINED
       3960 BALLANTREE LANE
       AROMAS, CA 95004             ACCOUNT NO.: NOT AVAILABLE


3.3853 DRAKE, TERESA                            VARIOUS                              Litigation              UNDETERMINED
       3510 CATALINA WAY
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.3854 DRAPER, HANNELORE                        VARIOUS                              Litigation              UNDETERMINED
       826 FIFE WAY
       SUNNYVALE, CA 94087          ACCOUNT NO.: NOT AVAILABLE


3.3855 DRAWN, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       7708 NEY AVE
       B                            ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94605


3.3856 DRAWVER, BRENT                           VARIOUS                              Litigation              UNDETERMINED
       11270 LOMA RICA RD
       MARYSVILLE, CA 95901         ACCOUNT NO.: NOT AVAILABLE


3.3857 DREAM HOME REAL ESTATE-                  VARIOUS                              Litigation              UNDETERMINED
       LEON, LUIS
       1010 S BROADWAY              ACCOUNT NO.: NOT AVAILABLE
       SUITE C
       SANTA MARIA, CA 93454


3.3858 DREAM TEAM, MARK GUZMAN/                 VARIOUS                              Litigation              UNDETERMINED
       DONALD ANDREWS
       101 A BROAD STREET           ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94112


3.3859 DREBLOW, GLENN                           VARIOUS                              Litigation              UNDETERMINED
       2315 AVNIDA DE GUADALUPE
       SANTA CLARA, CA 95054        ACCOUNT NO.: NOT AVAILABLE


3.3860 DRECKMAN, NANCY                          VARIOUS                              Litigation              UNDETERMINED
       308 HARBOR VIEW AVENUE
       PISMO BEACH, CA 93449        ACCOUNT NO.: NOT AVAILABLE


3.3861 DREISBACH ENTERPRISES                    VARIOUS                              Litigation              UNDETERMINED
       PO BOX 7509
       OAKLAND, CA 94601            ACCOUNT NO.: NOT AVAILABLE


3.3862 DREISBACH ENTERPRISES-                   VARIOUS                              Litigation              UNDETERMINED
       CHAPLAN, RUSSELL
       PO BOX 7509                  ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94601


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Litigation & Disputes

3.3863 DRELICH, MARTA                            VARIOUS                              Litigation              UNDETERMINED
       800 SECOND ST W
       SONOMA, CA 95476               ACCOUNT NO.: NOT AVAILABLE


3.3864 DRENKER, STEVE                            VARIOUS                              Litigation              UNDETERMINED
       265 AVALON DR.
       LOS ALTOS, CA 94022            ACCOUNT NO.: NOT AVAILABLE


3.3865 DRENNON, CARL                             VARIOUS                              Litigation              UNDETERMINED
       1216 CHELSEA CT.
       ANTIOCH, CA 94509              ACCOUNT NO.: NOT AVAILABLE


3.3866 DRIFTWOOD-DWYER, WILLIAM                  VARIOUS                              Litigation              UNDETERMINED
       PO BOX 603
       PACIFIC GROVE, CA 93050        ACCOUNT NO.: NOT AVAILABLE


3.3867 DRISCOLL, STEPHEN/ATTY REP                VARIOUS                              Litigation              UNDETERMINED
       1630 NORTH MAIN STREET # 346
       WALNUT CREEK, CA 94596         ACCOUNT NO.: NOT AVAILABLE


3.3868 DRISCOLLS INC, PANIAGUA.                  VARIOUS                              Litigation              UNDETERMINED
       MIGUEL
       1430 SOUTH E STREET            ACCOUNT NO.: NOT AVAILABLE
       SANTA MARIA, CA 93458


3.3869 DRIVER'S MARKET-GEFFNER,                  VARIOUS                              Litigation              UNDETERMINED
       PAUL
       200 CALEDONIA STREET           ACCOUNT NO.: NOT AVAILABLE
       SAUSALITO, CA 94965


3.3870 DRMS TRACY INC-ABUGHABEN,                 VARIOUS                              Litigation              UNDETERMINED
       MUSTAFA
       140 MAYHEW WAY #801            ACCOUNT NO.: NOT AVAILABLE
       PLEASANT HILL, CA 94523


3.3871 DROLAPAS, TIM                             VARIOUS                              Litigation              UNDETERMINED
       3227 OAK KNOLL DR
       REDWOOD CITY, CA 94062         ACCOUNT NO.: NOT AVAILABLE


3.3872 DRONE, KEITH                              VARIOUS                              Litigation              UNDETERMINED
       P.O.BOX 1192
       FORESTHILL, CA 95631           ACCOUNT NO.: NOT AVAILABLE


3.3873 DRU, ENTERPRISE                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 843369
       KANSAS CITY, CA 64184          ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3874 DRUG PHARMACY INC., FAMILY                VARIOUS                              Litigation              UNDETERMINED
       1805 OLD SONOMA RD
       ATTN. ROXANN GRACIA           ACCOUNT NO.: NOT AVAILABLE
       NAPA, CA 94559


3.3875 DRUMMOND, KAREN                           VARIOUS                              Litigation              UNDETERMINED
       255 E. BOLIVAR STREET
       81                            ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.3876 DRUMMOND, LYNDA                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 323
       DOBBINS, CA 95935             ACCOUNT NO.: NOT AVAILABLE


3.3877 DRVERY, AMY                               VARIOUS                              Litigation              UNDETERMINED
       1017 EL CAMINO REAL N
       PRUNDALE, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.3878 DSA, RICHARD                              VARIOUS                              Litigation              UNDETERMINED
       12151 SARAGLEN DR
       SARATOGA, CA 95070            ACCOUNT NO.: NOT AVAILABLE


3.3879 DU PLESSIS, HENDRIK                       VARIOUS                              Litigation              UNDETERMINED
       1155 N JASMINE AVENUE
       CLOVIS, CA 93611              ACCOUNT NO.: NOT AVAILABLE


3.3880 DU, KE                                    VARIOUS                              Litigation              UNDETERMINED
       132 MORRISON CANYON RD
       FREMONT, CA 94536             ACCOUNT NO.: NOT AVAILABLE


3.3881 DU, YUE                                   VARIOUS                              Litigation              UNDETERMINED
       6 COMMODORE DR
       EMERYVILLE, CA 94608          ACCOUNT NO.: NOT AVAILABLE


3.3882 DUANE AND KAREN SOARES-                   VARIOUS                              Litigation              UNDETERMINED
       SOARES, DUANE AND KAREN
       3637 S VALENTINE AVE          ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93706


3.3883 DUARTE, ROMAN                             VARIOUS                              Litigation              UNDETERMINED
       6577 N HASLAM AVE
       FRESNO, CA 93711              ACCOUNT NO.: NOT AVAILABLE


3.3884 DUBLIN UNIFIED SCHOOL                     VARIOUS                              Litigation              UNDETERMINED
       DISTRICT
       LOZANO SMITH (WALNUT          ACCOUNT NO.: NOT AVAILABLE
       CREEK)
       2001 NORTH MAIN STREET
       WALNUT CREEK, CA 94596

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Litigation & Disputes

3.3885 DUBOIS, DOUGLAS                          VARIOUS                              Litigation              UNDETERMINED
       189 SAINT BERNARD ST
       SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE


3.3886 DUCA, ROBERT                             VARIOUS                              Litigation              UNDETERMINED
       2670 EDGEWOOD COURT
       PASO ROBLES, CA 93446        ACCOUNT NO.: NOT AVAILABLE


3.3887 DUCK ISLAND RV PARK-WEBER,               VARIOUS                              Litigation              UNDETERMINED
       JIM
       16814 HWY 160                ACCOUNT NO.: NOT AVAILABLE
       UNIT A
       RIO VISTA, CA 94571


3.3888 DUCKWORTH, DORIS                         VARIOUS                              Litigation              UNDETERMINED
       19877 SHAKE RIDGE RD
       VOLCANO, CA 95689            ACCOUNT NO.: NOT AVAILABLE


3.3889 DUDDING, WILLIAM                         VARIOUS                              Litigation              UNDETERMINED
       1162 JOSSELYN CANYON RD
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.3890 DUDLEY, PAUL                             VARIOUS                              Litigation              UNDETERMINED
       2428 CHARDONNAY PLACE
       HANFORD, CA 93230            ACCOUNT NO.: NOT AVAILABLE


3.3891 DUDLEY, RENELL                           VARIOUS                              Litigation              UNDETERMINED
       171 CADLONI LANE
       F                            ACCOUNT NO.: NOT AVAILABLE
       VALLEJO, CA 94591


3.3892 DUDLEYS RESTAURANT, NHAM,                VARIOUS                              Litigation              UNDETERMINED
       SOON
       258 MAIN STREET              ACCOUNT NO.: NOT AVAILABLE
       SALNAS, CA 93901


3.3893 DUDUM, CONNIE                            VARIOUS                              Litigation              UNDETERMINED
       21770 LINDBERGH DR
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.3894 DUERKSEN, SHARON                         VARIOUS                              Litigation              UNDETERMINED
       1773 SO. CHURCH AVE.
       REEDLEY, CA 93654            ACCOUNT NO.: NOT AVAILABLE


3.3895 DUERNER, RHONDA                          VARIOUS                              Litigation              UNDETERMINED
       4714 BAYVIEW CT
       BAKERSFIELD, CA 93312        ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.3896 DUFAUX, SKY                              VARIOUS                              Litigation              UNDETERMINED
       7099 PINEHAVEN RD
       OAKLAND, CA 94611            ACCOUNT NO.: NOT AVAILABLE


3.3897 DUFFEY, CAROL                            VARIOUS                              Litigation              UNDETERMINED
       17951 MT CHARLIE RD
       LOS GATOS, CA 95030          ACCOUNT NO.: NOT AVAILABLE


3.3898 DUGAN, CHERYL                            VARIOUS                              Litigation              UNDETERMINED
       1251 COBBLESTONE DRIVE
       CAMPBELL, CA 95008           ACCOUNT NO.: NOT AVAILABLE


3.3899 DUGGAR, MARY                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 852
       ARNOLD, CA 95223             ACCOUNT NO.: NOT AVAILABLE


3.3900 DUHON, JOAN                              VARIOUS                              Litigation              UNDETERMINED
       528 WARFORD AVE
       VALLEJO, CA 94591            ACCOUNT NO.: NOT AVAILABLE


3.3901 DUIVENVOORDEN FARMS-                     VARIOUS                              Litigation              UNDETERMINED
       DUIVENVOORDEN, MARCUS
       19490 DRAPER RD.             ACCOUNT NO.: NOT AVAILABLE
       COTTONWOOD, CA 96022


3.3902 DUKE, GAIL                               VARIOUS                              Litigation              UNDETERMINED
       66 LYNNE LANE
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.3903 DUKES, DEBORAH                           VARIOUS                              Litigation              UNDETERMINED
       2130 SOUTH ST
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.3904 DUKES, SHANETTA                          VARIOUS                              Litigation              UNDETERMINED
       3920 FOOTHILL BLVD
       OAKLAND, CA 94605            ACCOUNT NO.: NOT AVAILABLE


3.3905 DULLER, MARK                             VARIOUS                              Litigation              UNDETERMINED
       532 UNIVERSITY AVENUE
       LOS ALTOS, CA 94022          ACCOUNT NO.: NOT AVAILABLE


3.3906 DUMLAO, MARIO                            VARIOUS                              Litigation              UNDETERMINED
       461 ORSI RD
       OAKDALE, CA 95361            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.3907 DUNBAR, CORY                             VARIOUS                              Litigation              UNDETERMINED
       18285 SHELTER HAVEN CT
       COTTONWOOD, CA 96022         ACCOUNT NO.: NOT AVAILABLE


3.3908 DUNBAR, DDS, RICHARD                     VARIOUS                              Litigation              UNDETERMINED
       1904 SOLANO ST.
       CORNING, CA 96021            ACCOUNT NO.: NOT AVAILABLE


3.3909 DUNDON, SHEILA                           VARIOUS                              Litigation              UNDETERMINED
       1201 NINTH ST.
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.3910 DUNHAM, GALEN                            VARIOUS                              Litigation              UNDETERMINED
       6 BIRCH AVE
       MADERA, CA 94925             ACCOUNT NO.: NOT AVAILABLE


3.3911 DUNKIN, KELSEY                           VARIOUS                              Litigation              UNDETERMINED
       9820 BODEGA HWY
       SEBASTOPOL, CA 95472         ACCOUNT NO.: NOT AVAILABLE


3.3912 DUNLAP, KENNETH                          VARIOUS                              Litigation              UNDETERMINED
       1424 PINON AVE.
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.3913 DUNLEAVY PLAZA-MADARIS,                  VARIOUS                              Litigation              UNDETERMINED
       DEBORAH
       1358 VALENCIA STREET         ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94110


3.3914 DUNMIRE, CAROL                           VARIOUS                              Litigation              UNDETERMINED
       P. O. BOX 54189
       SAN JOSE, CA 95154           ACCOUNT NO.: NOT AVAILABLE


3.3915 DUNN, CC                                 VARIOUS                              Litigation              UNDETERMINED
       56095 WILD PLUM LANE
       NORTH FORK, CA 93643         ACCOUNT NO.: NOT AVAILABLE


3.3916 DUNN, EMMA                               VARIOUS                              Litigation              UNDETERMINED
       FRESNO, CA 93702
                                    ACCOUNT NO.: NOT AVAILABLE


3.3917 DUNN, GARY                               VARIOUS                              Litigation              UNDETERMINED
       4178 GLENWOOD DRIVE
       SCOTTS VALLEY, CA 95066      ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3918 DUNN, KATHLEEN                           VARIOUS                              Litigation              UNDETERMINED
       189 BARRETTA
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.3919 DUNN, MARTHA                             VARIOUS                              Litigation              UNDETERMINED
       113 MENTEL AVE
       SANTA CRUZ, CA 95062-2216    ACCOUNT NO.: NOT AVAILABLE


3.3920 DUNN, MICHAEL                            VARIOUS                              Litigation              UNDETERMINED
       3532 CAMINO HILLS DR
       CAMINO, CA 95709             ACCOUNT NO.: NOT AVAILABLE


3.3921 DUNNAGAN, LISA                           VARIOUS                              Litigation              UNDETERMINED
       10313 HILLGATE AVE
       BAKERSFIELD, CA 93311        ACCOUNT NO.: NOT AVAILABLE


3.3922 DUNNE, JAMES                             VARIOUS                              Litigation              UNDETERMINED
       1512 PEREZ DRIVE
       PACIFICA, CA 94044           ACCOUNT NO.: NOT AVAILABLE


3.3923 DUNNING, JODY                            VARIOUS                              Litigation              UNDETERMINED
       4438 MOCCASIN COURT #B
       COPPEROPOLIS, CA 95228       ACCOUNT NO.: NOT AVAILABLE


3.3924 DUNTON, DONNA                            VARIOUS                              Litigation              UNDETERMINED
       22425 SUMMIT RD
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.3925 DUQUETTE, ALAN                           VARIOUS                              Litigation              UNDETERMINED
       6081 EVELYN AVE
       ROHNERT PARK, CA 94928       ACCOUNT NO.: NOT AVAILABLE


3.3926 DURAN, JEANNE                            VARIOUS                              Litigation              UNDETERMINED
       2510 STRATFORD CIR
       EL DORADO HILLS, CA 95762    ACCOUNT NO.: NOT AVAILABLE


3.3927 DURAN, KAREN                             VARIOUS                              Litigation              UNDETERMINED
       1174 WILLOW STREET
       ATWATER, CA 95301            ACCOUNT NO.: NOT AVAILABLE


3.3928 DURAN, MISTY                             VARIOUS                              Litigation              UNDETERMINED
       5760 RIDGEWOOD RD
       WILLITS, CA 95490            ACCOUNT NO.: NOT AVAILABLE


3.3929 DURATE, HILDA                            VARIOUS                              Litigation              UNDETERMINED
       3748 GARNET RD
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.3930 DURHAM, CHRISTOPHER                      VARIOUS                              Litigation              UNDETERMINED
       2935 CHURCH ST. #22
       GEORGETOWN, CA 95634         ACCOUNT NO.: NOT AVAILABLE


3.3931 DURHAM, JAMES & GRACE                    VARIOUS                              Litigation              UNDETERMINED
       501 S EMERAL AVENUE
       MODESTO, CA 95351            ACCOUNT NO.: NOT AVAILABLE


3.3932 DURKEE, JANAS & EDWARD                   VARIOUS                              Litigation              UNDETERMINED
       110 BERKELEY WAY
       SANTA CRUZ, CA 95062         ACCOUNT NO.: NOT AVAILABLE


3.3933 DURR, PATRICIA                           VARIOUS                              Litigation              UNDETERMINED
       230 N COLLEGE DR APT A3
       SANTA MARIA, CA 93454        ACCOUNT NO.: NOT AVAILABLE


3.3934 DURYEA, CAROL                            VARIOUS                              Litigation              UNDETERMINED
       420 ANITA AVE
       LOS ALTOS, CA 94024          ACCOUNT NO.: NOT AVAILABLE


3.3935 DUSART, DEBORAH                          VARIOUS                              Litigation              UNDETERMINED
       71 PRIMROSE AVE.
       AUBURN, CA 95603             ACCOUNT NO.: NOT AVAILABLE


3.3936 DUST BOWL-WORTH, RYAN                    VARIOUS                              Litigation              UNDETERMINED
       37074 S BUFFALO
       COALINGA, CA 93210           ACCOUNT NO.: NOT AVAILABLE


3.3937 DUSTON, PAMELA                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1333
       PINECREST, CA 95364          ACCOUNT NO.: NOT AVAILABLE


3.3938 DUTCH BROS COFFEE-CHASE,                 VARIOUS                              Litigation              UNDETERMINED
       BRENT
       6508 N BLACKSTONE AVE        ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93710


3.3939 DUTCH FLAT TRADING POST-                 VARIOUS                              Litigation              UNDETERMINED
       KHAMIS, ABDELNASSER
       P. O. BOX 212                ACCOUNT NO.: NOT AVAILABLE
       DUTCH FLAT, CA 95714


3.3940 DUTRA, ALVEN                             VARIOUS                              Litigation              UNDETERMINED
       118 FALCON CREST CIRCLE
       NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.3941 DUTTON, ELLEN                            VARIOUS                              Litigation              UNDETERMINED
       221 S 8TH STREET
       DIXON, CA 95620              ACCOUNT NO.: NOT AVAILABLE


3.3942 DUVALL, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 291
       LUCERNE, CA 95458            ACCOUNT NO.: NOT AVAILABLE


3.3943 DUVALL, STEVE                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 524
       WEST POINT, CA 95255         ACCOUNT NO.: NOT AVAILABLE


3.3944 DWAYNE WOODS; SANDRA                     VARIOUS                              Litigation              UNDETERMINED
       WOODS
       BRAYTON PURCELL, LLP         ACCOUNT NO.: NOT AVAILABLE
       225 RUSH LANDING ROAD, P.O
       BOX 6169
       NOVATO, CA 94949-6169


3.3945 DWYER, PACQUIN                           VARIOUS                              Litigation              UNDETERMINED
       1900 LYNWOOD DRIVE
       A                            ACCOUNT NO.: NOT AVAILABLE
       CONCORD, CA 94519


3.3946 DWYER, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       4415 PLEASANT VALLEY ROAD
       PLACERVILLE, CA 95667        ACCOUNT NO.: NOT AVAILABLE


3.3947 DYER, DEBORAH                            VARIOUS                              Litigation              UNDETERMINED
       35945 HIGHLAND DR
       W WISHON, CA 93669           ACCOUNT NO.: NOT AVAILABLE


3.3948 DYKEMA, CLARA                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1315
       LUCERNE, CA 95458            ACCOUNT NO.: NOT AVAILABLE


3.3949 DYNADOT LLC-HAN, TODD                    VARIOUS                              Litigation              UNDETERMINED
       205 E 3RD AVE
       314                          ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94401


3.3950 DYSON, CHARLES                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 5221
       VALLEJO, CA 94591            ACCOUNT NO.: NOT AVAILABLE


3.3951 DZURO, SHELLEY                           VARIOUS                              Litigation              UNDETERMINED
       16545 ZEPHYR CREST RD.
       COTTONWOOD, CA 96080         ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.3952 E.J. GALLO WINERY                        VARIOUS                              Litigation              UNDETERMINED
       600 YOSEMITE BLVD
       18000 RIVER ROAD, LIVINGSTON   ACCOUNT NO.: NOT AVAILABLE
       MODESTO, CA 95354


3.3953 EAC FAMILY-ONEAL, CATHARINE              VARIOUS                              Litigation              UNDETERMINED
       114 ALTO SOL CT
       SCOTTS VALLEY, CA 95066        ACCOUNT NO.: NOT AVAILABLE


3.3954 EADES, VERA                              VARIOUS                              Litigation              UNDETERMINED
       10756 KREHE ROAD
       LIVE OAK, CA 95953             ACCOUNT NO.: NOT AVAILABLE


3.3955 EAGLE CREST HOA. INC-CARY,               VARIOUS                              Litigation              UNDETERMINED
       STEPHEN
       4501 SECRET HOUSE PLACE        ACCOUNT NO.: NOT AVAILABLE
       FORESTHILL, CA 95631


3.3956 EAGLE RESTAURANT, CHEN,                  VARIOUS                              Litigation              UNDETERMINED
       DALY
       26 W. ALISAL STREET            ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93901


3.3957 EAGLE, BRIAN                             VARIOUS                              Litigation              UNDETERMINED
       23541 SKYVIEW TER
       LOS GATOS, CA 95033            ACCOUNT NO.: NOT AVAILABLE


3.3958 EALY, SANDRA                             VARIOUS                              Litigation              UNDETERMINED
       2690 N WEBER AVE, APT #115
       FRESNO, CA 93605               ACCOUNT NO.: NOT AVAILABLE


3.3959 EARLY, DONALD                            VARIOUS                              Litigation              UNDETERMINED
       50928 BEAR LANE
       OAKHURST, CA 93644             ACCOUNT NO.: NOT AVAILABLE


3.3960 EASON, SOPHIE                            VARIOUS                              Litigation              UNDETERMINED
       4784 SCHOOL HOUSE RD
       CATHEYS VALLEY, CA 95306       ACCOUNT NO.: NOT AVAILABLE


3.3961 EAST BAY COFFEE COMPANY-                 VARIOUS                              Litigation              UNDETERMINED
       ANCIRA, LISA
       2529 SAN PABLO AVE.            ACCOUNT NO.: NOT AVAILABLE
       PINOLE, CA 94564


3.3962 EASTER, EILEEN                           VARIOUS                              Litigation              UNDETERMINED
       244 HAZEL LN
       NIPOMO, CA 93444               ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.3963 EASTERLING, MAJORIE                      VARIOUS                              Litigation              UNDETERMINED
       3663 GREENVILLE
       RESERVATION ROAD             ACCOUNT NO.: NOT AVAILABLE
       GREENVILLE, CA 95947


3.3964 EASTMAN, DARREN                          VARIOUS                              Litigation              UNDETERMINED
       21446 ONEDA COURT
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.3965 EASTMAN, DARREN                          VARIOUS                              Litigation              UNDETERMINED
       21446 ONEDA CT.
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.3966 EASTMAN, RODNEY                          VARIOUS                              Litigation              UNDETERMINED
       435 UPLAND RD
       REDWOOD CITY, CA 94062       ACCOUNT NO.: NOT AVAILABLE


3.3967 EASTWOOD, ARLENE                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX
       WEIMAR, CA 95736             ACCOUNT NO.: NOT AVAILABLE


3.3968 EBA EGINEERING-VAUGHN,                   VARIOUS                              Litigation              UNDETERMINED
       MICHAEL
       PO BOX 14266                 ACCOUNT NO.: NOT AVAILABLE
       LEXINGTON, CA 40512


3.3969 EBACH, JASMINE                           VARIOUS                              Litigation              UNDETERMINED
       3254 SANDPIPER WAY
       MARINA, CA 93933             ACCOUNT NO.: NOT AVAILABLE


3.3970 EBERT, CHRISTINE                         VARIOUS                              Litigation              UNDETERMINED
       5305 BLUE LAKES RD SPC 10
       UPPER LAKE, CA 95485         ACCOUNT NO.: NOT AVAILABLE


3.3971 EBEY, FREDERICK & CHARLENE               VARIOUS                              Litigation              UNDETERMINED
       420 HEATHER POINT LANE
       LA SELVA BEACH, CA 95076     ACCOUNT NO.: NOT AVAILABLE


3.3972 EBRAHIMI, ARAM                           VARIOUS                              Litigation              UNDETERMINED
       6170 BULLARD DRIVE
       OAKLAND, CA 94611            ACCOUNT NO.: NOT AVAILABLE


3.3973 EBY, DAVID                               VARIOUS                              Litigation              UNDETERMINED
       20819 MEADOW OAK ROAD
       SARATOGA, CA 95070           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.3974 EBY, WESLEY                               VARIOUS                              Litigation              UNDETERMINED
       3386 SLY PARK ROAD
       POLLOCK PINES, CA 95726       ACCOUNT NO.: NOT AVAILABLE


3.3975 ECHAVARRIA, MARIA                         VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 405
       CHUALAR, CA 93925             ACCOUNT NO.: NOT AVAILABLE


3.3976 ECHEVERRIA, MARIA                         VARIOUS                              Litigation              UNDETERMINED
       1762 EVERGLADE AVENUE
       SAN JOSE, CA 95122            ACCOUNT NO.: NOT AVAILABLE


3.3977 ECKES, SUSAN                              VARIOUS                              Litigation              UNDETERMINED
       3395 PARKHILL RD
       SANTA MARGARITA, CA 93453     ACCOUNT NO.: NOT AVAILABLE


3.3978 ECKES, SUSAN                              VARIOUS                              Litigation              UNDETERMINED
       3395 PARKHILL RD
       SANTA MARGARITA, CA 93453     ACCOUNT NO.: NOT AVAILABLE


3.3979 ECKHARDT, BRIAN                           VARIOUS                              Litigation              UNDETERMINED
       886 COTTAGE ST
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.3980 ECKMANN, JIM                              VARIOUS                              Litigation              UNDETERMINED
       1731 16TH ST
       STE D                         ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93301


3.3981 ECLIPSE, MARIA OFELIA                     VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1107
       FREMONT, CA 94538             ACCOUNT NO.: NOT AVAILABLE


3.3982 ECONOMY FORM CORP-                        VARIOUS                              Litigation              UNDETERMINED
       SNAVELY, LORI
       3340 E CHURCH AVENUE          ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93725


3.3983 ED LIQUOR, PULIDO, PEDRO                  VARIOUS                              Litigation              UNDETERMINED
       2700 23RD AVE
       OAKLAND, CA 94606             ACCOUNT NO.: NOT AVAILABLE


3.3984 ED, LEA                                   VARIOUS                              Litigation              UNDETERMINED
       SAN JOSE, CA 95131
                                     ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.3985 EDELHOFER, FERDINAND                     VARIOUS                              Litigation              UNDETERMINED
       P.O.BOX 1025
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.3986 EDGEWATER PARK PLAZA LLC-                VARIOUS                              Litigation              UNDETERMINED
       ROACH, DAYNA
       300 FRANK OGAWA PLAZA         ACCOUNT NO.: NOT AVAILABLE
       SUITE 340
       7700 EDGEWATER DRIVE
       OAKLAND, CA 94612


3.3987 EDIGER, CAROLE                           VARIOUS                              Litigation              UNDETERMINED
       18285 BYWOOD DR
       COTTONWOOD, CA 96022          ACCOUNT NO.: NOT AVAILABLE


3.3988 EDISON SCHOOL DISTRICT-                  VARIOUS                              Litigation              UNDETERMINED
       CARTER, MATT
       PO BOX 368                    ACCOUNT NO.: NOT AVAILABLE
       EDISON, CA 93220


3.3989 EDMONDS, ANDREA                          VARIOUS                              Litigation              UNDETERMINED
       5510 N MILBURN AVE, APT 234
       FRESNO, CA 93722              ACCOUNT NO.: NOT AVAILABLE


3.3990 EDMONDS, DENISE                          VARIOUS                              Litigation              UNDETERMINED
       1002 E 23RD ST #15
       OAKLAND, CA 94606             ACCOUNT NO.: NOT AVAILABLE


3.3991 EDMONDSON, WANDA                         VARIOUS                              Litigation              UNDETERMINED
       32245 CHECHESTER DR
       UNION CITY, CA 94587          ACCOUNT NO.: NOT AVAILABLE


3.3992 EDQUID, SHEMO                            VARIOUS                              Litigation              UNDETERMINED
       121 EMBARCADERO WEST
       2110                          ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94607


3.3993 EDS RECYCLING, PESCI, ED                 VARIOUS                              Litigation              UNDETERMINED
       80 ARMPONT BLVD #201
       FREEDOM, CA 95019             ACCOUNT NO.: NOT AVAILABLE


3.3994 EDSON, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1299
       161 LAWS AVENUE               ACCOUNT NO.: NOT AVAILABLE
       UKIAH, CA 95482




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.3995 EDWARD B.CHATOIAN; GABRIEL               VARIOUS                              Litigation              UNDETERMINED
       CALDERON, EDWARD B
       CHATOIAN LAW OFFICES         ACCOUNT NO.: NOT AVAILABLE
       2607 FRESNO STREET SUITE C
       18500 IDAHO AVENUE
       LEMOORE, CA 93245


3.3996 EDWARD RUBENSTEIN MD-                    VARIOUS                              Litigation              UNDETERMINED
       RUBENSTEIN, EDWARD
       5 WAVERLY PLACE              ACCOUNT NO.: NOT AVAILABLE
       HILLSBOROUGH, CA 94010


3.3997 EDWARD WADSWORTH,                        VARIOUS                              Litigation              UNDETERMINED
       SUZANNE WADSWORTH
       MARY ALEXANDER, BRENDAN      ACCOUNT NO.: NOT AVAILABLE
       WAY, CATALINA MUNOZ
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.3998 EDWARD WADSWORTH,                        VARIOUS                              Litigation              UNDETERMINED
       SUZANNE WADSWORTH
       BOBBY THOMPSON               ACCOUNT NO.: NOT AVAILABLE
       702 AIRPORT BLVD
       SUITE 162
       BURLINGAME, CA 94010


3.3999 EDWARD, EVELINE V. PG&E                  VARIOUS                              Litigation              UNDETERMINED
       900 143RD AVENUE #290
       SAN LEANDRO, CA 94578        ACCOUNT NO.: NOT AVAILABLE


3.4000 EDWARDS, BEATRICE                        VARIOUS                              Litigation              UNDETERMINED
       3654 DORISA AVENUE
       OAKLAND, CA 94605            ACCOUNT NO.: NOT AVAILABLE


3.4001 EDWARDS, DIEDRA                          VARIOUS                              Litigation              UNDETERMINED
       2398 N MAIN STREET
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.4002 EDWARDS, DOUG                            VARIOUS                              Litigation              UNDETERMINED
       679 SOUTH FREEWAY DRIVE
       NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.4003 EDWARDS, JENNIFER                        VARIOUS                              Litigation              UNDETERMINED
       4130 MINERS TRAIL
       LOOMIS, CA 95650             ACCOUNT NO.: NOT AVAILABLE


3.4004 EDWARDS, LETICIA                         VARIOUS                              Litigation              UNDETERMINED
       2150 FONTANA AVE, APT 12
       STOCKTON, CA 95206           ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.4005 EDWARDS, ROBERT AND                      VARIOUS                              Litigation              UNDETERMINED
       DEANNA
       25245 WARD PLACE             ACCOUNT NO.: NOT AVAILABLE
       CARMEL, CA 93923


3.4006 EDWARDS, ROD                             VARIOUS                              Litigation              UNDETERMINED
       681 W DOVEWOOD LANE
       FRESNO, CA 93704             ACCOUNT NO.: NOT AVAILABLE


3.4007 EFESTIONE, JOSEPH                        VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 164
       CLEARLAKE, CA 95422          ACCOUNT NO.: NOT AVAILABLE


3.4008 EFFRON, RUTH                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1258
       CARMEL, CA 93921             ACCOUNT NO.: NOT AVAILABLE


3.4009 EFFRON, RUTH                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1258
       CARMEL, CA 93921             ACCOUNT NO.: NOT AVAILABLE


3.4010 EFTEKHARI, AFSHIN                        VARIOUS                              Litigation              UNDETERMINED
       1145 WILDCAT CANYON RD
       STREET ADDRESS 2             ACCOUNT NO.: NOT AVAILABLE
       PEBBLE BEACH, CA 93953


3.4011 EGAN, MARNY                              VARIOUS                              Litigation              UNDETERMINED
       6902 BRYAN CT
       ELK GROVE, CA 95757          ACCOUNT NO.: NOT AVAILABLE


3.4012 EGGERT, KARLY                            VARIOUS                              Litigation              UNDETERMINED
       4219 MCGRAY STREET
       BAKERSFIELD, CA 93308        ACCOUNT NO.: NOT AVAILABLE


3.4013 EGGINK, STANLEY & CAROL                  VARIOUS                              Litigation              UNDETERMINED
       59491 LOMA LINDA DRIVE
       NORTH FORK, CA 93643         ACCOUNT NO.: NOT AVAILABLE


3.4014 EGGLESTON/ATTY REP,                      VARIOUS                              Litigation              UNDETERMINED
       COASTER
       35 MITCHELL BLVD STE. 6      ACCOUNT NO.: NOT AVAILABLE
       SAN RAFAEL, CA 94903


3.4015 EGHTESAD, NADER                          VARIOUS                              Litigation              UNDETERMINED
       1120 FINLEY RD
       PLESANTON, CA 94588          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.4016 EHLER, FRANCINE                          VARIOUS                              Litigation              UNDETERMINED
       7000 MORNING CANYON RD
       PLACERVILLE, CA 95667        ACCOUNT NO.: NOT AVAILABLE


3.4017 EHNEBUSKE, SUELLEN                       VARIOUS                              Litigation              UNDETERMINED
       2730 GARBER STREET
       BERKELEY, CA 94705           ACCOUNT NO.: NOT AVAILABLE


3.4018 EHRHARDT, STEWART / JOAN                 VARIOUS                              Litigation              UNDETERMINED
       2025 SAGEBRUSH ROAD
       PASO ROBLES, CA 93446        ACCOUNT NO.: NOT AVAILABLE


3.4019 EHRICH, JOSEPH                           VARIOUS                              Litigation              UNDETERMINED
       4272 CLIFF DRIVE
       STOCKTON, CA 95204           ACCOUNT NO.: NOT AVAILABLE


3.4020 EICHHORST, QUINN                         VARIOUS                              Litigation              UNDETERMINED
       1230 WHITNEY RANCH
       PARKWAY                      ACCOUNT NO.: NOT AVAILABLE
       ROCKLIN, CA 95765


3.4021 EICHTEN, BARBARA                         VARIOUS                              Litigation              UNDETERMINED
       3584 KNOB CONE DRIVE
       KELSEYVILLE, CA 94541        ACCOUNT NO.: NOT AVAILABLE


3.4022 EIREF, BENJAMIN                          VARIOUS                              Litigation              UNDETERMINED
       1153 SANTA CRUZ AVE
       MENLO PARK, CA 94025         ACCOUNT NO.: NOT AVAILABLE


3.4023 EIRICH, SEAN                             VARIOUS                              Litigation              UNDETERMINED
       2904 FRESNO ST
       SANTA CLARA, CA 95051        ACCOUNT NO.: NOT AVAILABLE


3.4024 EISEMAN, JEFF                            VARIOUS                              Litigation              UNDETERMINED
       1829 CALISTOGA DRIVE
       SAN JOSE, CA 94124           ACCOUNT NO.: NOT AVAILABLE


3.4025 EISENGA FUHRMAN, DEZYRIE                 VARIOUS                              Litigation              UNDETERMINED
       11085 E LIVE OAK ROAD
       LODI, CA 95240               ACCOUNT NO.: NOT AVAILABLE


3.4026 EKLUND, KRISTIN                          VARIOUS                              Litigation              UNDETERMINED
       19051 OVERLOOK ROAD
       LOS GATOS, CA 95030          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.4027 EKSTRAND, KASIA                          VARIOUS                              Litigation              UNDETERMINED
       7149 THORNHILL DRIVE
       OAKLAND, CA 94611-1339       ACCOUNT NO.: NOT AVAILABLE


3.4028 EL CAMPANIL THEATRE-                     VARIOUS                              Litigation              UNDETERMINED
       HACKENKAMP, JOHNNY
       604 W 2ND ST                 ACCOUNT NO.: NOT AVAILABLE
       ANTIOCH, CA 94509


3.4029 EL DORADO COUNTY OFFICE                  VARIOUS                              Litigation              UNDETERMINED
       OF EDUCATION-LACHER,
       ATHENA                       ACCOUNT NO.: NOT AVAILABLE
       1718 AIRPORT CT
       PLACERVILLE, CA 95667


3.4030 EL MACERO COUNTRY CLUB                   VARIOUS                              Litigation              UNDETERMINED
       44571 CLUBHOUSE DRIVE
       EL MACERO, CA 95618          ACCOUNT NO.: NOT AVAILABLE


3.4031 EL TORO FOODS-MOLINA,                    VARIOUS                              Litigation              UNDETERMINED
       MIGUEL
       PO BOX 755                   ACCOUNT NO.: NOT AVAILABLE
       ESPARTO, CA 95627


3.4032 ELAS, GILBERT                            VARIOUS                              Litigation              UNDETERMINED
       2680 LAUREL AVE
       MORRO BAY, CA 93428          ACCOUNT NO.: NOT AVAILABLE


3.4033 ELB, RICH                                VARIOUS                              Litigation              UNDETERMINED
       2304 LAGUNA VISTA DR
       NOVATO, CA 94945             ACCOUNT NO.: NOT AVAILABLE


3.4034 ELBARKANI, SAID                          VARIOUS                              Litigation              UNDETERMINED
       1005 E. 13TH ST.
       ANTIOCH, CA 94509            ACCOUNT NO.: NOT AVAILABLE


3.4035 ELBRING, WILLIAM                         VARIOUS                              Litigation              UNDETERMINED
       4552 SULLIVAN COURT
       SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE


3.4036 ELDER, DAVID & KARLENE                   VARIOUS                              Litigation              UNDETERMINED
       44 MAPLE AVENUE
       ATHERTON, CA 94027           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.4037 ELECTRONICS PLUS, MARK &                  VARIOUS                              Litigation              UNDETERMINED
       ELLEN AVNER
       823 4TH STREET                ACCOUNT NO.: NOT AVAILABLE
       CORNER OF LINCOLN & 4TH
       STREET
       SAN RAFAEL, CA 94901


3.4038 ELEEK INC.-CLARK, SATTIE                  VARIOUS                              Litigation              UNDETERMINED
       1482 INEZ WAY
       REDWOOD VALLEY, CA 95470      ACCOUNT NO.: NOT AVAILABLE


3.4039 ELFEKI, MOHAMED                           VARIOUS                              Litigation              UNDETERMINED
       9427 VENTRI DRIVE
       COBB, CA 95426                ACCOUNT NO.: NOT AVAILABLE


3.4040 ELGAZZAR, ANDREW                          VARIOUS                              Litigation              UNDETERMINED
       721 ACORN DRIVE
       CLAYTON, CA 94517             ACCOUNT NO.: NOT AVAILABLE


3.4041 ELIAS, ROBERT                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1656
       SUTTER CREEK, CA 95685        ACCOUNT NO.: NOT AVAILABLE


3.4042 ELISARRARAS, CHUCK                        VARIOUS                              Litigation              UNDETERMINED
       7730 ARAGON RD
       ATASCADERO, CA 93422          ACCOUNT NO.: NOT AVAILABLE


3.4043 ELKHORN DAIRY                             VARIOUS                              Litigation              UNDETERMINED
       BRAVO & MARGULLES
       1315 SEVENTH AVE.             ACCOUNT NO.: NOT AVAILABLE
       0
       SAN FRANCISCO, CA 94122


3.4044 ELKINS, LAWRENCE                          VARIOUS                              Litigation              UNDETERMINED
       4603 LOCUST ROAD
       PO BOX 1105                   ACCOUNT NO.: NOT AVAILABLE
       ANDERSON, CA 96007


3.4045 ELLI, SHAHRAM                             VARIOUS                              Litigation              UNDETERMINED
       8720 WOODGROVE CIR
       GRANITE BAY, CA 95746         ACCOUNT NO.: NOT AVAILABLE


3.4046 ELLING, JEFF                              VARIOUS                              Litigation              UNDETERMINED
       1136 E. EDISON ST.
       MANTECA, CA 95336             ACCOUNT NO.: NOT AVAILABLE


3.4047 ELLINGSEN, EVENLYN                        VARIOUS                              Litigation              UNDETERMINED
       2201 CREEKSIDE
       DANVILLE, CA 94506            ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.4048 ELLIOT, SUSAN                            VARIOUS                              Litigation              UNDETERMINED
       138 DUFOUR ST
       SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE


3.4049 ELLIOTT, JEFF                            VARIOUS                              Litigation              UNDETERMINED
       6131 MITCHLER AVE.
       STOCKTON, CA 95207           ACCOUNT NO.: NOT AVAILABLE


3.4050 ELLIOTT, JOAN                            VARIOUS                              Litigation              UNDETERMINED
       20260 SPRING GARDEN ROAD
       FORESTHILL, CA 95631         ACCOUNT NO.: NOT AVAILABLE


3.4051 ELLIOTT, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       18670 VISTA DE ALMADEN
       COURT                        ACCOUNT NO.: NOT AVAILABLE
       CASANOVA 4 NE OF SANTA
       LUCIA
       CARMEL, CA


3.4052 ELLIOTT, KENNETH                         VARIOUS                              Litigation              UNDETERMINED
       38455 OLIVER WAY
       FREMONT, CA 94536            ACCOUNT NO.: NOT AVAILABLE


3.4053 ELLIOTT, LYNETTE                         VARIOUS                              Litigation              UNDETERMINED
       8400 EL MATADOR DR
       GILROY, CA 95020             ACCOUNT NO.: NOT AVAILABLE


3.4054 ELLIS V PG&E, DONALD RAY                 VARIOUS                              Litigation              UNDETERMINED
       ELLIS
       125 CORTE MARIA              ACCOUNT NO.: NOT AVAILABLE
       PITTSBURG, CA 94565


3.4055 ELLIS, ALAN                              VARIOUS                              Litigation              UNDETERMINED
       65 JAMI ST
       LIVERMORE, CA 94550          ACCOUNT NO.: NOT AVAILABLE


3.4056 ELLIS, CHAD                              VARIOUS                              Litigation              UNDETERMINED
       1014 OCEAN STREET
       SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE


3.4057 ELLIS, DONALD RAY                        VARIOUS                              Litigation              UNDETERMINED
       PRO SE
       125 CORTE MARIA              ACCOUNT NO.: NOT AVAILABLE
       PITTSBURG, CA 94565


3.4058 ELLIS, GAIL                              VARIOUS                              Litigation              UNDETERMINED
       810 S GRANT ST
       SAN MATEO, CA 94402          ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.4059 ELLIS, JANICE                            VARIOUS                              Litigation              UNDETERMINED
       543 ISABELLA DRIVE
       VACAVILLE, CA 95687          ACCOUNT NO.: NOT AVAILABLE


3.4060 ELLIS, LISA                              VARIOUS                              Litigation              UNDETERMINED
       506 EDNA DRIVE
       PLEASANT HILL, CA 94523      ACCOUNT NO.: NOT AVAILABLE


3.4061 ELLIS, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       10 MILLER PLACE # 2300
       3480 NAPA RD., SONOMA, CA.   ACCOUNT NO.: NOT AVAILABLE
       95476
       SAN FRANCISCO, CA 94108


3.4062 ELLIS, SHANE                             VARIOUS                              Litigation              UNDETERMINED
       14850 JOHNSON ROAD
       BAKERSFIELD, CA 93314        ACCOUNT NO.: NOT AVAILABLE


3.4063 ELLIS, STEVE & NATALIE                   VARIOUS                              Litigation              UNDETERMINED
       5971 MERRYWOOD DRIVE
       ROCKLIN, CA 95677            ACCOUNT NO.: NOT AVAILABLE


3.4064 ELLISON, COEUR-D-LENE                    VARIOUS                              Litigation              UNDETERMINED
       PO BOX 13
       1400 TSARNAS ROAD            ACCOUNT NO.: NOT AVAILABLE
       MYERS FLAT, CA 95554


3.4065 ELLISON, MICHAEL                         VARIOUS                              Litigation              UNDETERMINED
       1511 DALE AVE
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.4066 ELLSWORTH, STEVE                         VARIOUS                              Litigation              UNDETERMINED
       605 VIEW RIDGE DRIVE
       PACIFICA, CA 94044           ACCOUNT NO.: NOT AVAILABLE


3.4067 ELMAHGUB, SOHIB                          VARIOUS                              Litigation              UNDETERMINED
       ANTHONY PINEDA
       4100 WEST ALAMEDA AVENUE,    ACCOUNT NO.: NOT AVAILABLE
       3RD FLOOR
       BURBANK, CA 91505


3.4068 ELMORALY, AMAL                           VARIOUS                              Litigation              UNDETERMINED
       19 FAIRWAY DRIVE
       DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE


3.4069 ELVANDER, CHRIS                          VARIOUS                              Litigation              UNDETERMINED
       281 FERNWOOD DR
       SAN BRUNO, CA 94066          ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.4070 ELWARD, MARK                       VARIOUS                                    Litigation              UNDETERMINED
       LAW OFFICE OF ROBERT BOSSO
       133 MISSION ST.            ACCOUNT NO.: NOT AVAILABLE
       SANTA CRUZ, CA 95060


3.4071 EMAD, BRUCE                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 795
       BAYSIDE, CA 95524            ACCOUNT NO.: NOT AVAILABLE


3.4072 EMANUEL LAW FIRM-BARROS,                 VARIOUS                              Litigation              UNDETERMINED
       ANGEL
       702 MARSHALL ST, STE. 400    ACCOUNT NO.: NOT AVAILABLE
       REDWOOD CITY, CA 94063


3.4073 EMANUEL, CHARLES                         VARIOUS                              Litigation              UNDETERMINED
       25 UPLAND DRIVE
       SSF, CA 94080                ACCOUNT NO.: NOT AVAILABLE


3.4074 EMERSON, BETTY                           VARIOUS                              Litigation              UNDETERMINED
       20132 JILL LN
       REDDING, CA 96003            ACCOUNT NO.: NOT AVAILABLE


3.4075 EMERSON, DONNA                           VARIOUS                              Litigation              UNDETERMINED
       21290 VINEWOOD CT
       FORESTHILL, CA 95631         ACCOUNT NO.: NOT AVAILABLE


3.4076 EMERYBAY OPTICS-LAXAMANA,                VARIOUS                              Litigation              UNDETERMINED
       ANGELITO
       6001 SHELLMOUND ST. #105     ACCOUNT NO.: NOT AVAILABLE
       EMERYVILLE, CA 94608


3.4077 EMERZIAN, TOM                            VARIOUS                              Litigation              UNDETERMINED
       2555 NORTH ARGYLE AVE.
       FRESNO, CA 93727             ACCOUNT NO.: NOT AVAILABLE


3.4078 EMF BROADCASTING-SHAW,                   VARIOUS                              Litigation              UNDETERMINED
       TERI
       5700 WEST OAKS BLVD          ACCOUNT NO.: NOT AVAILABLE
       ROCKLIN, CA 95765


3.4079 EMIGH, JOSHUA                            VARIOUS                              Litigation              UNDETERMINED
       7050 MOUNT AUKUM RD UNIT
       101                          ACCOUNT NO.: NOT AVAILABLE
       SOMERSET, CA 95684


3.4080 EMILIO'S BARBERSHOP-                     VARIOUS                              Litigation              UNDETERMINED
       GARCIA, EMILIO
       PO BOX 173                   ACCOUNT NO.: NOT AVAILABLE
       ESPARTO, CA 95627

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Litigation & Disputes

3.4081 EMLAY, RACHEL                             VARIOUS                              Litigation              UNDETERMINED
       2273 PINON RD
       RESCUE, CA 95672-9649         ACCOUNT NO.: NOT AVAILABLE


3.4082 EMMA KINGSBURY DESIGN-                    VARIOUS                              Litigation              UNDETERMINED
       FINN, DAVID
       3885 CAVEDALE ROAD            ACCOUNT NO.: NOT AVAILABLE
       GLEN ELLEN, CA 95442


3.4083 EMMETTS, JACK                             VARIOUS                              Litigation              UNDETERMINED
       2850 VOLLEY CIRCLE
       MEADOW VISTA, CA 95722        ACCOUNT NO.: NOT AVAILABLE


3.4084 EMMONS, DONALD                            VARIOUS                              Litigation              UNDETERMINED
       3249 QUANDT ROAD
       LAFAYETTE, CA 94549           ACCOUNT NO.: NOT AVAILABLE


3.4085 EMPORIO GROUP INC-SOGAS,                  VARIOUS                              Litigation              UNDETERMINED
       DIMITRIOS
       1290 HOWARD AVE, #323         ACCOUNT NO.: NOT AVAILABLE
       BURLINGAME, CA 94010


3.4086 EMPTAGE, MELISSA                          VARIOUS                              Litigation              UNDETERMINED
       15695 CHARTER OAK BLVD
       PRUNEDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.4087 ENACHIOAIE, LIVIU                         VARIOUS                              Litigation              UNDETERMINED
       2977 MORGAN DR
       SAN RAMON, CA 94583           ACCOUNT NO.: NOT AVAILABLE


3.4088 ENDERS, SANDEE                            VARIOUS                              Litigation              UNDETERMINED
       490 N. OAK PARK BLVD
       GROVER BEACH, CA 93433        ACCOUNT NO.: NOT AVAILABLE


3.4089 ENEA, SANTO                               VARIOUS                              Litigation              UNDETERMINED
       112 PUEBLO DRIVE
       PITTSBURG, CA 94565           ACCOUNT NO.: NOT AVAILABLE


3.4090 ENERGIZERS INC, DAVIS,                    VARIOUS                              Litigation              UNDETERMINED
       EDWARD
       987 FRANCISCO BLVD E          ACCOUNT NO.: NOT AVAILABLE
       SAN RAFAEL, CA 94901


3.4091 ENERGY HEALTH CLUBS LLC,                  VARIOUS                              Litigation              UNDETERMINED
       CHASIN, DAVID
       680 EAST COTATI AVE           ACCOUNT NO.: NOT AVAILABLE
       COTATI, CA 94931



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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.4092 ENG, LINDA                               VARIOUS                              Litigation              UNDETERMINED
       3850 COLBY WAY
       SAN BRUNO, CA 94066           ACCOUNT NO.: NOT AVAILABLE


3.4093 ENGEL, MICHAEL                           VARIOUS                              Litigation              UNDETERMINED
       2751 HIGHWAY 140
       CATHEYS VALLEY, CA 95306      ACCOUNT NO.: NOT AVAILABLE


3.4094 ENGELMAN, BETINA                         VARIOUS                              Litigation              UNDETERMINED
       1339 VALENCIA AVENUE
       STOCKTON, CA 95209            ACCOUNT NO.: NOT AVAILABLE


3.4095 ENGELMAN, PAUL                           VARIOUS                              Litigation              UNDETERMINED
       1339 VALENCIA AVE
       STOCKTON, CA 95209            ACCOUNT NO.: NOT AVAILABLE


3.4096 ENGELMEIER, LESLIE                       VARIOUS                              Litigation              UNDETERMINED
       LAW OFFICE OF DAVID W.
       CHEN, PC                      ACCOUNT NO.: NOT AVAILABLE
       1300 CLAY STREET, SUITE 600
       OAKLAND, CA 94612-1913


3.4097 ENGELMEIER, LESLIE/ATTY REP              VARIOUS                              Litigation              UNDETERMINED
       C/O LAW OFFICE OF DAVID W.
       CHEN, PC                      ACCOUNT NO.: NOT AVAILABLE
       1300 CLAY STREET, SUITE 600
       0
       OAKLAND, CA 94612-1913


3.4098 ENGELS, BETTE                            VARIOUS                              Litigation              UNDETERMINED
       12 SHEMRAN COURT
       FAIRFAX, CA 94930             ACCOUNT NO.: NOT AVAILABLE


3.4099 ENGELS, SCOTT                            VARIOUS                              Litigation              UNDETERMINED
       8423 HEDGE PETH ROAD
       VALLEY SPRINGS, CA 95252      ACCOUNT NO.: NOT AVAILABLE


3.4100 ENGELUND, LORNA/JOHN                     VARIOUS                              Litigation              UNDETERMINED
       6308 PLYMOUTH ROAD
       STOCKTON, CA 95207            ACCOUNT NO.: NOT AVAILABLE


3.4101 ENGLAND, THOMAS                          VARIOUS                              Litigation              UNDETERMINED
       13901 CALLE ELEGANTE
       BAKERSFIELD, CA 93314         ACCOUNT NO.: NOT AVAILABLE


3.4102 ENGLE, MARY                              VARIOUS                              Litigation              UNDETERMINED
       2836 REGENT ST
       BERKELEY, CA 94705            ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.4103 ENGLE, TAMMY                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 195
       COBB, CA 95426               ACCOUNT NO.: NOT AVAILABLE


3.4104 ENGLISH, CATHY                           VARIOUS                              Litigation              UNDETERMINED
       4825 RUNWAY DRIVE
       FAIR OAKS, CA 95628          ACCOUNT NO.: NOT AVAILABLE


3.4105 ENGLISH, DENNIS                          VARIOUS                              Litigation              UNDETERMINED
       1172 S. MAIN STREET
       SALINAS, CA 93901            ACCOUNT NO.: NOT AVAILABLE


3.4106 ENGLISH, MIKE                            VARIOUS                              Litigation              UNDETERMINED
       247 MORAN RD
       ARNOLD, CA 95223             ACCOUNT NO.: NOT AVAILABLE


3.4107 ENGLUND, BRODIE                          VARIOUS                              Litigation              UNDETERMINED
       524 SHEFFIELD CT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.4108 ENIX, GARY AND CINDI                     VARIOUS                              Litigation              UNDETERMINED
       1466 N 9TH STREET
       FRESNO, CA 93703             ACCOUNT NO.: NOT AVAILABLE


3.4109 ENOS, CHRIS                              VARIOUS                              Litigation              UNDETERMINED
       752 KAREN WAY
       SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE


3.4110 ENOS, LEANA                              VARIOUS                              Litigation              UNDETERMINED
       1384 S RIO VISTA AVE
       SANGER, CA 93657             ACCOUNT NO.: NOT AVAILABLE


3.4111 ENRIQUEZ, JOEL                           VARIOUS                              Litigation              UNDETERMINED
       2173 PENNY LANE
       TRACY, CA 95377              ACCOUNT NO.: NOT AVAILABLE


3.4112 ENRIQUEZ, NELSON                         VARIOUS                              Litigation              UNDETERMINED
       153 MENTEL AVE
       SANTA CRUZ, CA 95602         ACCOUNT NO.: NOT AVAILABLE


3.4113 ENSMINGER, ALLEN                         VARIOUS                              Litigation              UNDETERMINED
       19094 CHALLENGE CUT OFF RD
       FORBESTOWN, CA               ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.4114 ENSTROM, BJORN                            VARIOUS                              Litigation              UNDETERMINED
       248 VALLE VISTA
       561 MORAN ROAD                ACCOUNT NO.: NOT AVAILABLE
       CA 95426


3.4115 ENTERPRISE HOLDINGS INC-                  VARIOUS                              Litigation              UNDETERMINED
       VOS, LINDA
       PO BOX 842442                 ACCOUNT NO.: NOT AVAILABLE
       DALLAS, CA 75284


3.4116 ENTERPRISE HOLDINGS, INC-                 VARIOUS                              Litigation              UNDETERMINED
       N/A, N/A
       PO BOX 843369                 ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4117 ENTERPRISE HOLDINGS-JAMES,                VARIOUS                              Litigation              UNDETERMINED
       DASHA
       PO BOX 801770                 ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64180


3.4118 ENTERPRISE HOLDINGS-N/A, N/A         VARIOUS                                   Litigation              UNDETERMINED
       P.O. BOX 843369
       KANSAS CITY, CA 64184        ACCOUNT NO.: NOT AVAILABLE


3.4119 ENTERPRISE R-A-C                          VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 801770
       KANSAS CITY, CA 64180         ACCOUNT NO.: NOT AVAILABLE


3.4120 ENTERPRISE R-A-C                          VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 801770
       KANSAS CITY, CA 64180         ACCOUNT NO.: NOT AVAILABLE


3.4121 ENTERPRISE RENT A CAR                     VARIOUS                              Litigation              UNDETERMINED
       PO BOX 843369
       KANSAS CITY, CA 64184         ACCOUNT NO.: NOT AVAILABLE


3.4122 ENTERPRISE RENT A CAR                     VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 843369
       KANSAS CITY, CA 64184         ACCOUNT NO.: NOT AVAILABLE


3.4123 ENTERPRISE RENT A CAR ELCO                VARIOUS                              Litigation              UNDETERMINED
       CLAIMS SERVICES-PAVONE,
       DAVID                         ACCOUNT NO.: NOT AVAILABLE
       PO BOX 701020
       WEST VALLEY CITY, CA 84170




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.4124 ENTERPRISE RENT A CAR-                    VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE, ENTERPRISE
       RENT A CAR                    ACCOUNT NO.: NOT AVAILABLE
       P.O. BOX 843369
       KANSAS CITY, CA 64183


3.4125 ENTERPRISE RENT A CAR-                    VARIOUS                              Litigation              UNDETERMINED
       RECOVERY UNIT, DAMAGE
       P.O. BOX 843369               ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4126 ENTERPRISE RENT, NILES                    VARIOUS                              Litigation              UNDETERMINED
       FREEMAN
       PO BOX 843369                 ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4127 ENTERPRISE RENT-A-CAR                     VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 843369
       KANSAS CITY, CA 64184         ACCOUNT NO.: NOT AVAILABLE


3.4128 ENTERPRISE RENT-A-CAR,                    VARIOUS                              Litigation              UNDETERMINED
       CHRIS SENDIG
       P.O. BOX 843369               ACCOUNT NO.: NOT AVAILABLE
       HWY 4
       ANTIOCH, CA 64184


3.4129 ENTERPRISE RENT-A-CAR,                    VARIOUS                              Litigation              UNDETERMINED
       CHRIS SENDIG
       P.O. BOX 843369               ACCOUNT NO.: NOT AVAILABLE
       HWY 4
       ANTIOCH, CA 64184


3.4130 ENTERPRISE RENTACAR,                      VARIOUS                              Litigation              UNDETERMINED
       DAMAGE RECOVERY UNIT
       PO BOX 842442                 ACCOUNT NO.: NOT AVAILABLE
       DALLAS, CA 75274


3.4131 ENTERPRISE, DAMAGE                        VARIOUS                              Litigation              UNDETERMINED
       RECOVERY
       P.O. BOX 843369               ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4132 ENTERPRISE, DAMAGE                        VARIOUS                              Litigation              UNDETERMINED
       RECOVERY
       P.O. BOX 843369               ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4133 ENTERPRISE, DAVID MILLER                  VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 801770
       KANSAS CITY, CA 64180         ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.4134 ENTERPRISE, VARELA, SILVIA                VARIOUS                              Litigation              UNDETERMINED
       URIZAR
       P.O. BOX 843369               ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 64184


3.4135 ENTERPRISE-DAMAGE                         VARIOUS                              Litigation              UNDETERMINED
       RECOVERY UNIT
       PO BOX 843369                 ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4136 ENTERPRISE-DAMAGE                         VARIOUS                              Litigation              UNDETERMINED
       RECOVERY UNIT, CLAIM
       NUMBER 10013893               ACCOUNT NO.: NOT AVAILABLE
       PO BOX 843369
       KANSAS CITY, CA 64184


3.4137 ENTERPRISE-DAMAGE                         VARIOUS                              Litigation              UNDETERMINED
       RECOVERY UNIT, ENTERPRISE
       PO BOX 843369                 ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4138 ENTERPRISE-DAMAGE                         VARIOUS                              Litigation              UNDETERMINED
       RECOVERY UNIT, ENTERPRISE
       PO B 843369                   ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4139 ENTERPRISE-DAMAGE                         VARIOUS                              Litigation              UNDETERMINED
       RECOVERY UNIT, ENTERPRISE
       PO BOX 843369                 ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4140 ENTERPRISE-DAMAGE                         VARIOUS                              Litigation              UNDETERMINED
       RECOVERY UNIT, ENTERPRISE
       PO BOX 843369                 ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4141 ENTERPRISE-DAMAGE                         VARIOUS                              Litigation              UNDETERMINED
       RECOVERY UNIT, ENTERPRISE
       PO BOX 843369                 ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4142 ENTERPRISE-RENT A CAR,                    VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       PO BOX 843369                 ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4143 ENTERPRISE-RENT A CAR,                    VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       PO BOX 843369                 ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184

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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.4144 ENTERPRISE-RENT A CAR,                   VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       PO BOX 843369                ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4145 ENTERPRISE-RENT A CAR,                   VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       PO BOX 843369                ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4146 ENTERPRISE-RENT A CAR,                   VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       PO BOX 843369                ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4147 ENTERPRISE-RENT A CAR,                   VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       P O BIX 843369               ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4148 ENTERPRISE-RENT A CAR,                   VARIOUS                              Litigation              UNDETERMINED
       PENNY HOWSLEY
       PO BOX 843369                ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4149 ENTERPRISE-RENTACAR,                     VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       PO BOX 843369                ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4150 ENTERPRISE-RENTACAR,                     VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       PO BOX 843369                ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4151 ENTERPRISE-RENTACAR,                     VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       PO BOX 843369                ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4152 ENTERPRISE-RENTACAR,                     VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       PO BOX 843369                ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


3.4153 ENTERPRISE-RENTACAR,                     VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISE
       PO BOX 843369                ACCOUNT NO.: NOT AVAILABLE
       KANSAS CITY, CA 64184


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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.4154 ENTIN, ILANA                             VARIOUS                              Litigation              UNDETERMINED
       24670 PESCADERO ROAD
       CARMEL, CA 93923               ACCOUNT NO.: NOT AVAILABLE


3.4155 ENVIROSCIENCE, INC.-                     VARIOUS                              Litigation              UNDETERMINED
       SOTOODEH, HOOMAN
       2220 S BASCOM AVEUE, SUITE C   ACCOUNT NO.: NOT AVAILABLE
       CAMPBELL, CA 95008


3.4156 EOFF, KELLY                              VARIOUS                              Litigation              UNDETERMINED
       5281 CHILES POPE VALLEY RD
       SAINT HELENA, CA 94574         ACCOUNT NO.: NOT AVAILABLE


3.4157 EPISCOPAL COMMUNITY                      VARIOUS                              Litigation              UNDETERMINED
       SERVICES-PARTIES, MULTIPLE
       1001 POLK STREET               ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94109


3.4158 EPPERSON, BOBBIE                         VARIOUS                              Litigation              UNDETERMINED
       4505 WOLF WAY
       ANTIOCH, CA 94531              ACCOUNT NO.: NOT AVAILABLE


3.4159 EPS INC-DOMETITA, JOSEPH                 VARIOUS                              Litigation              UNDETERMINED
       307 N AMPHLETT BLVD
       SAN MATEO, CA 94401            ACCOUNT NO.: NOT AVAILABLE


3.4160 EQUIAN, FOR MARIE AND                    VARIOUS                              Litigation              UNDETERMINED
       STANLEY MANHA
       CA 0                           ACCOUNT NO.: NOT AVAILABLE


3.4161 EQUIAN, SIOBHAN LOGAN                    VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 36220
       LOUISVILLE, CA 40233-6220      ACCOUNT NO.: NOT AVAILABLE


3.4162 EQUINIX, INC.-VIMAHISOLIS,               VARIOUS                              Litigation              UNDETERMINED
       KAREN
       200 ROSS WAY                   ACCOUNT NO.: NOT AVAILABLE
       SAN BRUNO, CA 94066


3.4163 ERAZO, FATIMA                            VARIOUS                              Litigation              UNDETERMINED
       549 BUTTE VIEW DR
       WILLIAMS, CA 95987             ACCOUNT NO.: NOT AVAILABLE


3.4164 ERCHENBRACK, GAYLA                       VARIOUS                              Litigation              UNDETERMINED
       13531 HWY 29
       LOWER LAKE, CA 95457           ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.4165 ERDIAKOFF, ROBERT                        VARIOUS                              Litigation              UNDETERMINED
       12560 BROOKPARK RD
       OAKLAND, CA 94619            ACCOUNT NO.: NOT AVAILABLE


3.4166 ERFERT, PAULETTE                         VARIOUS                              Litigation              UNDETERMINED
       966 PIEDMONT DR
       SACRAMENTO, CA 95822         ACCOUNT NO.: NOT AVAILABLE


3.4167 ERIC BROWN                               VARIOUS                              Litigation              UNDETERMINED
       BRAVO & MARGULLES
       1315 7TH AVE                 ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94110


3.4168 ERIC JOHNSON, AS                         VARIOUS                              Litigation              UNDETERMINED
       SUCCESSOR-IN-INTEREST TO
       AND AS WRONGFUL DEATH        ACCOUNT NO.: NOT AVAILABLE
       HEIR OF ROBERT JOHNSON,
       DECEASED; AND JEFFREY
       JOHNSON, AS WRONGFUL
       DEATH HEIR OF ROBERT
       JOHNSON, DECEASED
       BRAYTON PURCELL, LLP
       227 RUSH LANDING ROAD, P.O
       BOX 6169
       NOVATO 94949-6169


3.4169 ERICKSON, CLARISSA                       VARIOUS                              Litigation              UNDETERMINED
       PO BOX 123
       LOT 25D-2                    ACCOUNT NO.: NOT AVAILABLE
       HOOPA, CA 95546


3.4170 ERICKSON, DANIEL                         VARIOUS                              Litigation              UNDETERMINED
       200 STRAWBERRY CYN. RD.
       ROYAL OAKS, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.4171 ERICKSON, GILMORE                        VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 33023
       20400 & 20399 KENT WAY       ACCOUNT NO.: NOT AVAILABLE
       LOS GATOS, CA 95031


3.4172 ERICKSON, STEPHEN                        VARIOUS                              Litigation              UNDETERMINED
       34 SANDERLING CIRCLE
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.4173 ERIC'S CAR WASH-LARSON,                  VARIOUS                              Litigation              UNDETERMINED
       ERIC
       1625 MANGROVE AVE.           ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95926




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.4174 ERIK PEARSON PHOTO AND                   VARIOUS                              Litigation              UNDETERMINED
       VIDEO-PEARSON, ERIK
       11860B LA HONDA ROAD          ACCOUNT NO.: NOT AVAILABLE
       WOODSIDE, CA 94062


3.4175 ERIKSEN, VERONICA                        VARIOUS                              Litigation              UNDETERMINED
       251 BACHMAN AVENUE
       LOS GATOS, CA 95030           ACCOUNT NO.: NOT AVAILABLE


3.4176 ERRANTE, LOIS                            VARIOUS                              Litigation              UNDETERMINED
       94 MADRONE AVE.
       LARKSPUR, CA 94939            ACCOUNT NO.: NOT AVAILABLE


3.4177 ERRICO, NICK & JOSEPHINE                 VARIOUS                              Litigation              UNDETERMINED
       7 GREENSTONE CT
       PETALUMA, CA 95952            ACCOUNT NO.: NOT AVAILABLE


3.4178 ERS VENDING SERVICE INC.-                VARIOUS                              Litigation              UNDETERMINED
       SECONDO, ERIC
       P.O.BOX 2656                  ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93902


3.4179 ESCANIO, RAINIER & TAMMY                 VARIOUS                              Litigation              UNDETERMINED
       53 BLUXOME ST.
       45 ESTELLA CT., WALNUT        ACCOUNT NO.: NOT AVAILABLE
       CREEK
       SAN FRANCISCO, CA 94107


3.4180 ESCANUELA, JESSICA                       VARIOUS                              Litigation              UNDETERMINED
       4751 E. GETTYSBURG AVE, APT
       110                           ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93726


3.4181 ESCOBAR, CHELSEA                         VARIOUS                              Litigation              UNDETERMINED
       32 BRUSH CREEK CT
       PITTSBURG, CA 94565           ACCOUNT NO.: NOT AVAILABLE


3.4182 ESCOBAR, CYNTHIA                         VARIOUS                              Litigation              UNDETERMINED
       P. O. BOX 234
       DAVENPORT, CA 95017           ACCOUNT NO.: NOT AVAILABLE


3.4183 ESCOBAR, JOSE                            VARIOUS                              Litigation              UNDETERMINED
       2203 E. MYRTLE ST.
       STOCKTON, CA 95205            ACCOUNT NO.: NOT AVAILABLE


3.4184 ESCOBAR, JOSE/ANGELICA                   VARIOUS                              Litigation              UNDETERMINED
       3527 E DONNER AVE
       FRESNO, CA 93726              ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.4185 ESCOBAR, TIFFANY                         VARIOUS                              Litigation              UNDETERMINED
       360 W PAUL AVE
       CLOVIS, CA 93612             ACCOUNT NO.: NOT AVAILABLE


3.4186 ESCOBAR, VICTORIA                        VARIOUS                              Litigation              UNDETERMINED
       2369 WHITE DR.
       FAIRFIELD, CA 94533          ACCOUNT NO.: NOT AVAILABLE


3.4187 ESCOBEDO, ANTHONY                        VARIOUS                              Litigation              UNDETERMINED
       1020 LEE AVENUE
       GUSTINE, CA 95322            ACCOUNT NO.: NOT AVAILABLE


3.4188 ESCOBEDO, MACLOVIO                       VARIOUS                              Litigation              UNDETERMINED
       262 MODERN LANE
       MARINA, CA 93933             ACCOUNT NO.: NOT AVAILABLE


3.4189 ESCOBEDO, REBECCA                        VARIOUS                              Litigation              UNDETERMINED
       P O BOX 660636
       LINCOLN AND WILLOW           ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95136


3.4190 ESCORCIA, J IVAN                         VARIOUS                              Litigation              UNDETERMINED
       1686 CUPERTINO WAY
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.4191 ESCORCIA, ULISES                         VARIOUS                              Litigation              UNDETERMINED
       112 THRIFT ST
       SAN FRANCISCO, CA 94112      ACCOUNT NO.: NOT AVAILABLE


3.4192 ESCOTO, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       817 ANTONIA CIRCLE
       PINOLE, CA 94564             ACCOUNT NO.: NOT AVAILABLE


3.4193 ESCOTT, MARK                             VARIOUS                              Litigation              UNDETERMINED
       377 BEAUMONT BLVD
       PACIFICA, CA 94044           ACCOUNT NO.: NOT AVAILABLE


3.4194 ESCURO, NORMA                            VARIOUS                              Litigation              UNDETERMINED
       99 CRESCENT DR
       SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
       94080


3.4195 ESCUTIA, GERARDO                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 803
       CHUALAR, CA 93925            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4196 ESGET, DAN                                VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 6275
       SALINAS, CA 93912             ACCOUNT NO.: NOT AVAILABLE


3.4197 ESKILSON, JAMES                           VARIOUS                              Litigation              UNDETERMINED
       821 RIMES COURT
       SANTA MARIA, CA 93458         ACCOUNT NO.: NOT AVAILABLE


3.4198 ESKITE, JULIANN AND RICHARD               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 707
       CAMINO, CA 95709              ACCOUNT NO.: NOT AVAILABLE


3.4199 ESPARZA, JOSELITO                         VARIOUS                              Litigation              UNDETERMINED
       142 E RIVERSIDE APT B
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.4200 ESPARZA, SHEILA                           VARIOUS                              Litigation              UNDETERMINED
       29644 AVENUE 22
       MADERA, CA 93638              ACCOUNT NO.: NOT AVAILABLE


3.4201 ESPARZA, SONIA                            VARIOUS                              Litigation              UNDETERMINED
       308 W ORANGE STREET
       SANTA MARIA, CA 93458         ACCOUNT NO.: NOT AVAILABLE


3.4202 ESPENA, MARIA                             VARIOUS                              Litigation              UNDETERMINED
       626 CAMPBELL AVE
       3708 BASHORE BLVD             ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94005


3.4203 ESPERANZA, TRACY &                        VARIOUS                              Litigation              UNDETERMINED
       CELESTINO
       112 EAST LAMAR STREET         ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.4204 ESPETUS SAN MATEO-                        VARIOUS                              Litigation              UNDETERMINED
       MARCIANO, CARLA
       1686 MARKET STREET            ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94102


3.4205 ESPINDOLA, MIKE                           VARIOUS                              Litigation              UNDETERMINED
       3992 KNIGHTSEN AVE
       OAKLEY, CA 94561              ACCOUNT NO.: NOT AVAILABLE


3.4206 ESPINO, CARMEN                            VARIOUS                              Litigation              UNDETERMINED
       LAW OFFICES OF ARA
       JABAGCHOURIAN, P.C.           ACCOUNT NO.: NOT AVAILABLE
       1650 S. AMPHLETT BLVD
       SAN MATEO, CA 94402


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Including Zip Code                                 Account Number                           Claim

Litigation & Disputes

3.4207 ESPINOS, GERARDO & ROSALBA                    VARIOUS                              Litigation              UNDETERMINED
       1114 PARK AVENUE
       SAN JOSE, CA 95126                   ACCOUNT NO.: NOT AVAILABLE


3.4208 ESPINOZA, ANTONIO                             VARIOUS                              Litigation              UNDETERMINED
       48 VISTA POINT DRIVE
       WATSONVILLE, CA 95076                ACCOUNT NO.: NOT AVAILABLE


3.4209 ESPINOZA, JOSE                                VARIOUS                              Litigation              UNDETERMINED
       PO BOX 312
       5543 FREEBORN STREET                 ACCOUNT NO.: NOT AVAILABLE
       BUTTONWILLOW, CA 93206


3.4210 ESPOSITO, CHARLES                             VARIOUS                              Litigation              UNDETERMINED
       176 CALDECOTT LANE
       OAKLAND, CA 94618                    ACCOUNT NO.: NOT AVAILABLE


3.4211 ESQUEDA, JEANNIE                              VARIOUS                              Litigation              UNDETERMINED
       944 N. THORNE AVE
       FRESNO, CA 93728                     ACCOUNT NO.: NOT AVAILABLE


3.4212 ESQUIBEL, MEGEN                               VARIOUS                              Litigation              UNDETERMINED
       461 BURLWOOD LN
       TEMPLETON, CA 93465                  ACCOUNT NO.: NOT AVAILABLE


3.4213 ESQUIVEL, ORLANDO                             VARIOUS                              Litigation              UNDETERMINED
       1580 FRISBE CT.
       CONCORD, CA 94520                    ACCOUNT NO.: NOT AVAILABLE


3.4214 ESSARY, KAY                                   VARIOUS                              Litigation              UNDETERMINED
       25850 VINEDO LN
       LOS ALTOS, CA 94022                  ACCOUNT NO.: NOT AVAILABLE


3.4215 Estate of David Jayden Flores, by             VARIOUS                              Litigation              UNDETERMINED
       and through its successor in
       interest Gloria Noemi Barajas;       ACCOUNT NO.: NOT AVAILABLE
       Reyna Julissa Valenzuela; Julia
       Kaylee Santamaria; Manuel
       Antonio Santamaria II, by and
       through their Guardian ad Litem,
       Gloria Noemie Barjas; Gloria
       Noemi Baraj
       Greene, Broillet & Wheeler, LLP
       100 Wishire Boulevdard, Suite 2100
       Los Angeles, CA 90407-2131


3.4216 ESTATE OF HAROLD MEDKEFF,                     VARIOUS                              Litigation              UNDETERMINED
       NICHOLS-MOON, CELESTE
       21 TOYEN WAY                         ACCOUNT NO.: NOT AVAILABLE
       CARMEL VALLEY, CA 93924

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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.4217 ESTATE OF TOBIAS SANCHEZ                 VARIOUS                              Litigation              UNDETERMINED
       TRUJILLO SR., BY AND
       THROUGH ITS SUCCESSORS IN    ACCOUNT NO.: NOT AVAILABLE
       INTEREST, REFUGIA ISABELL
       TRUJILLO AND TOBIAS
       TRUJILLO; BALDOVINOS,
       ISABEL; BALDOVINOS, SAUL
       CARLSON & JOHNSON
       472 S. GLASSELL STREET
       ORANGE, CA 92866


3.4218 ESTATE OF TOBIAS SANCHEZ                 VARIOUS                              Litigation              UNDETERMINED
       TRUJILLO, SR
       THE LAW OFFICES OF CARLSON   ACCOUNT NO.: NOT AVAILABLE
       & JOHNSON
       472 SOUTH GLASSELL STREET
       ORANGE, CA 92866


3.4219 ESTENSON, GARY                           VARIOUS                              Litigation              UNDETERMINED
       321 ANITA ST.
       JACKSON, CA 95642            ACCOUNT NO.: NOT AVAILABLE


3.4220 ESTEP, MICHAEL                           VARIOUS                              Litigation              UNDETERMINED
       1413 MORNINGTON AVE
       BAKERSFIELD, CA 93307        ACCOUNT NO.: NOT AVAILABLE


3.4221 ESTER, DEAN/ALICE                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2179
       FORT BRAGG, CA 95437         ACCOUNT NO.: NOT AVAILABLE


3.4222 ESTES, WINDOM                            VARIOUS                              Litigation              UNDETERMINED
       1047 SAN CARLOS ROAD
       PEBBLE BEACH, CA 93933       ACCOUNT NO.: NOT AVAILABLE


3.4223 ESTRADA, CYNTHIA                         VARIOUS                              Litigation              UNDETERMINED
       2531 N MARKS AVE, APT #247
       FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE


3.4224 ESTRADA, GELBER                          VARIOUS                              Litigation              UNDETERMINED
       345 WATSON ST
       LODI, CA 95240               ACCOUNT NO.: NOT AVAILABLE


3.4225 ESTRADA, HENRY                           VARIOUS                              Litigation              UNDETERMINED
       1819 TELEGRAPH AVE
       STOCKTON, CA 95204           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4226 ESTRADA, HIRAM                           VARIOUS                              Litigation              UNDETERMINED
       C/O WALKER, HAMILTON,
       KOENIG & BURBIDGE, LLP         ACCOUNT NO.: NOT AVAILABLE
       WALTER H. WALKER, BEAU R.
       BURBIDGE
       SAN FRANCISCO, CA 94133-2100


3.4227 ESTRADA, HIRAM DAVID                     VARIOUS                              Litigation              UNDETERMINED
       CROSS-COMPLAINT (COUNTY
       OF SAN JOAQUIN):MARK E.        ACCOUNT NO.: NOT AVAILABLE
       BERRY
       2453 GRAND CANAL
       BOULEVARD, 2ND FLOOR
       STOCKTON, CA 95207


3.4228 ESTRADA, HIRAM DAVID                     VARIOUS                              Litigation              UNDETERMINED
       PLAINTIFFS:BORIS E.
       EFRONKAREN M. PLATT            ACCOUNT NO.: NOT AVAILABLE
       130 PORTOLA ROAD
       PORTOLA VALLEY, CA 94028


3.4229 ESTRADA, HIRAM DAVID                     VARIOUS                              Litigation              UNDETERMINED
       PLAINTIFFS:WALTER H.
       WALKERBEAU R. BURBIDGE         ACCOUNT NO.: NOT AVAILABLE
       50 FRANCISCO STREET, SUITE
       460
       SAN FRANCISCO, CA 94133-
       2100


3.4230 ESTRADA, HIRAM DAVID                     VARIOUS                              Litigation              UNDETERMINED
       CROSS-COMPLAINT (CITY OF
       LATHROP):CORNELIUS J.          ACCOUNT NO.: NOT AVAILABLE
       CALLAHAN
       1125 I STREET, SUITE 1
       MODESTO, CA 95354


3.4231 ESTRADA, RODOLFO                         VARIOUS                              Litigation              UNDETERMINED
       1404 MONTEREY ST
       BAKERSFIELD, CA 93305          ACCOUNT NO.: NOT AVAILABLE


3.4232 ETCHEVERS, JOHN                          VARIOUS                              Litigation              UNDETERMINED
       20 HAMPSHIRE WAY
       NOVATO, CA 94945               ACCOUNT NO.: NOT AVAILABLE


3.4233 ETHEREDGE, ROBERT                        VARIOUS                              Litigation              UNDETERMINED
       23 LAS PIEDRAS
       ORINDA, CA 94563               ACCOUNT NO.: NOT AVAILABLE


3.4234 ETHERINGTON, GILLIAN                     VARIOUS                              Litigation              UNDETERMINED
       1325 MCALLISTER ST
       SAN FRANCISCO, CA 94115        ACCOUNT NO.: NOT AVAILABLE

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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.4235 ETHICAL NATURALS, INC.-                   VARIOUS                              Litigation              UNDETERMINED
       JAVED, ALIM
       2731 FAIR OAKS AVE.           ACCOUNT NO.: NOT AVAILABLE
       REDWOOD CITY, CA 94063


3.4236 ETTLINGER, MARI                           VARIOUS                              Litigation              UNDETERMINED
       2410 EDWARDS AVE
       EL CERRITO, CA 94530          ACCOUNT NO.: NOT AVAILABLE


3.4237 EUBANK, CAITLIN                           VARIOUS                              Litigation              UNDETERMINED
       357 E 4TH ST.
       #3                            ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95928


3.4238 EUBANKS, ANDREA                           VARIOUS                              Litigation              UNDETERMINED
       23 ROBINHOOD DR
       SAN FRANCISCO, CA 94127       ACCOUNT NO.: NOT AVAILABLE


3.4239 EUDY, JOHN                                VARIOUS                              Litigation              UNDETERMINED
       1151 DOGTOWN RD
       ANGELS CAMP, CA 95221         ACCOUNT NO.: NOT AVAILABLE


3.4240 EULLOQUI, CARMEN                          VARIOUS                              Litigation              UNDETERMINED
       1707 N WESTERN AVE
       SANTA MARIA, CA 93458         ACCOUNT NO.: NOT AVAILABLE


3.4241 EUSTON, KAREN/SAM                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1471
       MIDDLETOWN, CA 95461          ACCOUNT NO.: NOT AVAILABLE


3.4242 EVANOFF, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       3338 MAYFIELD DR
       RESCUE, CA 95672              ACCOUNT NO.: NOT AVAILABLE


3.4243 EVANS, BRET                               VARIOUS                              Litigation              UNDETERMINED
       1966 SAN CARLOS AVE
       SAN CARLOS, CA 94070          ACCOUNT NO.: NOT AVAILABLE


3.4244 EVANS, CURT & JOAN                        VARIOUS                              Litigation              UNDETERMINED
       109 LOGAN STREET
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.4245 EVANS, JANET                              VARIOUS                              Litigation              UNDETERMINED
       216 WINDWARD WAY
       ROSEVILLE, CA 95678           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4246 EVANS, JORDAN                            VARIOUS                              Litigation              UNDETERMINED
       18275 SHELTER HAVEN CT
       COTTONWOOD, CA 96022         ACCOUNT NO.: NOT AVAILABLE


3.4247 EVANS, JOSEPH                            VARIOUS                              Litigation              UNDETERMINED
       19880 MELLA DRIVE
       VOLCANO, CA 95689            ACCOUNT NO.: NOT AVAILABLE


3.4248 EVANS, KIMIKO                            VARIOUS                              Litigation              UNDETERMINED
       323 EL DORADO DR
       CA                           ACCOUNT NO.: NOT AVAILABLE
       DALY CITY, CA 94015


3.4249 EVANS, LANCE                             VARIOUS                              Litigation              UNDETERMINED
       1384 OKALAND BLVD APT 13
       WALNUT CREEK, CA 94596       ACCOUNT NO.: NOT AVAILABLE


3.4250 EVANS, LANCE                             VARIOUS                              Litigation              UNDETERMINED
       1384 OAKLAND BLVD
       APT 13                       ACCOUNT NO.: NOT AVAILABLE
       WALNUT CREEK, CA 94596


3.4251 EVANS, MATT                              VARIOUS                              Litigation              UNDETERMINED
       4850 HUNT ROAD
       FARMINGTON, CA 95228         ACCOUNT NO.: NOT AVAILABLE


3.4252 EVANS, MATT                              VARIOUS                              Litigation              UNDETERMINED
       4850 HUNT ROAD
       FARMINGTON, CA 95228         ACCOUNT NO.: NOT AVAILABLE


3.4253 EVANS, SCOTT                             VARIOUS                              Litigation              UNDETERMINED
       45 TOAD HOLW
       SUNSET BEACH                 ACCOUNT NO.: NOT AVAILABLE
       WATSONVILLE, CA 95076


3.4254 EVANS, TABITHA                           VARIOUS                              Litigation              UNDETERMINED
       20220 ALMADEN RD
       SAN JOSE, CA 95120           ACCOUNT NO.: NOT AVAILABLE


3.4255 EVENS, AMANDA                            VARIOUS                              Litigation              UNDETERMINED
       16653 BLUE HORSE RD
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.4256 EVERETT GRAPHICS INC, MARK               VARIOUS                              Litigation              UNDETERMINED
       CARLSON
       7300 EDGEWATER DRIVE         ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94621



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Litigation & Disputes

3.4257 EVERETT WAINING, JR. AND                 VARIOUS                              Litigation              UNDETERMINED
       ROSMARIE WAINING
       BRAYTON PURCELL, LLP         ACCOUNT NO.: NOT AVAILABLE
       223 RUSH LANDING ROAD, P.O
       BOX 6169
       NOVATO, CA 94949-6169


3.4258 EVERGREEN AUTO CARE INC-                 VARIOUS                              Litigation              UNDETERMINED
       GREWAL, PREET
       107 A WHISPERING PINES DR    ACCOUNT NO.: NOT AVAILABLE
       SCOTTS VALLEY, CA 95066


3.4259 EVERITT, PATTI                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 754
       KENWOOD, CA 95452            ACCOUNT NO.: NOT AVAILABLE


3.4260 EVERSON, LAYLA                           VARIOUS                              Litigation              UNDETERMINED
       129 MAIN ST
       GOLD RUN, CA 95717           ACCOUNT NO.: NOT AVAILABLE


3.4261 EVOCATIVE DATA CENTERS-                  VARIOUS                              Litigation              UNDETERMINED
       ARMIJO, RORY
       1400 65TH STREET             ACCOUNT NO.: NOT AVAILABLE
       150
       EMERYVILLE, CA 94608


3.4262 EWAYS, MARWAN                            VARIOUS                              Litigation              UNDETERMINED
       9 TERRA LINDA CT
       MILLBRAE, CA 94030           ACCOUNT NO.: NOT AVAILABLE


3.4263 EWING, KATHLEEN                          VARIOUS                              Litigation              UNDETERMINED
       1669 RUTLEDGE LANE
       FAIRFIELD, CA 94533          ACCOUNT NO.: NOT AVAILABLE


3.4264 EXCALIBUR PIZZA-MORENO,                  VARIOUS                              Litigation              UNDETERMINED
       ANGELA
       1830 VERNON STREET SUITE 1   ACCOUNT NO.: NOT AVAILABLE
       ROSEVILLE, CA 95678


3.4265 EXECUTIVE TRACKERS, LLC-                 VARIOUS                              Litigation              UNDETERMINED
       BOZORGI, BABAK
       23085 SUMMIT RD.             ACCOUNT NO.: NOT AVAILABLE
       LOS GATOS, CA 95033


3.4266 EXLEY, GLENDA                            VARIOUS                              Litigation              UNDETERMINED
       1895 HAYES ST
       2A                           ACCOUNT NO.: NOT AVAILABLE
       ANDERSON, CA 96007



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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.4267 EXPRESS HAIR SALON-TU, TAI                VARIOUS                              Litigation              UNDETERMINED
       1813 TAMBOUR WAY
       SAN JOSE, CA 95131            ACCOUNT NO.: NOT AVAILABLE


3.4268 EXTENET SYSTEMS                           VARIOUS                              Litigation              UNDETERMINED
       (CALIFORNIA) LLC-MANNING,
       CHRISTOPHER                   ACCOUNT NO.: NOT AVAILABLE
       2000 CROW CANYON PLACE,
       #210
       SAN RAMON, CA 94583


3.4269 EXTENET SYSTEMS INC,                      VARIOUS                              Litigation              UNDETERMINED
       CHRISTOPHER MANNING
       2000 CROW CANYON PLACE        ACCOUNT NO.: NOT AVAILABLE
       SAN RAMON, CA


3.4270 EYE CANDY FASHION                         VARIOUS                              Litigation              UNDETERMINED
       BOUTIQUE, DEWALL STACY
       1506 HOWARD ROAD              ACCOUNT NO.: NOT AVAILABLE
       MADERA, CA 93637


3.4271 EYEBROW HUB-MEHROK, GARY                  VARIOUS                              Litigation              UNDETERMINED
       1437 W IMOLA AVE
       NAPA, CA 94559                ACCOUNT NO.: NOT AVAILABLE


3.4272 FABBRI, MARK                              VARIOUS                              Litigation              UNDETERMINED
       35477 SAVANNAH CT.
       SHINGLETOWN, CA 96088         ACCOUNT NO.: NOT AVAILABLE


3.4273 FABBRI, MARK AND ERIN                     VARIOUS                              Litigation              UNDETERMINED
       35477 SAVANNAH CT
       SHINGLETOWN, CA 96088         ACCOUNT NO.: NOT AVAILABLE


3.4274 FABER, JENNIFER                           VARIOUS                              Litigation              UNDETERMINED
       3081 NEWTOWN RD 19
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.4275 FABLEIST WINE CO.-MERCURIO,               VARIOUS                              Litigation              UNDETERMINED
       JACQUELINE
       3005 LIMESTONE WAY            ACCOUNT NO.: NOT AVAILABLE
       A
       PASO ROBLE, CA 93446


3.4276 FABRIC MART INC. DBA FABRIC               VARIOUS                              Litigation              UNDETERMINED
       OUTLET-COONEY, GINA
       2109 MISSION ST.              ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94110




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Litigation & Disputes

3.4277 FABRICATION, KUSTOM                      VARIOUS                              Litigation              UNDETERMINED
       5022 SMOKEY RD
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.4278 FACHAUER, ANNE                           VARIOUS                              Litigation              UNDETERMINED
       21600 GREENWOOD ROAD
       PHILO, CA 95466              ACCOUNT NO.: NOT AVAILABLE


3.4279 FACHNER, CHERISSA                        VARIOUS                              Litigation              UNDETERMINED
       640 CAMBRIDGE CT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.4280 FACTORY VFX, INC.-                       VARIOUS                              Litigation              UNDETERMINED
       WOLGAMOTT, CHRISTAL
       1000 APOLLO WAY              ACCOUNT NO.: NOT AVAILABLE
       SUITE 190
       SANTA ROSA, CA 95407


3.4281 FADLEY, MARJORIE                         VARIOUS                              Litigation              UNDETERMINED
       835 ROYAL ELF CT
       DIXON, CA 95620              ACCOUNT NO.: NOT AVAILABLE


3.4282 FAGG, DOUGLAS                            VARIOUS                              Litigation              UNDETERMINED
       5682 RED VALLEY ROAD
       IONE, CA 95640               ACCOUNT NO.: NOT AVAILABLE


3.4283 FAGUNDES, NATALIE                        VARIOUS                              Litigation              UNDETERMINED
       2791 S BLYTHE AVENUE
       FRESNO, CA 93706             ACCOUNT NO.: NOT AVAILABLE


3.4284 FAHEY, JOHN & NANCIE                     VARIOUS                              Litigation              UNDETERMINED
       2401 FRUITVALE AVENUE
       2248 LINA LANE               ACCOUNT NO.: NOT AVAILABLE
       TWAIN HARTE, CA 95383


3.4285 FAHEY, JOHN & NANCIE                     VARIOUS                              Litigation              UNDETERMINED
       2401 FRUITVALE AVENUE
       2248 LINA LANE               ACCOUNT NO.: NOT AVAILABLE
       TWAIN HARTE, CA 95383


3.4286 FAHMY, SHAWKAT                           VARIOUS                              Litigation              UNDETERMINED
       3057 BILBO DR
       SAN JOSE, CA 95121           ACCOUNT NO.: NOT AVAILABLE


3.4287 FAHQ LLC-CHENG, ALAN                     VARIOUS                              Litigation              UNDETERMINED
       PO BOX 426859
       SAN FRANCISCO, CA 94142      ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.4288 FAHRION, DALE                             VARIOUS                              Litigation              UNDETERMINED
       1224 CASTRO ROAD
       MONTEREY, CA 93940            ACCOUNT NO.: NOT AVAILABLE


3.4289 FAIAL FARMS LP-ROSA JR,                   VARIOUS                              Litigation              UNDETERMINED
       MANUEL
       PO BOX 456                    ACCOUNT NO.: NOT AVAILABLE
       ARVIN, CA 93203


3.4290 FAIRBURN, TED AND CATHERINE         VARIOUS                                    Litigation              UNDETERMINED
       7468 HILLSBORO AVE
       SAN RAMON, CA 94583         ACCOUNT NO.: NOT AVAILABLE


3.4291 FAIRFIELD INN & SUITES                    VARIOUS                              Litigation              UNDETERMINED
       MARRIOTT-KHAN, MICHELLE
       250 EL CAMINO REAL            ACCOUNT NO.: NOT AVAILABLE
       MILLBRAE, CA 94030


3.4292 FAIRFIELD INN & SUITES                    VARIOUS                              Litigation              UNDETERMINED
       MARRIOTT-KHAN, MICHELLE
       250 EL CAMINO REAL            ACCOUNT NO.: NOT AVAILABLE
       MILLBRAE, CA 94030


3.4293 FAIRHURST, ALISON                         VARIOUS                              Litigation              UNDETERMINED
       272 COLLINS ST
       SAN FRANCISCO, CA 94118       ACCOUNT NO.: NOT AVAILABLE


3.4294 FAJNOR, JACKSON                           VARIOUS                              Litigation              UNDETERMINED
       1301 CORBEROSA DR
       ARROYO GRANDE, CA 93420       ACCOUNT NO.: NOT AVAILABLE


3.4295 FALAT, DAN                                VARIOUS                              Litigation              UNDETERMINED
       500 KINGS AVE
       MORRO BAY, CA 93442           ACCOUNT NO.: NOT AVAILABLE


3.4296 FALKENSTEIN, JACOB                        VARIOUS                              Litigation              UNDETERMINED
       21157 VIEW LAKE DRIVE
       REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.4297 FALL RIVER HOTEL-JENSEN,                  VARIOUS                              Litigation              UNDETERMINED
       SCOTT
       24860 MAIN STREET             ACCOUNT NO.: NOT AVAILABLE
       FALL RIVER MILLS, CA 96028


3.4298 FALL, YOUSSOU                             VARIOUS                              Litigation              UNDETERMINED
       1711 LIBERTY APT#6
       EL CERRITO, CA 94530          ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.4299 FALLER, RICHARD                           VARIOUS                              Litigation              UNDETERMINED
       35 ROSE LN
       REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.4300 FALLIN, JACK                              VARIOUS                              Litigation              UNDETERMINED
       196 GLEN CT
       WALNUT CREEK, CA 94595        ACCOUNT NO.: NOT AVAILABLE


3.4301 FALLON, LESLIE                            VARIOUS                              Litigation              UNDETERMINED
       4230 MACHADO LANE
       OAKLEY, CA 94561              ACCOUNT NO.: NOT AVAILABLE


3.4302 FALOR, CELESTE                            VARIOUS                              Litigation              UNDETERMINED
       800 VIA MIRADA
       MONTEREY, CA 93940            ACCOUNT NO.: NOT AVAILABLE


3.4303 FALOR, NICHOLAS & WARD                    VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 936
       BLUE LAKE, CA 95525           ACCOUNT NO.: NOT AVAILABLE


3.4304 FAM AG FARMS LLC, PALLA,                  VARIOUS                              Litigation              UNDETERMINED
       BRIAN
       5555 HOUGHTON ROAD            ACCOUNT NO.: NOT AVAILABLE
       SHAFTER, CA 93313


3.4305 FAN, ALAN                                 VARIOUS                              Litigation              UNDETERMINED
       47633 WABANA COMMON
       FREMONT, CA 94539             ACCOUNT NO.: NOT AVAILABLE


3.4306 FANG, ANNA                                VARIOUS                              Litigation              UNDETERMINED
       3838 EZIE ST
       SAN JOSE, CA 95111            ACCOUNT NO.: NOT AVAILABLE


3.4307 FANG, WEISHYANG                           VARIOUS                              Litigation              UNDETERMINED
       674 CALERO ST.
       MILPITAS, CA 95035            ACCOUNT NO.: NOT AVAILABLE


3.4308 FAOUR, SALEM                              VARIOUS                              Litigation              UNDETERMINED
       1642 ALISON AVE
       SANTA MARIA, CA 94358         ACCOUNT NO.: NOT AVAILABLE


3.4309 FARAHANCHI, FARIBA                        VARIOUS                              Litigation              UNDETERMINED
       19351 REDBERRY DR UNIT A
       LOS GATOS, CA 95030           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4310 FARAHMANDI, HABIB                        VARIOUS                              Litigation              UNDETERMINED
       210 VISTA GRANDE
       KENTFIELD, CA 94904          ACCOUNT NO.: NOT AVAILABLE


3.4311 FARBER, JULIE (FOR DON                   VARIOUS                              Litigation              UNDETERMINED
       BROWN)
       5471 HIGHWAY 36              ACCOUNT NO.: NOT AVAILABLE
       MAD RIVER, CA


3.4312 FAREWELL, JANETTE                        VARIOUS                              Litigation              UNDETERMINED
       P O BOX 623
       ALTA, CA 95701               ACCOUNT NO.: NOT AVAILABLE


3.4313 FARHANGUI, J A                           VARIOUS                              Litigation              UNDETERMINED
       2211 MOORPARK AVE
       SAN JOSE, CA 95128           ACCOUNT NO.: NOT AVAILABLE


3.4314 FARHANGUI, J A                           VARIOUS                              Litigation              UNDETERMINED
       2211 MOORPARK AVE
       SAN JOSE, CA 95128           ACCOUNT NO.: NOT AVAILABLE


3.4315 FARHANGUI, J A BIJAN                     VARIOUS                              Litigation              UNDETERMINED
       2211 MOORPARK AVE
       SAN JOSE, CA 95128           ACCOUNT NO.: NOT AVAILABLE


3.4316 FARIA, ALEXIS                            VARIOUS                              Litigation              UNDETERMINED
       600 MAHER RD
       ROYAL OAKS, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.4317 FARLEY LAW FIRM, MICHAEL                 VARIOUS                              Litigation              UNDETERMINED
       108 WEST CENTER AVE
       VISALIA, CA 93291            ACCOUNT NO.: NOT AVAILABLE


3.4318 FARM HOUSE LOCAL LLC-                    VARIOUS                              Litigation              UNDETERMINED
       BOUCHARD, ROBIN
       25 WARD ST                   ACCOUNT NO.: NOT AVAILABLE
       LARKSPUR, CA 94939


3.4319 FARMER, FRANCES                          VARIOUS                              Litigation              UNDETERMINED
       20 MONTE VISTA AVENUE
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.4320 FARMER, JANIS                            VARIOUS                              Litigation              UNDETERMINED
       5255 CLUBHOUSE DRIVE
       PLEASANTON, CA 94566         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.4321 FARMERS - JANISCH, JOSEPH                VARIOUS                              Litigation              UNDETERMINED
       PO BOX 268992
       15780 SHANE DR, FORT BRAGG     ACCOUNT NO.: NOT AVAILABLE
       CA
       OKLAHOMA CITY, CA 73126-8992


3.4322 FARMERS INS EXCHANGE,                    VARIOUS                              Litigation              UNDETERMINED
       MICHAEL KUSHNER, ESQ.
       4607 LAKEVIEW CANYON RD        ACCOUNT NO.: NOT AVAILABLE
       STE 275
       WESTLAKE VILLAGE, CA 91361


3.4323 FARMERS INS., ROMAN COLTER               VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 268994
       OKLAHOMA CITY, CA 93126-8994   ACCOUNT NO.: NOT AVAILABLE


3.4324 FARMERS INSURANCE BRIAN                  VARIOUS                              Litigation              UNDETERMINED
       HARPER AGENCY-HARPER,
       BRIAN                          ACCOUNT NO.: NOT AVAILABLE
       40291 JUNCTION DR.
       102
       OAKHURST, CA 93722


3.4325 FARMERS INSURANCE                        VARIOUS                              Litigation              UNDETERMINED
       EXCHANGE-NICE, LYNN
       PO BOX 268994                  ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA CITY, CA 73126


3.4326 FARMERS INSURANCE GROUP-                 VARIOUS                              Litigation              UNDETERMINED
       PARK, KEVIN
       4607 LAKEVIEW CANYON           ACCOUNT NO.: NOT AVAILABLE
       275
       WESTLAKE VILLAGE, CA 91361


3.4327 FARMERS INSURANCE GRP                    VARIOUS                              Litigation              UNDETERMINED
       6303 OWENSMOUTH AVENUE
       FLOOR 1                        ACCOUNT NO.: NOT AVAILABLE
       0
       WOODLAND HILLS, CA 91367


3.4328 FARMERS INSURANCE                        VARIOUS                              Litigation              UNDETERMINED
       SUBROGATION-CABRAL, DAVID
       PO BOX 268992                  ACCOUNT NO.: NOT AVAILABLE
       3510 BRIDLE DR
       OKLAHOMA CITY, CA 73126-8992


3.4329 FARMERS INSURANCE, AARON                 VARIOUS                              Litigation              UNDETERMINED
       CULP
       P.O.BOX 268994                 ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA, CA 73126


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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.4330 FARMERS INSURANCE, ATTN:                 VARIOUS                              Litigation              UNDETERMINED
       BRAD WEBER
       P.O. BOX 268992                ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA, CA 73126-8992


3.4331 FARMERS INSURANCE, ATTN:                 VARIOUS                              Litigation              UNDETERMINED
       BRAD WEBER
       P.O. BOX 268992                ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA, CA 73126-8992


3.4332 FARMERS INSURANCE, ATTN:                 VARIOUS                              Litigation              UNDETERMINED
       BRAD WEBER
       P.O. BOX 268992                ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA, CA 73126-8992


3.4333 FARMERS INSURANCE, ATTN:                 VARIOUS                              Litigation              UNDETERMINED
       JUSTIN QUINN
       PO BOX 268994                  ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA CITY, CA 73126


3.4334 FARMERS INSURANCE, ATTN:                 VARIOUS                              Litigation              UNDETERMINED
       KAYLA TURNER
       P.O. BOX 268994                ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA CITY, CA 73126-8994


3.4335 FARMERS INSURANCE, CASH                  VARIOUS                              Litigation              UNDETERMINED
       RECEIPTS DEPARTMENT
       PO BOX 268992                  ACCOUNT NO.: NOT AVAILABLE
       500 LINDA VISTA DRIVE
       OKLAHOMA CITY, CA 73126-8992


3.4336 FARMERS INSURANCE, CESAR                 VARIOUS                              Litigation              UNDETERMINED
       GARCIA, JORGE GARCIA, JASON
       FRINK                          ACCOUNT NO.: NOT AVAILABLE
       P.O. BOX 268992
       OKLAHOMA CITY, CA 73126-8992


3.4337 FARMERS INSURANCE, CRAIG                 VARIOUS                              Litigation              UNDETERMINED
       REMENY
       P.O. BOX 268992                ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA CITY, CA 73126


3.4338 FARMERS INSURANCE, CRAIG                 VARIOUS                              Litigation              UNDETERMINED
       REMENY
       P O BOX 268942                 ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA CITY, CA 73126




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.4339 FARMERS INSURANCE, JAY                   VARIOUS                              Litigation              UNDETERMINED
       HUNTSMAN
       P.O. BOX 268992                ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA CITY, CA 73126-8992


3.4340 FARMERS INSURANCE, JOSHUA                VARIOUS                              Litigation              UNDETERMINED
       MELTZ
       P.O. BOX 268994                ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA CITY, CA 73126-1389


3.4341 FARMERS INSURANCE, MILLER,               VARIOUS                              Litigation              UNDETERMINED
       WAYNE
       PO BOX 268992                  ACCOUNT NO.: NOT AVAILABLE
       1585 3RD STREET
       LIVERMORE, CA


3.4342 FARMERS INSURANCE, NANCY                 VARIOUS                              Litigation              UNDETERMINED
       LILLIAN
       PO BOX 268994                  ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA CITY, CA 73126


3.4343 FARMERS INSURANCE,                       VARIOUS                              Litigation              UNDETERMINED
       NATIONAL DOCUMENT CENTER
       P.O. BOX 268992                ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA CITY, CA 73126-8992


3.4344 FARMERS INSURANCE, ODIE                  VARIOUS                              Litigation              UNDETERMINED
       SHEET METAL - JUAN ARCE
       P.O. BOX 268992                ACCOUNT NO.: NOT AVAILABLE
       375 UMBARGER ROAD
       SAN JOSE, CA 95111


3.4345 FARMERS INSURANCE, SARAH                 VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 268994
       OKLAHOMA CITY, CA 73126-8994   ACCOUNT NO.: NOT AVAILABLE


3.4346 FARMERS INSURANCE, TUBIGIII,             VARIOUS                              Litigation              UNDETERMINED
       JOSE
       P.O. BOX 268994                ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA CITY, CA 73126


3.4347 FARMERS INSURANCE, YEAN                  VARIOUS                              Litigation              UNDETERMINED
       SAEPHAN - INSURED.
       P.O. BOX 268992                ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA CITY, CA 73126-8992


3.4348 FARMERS INSURANCE/,                      VARIOUS                              Litigation              UNDETERMINED
       CARMEN ENNIS
       P.O. BOX 268992                ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA CITY, CA 73126-8992

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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.4349 FARMERS INSURANCE-                       VARIOUS                              Litigation              UNDETERMINED
       COWLEY, GREG
       18990 COYOTE VALLEY RD.        ACCOUNT NO.: NOT AVAILABLE
       SUITE 17 AND 18
       HIDDEN VALLEY LAKE, CA 95467


3.4350 FARMERS INTERNATIONAL-                   VARIOUS                              Litigation              UNDETERMINED
       CERUTTI, GREG
       1260 MUIR AVE                  ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95973


3.4351 FARMERS SPECIALTY                        VARIOUS                              Litigation              UNDETERMINED
       INSURANCE COMPANY-DO,
       QUANG                          ACCOUNT NO.: NOT AVAILABLE
       PO BOX 258806
       OKLAHOMA CITY, CA 73125


3.4352 FARMERS SPECIALTY                        VARIOUS                              Litigation              UNDETERMINED
       INSURANCE COMPANY-KIM, MIN
       PO BOX 258806                  ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA CITY, CA 73125


3.4353 FARMERS, BECKER, KEN                     VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 268992
       OKLAHOMA CITY, CA 73126-8992   ACCOUNT NO.: NOT AVAILABLE


3.4354 FARMERS, CAFE VERANDA                    VARIOUS                              Litigation              UNDETERMINED
       ENTERPRISES INC KITCHEN
       STORY CAFE                     ACCOUNT NO.: NOT AVAILABLE
       PO BOX 268994
       3499 16TH STREET
       SAN FRANCISCO, CA


3.4355 FARMERS, FLYNN,                          VARIOUS                              Litigation              UNDETERMINED
       CHRISTOPHER
       PO BOX 268992                  ACCOUNT NO.: NOT AVAILABLE
       3765 TWIG AVE
       SEBASTOPOL, CA


3.4356 FARMERS, JUANITA                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 268994
       3630 CORONADO AVENUE           ACCOUNT NO.: NOT AVAILABLE
       OKLAHOMA COTY, CA


3.4357 FARMERS, KILLOUGH, MAURINE               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 268992
       816 E 4TH AVE                  ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.4358 FARMS LLC-, MALLARD                      VARIOUS                              Litigation              UNDETERMINED
       1547 GIBBONS DRIVE
       ATTN. JEFF CAVANAUGH         ACCOUNT NO.: NOT AVAILABLE
       ALAMEDA, CA 94501


3.4359 FARNUM, PETER                            VARIOUS                              Litigation              UNDETERMINED
       2839 CLARK VALLEY RD
       LOS OSOS, CA 93402           ACCOUNT NO.: NOT AVAILABLE


3.4360 FARRAR, ANNE                             VARIOUS                              Litigation              UNDETERMINED
       1400 GEARY BLVD
       APT 2510                     ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94109


3.4361 FARRAR, DEBRA                            VARIOUS                              Litigation              UNDETERMINED
       1140 DELAWARE AVE
       WEST SACRAMENTO, CA 95691    ACCOUNT NO.: NOT AVAILABLE


3.4362 FARRAR, SCOTT                            VARIOUS                              Litigation              UNDETERMINED
       23942 STABLE ROAD
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.4363 FARRELL DESIGN-BUILD                     VARIOUS                              Litigation              UNDETERMINED
       COMPANIES INC
       EVANS, WIECKOWSKI, WARD &    ACCOUNT NO.: NOT AVAILABLE
       SCOFFIELD, LLP
       745 UNIVERSITY AVENUE
       SACRAMENTO, CA 95825


3.4364 FARRELL, LISA                            VARIOUS                              Litigation              UNDETERMINED
       132 BLOSSOM GLEN WAY
       LOS GATOS, CA 95032          ACCOUNT NO.: NOT AVAILABLE


3.4365 FARRELL-ARAQUE, MARTIN                   VARIOUS                              Litigation              UNDETERMINED
       LAW OFFICES OF JULIA J.
       PARRANTO                     ACCOUNT NO.: NOT AVAILABLE
       819 SONOMA AVENUE
       0
       SANTA ROSA, CA 95404


3.4366 FARRELL-ARAQUE, MARTIN                   VARIOUS                              Litigation              UNDETERMINED
       LAW OFFICES OF JULIA J.
       PARRANTO                     ACCOUNT NO.: NOT AVAILABLE
       819 SONOMA AVENUE
       SANTA ROSA, CA 95404


3.4367 FARRIS, GREOGRY                          VARIOUS                              Litigation              UNDETERMINED
       230 CHERIS DRIVE
       SAN JOSE, CA 95123           ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.4368 FARRIS, LYNN & ROCKY                     VARIOUS                              Litigation              UNDETERMINED
       1319 BLOCK ROAD
       GRIDLEY, CA 95948              ACCOUNT NO.: NOT AVAILABLE


3.4369 FARUQUI, FURAH                           VARIOUS                              Litigation              UNDETERMINED
       3402 FOSTORIA WAY
       DANVILLE, CA 94526             ACCOUNT NO.: NOT AVAILABLE


3.4370 FARZANEH FARSOUDI-HODA                   VARIOUS                              Litigation              UNDETERMINED
       J. GARY GWILLIAM, WINSTON W.
       MOODY                          ACCOUNT NO.: NOT AVAILABLE
       1999 HARRISON STREET
       SUITE 1600
       OAKLAND, CA 94612


3.4371 FARZANEH FARSOUDI-HODA                   VARIOUS                              Litigation              UNDETERMINED
       DAN SIEGEL
       499 14TH STREET                ACCOUNT NO.: NOT AVAILABLE
       SUITE 300
       OAKLAND, CA 94612


3.4372 FASO, ROSALIE                            VARIOUS                              Litigation              UNDETERMINED
       1050 3RD STREET APT #403
       SANTA ROSA, CA 95404           ACCOUNT NO.: NOT AVAILABLE


3.4373 FAST LANE MOTORS-MALEK,                  VARIOUS                              Litigation              UNDETERMINED
       WILSON
       1985 XAVIER AVE                ACCOUNT NO.: NOT AVAILABLE
       TURLOCK, CA 95382


3.4374 FASTENAL-MACIEL, MIGUEL                  VARIOUS                              Litigation              UNDETERMINED
       310 N CLUFF AVE, LODI, CA
       95240                          ACCOUNT NO.: NOT AVAILABLE
       LODI, CA 95240


3.4375 FATEMI, HOMI                             VARIOUS                              Litigation              UNDETERMINED
       25691 LALANNE COURT
       LOS ALTOS HILLS, CA 94022      ACCOUNT NO.: NOT AVAILABLE


3.4376 FATOR'S MOTORCYCLES-                     VARIOUS                              Litigation              UNDETERMINED
       FATOR, CORIN
       682 GROVE STREET               ACCOUNT NO.: NOT AVAILABLE
       REDDING, CA 96002


3.4377 FAU, GARY                                VARIOUS                              Litigation              UNDETERMINED
       2024 IDAHO COURT
       REDWOOD CITY, CA 94061         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.4378 FAULKENBERRY, SHALENE                    VARIOUS                              Litigation              UNDETERMINED
       PO BOX 537
       UKIAH, CA 95482                ACCOUNT NO.: NOT AVAILABLE


3.4379 FAULKINS, MARK                           VARIOUS                              Litigation              UNDETERMINED
       4717 GANNS CORRAL RD
       MARIPOSA, CA 95338             ACCOUNT NO.: NOT AVAILABLE


3.4380 FAULKNER, APRIL                          VARIOUS                              Litigation              UNDETERMINED
       531 FREDERICK STREET, UNIT C
       SANTA CRUZ, CA 95062           ACCOUNT NO.: NOT AVAILABLE


3.4381 FAULTLINE STUDIO-MEDEIROS,               VARIOUS                              Litigation              UNDETERMINED
       MATTHEW
       380 BREEN RD                   ACCOUNT NO.: NOT AVAILABLE
       SAN JUAN BAUTISTA, CA 95045


3.4382 FAVELA, EVA                              VARIOUS                              Litigation              UNDETERMINED
       149 HIDDEN VALLEY
       WATSONVILLE, CA 95076          ACCOUNT NO.: NOT AVAILABLE


3.4383 FAVELA'S FUSION-FAVELADIAZ,              VARIOUS                              Litigation              UNDETERMINED
       VERONICA
       1500 OLIVER ROAD               ACCOUNT NO.: NOT AVAILABLE
       FAIRFIELD, CA 94534


3.4384 FAVINI, JAMES                            VARIOUS                              Litigation              UNDETERMINED
       12320 ROAD 25 1/2
       MADERA, CA 93637               ACCOUNT NO.: NOT AVAILABLE


3.4385 FAVRO, MATTHEW                           VARIOUS                              Litigation              UNDETERMINED
       3430 DIMAGGIO WAY
       ANTIOCH, CA 94509              ACCOUNT NO.: NOT AVAILABLE


3.4386 FAWN, MIKE & PEARL                       VARIOUS                              Litigation              UNDETERMINED
       25174 SHAKE RIDGE ROAD
       VOLCANO, CA 95689              ACCOUNT NO.: NOT AVAILABLE


3.4387 FAWZI, VALERIE                           VARIOUS                              Litigation              UNDETERMINED
       1624 OCEAN VIEW AVE
       KENSINGTON, CA 94707           ACCOUNT NO.: NOT AVAILABLE


3.4388 FAYLOR, JACQUELINE                       VARIOUS                              Litigation              UNDETERMINED
       6852 ATLANTA CIRCLE
       STOCKTON, CA 95219             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.4389 FEDERAL REALTY INVESTMENT                VARIOUS                              Litigation              UNDETERMINED
       TRUST LLC-VIEIRA, ANTHONY
       356 SANTANA ROW              ACCOUNT NO.: NOT AVAILABLE
       SUITE 1005
       SAN JOSE, CA 95128


3.4390 FEDOTOFF, NICHOLAS                       VARIOUS                              Litigation              UNDETERMINED
       2 ORAM LANE
       PLEASANT HILL, CA 94523      ACCOUNT NO.: NOT AVAILABLE


3.4391 FEDYASHOV, EUGENE V. PG&E                VARIOUS                              Litigation              UNDETERMINED
       208 CHAMPAGNE W
       W, CALISTOGA, CA 94515       ACCOUNT NO.: NOT AVAILABLE


3.4392 FEELY, JOHN                              VARIOUS                              Litigation              UNDETERMINED
       2340 IRVING ST #102
       SAN FRANCISCO, CA 94122      ACCOUNT NO.: NOT AVAILABLE


3.4393 FEENEY, MARY                             VARIOUS                              Litigation              UNDETERMINED
       185 ALTA VISTA WAY
       DALY CITY, CA 94014          ACCOUNT NO.: NOT AVAILABLE


3.4394 FEHLING, CLARENCE                        VARIOUS                              Litigation              UNDETERMINED
       5068 E. LIVE OAK RD.
       11644 N. HIGHWAY 99          ACCOUNT NO.: NOT AVAILABLE
       LODI, CA 95240


3.4395 FEHRENBACH, NICOLAS                      VARIOUS                              Litigation              UNDETERMINED
       1007 STANFORD DR
       DAVIS, CA 95616              ACCOUNT NO.: NOT AVAILABLE


3.4396 FEKETE, KIM                              VARIOUS                              Litigation              UNDETERMINED
       5721 AMBASSADOR DR
       ROCKLIN, CA 95677            ACCOUNT NO.: NOT AVAILABLE


3.4397 FELDBERG, MARK                           VARIOUS                              Litigation              UNDETERMINED
       100 N. BISCAYNE BLVD., STE
       3000                         ACCOUNT NO.: NOT AVAILABLE
       MIAMI, CA 33132


3.4398 FELDMAN, JAMILA                          VARIOUS                              Litigation              UNDETERMINED
       CA 0
                                    ACCOUNT NO.: NOT AVAILABLE


3.4399 FELDMAN, KATHY                           VARIOUS                              Litigation              UNDETERMINED
       315 GROVE DRIVE
       PGE CLAIM NO 0977152296      ACCOUNT NO.: NOT AVAILABLE
       PORTOLA VALLEY, CA 94028


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.4400 FELDMAN, RON                             VARIOUS                              Litigation              UNDETERMINED
       21841 ALCAZAR AVE
       CUPERTINO, CA 95014          ACCOUNT NO.: NOT AVAILABLE


3.4401 FELIX, CARLOS                            VARIOUS                              Litigation              UNDETERMINED
       168 MAKENNA DRIVE
       HWY 580 EAST BOUND           ACCOUNT NO.: NOT AVAILABLE
       MADERA, CA 93637


3.4402 FELIX, JOHNNY & SYEMEN                   VARIOUS                              Litigation              UNDETERMINED
       643 SYLVAN STREET APT. 2
       DALLY CITY, CA 94014         ACCOUNT NO.: NOT AVAILABLE


3.4403 FELIX, KELINE                            VARIOUS                              Litigation              UNDETERMINED
       427 DONNER AVENUE
       PETALUMA, CA 94954           ACCOUNT NO.: NOT AVAILABLE


3.4404 FELIX, KRIS                              VARIOUS                              Litigation              UNDETERMINED
       2970 HIGHWAY 49 S
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE


3.4405 FELIX, SANDRA                            VARIOUS                              Litigation              UNDETERMINED
       336 SUSIE WAY #3
       SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
       94080


3.4406 FELLS, DANA                              VARIOUS                              Litigation              UNDETERMINED
       1141 LIGHTHOUSE. AVE.
       #323                         ACCOUNT NO.: NOT AVAILABLE
       PACIFIC GROVE, CA 93950


3.4407 FELMANN, DIANA                           VARIOUS                              Litigation              UNDETERMINED
       324 BRIGTON CT
       BYRON, CA 94505              ACCOUNT NO.: NOT AVAILABLE


3.4408 FELSOCI, ANDREW                          VARIOUS                              Litigation              UNDETERMINED
       6434 MOJAVE DR
       SAN JOSE, CA 95120           ACCOUNT NO.: NOT AVAILABLE


3.4409 FELTEN, GARY                             VARIOUS                              Litigation              UNDETERMINED
       12772 ENCANTO WAY
       REDDING, CA 96003            ACCOUNT NO.: NOT AVAILABLE


3.4410 FELTON VETERINARY                        VARIOUS                              Litigation              UNDETERMINED
       HOSPITAL-ATTON, ROBERT
       5996 HWY 9                   ACCOUNT NO.: NOT AVAILABLE
       FELTON, CA 95018



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.4411 FELTON, DANIEL                           VARIOUS                              Litigation              UNDETERMINED
       1928 CHERRY HILLS
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.4412 FELTY, STEVEN                            VARIOUS                              Litigation              UNDETERMINED
       275 SHARP CIR
       2                            ACCOUNT NO.: NOT AVAILABLE
       ROSEVILLE, CA 95678


3.4413 FENCIL, ADAM                             VARIOUS                              Litigation              UNDETERMINED
       1925 MERLE DR
       REDDING, CA 96001            ACCOUNT NO.: NOT AVAILABLE


3.4414 FENDON JR, THADDEUS                      VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1567
       3860 NEWSOME SPRINGS RD      ACCOUNT NO.: NOT AVAILABLE
       ARROYO GRANDE, CA 93420


3.4415 FENELON, DEREK                           VARIOUS                              Litigation              UNDETERMINED
       22560 FIFTH ST.
       HAYWARD, CA 94541            ACCOUNT NO.: NOT AVAILABLE


3.4416 FENESTRA WINERY-REPLOGLE,                VARIOUS                              Litigation              UNDETERMINED
       LANNY
       83 VALLECITOS RD.            ACCOUNT NO.: NOT AVAILABLE
       LIVERMORE, CA 94550


3.4417 FENG, YINA                               VARIOUS                              Litigation              UNDETERMINED
       16148 LORETTA LANE
       LOS GATOS, CA 95032          ACCOUNT NO.: NOT AVAILABLE


3.4418 FENNER, PEGGY                            VARIOUS                              Litigation              UNDETERMINED
       1112 W SELBY LN
       REDWOOD CITY, CA 94061       ACCOUNT NO.: NOT AVAILABLE


3.4419 FENSTER, NORMA                           VARIOUS                              Litigation              UNDETERMINED
       4941 HARMONY WAY
       SAN JOSE, CA 95130           ACCOUNT NO.: NOT AVAILABLE


3.4420 FENTON, ANGIE                            VARIOUS                              Litigation              UNDETERMINED
       25324 MOUNTAIN CHARLIE
       ROAD                         ACCOUNT NO.: NOT AVAILABLE
       LOS GATOS, CA 95033


3.4421 FENTON, DAVE                             VARIOUS                              Litigation              UNDETERMINED
       36511 PAUBA RD
       TEMECULA, CA 92592           ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.4422 FENWICK, BILL                            VARIOUS                              Litigation              UNDETERMINED
       14180 CAMPAGNA WAY
       ROYAL OAKS, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.4423 FERGUS, JESSICA                          VARIOUS                              Litigation              UNDETERMINED
       241 TETON COURT
       SAN RAFAEL, CA 94903         ACCOUNT NO.: NOT AVAILABLE


3.4424 FERGUSON, ALAN                           VARIOUS                              Litigation              UNDETERMINED
       5000 DISCOVERY POINT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.4425 FERGUSON, DANIELLE                       VARIOUS                              Litigation              UNDETERMINED
       31820 HIGHWAY 20
       FORT BRAGG, CA 95437         ACCOUNT NO.: NOT AVAILABLE


3.4426 FERGUSON, MICHAEL                        VARIOUS                              Litigation              UNDETERMINED
       11738 LAKE WILDWOOD DRIVE
       PENN VALLEY, CA 95946        ACCOUNT NO.: NOT AVAILABLE


3.4427 FERNADES, ANTHONY                        VARIOUS                              Litigation              UNDETERMINED
       71 REED ROAD
       OAKDALE, CA 95361            ACCOUNT NO.: NOT AVAILABLE


3.4428 FERNANDES DAIRY-                         VARIOUS                              Litigation              UNDETERMINED
       FERNANDEZ, OZZIE
       16452 11TH AVE               ACCOUNT NO.: NOT AVAILABLE
       HANFORD, CA 93203


3.4429 FERNANDEZ, ALICE                         VARIOUS                              Litigation              UNDETERMINED
       150 KERN ST SP 20
       SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.4430 FERNANDEZ, DANIEL                        VARIOUS                              Litigation              UNDETERMINED
       4380 COVE LANE
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.4431 FERNANDEZ, ELENA                         VARIOUS                              Litigation              UNDETERMINED
       1135 YOSEMITE AVE
       SAN JOSE, CA 95126           ACCOUNT NO.: NOT AVAILABLE


3.4432 FERNANDEZ, ESMERALDA                     VARIOUS                              Litigation              UNDETERMINED
       255 E BOLIVAR ST SPC 219
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4433 FERNANDEZ, GRAHAM                        VARIOUS                              Litigation              UNDETERMINED
       170 ALPINE DR
       COLFAX, CA 95713             ACCOUNT NO.: NOT AVAILABLE


3.4434 FERNANDEZ, JORGE                         VARIOUS                              Litigation              UNDETERMINED
       6333 MARK LN
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.4435 FERNANDEZ, JOSE/MARIA                    VARIOUS                              Litigation              UNDETERMINED
       730 W. ALAMEDA STREET
       MANTECA, CA 95336            ACCOUNT NO.: NOT AVAILABLE


3.4436 FERNANDEZ, MARGARITA                     VARIOUS                              Litigation              UNDETERMINED
       1152 LOS PALOS DRIVE
       SALINAS, CA 93901            ACCOUNT NO.: NOT AVAILABLE


3.4437 FERNANDEZ, MARIA                         VARIOUS                              Litigation              UNDETERMINED
       1135 JOHN STREET
       SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.4438 FERNANDEZ, MARIA                         VARIOUS                              Litigation              UNDETERMINED
       10 WOODROW AVE
       VALLEJO, CA 94590            ACCOUNT NO.: NOT AVAILABLE


3.4439 FERNANDEZ, MARIA DEL                     VARIOUS                              Litigation              UNDETERMINED
       ROSARIO
       PO BOX 1652                  ACCOUNT NO.: NOT AVAILABLE
       MORRO BAY, CA 93443


3.4440 FERNANDEZ, PATRICIA                      VARIOUS                              Litigation              UNDETERMINED
       11705 TAM OSHANTER DR
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.4441 FERNANDEZ, TOM                           VARIOUS                              Litigation              UNDETERMINED
       2298 PINE DR
       ARNOLD, CA 95223             ACCOUNT NO.: NOT AVAILABLE


3.4442 FERNDALETECH-DISTEFANO,                  VARIOUS                              Litigation              UNDETERMINED
       DEMETRIUS
       P.O.BOX 111                  ACCOUNT NO.: NOT AVAILABLE
       FERNDALE, CA 95536


3.4443 FERRA, YESENIA                           VARIOUS                              Litigation              UNDETERMINED
       645 QUEENS AVE
       13                           ACCOUNT NO.: NOT AVAILABLE
       YUBA CITY, CA 95991




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Litigation & Disputes

3.4444 FERRARA, ANDREW                          VARIOUS                              Litigation              UNDETERMINED
       1230 PARROTT DR
       SAN MATEO, CA 94402          ACCOUNT NO.: NOT AVAILABLE


3.4445 FERRARA, ANDREW                          VARIOUS                              Litigation              UNDETERMINED
       1230 PARROTT DR
       SAN MATEO, CA 94402          ACCOUNT NO.: NOT AVAILABLE


3.4446 FERRARI CARANO VINEYARDS                 VARIOUS                              Litigation              UNDETERMINED
       & WINERY-JAMES, DAVID
       8761 DRY CREEK ROAD          ACCOUNT NO.: NOT AVAILABLE
       HEALDSBURG, CA 95448


3.4447 FERRARI, CORY                            VARIOUS                              Litigation              UNDETERMINED
       272 CLIPPER GAP ROAD
       AUBURN, CA 95603             ACCOUNT NO.: NOT AVAILABLE


3.4448 FERRARI, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       7 SEA WAY
       SAN RAFAEL, CA 34416         ACCOUNT NO.: NOT AVAILABLE


3.4449 FERRARI, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       2420 SOUTHVIEW DR
       ALAMO, CA 94507              ACCOUNT NO.: NOT AVAILABLE


3.4450 FERRARI, STEVE & HEIDI                   VARIOUS                              Litigation              UNDETERMINED
       4389 DEL RIO RD
       ATASCADERO, CA 93422         ACCOUNT NO.: NOT AVAILABLE


3.4451 FERREIRA, CATHERINE                      VARIOUS                              Litigation              UNDETERMINED
       185 LINDEN AVENUE
       AUBURN, CA 95603             ACCOUNT NO.: NOT AVAILABLE


3.4452 FERREIRA, DANIEL                         VARIOUS                              Litigation              UNDETERMINED
       2289 FALCON RIDGE LANE
       LOS OSOS, CA 93402           ACCOUNT NO.: NOT AVAILABLE


3.4453 FERREIRA, RAYMOND                        VARIOUS                              Litigation              UNDETERMINED
       13300 BOX 3 RANCH ROAD
       REDDING, CA 96003            ACCOUNT NO.: NOT AVAILABLE


3.4454 FERREIRA, SCOTT                          VARIOUS                              Litigation              UNDETERMINED
       14280 MOUNTAIN QUAIL ROAD
       SALINAS, CA 93908            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4455 FERREL, MARK                              VARIOUS                              Litigation              UNDETERMINED
       808 N MAIN STREET
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.4456 FERRELL, KATHLEEN                         VARIOUS                              Litigation              UNDETERMINED
       5083 RHOADS AVE
       A                             ACCOUNT NO.: NOT AVAILABLE
       SANTA BARBARA, CA 93111


3.4457 FERRERA, JANET                            VARIOUS                              Litigation              UNDETERMINED
       17900 OCEAN DR #55
       FORT BRAGG, CA 95437          ACCOUNT NO.: NOT AVAILABLE


3.4458 FERRETTI, JENNIFFER                       VARIOUS                              Litigation              UNDETERMINED
       8559 ACAPULCO WAY
       STOCKTON, CA 95210            ACCOUNT NO.: NOT AVAILABLE


3.4459 FERRIS, CAROLYN                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 192
       HOOPA, CA 95546               ACCOUNT NO.: NOT AVAILABLE


3.4460 FERRIS, SAISAMAUN                         VARIOUS                              Litigation              UNDETERMINED
       180 SNYDER DRIVE
       LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.4461 FERRO, STEPHEN                            VARIOUS                              Litigation              UNDETERMINED
       876 BROOKSIDE DRIVE
       FELTON, CA 95018              ACCOUNT NO.: NOT AVAILABLE


3.4462 FERTIG, GEORGE                            VARIOUS                              Litigation              UNDETERMINED
       21857 HYATT RD
       NEVADA CITY, CA 95959         ACCOUNT NO.: NOT AVAILABLE


3.4463 FERTIG, JORDAN                            VARIOUS                              Litigation              UNDETERMINED
       6017 N. KAVANAGH
       FRESNO, CA 93711              ACCOUNT NO.: NOT AVAILABLE


3.4464 FESSLER, RICHARD                          VARIOUS                              Litigation              UNDETERMINED
       2610 NIGHT HAWK WAY
       CAMINO, CA 95709              ACCOUNT NO.: NOT AVAILABLE


3.4465 FESTERSEN, HARRIET                        VARIOUS                              Litigation              UNDETERMINED
       3120 RUTLEDGE WAY
       STOCKTON, CA 95219            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.4466 FETHEROLF, DALE                           VARIOUS                              Litigation              UNDETERMINED
       9043 WILLOW AVE
       365 EAST RAPLROAD AVE         ACCOUNT NO.: NOT AVAILABLE
       COTATI, CA 94931


3.4467 FETKE, VERONIKA                           VARIOUS                              Litigation              UNDETERMINED
       25149 RADONICH ROAD
       LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.4468 FEULNER, DENNIS                           VARIOUS                              Litigation              UNDETERMINED
       622 AMBER LANE
       SANTA MARIA, CA 93454         ACCOUNT NO.: NOT AVAILABLE


3.4469 FICHAS, PAUL                              VARIOUS                              Litigation              UNDETERMINED
       429 PRINTZ ROAD
       ARROYO GRANDE, CA 93420       ACCOUNT NO.: NOT AVAILABLE


3.4470 FICKEN, VICKI                             VARIOUS                              Litigation              UNDETERMINED
       316 MID VALLEY CENTER, #156
       CARMEL, CA 93923              ACCOUNT NO.: NOT AVAILABLE


3.4471 FICKLIN, JIM                              VARIOUS                              Litigation              UNDETERMINED
       16597 STAGECOACH RD
       CORNING, CA 96021             ACCOUNT NO.: NOT AVAILABLE


3.4472 FIDLER, LAURIE                            VARIOUS                              Litigation              UNDETERMINED
       6909 BANDOLERO WAY
       BAKERSFIELD, CA 93308         ACCOUNT NO.: NOT AVAILABLE


3.4473 FIELDING, HAROLD                          VARIOUS                              Litigation              UNDETERMINED
       4620 N. THORNE
       FRESNO, CA 93704              ACCOUNT NO.: NOT AVAILABLE


3.4474 FIELDING, JOSEPH                          VARIOUS                              Litigation              UNDETERMINED
       5261 DOGTOWN RD
       COULTERVILLE, CA 95311        ACCOUNT NO.: NOT AVAILABLE


3.4475 FIELDS, CAROL                             VARIOUS                              Litigation              UNDETERMINED
       2442 66TH AVE
       OAKLAND, CA 94605             ACCOUNT NO.: NOT AVAILABLE


3.4476 FIELDS, LISA                              VARIOUS                              Litigation              UNDETERMINED
       1089 ROSE DR.
       BENICIA, CA 94510             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.4477 FIERO, NANCY                              VARIOUS                              Litigation              UNDETERMINED
       320 ELM ST. # 312
       SAN MATEO, CA 94401           ACCOUNT NO.: NOT AVAILABLE


3.4478 FIERRO, CRUZ                              VARIOUS                              Litigation              UNDETERMINED
       455 KENNEDY CT
       GILROY, CA 95020              ACCOUNT NO.: NOT AVAILABLE


3.4479 FIFER, ALETHEA                            VARIOUS                              Litigation              UNDETERMINED
       15215 FAWNDALE RD #16
       REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.4480 FIFER, ROBERT                             VARIOUS                              Litigation              UNDETERMINED
       1977 PONDEROSA DRIVE, APT
       #10                           ACCOUNT NO.: NOT AVAILABLE
       OAKDALE, CA 95361


3.4481 FIGONI, ELIZABETH                         VARIOUS                              Litigation              UNDETERMINED
       5527 ALASKA DRIVE
       CONCORD, CA 94521             ACCOUNT NO.: NOT AVAILABLE


3.4482 FIGONI, JEFFREY                           VARIOUS                              Litigation              UNDETERMINED
       2356 PARISH DRIVE
       WALNUT CREEK, CA 94598        ACCOUNT NO.: NOT AVAILABLE


3.4483 FIGUEROA, ELEAZAR                         VARIOUS                              Litigation              UNDETERMINED
       355 MAHER ROAD
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.4484 FIGUEROA, JACQUELINE                      VARIOUS                              Litigation              UNDETERMINED
       1181 PORT CT
       MCFARLAND, CA 93250           ACCOUNT NO.: NOT AVAILABLE


3.4485 FILICE, KAY                               VARIOUS                              Litigation              UNDETERMINED
       4400 FAIRVIEW ROAD
       HOLLISTER, CA 95023           ACCOUNT NO.: NOT AVAILABLE


3.4486 FILIOS, ALICE                             VARIOUS                              Litigation              UNDETERMINED
       832 ODDSTAD BLVD
       PACIFICA, CA 94044            ACCOUNT NO.: NOT AVAILABLE


3.4487 FILSON, SCOTT                             VARIOUS                              Litigation              UNDETERMINED
       3164 AIRPORT RD
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4488 FILTER, WILLIAM                           VARIOUS                              Litigation              UNDETERMINED
       925 KOCH LN
       LIVE OAK, CA 95953            ACCOUNT NO.: NOT AVAILABLE


3.4489 FINCH, ZOE                                VARIOUS                              Litigation              UNDETERMINED
       6705 CHERUBINO COURT
       BAKERSFIELD, CA 93306         ACCOUNT NO.: NOT AVAILABLE


3.4490 FINDLETON, TYLER                          VARIOUS                              Litigation              UNDETERMINED
       3400 VISTA LANE
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.4491 FINE LINE CUSTOMS INC-                    VARIOUS                              Litigation              UNDETERMINED
       MOSCOSO, ELIAS
       1489 N.THESTA ST.             ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93703


3.4492 FINGEROTE, QUINCY                         VARIOUS                              Litigation              UNDETERMINED
       989 MADISON ST
       MONTEREY, CA 93940            ACCOUNT NO.: NOT AVAILABLE


3.4493 FINKEL, MARIA                             VARIOUS                              Litigation              UNDETERMINED
       320 DOLORES ST.
       SANTA CRUZ, CA 95062          ACCOUNT NO.: NOT AVAILABLE


3.4494 FINKLE, CLAUDIA                           VARIOUS                              Litigation              UNDETERMINED
       1412 ACROFT COURT
       BERKELEY, CA 94702            ACCOUNT NO.: NOT AVAILABLE


3.4495 FINLEY, CHRISTINE                         VARIOUS                              Litigation              UNDETERMINED
       7286 EDYTHE CIR
       WINTON, CA 95388              ACCOUNT NO.: NOT AVAILABLE


3.4496 FINNEY, MECHELLE                          VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1333
       COBB, CA 95426                ACCOUNT NO.: NOT AVAILABLE


3.4497 FINSTAD, ANNA                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1214
       SAN JUAN BAUTISTA, CA 95045   ACCOUNT NO.: NOT AVAILABLE


3.4498 FIORAVANTI, KENNETH                       VARIOUS                              Litigation              UNDETERMINED
       188 SCOTIA PINES CIRCLE
       GRASS VALLEY, CA 95945        ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4499 FIORE DI PASTA - PRIMAVERA,              VARIOUS                              Litigation              UNDETERMINED
       ANTHONY
       4776 E JENSON AVE             ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93725


3.4500 FIRE CAUSE ANALYSIS, JORDAN              VARIOUS                              Litigation              UNDETERMINED
       SIMMONS
       935 PARDEE STREET             ACCOUNT NO.: NOT AVAILABLE
       BERKELEY, CA 94710-2623


3.4501 FIRE DISTRICT, SACRAMENTO                VARIOUS                              Litigation              UNDETERMINED
       METROPOLITAN
       PO BOX 269110                 ACCOUNT NO.: NOT AVAILABLE
       SACRAMENTO, CA 95826


3.4502 FIRE INSURANCE EXCHANGE,                 VARIOUS                              Litigation              UNDETERMINED
       CARRINE SIBANDA
       3431 MARKET STREET            ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA


3.4503 FIRE INSURANCE EXCHANGE;                 VARIOUS                              Litigation              UNDETERMINED
       FOREMEOST INSURANCE CO.
       GRAND RAPIDS, MICHIGAN;       ACCOUNT NO.: NOT AVAILABLE
       FOREMOST PROPERTY AND
       CASUALTY INSURANCE CO.;
       AND MID-CENTURY INSURANCE
       CO.
       CRAIG S. SIMON, BERGER
       KAHN, A LAW CORPORATION
       1 PARK PLAZA, SUITE 340
       IRVINE, CA 92614-8516


3.4504 FIREBAUGH, BETSY & ANDY                  VARIOUS                              Litigation              UNDETERMINED
       2155 PINE FLAT ROAD
       SANTA CRUZ, CA 95060          ACCOUNT NO.: NOT AVAILABLE


3.4505 FIRST CHRISTIAN CHURCH-                  VARIOUS                              Litigation              UNDETERMINED
       MCCOLLESTER, MICHAEL
       5738 PENTZ RD                 ACCOUNT NO.: NOT AVAILABLE
       PARADISE, CA 95969


3.4506 FIRST PRESBYTERIAN CHURCH                VARIOUS                              Litigation              UNDETERMINED
       OF OAKLAND-PAGEL, DIANA
       2619 BROADWAY                 ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94612


3.4507 FISCHBACH, ALAN                          VARIOUS                              Litigation              UNDETERMINED
       1124 THORNTREE CT
       SAN JOSE, CA 95120            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4508 FISCHBACH, DONALD                        VARIOUS                              Litigation              UNDETERMINED
       520 EASY SUMMERDALE COURT
       FRESNO, CA 93720             ACCOUNT NO.: NOT AVAILABLE


3.4509 FISCHBACH, JOSHUA                        VARIOUS                              Litigation              UNDETERMINED
       4922 PASO DEL OSO RD
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE


3.4510 FISCHER, GERALD                          VARIOUS                              Litigation              UNDETERMINED
       133 ANDERSON DRIVE
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.4511 FISHER, DOUGLAS                          VARIOUS                              Litigation              UNDETERMINED
       5450 MILL CREEK RD
       HEALDSBURG, CA 95448         ACCOUNT NO.: NOT AVAILABLE


3.4512 FISHER, JASON                            VARIOUS                              Litigation              UNDETERMINED
       3188 RIALTO AVE
       CLOVIS, CA 93619             ACCOUNT NO.: NOT AVAILABLE


3.4513 FISHER, LORI                             VARIOUS                              Litigation              UNDETERMINED
       900 BEAR CANYON LANE
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.4514 FISHER, NAYDEAN                          VARIOUS                              Litigation              UNDETERMINED
       330 RAYMOND AVE
       #                            ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94134


3.4515 FISHER, PHILIP                           VARIOUS                              Litigation              UNDETERMINED
       190 WILDROSE TERRACE
       BOULDER CREEK, CA 95006      ACCOUNT NO.: NOT AVAILABLE


3.4516 FISHERMAN'S WHARF 76-MA,                 VARIOUS                              Litigation              UNDETERMINED
       KENNY
       490 BAY STREET               ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94133


3.4517 FISHMAN, BARBARA                         VARIOUS                              Litigation              UNDETERMINED
       20159 BEATTY RIDGE ROAD
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.4518 FITZGERALD, DANNY                        VARIOUS                              Litigation              UNDETERMINED
       701 PETALUMA BLVD S
       PETALUMA, CA 94952           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4519 FITZGERALD, PATRICK                      VARIOUS                              Litigation              UNDETERMINED
       900 HIGH VIEW DR
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.4520 FITZGERALD, PEG M                        VARIOUS                              Litigation              UNDETERMINED
       8325 SINGING HILLS TRAIL
       SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE


3.4521 FITZPATRICK, JOANNE                      VARIOUS                              Litigation              UNDETERMINED
       26897 SPRING CT LOT 523
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.4522 FITZPATRICK, JOANNE                      VARIOUS                              Litigation              UNDETERMINED
       26897 SPRING CT LOT 523
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.4523 FITZPATRICK, MEEGAN                      VARIOUS                              Litigation              UNDETERMINED
       20136 NICHOLAS RD
       CLOVIS, CA 93619             ACCOUNT NO.: NOT AVAILABLE


3.4524 FITZPATRICK, MEEGAN                      VARIOUS                              Litigation              UNDETERMINED
       20136 NICHOLAS RD
       CLOVIS, CA 93619             ACCOUNT NO.: NOT AVAILABLE


3.4525 FITZPATRICK, RYAN                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 4468
       PASO ROBLES, CA 93447        ACCOUNT NO.: NOT AVAILABLE


3.4526 FITZSIMMONS, LYNNE                       VARIOUS                              Litigation              UNDETERMINED
       2867 MILLBRIDGE PL
       SAN RAMON, CA 94583          ACCOUNT NO.: NOT AVAILABLE


3.4527 FLAGG, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       1565 SHILOH PL
       TEMPLETON, CA 93465          ACCOUNT NO.: NOT AVAILABLE


3.4528 FLAHERTY, JUDITH                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 277
       LUCERNE, CA 95458            ACCOUNT NO.: NOT AVAILABLE


3.4529 FLAMINGO HOTEL-NUESMEYER,                VARIOUS                              Litigation              UNDETERMINED
       RAY
       2777 FOURTH STREET           ACCOUNT NO.: NOT AVAILABLE
       SANTA ROSA, CA 95405




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.4530 FLANZBAUM, JEFFERY                        VARIOUS                              Litigation              UNDETERMINED
       603 BROADWAY APT B
       SANTA CRUZ, CA 95060          ACCOUNT NO.: NOT AVAILABLE


3.4531 FLAUNT HAIR DESIGNS,                      VARIOUS                              Litigation              UNDETERMINED
       CHRISTINE PALMER
       1524 RIVA TRIGOSO DRIVE       ACCOUNT NO.: NOT AVAILABLE
       148 RAY STREET STE. E & F,
       PLEASANTON
       MANTECA, CA 94566


3.4532 FLEET RESPONSE T/P/A FOR                  VARIOUS                              Litigation              UNDETERMINED
       UNITED RENTALS
       6450 ROCKSIDE WOODS BLVD.     ACCOUNT NO.: NOT AVAILABLE
       S., STE. 250
       302 PINE STREET, MODESTO
       CLEVELAND, CA 44131


3.4533 FLEET RESPONSE T/P/A FOR                  VARIOUS                              Litigation              UNDETERMINED
       UNITED RENTALS
       6450 ROCKSIDE WOODS BLVD.     ACCOUNT NO.: NOT AVAILABLE
       S., STE. 250
       302 PINE STREET, MODESTO
       CLEVELAND, CA 44131


3.4534 FLEET RESPONSE T/P/A FOR                  VARIOUS                              Litigation              UNDETERMINED
       UNITED RENTALS
       6450 ROCKSIDE WOODS BLVD.     ACCOUNT NO.: NOT AVAILABLE
       S., STE. 250
       302 PINE STREET, MODESTO
       CLEVELAND, CA 44131


3.4535 FLEISCHER, VICKIE                         VARIOUS                              Litigation              UNDETERMINED
       6335 HORIZON DR
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.4536 FLEISCHER, VICKIE                         VARIOUS                              Litigation              UNDETERMINED
       6335 HORIZON DR
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.4537 FLEISCHMANN, TIFFANY                      VARIOUS                              Litigation              UNDETERMINED
       336 NIBLICK WAY
       SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.4538 FLEISCHMANN, TIFFANY                      VARIOUS                              Litigation              UNDETERMINED
       336 NIBLICK WAY
       SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4539 FLEMATE, DAVID                           VARIOUS                              Litigation              UNDETERMINED
       906 10TH AVENUE
       SAN MATEO, CA 94402          ACCOUNT NO.: NOT AVAILABLE


3.4540 FLEMING, BARBARA                         VARIOUS                              Litigation              UNDETERMINED
       2124 FRIDAY RIDGE ROAD
       WILLOW CREEK, CA 95573       ACCOUNT NO.: NOT AVAILABLE


3.4541 FLEMING, MICHAEL                         VARIOUS                              Litigation              UNDETERMINED
       415 FLEMING LANE
       ANTIOCH, CA 94509            ACCOUNT NO.: NOT AVAILABLE


3.4542 FLEMING, SIOBHAN                         VARIOUS                              Litigation              UNDETERMINED
       315 URBANO DRIVE
       SAN FRANCISCO, CA 94127      ACCOUNT NO.: NOT AVAILABLE


3.4543 FLETCHER, CARYLON                        VARIOUS                              Litigation              UNDETERMINED
       25351 TABLE MEADOW ROAD
       AUBURN, CA 95602             ACCOUNT NO.: NOT AVAILABLE


3.4544 FLETES, ANA                              VARIOUS                              Litigation              UNDETERMINED
       16237 MERIDIAN RD
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.4545 FLINT, RUSS                              VARIOUS                              Litigation              UNDETERMINED
       6120 DIAMOND MT. RD.
       GREENVILLE, CA 95947         ACCOUNT NO.: NOT AVAILABLE


3.4546 FLOCCHINI, LARRY                         VARIOUS                              Litigation              UNDETERMINED
       3159 NEW JERSEY AVENUE
       SAN JOSE, CA 95124           ACCOUNT NO.: NOT AVAILABLE


3.4547 FLOOD, MICHAEL                           VARIOUS                              Litigation              UNDETERMINED
       650 CANYON OAKS DR.
       A                            ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94605


3.4548 FLOOR LAYERS EMPORIUM-                   VARIOUS                              Litigation              UNDETERMINED
       RUSSELL, SHERRY
       4328 ROSEDALE HWY            ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93308


3.4549 FLORA GRUBB GARDENS,                     VARIOUS                              Litigation              UNDETERMINED
       NADLER SAUL
       P O BPX 31485                ACCOUNT NO.: NOT AVAILABLE
       1634 JERROLD AVENUE
       SAN FRANCISCO, CA 94131



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Litigation & Disputes

3.4550 FLORES, ANA                               VARIOUS                              Litigation              UNDETERMINED
       2960 HUFF AVE, APT #4
       SAN JOSE, CA 95128            ACCOUNT NO.: NOT AVAILABLE


3.4551 FLORES, BETTY & GILBERT                   VARIOUS                              Litigation              UNDETERMINED
       2551 WYMAN WAY
       TRACY, CA 95377               ACCOUNT NO.: NOT AVAILABLE


3.4552 FLORES, CARMEN                            VARIOUS                              Litigation              UNDETERMINED
       1445 ALABAMA ST.
       VALLEJO, CA 94590             ACCOUNT NO.: NOT AVAILABLE


3.4553 FLORES, CARMEN                            VARIOUS                              Litigation              UNDETERMINED
       67 ST BRENDAN WAY
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.4554 FLORES, DANIELLE                          VARIOUS                              Litigation              UNDETERMINED
       1178 CARDINAL LANE
       KINGSBURG, CA 93631           ACCOUNT NO.: NOT AVAILABLE


3.4555 FLORES, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       5664 W ACACIA AVE
       FRESNO, CA 93722              ACCOUNT NO.: NOT AVAILABLE


3.4556 FLORES, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       5664 W ACACIA AVE
       FRESNO, CA 93722              ACCOUNT NO.: NOT AVAILABLE


3.4557 FLORES, DOMINGA                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1238
       WOODBRIDGE, CA 95258          ACCOUNT NO.: NOT AVAILABLE


3.4558 FLORES, ELVIRA                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 5254
       STOCKTON, CA 95205            ACCOUNT NO.: NOT AVAILABLE


3.4559 FLORES, JOEY                              VARIOUS                              Litigation              UNDETERMINED
       928 CURTNER AVENUE
       SAN JOSE, CA 95125            ACCOUNT NO.: NOT AVAILABLE


3.4560 FLORES, JOHN/KATHY                        VARIOUS                              Litigation              UNDETERMINED
       322 WEST WARNER AVE
       FRESNO, CA 93704              ACCOUNT NO.: NOT AVAILABLE


3.4561 FLORES, JORENNE                           VARIOUS                              Litigation              UNDETERMINED
       39450 STRATTON COMMON
       FREMONT, CA 94538             ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.4562 FLORES, LIZBETH                          VARIOUS                              Litigation              UNDETERMINED
       1360 FOXDALE LOOP
       APT 626                      ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95122


3.4563 FLORES, MANUEL                           VARIOUS                              Litigation              UNDETERMINED
       930 GRAYWOOD CIRCLE
       STOCKTON, CA 95209-2609      ACCOUNT NO.: NOT AVAILABLE


3.4564 FLORES, MARIA                            VARIOUS                              Litigation              UNDETERMINED
       1900 ASHBY ROAD SPC #48
       MERCED, CA 95348             ACCOUNT NO.: NOT AVAILABLE


3.4565 FLORES, MARIA                            VARIOUS                              Litigation              UNDETERMINED
       9339 CHERBOURG WAY
       STOCKTON, CA 95210           ACCOUNT NO.: NOT AVAILABLE


3.4566 FLORES, MARIA                            VARIOUS                              Litigation              UNDETERMINED
       10550 BLEVINS WAY
       CA 95012                     ACCOUNT NO.: NOT AVAILABLE


3.4567 FLORES, MARIA                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1648
       WATSONVILLE, CA 95077        ACCOUNT NO.: NOT AVAILABLE


3.4568 FLORES, NORMA                            VARIOUS                              Litigation              UNDETERMINED
       1195 SANTA BARBARA DR
       SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE


3.4569 FLORES, NORMA                            VARIOUS                              Litigation              UNDETERMINED
       1195 SANTA BARBARA DR
       SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE


3.4570 FLORES, NORMA                            VARIOUS                              Litigation              UNDETERMINED
       1195 SANTA BARBARA DR
       SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE


3.4571 FLORES, NORMA                            VARIOUS                              Litigation              UNDETERMINED
       1195 SANTA BARBARA DR
       SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE


3.4572 FLORES, PAUL AND LINDA                   VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1587
       564 MONHOLLAN ROAD,          ACCOUNT NO.: NOT AVAILABLE
       CARMEL
       MONTEREY, CA 93942




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.4573 FLORES, PAUL AND LINDA                   VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1587
       564 MONHOLLAN ROAD,            ACCOUNT NO.: NOT AVAILABLE
       CARMEL
       MONTEREY, CA 93942


3.4574 FLORES, REBECCA                          VARIOUS                              Litigation              UNDETERMINED
       C/O 1121 EAST SANTA FE AVE.,
       APT # 4                        ACCOUNT NO.: NOT AVAILABLE
       MERCED, CA 95340


3.4575 FLORES, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
       2150 ORCHARD RD
       TEMPLETON, CA 93465            ACCOUNT NO.: NOT AVAILABLE


3.4576 FLORES, TOMASITA                         VARIOUS                              Litigation              UNDETERMINED
       1313 SOUTH CHESTER AVE
       BAKERSFIELD, CA 93304          ACCOUNT NO.: NOT AVAILABLE


3.4577 FLORES, TONY                             VARIOUS                              Litigation              UNDETERMINED
       2 DOREY WAY
       MONTEREY, CA 39340             ACCOUNT NO.: NOT AVAILABLE


3.4578 FLORESBASIO, FRANCISCO O                 VARIOUS                              Litigation              UNDETERMINED
       1066 BISON WAY
       SALINAS, CA 93905              ACCOUNT NO.: NOT AVAILABLE


3.4579 FLOREZ PAVING                            VARIOUS                              Litigation              UNDETERMINED
       4000 24TH ST
       42 AUDIA CIRCLE                ACCOUNT NO.: NOT AVAILABLE
       SACRAMENTO, CA 95822


3.4580 FLORIS, FELICIA                          VARIOUS                              Litigation              UNDETERMINED
       446 YORK DR
       BENICIA, CA 94510              ACCOUNT NO.: NOT AVAILABLE


3.4581 FLOUR WATER, LLC-BRATCHER,               VARIOUS                              Litigation              UNDETERMINED
       KARA
       2401 HARRISON STREET / 2403    ACCOUNT NO.: NOT AVAILABLE
       HARRISON STREET
       SAN FRANCISCO, CA 94110


3.4582 FLOYD GRANT, ANNETTE                     VARIOUS                              Litigation              UNDETERMINED
       1112 WHEEKER STREET
       STOCKTON, CA 95206             ACCOUNT NO.: NOT AVAILABLE


3.4583 FLOYD, ANNETTE                           VARIOUS                              Litigation              UNDETERMINED
       1112 WHEELER STREET
       STOCKTON, CA 95206             ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.4584 FLOYD, JERRY                             VARIOUS                              Litigation              UNDETERMINED
       1791 MONTEMAR WAY
       SAN JOSE, CA 95125           ACCOUNT NO.: NOT AVAILABLE


3.4585 FLUEGAL, JUNE                            VARIOUS                              Litigation              UNDETERMINED
       461 TULARE AVE
       MORRO BAY, CA 93442          ACCOUNT NO.: NOT AVAILABLE


3.4586 FLUM, CHRIS                              VARIOUS                              Litigation              UNDETERMINED
       1 BIRCH CT
       ORINDA, CA 94563             ACCOUNT NO.: NOT AVAILABLE


3.4587 FLURY, JANE                              VARIOUS                              Litigation              UNDETERMINED
       241 LOCUST ST
       PACIFIC GROVE, CA 93950      ACCOUNT NO.: NOT AVAILABLE


3.4588 FLYTRAP LLC-WEST, VALEN                  VARIOUS                              Litigation              UNDETERMINED
       606 FOLSOM ST
       SAN FRANCISCO, CA 94107      ACCOUNT NO.: NOT AVAILABLE


3.4589 FOGALMAN, TAL                            VARIOUS                              Litigation              UNDETERMINED
       3201 WILSHIRE BLVD. # 306
       SANTA MONICA, CA 90403       ACCOUNT NO.: NOT AVAILABLE


3.4590 FOGEL-SHRIVE, ROBIN                      VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1537
       COBB, CA 95426               ACCOUNT NO.: NOT AVAILABLE


3.4591 FOGLESONG, MICHAEL                       VARIOUS                              Litigation              UNDETERMINED
       285 STEVENSON DR.
       PLEASANT HILL, CA 94523      ACCOUNT NO.: NOT AVAILABLE


3.4592 FOHLEN, GEORGE                           VARIOUS                              Litigation              UNDETERMINED
       639 CROCUS DRIVE
       SONOMA, CA 95476             ACCOUNT NO.: NOT AVAILABLE


3.4593 FOLAND, MARIAN                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 217
       SUNOL, CA 94586              ACCOUNT NO.: NOT AVAILABLE


3.4594 FOLEY, CATHERINE                         VARIOUS                              Litigation              UNDETERMINED
       1522 LAVETTA WAY
       CONCORD, CA 94521            ACCOUNT NO.: NOT AVAILABLE


3.4595 FOLEY, THOMAS                            VARIOUS                              Litigation              UNDETERMINED
       38127 PARKMONT DR
       FREMONT, CA 94536            ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.4596 FOLKERTS, DIANE                          VARIOUS                              Litigation              UNDETERMINED
       514 AMERICAS WAY
       #1724                        ACCOUNT NO.: NOT AVAILABLE
       BOX ELDER, CA 57719


3.4597 FOLLETT, CLAY                            VARIOUS                              Litigation              UNDETERMINED
       24912 N GRAHAM RD
       ACAMPO, CA 95220             ACCOUNT NO.: NOT AVAILABLE


3.4598 FOMBY, GERMANY                           VARIOUS                              Litigation              UNDETERMINED
       1885 EAST BAYSHORE RD
       1885 EAST BAYSHORE RD #89    ACCOUNT NO.: NOT AVAILABLE
       EAST PALO ALTO, CA 94303


3.4599 FONG FARMS, INC.-FONG,                   VARIOUS                              Litigation              UNDETERMINED
       CLIFFORD E
       33379 COUNTY ROAD 20         ACCOUNT NO.: NOT AVAILABLE
       WOODLAND, CA 95695


3.4600 FONG, ALEE                               VARIOUS                              Litigation              UNDETERMINED
       1299 SAN TOMAS QUINO RD.
       APT. 206                     ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95117


3.4601 FONG, CARL                               VARIOUS                              Litigation              UNDETERMINED
       1169 YORKSHIRE DR.
       CUPERTINO, CA 95014-4953     ACCOUNT NO.: NOT AVAILABLE


3.4602 FONG, DANIEL                             VARIOUS                              Litigation              UNDETERMINED
       1723 47TH AVE
       SAN FRANCISCO, CA 94122      ACCOUNT NO.: NOT AVAILABLE


3.4603 FONG, DAVID                              VARIOUS                              Litigation              UNDETERMINED
       381 QUAY LN
       REDWOOD CITY, CA 94065       ACCOUNT NO.: NOT AVAILABLE


3.4604 FONG, JOANNA                             VARIOUS                              Litigation              UNDETERMINED
       422 ARGUELLO BLVD
       SAN FRANCISCO, CA 94118      ACCOUNT NO.: NOT AVAILABLE


3.4605 FONG, KIMBERLY                           VARIOUS                              Litigation              UNDETERMINED
       3165 LINKFIELD WAY
       SAN JOSE, CA 95135           ACCOUNT NO.: NOT AVAILABLE


3.4606 FONG, MICHAEL                            VARIOUS                              Litigation              UNDETERMINED
       301 SUNKIST LANE
       LOS ALTOS, CA 94022          ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.4607 FONG, PAUL                               VARIOUS                              Litigation              UNDETERMINED
       1505 SHARON PLACE
       SAN MATEO, CA 94401           ACCOUNT NO.: NOT AVAILABLE


3.4608 FONG, WAYMOND                            VARIOUS                              Litigation              UNDETERMINED
       11 CASOLYN RANCH COURT
       DANVILLE, CA 94506            ACCOUNT NO.: NOT AVAILABLE


3.4609 FONG, WILLIAM                            VARIOUS                              Litigation              UNDETERMINED
       320 CHANNING WAY
       ALAMEDA, CA 94502             ACCOUNT NO.: NOT AVAILABLE


3.4610 FONSECA / ACRT REMVOAL                   VARIOUS                              Litigation              UNDETERMINED
       NOTICE ISSUE, TONI
       P.O. BOX 172                  ACCOUNT NO.: NOT AVAILABLE
       33240 MAIN ST.
       DUTCH FLAT, CA 95714


3.4611 FONTANILLA, CAROL                        VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1065
       SALINAS, CA 93902             ACCOUNT NO.: NOT AVAILABLE


3.4612 FOOK HONG SF CARE HOME                   VARIOUS                              Litigation              UNDETERMINED
       INC., LEEWONG SAUTING
       455 LAKESHORE DRIVE           ACCOUNT NO.: NOT AVAILABLE
       5735 MISSION STREET
       SAN FRANCISCO, CA 94132


3.4613 FOOTE, PETER                             VARIOUS                              Litigation              UNDETERMINED
       2205 NEWPORT DRIVE
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.4614 FOOTE, PETER                             VARIOUS                              Litigation              UNDETERMINED
       2205 NEWPORT DRIVE
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.4615 FOR GOLD OAK SCHOOL DIST.,               VARIOUS                              Litigation              UNDETERMINED
       SCHOOLS INSURANCE
       AUTHORITY                     ACCOUNT NO.: NOT AVAILABLE
       S/O SPINELLI, DONALD & NOTT
       601 UNIVERSITY AVE., # 225
       SACRAMENTO, CA 95667


3.4616 FOR THE LOVE OF PIE-TIRRI,               VARIOUS                              Litigation              UNDETERMINED
       ADRIENNE
       PO BOX 895                    ACCOUNT NO.: NOT AVAILABLE
       BELLA VISTA, CA 96008




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.4617 FORAKER, MATT                            VARIOUS                              Litigation              UNDETERMINED
       6242 HIGHWAY 140
       MIDPINES, CA 95345           ACCOUNT NO.: NOT AVAILABLE


3.4618 FORBES DESIGN-FORBES,                    VARIOUS                              Litigation              UNDETERMINED
       PETER
       132 COUNTRY ESTATES          ACCOUNT NO.: NOT AVAILABLE
       TERRRACE
       SANTA CRUZ, CA 95060


3.4619 FORBES, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
       GIBBS LAW GROUP
       ERIC GIBBS, DYLAN HUGHES     ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94612


3.4620 FORBES, SUSAN                            VARIOUS                              Litigation              UNDETERMINED
       21795 EL LOBO CTR
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.4621 FORD FINANCIAL GROUP-                    VARIOUS                              Litigation              UNDETERMINED
       WHITE, MARY ANNE
       5260 N. PALM AVENUE          ACCOUNT NO.: NOT AVAILABLE
       SUITE 221
       FRESNO, CA 93704


3.4622 FORD, ALICE F                            VARIOUS                              Litigation              UNDETERMINED
       3351 SKYWARD PLACE
       SAN JOSE, CA 95136           ACCOUNT NO.: NOT AVAILABLE


3.4623 FORD, CAROLYN                            VARIOUS                              Litigation              UNDETERMINED
       201 VALLEY ST.
       UPPER UNIT                   ACCOUNT NO.: NOT AVAILABLE
       SAUSALITO, CA 94965


3.4624 FORD, JERRY                              VARIOUS                              Litigation              UNDETERMINED
       5106 SHAMAN COURT
       BAKERSFIELD, CA 93312        ACCOUNT NO.: NOT AVAILABLE


3.4625 FORD, JIM & LEXIE                        VARIOUS                              Litigation              UNDETERMINED
       P.O BOX 1195
       1729 SEELY MCINTOSH ROAD     ACCOUNT NO.: NOT AVAILABLE
       WILLOW CREEK, CA 95573


3.4626 FORD, JOHN                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 471
       BOLINAS, CA 94924            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4627 FORD, JOHN                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 471
       BOLINAS, CA 94924            ACCOUNT NO.: NOT AVAILABLE


3.4628 FORD, MONIQUE                            VARIOUS                              Litigation              UNDETERMINED
       3350 DEL MONTE BLVD
        APT I9                      ACCOUNT NO.: NOT AVAILABLE
       MARINA, CA 93933


3.4629 FORD, WENDY & JEFFREY                    VARIOUS                              Litigation              UNDETERMINED
       2856 SAN JUAN BLVD.
       BELMONT, CA 94002            ACCOUNT NO.: NOT AVAILABLE


3.4630 FOREMAN, CHRISTINE                       VARIOUS                              Litigation              UNDETERMINED
       765 MARIA COURT
       OAKDALE, CA 95361            ACCOUNT NO.: NOT AVAILABLE


3.4631 FOREMAN, ERLINDA                         VARIOUS                              Litigation              UNDETERMINED
       114 E 6TH ST APT 2
       BAKERSFIELD, CA 93307        ACCOUNT NO.: NOT AVAILABLE


3.4632 FOREST PROFESSIONAL                      VARIOUS                              Litigation              UNDETERMINED
       BUILDING ASSOC, DWM
       PROPERTIES                   ACCOUNT NO.: NOT AVAILABLE
       15760 LOS GATOS BLVD
       LOS GATOS, CA 95032


3.4633 FORGNONE, FRED                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 409
       LOCKWOOD, CA 93932           ACCOUNT NO.: NOT AVAILABLE


3.4634 FORMANEK, CRAIG                          VARIOUS                              Litigation              UNDETERMINED
       1052 RIVERTON DRIVE
       SAN CARLOS, CA 94070         ACCOUNT NO.: NOT AVAILABLE


3.4635 FORMFACTOR INC.-                         VARIOUS                              Litigation              UNDETERMINED
       MCALEAVEY, MICHAEL
       7005 SOUTHFRONT RD.          ACCOUNT NO.: NOT AVAILABLE
       LIVERMORE, CA 94551


3.4636 FORMFACTOR INC.-                         VARIOUS                              Litigation              UNDETERMINED
       MCALEAVEY, MICHAEL
       7005 SOUTHFRONT RD.          ACCOUNT NO.: NOT AVAILABLE
       LIVERMORE, CA 94551


3.4637 FORMICO, MARTE                           VARIOUS                              Litigation              UNDETERMINED
       2695 MOORPARK AVE STE 201
       SAN JOSE, CA 95128           ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.4638 FORMOSA, KELLI                            VARIOUS                              Litigation              UNDETERMINED
       608 BRISTOL CT
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.4639 FORMOST INS.                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 268992
       OKLAHOMA CITY, CA 73126       ACCOUNT NO.: NOT AVAILABLE


3.4640 FORRESTER, LINDA                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2184
       ARNOLD, CA 95223              ACCOUNT NO.: NOT AVAILABLE


3.4641 FORRESTOR, VICTORIA                       VARIOUS                              Litigation              UNDETERMINED
       1 OWLSWOOD DR
       LARKSPUR, CA 94939            ACCOUNT NO.: NOT AVAILABLE


3.4642 FORSTY, KAREN                             VARIOUS                              Litigation              UNDETERMINED
       5 KYBURZ DR
       KYBURZ, CA 95720              ACCOUNT NO.: NOT AVAILABLE


3.4643 FORSYTH, MARIBETH                         VARIOUS                              Litigation              UNDETERMINED
       4575 WALLACE RD.
       P.O. BOX 1703, BODEGA BAY,    ACCOUNT NO.: NOT AVAILABLE
       CA. 94923
       SANTA ROSA, CA


3.4644 FORSYTH, SYLVIA P.                        VARIOUS                              Litigation              UNDETERMINED
       100 POPLAR CT.
       APTOS, CA 95003               ACCOUNT NO.: NOT AVAILABLE


3.4645 FORTENBERRY, WILLIE &                     VARIOUS                              Litigation              UNDETERMINED
       ELAYNE
       1486 CHABOT WAY               ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95122


3.4646 FORTIER, ILDIKO KATHY                     VARIOUS                              Litigation              UNDETERMINED
       3465 W FRANKLIN AVE
       FRESNO, CA 93706              ACCOUNT NO.: NOT AVAILABLE


3.4647 FORTUNE, DAVE                             VARIOUS                              Litigation              UNDETERMINED
       6575 TUSTIN RD
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.4648 FOSTER, CHARLES                           VARIOUS                              Litigation              UNDETERMINED
       836 BIRCH AVE
       SUNNYVALE, CA 94086           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4649 FOSTER, DUANE & PEGGY                    VARIOUS                              Litigation              UNDETERMINED
       6989 CHURN CREEK RD.
       REDDING, CA 96002            ACCOUNT NO.: NOT AVAILABLE


3.4650 FOSTER, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       911 ELKHORN RD
       ROYAL OAKS, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.4651 FOSTER, RICK                             VARIOUS                              Litigation              UNDETERMINED
       1610 PAULA DRIVE
       YUBA CITY, CA 95993          ACCOUNT NO.: NOT AVAILABLE


3.4652 FOSTER, THEOPOULOS                       VARIOUS                              Litigation              UNDETERMINED
       2912 PARTRIDGE AVE
       OAKLAND, CA 94605            ACCOUNT NO.: NOT AVAILABLE


3.4653 FOSTER, TROY                             VARIOUS                              Litigation              UNDETERMINED
       4084 TRIANGLE ROAD
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE


3.4654 FOSTER, WILMA                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 20356
       CASTRO VALLEY, CA 94546      ACCOUNT NO.: NOT AVAILABLE


3.4655 FOTAKIS, SARA                            VARIOUS                              Litigation              UNDETERMINED
       18836 WESTVIEW DR
       SARATOGA, CA 95070           ACCOUNT NO.: NOT AVAILABLE


3.4656 FOTH- WILLMANN, DIETMAR                  VARIOUS                              Litigation              UNDETERMINED
       11 DUXBURY COVE
       SAN RAFAEL, CA 94901         ACCOUNT NO.: NOT AVAILABLE


3.4657 FOTI, ANGELO                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 2110
       EL GRANADA, CA 94018         ACCOUNT NO.: NOT AVAILABLE


3.4658 FOUCH, DEBBIE                            VARIOUS                              Litigation              UNDETERMINED
       1813 JURS RD
       WEST POINT, CA 95255         ACCOUNT NO.: NOT AVAILABLE


3.4659 FOUNDATION OF CSUMB                      VARIOUS                              Litigation              UNDETERMINED
       3241 GETTYSBURG COURT
       MARINA, CA 93933             ACCOUNT NO.: NOT AVAILABLE


3.4660 FOUNTAIN, LORELEI                        VARIOUS                              Litigation              UNDETERMINED
       6431 RANDY STREET
       RIO LINDA, CA 95673          ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.4661 FOUNTAINHEAD GARDEN-                     VARIOUS                              Litigation              UNDETERMINED
       AMOS, GAYLA
       1225 ALPINE ROAD             ACCOUNT NO.: NOT AVAILABLE
       SUITE 206
       WALNUT CREEK, CA 94596


3.4662 FOUR MILE CLEANER-OH, MOON               VARIOUS                              Litigation              UNDETERMINED
       220 STATION AVE
       DALY CITY, CA 94014          ACCOUNT NO.: NOT AVAILABLE


3.4663 FOUR OAKS FARMING LLC-                   VARIOUS                              Litigation              UNDETERMINED
       ROSSI, JIM
       5280 FAIRVIEW RD             ACCOUNT NO.: NOT AVAILABLE
       HOLLISTER, CA 95023


3.4664 FOUR SEASONS NAIL SALON,                 VARIOUS                              Litigation              UNDETERMINED
       LINH DAM
       180 EL CAMINO REAL           ACCOUNT NO.: NOT AVAILABLE
       MILLBREA, CA 94030


3.4665 FOURSTAR RESOURCES LLC-                  VARIOUS                              Litigation              UNDETERMINED
       WILLSHEE, DEREK
       5813 KINGS CANYON DRIVE      ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93306


3.4666 FOURWIER, BONNIE                         VARIOUS                              Litigation              UNDETERMINED
       HCR #34
       WALLER RANCH ROAD            ACCOUNT NO.: NOT AVAILABLE
       BURNT RANCH, CA 95527


3.4667 FOUTCH, JON                              VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 177
       UPPER LAKE, CA 95485         ACCOUNT NO.: NOT AVAILABLE


3.4668 FOWLER ELECTRIC SERVICES                 VARIOUS                              Litigation              UNDETERMINED
       INC.-FOWLER, TOM
       44 SPRAUER RD.               ACCOUNT NO.: NOT AVAILABLE
       PETALUMA, CA 94952


3.4669 FOWLER, AMY & JASON                      VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 94
       NICE, CA 95464               ACCOUNT NO.: NOT AVAILABLE


3.4670 FOWLER, JERRY                            VARIOUS                              Litigation              UNDETERMINED
       5300 PATRICK CREEK DRIVE
       MCKINLEYVILLE, CA 95519      ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                            Account Number                           Claim

Litigation & Disputes

3.4671 FOWLER, JESSE                            VARIOUS                              Litigation              UNDETERMINED
       4104 24TH STREET
       365                             ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94114


3.4672 FOWLER, MARK                             VARIOUS                              Litigation              UNDETERMINED
       6166 OLIVER RD
       PARADISE, CA 95969              ACCOUNT NO.: NOT AVAILABLE


3.4673 FOWLER, WILLIAM/MARIE                    VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1974
       NEVADA CITY, CA 95959           ACCOUNT NO.: NOT AVAILABLE


3.4674 FOXWORTHY, EMILY                         VARIOUS                              Litigation              UNDETERMINED
       805 WESTGATE COURT
       CHICO, CA 95926                 ACCOUNT NO.: NOT AVAILABLE


3.4675 FOXWORTHY, SARA                          VARIOUS                              Litigation              UNDETERMINED
       4184 BURNETT ROAD
       LINCOLN, CA 95648               ACCOUNT NO.: NOT AVAILABLE


3.4676 FRAGA, YAROSLAE                          VARIOUS                              Litigation              UNDETERMINED
       JANG & ASSOCIATES, ATTN;
       SALLY NOMA                      ACCOUNT NO.: NOT AVAILABLE
       1766 LACASSIE AVE., SUITE 200
       WALNUT CREEK, CA 94596


3.4677 FRAGER, DOMINIQUE                        VARIOUS                              Litigation              UNDETERMINED
       2827 SEVILLE CIR
       ANTIOCH, CA 94509               ACCOUNT NO.: NOT AVAILABLE


3.4678 FRAGMENTS OF THE UNIVERSE-               VARIOUS                              Litigation              UNDETERMINED
       CARMEAN, ERIN
       PO BOX 232                      ACCOUNT NO.: NOT AVAILABLE
       ARNOLD, CA 95223


3.4679 FRAHM, SALLY                             VARIOUS                              Litigation              UNDETERMINED
       3939 HARVARD CT.
       LIVERMORE, CA 94550             ACCOUNT NO.: NOT AVAILABLE


3.4680 FRANCE, RACHELLE                         VARIOUS                              Litigation              UNDETERMINED
       18385 MAIN BLVD
       LOS GATOS, CA 95033             ACCOUNT NO.: NOT AVAILABLE


3.4681 FRANCE, SHIRLEY                          VARIOUS                              Litigation              UNDETERMINED
       19825 OAK KNOLL DR
       LAKEHEAD, CA 96051              ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.4682 FRANCESCONI, JOSEPH                      VARIOUS                              Litigation              UNDETERMINED
       201 TUCKER HILL ROAD
       SUTTER CREEK, CA 95685       ACCOUNT NO.: NOT AVAILABLE


3.4683 FRANCHI, GLEBER                          VARIOUS                              Litigation              UNDETERMINED
       1231 DONALD DR
       RODEO, CA 94572              ACCOUNT NO.: NOT AVAILABLE


3.4684 FRANCIA, AMALIA                          VARIOUS                              Litigation              UNDETERMINED
       659 MOORPARK WAY APT 8
       MOUNTAIN VIEW, CA 94041      ACCOUNT NO.: NOT AVAILABLE


3.4685 FRANCICA, JENNIFER                       VARIOUS                              Litigation              UNDETERMINED
       4 REDWOOD AVE.
       LARKSPUR, CA 94939           ACCOUNT NO.: NOT AVAILABLE


3.4686 FRANCINI, CATHY                          VARIOUS                              Litigation              UNDETERMINED
       14640 TUMBLE WEED LN
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.4687 FRANCIS, SANDRA                          VARIOUS                              Litigation              UNDETERMINED
       1537 VALLE VISTA AVE
       VALLEJO, CA 94589            ACCOUNT NO.: NOT AVAILABLE


3.4688 FRANCK, DEBRA                            VARIOUS                              Litigation              UNDETERMINED
       18471 PINE TREE LANE
       MOKELUMNE HILL, CA 95245     ACCOUNT NO.: NOT AVAILABLE


3.4689 FRANCO, DAN                              VARIOUS                              Litigation              UNDETERMINED
       323 S. AMERICAN ST.
       STOCKTON, CA 95203           ACCOUNT NO.: NOT AVAILABLE


3.4690 FRANCO, JULIETA                          VARIOUS                              Litigation              UNDETERMINED
       602 BOUNTY DRIVE
       BAY POINT, CA 94565          ACCOUNT NO.: NOT AVAILABLE


3.4691 FRANCO, REBECCA                          VARIOUS                              Litigation              UNDETERMINED
       6989 GREGORY LANE
       PRUNEDALE, CA 93907          ACCOUNT NO.: NOT AVAILABLE


3.4692 FRANCOIS, GWENDOLYN                      VARIOUS                              Litigation              UNDETERMINED
       2436 15TH AVENUE
       SAN FRANCISCO, CA 94116      ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.4693 FRANCO'S CAFE-GALDAMEZ,                  VARIOUS                              Litigation              UNDETERMINED
       JUAN
       3320 DATA DR. #150           ACCOUNT NO.: NOT AVAILABLE
       RANCHO CORDOVA, CA 95670


3.4694 FRANK S. FRATTO DDS-                     VARIOUS                              Litigation              UNDETERMINED
       FRATTO, FRANK
       2150 MAIN ST.                ACCOUNT NO.: NOT AVAILABLE
       SUITE 4
       CAMBRIA, CA 93428


3.4695 FRANK WONG, P.E.-WONG,                   VARIOUS                              Litigation              UNDETERMINED
       FRANK
       9824 DEL MAR DR.             ACCOUNT NO.: NOT AVAILABLE
       94583
       SAN RAMON, CA 94583


3.4696 FRANK, DANIEL                            VARIOUS                              Litigation              UNDETERMINED
       325 ELKHORN RD
       ROYAL OAKS, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.4697 FRANK, GARY                              VARIOUS                              Litigation              UNDETERMINED
       226 28TH AVENUE
       SAN FRANCISCO, CA 94121      ACCOUNT NO.: NOT AVAILABLE


3.4698 FRANK, JANE                              VARIOUS                              Litigation              UNDETERMINED
       806 BARNESON AVE.
       SAN MATEO, CA 94402          ACCOUNT NO.: NOT AVAILABLE


3.4699 FRANK, KIM                               VARIOUS                              Litigation              UNDETERMINED
       LARKIN AND POST STREET
       SAN FRANCISCO, CA 94102      ACCOUNT NO.: NOT AVAILABLE


3.4700 FRANK, MARY                              VARIOUS                              Litigation              UNDETERMINED
       5344 SCOTTS VALLEY DRIVE
       19                           ACCOUNT NO.: NOT AVAILABLE
       SCOTTS VALLEY, CA 95066


3.4701 FRANK, RACHEL                            VARIOUS                              Litigation              UNDETERMINED
       317 NAVAJO DRIVE
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.4702 FRANKEL, MERRILL                         VARIOUS                              Litigation              UNDETERMINED
       4675 FRUITVALE RD
       NEWCASTLE, CA 95658          ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4703 FRANKLIN, DANIEL                         VARIOUS                              Litigation              UNDETERMINED
       DREYER, BABICH, BUCCOLA
       WOOD CAMPORA, LLP             ACCOUNT NO.: NOT AVAILABLE
       20 BICENTENNIAL CIRCLE
       SACRAMENTO, CA 95826


3.4704 FRANKLIN, KEITH & KATHY                  VARIOUS                              Litigation              UNDETERMINED
       530 - 280 LITTLE VALLEY RD.
       MC ARTHUR, CA 96056           ACCOUNT NO.: NOT AVAILABLE


3.4705 FRANKLIN, KENNETH                        VARIOUS                              Litigation              UNDETERMINED
       195 OAK TREE DRIVE
       SANTA ROSA, CA 95401          ACCOUNT NO.: NOT AVAILABLE


3.4706 FRANKLIN, MADELINE &                     VARIOUS                              Litigation              UNDETERMINED
       CHARLES ARCHER
       16109 COMET MINE COURT        ACCOUNT NO.: NOT AVAILABLE
       SONORA, CA 95370


3.4707 FRANKLIN, ROBERT                         VARIOUS                              Litigation              UNDETERMINED
       27651 FOX RD
       WILLITS, CA 95490             ACCOUNT NO.: NOT AVAILABLE


3.4708 FRANTZ LAW GROUP                         VARIOUS                              Litigation              UNDETERMINED
       8050 N PALM AVE
       FRESNO, CA 93711              ACCOUNT NO.: NOT AVAILABLE


3.4709 FRANZ, LOIS                              VARIOUS                              Litigation              UNDETERMINED
       1448 ENGBERG COURT
       CARMICHAEL, CA 95608          ACCOUNT NO.: NOT AVAILABLE


3.4710 FRANZI, ROB                              VARIOUS                              Litigation              UNDETERMINED
       4605 MADDOCKS RD
       SEBASTOPOL                    ACCOUNT NO.: NOT AVAILABLE
       CA, CA 95472


3.4711 FRANZIA, BRIAN                           VARIOUS                              Litigation              UNDETERMINED
       19950 ZUMWALT RD
       ESCALON, CA 95320             ACCOUNT NO.: NOT AVAILABLE


3.4712 FRARY, ROD                               VARIOUS                              Litigation              UNDETERMINED
       5366 SEBASTOPOL RD
       SANTA ROSA, CA 95407          ACCOUNT NO.: NOT AVAILABLE


3.4713 FRARY, STEVEN                            VARIOUS                              Litigation              UNDETERMINED
       26295 PARKWOOD DR
       PIONEER, CA 95666             ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.4714 FRATE SOLE OLIVE OIL-MAYER,              VARIOUS                              Litigation              UNDETERMINED
       ANDREA
       41509 COUNTY ROAD 27           ACCOUNT NO.: NOT AVAILABLE
       WOODLAND, CA 95776


3.4715 FRATUS, RICK                             VARIOUS                              Litigation              UNDETERMINED
       20759 NONPAREIL
       GROVELAND, CA 95321            ACCOUNT NO.: NOT AVAILABLE


3.4716 FRAZEE, ART                              VARIOUS                              Litigation              UNDETERMINED
       1004 18TH ST
       12                             ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94607


3.4717 FRAZIA, RALPH                            VARIOUS                              Litigation              UNDETERMINED
       85 RANCHO VISTA DR APT 16
       OROVILLE, CA 95965             ACCOUNT NO.: NOT AVAILABLE


3.4718 FRAZIER, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       24287 AWAHANEE ROAD
       SONORA, CA 95370               ACCOUNT NO.: NOT AVAILABLE


3.4719 FREA FARMS-FREA, DAVID                   VARIOUS                              Litigation              UNDETERMINED
       491 W BARSTOW
       FRESNO, CA 93704               ACCOUNT NO.: NOT AVAILABLE


3.4720 FREDERICK, DEBRA                         VARIOUS                              Litigation              UNDETERMINED
       1445 LODGEPOLE AVE
       ANDERSON, CA 96007             ACCOUNT NO.: NOT AVAILABLE


3.4721 FREDRICKSON, JAMES                       VARIOUS                              Litigation              UNDETERMINED
       1612 MCCARL LN
       CONCORD, CA 94519              ACCOUNT NO.: NOT AVAILABLE


3.4722 FREDRIKS ALMOND FARMS,                   VARIOUS                              Litigation              UNDETERMINED
       INC, STEVE & JUCHIC FREDRIKS
       9500 E SEDAN AVENUE            ACCOUNT NO.: NOT AVAILABLE
       MANTECA, CA 95337


3.4723 FREEDMAN, DANA                           VARIOUS                              Litigation              UNDETERMINED
       100 TAMALPAIS ROAD
       FAIRFAX, CA 94930              ACCOUNT NO.: NOT AVAILABLE


3.4724 FREEDOM BODY SHOP-                       VARIOUS                              Litigation              UNDETERMINED
       STRADER, CHARLENE
       1701 FREEDOM BLVD              ACCOUNT NO.: NOT AVAILABLE
       FREEDOM, CA 95076



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Litigation & Disputes

3.4725 FREELAND, DEBI                           VARIOUS                              Litigation              UNDETERMINED
       5395 BEL AIR DRIVE EAST
       KELSEYVILLE, CA 95451        ACCOUNT NO.: NOT AVAILABLE


3.4726 FREEMAN, LEROY                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 756
       SHINGLETOWN, CA 96088        ACCOUNT NO.: NOT AVAILABLE


3.4727 FREEMAN, NANCY                           VARIOUS                              Litigation              UNDETERMINED
       2352 BUCKSKIN ROAD
       LIVERMORE, CA 94551          ACCOUNT NO.: NOT AVAILABLE


3.4728 FREEMAN, RANDALL                         VARIOUS                              Litigation              UNDETERMINED
       6020 HAPPY TRAILS LN
       GARDEN VALLEY, CA 95633      ACCOUNT NO.: NOT AVAILABLE


3.4729 FREER, GREGORY                           VARIOUS                              Litigation              UNDETERMINED
       1536 HIDDEN FOX
       MCKINLEYVILLE, CA 95519      ACCOUNT NO.: NOT AVAILABLE


3.4730 FREESE, MATTHEW                          VARIOUS                              Litigation              UNDETERMINED
       566 FLORENCE DR
       VACAVILLE, CA 95688          ACCOUNT NO.: NOT AVAILABLE


3.4731 FREGOSI, JANET                           VARIOUS                              Litigation              UNDETERMINED
       355 W. OAKWOOD BLVD.
       REDWOOD CITY, CA 94061       ACCOUNT NO.: NOT AVAILABLE


3.4732 FREINBERG, MICHAEL                       VARIOUS                              Litigation              UNDETERMINED
       1619 KING STREET
       SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE


3.4733 FREITAS, ALBERT                          VARIOUS                              Litigation              UNDETERMINED
       641 SUNSET AVE
       BRYTE, CA 95605              ACCOUNT NO.: NOT AVAILABLE


3.4734 FREITAS, BRIAN                           VARIOUS                              Litigation              UNDETERMINED
       MICHAEL H. SILVERS, A LAW
       CORPORATION                  ACCOUNT NO.: NOT AVAILABLE
       11500 OLYMPIC BOULEVARD
       ANGELES, CA 90064


3.4735 FREITAS, JED                             VARIOUS                              Litigation              UNDETERMINED
       1131 MT GEORGE AVE
       NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4736 FREITAS, JED                             VARIOUS                              Litigation              UNDETERMINED
       1131 MT GEORGE AVE
       NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.4737 FREITAS, KAREN & JOE                     VARIOUS                              Litigation              UNDETERMINED
       1633 LOWER SPRINGS RD
       REDDING, CA 96001            ACCOUNT NO.: NOT AVAILABLE


3.4738 FREITAS, KEITH & BARBARA                 VARIOUS                              Litigation              UNDETERMINED
       POB 276
       PIEDRA, CA 93649             ACCOUNT NO.: NOT AVAILABLE


3.4739 FREITAS, MARIA                           VARIOUS                              Litigation              UNDETERMINED
       40 ESTRADA LN
       CORTE MADERA, CA 94925       ACCOUNT NO.: NOT AVAILABLE


3.4740 FREITAS, MARTY                           VARIOUS                              Litigation              UNDETERMINED
       13643 FOOTHILL PINES CT
       PINE GROVE, CA 95665         ACCOUNT NO.: NOT AVAILABLE


3.4741 FREITAS, ROBERT & DENISE                 VARIOUS                              Litigation              UNDETERMINED
       555 HOFFMAN LANE
       BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.4742 FREMONT TOYOTA-HASHIMI,                  VARIOUS                              Litigation              UNDETERMINED
       MARK
       5851 CUSHING PKWY            ACCOUNT NO.: NOT AVAILABLE
       FREMONT, CA 94538


3.4743 FREMONT TOYOTA-HASHIMI,                  VARIOUS                              Litigation              UNDETERMINED
       MARK
       5851 CUSHING PKWY            ACCOUNT NO.: NOT AVAILABLE
       FREMONT, CA 94538


3.4744 FRENCH, BEN                              VARIOUS                              Litigation              UNDETERMINED
       4770 BAMBOO WAY
       FAIR OAKS, CA 95628          ACCOUNT NO.: NOT AVAILABLE


3.4745 FRENCH, DAVID                            VARIOUS                              Litigation              UNDETERMINED
       7610 PARKWOODS DRIVE
       STOCKTON, CA 95207           ACCOUNT NO.: NOT AVAILABLE


3.4746 FRENCH, ROBERT & JULIE                   VARIOUS                              Litigation              UNDETERMINED
       4874 JOHN MUIR RD
       MARTINEZ, CA 94553           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4747 FRENCH, SIDNEY                           VARIOUS                              Litigation              UNDETERMINED
       22155 MINERAL SPRINGS WAY
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.4748 FRERE, ANDRE                             VARIOUS                              Litigation              UNDETERMINED
       14755 MORELLI LANE
       SEBASTOPOL, CA 95472         ACCOUNT NO.: NOT AVAILABLE


3.4749 FRESCHI, CHRIS                           VARIOUS                              Litigation              UNDETERMINED
       26435 CHATHAM CT
       HAYWARD, CA 94542            ACCOUNT NO.: NOT AVAILABLE


3.4750 FRESKAN, JASON                           VARIOUS                              Litigation              UNDETERMINED
       205 WATSON LANE
       AMERICAN CANYON, CA 94503    ACCOUNT NO.: NOT AVAILABLE


3.4751 FRESNO FARMING LLC-                      VARIOUS                              Litigation              UNDETERMINED
       VITORINO, MATTHEW
       PO BOX 457                   ACCOUNT NO.: NOT AVAILABLE
       LIVINGSTON, CA 95334


3.4752 FRESNO FIRE DEPARTMENT                   VARIOUS                              Litigation              UNDETERMINED
       911 H STREET
       STANISLAUS AT C STREET       ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93721-3083


3.4753 FRESNO FOOD MART-                        VARIOUS                              Litigation              UNDETERMINED
       HERNANDEZ, GUSTAVO
       1047 N FRESNO ST             ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93701


3.4754 FRESNO IRRIGATION DISTRICT               VARIOUS                              Litigation              UNDETERMINED
       2907 S MAPLE AVE
       FRESNO, CA 93725             ACCOUNT NO.: NOT AVAILABLE


3.4755 FRESNO NEW CONNECTIONS,                  VARIOUS                              Litigation              UNDETERMINED
       INC.-MARTIN, ROB
       4411 N. CEDAR                ACCOUNT NO.: NOT AVAILABLE
       108
       FRESNO, CA 93726


3.4756 FRESNO SENIOR HOUSING,                   VARIOUS                              Litigation              UNDETERMINED
       WAYNE NAPHTAL
       6161 WEST SPRUCE             ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93722


3.4757 FRESQUEZ, PAUL                           VARIOUS                              Litigation              UNDETERMINED
       16720 LAUREL RD.
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE

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Litigation & Disputes

3.4758 FREUND AND ASSOCIATES-                   VARIOUS                              Litigation              UNDETERMINED
       FREUND, GARY
       60 BRENTWOOD AVENUE          ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94127


3.4759 FREUND BAKING CO., LARRY                 VARIOUS                              Litigation              UNDETERMINED
       LUMLEY
       3265 INVESTMENT BLVD.        ACCOUNT NO.: NOT AVAILABLE
       HAYWARD, CA 94545


3.4760 FREY, CHAD                               VARIOUS                              Litigation              UNDETERMINED
       1523 BADGER CANYON LANE
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.4761 FREY, DEBRA                              VARIOUS                              Litigation              UNDETERMINED
       424 STANFORD AVE.
       SANTA CRUZ, CA 95062         ACCOUNT NO.: NOT AVAILABLE


3.4762 FREY, DIANE                              VARIOUS                              Litigation              UNDETERMINED
       1718 PAMELA DRIVE
       SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE


3.4763 FREYER, JASON                            VARIOUS                              Litigation              UNDETERMINED
       4830 OCCIDENTAL RD
       SANTA ROSA, CA 95401         ACCOUNT NO.: NOT AVAILABLE


3.4764 FRIANT, MARC                             VARIOUS                              Litigation              UNDETERMINED
       3601 VALLEY OAK DR
       BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.4765 FRIEDLANDER, ERIC                        VARIOUS                              Litigation              UNDETERMINED
       8940 BARNETT VALLEY ROAD
       SEBASTOPOL, CA 95472         ACCOUNT NO.: NOT AVAILABLE


3.4766 FRIEDLUND, SUE                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1691
       GUALALA, CA 95445            ACCOUNT NO.: NOT AVAILABLE


3.4767 FRIEDMAN, ALLISON                        VARIOUS                              Litigation              UNDETERMINED
       8143 ALDEA STREET
       DUBLIN, CA 94568             ACCOUNT NO.: NOT AVAILABLE


3.4768 FRIEDMAN, DEBORA                         VARIOUS                              Litigation              UNDETERMINED
       206 KENNETH DRIVE
       APTOS, CA 95003              ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4769 FRIEDMAN, JEFFREY                         VARIOUS                              Litigation              UNDETERMINED
       3405 TORLANO PL
       PLEASANTON, CA 94566          ACCOUNT NO.: NOT AVAILABLE


3.4770 FRIEDMAN, SHELLEY                         VARIOUS                              Litigation              UNDETERMINED
       116 VILLA AVE UPPER
       SAN RAFAEL, CA 94901          ACCOUNT NO.: NOT AVAILABLE


3.4771 FRIEDMAN, STEVEN                          VARIOUS                              Litigation              UNDETERMINED
       24 WINCHESTER DR
       MUTTONTOWN, CA 11545          ACCOUNT NO.: NOT AVAILABLE


3.4772 FRIEDRICHS, SUSAN                         VARIOUS                              Litigation              UNDETERMINED
       1736 NAPA STREET
       SEASIDE, CA 93955             ACCOUNT NO.: NOT AVAILABLE


3.4773 FRIENDLY MARKET-MOHSEN,                   VARIOUS                              Litigation              UNDETERMINED
       TAUFIK
       1499 THOMAS AVE.              ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94124


3.4774 FRIENDS OF ELKHORN DBA                    VARIOUS                              Litigation              UNDETERMINED
       ELKHORN GOLF CLUB
       5637 N. PERSHING AVE. SUITE   ACCOUNT NO.: NOT AVAILABLE
       A1
       STOCKTON, CA 95207


3.4775 FRIESON, VICTOR                           VARIOUS                              Litigation              UNDETERMINED
       2715 CHESTNUT ST UPPR
       OAKLAND, CA 94607             ACCOUNT NO.: NOT AVAILABLE


3.4776 FRISK, JENNI                              VARIOUS                              Litigation              UNDETERMINED
       4727 E. LIVE OAK ROAD
       LODI, CA 95240                ACCOUNT NO.: NOT AVAILABLE


3.4777 FRITSON, KEVIN                            VARIOUS                              Litigation              UNDETERMINED
       144 VILLAGE COURT
       JACKSON, CA 95642             ACCOUNT NO.: NOT AVAILABLE


3.4778 FROHLECH, GAIL                            VARIOUS                              Litigation              UNDETERMINED
       9516 THERESA CIR
       STOCKTON, CA 95209            ACCOUNT NO.: NOT AVAILABLE


3.4779 FROMELTT, JILL                            VARIOUS                              Litigation              UNDETERMINED
       P.O BOX 118
       HWY 16                        ACCOUNT NO.: NOT AVAILABLE
       WOODLAND, CA 95695



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Litigation & Disputes

3.4780 FRONCKWIAK, DAVE                         VARIOUS                              Litigation              UNDETERMINED
       SALINAS, CA 93908
                                    ACCOUNT NO.: NOT AVAILABLE


3.4781 FRONTIER COMMUNICATIONS                  VARIOUS                              Litigation              UNDETERMINED
       P.O.BOX 60770
       NOWALK, CA                   ACCOUNT NO.: NOT AVAILABLE


3.4782 FROST, CATHY                             VARIOUS                              Litigation              UNDETERMINED
       3573 W BUENA VISTA AVE
       FRESNO, CA 93711             ACCOUNT NO.: NOT AVAILABLE


3.4783 FROST, LACEY                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1292
       1640 BRANSCOMB ROAD          ACCOUNT NO.: NOT AVAILABLE
       LAYTONVILLE, CA 95454


3.4784 FROST, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       258 HILLCREST AVE
       BENICIA, CA 94510            ACCOUNT NO.: NOT AVAILABLE


3.4785 FROYLAN, ADELINA                         VARIOUS                              Litigation              UNDETERMINED
       197 TUCKER ROAD
       ROYAL OAKS, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.4786 FROZEN DELIGHT, HORSEP                   VARIOUS                              Litigation              UNDETERMINED
       OGANESYAN
       1606 HOWARD ROAD             ACCOUNT NO.: NOT AVAILABLE
       MADERA, CA 93637


3.4787 FRUCIANO, ANTHONY                        VARIOUS                              Litigation              UNDETERMINED
       35 AMADOR VILLAGE CIRCLE
       HAYWARD, CA 94544            ACCOUNT NO.: NOT AVAILABLE


3.4788 FRUETEL, MATILDA                         VARIOUS                              Litigation              UNDETERMINED
       999 PACIFIC AVENUE
       RIO OSO, CA 95674            ACCOUNT NO.: NOT AVAILABLE


3.4789 FRUGOLI, MARIE                           VARIOUS                              Litigation              UNDETERMINED
       1304 GLEN DELL DRIVE
       SAN JOSSE, CA 95125          ACCOUNT NO.: NOT AVAILABLE


3.4790 FRY, GARY                                VARIOUS                              Litigation              UNDETERMINED
       41900 WILCOX RD
       HAT CREEK, CA 96040          ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4791 FRY, GEOFF                               VARIOUS                              Litigation              UNDETERMINED
       2942 W SWAIN RD.
       STOCKTON, CA 95207           ACCOUNT NO.: NOT AVAILABLE


3.4792 FRYAR, CHARLIE                           VARIOUS                              Litigation              UNDETERMINED
       1354 N TINA AVENUE
       MERCED, CA 95341             ACCOUNT NO.: NOT AVAILABLE


3.4793 FUATA ELECTRIC INC-FUATA,                VARIOUS                              Litigation              UNDETERMINED
       DAVID
       911 N AMPHLETT BLVD          ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94403


3.4794 FUENTES, CARLOS                          VARIOUS                              Litigation              UNDETERMINED
       1510 CIELO LN
       NIPOMO, CA 93444             ACCOUNT NO.: NOT AVAILABLE


3.4795 FUENTES, DENISE                          VARIOUS                              Litigation              UNDETERMINED
       76 WALNUT CIRCLE
       ROHNERT PARK, CA 94928       ACCOUNT NO.: NOT AVAILABLE


3.4796 FUENTES, KATHRYN                         VARIOUS                              Litigation              UNDETERMINED
       904 CARR AVENUE
       AROMAS, CA 95004             ACCOUNT NO.: NOT AVAILABLE


3.4797 FUENTES, MARTIN                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 424
       RAIL ROAD FLAT, CA 95248     ACCOUNT NO.: NOT AVAILABLE


3.4798 FUGITT, JOANIE                           VARIOUS                              Litigation              UNDETERMINED
       200 TALLY HO ROAD
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.4799 FULGONI, RAY                             VARIOUS                              Litigation              UNDETERMINED
       1897 ORCHARD ROAD
       HOLLISTER, CA 95023          ACCOUNT NO.: NOT AVAILABLE


3.4800 FULLER, CHAD                             VARIOUS                              Litigation              UNDETERMINED
       10359 REDWOOD RD
       MIDDLETOWN, CA 95461         ACCOUNT NO.: NOT AVAILABLE


3.4801 FULLER, MICHAEL/ARLENE                   VARIOUS                              Litigation              UNDETERMINED
       POBOX 395
       LITTLE RIVER, CA 95456       ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.4802 FULLER, TIFFANY                          VARIOUS                              Litigation              UNDETERMINED
       5718 BROADWAY
       OAKLAND, CA 94618            ACCOUNT NO.: NOT AVAILABLE


3.4803 FULLERTON, BARBARA                       VARIOUS                              Litigation              UNDETERMINED
       281 CHELSEA COURT
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.4804 FULLERTON, CAROLYN                       VARIOUS                              Litigation              UNDETERMINED
       P O BOX 494808
       REDDING, CA 96049            ACCOUNT NO.: NOT AVAILABLE


3.4805 FULTON, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
       1833 THE ALAMEDA
       SAN JOSE, CA 9512            ACCOUNT NO.: NOT AVAILABLE


3.4806 FUNES, JUAN                              VARIOUS                              Litigation              UNDETERMINED
       25972 REGAL AVE
       HAYWARD, CA 94544            ACCOUNT NO.: NOT AVAILABLE


3.4807 FUNG, KEN                                VARIOUS                              Litigation              UNDETERMINED
       1619 40TH AVE
       SAN FRANCISCO, CA            ACCOUNT NO.: NOT AVAILABLE


3.4808 FUNG, MARY                               VARIOUS                              Litigation              UNDETERMINED
       1275 CINNAMON CT
       WALNUT CREEK, CA 94596       ACCOUNT NO.: NOT AVAILABLE


3.4809 FUQUA, DIANE                             VARIOUS                              Litigation              UNDETERMINED
       11763 AUGUSTA DR
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.4810 FURCOLO, JENNIFER                        VARIOUS                              Litigation              UNDETERMINED
       431 MONTECITO DR.
       CORTE MADERA, CA 94925       ACCOUNT NO.: NOT AVAILABLE


3.4811 FURRER, TOM                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 861
       TWAIN HARTE, CA 95383        ACCOUNT NO.: NOT AVAILABLE


3.4812 G GARCIA, MARIA G GARCIA                 VARIOUS                              Litigation              UNDETERMINED
       255 E BOLIVAR ST
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4813 G. CHRISTOPHER SHAMPO,                    VARIOUS                              Litigation              UNDETERMINED
       NORMAN BARLOW
       476 MAIN STREET               ACCOUNT NO.: NOT AVAILABLE
       2050 TERRA SERENA DRIVE,
       PLACERVILLE, CA
       PLACERVILLE, CA 95667-5608


3.4814 G3 ENTERPRISES, INC.-                     VARIOUS                              Litigation              UNDETERMINED
       SANDOVAL, VIOLET
       PO BOX 1703                   ACCOUNT NO.: NOT AVAILABLE
       MODESTO, CA 95353


3.4815 GABEL, GLORIA                             VARIOUS                              Litigation              UNDETERMINED
       1101 ALAMO DRIVE
       VACAVILLE, CA 95687           ACCOUNT NO.: NOT AVAILABLE


3.4816 GADAMSETTI, RAMESH                        VARIOUS                              Litigation              UNDETERMINED
       1835 KAGEHIRO DRIVE
       TRACY, CA 95376               ACCOUNT NO.: NOT AVAILABLE


3.4817 GADDINI, DAWN                             VARIOUS                              Litigation              UNDETERMINED
       971 LIVORNA RD
       ALAMO, CA 94507               ACCOUNT NO.: NOT AVAILABLE


3.4818 GADDIS, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       130 BURLWOOD LANE
       LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.4819 GADOW, WILLIAM                            VARIOUS                              Litigation              UNDETERMINED
       3240 SLY PARK RD
       POLLOCK PINES, CA 95726       ACCOUNT NO.: NOT AVAILABLE


3.4820 GAFFNEY, BRENDA                           VARIOUS                              Litigation              UNDETERMINED
       2925 SAND RIDGE RD
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.4821 GAGARIN, DENNIS                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 735
       NAPA, CA 94515                ACCOUNT NO.: NOT AVAILABLE


3.4822 GAILEY, SCOTT                             VARIOUS                              Litigation              UNDETERMINED
       421 PLATA COURT
       DANVILLE, CA 94526            ACCOUNT NO.: NOT AVAILABLE


3.4823 GAINES, JAVRONTA                          VARIOUS                              Litigation              UNDETERMINED
       2608 PLANTATION PLACE
       STOCKTON, CA 95209            ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.4824 GAINES, JEANETTE                         VARIOUS                              Litigation              UNDETERMINED
       1326 SHAFTER AVE
       SAN FRANCISCO, CA 94124       ACCOUNT NO.: NOT AVAILABLE


3.4825 GAINES, ROBERT V. PG&E                   VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 3375
       BOX 3375, OAKLAND, CA 94609   ACCOUNT NO.: NOT AVAILABLE


3.4826 GAITHER, JEFF                            VARIOUS                              Litigation              UNDETERMINED
       12336 CRANBERRY RD
       MADERA, CA 93636              ACCOUNT NO.: NOT AVAILABLE


3.4827 GAJAN, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       1007 SALINAS ROAD
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.4828 GALAN, STEFANI                           VARIOUS                              Litigation              UNDETERMINED
       6117 N. ROLINDA
       FRESNO, CA 93723              ACCOUNT NO.: NOT AVAILABLE


3.4829 GALANO, MICHELLE                         VARIOUS                              Litigation              UNDETERMINED
       842 ALABAMA ST.
       VALLEJO, CA 94590             ACCOUNT NO.: NOT AVAILABLE


3.4830 GALAVIZ, DAVID & JESSICA                 VARIOUS                              Litigation              UNDETERMINED
       1632 BUENA VISTA
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.4831 GALINDO, MYRNA                           VARIOUS                              Litigation              UNDETERMINED
       CA 0
                                     ACCOUNT NO.: NOT AVAILABLE


3.4832 GALINDO, USAA / ASO ROSIE                VARIOUS                              Litigation              UNDETERMINED
       530 B STREET 8TH FLOOR
       SAN DIEGO, CA 92101           ACCOUNT NO.: NOT AVAILABLE


3.4833 GALL, ROBERT                             VARIOUS                              Litigation              UNDETERMINED
       1717 39TH STREET
       SACRAMENTO, CA 95816          ACCOUNT NO.: NOT AVAILABLE


3.4834 GALLAGHER, DEBBIE                        VARIOUS                              Litigation              UNDETERMINED
       12850 GALLAGHER ROAD
       LODI, CA 95240                ACCOUNT NO.: NOT AVAILABLE


3.4835 GALLAGHER, MARION                        VARIOUS                              Litigation              UNDETERMINED
       171 ALTA MESA ROAD
       WOODSIDE, CA 94062            ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.4836 GALLARDO, TUESDAY                        VARIOUS                              Litigation              UNDETERMINED
       6525 HIGHLAND SPRINGS RD
       LAKEPORT, CA 95453           ACCOUNT NO.: NOT AVAILABLE


3.4837 GALLAWAY, ROBERT                         VARIOUS                              Litigation              UNDETERMINED
       133 CYPRESS WAY
       CARMEL, CA 93923             ACCOUNT NO.: NOT AVAILABLE


3.4838 GALLEGO, FELIX                           VARIOUS                              Litigation              UNDETERMINED
       420 BERRY ST
       337                          ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94158


3.4839 GALLEGOS, MICHELLE                       VARIOUS                              Litigation              UNDETERMINED
       5841 YAWL ST
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.4840 GALLEGOS, RICHARD                        VARIOUS                              Litigation              UNDETERMINED
       3197 CHIANT AVE
       MADERA, CA 93637             ACCOUNT NO.: NOT AVAILABLE


3.4841 GALLO, JOSEPH FARMS-OTT,                 VARIOUS                              Litigation              UNDETERMINED
       LOUIE
       P.O. BOX 775                 ACCOUNT NO.: NOT AVAILABLE
       ATWATER, CA 95301


3.4842 GALLON, TRACY                            VARIOUS                              Litigation              UNDETERMINED
       55 VALLE VISTA AVE APT 103
       VALLEJO, CA 94590            ACCOUNT NO.: NOT AVAILABLE


3.4843 GALLOWAY, JADE                           VARIOUS                              Litigation              UNDETERMINED
       2194 ARROYO CT APT 2
       PLEASANTON, CA 94588         ACCOUNT NO.: NOT AVAILABLE


3.4844 GALLUD, JERRY                            VARIOUS                              Litigation              UNDETERMINED
       2025 CYPRESS PT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.4845 GALOYAN, MARET                           VARIOUS                              Litigation              UNDETERMINED
       10478 SIERRA CREST DR
       RANCHO CORDOVA, CA 95670     ACCOUNT NO.: NOT AVAILABLE


3.4846 GALT, CYNTHIA                            VARIOUS                              Litigation              UNDETERMINED
       3880 S. BASCOM AVE 116
       SAN JOSE, CA 95124           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4847 GALVAN, DELIA                            VARIOUS                              Litigation              UNDETERMINED
       379 SANDLEWOOD DRIVE
       APTOS, CA 95003              ACCOUNT NO.: NOT AVAILABLE


3.4848 GALVAN, GERARDO                          VARIOUS                              Litigation              UNDETERMINED
       2151 OAKLAND RD SPACE 274
       SAN JOSE, CA 95131           ACCOUNT NO.: NOT AVAILABLE


3.4849 GALVAN, MANUEL                           VARIOUS                              Litigation              UNDETERMINED
       3784 E RICHERT AVE
       FRESNO, CA 93726             ACCOUNT NO.: NOT AVAILABLE


3.4850 GALVAREZ, JASON                          VARIOUS                              Litigation              UNDETERMINED
       8807 DONIMGO STREET
       BAKERSFIELD, CA 93313        ACCOUNT NO.: NOT AVAILABLE


3.4851 GALVEZ, DEBRA                            VARIOUS                              Litigation              UNDETERMINED
       6553 PLACER RD
       IGO, CA 96047                ACCOUNT NO.: NOT AVAILABLE


3.4852 GAMBALE, GLORIA                          VARIOUS                              Litigation              UNDETERMINED
       1130 PRESIDIO BLVD
       PACIFIC GROVE, CA 93950      ACCOUNT NO.: NOT AVAILABLE


3.4853 GAMBELIN, DONALD                         VARIOUS                              Litigation              UNDETERMINED
       903 EDGEWOOD ROAD
       REDWOOD CITY, CA 94062       ACCOUNT NO.: NOT AVAILABLE


3.4854 GAMBELIN, DONALD                         VARIOUS                              Litigation              UNDETERMINED
       903 EDGEWOOD ROAD
       REDWOOD CITY, CA 94062       ACCOUNT NO.: NOT AVAILABLE


3.4855 GAMBETTI, ALBERT                         VARIOUS                              Litigation              UNDETERMINED
       12688 PRINCETON DRIVE
       AUBURN, CA 95603             ACCOUNT NO.: NOT AVAILABLE


3.4856 GAMBINO, PATRICIA V. PG&E                VARIOUS                              Litigation              UNDETERMINED
       DAWN HASSELL
       4079 19TH AVENUE             ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94132


3.4857 GAMBLIN, RHONDA                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 6301
       OAKLAND, CA 94603            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.4858 GAMBOA, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       49 SANDPOINT DRIVE
       RICHMOND, CA 94804           ACCOUNT NO.: NOT AVAILABLE


3.4859 GAMBOA, SAMUEL                           VARIOUS                              Litigation              UNDETERMINED
       35 E TEHAMA STREET
       CA 95963                     ACCOUNT NO.: NOT AVAILABLE


3.4860 GAMBORD, JOEL                            VARIOUS                              Litigation              UNDETERMINED
       1683 CRESPI LANE
       PEBBLE BEACH, CA 93953       ACCOUNT NO.: NOT AVAILABLE


3.4861 GAMINO, RAY                              VARIOUS                              Litigation              UNDETERMINED
       4582 E TURNER AVE
       FRESNO, CA 93702             ACCOUNT NO.: NOT AVAILABLE


3.4862 GANDEE, MARTHA                           VARIOUS                              Litigation              UNDETERMINED
       10121 FALLEN LEAF DRIVE
       JAMESTOWN, CA 95327          ACCOUNT NO.: NOT AVAILABLE


3.4863 GANLEY, MARIE                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 16
       LUCERNE, CA 95458            ACCOUNT NO.: NOT AVAILABLE


3.4864 GANN, SANDRA                             VARIOUS                              Litigation              UNDETERMINED
       2893 HARTVICKSON LN
       VALLEY SPRINGS, CA 95252     ACCOUNT NO.: NOT AVAILABLE


3.4865 GANNON, JULIE                            VARIOUS                              Litigation              UNDETERMINED
       6300 N PALM AVENUE #137
       FRESNO, CA 93704             ACCOUNT NO.: NOT AVAILABLE


3.4866 GANTZLER, DUSTIN                         VARIOUS                              Litigation              UNDETERMINED
       1081 LIGHTHOUSE AVE
       APARTMENT 204                ACCOUNT NO.: NOT AVAILABLE
       PACIFIC GROVE, CA 93950


3.4867 GAO, LISA                                VARIOUS                              Litigation              UNDETERMINED
       1260 MILLS ST
       MENLO PARK, CA 94025         ACCOUNT NO.: NOT AVAILABLE


3.4868 GAO, MIN                                 VARIOUS                              Litigation              UNDETERMINED
       34848 AWNING TER
       FREMONT, CA 94555            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4869 GAO, YING                                VARIOUS                              Litigation              UNDETERMINED
       686 EMERSON ST
       FREMONT, CA 94539              ACCOUNT NO.: NOT AVAILABLE


3.4870 GARCIA CORTES, AGUSTIN                   VARIOUS                              Litigation              UNDETERMINED
       548 VIRGIL ST
       BAY POINT, CA 94565            ACCOUNT NO.: NOT AVAILABLE


3.4871 GARCIA DE ZAMORA, MARIA D.L.             VARIOUS                              Litigation              UNDETERMINED
       1205 PEEK AVE
       MODESTO, CA 95358              ACCOUNT NO.: NOT AVAILABLE


3.4872 GARCIA SANCHEZ, NUBIA                    VARIOUS                              Litigation              UNDETERMINED
       3050 SHADOW SPRINGS PLACE
       SAN JOSE, CA 95721             ACCOUNT NO.: NOT AVAILABLE


3.4873 GARCIA, ANA                              VARIOUS                              Litigation              UNDETERMINED
       140 COLD SPRINGS ROAD
       ANGWIN, CA 94508               ACCOUNT NO.: NOT AVAILABLE


3.4874 GARCIA, ANGELICA                         VARIOUS                              Litigation              UNDETERMINED
       14530 BYRON HWY
       54                             ACCOUNT NO.: NOT AVAILABLE
       BYRON, CA 94514


3.4875 GARCIA, ANNA                             VARIOUS                              Litigation              UNDETERMINED
       6526 PALO VERDE ROAD
       CASTRO VALLEY, CA 94526        ACCOUNT NO.: NOT AVAILABLE


3.4876 GARCIA, ANTONIO                          VARIOUS                              Litigation              UNDETERMINED
       56 PALOMA AVE.
       SALINAS, CA 93905              ACCOUNT NO.: NOT AVAILABLE


3.4877 GARCIA, ARCELIA                          VARIOUS                              Litigation              UNDETERMINED
       5685 MORAN AVE
       MERCED, CA 95340               ACCOUNT NO.: NOT AVAILABLE


3.4878 GARCIA, BARVI                            VARIOUS                              Litigation              UNDETERMINED
       3350 DEL MONTE BLVD.
       B5                             ACCOUNT NO.: NOT AVAILABLE
       MARINA, CA 93933


3.4879 GARCIA, CARMELITA                        VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 834
       PACIFIC GOVE, CA 93950         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4880 GARCIA, CAROLYN                          VARIOUS                              Litigation              UNDETERMINED
       17220 TAMARA LN.
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.4881 GARCIA, CECILIA                          VARIOUS                              Litigation              UNDETERMINED
       1786 JUDSON ST
       SEASIDE, CA 93955            ACCOUNT NO.: NOT AVAILABLE


3.4882 GARCIA, CHRISTINA                        VARIOUS                              Litigation              UNDETERMINED
       1455 COUGAR DRIVE
       SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.4883 GARCIA, CONCHA                           VARIOUS                              Litigation              UNDETERMINED
       368 SCOTTSDALE RD
       PLEASANT HILL, CA 94523      ACCOUNT NO.: NOT AVAILABLE


3.4884 GARCIA, CONCHA                           VARIOUS                              Litigation              UNDETERMINED
       368 SCOTTSDALE RD
       PLEASANT HILL, CA 94523      ACCOUNT NO.: NOT AVAILABLE


3.4885 GARCIA, CONCHA                           VARIOUS                              Litigation              UNDETERMINED
       368 SCOTTSDALE RD
       PLEASANT HILL, CA 94523      ACCOUNT NO.: NOT AVAILABLE


3.4886 GARCIA, DANIEL                           VARIOUS                              Litigation              UNDETERMINED
       1443 MUSTANG CT
       SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.4887 GARCIA, EDUARDO                          VARIOUS                              Litigation              UNDETERMINED
       1059 BISON WAY
       SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.4888 GARCIA, EFRAIN                           VARIOUS                              Litigation              UNDETERMINED
       WARREN R.
       PABOOJIANBARADAT &           ACCOUNT NO.: NOT AVAILABLE
       PABOOJIAN, INC.
       720 W. ALLUVIAL AVENUE
       FRESNO, CA 93711-5705


3.4889 GARCIA, EURIQUETA                        VARIOUS                              Litigation              UNDETERMINED
       944 CIVIC CENTER DRIVE
       ROHNERT PARK, CA 94928       ACCOUNT NO.: NOT AVAILABLE


3.4890 GARCIA, FABIO                            VARIOUS                              Litigation              UNDETERMINED
       22776 ROBERTSON BLVD
       CHOWCHILLA, CA 93610         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4891 GARCIA, FERMIN                           VARIOUS                              Litigation              UNDETERMINED
       2073 SANTA RITA ST APT 42
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.4892 GARCIA, FIDEL                            VARIOUS                              Litigation              UNDETERMINED
       11 ACACIA CIRCLE SOUTH
       SALINAS, CA 93901            ACCOUNT NO.: NOT AVAILABLE


3.4893 GARCIA, FRANCES                          VARIOUS                              Litigation              UNDETERMINED
       7327 N EL DORADO STREET
       STOCKTON, CA 95207           ACCOUNT NO.: NOT AVAILABLE


3.4894 GARCIA, HECTOR                           VARIOUS                              Litigation              UNDETERMINED
       3821 EDITH LN.
       BAKERSFIELD, CA 93304        ACCOUNT NO.: NOT AVAILABLE


3.4895 GARCIA, HENRY                            VARIOUS                              Litigation              UNDETERMINED
       153 DARTMOUTH AVE
       VALLEJO, CA 94589            ACCOUNT NO.: NOT AVAILABLE


3.4896 GARCIA, IRLANDA                          VARIOUS                              Litigation              UNDETERMINED
       3369 ARENA WAY
       ATWATER, CA 95301            ACCOUNT NO.: NOT AVAILABLE


3.4897 GARCIA, ISAEL                            VARIOUS                              Litigation              UNDETERMINED
       3574 MAGNIFICENT WAY
       CLOVIS, CA 93619             ACCOUNT NO.: NOT AVAILABLE


3.4898 GARCIA, JAVIER                           VARIOUS                              Litigation              UNDETERMINED
       1487 LINWOOD DRIVE
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.4899 GARCIA, JODI                             VARIOUS                              Litigation              UNDETERMINED
       17859 GAIL COURT
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.4900 GARCIA, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       350 SHARON PARK DR
       6980 SANTA TERESA BLVD.,     ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE
       MENLO PARK, CA 94025


3.4901 GARCIA, JUAN                             VARIOUS                              Litigation              UNDETERMINED
       611 SUMMERHILL DRIVE
       SANTA MARIA, CA 93454        ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.4902 GARCIA, JUAN                              VARIOUS                              Litigation              UNDETERMINED
       485 STRAWBERRY CANYON RD
       NONE                          ACCOUNT NO.: NOT AVAILABLE
       ROYAL OAKS, CA 95076


3.4903 GARCIA, JUAN AND MARTHA                   VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 331
       12880 STUOLUMNE               ACCOUNT NO.: NOT AVAILABLE
       CANTUA CREEK, CA 93608


3.4904 GARCIA, KRISTEL                           VARIOUS                              Litigation              UNDETERMINED
       3396 VIA BARBA
       LOMPOC, CA 93436              ACCOUNT NO.: NOT AVAILABLE


3.4905 GARCIA, LUPE                              VARIOUS                              Litigation              UNDETERMINED
       575 PARADISE RD
       PRUNEDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.4906 GARCIA, MANUEL                            VARIOUS                              Litigation              UNDETERMINED
       6968 BOLADO DRIVE
       SAN JOSE, CA 95119            ACCOUNT NO.: NOT AVAILABLE


3.4907 GARCIA, MARCOS                            VARIOUS                              Litigation              UNDETERMINED
       2298 N MAIN ST APT 81
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.4908 GARCIA, MARISOL                           VARIOUS                              Litigation              UNDETERMINED
       2491 W LOCUST AVENUE
       FRESNO, CA 93711              ACCOUNT NO.: NOT AVAILABLE


3.4909 GARCIA, MARLENE                           VARIOUS                              Litigation              UNDETERMINED
       1281 TULIO ST.
       YUBA CITY, CA 95993           ACCOUNT NO.: NOT AVAILABLE


3.4910 GARCIA, NEAL                              VARIOUS                              Litigation              UNDETERMINED
       6562 PALOVERDE RD
       CASTRO VALLEY, CA 94551       ACCOUNT NO.: NOT AVAILABLE


3.4911 GARCIA, OSIEL                             VARIOUS                              Litigation              UNDETERMINED
       1041 BUCKHORN DRIVE
       SALINAS, CA 93905             ACCOUNT NO.: NOT AVAILABLE


3.4912 GARCIA, PATRICK                           VARIOUS                              Litigation              UNDETERMINED
       632 WIMBLEDON ROAD
       WALNUT CREEK, CA 94598        ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.4913 GARCIA, ROGELIO                          VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 637
       34 MAIN ST., ISLETON, CA., 95641 ACCOUNT NO.: NOT AVAILABLE
       ISLETON, CA 95641


3.4914 GARCIA, ROSA                             VARIOUS                              Litigation              UNDETERMINED
       1113 CHULA VISTA AVE
       ARVIN, CA 93203                ACCOUNT NO.: NOT AVAILABLE


3.4915 GARCIA, ROSA                             VARIOUS                              Litigation              UNDETERMINED
       808 GIBSON ROAD
       WOODLAND, CA 95695             ACCOUNT NO.: NOT AVAILABLE


3.4916 GARCIA, ROSIDALIA                        VARIOUS                              Litigation              UNDETERMINED
       121 PARK PLAZA DR
       APT 21                         ACCOUNT NO.: NOT AVAILABLE
       DALY CITY, CA 94015


3.4917 GARCIA, SANDY                            VARIOUS                              Litigation              UNDETERMINED
       12521 ARROWHEAD ROAD
       PINE GROVE, CA 95665           ACCOUNT NO.: NOT AVAILABLE


3.4918 GARCIA, SHIRLEY                          VARIOUS                              Litigation              UNDETERMINED
       19655 LAKE CHABOT RD
       CASTRO VALLEY, CA 94563        ACCOUNT NO.: NOT AVAILABLE


3.4919 GARCIA, STEVEN                           VARIOUS                              Litigation              UNDETERMINED
       1358 METCALF ROAD
       SAN JOSE, CA 95138             ACCOUNT NO.: NOT AVAILABLE


3.4920 GARCIA, TONY                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 5034
       VACAVILLE, CA 95696            ACCOUNT NO.: NOT AVAILABLE


3.4921 GARCIA, TORIBIO/ATTY REP                 VARIOUS                              Litigation              UNDETERMINED
       7161 N HOWARD ST, STE #202
       FRESNO, CA 93720               ACCOUNT NO.: NOT AVAILABLE


3.4922 GARCIA, VERONICA                         VARIOUS                              Litigation              UNDETERMINED
       18184 BENSON RD.
       COTTONWOOD, CA 96022           ACCOUNT NO.: NOT AVAILABLE


3.4923 GARCIA, WALTER                           VARIOUS                              Litigation              UNDETERMINED
       320 BURR KNOW WAY
       BRENTWOOD, CA 94513            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.4924 GARCIALUIS, JUANA                        VARIOUS                              Litigation              UNDETERMINED
       1322 MONO DR.
       MODESTO, CA 95354             ACCOUNT NO.: NOT AVAILABLE


3.4925 GARDELLA, HILBERT,                       VARIOUS                              Litigation              UNDETERMINED
       INDIVIDUALLY AND AS TRUSTEE
       OF THE HILBERT L. GARDELLA    ACCOUNT NO.: NOT AVAILABLE
       LIVING TRUST DATED
       FEBRUARY 27, 2009
       NOT AVAILABLE


3.4926 GARDEN FRESH RESTAURANT-                 VARIOUS                              Litigation              UNDETERMINED
       LIANG, ALICE
       1245 W EL CAMINO REAL         ACCOUNT NO.: NOT AVAILABLE
       MOUNTAIN VIEW, CA 94040


3.4927 GARDINEER, REGINA                        VARIOUS                              Litigation              UNDETERMINED
       3909 MARINE AVE
       STOCKTON, CA 95204            ACCOUNT NO.: NOT AVAILABLE


3.4928 GARDINER FARMS LLC,                      VARIOUS                              Litigation              UNDETERMINED
       GARDINER, KEITH
       29341 KIMBERLINA ROAD         ACCOUNT NO.: NOT AVAILABLE
       WASCO, CA 93280


3.4929 GARDNER BLACK, ROBERT                    VARIOUS                              Litigation              UNDETERMINED
       1448 MARIANI COURT
       TRACY, CA 95376               ACCOUNT NO.: NOT AVAILABLE


3.4930 GARDNER, KENNETH                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1543
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.4931 GAREY, BERTON                            VARIOUS                              Litigation              UNDETERMINED
       3341 DWIGHT WAY
       BERKELEY, CA 94704            ACCOUNT NO.: NOT AVAILABLE


3.4932 GARFIELD, CYNTHIA                        VARIOUS                              Litigation              UNDETERMINED
       857 OCEAN VIEW BLVD
       PACIFIC GROVE, CA 93950       ACCOUNT NO.: NOT AVAILABLE


3.4933 GARIBAY, MARIA                           VARIOUS                              Litigation              UNDETERMINED
       3461 DAVIS ST
       OAKLAND, CA 94601             ACCOUNT NO.: NOT AVAILABLE


3.4934 GARIBAY, PEOLRO                          VARIOUS                              Litigation              UNDETERMINED
       1471 DEL RIO CIRCLE APT B
       CONCORD, CA 94518             ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.4935 GARLAND, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       5904 BERNHARD AVE.
       RICHMOND, CA 94805             ACCOUNT NO.: NOT AVAILABLE


3.4936 GARLINGTON, THEODORE                     VARIOUS                              Litigation              UNDETERMINED
       20222 SANDY LANE
       TUOLUMNE, CA 95379             ACCOUNT NO.: NOT AVAILABLE


3.4937 GARLOW, HILDA                            VARIOUS                              Litigation              UNDETERMINED
       3297 ABDY WAY
       MARINA, CA 93933               ACCOUNT NO.: NOT AVAILABLE


3.4938 GARMAN, CARRIE                           VARIOUS                              Litigation              UNDETERMINED
       3434 SHIRLEY ST
       COTTONWOOD, CA 96022           ACCOUNT NO.: NOT AVAILABLE


3.4939 GARNER, CAROL                            VARIOUS                              Litigation              UNDETERMINED
       2410 W. ALLEGHENY STREET
       PHILADELPHIA, CA 19132         ACCOUNT NO.: NOT AVAILABLE


3.4940 GARNETT, HUBERT                          VARIOUS                              Litigation              UNDETERMINED
       1 EMBARCADERO W.
       349                            ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94607


3.4941 GARNEY PACIFIC, INC.-HANSEN,             VARIOUS                              Litigation              UNDETERMINED
       NICHOLAS
       324 E. 11TH STREET SUITE E2    ACCOUNT NO.: NOT AVAILABLE
       TRACY, CA 95376


3.4942 GARNEY PACIFIC-HANSEN, NICK              VARIOUS                              Litigation              UNDETERMINED
       1333 NW VIVION ROAD
       KANSAS CITY, CA 64118          ACCOUNT NO.: NOT AVAILABLE


3.4943 GARNICA, EDUARDO                         VARIOUS                              Litigation              UNDETERMINED
       16450 COUNTRY ROAD 87
       ESPARTO, CA 95627              ACCOUNT NO.: NOT AVAILABLE


3.4944 GARNSEY, CHERYL & EUGENE                 VARIOUS                              Litigation              UNDETERMINED
       564 CAMINO CABALLO
       NIPOMO, CA 93444               ACCOUNT NO.: NOT AVAILABLE


3.4945 GARO, PHIL                               VARIOUS                              Litigation              UNDETERMINED
       6052 N WINCHESTER
       FRESNO, CA 93704               ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4946 GARRETT, BOB                             VARIOUS                              Litigation              UNDETERMINED
       21020 DISCH ROAD
       LOCKEFORD, CA 95237          ACCOUNT NO.: NOT AVAILABLE


3.4947 GARRETT, CHARLES                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 949
       20403 KUTER DR               ACCOUNT NO.: NOT AVAILABLE
       MI WUK VILLAGE, CA


3.4948 GARRETT, MICHAEL                         VARIOUS                              Litigation              UNDETERMINED
       2596 E MENLO AVE
       FRESNO, CA 93710             ACCOUNT NO.: NOT AVAILABLE


3.4949 GARRETT, PAULA                           VARIOUS                              Litigation              UNDETERMINED
       2331 WEST HAGERT STREET
       PHILADELPHIA, CA 19132       ACCOUNT NO.: NOT AVAILABLE


3.4950 GARRETT, SIERRA                          VARIOUS                              Litigation              UNDETERMINED
       6127 SNOWPEAK DR
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.4951 GARRETT, VANESSA                         VARIOUS                              Litigation              UNDETERMINED
       130 AVRAM AVE,
       ROHNERT PARK, CA 94928       ACCOUNT NO.: NOT AVAILABLE


3.4952 GARRIC, LYNN                             VARIOUS                              Litigation              UNDETERMINED
       122 CALISTOGA RD 160
       SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE


3.4953 GARRISON, GAYLE                          VARIOUS                              Litigation              UNDETERMINED
       1201 MONUMENT BLVD. #75
       CONCORD, CA 94520            ACCOUNT NO.: NOT AVAILABLE


3.4954 GARRISON, JONNELL                        VARIOUS                              Litigation              UNDETERMINED
       6938 LAUREL DEL DR
       LUCERNE, CA 95458            ACCOUNT NO.: NOT AVAILABLE


3.4955 GARRISON, LOUIS                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 5898
       OAKLAND, CA 94605            ACCOUNT NO.: NOT AVAILABLE


3.4956 GARRISON, LOUISE                         VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 513
       NICE, CA 95464               ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4957 GARRISON, REBEKAH                        VARIOUS                              Litigation              UNDETERMINED
       1622 LOMA VERDE DRIVE
       EL DORADO HILL, CA 95762     ACCOUNT NO.: NOT AVAILABLE


3.4958 GARRISON, ROBERT                         VARIOUS                              Litigation              UNDETERMINED
       1800 WILLOW PASS COURT
       767 EUBANKS DRIVE            ACCOUNT NO.: NOT AVAILABLE
       VACAVILLE, CA 95688


3.4959 GARVEY, PATRICIA                         VARIOUS                              Litigation              UNDETERMINED
       19329 APPLE VALLEY RD.
       SONOMA, CA 95476             ACCOUNT NO.: NOT AVAILABLE


3.4960 GARVY, HELEN                             VARIOUS                              Litigation              UNDETERMINED
       326 SAN JUAN AVE
       SANTA CRUZ, CA 95062         ACCOUNT NO.: NOT AVAILABLE


3.4961 GARY PATRICK SALON INC.-                 VARIOUS                              Litigation              UNDETERMINED
       GEMMA, GARY
       350 MAIN ST.                 ACCOUNT NO.: NOT AVAILABLE
       SUITE J
       PLEASANTON, CA 94566


3.4962 GARY PLOTKIN, VALERIE                    VARIOUS                              Litigation              UNDETERMINED
       PLOTKIN
       MARY ALEXANDER, BRENDAN      ACCOUNT NO.: NOT AVAILABLE
       WAY, CATALINA MUNOZ
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.4963 GARY PLOTKIN, VALERIE                    VARIOUS                              Litigation              UNDETERMINED
       PLOTKIN
       ROBERT ARNS, JONATHAN        ACCOUNT NO.: NOT AVAILABLE
       DAVIS, KEVIN OSBORNE,
       ROBERT FOSS
       515 FOLSOM STREET
       3RD FLOOR
       SAN FRANCISCO, CA 94105


3.4964 GARY, BARBARA                            VARIOUS                              Litigation              UNDETERMINED
       223 SANDY BEACH ROAD
       VALLEJO, CA 94590            ACCOUNT NO.: NOT AVAILABLE


3.4965 GARY, DAR                                VARIOUS                              Litigation              UNDETERMINED
       2617 GRANITE LANE
       CATHEYS VALLEY, CA 95306     ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4966 GARY, DARWIN                             VARIOUS                              Litigation              UNDETERMINED
       2617 GRANITE LANE
       CATHEYS VALLEY, CA 95306     ACCOUNT NO.: NOT AVAILABLE


3.4967 GARY, ROBERT                             VARIOUS                              Litigation              UNDETERMINED
       2874 MORGAN AVE
       OAKLAN, CA 94602             ACCOUNT NO.: NOT AVAILABLE


3.4968 GARZA, ANITA                             VARIOUS                              Litigation              UNDETERMINED
       5265 CAMDEN AVE
       135                          ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95125


3.4969 GARZA, CRYSTAL                           VARIOUS                              Litigation              UNDETERMINED
       458 BORONDA RD
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.4970 GARZA, JOHN                              VARIOUS                              Litigation              UNDETERMINED
       22863 PARROTTS FERRY ROAD
       COLUMBIA, CA 95310           ACCOUNT NO.: NOT AVAILABLE


3.4971 GARZA, JOSE                              VARIOUS                              Litigation              UNDETERMINED
       3718 PASADENA ST
       BAKERSFIELD, CA 93306        ACCOUNT NO.: NOT AVAILABLE


3.4972 GARZA, RUBEN                             VARIOUS                              Litigation              UNDETERMINED
       28500 LONE TREE ROAD
       OAKDALE, CA 93530            ACCOUNT NO.: NOT AVAILABLE


3.4973 GASKILL, BARBARA                         VARIOUS                              Litigation              UNDETERMINED
       311 N. HARBOR DRIVE
       FORT BRAGG, CA 95437         ACCOUNT NO.: NOT AVAILABLE


3.4974 GASKINS, GEORGE                          VARIOUS                              Litigation              UNDETERMINED
       3187 SODA CANYON RD
       NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.4975 GASPERINI, RICHARD                       VARIOUS                              Litigation              UNDETERMINED
       BOX 489
       CUPERTINO, CA 95015          ACCOUNT NO.: NOT AVAILABLE


3.4976 GASS ENTERTAINMENT, LLC-                 VARIOUS                              Litigation              UNDETERMINED
       CASSELLA, ANTHONY
       1807 TELEGRAPH AVE           ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94612




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Litigation & Disputes

3.4977 GASTON, EDWARD                            VARIOUS                              Litigation              UNDETERMINED
       255 SUMMIT AVENUE
       SAN FRANCISCO, CA 94901       ACCOUNT NO.: NOT AVAILABLE


3.4978 GASTON, RICKY                             VARIOUS                              Litigation              UNDETERMINED
       4453 COUNTY ROAD M 1/2
       ORLAND, CA 95963              ACCOUNT NO.: NOT AVAILABLE


3.4979 GATELY, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       4230 LEISURE LN.
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.4980 GATTISON, BOOKER                          VARIOUS                              Litigation              UNDETERMINED
       1832 LANDMARK DRIVE
       VALLEJO, CA 94591             ACCOUNT NO.: NOT AVAILABLE


3.4981 GATTO, SANTIAGO                           VARIOUS                              Litigation              UNDETERMINED
       SCOTT WARD (SBN 130001)
       995 MORNING STAR DRIVE,       ACCOUNT NO.: NOT AVAILABLE
       SUITE C
       SONORA, CA 5370


3.4982 GATTO, SANTIAGO                           VARIOUS                              Litigation              UNDETERMINED
       YOUNG WARD & LOTHERT
       SCOTT WARD                    ACCOUNT NO.: NOT AVAILABLE
       SONORA, CA 95370


3.4983 GAUB, DAVID                               VARIOUS                              Litigation              UNDETERMINED
       473 TURRIN DR
       PLEASANT HILL, CA 94523       ACCOUNT NO.: NOT AVAILABLE


3.4984 GAUDET, LOIS                              VARIOUS                              Litigation              UNDETERMINED
       4725 LINCOLN AVE
       OAKLAND, CA 94602             ACCOUNT NO.: NOT AVAILABLE


3.4985 GAUGHF, JUDY                              VARIOUS                              Litigation              UNDETERMINED
       13 SYLVAN PLACE
       13 SYLVAN PLACE               ACCOUNT NO.: NOT AVAILABLE
       MONTEREY, CA 93940


3.4986 GAUTAM, DEVESH                            VARIOUS                              Litigation              UNDETERMINED
       17477 CALLE DEL SOL
       MORGAN HILL, CA 95037         ACCOUNT NO.: NOT AVAILABLE


3.4987 GAUTHIER, LEONARD                         VARIOUS                              Litigation              UNDETERMINED
       25848 SYLVAN ROAD
       PIONEER, CA 95666             ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.4988 GAVAM, JASMINE                           VARIOUS                              Litigation              UNDETERMINED
       106 RIDGE RD
       FAIRFAX, CA 94930            ACCOUNT NO.: NOT AVAILABLE


3.4989 GAVIN, TIMOTHY                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 3368
       FREMONT, CA 94539            ACCOUNT NO.: NOT AVAILABLE


3.4990 GAW, ANNIE                               VARIOUS                              Litigation              UNDETERMINED
       1755 NOVATO BLVD.
       K3                           ACCOUNT NO.: NOT AVAILABLE
       NOVATO, CA 94947


3.4991 GAWARGY, NADER                           VARIOUS                              Litigation              UNDETERMINED
       535 ARBOLEDA DRIVE
       LOS ALTOS, CA 94024          ACCOUNT NO.: NOT AVAILABLE


3.4992 GAYLES, JEREMY/ATTY REP                  VARIOUS                              Litigation              UNDETERMINED
       2000 SAINT PETERS ST
       FRESNO, CA 95355             ACCOUNT NO.: NOT AVAILABLE


3.4993 GAYNOR, KIMBERLY                         VARIOUS                              Litigation              UNDETERMINED
       982 GALE DR.
       CAMPBELL, CA 95008           ACCOUNT NO.: NOT AVAILABLE


3.4994 GEBHART, RICHARD                         VARIOUS                              Litigation              UNDETERMINED
       1143 ARROWHEAD RD.
       PEBBLE BEACH, CA 93953       ACCOUNT NO.: NOT AVAILABLE


3.4995 GEBHART, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       2883 BURNSIDE RD
       SEBASTOPOL, CA 95472         ACCOUNT NO.: NOT AVAILABLE


3.4996 GEBO, ROBERT                             VARIOUS                              Litigation              UNDETERMINED
       16605 EVELYN WAY
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.4997 GEDDES, HARRY                            VARIOUS                              Litigation              UNDETERMINED
       25071 MARSH CREEK RD
       BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.4998 GEDDIS, FRANCINE                         VARIOUS                              Litigation              UNDETERMINED
       16536 SO CREEKSIDE DRIVE
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.4999 GEDGE, TAMARA                            VARIOUS                              Litigation              UNDETERMINED
       91 UTAH AVENUE
       WOODLAND, CA 95695           ACCOUNT NO.: NOT AVAILABLE


3.5000 GEE YIN CORPORATION, FOR                 VARIOUS                              Litigation              UNDETERMINED
       ZHI HE
       6288 MISSION STREET          ACCOUNT NO.: NOT AVAILABLE
       DALY CITY, CA 94014


3.5001 GEE, HALL                                VARIOUS                              Litigation              UNDETERMINED
       8909 THORTON RD STE. 11
       STOCKTON, CA 95209           ACCOUNT NO.: NOT AVAILABLE


3.5002 GEE, JENNY                               VARIOUS                              Litigation              UNDETERMINED
       1317 DANBERRY LN
       DALY CITY, CA 94014          ACCOUNT NO.: NOT AVAILABLE


3.5003 GEE, RAYMOND                             VARIOUS                              Litigation              UNDETERMINED
       1697 PERIDOT DR
       LIVERMORE, CA 94550          ACCOUNT NO.: NOT AVAILABLE


3.5004 GEE, RAYMOND                             VARIOUS                              Litigation              UNDETERMINED
       2591 BENNINGTON DRIVE
       SAN BRUNO, CA 94066          ACCOUNT NO.: NOT AVAILABLE


3.5005 GEHAM, FAHD                              VARIOUS                              Litigation              UNDETERMINED
       1506 2ND STREET
       SELMA, CA 93662              ACCOUNT NO.: NOT AVAILABLE


3.5006 GEHN, DAN                                VARIOUS                              Litigation              UNDETERMINED
       1407 CALIGIURI CANYON ROAD
       VACAVILLE, CA 95688          ACCOUNT NO.: NOT AVAILABLE


3.5007 GEIBEL, WILLIAM                          VARIOUS                              Litigation              UNDETERMINED
       10720 PORTAL ROAD
       ATASCADERO, CA 93422         ACCOUNT NO.: NOT AVAILABLE


3.5008 GEICO CLAIMS-CANELA,                     VARIOUS                              Litigation              UNDETERMINED
       ALEJANDRA
       PO BOX 509119                ACCOUNT NO.: NOT AVAILABLE
       SAN DIEGO, CA 92150


3.5009 GEICO INDEMNITY CO.                      VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 509119
       SAN DIEOGO, CA 92150         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.5010 GEICO INDEMNITY COMPANY,                 VARIOUS                              Litigation              UNDETERMINED
       RICHARD STEIDER
       PO BOX 509119                ACCOUNT NO.: NOT AVAILABLE
       SAN DIEGO, CA 92150


3.5011 GEICO -VOLOSHIN                          VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 509119
       SAN DIEGO, CA 92150          ACCOUNT NO.: NOT AVAILABLE


3.5012 GEICO, BESSIE MILLER                     VARIOUS                              Litigation              UNDETERMINED
       PO BOX 509119
       2119 MERCED ST/VANESS AVE    ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 92150


3.5013 GEICO, CHRISTY REIGEL                    VARIOUS                              Litigation              UNDETERMINED
       PO BOX 509119
       SAN DIEGO, CA 92150          ACCOUNT NO.: NOT AVAILABLE


3.5014 GEICO, EMERY, LAURIE                     VARIOUS                              Litigation              UNDETERMINED
       PO BOX 509119
       SAN DIEGO, CA 92150          ACCOUNT NO.: NOT AVAILABLE


3.5015 GEICO, NICOLAS ADONA                     VARIOUS                              Litigation              UNDETERMINED
       PO BOX 509119
       SAN DIEGO, CA 92150          ACCOUNT NO.: NOT AVAILABLE


3.5016 GEICO, WOLF, STEVEN                      VARIOUS                              Litigation              UNDETERMINED
       PO BPX 509119
       SAN DIEGO, CA 92150          ACCOUNT NO.: NOT AVAILABLE


3.5017 GEICO-HERRERA, ASHLEY                    VARIOUS                              Litigation              UNDETERMINED
       PO BOX 509119
       SAN DIEGO, CA 98055          ACCOUNT NO.: NOT AVAILABLE


3.5018 GEICO-MARTYNOVSKIY, IRINA                VARIOUS                              Litigation              UNDETERMINED
       PO BOX 509119
       SAN DIEGO, CA 92150          ACCOUNT NO.: NOT AVAILABLE


3.5019 GEICO-STEBNER, REBECCA                   VARIOUS                              Litigation              UNDETERMINED
       P. O. BOX 509119
       SAN DIEGO, CA 92064          ACCOUNT NO.: NOT AVAILABLE


3.5020 GEICO-TSENG, CHARLES                     VARIOUS                              Litigation              UNDETERMINED
       PO BOX 509119
       SAN DIEGO, CA 92150          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.5021 GEICO-WICKS, HOLLY                       VARIOUS                              Litigation              UNDETERMINED
       PO BOX 5055
       POWAY, CA 92150                ACCOUNT NO.: NOT AVAILABLE


3.5022 GEIGER, AMANDA                           VARIOUS                              Litigation              UNDETERMINED
       5296 TRAFFIC WAY, APT #1
       ATASACDERO, CA 93422           ACCOUNT NO.: NOT AVAILABLE


3.5023 GEIMER, ROBERT & SHARON                  VARIOUS                              Litigation              UNDETERMINED
       1880 CLOVER VALLEY ROAD
       UPPER LAKE, CA 95485           ACCOUNT NO.: NOT AVAILABLE


3.5024 GELB, JOHANNA                            VARIOUS                              Litigation              UNDETERMINED
       300 ELM STREET
       SAN CARLOS, CA 94070           ACCOUNT NO.: NOT AVAILABLE


3.5025 GELBACH, TOM                             VARIOUS                              Litigation              UNDETERMINED
       75 DE BELL DRIVE
       ATHERTON, CA 94027             ACCOUNT NO.: NOT AVAILABLE


3.5026 GELLER, SHAWN                            VARIOUS                              Litigation              UNDETERMINED
       PO HAD 551093
       SOUTH LAKE TAHOE, CA 96155     ACCOUNT NO.: NOT AVAILABLE


3.5027 GELMAN, MARINA & MIKHAIL                 VARIOUS                              Litigation              UNDETERMINED
       (ATTY REPD)
       KAREN M. PLATT, ATTORNEY       ACCOUNT NO.: NOT AVAILABLE
       130 PORTOLA ROAD
       PORTOLA VALLEY, CA 94028


3.5028 GENERAL INSTALLATION                     VARIOUS                              Litigation              UNDETERMINED
       SERVICES, INC.-SEVILLA, JUAN
       3350 N. REDDA RD.              ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93737


3.5029 GENERATION HOTELS-                       VARIOUS                              Litigation              UNDETERMINED
       BRITTNEY BECK, BECK'S
       MOTOR LODGE                    ACCOUNT NO.: NOT AVAILABLE
       2222 MARKET ST
       SAN FRANCISCO, CA 94114




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.5030 GENEVIEVE LEROUX, A MINOR                VARIOUS                              Litigation              UNDETERMINED
       BY AND THROUGH HER
       GUARDIAN AD LITEM, JASON     ACCOUNT NO.: NOT AVAILABLE
       LEROUX; JASON LEROUX, AND
       INDIVIDUAL; KIMBERLEE
       LEROUX
       HARRIS PERSONAL INJURY
       LAWYERS, INC. (SAN LUIS
       OBISPO)
       1025 FARMHOUSE LANE,
       SECOND FLOOR
       SAN LUIS OBISPO, CA 93401


3.5031 GENHO, CHARLES                           VARIOUS                              Litigation              UNDETERMINED
       18400 KENTWOOD PLACE
       HIDDEN VALLEY, CA 95467      ACCOUNT NO.: NOT AVAILABLE


3.5032 GENKI-YU, MICHAEL                        VARIOUS                              Litigation              UNDETERMINED
       330 CLEMENT ST
       SAN FRANCISCO, CA 94118      ACCOUNT NO.: NOT AVAILABLE


3.5033 GENTLE DENTAL-LANE, YVONNE               VARIOUS                              Litigation              UNDETERMINED
       1421 GUERNEVILLE RD
       102                          ACCOUNT NO.: NOT AVAILABLE
       SANTA ROSA, CA 95403


3.5034 GEO AUTOBODY SHOP-                       VARIOUS                              Litigation              UNDETERMINED
       ALEGRA, JOSE CARLOS
       604S. AMPHLETT VLBD          ACCOUNT NO.: NOT AVAILABLE
       SAN MATEO, CA 94401


3.5035 GEORGE AMARAL RANCHES                    VARIOUS                              Litigation              UNDETERMINED
       INC.-AMARAL, MIKE
       PO BOX 3035                  ACCOUNT NO.: NOT AVAILABLE
       GONZALES, CA 93926


3.5036 GEORGE AMARAL-AMARAL,                    VARIOUS                              Litigation              UNDETERMINED
       GEORGE
       PO BOX 3035                  ACCOUNT NO.: NOT AVAILABLE
       GONZALES, CA 93926


3.5037 GEORGE KELLOGG                           VARIOUS                              Litigation              UNDETERMINED
       JOHN R. BROWNE III
       50 CALIFORNIA STREET         ACCOUNT NO.: NOT AVAILABLE
       SUITE 3500
       SAN FRANCISCO, CA 94111




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Litigation & Disputes

3.5038 GEORGE KELLOGG                            VARIOUS                              Litigation              UNDETERMINED
       BOBBY THOMPSON
       713 AIRPORT BLVD              ACCOUNT NO.: NOT AVAILABLE
       SUITE 173
       BURLINGAME, CA 94010


3.5039 GEORGE KELLOGG                            VARIOUS                              Litigation              UNDETERMINED
       MARY ALEXANDER, BRENDAN
       WAY, CATALINA MUNOZ           ACCOUNT NO.: NOT AVAILABLE
       44 MONTGOMERY STREET
       SUITE 1303
       SAN FRANCISCO, CA 94104


3.5040 GEORGE, JOHN                              VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 391
       AVILA BEACH, CA 93424         ACCOUNT NO.: NOT AVAILABLE


3.5041 GEORGE, ROBERT & SHARON                   VARIOUS                              Litigation              UNDETERMINED
       13430 EAST HIGHWAY 20
       CLEARLAKE OAKS, CA 95423      ACCOUNT NO.: NOT AVAILABLE


3.5042 GEORGE, RONALD & LINDA                    VARIOUS                              Litigation              UNDETERMINED
       3210 SAND RIDGE ROAD
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.5043 GEORGE, TAMMY                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 164
       WEST POINT, CA 95255          ACCOUNT NO.: NOT AVAILABLE


3.5044 GEORGE, TAMMY                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 164
       WEST POINT, CA 95255          ACCOUNT NO.: NOT AVAILABLE


3.5045 GEORGESON DAIRY, EDDIE                    VARIOUS                              Litigation              UNDETERMINED
       MENDES
       6775 21TH AVENUE              ACCOUNT NO.: NOT AVAILABLE
       8519 24TH AVENUE
       LEMOORE, CA 93245


3.5046 GEORGETOWN DIVIDE PUBLIC                  VARIOUS                              Litigation              UNDETERMINED
       UTLITY DISTRICT-BECK,
       STEPHANIE                     ACCOUNT NO.: NOT AVAILABLE
       P.O. BOX 4240
       GEORGETOWN, CA 95634


3.5047 GEORGETOWN HOTEL &                        VARIOUS                              Litigation              UNDETERMINED
       SALOON, JEROME CATO
       P.O. BOX 211                  ACCOUNT NO.: NOT AVAILABLE
       GEORGETOWN, CA 95634


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Litigation & Disputes

3.5048 GERACI, DEIRDRE                          VARIOUS                              Litigation              UNDETERMINED
       28 SPRECKELS BLVD
       PO BOX 7672                  ACCOUNT NO.: NOT AVAILABLE
       SPRECKELS, CA 93962


3.5049 GERARDO, ALEX                            VARIOUS                              Litigation              UNDETERMINED
       1612 VISCAINO RD.
       PEBBLE BEACH, CA 93953       ACCOUNT NO.: NOT AVAILABLE


3.5050 GERBER, JAMES                            VARIOUS                              Litigation              UNDETERMINED
       1141 LIGHTHOUSE AVE
       APT 235                      ACCOUNT NO.: NOT AVAILABLE
       PACIFIC GROVE, CA 93950


3.5051 GERBER, JAMES                            VARIOUS                              Litigation              UNDETERMINED
       1141 LIGHTHOUSE AVE
       APT 235                      ACCOUNT NO.: NOT AVAILABLE
       PACIFIC GROVE, CA 93950


3.5052 GERBER, JAMES                            VARIOUS                              Litigation              UNDETERMINED
       1141 LIGHTHOUSE AVE
       APT 235                      ACCOUNT NO.: NOT AVAILABLE
       PACIFIC GROVE, CA 93950


3.5053 GERBER, JAMES                            VARIOUS                              Litigation              UNDETERMINED
       1141 LIGHTHOUSE AVE
       APT 235                      ACCOUNT NO.: NOT AVAILABLE
       PACIFIC GROVE, CA 93950


3.5054 GEREMIA, ANTHONY                         VARIOUS                              Litigation              UNDETERMINED
       2046 SANDRA DRIVE
       NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.5055 GEREN, LAVONNE                           VARIOUS                              Litigation              UNDETERMINED
       7547 HAZELNUT LANE
       SACRAMENTO, CA 95828         ACCOUNT NO.: NOT AVAILABLE


3.5056 GERFIN, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
       8690 MONTURA LANE
       ATASCADERO, CA 93422         ACCOUNT NO.: NOT AVAILABLE


3.5057 GERGOVA, SVOBODA                         VARIOUS                              Litigation              UNDETERMINED
       235 S WILDWOOD
       HERCULES, CA 94547           ACCOUNT NO.: NOT AVAILABLE


3.5058 GERMANN, FRANCIS                         VARIOUS                              Litigation              UNDETERMINED
       2386 ROBINDALE AVE
       STOCKTON, CA 95205           ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.5059 GERONA, CLINT JAMES                      VARIOUS                              Litigation              UNDETERMINED
       277 2ND AVE
       DALY CITY, CA 94014             ACCOUNT NO.: NOT AVAILABLE


3.5060 GERSON/OVERSTREET                        VARIOUS                              Litigation              UNDETERMINED
       ARCHITECTS-OVERSTREET,
       HARRY                           ACCOUNT NO.: NOT AVAILABLE
       5640 MLK JR WAY
       OAKLAND, CA 94609


3.5061 GERVAIS, JOSE                            VARIOUS                              Litigation              UNDETERMINED
       417 SAUSALITO STREET
       CORTE MADERA, CA 94925          ACCOUNT NO.: NOT AVAILABLE


3.5062 GERVASE FARMS, GERVASE,                  VARIOUS                              Litigation              UNDETERMINED
       STEVE
       15181 S WAGNER ROAD             ACCOUNT NO.: NOT AVAILABLE
       15401 S WAGNER ROAD
       ESCALON, CA 95320


3.5063 GESLIEN, CHRISTINA                       VARIOUS                              Litigation              UNDETERMINED
       564 CENTRE COURT
       ALAMEDA, CA 94502               ACCOUNT NO.: NOT AVAILABLE


3.5064 GETREU, GARY                             VARIOUS                              Litigation              UNDETERMINED
       2960 STEVENSON DR.
       PEBBLE BEACH, CA 93953          ACCOUNT NO.: NOT AVAILABLE


3.5065 GETTHEIM, MALLORY                        VARIOUS                              Litigation              UNDETERMINED
       144 WILLOW AVE
       FAIRFAX, CA 94930               ACCOUNT NO.: NOT AVAILABLE


3.5066 GETZ, ROY                                VARIOUS                              Litigation              UNDETERMINED
       2567 GOLDENEYE DR
       LOS BANOS, CA 93635             ACCOUNT NO.: NOT AVAILABLE


3.5067 GEYER INC., ALSCO                        VARIOUS                              Litigation              UNDETERMINED
       700 5TH ST
       ATTN. AUGUST GEYER              ACCOUNT NO.: NOT AVAILABLE
       ARBUCKLE, CA 95912


3.5068 GEYSER, ROBBI                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1491
       JACKSON, CA 95642               ACCOUNT NO.: NOT AVAILABLE


3.5069 GGD OAKDALE, LLC-CHOPRA,                 VARIOUS                              Litigation              UNDETERMINED
       SANJIV
       101 E VINEYARD AVE, SUITE 201   ACCOUNT NO.: NOT AVAILABLE
       LIVERMORE, CA 94550

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Litigation & Disputes

3.5070 GGLI, LYNCH GARY                          VARIOUS                              Litigation              UNDETERMINED
       365 GLENN LAKES DRIVE
       RIO VISTA, CA 94571           ACCOUNT NO.: NOT AVAILABLE


3.5071 GGMJ-LAI, CHARLENE TSAO                   VARIOUS                              Litigation              UNDETERMINED
       1805 DIANA AVE
       MORGAN HILL, CA 95037         ACCOUNT NO.: NOT AVAILABLE


3.5072 GGMJ-TSAO, SHARON                         VARIOUS                              Litigation              UNDETERMINED
       1805 DIANA AVE
       MORGAN HILL, CA 95037         ACCOUNT NO.: NOT AVAILABLE


3.5073 GHAMGOSAR, AK                             VARIOUS                              Litigation              UNDETERMINED
       552 RAVENSCOURT ROAD
       HILLSBOROUGH, CA 94010        ACCOUNT NO.: NOT AVAILABLE


3.5074 GHENO, JUANITA                            VARIOUS                              Litigation              UNDETERMINED
       8005 CORSO DRIVE
       FORESTVILLE, CA 95436         ACCOUNT NO.: NOT AVAILABLE


3.5075 GHENO, KATHIE                             VARIOUS                              Litigation              UNDETERMINED
       281 BROOKSIDE DR
       BOULDER CREEK, CA 95006       ACCOUNT NO.: NOT AVAILABLE


3.5076 GHILOTTI BROS., INC.-MAYER,               VARIOUS                              Litigation              UNDETERMINED
       GWEN
       525 JACOBY STREET             ACCOUNT NO.: NOT AVAILABLE
       SAN RAFAEL, CA 94901


3.5077 GHILOTTI BROS., INC.-MAYER,               VARIOUS                              Litigation              UNDETERMINED
       GWEN
       525 JACOBY STREET             ACCOUNT NO.: NOT AVAILABLE
       SAN RAFAEL, CA 94901


3.5078 GHIO, CAROL                               VARIOUS                              Litigation              UNDETERMINED
       465 N. CENTRAL AVE.
       STOCKTON, CA 95204            ACCOUNT NO.: NOT AVAILABLE


3.5079 GHIO, STEVEN                              VARIOUS                              Litigation              UNDETERMINED
       216 MARIN ST.
       108                           ACCOUNT NO.: NOT AVAILABLE
       SAN RAFAEL, CA 94901


3.5080 GHOJJEH, MAJID                            VARIOUS                              Litigation              UNDETERMINED
       1110 EVELYN AVE
       ALBANY, CA 94706              ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5081 GHOLAMIPOUR, KRIS V. PG&E                VARIOUS                              Litigation              UNDETERMINED
       C/O RODERICK P. BUSHNELL
       1388 SUTTER STREET, SUITE      ACCOUNT NO.: NOT AVAILABLE
       810
       SAN FRANCISCO, CA 94109-5453


3.5082 GHOSEMAJUMDER, SHUMAN                    VARIOUS                              Litigation              UNDETERMINED
       10 ROYAL OAK CT
       MOUNTAIN VIEW, CA 94040        ACCOUNT NO.: NOT AVAILABLE


3.5083 GHOST SHIP WAREHOUSE FIRE,               VARIOUS                              Litigation              UNDETERMINED
       OAKLAND
       OAKLAND, CA 0                  ACCOUNT NO.: NOT AVAILABLE


3.5084 GIACOMAN, C. LORENA                      VARIOUS                              Litigation              UNDETERMINED
       16168 PASEO DEL CAMPO
       SAN LORENZO, CA 94580          ACCOUNT NO.: NOT AVAILABLE


3.5085 GIACOMAN, RICARDO                        VARIOUS                              Litigation              UNDETERMINED
       16151 VIA MEDIA
       SAN LORENZO, CA 94580          ACCOUNT NO.: NOT AVAILABLE


3.5086 GIACOMINO, LARRY                         VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 370354
       MONTARA, CA 94037              ACCOUNT NO.: NOT AVAILABLE


3.5087 GIAMBRA, RICKY                           VARIOUS                              Litigation              UNDETERMINED
       2704 SPRING VALLEY RD.
       CLEARLAKE OAKS, CA 95423       ACCOUNT NO.: NOT AVAILABLE


3.5088 GIAMBRUNO, GINA                          VARIOUS                              Litigation              UNDETERMINED
       4724 VISTA DR
       LOOMIS, CA 95650               ACCOUNT NO.: NOT AVAILABLE


3.5089 GIAMPAOLI, LISA                          VARIOUS                              Litigation              UNDETERMINED
       2632 19TH AVENUE
       OAKLAND, CA 94606              ACCOUNT NO.: NOT AVAILABLE


3.5090 GIANANDREA INSURANCE                     VARIOUS                              Litigation              UNDETERMINED
       AGENCY-JAUCH, CATHY
       PO BOX 910                     ACCOUNT NO.: NOT AVAILABLE
       PLYMOUTH, CA 95669


3.5091 GIANELLI, MICHELLE                       VARIOUS                              Litigation              UNDETERMINED
       6503 VICKSBURG PLACE
       STOCKTON, CA 95207             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.5092 GIANELLI, TONY                           VARIOUS                              Litigation              UNDETERMINED
       210 WANER WAY
       FELTON, CA 95018             ACCOUNT NO.: NOT AVAILABLE


3.5093 GIANNECCHINI, ANTHONY                    VARIOUS                              Litigation              UNDETERMINED
       16641 E EIGHT MILE RD
       LINDEN, CA 95236             ACCOUNT NO.: NOT AVAILABLE


3.5094 GIANNELLI, JENNIFER                      VARIOUS                              Litigation              UNDETERMINED
       1484 ALEMANY BLVD
       SAN FRANCISCO, CA 94112      ACCOUNT NO.: NOT AVAILABLE


3.5095 GIANNI, AARON                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 113
       EL GRANADA, CA 94018         ACCOUNT NO.: NOT AVAILABLE


3.5096 GIANNOTTA, JULIE                         VARIOUS                              Litigation              UNDETERMINED
       4375 JOHN SMITH RD
       HOLLISTER, CA 95023          ACCOUNT NO.: NOT AVAILABLE


3.5097 GIBB, TOMI                               VARIOUS                              Litigation              UNDETERMINED
       21833 SQUAW GRASS TRL
       REDDING, CA 96003            ACCOUNT NO.: NOT AVAILABLE


3.5098 GIBBENS, HAYLEE                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 337
       HOOPA, CA 95546              ACCOUNT NO.: NOT AVAILABLE


3.5099 GIBBINS, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       550 WHITE COTTAGE RD. S
       ANGWIN, CA 94508             ACCOUNT NO.: NOT AVAILABLE


3.5100 GIBBINS, STEPHANIE                       VARIOUS                              Litigation              UNDETERMINED
       550 SOUTH WHITE COTTAGE
       ROAD                         ACCOUNT NO.: NOT AVAILABLE
       ANGWIN, CA 94508


3.5101 GIBERSON, ALAN                           VARIOUS                              Litigation              UNDETERMINED
       15561 GLEN UNA DRIVE
       LOS GATOS, CA 95030          ACCOUNT NO.: NOT AVAILABLE


3.5102 GIBSON, CYNTHIA                          VARIOUS                              Litigation              UNDETERMINED
       2025 PINE BLUFF WAY
       VACAVILLE CALIF              ACCOUNT NO.: NOT AVAILABLE
       VACAVILLE, CA 95688




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Litigation & Disputes

3.5103 GIBSON, ED                                VARIOUS                              Litigation              UNDETERMINED
       3824 COMPTON LANE
       SAN JOSE, CA 95130            ACCOUNT NO.: NOT AVAILABLE


3.5104 GIBSON, ELIZABETH                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2852
       SANTA ROSA, CA 95405          ACCOUNT NO.: NOT AVAILABLE


3.5105 GIBSON, FLORA                             VARIOUS                              Litigation              UNDETERMINED
       24 WELLINGS PL
       MONTEREY, CA 93940            ACCOUNT NO.: NOT AVAILABLE


3.5106 GIBSON, FRED                              VARIOUS                              Litigation              UNDETERMINED
       53084 DAY AVENUE
       OLD STATION, CA 96071         ACCOUNT NO.: NOT AVAILABLE


3.5107 GIBSON, GEORGE                            VARIOUS                              Litigation              UNDETERMINED
       8915 E. HARNEY LANE
       LODI, CA 95240                ACCOUNT NO.: NOT AVAILABLE


3.5108 GIBSON, JANICE                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 443
       NICE, CA 95464                ACCOUNT NO.: NOT AVAILABLE


3.5109 GIBSON, MANDY                             VARIOUS                              Litigation              UNDETERMINED
       3737 CASA VERDE ST
       359                           ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95134


3.5110 GIBSON, MICHAEL                           VARIOUS                              Litigation              UNDETERMINED
       33 JACKS LN
       NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.5111 GIBSON, RHONDA                            VARIOUS                              Litigation              UNDETERMINED
       24577 DERSCH ROAD
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


3.5112 GIBSON, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       574 HAGEMANN DRIVE
       LIVERMORE, CA 94551           ACCOUNT NO.: NOT AVAILABLE


3.5113 GIBSON, TOM                               VARIOUS                              Litigation              UNDETERMINED
       6340 LANCASTER DRIVE
       PARADISE, CA 95969            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5114 GIBSON, WAYNE                            VARIOUS                              Litigation              UNDETERMINED
       8403 VIERRA KNOLLS DRIVE
       PRUNDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.5115 GIDDENS, TAMIKA                          VARIOUS                              Litigation              UNDETERMINED
       110 S.39TH ST
       RICHMOND, CA 94804           ACCOUNT NO.: NOT AVAILABLE


3.5116 GIESE, RICHARD                           VARIOUS                              Litigation              UNDETERMINED
       19969 PEARTREE CT
       CUPERTINO, CA 95014          ACCOUNT NO.: NOT AVAILABLE


3.5117 GIFFORD, JULIE                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 102
       16108 VIERRA RD              ACCOUNT NO.: NOT AVAILABLE
       RACKERBY, CA 95972


3.5118 GIGL, PAUL                               VARIOUS                              Litigation              UNDETERMINED
       5573 HARRIS CUTOFF ROAD
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE


3.5119 GIL, NERY                                VARIOUS                              Litigation              UNDETERMINED
       PO BOX 223
       DOBBINS, CA 95935            ACCOUNT NO.: NOT AVAILABLE


3.5120 GILARDI, DENNIS                          VARIOUS                              Litigation              UNDETERMINED
       17260 BODEGA HWY
       BODEGA, CA 94922             ACCOUNT NO.: NOT AVAILABLE


3.5121 GILBEAU, FRANK                           VARIOUS                              Litigation              UNDETERMINED
       2047 GOLD STRIKE ROAD
       SAN ANDREAS, CA 95249        ACCOUNT NO.: NOT AVAILABLE


3.5122 GILBERT, DARCI                           VARIOUS                              Litigation              UNDETERMINED
       9004 TUDSBURY ROAD
       LOOMIS, CA 95650             ACCOUNT NO.: NOT AVAILABLE


3.5123 GILBERT, ELIZABETH                       VARIOUS                              Litigation              UNDETERMINED
       352 17 MILE DRIVE
       PACIFIC GROVE, CA 93950      ACCOUNT NO.: NOT AVAILABLE


3.5124 GILBERTSON, LISA                         VARIOUS                              Litigation              UNDETERMINED
       6040 TRIGO LANE
       PRUNEDALE, CA 93907          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.5125 GILBERTSON, TOM OR THOMAS                 VARIOUS                              Litigation              UNDETERMINED
       11764 BAY TREE LN
       REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.5126 GILDER, JASON                             VARIOUS                              Litigation              UNDETERMINED
       790 APRICOT AVE
       WINTERS, CA 95694             ACCOUNT NO.: NOT AVAILABLE


3.5127 GILES, JOBADIAH                           VARIOUS                              Litigation              UNDETERMINED
       6440 ANT HILL ARE
       SOMERSET, CA 95684            ACCOUNT NO.: NOT AVAILABLE


3.5128 GILES, WILLIAM                            VARIOUS                              Litigation              UNDETERMINED
       210 GINU LANE
       BRENTWOOD, CA 94513           ACCOUNT NO.: NOT AVAILABLE


3.5129 GILETTE, SANDRA                           VARIOUS                              Litigation              UNDETERMINED
       625 HILTON ST APT 1
       REDWOOD CITY, CA 94063        ACCOUNT NO.: NOT AVAILABLE


3.5130 GILKEY, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       P.O.BOX 266
       WILSEYVILLE, CA 95257         ACCOUNT NO.: NOT AVAILABLE


3.5131 GILL, DAVID                               VARIOUS                              Litigation              UNDETERMINED
       974 S PINE STREET
       117367 RD 400                 ACCOUNT NO.: NOT AVAILABLE
       MADERA, CA 93637


3.5132 GILL, MANJINDER                           VARIOUS                              Litigation              UNDETERMINED
       4458 FERN COMMON
       FREMONT, CA 94538             ACCOUNT NO.: NOT AVAILABLE


3.5133 GILL, SANTOKH                             VARIOUS                              Litigation              UNDETERMINED
       1962 EVERGLADES DRIVE
       MILPITAS, CA 95055            ACCOUNT NO.: NOT AVAILABLE


3.5134 GILLBERG, GUNILLA                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 33112
       15720 LINDA AVE               ACCOUNT NO.: NOT AVAILABLE
       LOS GATOS, CA 95031


3.5135 GILLEN, SUSANNE                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 8714
       5310 CEVEPTION RIVER ROAD     ACCOUNT NO.: NOT AVAILABLE
       CHICO, CA 95927




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Litigation & Disputes

3.5136 GILLESPIE, JAN                           VARIOUS                              Litigation              UNDETERMINED
       511 RYAN COURT
       EUREKA, CA 95503             ACCOUNT NO.: NOT AVAILABLE


3.5137 GILLETT, UTE                             VARIOUS                              Litigation              UNDETERMINED
       10743 WESTWOOD ROAD
       FELTON, CA 95018             ACCOUNT NO.: NOT AVAILABLE


3.5138 GILLETTE, MARISA                         VARIOUS                              Litigation              UNDETERMINED
       19800 SKYLINE BLVD.
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.5139 GILLEY, CURTIS                           VARIOUS                              Litigation              UNDETERMINED
       3609 MAIDU PLACE
       DAVIS, CA 95618              ACCOUNT NO.: NOT AVAILABLE


3.5140 GILLIAM, DOUG                            VARIOUS                              Litigation              UNDETERMINED
       257 WASHINGTON CT
       SEBASTOPOL, CA 95472         ACCOUNT NO.: NOT AVAILABLE


3.5141 GILLIES, CAMPBELL G                      VARIOUS                              Litigation              UNDETERMINED
       142 W TOWLE RD
       ALTA, CA 95701               ACCOUNT NO.: NOT AVAILABLE


3.5142 GILLIGAN, BERNADETTE                     VARIOUS                              Litigation              UNDETERMINED
       40101 THOUSAND SPRINGS CRL
       FALL RIVER MILLS, CA 96028   ACCOUNT NO.: NOT AVAILABLE


3.5143 GILLILAND, DONNA                         VARIOUS                              Litigation              UNDETERMINED
       2501 SPENCER PL
       SAN PABLO, CA 94806          ACCOUNT NO.: NOT AVAILABLE


3.5144 GILLILAND, TAD                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 208
       MORRO BAY, CA 93443          ACCOUNT NO.: NOT AVAILABLE


3.5145 GILLIO, JIM                              VARIOUS                              Litigation              UNDETERMINED
       102 SMITH ROAD
       WATSONVILLE, CA              ACCOUNT NO.: NOT AVAILABLE


3.5146 GILLIO, KATHY                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 436
       WEST POINT, CA 95255         ACCOUNT NO.: NOT AVAILABLE


3.5147 GILLIS, GREG                             VARIOUS                              Litigation              UNDETERMINED
       1123 TROUVILLE AVENUE #A
       GROVER BEACH, CA 93433       ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.5148 GILLIS, GREGORY                          VARIOUS                              Litigation              UNDETERMINED
       105 ROCKRIDGE RD
       SAN CARLOS, CA 94070         ACCOUNT NO.: NOT AVAILABLE


3.5149 GILLOTT, THOMAS                          VARIOUS                              Litigation              UNDETERMINED
       6960 OAK ESTATES DR
       PRUNEDALE, CA 93907          ACCOUNT NO.: NOT AVAILABLE


3.5150 GILMORE HEATING & AIR                    VARIOUS                              Litigation              UNDETERMINED
       ATTN: HEATHER
       4429 MISSOURI FLAT ROAD      ACCOUNT NO.: NOT AVAILABLE
       PLACERVILLE, CA 95667


3.5151 GILMORE, JEANIE                          VARIOUS                              Litigation              UNDETERMINED
       826 ADOBE DRIVE
       SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE


3.5152 GILREATH, SUSAN                          VARIOUS                              Litigation              UNDETERMINED
       408 LAKEVIEW CT
       OAKLEY, CA 94561             ACCOUNT NO.: NOT AVAILABLE


3.5153 GILSDORF, STEPHEN                        VARIOUS                              Litigation              UNDETERMINED
       1 WINDSOR RISE
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.5154 GIN, PHILLIP                             VARIOUS                              Litigation              UNDETERMINED
       1615 SWIFT COURT
       3544 MURIETTAS ROOST         ACCOUNT NO.: NOT AVAILABLE
       DORRINGTON, CA 95223


3.5155 GIORDANO, MARIE                          VARIOUS                              Litigation              UNDETERMINED
       6171 OLD OLIVE HWY
       OROVILLE, CA 95966           ACCOUNT NO.: NOT AVAILABLE


3.5156 GIORDANO, MARIE                          VARIOUS                              Litigation              UNDETERMINED
       6171 OLD OLIVE HWY
       OROVILLE, CA 95966           ACCOUNT NO.: NOT AVAILABLE


3.5157 GIORDANO, MARIE                          VARIOUS                              Litigation              UNDETERMINED
       6171 OLD OLIVE HWY
       OROVILLE, CA 95966           ACCOUNT NO.: NOT AVAILABLE


3.5158 GIORDANO, ROBERT                         VARIOUS                              Litigation              UNDETERMINED
       15690 MOUNTAIN SHADOWS DR.
       REDDING, CA 96001            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.5159 GIOSSO, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       3560 FORT JIM ROAD
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.5160 GIOTTONINI, JOHN                          VARIOUS                              Litigation              UNDETERMINED
       776 SENDA LADERA
       1485 EUREKA CANYON ROAD       ACCOUNT NO.: NOT AVAILABLE
       CORRALITOS, CA 95076


3.5161 GIOVANNETTI, ANTHONY                      VARIOUS                              Litigation              UNDETERMINED
       354 HEARST AVE
       SAN FRANCISCO, CA 94112       ACCOUNT NO.: NOT AVAILABLE


3.5162 GIOVINCO, JOSEPH                          VARIOUS                              Litigation              UNDETERMINED
       50 CAMINO MARGARITA #14B
       2250-2268 CHESTNUT ST, SAN    ACCOUNT NO.: NOT AVAILABLE
       FRANCISCO 94123
       NICASIO, CA 94946


3.5163 GIPSON REALTY, INC-GIPSON,                VARIOUS                              Litigation              UNDETERMINED
       DIANE
       660 MAIN STREET               ACCOUNT NO.: NOT AVAILABLE
       RED BLUFF, CA 96080


3.5164 GIRARD, SUSAN                             VARIOUS                              Litigation              UNDETERMINED
       136 MAR MONTE AVE.
       LA SELVA BEACH, CA 95076      ACCOUNT NO.: NOT AVAILABLE


3.5165 GIRAUDEZ, JONATHAN                        VARIOUS                              Litigation              UNDETERMINED
       75 BRIDGEVIEW DRIVE
       SAN FRANCISCO, CA 94124       ACCOUNT NO.: NOT AVAILABLE


3.5166 GISLADOTTIR, THORA                        VARIOUS                              Litigation              UNDETERMINED
       5 RONNOCO RD
       CARMEL VALLEY, CA 93924       ACCOUNT NO.: NOT AVAILABLE


3.5167 GITCHEL, KATRINA                          VARIOUS                              Litigation              UNDETERMINED
       7902 AIRPORT WAY
       SHINGLETOWN, CA 96088         ACCOUNT NO.: NOT AVAILABLE


3.5168 GIUSTO, MARC                              VARIOUS                              Litigation              UNDETERMINED
       8048 E. ORCHARD RD
       ACAMPO, CA 95220              ACCOUNT NO.: NOT AVAILABLE


3.5169 GIVAN, CRAIG                              VARIOUS                              Litigation              UNDETERMINED
       690 N BATES AVE
       DINUBA, CA 93618              ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.5170 GLAAB, CINDY                             VARIOUS                              Litigation              UNDETERMINED
       1401 BIG CURVE COURT
       PLACERVILLE, CA 95667        ACCOUNT NO.: NOT AVAILABLE


3.5171 GLADDEN, BRET                            VARIOUS                              Litigation              UNDETERMINED
       120 REDWOOD WAY
       BOULDER CREEK, CA 95006      ACCOUNT NO.: NOT AVAILABLE


3.5172 GLADDEN, VICTORIA                        VARIOUS                              Litigation              UNDETERMINED
       120 REDWOOD WAY
       BOULDER CREEK, CA 95006      ACCOUNT NO.: NOT AVAILABLE


3.5173 GLADDEN, VICTORIA                        VARIOUS                              Litigation              UNDETERMINED
       120 REDWOOD WAY
       BOULDER CREEK, CA 95006      ACCOUNT NO.: NOT AVAILABLE


3.5174 GLADISH, DONALD                          VARIOUS                              Litigation              UNDETERMINED
       471 ALMOND DRIVE, SPC #22
       LODI, CA 95240               ACCOUNT NO.: NOT AVAILABLE


3.5175 GLASGOW, DEBRA                           VARIOUS                              Litigation              UNDETERMINED
       1908 LAKEWOOD DR.
       SAN JOSE, CA 95132           ACCOUNT NO.: NOT AVAILABLE


3.5176 GLASS CENTER, ATEK                       VARIOUS                              Litigation              UNDETERMINED
       7300 FAIR OAKS BLVD #D
       ATTN. ED ZARGARIAN           ACCOUNT NO.: NOT AVAILABLE
       CARMICHAEL, CA 95608


3.5177 GLASS, BOB                               VARIOUS                              Litigation              UNDETERMINED
       63 OAK KNOLL DR
       SAN ANSELMO, CA 94960        ACCOUNT NO.: NOT AVAILABLE


3.5178 GLASS, BRIAN                             VARIOUS                              Litigation              UNDETERMINED
       478 THOMPSON AVENUE
       MOUNTAIN VIEW, CA 94043      ACCOUNT NO.: NOT AVAILABLE


3.5179 GLASS, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       11876 LAKESHORE NORTH
       AUBURN, CA 95602             ACCOUNT NO.: NOT AVAILABLE


3.5180 GLASSEY, TRISH                           VARIOUS                              Litigation              UNDETERMINED
       110 BUNKER HILL
       APTOS, CA 95003              ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5181 GLASSMOYER, JOHN                         VARIOUS                              Litigation              UNDETERMINED
       5683 SCHOONER LOOP
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.5182 GLAU, JOHN                               VARIOUS                              Litigation              UNDETERMINED
       5380 GUNSMOKE ROAD
       PASO ROBLES, CA 93446         ACCOUNT NO.: NOT AVAILABLE


3.5183 GLEASON, PATRICIA                        VARIOUS                              Litigation              UNDETERMINED
       5095 WHITE TAIL PLACE
       PASO ROBLES, CA 93446         ACCOUNT NO.: NOT AVAILABLE


3.5184 GLEN ELLEN GROCERY-                      VARIOUS                              Litigation              UNDETERMINED
       BAWEJA, JASPREET
       13710 ARNOLD DR               ACCOUNT NO.: NOT AVAILABLE
       GLEN ELLEN, CA 95442


3.5185 GLENDENNINGS, KAREN &                    VARIOUS                              Litigation              UNDETERMINED
       DAVID
       10003 ERENST ROAD             ACCOUNT NO.: NOT AVAILABLE
       COULTERVILLE, CA 95311


3.5186 GLENNAS RESCUED                          VARIOUS                              Litigation              UNDETERMINED
       TREASURES LLC,
       GLENNA/CHRIS SANDERS          ACCOUNT NO.: NOT AVAILABLE
       2977 SOLANO AVENUE SUITE C
       NAPA, CA 94558


3.5187 GLENWOOD OWNERS                          VARIOUS                              Litigation              UNDETERMINED
       ASSOCIATION, AUDY LAM
       EBMC C/O 2001 UNION STREET    ACCOUNT NO.: NOT AVAILABLE
       # 106
       1089 ENTERPRISE DRIVE
       SAN FRANCISCO, CA 94123


3.5188 GLICK, BRYAN                             VARIOUS                              Litigation              UNDETERMINED
       525 SHEFFIELD CT
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.5189 GLICK, PAULA                             VARIOUS                              Litigation              UNDETERMINED
       46405 COMSTOCK DR
       COARSEGOLD, CA 93614          ACCOUNT NO.: NOT AVAILABLE


3.5190 GLIDDEN, ERIC & MONICA                   VARIOUS                              Litigation              UNDETERMINED
       HCR 69 BOX 3136
       14240 CORNELL ROAD            ACCOUNT NO.: NOT AVAILABLE
       CALIFORNIA VALLEY, CA 93453




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Litigation & Disputes

3.5191 GLIDE, PETER & MELISSA                   VARIOUS                              Litigation              UNDETERMINED
       9164 CURREY RD.
       DIXON, CA 95620              ACCOUNT NO.: NOT AVAILABLE


3.5192 GLISSMAN, RAYMOND                        VARIOUS                              Litigation              UNDETERMINED
       2887 MAPLE AVENUE
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.5193 GLOBAL RECOVERY SERVICES,           VARIOUS                                   Litigation              UNDETERMINED
       ATTN: STEVEN COMUNALE (REP)
       PO BOX 105795               ACCOUNT NO.: NOT AVAILABLE
       ATLANTA, CA 30348


3.5194 GLOBAL RENTAL CO INC-                    VARIOUS                              Litigation              UNDETERMINED
       WILSON, BRADLEY
       33 INVERNESS CENTER          ACCOUNT NO.: NOT AVAILABLE
       PARKWAY
       SUITE 250
       BIRMINGHAM, CA 35242


3.5195 GLOBAL RENTAL-PHILLIPS,                  VARIOUS                              Litigation              UNDETERMINED
       AMBER
       325 INDUSTRIAL WAY           ACCOUNT NO.: NOT AVAILABLE
       DIXON, CA 95620


3.5196 GLOBAL RENTAL-PHILLIPS,                  VARIOUS                              Litigation              UNDETERMINED
       AMBER
       325 INDUSTRIAL WAY           ACCOUNT NO.: NOT AVAILABLE
       DIXON, CA 95620


3.5197 GLOBAL RENTAL-PHILLIPS,                  VARIOUS                              Litigation              UNDETERMINED
       AMBER
       325 INDUSTRIAL WAY           ACCOUNT NO.: NOT AVAILABLE
       DIXON, CA 95620


3.5198 GLOBAL RENTAL-PHILLIPS,                  VARIOUS                              Litigation              UNDETERMINED
       AMBER
       325 INDUSTRIAL WAY           ACCOUNT NO.: NOT AVAILABLE
       DIXON, CA 95620


3.5199 GLOBAL RENTAL-PHILLIPS,                  VARIOUS                              Litigation              UNDETERMINED
       AMBER
       325 INDUSTRIAL WAY           ACCOUNT NO.: NOT AVAILABLE
       DIXON, CA 95620


3.5200 GLOBAL RENTAL-PHILLIPS,                  VARIOUS                              Litigation              UNDETERMINED
       AMBER
       325 INDUSTRIAL WAY           ACCOUNT NO.: NOT AVAILABLE
       DIXON, CA 95620


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Litigation & Disputes

3.5201 GLOBAL RENTAL-PHILLIPS,                  VARIOUS                              Litigation              UNDETERMINED
       AMBER
       325 INDUSTRIAL WAY           ACCOUNT NO.: NOT AVAILABLE
       DIXON, CA 95620


3.5202 GLOBAL RENTAL-WILSON,                    VARIOUS                              Litigation              UNDETERMINED
       BRADLEY
       325 INDUSTRIAL WAY           ACCOUNT NO.: NOT AVAILABLE
       DIXON, CA 95620


3.5203 GLOGER, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
       98 MOUNT TIBURON
       TIBURON, CA 94920            ACCOUNT NO.: NOT AVAILABLE


3.5204 GLORIA MIGUEL GONZALEZ                   VARIOUS                              Litigation              UNDETERMINED
       PO BOX 509119
       SAN DIEGO, CA 92150-9914     ACCOUNT NO.: NOT AVAILABLE


3.5205 GLORIA, LORENA                           VARIOUS                              Litigation              UNDETERMINED
       4141 DEEP CREEK ROAD
       FREMONT, CA 94555            ACCOUNT NO.: NOT AVAILABLE


3.5206 GLORY HOLE SPORTS-                       VARIOUS                              Litigation              UNDETERMINED
       HILDEBRAND, GENE
       2892 HWY 49                  ACCOUNT NO.: NOT AVAILABLE
       SPC. 1
       ANGELS CAMP, CA 95222


3.5207 GLOVER, BONNIE                           VARIOUS                              Litigation              UNDETERMINED
       6233 ROBIN HOOD WAY
       OAKLAND, CA 94611            ACCOUNT NO.: NOT AVAILABLE


3.5208 GLOVER, VERDA                            VARIOUS                              Litigation              UNDETERMINED
       4101 SPAULDING ST
       ANTIOCH, CA 94531            ACCOUNT NO.: NOT AVAILABLE


3.5209 GLUSKER, PETER                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1818
       FORT BRAGG, CA 95437         ACCOUNT NO.: NOT AVAILABLE


3.5210 GNIADY, KRYSTYNA                         VARIOUS                              Litigation              UNDETERMINED
       534 CHESTNUT AVENUE
       LOOP ROAD, SAN MATEO         ACCOUNT NO.: NOT AVAILABLE
       SAN BRUNO, CA 94066


3.5211 GO GREEN THINK CLEAN-                    VARIOUS                              Litigation              UNDETERMINED
       EASON, KAREN
       155 HUMMINGBIRD LANE         ACCOUNT NO.: NOT AVAILABLE
       BOULDER CREEK, CA 95006

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Litigation & Disputes

3.5212 GO PETROLEUM, LLC-JEBRIN,                VARIOUS                              Litigation              UNDETERMINED
       AIMAN
       720 HIGH ST.                 ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94601


3.5213 GO! PETROLEUM, LLC                       VARIOUS                              Litigation              UNDETERMINED
       720 HIGH ST.
       OAKLAND, CA 94601            ACCOUNT NO.: NOT AVAILABLE


3.5214 GOADE, GARY                              VARIOUS                              Litigation              UNDETERMINED
       7430 MATTERHORN PL.
       PRUNEDALE, CA 93907          ACCOUNT NO.: NOT AVAILABLE


3.5215 GOBELI, DAVID                            VARIOUS                              Litigation              UNDETERMINED
       8799 N ARCHIE
       FRESNO, CA 93720             ACCOUNT NO.: NOT AVAILABLE


3.5216 GOCHI JAPANESE TAPAS-                    VARIOUS                              Litigation              UNDETERMINED
       MOTOUJI, SAKAE
       1943 W EL CAMINO REAL        ACCOUNT NO.: NOT AVAILABLE
       MOUNTAIN VIEW, CA 94040


3.5217 GODICK, LARI                             VARIOUS                              Litigation              UNDETERMINED
       2976 SLOAT ROAD
       PEBBLE BEACH, CA 93953       ACCOUNT NO.: NOT AVAILABLE


3.5218 GODINEZ, FLORA                           VARIOUS                              Litigation              UNDETERMINED
       1763 TAHOE DR
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.5219 GODOY, CARMEN GARCIA                     VARIOUS                              Litigation              UNDETERMINED
       3971 MISSION STREET
       #1                           ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94112


3.5220 GOEBEL, DONNA                            VARIOUS                              Litigation              UNDETERMINED
       505 E ACACIA DR
       FRESNO, CA 93704             ACCOUNT NO.: NOT AVAILABLE


3.5221 GOEBEL, ELENA                            VARIOUS                              Litigation              UNDETERMINED
       5700 STARKES GRADE RD
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.5222 GOEBEL, NANCY                            VARIOUS                              Litigation              UNDETERMINED
       655 W N BEAR CREEEK DR
       MERCED, CA 95348             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5223 GOEBEL, RON                              VARIOUS                              Litigation              UNDETERMINED
       385 CALLE DEL SOL
       BODEGA BAY, CA 94923           ACCOUNT NO.: NOT AVAILABLE


3.5224 GOERL, STEVEN                            VARIOUS                              Litigation              UNDETERMINED
       2601 BRISTOL RD
       KENWOOD, CA 95452              ACCOUNT NO.: NOT AVAILABLE


3.5225 GOETZINGER, GARY                         VARIOUS                              Litigation              UNDETERMINED
       1819 WALNUT ST
       SUTTER, CA 95982               ACCOUNT NO.: NOT AVAILABLE


3.5226 GOFF, TAMMIE                             VARIOUS                              Litigation              UNDETERMINED
       626 LUCARD STREET APT 2
       TAFT, CA 93268                 ACCOUNT NO.: NOT AVAILABLE


3.5227 GOGO LAUNDRY-MILLER, JOHN                VARIOUS                              Litigation              UNDETERMINED
       1795 WEST SAN CARLOS
       SAN JOSE, CA 95128             ACCOUNT NO.: NOT AVAILABLE


3.5228 GOLD COUNTRY FAIRGROUNDS                 VARIOUS                              Litigation              UNDETERMINED
       ATTN: DON ALES, CEO
       1273 HIGH ST                   ACCOUNT NO.: NOT AVAILABLE
       AUBURN, CA 95603


3.5229 GOLD OAK UNION SCHOOL                    VARIOUS                              Litigation              UNDETERMINED
       DISTRICT; SCHOOLS
       INSURANCE AUTHORITY            ACCOUNT NO.: NOT AVAILABLE
       SPINELLI, DONALD & NOTT
       601 UNIVERSITY AVENUE, SUITE
       225
       SACRAMENTO, CA 95825


3.5230 GOLD SHOPSTICKS                          VARIOUS                              Litigation              UNDETERMINED
       RESTAURANT
       3170 SANTA RITA ROAD STE A11   ACCOUNT NO.: NOT AVAILABLE
       PLEASANTON, CA 94566


3.5231 GOLD TRAIL UNION SCHOOL                  VARIOUS                              Litigation              UNDETERMINED
       DISTRICT-WAGSTROM, MICHELE
       1575 OLD RANCH ROAD            ACCOUNT NO.: NOT AVAILABLE
       PLACERVILLE, CA 95667


3.5232 GOLDBERG, GLORIA                         VARIOUS                              Litigation              UNDETERMINED
       102 E MAUDE AVE
       SUNNYVALE, CA 94085            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5233 GOLDBERG, MICHAEL                        VARIOUS                              Litigation              UNDETERMINED
       42 QUARTERDECK WAY
       PACIFIC GROVE, CA 93950      ACCOUNT NO.: NOT AVAILABLE


3.5234 GOLDBLATT, JACQUELINE                    VARIOUS                              Litigation              UNDETERMINED
       1969 MATZEN RANCH CIR
       PETALUMA, CA 94954           ACCOUNT NO.: NOT AVAILABLE


3.5235 GOLDEN BULL-KIUFTIS,                     VARIOUS                              Litigation              UNDETERMINED
       KONSTANTINA
       22460 ROSEDALE HWY           ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93314


3.5236 GOLDEN DYNASTY                           VARIOUS                              Litigation              UNDETERMINED
       RESTAURANT-CHUNG, NANCY
       848 W BEN HOLT DR            ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA 95207


3.5237 GOLDEN FLOWER VIETNAMESE                 VARIOUS                              Litigation              UNDETERMINED
       RESTAURANT-NGUYEN, HOANG
       667 JACKSON STREET           ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94133


3.5238 GOLDEN PALACE RESTAURANT,                VARIOUS                              Litigation              UNDETERMINED
       VICKY PHAN
       581 MORAGA ROAD              ACCOUNT NO.: NOT AVAILABLE
       MORAGA, CA 94556


3.5239 GOLDEN, JANET E                          VARIOUS                              Litigation              UNDETERMINED
       1158 DOUGLAS ROAD
       STOCKTON, CA 95207           ACCOUNT NO.: NOT AVAILABLE


3.5240 GOLDEN, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       5420 AKRICH ST
       SHASTA LAKE, CA 96019        ACCOUNT NO.: NOT AVAILABLE


3.5241 GOLDEN-MA, HALBERT                       VARIOUS                              Litigation              UNDETERMINED
       5827 GEARY BLVD
       SAN FRANCISCO, CA 94121      ACCOUNT NO.: NOT AVAILABLE


3.5242 GOLDHAMER, DAVID                         VARIOUS                              Litigation              UNDETERMINED
       3250 STUDIO DR.
       CAYUCOS, CA 93430            ACCOUNT NO.: NOT AVAILABLE


3.5243 GOLDHAMER, JANET                         VARIOUS                              Litigation              UNDETERMINED
       485 ALTO DR
       BOULDER CREEK, CA 95008      ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.5244 GOLDSMITH, PAUL                           VARIOUS                              Litigation              UNDETERMINED
       10 KENT WAY
       MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE


3.5245 GOLDSTEIN, DAVID & SHARON                 VARIOUS                              Litigation              UNDETERMINED
       22134 BELLVIEW RD.
       SONORA, CA 95370              ACCOUNT NO.: NOT AVAILABLE


3.5246 GOLDSTEIN, TERI                           VARIOUS                              Litigation              UNDETERMINED
       1749 ROSAMOND STREET
       PETALUMA, CA 94954            ACCOUNT NO.: NOT AVAILABLE


3.5247 GOLENO, LOUANN                            VARIOUS                              Litigation              UNDETERMINED
       P.O BOX 524
       LOWER LAKE, CA 95457          ACCOUNT NO.: NOT AVAILABLE


3.5248 GOLIGOSKI, CORY                           VARIOUS                              Litigation              UNDETERMINED
       337 GLENDALE ROAD
       HILLSBOROUGH, CA 94010        ACCOUNT NO.: NOT AVAILABLE


3.5249 GOLOMEIC, DJURICA                         VARIOUS                              Litigation              UNDETERMINED
       544 DUDLEY AVE, APT 7
       SAN JOSE, CA 95128            ACCOUNT NO.: NOT AVAILABLE


3.5250 GOLSTON, RANDOLPH                         VARIOUS                              Litigation              UNDETERMINED
       3175 ARENA RD
       ATASCADERO, CA 93422          ACCOUNT NO.: NOT AVAILABLE


3.5251 GOMBAS, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       4130 SUNRIDGE RD
       PEBBLE BEACH, CA 93953        ACCOUNT NO.: NOT AVAILABLE


3.5252 GOMES, CINDY                              VARIOUS                              Litigation              UNDETERMINED
       35725 CORINTHIANS WAY
       SHINGLETOWN, CA 96088         ACCOUNT NO.: NOT AVAILABLE


3.5253 GOMES, MARY                               VARIOUS                              Litigation              UNDETERMINED
       8005 LYNNE HAVEN WAY
       PRUNEDALE, CA 93907           ACCOUNT NO.: NOT AVAILABLE


3.5254 GOMEZ, CLAUDIA                            VARIOUS                              Litigation              UNDETERMINED
       2304 PALM AVE
       ATWATER, CA 95301             ACCOUNT NO.: NOT AVAILABLE


3.5255 GOMEZ, GUADALUPE                          VARIOUS                              Litigation              UNDETERMINED
       255 E BOLIVAR ST SPC 222
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.5256 GOMEZ, JOSE                              VARIOUS                              Litigation              UNDETERMINED
       1721 HODGES AVENUE
       BAKERSFIELD, CA 93304        ACCOUNT NO.: NOT AVAILABLE


3.5257 GOMEZ, JOSEF                             VARIOUS                              Litigation              UNDETERMINED
       4088 W FIG TREE LN
       FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE


3.5258 GOMEZ, JOSEFINA                          VARIOUS                              Litigation              UNDETERMINED
       540 BONITA AVE. SPC 110
       SAN JOSE, CA 95116           ACCOUNT NO.: NOT AVAILABLE


3.5259 GOMEZ, MAE                               VARIOUS                              Litigation              UNDETERMINED
       6077 SENECA CIRCLE
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.5260 GOMEZ, MARIA & ELISEO                    VARIOUS                              Litigation              UNDETERMINED
       668 MEADOW DRIVE
       SALINAS, CA 93905            ACCOUNT NO.: NOT AVAILABLE


3.5261 GOMEZ, MICHEAL                           VARIOUS                              Litigation              UNDETERMINED
       29 OAK FOREST PLACE
       SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE


3.5262 GOMEZ, RAUL                              VARIOUS                              Litigation              UNDETERMINED
       32 LAS LOMAS DR
       WATSONVILLE, CA 95076        ACCOUNT NO.: NOT AVAILABLE


3.5263 GOMEZ, RICHARD                           VARIOUS                              Litigation              UNDETERMINED
       2466 BARKIS CT.
       SANTA ROSA, CA 95401         ACCOUNT NO.: NOT AVAILABLE


3.5264 GOMEZ, SALVADOR                          VARIOUS                              Litigation              UNDETERMINED
       1770 FERNANDO ST
       SEASIDE, CA 93955            ACCOUNT NO.: NOT AVAILABLE


3.5265 GONG, BILLY                              VARIOUS                              Litigation              UNDETERMINED
       1335 46TH AVE
       SAN FRANCISCO, CA 94122      ACCOUNT NO.: NOT AVAILABLE


3.5266 GONG, ELEANOR                            VARIOUS                              Litigation              UNDETERMINED
       2110 STOCKTON ST.
       SAN FRANCISCO, CA 94133      ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5267 GONG, FENGJU                             VARIOUS                              Litigation              UNDETERMINED
       2101 SAN MIGUEL CANYON
       ROAD                         ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93907


3.5268 GONG, GREG                               VARIOUS                              Litigation              UNDETERMINED
       734 RAINES TERRACE
       SUNNYVALE, CA 94087          ACCOUNT NO.: NOT AVAILABLE


3.5269 GONG, PEIHONG                            VARIOUS                              Litigation              UNDETERMINED
       742 CUESTA DR
       MOUNTAIN VIEW, CA 94040      ACCOUNT NO.: NOT AVAILABLE


3.5270 GONG, SILL                               VARIOUS                              Litigation              UNDETERMINED
       224 E JACKSON STREET
       STOCKTON, CA 95206           ACCOUNT NO.: NOT AVAILABLE


3.5271 GONSALVES & SANTUCCI DBA                 VARIOUS                              Litigation              UNDETERMINED
       CONCO REINFORCING-
       THOMPSON, SHANNON            ACCOUNT NO.: NOT AVAILABLE
       5141 COMMERCIAL CIRCLE
       CONCORD, CA 94520


3.5272 GONSALVES, EVA                           VARIOUS                              Litigation              UNDETERMINED
       410 W HIGHLAND AVE
       TRACY, CA 95376              ACCOUNT NO.: NOT AVAILABLE


3.5273 GONZALES, ANGELINA                       VARIOUS                              Litigation              UNDETERMINED
       33325 MISSION BLVD
       APT C210                     ACCOUNT NO.: NOT AVAILABLE
       UNION CITY, CA 94587


3.5274 GONZALES, GLORIA                         VARIOUS                              Litigation              UNDETERMINED
       2212 NEWPORT COURT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.5275 GONZALES, HUMBERTO                       VARIOUS                              Litigation              UNDETERMINED
       20050 AUDREY LANE
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.5276 GONZALES, JOE                            VARIOUS                              Litigation              UNDETERMINED
       1941 SANDALWOOD DRIVE
       SANTA MARIA, CA 93455        ACCOUNT NO.: NOT AVAILABLE


3.5277 GONZALES, JOSE ELOY                      VARIOUS                              Litigation              UNDETERMINED
       141 ARLETA AVE
       SAN FRANCISCO, CA 94134      ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.5278 GONZALES, JUAN                                VARIOUS                              Litigation              UNDETERMINED
       6200 STAR SAPPHIRE DRIVE
       BAKERSFIELD, CA 93313                ACCOUNT NO.: NOT AVAILABLE


3.5279 GONZALES, LINDSEY                             VARIOUS                              Litigation              UNDETERMINED
       1821 MICHIGAN BLVD
       WEST SACRAMENTO, CA 95691            ACCOUNT NO.: NOT AVAILABLE


3.5280 GONZALES, LISA                                VARIOUS                              Litigation              UNDETERMINED
       9 REDWOOD CIRCLE
       LAFAYETTE, CA 94549                  ACCOUNT NO.: NOT AVAILABLE


3.5281 GONZALES, MARGIE                              VARIOUS                              Litigation              UNDETERMINED
       2636 E HAMPTON WAY
       FRESNO, CA 93726                     ACCOUNT NO.: NOT AVAILABLE


3.5282 GONZALES, MARGRET                             VARIOUS                              Litigation              UNDETERMINED
       8267 BALDWIN STREET
       VALLEY SPRINGS, CA 95252             ACCOUNT NO.: NOT AVAILABLE


3.5283 GONZALES, NORMA                               VARIOUS                              Litigation              UNDETERMINED
       6302 NILES AVENUE
       CORCORAN, CA 93212                   ACCOUNT NO.: NOT AVAILABLE


3.5284 GONZALES, VALENTE                             VARIOUS                              Litigation              UNDETERMINED
       1522 96TH AVE
       OAKLAND, CA 94603                    ACCOUNT NO.: NOT AVAILABLE


3.5285 Gonzalez Celis, Javier; Gonzalez,             VARIOUS                              Litigation              UNDETERMINED
       Maria Celia; Gonzalez, Roberto;
       Gonzalez, Jose Ascencion,            ACCOUNT NO.: NOT AVAILABLE
       Gonzalez, Fransisco J.; Cortez,
       Jessica; Gonzalez, Maritza Carina;
       Maldonado, Josefina; Espinoza,
       Belen; Magna, Eldifonso; Perez,
       Alejandro; Jiminez, Cecilia Veron
       Carlson & Johnson
       472 S. Glassell Street
       Orange, CA 92866


3.5286 GONZALEZ, ALEJANDRA                           VARIOUS                              Litigation              UNDETERMINED
       517 MAHER ROAD
       ROYAL OAKS, CA 95076                 ACCOUNT NO.: NOT AVAILABLE


3.5287 GONZALEZ, ALMA                                VARIOUS                              Litigation              UNDETERMINED
       560 TRINITY CT
       DIXON, CA 95620                      ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5288 GONZALEZ, ALVARO                         VARIOUS                              Litigation              UNDETERMINED
       17010 BLACKIE RD.
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.5289 GONZALEZ, ANGEL                          VARIOUS                              Litigation              UNDETERMINED
       18985 SOUZA WAY
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.5290 GONZALEZ, ANITA                          VARIOUS                              Litigation              UNDETERMINED
       4701 FARMINGTON RD
       L3                           ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA 95215


3.5291 GONZALEZ, AURORA                         VARIOUS                              Litigation              UNDETERMINED
       2601 SUNNY LANE
       26                           ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93306


3.5292 GONZALEZ, EMILIO                         VARIOUS                              Litigation              UNDETERMINED
       617 HALE AVE #B
       MORGAN HILL, CA 95037        ACCOUNT NO.: NOT AVAILABLE


3.5293 GONZALEZ, EUSTOLIO                       VARIOUS                              Litigation              UNDETERMINED
       899 MALIBU DRIVE
       CONCORD, CA 94518            ACCOUNT NO.: NOT AVAILABLE


3.5294 GONZALEZ, IGNACIO                        VARIOUS                              Litigation              UNDETERMINED
       8716 DEER CREEK CIR
       STOCKTON, CA 95210           ACCOUNT NO.: NOT AVAILABLE


3.5295 GONZALEZ, JOE AND LINDA                  VARIOUS                              Litigation              UNDETERMINED
       4830 GLENHILL LANE
       PASO ROBLES, CA 93446        ACCOUNT NO.: NOT AVAILABLE


3.5296 GONZALEZ, JOEL                           VARIOUS                              Litigation              UNDETERMINED
       4023 W CORTLAND AVE
       FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE


3.5297 GONZALEZ, JORGE                          VARIOUS                              Litigation              UNDETERMINED
       5020 TWIN PINES LOOP
       A                            ACCOUNT NO.: NOT AVAILABLE
       GEORGETOWN, CA 95634


3.5298 GONZALEZ, JOSE                           VARIOUS                              Litigation              UNDETERMINED
       481 JAVA ST
       MORRO BAY, CA 93442          ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5299 GONZALEZ, JOSE & CECILIA                 VARIOUS                              Litigation              UNDETERMINED
       134 GOLDEN WEST AVE
       SHAFTER, CA 93263            ACCOUNT NO.: NOT AVAILABLE


3.5300 GONZALEZ, JOSEFINA                       VARIOUS                              Litigation              UNDETERMINED
       2005 18TH AVE
       OAKLAND, CA 94606            ACCOUNT NO.: NOT AVAILABLE


3.5301 GONZALEZ, JUANA                          VARIOUS                              Litigation              UNDETERMINED
       1808 N KATY LANE
       FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE


3.5302 GONZALEZ, JULIA                          VARIOUS                              Litigation              UNDETERMINED
       4084 S ANCHOR CT
       BYRON, CA 94505              ACCOUNT NO.: NOT AVAILABLE


3.5303 GONZALEZ, KRISTINA                       VARIOUS                              Litigation              UNDETERMINED
       221 N VAN NESS AVENUE
       FRESNO, CA 93701             ACCOUNT NO.: NOT AVAILABLE


3.5304 GONZALEZ, MARCO                          VARIOUS                              Litigation              UNDETERMINED
       1105 FREMONT WAY
       SACRAMENTO, CA 95818         ACCOUNT NO.: NOT AVAILABLE


3.5305 GONZALEZ, MARGARITA                      VARIOUS                              Litigation              UNDETERMINED
       2129 MAGNOLIA AVE
       SANGER, CA 93657             ACCOUNT NO.: NOT AVAILABLE


3.5306 GONZALEZ, MARIA                          VARIOUS                              Litigation              UNDETERMINED
       2142 WHITSON ST #12
       SELMA, CA 93662              ACCOUNT NO.: NOT AVAILABLE


3.5307 GONZALEZ, MELISSA                        VARIOUS                              Litigation              UNDETERMINED
       1515 CALHOUN WAY
       STOCKTON, CA 95207           ACCOUNT NO.: NOT AVAILABLE


3.5308 GONZALEZ, PETRA                          VARIOUS                              Litigation              UNDETERMINED
       17495 WEST SHAW AVENUE
       KERMAN, CA 93630             ACCOUNT NO.: NOT AVAILABLE


3.5309 GONZALEZ, RAUL                           VARIOUS                              Litigation              UNDETERMINED
       6468 WASHINGTON ST #16
       YOUNTVILLE, CA 94599         ACCOUNT NO.: NOT AVAILABLE


3.5310 GONZALEZ, ROBERT                         VARIOUS                              Litigation              UNDETERMINED
       895 FOERSTER STREET
       SAN FRANCISCO, CA 94127      ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.5311 GONZALEZ, ROSARIO                        VARIOUS                              Litigation              UNDETERMINED
       1881 BAKER ST APT D
       SEASIDE, CA 93955            ACCOUNT NO.: NOT AVAILABLE


3.5312 GONZALVES, JACQUELINE &                  VARIOUS                              Litigation              UNDETERMINED
       DAVID
       22916 HAWK LANE              ACCOUNT NO.: NOT AVAILABLE
       TWAIN HARTE, CA 95383


3.5313 GOOD LIFE CERAMICS-                      VARIOUS                              Litigation              UNDETERMINED
       ALBRECHT, JOHN
       3717 PORTOLA DRIVE           ACCOUNT NO.: NOT AVAILABLE
       SANTA CRUZ, CA 95062


3.5314 GOOD SHEPHERD CATHOLIC                   VARIOUS                              Litigation              UNDETERMINED
       SCHOOL, HOLLY M. TYLER
       2727 MATTISON LANE           ACCOUNT NO.: NOT AVAILABLE
       SANTA CRUZ, CA 95065


3.5315 GOOD THINGS LASH LOUNGE-                 VARIOUS                              Litigation              UNDETERMINED
       JANSEN, TAMARA
       751 KAINS AVENUE             ACCOUNT NO.: NOT AVAILABLE
       SAN BRUNO, CA 94066


3.5316 GOOD THINGS LASH LOUNGE-                 VARIOUS                              Litigation              UNDETERMINED
       SARMIENTO, SUEANN
       751 KAINS AVE                ACCOUNT NO.: NOT AVAILABLE
       SAN BRUNO, CA 94066


3.5317 GOOD THINGS LASH LOUNGE-                 VARIOUS                              Litigation              UNDETERMINED
       SARMIENTO, SUEANN
       751 KAINS AVE                ACCOUNT NO.: NOT AVAILABLE
       SAN BRUNO, CA 94066


3.5318 GOODBARY, R.F. & JEANNETTE           VARIOUS                                  Litigation              UNDETERMINED
       P.O. BOX 640
       23817 N MCINTIRE ROAD/HWY 88 ACCOUNT NO.: NOT AVAILABLE
       CLEMENTS, CA 95227


3.5319 GOODE, CORINNE                           VARIOUS                              Litigation              UNDETERMINED
       754 POST ST
       APT 505                      ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94109


3.5320 GOODMAN, AMY                             VARIOUS                              Litigation              UNDETERMINED
       171 E. TEFFT ST.
       NIPOMO, CA 93444             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5321 GOODMAN, BRIAN                           VARIOUS                              Litigation              UNDETERMINED
       506 CORNWALL AVE
       ARROYO GRANDE, CA 93420       ACCOUNT NO.: NOT AVAILABLE


3.5322 GOODMAN, CHARLIE AND MARY                VARIOUS                              Litigation              UNDETERMINED
       19295 PINE DR E
       PIONEER, CA 95666             ACCOUNT NO.: NOT AVAILABLE


3.5323 GOODMAN, JAMILA                          VARIOUS                              Litigation              UNDETERMINED
       425 JOAN VISTA
       EL SOBRANTE, CA 94803         ACCOUNT NO.: NOT AVAILABLE


3.5324 GOODMAN, MARK                            VARIOUS                              Litigation              UNDETERMINED
       791 LOS ALTOS AVE
       LOS ALTOS, CA 94022           ACCOUNT NO.: NOT AVAILABLE


3.5325 GOODMAN, THEODORE/CATHY                  VARIOUS                              Litigation              UNDETERMINED
       2781 NORTH FITCH MOUNTAIN
       RD                            ACCOUNT NO.: NOT AVAILABLE
       HEALDSBURG, CA 95448


3.5326 GOODNER, BONNIE                          VARIOUS                              Litigation              UNDETERMINED
       5041 APPLE CREEK COURT
       POLLOCK PINES, CA 95726       ACCOUNT NO.: NOT AVAILABLE


3.5327 GOODRICH, IVAN                           VARIOUS                              Litigation              UNDETERMINED
       10526 OAK DR
       GRASS VALLEY, CA 95949        ACCOUNT NO.: NOT AVAILABLE


3.5328 GOODRICH, VIRGINIA                       VARIOUS                              Litigation              UNDETERMINED
       15871 LITTLE VALLEY ROAD
       GRASS VALLEY, CA 95949-6874   ACCOUNT NO.: NOT AVAILABLE


3.5329 GOODROW, LARRY                           VARIOUS                              Litigation              UNDETERMINED
       1295 LARKFLOWER WAY
       LINCOLN, CA 95648             ACCOUNT NO.: NOT AVAILABLE


3.5330 GOODWIN, DAVID                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 74
       ANDERSON, CA 96007            ACCOUNT NO.: NOT AVAILABLE


3.5331 GOODWIN, TORI                            VARIOUS                              Litigation              UNDETERMINED
       2909 OAK TREE WAY
       CLEAR LAKE OAKS, CA 95423     ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.5332 GOOLSBY, TERRY                           VARIOUS                              Litigation              UNDETERMINED
       18435 WILDLIFE TRAIL
       FIDDLETOWN, CA 95629         ACCOUNT NO.: NOT AVAILABLE


3.5333 GOOTKIN, HOWARD                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1243
       TEMPLETON, CA 93465          ACCOUNT NO.: NOT AVAILABLE


3.5334 GOPHERIT TRENCHLESS-                     VARIOUS                              Litigation              UNDETERMINED
       MCMAHON, JOHN
       21675 ARNOLD DRIVE           ACCOUNT NO.: NOT AVAILABLE
       SONOMA, CA 95476


3.5335 GORADIA, RAGHUVIR                        VARIOUS                              Litigation              UNDETERMINED
       130 CEDAR POINT LOOP
       904                          ACCOUNT NO.: NOT AVAILABLE
       SAN RAMON, CA 94583


3.5336 GORBET, KRISTINE                         VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 85
       CRESCENT MILLS, CA 95934     ACCOUNT NO.: NOT AVAILABLE


3.5337 GORCZYCA, LORRAINE                       VARIOUS                              Litigation              UNDETERMINED
       20101 PORTOLA DR
       SALINAS, CA 93908            ACCOUNT NO.: NOT AVAILABLE


3.5338 GORDILLO, JACLYN                         VARIOUS                              Litigation              UNDETERMINED
       1013 CRESTVIEW DRIVE
       MILBRAE, CA 94030            ACCOUNT NO.: NOT AVAILABLE


3.5339 GORDON ASSOCIATES                        VARIOUS                              Litigation              UNDETERMINED
       INSURANCE SERVICES, INC.-
       GORDON, DAVID                ACCOUNT NO.: NOT AVAILABLE
       20 EL CAMINO
       REDWOOD CITY, CA 94062


3.5340 GORDON PROPERTY                          VARIOUS                              Litigation              UNDETERMINED
       MANAGEMENT-MEEK, RYAN
       1596 CHURCH STREET           ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94131


3.5341 GORDON, ANEKA                            VARIOUS                              Litigation              UNDETERMINED
       64 KELLY COURT
       NOVATO, CA 94949             ACCOUNT NO.: NOT AVAILABLE


3.5342 GORDON, DENNIS                           VARIOUS                              Litigation              UNDETERMINED
       3613 STINGY LANE
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.5343 GORDON, HEATHER                          VARIOUS                              Litigation              UNDETERMINED
       716 FAWN DRIVE
       SAN ANSELMO, CA 94960        ACCOUNT NO.: NOT AVAILABLE


3.5344 GORDON, JANENE                           VARIOUS                              Litigation              UNDETERMINED
       2163 NEWPORT DRIVE
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.5345 GORDON, JR., LONNIE                      VARIOUS                              Litigation              UNDETERMINED
       492 QUAIL GLEN DR.
       OAKLEY, CA 94561             ACCOUNT NO.: NOT AVAILABLE


3.5346 GORDON, LEONARD                          VARIOUS                              Litigation              UNDETERMINED
       5640 SCHOONER LOOP
       BYRON, CA 94505              ACCOUNT NO.: NOT AVAILABLE


3.5347 GORDON'S MUSIC AND SOUND,                VARIOUS                              Litigation              UNDETERMINED
       INC-GORDON, CLIFFORD
       810 TEXAS STREET             ACCOUNT NO.: NOT AVAILABLE
       FAIRFIELD, CA 94533


3.5348 GORELIK, MICHAEL S                       VARIOUS                              Litigation              UNDETERMINED
       18730 HARLEIGH DR
       SARATOGA, CA 95070           ACCOUNT NO.: NOT AVAILABLE


3.5349 GORIN, DORIS                             VARIOUS                              Litigation              UNDETERMINED
       4210 GREENWOOD ROAD
       GARDEN VALLEY, CA 95633      ACCOUNT NO.: NOT AVAILABLE


3.5350 GORMAN, JIM                              VARIOUS                              Litigation              UNDETERMINED
       74 SAILFISH COURT
       HALF MOON BAY, CA 94019      ACCOUNT NO.: NOT AVAILABLE


3.5351 GORMAN, PATRICK                          VARIOUS                              Litigation              UNDETERMINED
       1801 JEFFERSON ST UNIT 204
       OAKLAND, CA 94612            ACCOUNT NO.: NOT AVAILABLE


3.5352 GORMAN, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
       163 STENNER ST
       APT 2                        ACCOUNT NO.: NOT AVAILABLE
       SAN LUIS OBISPO, CA 93405


3.5353 GORRIS, BRENT                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 71
       SEBASTOPOL, CA 95473         ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5354 GORSKAYA, EKATERINA                      VARIOUS                              Litigation              UNDETERMINED
       5712 DRYSDALE COURT
       SAN JOSE, CA 95126           ACCOUNT NO.: NOT AVAILABLE


3.5355 GOSAL, PARMJIT                           VARIOUS                              Litigation              UNDETERMINED
       1199 SKYWAY
       CHICO, CA 95928              ACCOUNT NO.: NOT AVAILABLE


3.5356 GOSHAY, NANCY                            VARIOUS                              Litigation              UNDETERMINED
       875 REGAL RD.
       BERKELEY, CA 94708           ACCOUNT NO.: NOT AVAILABLE


3.5357 GOSIENGFIAO, INGEMAR                     VARIOUS                              Litigation              UNDETERMINED
       1725 SHIRLEY DRIVE
       PLEASANT HILL, CA 94523      ACCOUNT NO.: NOT AVAILABLE


3.5358 GOSSE, CLIFTON                           VARIOUS                              Litigation              UNDETERMINED
       4308 EL DORADO STREET
       OAKLEY, CA 94561             ACCOUNT NO.: NOT AVAILABLE


3.5359 GOSWICK, WILLIAM                         VARIOUS                              Litigation              UNDETERMINED
       2440 HILL VIEW LANE
       PINOLE, CA 94564             ACCOUNT NO.: NOT AVAILABLE


3.5360 GOT WATTS ELECTRIC-                      VARIOUS                              Litigation              UNDETERMINED
       KROMER, SHELBY
       2250 COMMERCE AVE            ACCOUNT NO.: NOT AVAILABLE
       SUITE C
       CONCORD, CA 94520


3.5361 GOTELLI, LARRY                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 416
       IGO, CA 96047                ACCOUNT NO.: NOT AVAILABLE


3.5362 GOTHIER, DELORIS                         VARIOUS                              Litigation              UNDETERMINED
       7820 TWIN OAKS AVE
       CITRUS HEIGHTS, CA 96510     ACCOUNT NO.: NOT AVAILABLE


3.5363 GOULART, ART                             VARIOUS                              Litigation              UNDETERMINED
       688 MYRTLE ST
       HALF MOON BAY, CA 94019      ACCOUNT NO.: NOT AVAILABLE


3.5364 GOULDSBERRY, JULIE AND                   VARIOUS                              Litigation              UNDETERMINED
       MARK
       100 TAHAMA COURT             ACCOUNT NO.: NOT AVAILABLE
       LOS GATOS, CA 95033




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Litigation & Disputes

3.5365 GOULET, BARBARA                          VARIOUS                              Litigation              UNDETERMINED
       1990 COMBIE RD
       MEADOW VISTA, CA 95722       ACCOUNT NO.: NOT AVAILABLE


3.5366 GOUVEIA, PAT                             VARIOUS                              Litigation              UNDETERMINED
       4715 CREEKSIDE DR
       GRIZZLY FLATS, CA 95636      ACCOUNT NO.: NOT AVAILABLE


3.5367 GOWER, GARY                              VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 403
       WILLOW CREEK, CA 95573       ACCOUNT NO.: NOT AVAILABLE


3.5368 GOWIN, KAREN                             VARIOUS                              Litigation              UNDETERMINED
       2457 S LIND AVE
       FRESNO, CA 93725             ACCOUNT NO.: NOT AVAILABLE


3.5369 GOYEN, CAROLINE                          VARIOUS                              Litigation              UNDETERMINED
       11 GREENWOOD PLACE
       MENLO PARK, CA 94025         ACCOUNT NO.: NOT AVAILABLE


3.5370 GR SUNDBERG, INC.-POFF,                  VARIOUS                              Litigation              UNDETERMINED
       CASEY
       5211 BOYD RD                 ACCOUNT NO.: NOT AVAILABLE
       ARCATA, CA 95521


3.5371 GRABOW, DELORES                          VARIOUS                              Litigation              UNDETERMINED
       1310 MITCHELL AVENUE
       ESCALON, CA 95320            ACCOUNT NO.: NOT AVAILABLE


3.5372 GRABSKI, DANIEL                          VARIOUS                              Litigation              UNDETERMINED
       3500 PINEHURST DRIVE
       BAKERSFIELD, CA 93306        ACCOUNT NO.: NOT AVAILABLE


3.5373 GRACE LAND - KIM, TED TAE                VARIOUS                              Litigation              UNDETERMINED
       WON
       235 JEFFERSON ST             ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94133


3.5374 GRACEFIELD KENNELS-MILLER,               VARIOUS                              Litigation              UNDETERMINED
       CAROLYN
       3400 HIDDEN HILLS            ACCOUNT NO.: NOT AVAILABLE
       PLACERVILLE, CA 95667


3.5375 GRACELAND, KIM TED TAE WON               VARIOUS                              Litigation              UNDETERMINED
       235 JEFFERSON STREET
       SAN FRANCISCO, CA 94133      ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5376 GRACIA, KELLENE                          VARIOUS                              Litigation              UNDETERMINED
       16130 TUOLUMNE RD
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.5377 GRADY, KELSEY                            VARIOUS                              Litigation              UNDETERMINED
       5 GREENFIELD COURT
       SAN ANSELMO, CA 94960        ACCOUNT NO.: NOT AVAILABLE


3.5378 GRAGG, PATRICIA                          VARIOUS                              Litigation              UNDETERMINED
       1001 COUNTRY CLUB DR.
       F                            ACCOUNT NO.: NOT AVAILABLE
       MORAGA, CA 94556


3.5379 GRAHAM, COLLETTE                         VARIOUS                              Litigation              UNDETERMINED
       2060 SAN MIGUEL CANYON RD
       PRUNEDALE, CA 93907          ACCOUNT NO.: NOT AVAILABLE


3.5380 GRAHAM, LARRY                            VARIOUS                              Litigation              UNDETERMINED
       20010 MEADOWWOOD DR
       JACKSON, CA 95642            ACCOUNT NO.: NOT AVAILABLE


3.5381 GRAHAM, MARTHA                           VARIOUS                              Litigation              UNDETERMINED
       632 THERESA DRIVE
       SOUTH SAN FRANCISCO, CA      ACCOUNT NO.: NOT AVAILABLE
       94080


3.5382 GRAHAM, NICOLAS                          VARIOUS                              Litigation              UNDETERMINED
       2293 REEF COURT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.5383 GRAHAM, NICOLAS                          VARIOUS                              Litigation              UNDETERMINED
       2293 REEF COURT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.5384 GRAHAM, ROBIN                            VARIOUS                              Litigation              UNDETERMINED
       31625 RELIEF HILL RD
       WASHINGTON, CA 95986         ACCOUNT NO.: NOT AVAILABLE


3.5385 GRAHAM, RYAN                             VARIOUS                              Litigation              UNDETERMINED
       101 POLK STREET
       APT 901                      ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94102


3.5386 GRANADOS, MARTHA                         VARIOUS                              Litigation              UNDETERMINED
       654 SYLVAN ST
       APT 1                        ACCOUNT NO.: NOT AVAILABLE
       DALY CITY, CA 94014



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Litigation & Disputes

3.5387 GRANCHAROV, STEFAN                       VARIOUS                              Litigation              UNDETERMINED
       1083 MISSION ROAD
       PEBBLE BEACH, CA 93953       ACCOUNT NO.: NOT AVAILABLE


3.5388 GRAND JEWELRY CO., TAMMY                 VARIOUS                              Litigation              UNDETERMINED
       NG
       955 GRANT AVENUE             ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94108


3.5389 GRAND, BONNIE                            VARIOUS                              Litigation              UNDETERMINED
       11757 HWY 116
       GUERNEVILLE, CA 95446        ACCOUNT NO.: NOT AVAILABLE


3.5390 GRANDJEAN, CLAUDIA                       VARIOUS                              Litigation              UNDETERMINED
       9016 CAYMUS COURT
       BAKERSFIELD, CA 93312        ACCOUNT NO.: NOT AVAILABLE


3.5391 GRANGE INSURANCE                         VARIOUS                              Litigation              UNDETERMINED
       ASSOCIATION
       200 CEDAR STREET             ACCOUNT NO.: NOT AVAILABLE
       SEATTLE , CA 98121


3.5392 GRANGER, APRIL                           VARIOUS                              Litigation              UNDETERMINED
       17834 IRISH RD
       REDDING, CA 96003            ACCOUNT NO.: NOT AVAILABLE


3.5393 GRANGER, TAVI                            VARIOUS                              Litigation              UNDETERMINED
       P.O BOX 325
       16285 SECOND STREET          ACCOUNT NO.: NOT AVAILABLE
       LOWER LAKE, CA 95457


3.5394 GRANGER/USAA INSURANCE                   VARIOUS                              Litigation              UNDETERMINED
       5042 BLACKBIRD WAY
       PLEASANTON, CA 94566         ACCOUNT NO.: NOT AVAILABLE


3.5395 GRANITEROCK-LEMON, PETER                 VARIOUS                              Litigation              UNDETERMINED
       PO BOX 50001
       WATSONVILLE, CA 95077        ACCOUNT NO.: NOT AVAILABLE


3.5396 GRANT ENGINEERING &                      VARIOUS                              Litigation              UNDETERMINED
       MANUFACTURING-GRANT,
       RICHARD                      ACCOUNT NO.: NOT AVAILABLE
       400 W. OHIO AVE
       RICHMOND, CA 94804


3.5397 GRANT, CHARLIE                           VARIOUS                              Litigation              UNDETERMINED
       19656 AMADOR AVE
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.5398 GRANT, JOHN                              VARIOUS                              Litigation              UNDETERMINED
       1839 LONDON WAY
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.5399 GRANT, KAREN                             VARIOUS                              Litigation              UNDETERMINED
       412 CORRAL DE TIERRA RD
       SALINAS, CA 93908            ACCOUNT NO.: NOT AVAILABLE


3.5400 GRANT, MARY                              VARIOUS                              Litigation              UNDETERMINED
       17 HARVARD COURT
       PLEASANT HILL, CA 94523      ACCOUNT NO.: NOT AVAILABLE


3.5401 GRANT, PATRICK                           VARIOUS                              Litigation              UNDETERMINED
       1312 CORDILLERAS AV
       SUNNYVALE, CA 94087          ACCOUNT NO.: NOT AVAILABLE


3.5402 GRANUCCI, JOHN                           VARIOUS                              Litigation              UNDETERMINED
       360 SUMMIT AVE.
       SAN RAFAEL, CA 94901         ACCOUNT NO.: NOT AVAILABLE


3.5403 GRASSESCHI, PAUL                         VARIOUS                              Litigation              UNDETERMINED
       5363 IRIS WAY
       LIVERMORE, CA 94551          ACCOUNT NO.: NOT AVAILABLE


3.5404 GRASSO, ANTHONY                          VARIOUS                              Litigation              UNDETERMINED
       740 GLEN STREET
       MARTINEZ, CA 94553           ACCOUNT NO.: NOT AVAILABLE


3.5405 GRASSO, NORMA                            VARIOUS                              Litigation              UNDETERMINED
       725 AZULE AVE
       SAN JOSE, CA 95123           ACCOUNT NO.: NOT AVAILABLE


3.5406 GRATNEYESE-JACKSON,                      VARIOUS                              Litigation              UNDETERMINED
       ELAINE V. PG&E
       4504 CRIMSON CLOVER DRIVE    ACCOUNT NO.: NOT AVAILABLE
       FAIRFIELD, CA 94534


3.5407 GRATON CASINO                            VARIOUS                              Litigation              UNDETERMINED
       630 PARK COURT
       ROHNERT PARK, CA 94928       ACCOUNT NO.: NOT AVAILABLE


3.5408 GRATON CASINO, MICHAEL                   VARIOUS                              Litigation              UNDETERMINED
       CLAYTON
       630 PARK COURT               ACCOUNT NO.: NOT AVAILABLE
       ROHNERT PARK, CA 94928




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.5409 GRATON CASINO, MICHAEL                   VARIOUS                              Litigation              UNDETERMINED
       CLAYTON
       630 PARK COURT               ACCOUNT NO.: NOT AVAILABLE
       ROHNERT PARK, CA 94928


3.5410 GRATTON, ELIZABETH                       VARIOUS                              Litigation              UNDETERMINED
       6543 N STATE AVE
       FRESNO, CA 93722             ACCOUNT NO.: NOT AVAILABLE


3.5411 GRAVES, ROSS                             VARIOUS                              Litigation              UNDETERMINED
       2016 EATON AVE
       SAN CARLOS, CA 94070         ACCOUNT NO.: NOT AVAILABLE


3.5412 GRAY LODGE FARMS DUCK                    VARIOUS                              Litigation              UNDETERMINED
       CLUB, LLC-SANSON, TRENT
       1500 WILLOW PASS COURT       ACCOUNT NO.: NOT AVAILABLE
       CONCORD, CA 94520


3.5413 GRAY, ANNETTE                            VARIOUS                              Litigation              UNDETERMINED
       19145 GROUND SQUIRREL WAY
       LAKEHEAD, CA 96051           ACCOUNT NO.: NOT AVAILABLE


3.5414 GRAY, CARTER                             VARIOUS                              Litigation              UNDETERMINED
       808 N MAIR STREET
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.5415 GRAY, DIANA                              VARIOUS                              Litigation              UNDETERMINED
       575 OREGON STREET
       SONOMA, CA 95476             ACCOUNT NO.: NOT AVAILABLE


3.5416 GRAY, ELIZABETH                          VARIOUS                              Litigation              UNDETERMINED
       21907 FALLVIEW DR
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.5417 GRAY, GEORGE                             VARIOUS                              Litigation              UNDETERMINED
       120 NEW BRIGHTON RD.
       APTOS, CA 95003              ACCOUNT NO.: NOT AVAILABLE


3.5418 GRAY, GORDON                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 51
       SNELLING, CA 95369           ACCOUNT NO.: NOT AVAILABLE


3.5419 GRAY, JOHN                               VARIOUS                              Litigation              UNDETERMINED
       1760 KERRY LANE
       SANTA ROSA, CA 95403         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.5420 GRAY, LEONARD                            VARIOUS                              Litigation              UNDETERMINED
       1062 CELEBRITY
       DAVIS, CA 95616              ACCOUNT NO.: NOT AVAILABLE


3.5421 GRAY, LILA                               VARIOUS                              Litigation              UNDETERMINED
       2590 SUNRISE DR
       FAIRFIELD, CA 94533          ACCOUNT NO.: NOT AVAILABLE


3.5422 GRAY, PAUL                               VARIOUS                              Litigation              UNDETERMINED
       23149 OLD SANTA CRUZ HWY
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.5423 GRAY, PAULA                              VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 496
       HOOPA, CA 95546              ACCOUNT NO.: NOT AVAILABLE


3.5424 GRAYDON, JACQUI                          VARIOUS                              Litigation              UNDETERMINED
       53 VINCA CT
       OAKLEY, CA 94561             ACCOUNT NO.: NOT AVAILABLE


3.5425 GRAY-REUDON, SAVANNAH                    VARIOUS                              Litigation              UNDETERMINED
       2270 PEREZ STREET
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.5426 GRAYS PAINT & WALLPAPER,                 VARIOUS                              Litigation              UNDETERMINED
       JEAN & ROBERT GRAY
       1411 WOODSIDE ROAD           ACCOUNT NO.: NOT AVAILABLE
       REDWOOD CITY, CA 94061


3.5427 GRAZIOSI, ALBERTO                        VARIOUS                              Litigation              UNDETERMINED
       23800 MORRELL CUT OFF ROAD
       LOS GATOS, CA 95033          ACCOUNT NO.: NOT AVAILABLE


3.5428 GREAT AMERICAN INS GROUP                 VARIOUS                              Litigation              UNDETERMINED
       301 EAST 4TH ST,26N
       CINCINNATI, CA 45202         ACCOUNT NO.: NOT AVAILABLE


3.5429 GREAT AMERICAN INSURANCE                 VARIOUS                              Litigation              UNDETERMINED
       GROUP-CLINE, MICHAEL
       301 EAST 4TH STREET 26TH     ACCOUNT NO.: NOT AVAILABLE
       FLOOR
       CINCINNATI, CA 45202


3.5430 GREAT BASIN MANAGEMENT &                 VARIOUS                              Litigation              UNDETERMINED
       DESIGN-BADASCI, GEORGE
       15520 EVERGREEEN ROAD        ACCOUNT NO.: NOT AVAILABLE
       COTTONWOOD, CA 96022



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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.5431 GREAVES, NICOLA                           VARIOUS                              Litigation              UNDETERMINED
       3400 RICHMOND PKWY
       RICHMOND, CA 94806            ACCOUNT NO.: NOT AVAILABLE


3.5432 GREBE, ANNA                               VARIOUS                              Litigation              UNDETERMINED
       15379 PIONEER VOLCANO RD
       VOLCANO, CA 95689             ACCOUNT NO.: NOT AVAILABLE


3.5433 GRECH, RICHARD                            VARIOUS                              Litigation              UNDETERMINED
       161 ARBOR LANE
       MOSS BEACH, CA 94038          ACCOUNT NO.: NOT AVAILABLE


3.5434 GREEK ORTHODOX MEMORIAL                   VARIOUS                              Litigation              UNDETERMINED
       PARK-DOUKAS, DANAE
       1148 EL CAMINO REAL           ACCOUNT NO.: NOT AVAILABLE
       COLMA, CA 94014


3.5435 GREEN VALLEY FLORAL-LOUIE,                VARIOUS                              Litigation              UNDETERMINED
       JANET
       24999 POTTER RD               ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93908


3.5436 GREEN, CATHLEEN                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1186
       MIDDLETOWN, CA                ACCOUNT NO.: NOT AVAILABLE


3.5437 GREEN, CRAIG                              VARIOUS                              Litigation              UNDETERMINED
       2053 COLOMA ROAD
       PLACERVILLE, CA 95667         ACCOUNT NO.: NOT AVAILABLE


3.5438 GREEN, DEBRA                              VARIOUS                              Litigation              UNDETERMINED
       3334 ARGONAUT
       OROVILLE, CA 95966            ACCOUNT NO.: NOT AVAILABLE


3.5439 GREEN, IRENE                        VARIOUS                                    Litigation              UNDETERMINED
       6425 TELEGRAPH AVENUE APT 1
       OAKLAND, CA 94609           ACCOUNT NO.: NOT AVAILABLE


3.5440 GREEN, KAREN                              VARIOUS                              Litigation              UNDETERMINED
       81 PEBBLE BEACH DR.
       APTOS, CA 95003               ACCOUNT NO.: NOT AVAILABLE


3.5441 GREEN, MIKEIA                             VARIOUS                              Litigation              UNDETERMINED
       1315 A ST
       302A                          ACCOUNT NO.: NOT AVAILABLE
       HAYWARD, CA 94541




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.5442 GREEN, SARA                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 576
       MIDDLETOWN, CA 95461          ACCOUNT NO.: NOT AVAILABLE


3.5443 GREEN, SHANEL                             VARIOUS                              Litigation              UNDETERMINED
       501 N VAN NESS AVE. STE 104
       STE 104                       ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93728


3.5444 GREEN, SHARON                             VARIOUS                              Litigation              UNDETERMINED
       2745 COUNTY ROAD 306, ELK
       CREEK, CA., 95935             ACCOUNT NO.: NOT AVAILABLE
       P.O. BOX 189
       ELK CREEK, CA 95939


3.5445 GREEN, SUE                                VARIOUS                              Litigation              UNDETERMINED
       1487 EAST C STREET
       OAKDALE, CA 94361             ACCOUNT NO.: NOT AVAILABLE


3.5446 GREEN, WILLIAM & CHRISTINA                VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 986
       UPPER LAKE, CA 95485          ACCOUNT NO.: NOT AVAILABLE


3.5447 GREEN, WILLIE & ORA                       VARIOUS                              Litigation              UNDETERMINED
       2845 MAGNOLIA STREET
       OAKLAND, CA 94608             ACCOUNT NO.: NOT AVAILABLE


3.5448 GREENBACH, CAMILLA                        VARIOUS                              Litigation              UNDETERMINED
       624 PASEO ST
       ARROYO GRANDE, CA 93420       ACCOUNT NO.: NOT AVAILABLE


3.5449 GREENBAUM, DONNA                          VARIOUS                              Litigation              UNDETERMINED
       1085 HELENA DR
       SUNNYVALE, CA 94087           ACCOUNT NO.: NOT AVAILABLE


3.5450 GREENBERG, JONAH                          VARIOUS                              Litigation              UNDETERMINED
       8438 MIRABEL AVE
       FORESTVILLE, CA 95436         ACCOUNT NO.: NOT AVAILABLE


3.5451 GREENBERG, MICHAEL                        VARIOUS                              Litigation              UNDETERMINED
       1701 WELLINGTON STREET
       OAKLAND, CA 94602             ACCOUNT NO.: NOT AVAILABLE


3.5452 GREENBERG, TODD                           VARIOUS                              Litigation              UNDETERMINED
       47 BOLINAS RD
       UNIT A                        ACCOUNT NO.: NOT AVAILABLE
       FAIRFAX, CA 94930



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.5453 GREENE, ANITA                            VARIOUS                              Litigation              UNDETERMINED
       8 SHEPHERD'S KNOLL
       PEBBLE BEACH, CA 93953       ACCOUNT NO.: NOT AVAILABLE


3.5454 GREENE, CHERYL                           VARIOUS                              Litigation              UNDETERMINED
       16461 FERRIS AVENUE
       LOS GATOS, CA 95032          ACCOUNT NO.: NOT AVAILABLE


3.5455 GREENE, REGINA                           VARIOUS                              Litigation              UNDETERMINED
       2001 BRAEMAR RD
       OAKLAND, CA 94602            ACCOUNT NO.: NOT AVAILABLE


3.5456 GREENFIELD BODY WORKS,                   VARIOUS                              Litigation              UNDETERMINED
       JAMES, JOSH
       10285 S UNION AVE            ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93307


3.5457 GREENGRASS, ROY                          VARIOUS                              Litigation              UNDETERMINED
       92 SHELL PL
       BYRON, CA 94505              ACCOUNT NO.: NOT AVAILABLE


3.5458 GREENWALD, JEFFREY                       VARIOUS                              Litigation              UNDETERMINED
       460 RAQUEL LANE
       LOS ALTOS, CA 94022          ACCOUNT NO.: NOT AVAILABLE


3.5459 GREER, BENJAMIN                          VARIOUS                              Litigation              UNDETERMINED
       197 WHISPERING TREES LANE
       DANVILLE, CA 94526           ACCOUNT NO.: NOT AVAILABLE


3.5460 GREER, IVEY                              VARIOUS                              Litigation              UNDETERMINED
       444 BANNING WAY
       VALLEJO, CA 94591            ACCOUNT NO.: NOT AVAILABLE


3.5461 GREER, PAUL                              VARIOUS                              Litigation              UNDETERMINED
       4666 N ZEDIKER AVE
       SANGER, CA 93657             ACCOUNT NO.: NOT AVAILABLE


3.5462 GREER, SHAMIKA                           VARIOUS                              Litigation              UNDETERMINED
       1001 FREMONT BLVD
       WEST SACRAMENTO, CA 95605    ACCOUNT NO.: NOT AVAILABLE


3.5463 GREER, SUSAN                             VARIOUS                              Litigation              UNDETERMINED
       946 GAYDEE CT
       SEBASTOPOL, CA 95472         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.5464 GREER/ATTY REP, ANNA                      VARIOUS                              Litigation              UNDETERMINED
       5207 SUNRISE BLVD
       FAIR OAKS, CA 95628           ACCOUNT NO.: NOT AVAILABLE


3.5465 GREGGANS, CLARICE                         VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1305
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.5466 GREGORE, CHARLES                          VARIOUS                              Litigation              UNDETERMINED
       9036 SIMMONS RD
       REDDING, CA 96001             ACCOUNT NO.: NOT AVAILABLE


3.5467 GREGORI, SHANNON                          VARIOUS                              Litigation              UNDETERMINED
       624 SANTA ANA AVENUE
       CLOVIS, CA 93612              ACCOUNT NO.: NOT AVAILABLE


3.5468 GREGORY G. CAMPBELL LLC-                  VARIOUS                              Litigation              UNDETERMINED
       CAMPBELL, GREGORY G.
       9898 RIVER ROAD               ACCOUNT NO.: NOT AVAILABLE
       SAN MIGUEL, CA 93451


3.5469 GREGORY, CAROLYN                          VARIOUS                              Litigation              UNDETERMINED
       756 MARIN DR
       MILL VALLEY, CA 94941-3919    ACCOUNT NO.: NOT AVAILABLE


3.5470 GREGORY, CAROLYN                          VARIOUS                              Litigation              UNDETERMINED
       756 MARIN DRIVE
       MILL VALLEY, CA 94941         ACCOUNT NO.: NOT AVAILABLE


3.5471 GREGORY, DARLA                            VARIOUS                              Litigation              UNDETERMINED
       19962 AMES COURT
       RED BLUFF, CA 96080           ACCOUNT NO.: NOT AVAILABLE


3.5472 GREGORY, GENARO                           VARIOUS                              Litigation              UNDETERMINED
       7709 NEY AAVENUE APT. D
       OAKLAND, CA 94605             ACCOUNT NO.: NOT AVAILABLE


3.5473 GREGORY, LARRY                            VARIOUS                              Litigation              UNDETERMINED
       5750 CHOWCHILLA MT. RD
       MARIPOSA, CA 95338            ACCOUNT NO.: NOT AVAILABLE


3.5474 GRETHEN, STEPHANIE                        VARIOUS                              Litigation              UNDETERMINED
       1455 CEDAR PLACE
       LOS ALTOS, CA 94024           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5475 GREWAL, GURWINDER &                      VARIOUS                              Litigation              UNDETERMINED
       GAGANDEEP
       4043 W CORTLAND AVE.         ACCOUNT NO.: NOT AVAILABLE
       FRESNO, CA 93722


3.5476 GREYERBIEHL, DARIN                       VARIOUS                              Litigation              UNDETERMINED
       199 VALMAR TERRACE
       SAN FRANCISCO, CA 94112      ACCOUNT NO.: NOT AVAILABLE


3.5477 GRIDLEY, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       10152 BITNEY SPRINGS ROAD
       NEVADA CITY, CA 95959        ACCOUNT NO.: NOT AVAILABLE


3.5478 GRIEGO, KIM                              VARIOUS                              Litigation              UNDETERMINED
       396 MENDOCINO COURT
       OAKDALE, CA 95361            ACCOUNT NO.: NOT AVAILABLE


3.5479 GRIFFIN, AMELIA                          VARIOUS                              Litigation              UNDETERMINED
       1089 BLUEBELL DR. # 1107
       LIVERMORE, CA 94551          ACCOUNT NO.: NOT AVAILABLE


3.5480 GRIFFIN, GARY                            VARIOUS                              Litigation              UNDETERMINED
       2142 BEL AIR AVE
       SAN JOSE, CA 95128           ACCOUNT NO.: NOT AVAILABLE


3.5481 GRIFFIN, KAYLA                           VARIOUS                              Litigation              UNDETERMINED
       5417 JADE CREEK WAY
       ELK GROVE, CA 95758          ACCOUNT NO.: NOT AVAILABLE


3.5482 GRIFFIN, MICHELLA                        VARIOUS                              Litigation              UNDETERMINED
       61 NORTON STREET
       250 BAYSHORE BLVD            ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94112


3.5483 GRIFFIN, NICOLE                          VARIOUS                              Litigation              UNDETERMINED
       12385 LAKE BLVD.
       REDDING, CA 96003            ACCOUNT NO.: NOT AVAILABLE


3.5484 GRIFFIN, PATRICK                         VARIOUS                              Litigation              UNDETERMINED
       514 MAY STREET
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.5485 GRIFFIN, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       994 KAREN COURT
       PISMO BEACH, CA 93449        ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5486 GRIFFIN, STEVE AND GAYLE                 VARIOUS                              Litigation              UNDETERMINED
       3814 COFFEY LANE
       SANTA ROSA, CA 95401          ACCOUNT NO.: NOT AVAILABLE


3.5487 GRIFFIN, STEVEN                          VARIOUS                              Litigation              UNDETERMINED
       3814 COFFEY LANE
       SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.5488 GRIFFIN, STEVEN                          VARIOUS                              Litigation              UNDETERMINED
       3814 COFFENY LANE
       SANTA ROSA, CA                ACCOUNT NO.: NOT AVAILABLE


3.5489 GRIFFIN, TONI                            VARIOUS                              Litigation              UNDETERMINED
       2718 EC REEMS CT APT 2B
       OAKLAND, CA 94605             ACCOUNT NO.: NOT AVAILABLE


3.5490 GRIFFITH, BARBARA                        VARIOUS                              Litigation              UNDETERMINED
       2420 G STREET
       SACRAMENTO, CA 95816          ACCOUNT NO.: NOT AVAILABLE


3.5491 GRIFFITHS, MCCAGE                        VARIOUS                              Litigation              UNDETERMINED
       268A COTTAGE CIR
       DAVIS, CA 95616               ACCOUNT NO.: NOT AVAILABLE


3.5492 GRIGSBAY, RICHARD & DEBBIE               VARIOUS                              Litigation              UNDETERMINED
       322 W. SWAIN RD.
       STOCKTON, CA 95207            ACCOUNT NO.: NOT AVAILABLE


3.5493 GRILL SPOT-CHIN, PAK                     VARIOUS                              Litigation              UNDETERMINED
       2311 CLEMENT ST
       SAN FRANCISCO, CA 94121       ACCOUNT NO.: NOT AVAILABLE


3.5494 GRILLIN & CHILLIN ALEHOUSE-              VARIOUS                              Litigation              UNDETERMINED
       FROWEIN, CHARLES
       401 MCCRAY ST.                ACCOUNT NO.: NOT AVAILABLE
       B24
       HOLLISTER, CA 95023


3.5495 GRIM, BRITTON                            VARIOUS                              Litigation              UNDETERMINED
       2687 BRUSHY CANYON TRAIL
       COOL, CA 95614                ACCOUNT NO.: NOT AVAILABLE


3.5496 GRIM, MARVIN                             VARIOUS                              Litigation              UNDETERMINED
       16135 STONE ST
       REDDING, CA 96001             ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5497 GRIMES, DOROTHY                          VARIOUS                              Litigation              UNDETERMINED
       3903 49TH AVENUE
       SACRAMENTO, CA 95823         ACCOUNT NO.: NOT AVAILABLE


3.5498 GRIMES, MARILYN                          VARIOUS                              Litigation              UNDETERMINED
       161 PACIFIC AVENUE
       PACIFIC GROVE, CA 93950      ACCOUNT NO.: NOT AVAILABLE


3.5499 GRINTON, GREG                            VARIOUS                              Litigation              UNDETERMINED
       617 DISKINSON COURT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.5500 GROMINGDALES-LAMKIN, CINDY               VARIOUS                              Litigation              UNDETERMINED
       5571 CHURN CREEK ROAD
       REDDING, CA 96002            ACCOUNT NO.: NOT AVAILABLE


3.5501 GRONER NELSEN, ERIN                      VARIOUS                              Litigation              UNDETERMINED
       16919 FORREST LN
       ROYAL OAKS, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.5502 GROSS, CAROL                             VARIOUS                              Litigation              UNDETERMINED
       421 VIA CORONA
       BUELLTON, CA 93427           ACCOUNT NO.: NOT AVAILABLE


3.5503 GROSS, LINDA                             VARIOUS                              Litigation              UNDETERMINED
       121 GOODWIN DRIVE
       SAN BRUNO, CA 94066          ACCOUNT NO.: NOT AVAILABLE


3.5504 GROSS, MELISSA                           VARIOUS                              Litigation              UNDETERMINED
       15160 CHARTER OAK BLVD.
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.5505 GROSS, TERESA                            VARIOUS                              Litigation              UNDETERMINED
       5063 CIRCLE DRIVE, APT #3
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE


3.5506 GROSSEN, BOBBIE                          VARIOUS                              Litigation              UNDETERMINED
       1631 CAMBRIAN DRIVE
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.5507 GROSVENOR AIRPORT                        VARIOUS                              Litigation              UNDETERMINED
       ASSOCIATES-MCGUIRE, JIM
       380 SOUTH AIRPORT            ACCOUNT NO.: NOT AVAILABLE
       BOULEVARD
       SOUTH SAN FRANCISCO, CA
       94080




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Including Zip Code                           Account Number                              Claim

Litigation & Disputes

3.5508 GROSWIRD, ALEX                             VARIOUS                              Litigation              UNDETERMINED
       667 EDWARDO AVE.
       BEN LOMOND, CA 95005           ACCOUNT NO.: NOT AVAILABLE


3.5509 GROTTA, GILBERT                            VARIOUS                              Litigation              UNDETERMINED
       1053 DONKEY LN
       RESCUE, CA 95672               ACCOUNT NO.: NOT AVAILABLE


3.5510 GROULX, LORETTA                            VARIOUS                              Litigation              UNDETERMINED
       1700 CLAREMONT DR
       SAN BRUNO, CA 94066            ACCOUNT NO.: NOT AVAILABLE


3.5511 GROVE, CHRISTINA                           VARIOUS                              Litigation              UNDETERMINED
       1690 VIA TOVITA
       SAN LORENZO, CA 94580          ACCOUNT NO.: NOT AVAILABLE


3.5512 GROVES, SHERYLE                            VARIOUS                              Litigation              UNDETERMINED
       2322 N MAIN STREET #F
       SALINAS, CA 93906              ACCOUNT NO.: NOT AVAILABLE


3.5513 GROYSMAN, MISHA                            VARIOUS                              Litigation              UNDETERMINED
       821 66TH AVE.
       OAKLAND, CA 94621              ACCOUNT NO.: NOT AVAILABLE


3.5514 GRUBB, DJ                                  VARIOUS                              Litigation              UNDETERMINED
       1360 DIAMOND MOUNTAIN RD
       CALISTOGA, CA 94515            ACCOUNT NO.: NOT AVAILABLE


3.5515 GRUBER, RICHARD                            VARIOUS                              Litigation              UNDETERMINED
       544 E. YOSEMITE AVE.
       1830 E. YOSEMITE AVE.,         ACCOUNT NO.: NOT AVAILABLE
       MANTECA
       MANTECA, CA 95336


3.5516 GRULDL-WARD, SUSAN                         VARIOUS                              Litigation              UNDETERMINED
       1060 SKYVIEW DRIVE
       OAKDALE, CA 95361              ACCOUNT NO.: NOT AVAILABLE


3.5517 GRUMAN, EUGENIE                            VARIOUS                              Litigation              UNDETERMINED
       376 27TH STREET
       SAN FRANCISCO, CA 94131        ACCOUNT NO.: NOT AVAILABLE


3.5518 GRUMMER, SHERYL                            VARIOUS                              Litigation              UNDETERMINED
       3064 PO BOX 1318
       SACRAMENTO, CA 95812           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5519 GRUNDMANN, MATTHIAS                      VARIOUS                              Litigation              UNDETERMINED
       17120 CROTHERS RD
       SAN JOSE, CA 95127           ACCOUNT NO.: NOT AVAILABLE


3.5520 GRUNEISEN, LINDA                         VARIOUS                              Litigation              UNDETERMINED
       7228 WALNUT ROAD
       FAIR OAKS, CA 95628          ACCOUNT NO.: NOT AVAILABLE


3.5521 GRUPE, REBECCA                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 302
       NICE, CA 95464               ACCOUNT NO.: NOT AVAILABLE


3.5522 GRUWELL, SAMANTHA                        VARIOUS                              Litigation              UNDETERMINED
       937 DEER CREEK LANE #9
       PARADISE, CA 94569           ACCOUNT NO.: NOT AVAILABLE


3.5523 GSA FARMS, INC.                          VARIOUS                              Litigation              UNDETERMINED
       ATTN: GARY AND SUSAN
       ANDERSON                     ACCOUNT NO.: NOT AVAILABLE
       6928 COUNTY ROAD 39
       ORLAND, CA 95963


3.5524 GUADALUPE MARKET,                        VARIOUS                              Litigation              UNDETERMINED
       ABDULAHI MASSAM
       813 GUADALUPE STREET         ACCOUNT NO.: NOT AVAILABLE
       GUADALUPE, CA 93434


3.5525 GUAN, YUE FENG                           VARIOUS                              Litigation              UNDETERMINED
       4008 CALIFORNIA STREET
       SAN FRANCISCO, CA 94118      ACCOUNT NO.: NOT AVAILABLE


3.5526 GUARDADO, ALFREDO                        VARIOUS                              Litigation              UNDETERMINED
       121 HUGHES AVE
       BAKERSFIELD, CA 93308        ACCOUNT NO.: NOT AVAILABLE


3.5527 GUARDADO, JOSE                           VARIOUS                              Litigation              UNDETERMINED
       742 PARIS STREET
       SAN FRANCISCO, CA 94112      ACCOUNT NO.: NOT AVAILABLE


3.5528 GUARDADO, JOSE                           VARIOUS                              Litigation              UNDETERMINED
       742 PARIS ST
       SAN FRANCISCO, CA 94112      ACCOUNT NO.: NOT AVAILABLE


3.5529 GUARDADO, NOE                            VARIOUS                              Litigation              UNDETERMINED
       731 MANZANITA AVE
       SUNNYVALE, CA 94085          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.5530 GUARINO, BETH                            VARIOUS                              Litigation              UNDETERMINED
       2276 STRATFORD DRIVE
       SAN JOSE, CA 95124            ACCOUNT NO.: NOT AVAILABLE


3.5531 GUARNERO, HECTOR                         VARIOUS                              Litigation              UNDETERMINED
       2311 NORTH MAIN STREET SPC
       #45                           ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.5532 GUDMUNDSON, SABRINA                      VARIOUS                              Litigation              UNDETERMINED
       PO BOX 801
       NICE, CA 95464                ACCOUNT NO.: NOT AVAILABLE


3.5533 GUENTHART, LINDSEY                       VARIOUS                              Litigation              UNDETERMINED
       4202 WILBURS WAY
       MARIPOSA, CA 95338            ACCOUNT NO.: NOT AVAILABLE


3.5534 GUENTHER, JASON                          VARIOUS                              Litigation              UNDETERMINED
       625 E WELDON AVE
       FRESNO, CA 93704              ACCOUNT NO.: NOT AVAILABLE


3.5535 GUERCIO, THOMAS                          VARIOUS                              Litigation              UNDETERMINED
       17302 DOGWOOD WAY
       CLEARLAKE OAKS, CA 95423      ACCOUNT NO.: NOT AVAILABLE


3.5536 GUERR, ANN                               VARIOUS                              Litigation              UNDETERMINED
       1551 VALDEZ WAY
       PACIFICA, CA 94044            ACCOUNT NO.: NOT AVAILABLE


3.5537 GUERRA 56673080109, HALE                 VARIOUS                              Litigation              UNDETERMINED
       PO BOX 370922
       MONTARA, CA 94037             ACCOUNT NO.: NOT AVAILABLE


3.5538 GUERRA, CARLOS                           VARIOUS                              Litigation              UNDETERMINED
       4506 HILLSBORO WAY
       STOCKTON, CA 95207            ACCOUNT NO.: NOT AVAILABLE


3.5539 GUERRA, EDWARD                           VARIOUS                              Litigation              UNDETERMINED
       187 N TAAFFE ST.
       SUNNYVALE, CA 94086           ACCOUNT NO.: NOT AVAILABLE


3.5540 GUERRA, JOHN V. PG&E                     VARIOUS                              Litigation              UNDETERMINED
       LAW OFFICE OF M. JUDE EGAN
       5075 S. BRADLEY ROAD, SUITE   ACCOUNT NO.: NOT AVAILABLE
       221
       SANTA MARIA, CA 93455




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.5541 GUERRA, JOHN V. PG&E                     VARIOUS                              Litigation              UNDETERMINED
       1534 S. WHITMAN LANE
       SANTA MARIA, CA 93458        ACCOUNT NO.: NOT AVAILABLE


3.5542 GUERRERO, ALBERT                         VARIOUS                              Litigation              UNDETERMINED
       138 SKOWHEGAN COURT
       SAN JOSE, CA 95139           ACCOUNT NO.: NOT AVAILABLE


3.5543 GUERRERO, ANTHONY                        VARIOUS                              Litigation              UNDETERMINED
       4478
       SECOND ST                    ACCOUNT NO.: NOT AVAILABLE
       GUADALUPE, CA 93434


3.5544 GUERRERO, FRANCISCO                      VARIOUS                              Litigation              UNDETERMINED
       944 SULLIVAN AVENUE
       1019 SULLIVAN AVENUE         ACCOUNT NO.: NOT AVAILABLE
       STOCKTON, CA 95205


3.5545 GUERRERO, RODRIGO                        VARIOUS                              Litigation              UNDETERMINED
       632 LOMA VISTA DR
       SALINAS, CA 93901            ACCOUNT NO.: NOT AVAILABLE


3.5546 GUERRERO, RUBEN                          VARIOUS                              Litigation              UNDETERMINED
       524 BARTLETT AVE
       WOODLAND, CA                 ACCOUNT NO.: NOT AVAILABLE


3.5547 GUEST HOUSE GRILL-LASALLE,               VARIOUS                              Litigation              UNDETERMINED
       TREVOR
       8783 EL CAMINO REAL          ACCOUNT NO.: NOT AVAILABLE
       ATASCADERO, CA 93422


3.5548 GUEVARA, BERNARDO                        VARIOUS                              Litigation              UNDETERMINED
       2406 NORTH MAIN STREET
       F                            ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.5549 GUEVARA, FRANCISCO                       VARIOUS                              Litigation              UNDETERMINED
       4302 E BUCKINGHAM WAY
       FRESNO, CA 93726             ACCOUNT NO.: NOT AVAILABLE


3.5550 GUEVARA, INGRID                          VARIOUS                              Litigation              UNDETERMINED
       578 E HAZELWOOD DR
       LEMOORE, CA 93245            ACCOUNT NO.: NOT AVAILABLE


3.5551 GUIDOLIN, TAYLOR                         VARIOUS                              Litigation              UNDETERMINED
       412 MORADA LN
       STOCKTON, CA 95210           ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.5552 GUILLEMIN, SAMANTHA                      VARIOUS                              Litigation              UNDETERMINED
       15 BERRY CREEK ROAD
       BERRY CREEK, CA 95916         ACCOUNT NO.: NOT AVAILABLE


3.5553 GUILLORY, KEVIN                          VARIOUS                              Litigation              UNDETERMINED
       1142 FITZGERALD ST
       250 BAYSHORE BLVD             ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94124


3.5554 GUIMONT, DAVID                           VARIOUS                              Litigation              UNDETERMINED
       26441 SUNSET COURT
       PIONEER, CA 95666             ACCOUNT NO.: NOT AVAILABLE


3.5555 GUISE, BOB                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 4274
       LOT #33 SUGARPINE ROAD        ACCOUNT NO.: NOT AVAILABLE
       DORRINGTON, CA


3.5556 GUITAR CENTER, ELENA BOONE               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2410
       1280 WILLOW PASS RD, STE A,   ACCOUNT NO.: NOT AVAILABLE
       CONCORD
       OMAHA, CA 68103


3.5557 GUIZAR, MARIA                            VARIOUS                              Litigation              UNDETERMINED
       756 WINDSOR COURT
       LOS BANOS, CA 93635           ACCOUNT NO.: NOT AVAILABLE


3.5558 GULATI, RAJ                              VARIOUS                              Litigation              UNDETERMINED
       304 FERNDALE AVE
       SSF, CA 94080                 ACCOUNT NO.: NOT AVAILABLE


3.5559 GULDNER, MARIA                           VARIOUS                              Litigation              UNDETERMINED
       15061 FRUITVALE AVE
       SARATOGA, CA 95070            ACCOUNT NO.: NOT AVAILABLE


3.5560 GULLEY, RODNEY                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 310
       7 LOWER MILL CREEK ROAD       ACCOUNT NO.: NOT AVAILABLE
       HOOPA, CA 95546


3.5561 GULLY, DAVID                             VARIOUS                              Litigation              UNDETERMINED
       1818 TRINITY WAY
       WEST SACRAMENTO, CA 95691     ACCOUNT NO.: NOT AVAILABLE


3.5562 GULUTZ, MARY ANN                         VARIOUS                              Litigation              UNDETERMINED
       6711 WOOD DUCK WAY
       SOMMERSET, CA 95684           ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.5563 GUNDEE, STEPHEN                          VARIOUS                              Litigation              UNDETERMINED
       137 HUMBOLDT AVE.
       SAN ANSELMO, CA 94960        ACCOUNT NO.: NOT AVAILABLE


3.5564 GUNDRED, PEGGY                           VARIOUS                              Litigation              UNDETERMINED
       14804 MARIN DR
       REDDING, CA 96003            ACCOUNT NO.: NOT AVAILABLE


3.5565 GUNN, KARYN                              VARIOUS                              Litigation              UNDETERMINED
       9422 JESUS MANA ROAD
       20 BRYSON DRIVE              ACCOUNT NO.: NOT AVAILABLE
       SUTTER CREEK, CA 95245


3.5566 GUNNISON, FORREST                        VARIOUS                              Litigation              UNDETERMINED
       3535 EDGEFIELD PLACE
       CARMEL, CA 93923             ACCOUNT NO.: NOT AVAILABLE


3.5567 GUNTHER, GLENN                           VARIOUS                              Litigation              UNDETERMINED
       5767 CHRISTINE DRIVE
       EUREKA, CA 95503             ACCOUNT NO.: NOT AVAILABLE


3.5568 GUPTA - GEICO, SANJAY                    VARIOUS                              Litigation              UNDETERMINED
       PO BOX 509119
       SAN DIEGO, CA 92180          ACCOUNT NO.: NOT AVAILABLE


3.5569 GUPTA, MOHIT                             VARIOUS                              Litigation              UNDETERMINED
       40564 METEOR PLACE
       CUPERTINO, CA 95014          ACCOUNT NO.: NOT AVAILABLE


3.5570 GUPTA, VIKASH                            VARIOUS                              Litigation              UNDETERMINED
       5093 CAMDEN AVE
       SAN JOSE, CA 95124           ACCOUNT NO.: NOT AVAILABLE


3.5571 GURCHA, SURINDER                         VARIOUS                              Litigation              UNDETERMINED
       2618 RAILROAD AVE
       YUBA CITY, CA 95991          ACCOUNT NO.: NOT AVAILABLE


3.5572 GUSTAFSON, MARY                          VARIOUS                              Litigation              UNDETERMINED
       1709 DUNE POINT WAY
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.5573 GUSTAFSSON, CONNY                        VARIOUS                              Litigation              UNDETERMINED
       21400 BROADWAY
       SONOMA, CA 95476-8204        ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5574 GUSTINE UNIFIED SCHOOL                   VARIOUS                              Litigation              UNDETERMINED
       DISTRICT-AGUILAR, LIZETT
       1500 MEREDITH AVE            ACCOUNT NO.: NOT AVAILABLE
       GUSTINE, CA 95322


3.5575 GUTHEIL, LAWRENCE                        VARIOUS                              Litigation              UNDETERMINED
       50 MERIDIAN SPUR
       SALINAS, CA                  ACCOUNT NO.: NOT AVAILABLE


3.5576 GUTIERREZ, ADRIANA                       VARIOUS                              Litigation              UNDETERMINED
       22159 HATHAWAY AVENUE
       HAYWARD, CA 94541            ACCOUNT NO.: NOT AVAILABLE


3.5577 GUTIERREZ, BENJAMIN                      VARIOUS                              Litigation              UNDETERMINED
       3808 SUE LIN WAY
       BAKERSFIELD, CA 93309        ACCOUNT NO.: NOT AVAILABLE


3.5578 GUTIERREZ, DELLA                         VARIOUS                              Litigation              UNDETERMINED
       5862 MARSHALL STREET
       OAKLAND, CA 94608            ACCOUNT NO.: NOT AVAILABLE


3.5579 GUTIERREZ, ELSA                          VARIOUS                              Litigation              UNDETERMINED
       1114 N CHAPEL HILL AVE
       CLOVIS, CA 93611             ACCOUNT NO.: NOT AVAILABLE


3.5580 GUTIERREZ, HUMBERTO                      VARIOUS                              Litigation              UNDETERMINED
       2828 RAMADA DR UNIT 114
       PASO ROBLES, CA 93446        ACCOUNT NO.: NOT AVAILABLE


3.5581 GUTIERREZ, JENNIFER                      VARIOUS                              Litigation              UNDETERMINED
       3985 BOLINAS PLACE
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.5582 GUTIERREZ, KAYE                          VARIOUS                              Litigation              UNDETERMINED
       539 OLD ROUNDHOUSE ROAD
       MCKINLEYVILLE, CA 95519      ACCOUNT NO.: NOT AVAILABLE


3.5583 GUTIERREZ, KENDRA                        VARIOUS                              Litigation              UNDETERMINED
       2277 PEREZ ST.
       243                          ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.5584 GUTIERREZ, LOWELLA                       VARIOUS                              Litigation              UNDETERMINED
       3245 ERNEST DRIVE
       TRACY, CA 95376              ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5585 GUTIERREZ, MARIA ELVA                    VARIOUS                              Litigation              UNDETERMINED
       14530 BYRON HWY SPC 49
       BYRON, CA 94514              ACCOUNT NO.: NOT AVAILABLE


3.5586 GUTIERREZ, MARY AND EUGENE         VARIOUS                                    Litigation              UNDETERMINED
       1136 S DEL RY AVENUE
       SANGER, CA 93657           ACCOUNT NO.: NOT AVAILABLE


3.5587 GUTIERREZ, MICHAEL                       VARIOUS                              Litigation              UNDETERMINED
       1033 WINTERS DRIVE
       MANTECA, CA 95337            ACCOUNT NO.: NOT AVAILABLE


3.5588 GUTIERREZ, RICARDO                       VARIOUS                              Litigation              UNDETERMINED
       6082 N. DEL MAR AVENUE
       FRESNO, CA 93704             ACCOUNT NO.: NOT AVAILABLE


3.5589 GUTIERREZ, ROSALBA                       VARIOUS                              Litigation              UNDETERMINED
       2481 BOREN DR.
       SAN JOSE, CA 95121           ACCOUNT NO.: NOT AVAILABLE


3.5590 GUTIERREZ, RUTH                          VARIOUS                              Litigation              UNDETERMINED
       12839 JASPER WAY
       SALINAS, CA 93906            ACCOUNT NO.: NOT AVAILABLE


3.5591 GUTOF, DEBORAH (ATTY REPD)               VARIOUS                              Litigation              UNDETERMINED
       2613 19TH STREET
       SAN FRANCISCO, CA 94110      ACCOUNT NO.: NOT AVAILABLE


3.5592 GUYETTE, JULIE                           VARIOUS                              Litigation              UNDETERMINED
       554 SHIRLYNN COURT
       LOS ALTOS, CA 94022          ACCOUNT NO.: NOT AVAILABLE


3.5593 GUZMAN MEDINA, SERGIO                    VARIOUS                              Litigation              UNDETERMINED
       222 N 7TH ST
       WILLIAMS, CA 95987           ACCOUNT NO.: NOT AVAILABLE


3.5594 GUZMAN, CELINA                           VARIOUS                              Litigation              UNDETERMINED
       450 VIRGINIA AVE
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.5595 GUZMAN, CYNTHIA                          VARIOUS                              Litigation              UNDETERMINED
       4782 E LOWE AVE
       FRESNO, CA 93702             ACCOUNT NO.: NOT AVAILABLE


3.5596 GUZMAN, DAVID                            VARIOUS                              Litigation              UNDETERMINED
       151 PARADISE ROAD
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.5597 GUZMAN, ENRIQUES                         VARIOUS                              Litigation              UNDETERMINED
       CA 0
                                     ACCOUNT NO.: NOT AVAILABLE


3.5598 GUZMAN, JUANITA                          VARIOUS                              Litigation              UNDETERMINED
       1315 NORTH F ST
       STOCKTON, CA 95205            ACCOUNT NO.: NOT AVAILABLE


3.5599 GUZMAN, LOURDES                          VARIOUS                              Litigation              UNDETERMINED
       293 POPE STRET
       SAN FRANCISCO, CA 94112       ACCOUNT NO.: NOT AVAILABLE


3.5600 GUZMAN, MARIA                            VARIOUS                              Litigation              UNDETERMINED
       13260 W CENTRAL AVE
       KERMAN, CA 93630              ACCOUNT NO.: NOT AVAILABLE


3.5601 GUZMAN, SYLVIA                           VARIOUS                              Litigation              UNDETERMINED
       29849 AVE 22
       MADERA, CA 93638              ACCOUNT NO.: NOT AVAILABLE


3.5602 GUZMANS TIRES AND BRAKE                  VARIOUS                              Litigation              UNDETERMINED
       SERVICE, GUZMAN, CECILIO
       6310 MONTEREY ROAD            ACCOUNT NO.: NOT AVAILABLE
       GILROY, CA 95020


3.5603 GUZZARDO, MICHAEL                        VARIOUS                              Litigation              UNDETERMINED
       4320 MONTEREY COURT
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.5604 GWALTNEY, DUANE                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1175
       1304 OAK PLACE                ACCOUNT NO.: NOT AVAILABLE
       ANGELS CAMP, CA 95222


3.5605 GYPSY'S RESTURANT , FOOD                 VARIOUS                              Litigation              UNDETERMINED
       SERVICESDRINKING PLACES-
       JOWHARCHI, JAHAN              ACCOUNT NO.: NOT AVAILABLE
       2519 DURANT AVE
       STE A
       BERKELEY, CA 94704


3.5606 H D L FARMS, HUE DE LAROQUE              VARIOUS                              Litigation              UNDETERMINED
       P O BOX 821
       CLEARLAKE, CA 94523           ACCOUNT NO.: NOT AVAILABLE


3.5607 HAABERG, SABRINA                         VARIOUS                              Litigation              UNDETERMINED
       17309 MCGUFFIE ROAD
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.5608 HAAEUSSLEIN, ROBERT                       VARIOUS                              Litigation              UNDETERMINED
       125 CHESTNUT LANE
       1131 BLYTHE STREET            ACCOUNT NO.: NOT AVAILABLE
       FOSTER CITY, CA 94404


3.5609 HAALAND, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       888 WARREN WAY
       577 AGUAJITO RD., CARMEL,     ACCOUNT NO.: NOT AVAILABLE
       94303
       PALO ALTO, CA 94303


3.5610 HAAS, DENNIS                              VARIOUS                              Litigation              UNDETERMINED
       1140 ROYCOTT WAY
       SAN JOSE, CA 95125            ACCOUNT NO.: NOT AVAILABLE


3.5611 HAAS, GREGORY                             VARIOUS                              Litigation              UNDETERMINED
       5426 PIEDMONT CT
       SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.5612 HABIBNEJAD, ROSHANAKH                     VARIOUS                              Litigation              UNDETERMINED
       2774 SUMMIT DR
       HILLSBOROUGH, CA 94010        ACCOUNT NO.: NOT AVAILABLE


3.5613 HABIT, RON                                VARIOUS                              Litigation              UNDETERMINED
       10180 MADRID DR
       GILROY, CA 95929              ACCOUNT NO.: NOT AVAILABLE


3.5614 HACKETT, GARY                             VARIOUS                              Litigation              UNDETERMINED
       862 PEGGY LEE COURT
       NIPOMO, CA 93444              ACCOUNT NO.: NOT AVAILABLE


3.5615 HACKETT, STEPHEN                          VARIOUS                              Litigation              UNDETERMINED
       106 BURWOOD WAY
       FOLSOM, CA 95630              ACCOUNT NO.: NOT AVAILABLE


3.5616 HACKLER, KATHIE                           VARIOUS                              Litigation              UNDETERMINED
       1162 LAWRENCE RD
       DANVILLE, CA 94506-4708       ACCOUNT NO.: NOT AVAILABLE


3.5617 HACKMAN, SABRINA                          VARIOUS                              Litigation              UNDETERMINED
       22525 SUMMIT ROAD
       LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.5618 HADDAD, FADI                              VARIOUS                              Litigation              UNDETERMINED
       2837 SAN MATEO ST
       RICHMOND, CA 94804            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5619 HADDAD, SAIF                             VARIOUS                              Litigation              UNDETERMINED
       9263 HALLMARK PL
       VALLEJO, CA 94591             ACCOUNT NO.: NOT AVAILABLE


3.5620 HADLEY, BOBBY                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 14
       282 W. PEARCH CREEK ROAD      ACCOUNT NO.: NOT AVAILABLE
       ORLEANS, CA 95556


3.5621 HAEMMERLING, LINDA & KURT                VARIOUS                              Litigation              UNDETERMINED
       3560 GRANDVIEW CIRCLE
       SHINGLE SPRINGS, CA 95682     ACCOUNT NO.: NOT AVAILABLE


3.5622 HAERI, ALI                               VARIOUS                              Litigation              UNDETERMINED
       1359 SPOONBILL WAY
       SUNNYVALE, CA 94087           ACCOUNT NO.: NOT AVAILABLE


3.5623 HAEUSSLER, WILLIAM                       VARIOUS                              Litigation              UNDETERMINED
       110 DENIO AVE
       GILROY, CA 95020              ACCOUNT NO.: NOT AVAILABLE


3.5624 HAGAN, KEN                               VARIOUS                              Litigation              UNDETERMINED
       25484 MARSH CREEK RD
       BRENTWOOD, CA 94513           ACCOUNT NO.: NOT AVAILABLE


3.5625 HAGAR, JAMES                             VARIOUS                              Litigation              UNDETERMINED
       6404 STEWART LANE
       COULTERVILLE, CA 95311        ACCOUNT NO.: NOT AVAILABLE


3.5626 HAGBERG, TIM                             VARIOUS                              Litigation              UNDETERMINED
       114 W LAUREL DR
       SALINAS, CA 93906             ACCOUNT NO.: NOT AVAILABLE


3.5627 HAGEMANN RANCH-                          VARIOUS                              Litigation              UNDETERMINED
       HAGEMANN, DENNIS
       1119 SUNSET AVE               ACCOUNT NO.: NOT AVAILABLE
       SANTA ROSA, CA 95407


3.5628 HAGER, JEANETTE                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 3145
       PO BOX 3145                   ACCOUNT NO.: NOT AVAILABLE
       CARMEL BY THE SEA, CA 93921


3.5629 HAGER, JULIE                        VARIOUS                                   Litigation              UNDETERMINED
       991 ELLIS AVE
       3710 LAKEMONT DRIVE, ARNOLD ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95125



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Litigation & Disputes

3.5630 HAGGARD, DEBRA                           VARIOUS                              Litigation              UNDETERMINED
       1784 LUMPKIN RD
       OROVILLE, CA 95966            ACCOUNT NO.: NOT AVAILABLE


3.5631 HAGGERTY, RYAN AND ANDERA                VARIOUS                              Litigation              UNDETERMINED
       2474 WIGWAM DRIVE
       STOCKTON, CA 95205            ACCOUNT NO.: NOT AVAILABLE


3.5632 HAGHIGHI, SHAHROOZ                       VARIOUS                              Litigation              UNDETERMINED
       24 SANBORN ROAD
       ORINDA, CA 94563              ACCOUNT NO.: NOT AVAILABLE


3.5633 HAGUE, CARL                              VARIOUS                              Litigation              UNDETERMINED
       722 HILLSIDE RD
       SAN JUAN BAUTISTA, CA 95045   ACCOUNT NO.: NOT AVAILABLE


3.5634 HAHN, ASHLEY & LARRY                     VARIOUS                              Litigation              UNDETERMINED
       10250 WILDFLOWER ROAD
       SANTA MARIA, CA 93454         ACCOUNT NO.: NOT AVAILABLE


3.5635 HAHN, STEPHEN                            VARIOUS                              Litigation              UNDETERMINED
       1423 SAN ANTONIO AVE.
       ALAMEDA, CA 94501             ACCOUNT NO.: NOT AVAILABLE


3.5636 HAHN-SCHUMAN, MOISHE                     VARIOUS                              Litigation              UNDETERMINED
       6948 SEBASTOPOL AVENUE
       SEBASTOPOL, CA 95472          ACCOUNT NO.: NOT AVAILABLE


3.5637 HAINES, BRET                             VARIOUS                              Litigation              UNDETERMINED
       21436 GREEN OAKS CT
       SONORA, CA 95370              ACCOUNT NO.: NOT AVAILABLE


3.5638 HAINES, KATHRYN                          VARIOUS                              Litigation              UNDETERMINED
       18100 DAMIAN WAY
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


3.5639 HAIR BY TAWODA-                          VARIOUS                              Litigation              UNDETERMINED
       BRADSTREET, TAWODA
       2824 HAVENSCOURT BLVD         ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94605


3.5640 HAIR HAVEN-HOLLINGSWORTH,                VARIOUS                              Litigation              UNDETERMINED
       MANDIE
       5504 CROSSBILL LN             ACCOUNT NO.: NOT AVAILABLE
       EL DORADO, CA 95623




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Including Zip Code                           Account Number                            Claim

Litigation & Disputes

3.5641 HAIR STUDIO 212, MARIA                   VARIOUS                              Litigation              UNDETERMINED
       ZAMUDIO
       212 MAIN STREET                ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93901


3.5642 HAJISEYEDALIZADEH, SOHEILA               VARIOUS                              Litigation              UNDETERMINED
       35 LAUREL DR
       # 231                          ACCOUNT NO.: NOT AVAILABLE
       DANVILLE, CA 94526


3.5643 HAJISEYEDALIZADEH/UNITED                 VARIOUS                              Litigation              UNDETERMINED
       FINANCIAL INS., SOHEILA
       35 LAUREL DR                   ACCOUNT NO.: NOT AVAILABLE
       DANVILLE, CA 94526


3.5644 HAKIM, ABDUL                             VARIOUS                              Litigation              UNDETERMINED
       578 PESTANA AVENUE
       MANTECA, CA 95336              ACCOUNT NO.: NOT AVAILABLE


3.5645 HALE, ADAM                               VARIOUS                              Litigation              UNDETERMINED
       514 ROBERSON BLVD
       CHOWCHILLA, CA 93410           ACCOUNT NO.: NOT AVAILABLE


3.5646 HALE, BERNARD                            VARIOUS                              Litigation              UNDETERMINED
       550 ATHERTON AVE
       NOVATO, CA 94945               ACCOUNT NO.: NOT AVAILABLE


3.5647 HALE, DEBORAH                            VARIOUS                              Litigation              UNDETERMINED
       311 S POWERS AVE
       MANTECA, CA 95336              ACCOUNT NO.: NOT AVAILABLE


3.5648 HALE, RONNIE                             VARIOUS                              Litigation              UNDETERMINED
       1227 TOYON CIR
        LINCOLN, CA 95648             ACCOUNT NO.: NOT AVAILABLE


3.5649 HALE, VICKI                              VARIOUS                              Litigation              UNDETERMINED
       902 FORBES ST.
       LAKEPORT, CA 95453             ACCOUNT NO.: NOT AVAILABLE


3.5650 HALF MOON BAY BREWING                    VARIOUS                              Litigation              UNDETERMINED
       COMPANY-REY, NATE
       P O BOX 879                    ACCOUNT NO.: NOT AVAILABLE
       HALF MOON BAY, CA 94019


3.5651 HALL, CLARANCE                           VARIOUS                              Litigation              UNDETERMINED
       5629 N. FIGARDEN DR. STE 115
       FRESNO, CA 93722               ACCOUNT NO.: NOT AVAILABLE



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Litigation & Disputes

3.5652 HALL, CRAIG                               VARIOUS                              Litigation              UNDETERMINED
       737 MORGAN RANCH DRIVE
       GRASS VALLEY, CA 95945        ACCOUNT NO.: NOT AVAILABLE


3.5653 HALL, DEBBY                               VARIOUS                              Litigation              UNDETERMINED
       275 APPLE VALLEY LANE
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.5654 HALL, DEBRA                               VARIOUS                              Litigation              UNDETERMINED
       602 GLENLOCH WAY
       EMERALD HILLS, CA 94062       ACCOUNT NO.: NOT AVAILABLE


3.5655 HALL, DOUG                                VARIOUS                              Litigation              UNDETERMINED
       10805 CREEKWOOD DR
       FELTON, CA 95018              ACCOUNT NO.: NOT AVAILABLE


3.5656 HALL, JACQUELYN                           VARIOUS                              Litigation              UNDETERMINED
       12 LENGLEN AVE
        SAN RAFAEL, CA 94903         ACCOUNT NO.: NOT AVAILABLE


3.5657 HALL, JOY                                 VARIOUS                              Litigation              UNDETERMINED
       397 LIGHTHOUSE CT
       HERCULES, CA 94547            ACCOUNT NO.: NOT AVAILABLE


3.5658 HALL, KEITH                               VARIOUS                              Litigation              UNDETERMINED
       40 CASTANEA RIDGE ROAD
       LA HONDA, CA 94020            ACCOUNT NO.: NOT AVAILABLE


3.5659 HALL, KINDRA                              VARIOUS                              Litigation              UNDETERMINED
       6870 RIVERLAND DR
       74                            ACCOUNT NO.: NOT AVAILABLE
       REDDING, CA 96002


3.5660 HALL, MICHAEL                             VARIOUS                              Litigation              UNDETERMINED
       2235 WEST RIDGE DRIVE
       1576 BISHOP AVE               ACCOUNT NO.: NOT AVAILABLE
       LIVE OAK, CA 95953


3.5661 HALL, SARAH                               VARIOUS                              Litigation              UNDETERMINED
       2785 COLD SPRINGS ROAD
       13                            ACCOUNT NO.: NOT AVAILABLE
       PLACERVILLE, CA 95667


3.5662 HALL, STEPHAN                             VARIOUS                              Litigation              UNDETERMINED
       77805 VINEYARD CANYON RD
       SAN MIGUEL, CA 93451          ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5663 HALL, VICKY                              VARIOUS                              Litigation              UNDETERMINED
       1955 OAKWAY
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.5664 HALL, WALTER & DIANA                     VARIOUS                              Litigation              UNDETERMINED
       8150 LARGA AVENUE
       ATASCADERO, CA 93422         ACCOUNT NO.: NOT AVAILABLE


3.5665 HALLACHER, BARBARA                       VARIOUS                              Litigation              UNDETERMINED
       1110 SINEX AVENUE # B
       SINEX AND GROVE ACRE         ACCOUNT NO.: NOT AVAILABLE
       PACIFIC GROVE, CA 93950


3.5666 HALLET, RUTH                             VARIOUS                              Litigation              UNDETERMINED
       3300 FERNWOOD ST
       VALLEJO, CA 94591            ACCOUNT NO.: NOT AVAILABLE


3.5667 HALLETT, WILLIAM                         VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 116
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.5668 HALLIDAY, JEFFREY                        VARIOUS                              Litigation              UNDETERMINED
       HORWITZ, HORWTIZ &
       ASSOCIATES, LTD.             ACCOUNT NO.: NOT AVAILABLE
       25 E. WASHINGTON #900
       CHICAGO, IL 60602


3.5669 HALLIWELL, LOGAN                         VARIOUS                              Litigation              UNDETERMINED
       4250 PAUL SWEET ROAD
       SANTA CRUZ, CA 95065         ACCOUNT NO.: NOT AVAILABLE


3.5670 HALSEY, MARK                             VARIOUS                              Litigation              UNDETERMINED
       4733 E LIVE OAK ROAD
       LODI, CA 95240               ACCOUNT NO.: NOT AVAILABLE


3.5671 HALSTED PUMP, MARDEN,                    VARIOUS                              Litigation              UNDETERMINED
       ANTHONY
       865 DAY VALLEY ROAD          ACCOUNT NO.: NOT AVAILABLE
       MCDONALD RD AT RAMDA LANE
       APTOS, CA 95003


3.5672 HALSTED, WILLIAM                         VARIOUS                              Litigation              UNDETERMINED
       PO BOX 2655
       CASTRO VALLEY, CA 94546      ACCOUNT NO.: NOT AVAILABLE


3.5673 HALTEH, NASER                            VARIOUS                              Litigation              UNDETERMINED
       880 34TH AVE
       SAN FRANCISCO, CA 94121      ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.5674 HALTER, DOUG                             VARIOUS                              Litigation              UNDETERMINED
       1151 CHURCH STREET
       VENTURA, CA 93001            ACCOUNT NO.: NOT AVAILABLE


3.5675 HAMAKER, KATHY                           VARIOUS                              Litigation              UNDETERMINED
       4241 MONTGOMERY DR.
       SANTA ROSA, CA 95405         ACCOUNT NO.: NOT AVAILABLE


3.5676 HAMBLIN, JON                             VARIOUS                              Litigation              UNDETERMINED
       2401 HOFFMAN LN
       BYRON, CA 94514              ACCOUNT NO.: NOT AVAILABLE


3.5677 HAMBY, JASON                             VARIOUS                              Litigation              UNDETERMINED
       1120 DE SOLO DR
       PACIFICA, CA 94044           ACCOUNT NO.: NOT AVAILABLE


3.5678 HAMERLE, ROSE                            VARIOUS                              Litigation              UNDETERMINED
       34612 TIMBER RIDGE RD
       SHINGLETOWN, CA 96088        ACCOUNT NO.: NOT AVAILABLE


3.5679 HAMERTON, TRICIA                         VARIOUS                              Litigation              UNDETERMINED
       4905 CEDAR DR
       CAMINO, CA 95709             ACCOUNT NO.: NOT AVAILABLE


3.5680 HAMILE, SANDRA                           VARIOUS                              Litigation              UNDETERMINED
       31 FAIRMONT DR.
       DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE


3.5681 HAMILTON, CANDACE                        VARIOUS                              Litigation              UNDETERMINED
       991 VILLAGE PARKWAY
       PARADISE, CA 95969           ACCOUNT NO.: NOT AVAILABLE


3.5682 HAMILTON, KEVIN                          VARIOUS                              Litigation              UNDETERMINED
       8828 22ND AVE.
       LEMOORE, CA 93245            ACCOUNT NO.: NOT AVAILABLE


3.5683 HAMILTON, MARTIN                         VARIOUS                              Litigation              UNDETERMINED
       1991 LUDWIG AVENUE
       SANTA ROSA, CA 95407         ACCOUNT NO.: NOT AVAILABLE


3.5684 HAMILTON, MONTY                          VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 1517
       COBB, CA 95426               ACCOUNT NO.: NOT AVAILABLE


3.5685 HAMILTON, NORMA                          VARIOUS                              Litigation              UNDETERMINED
       PO BOX 65
       COLUMBIA, CA 95310           ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.5686 HAMILTON, RICK                            VARIOUS                              Litigation              UNDETERMINED
       155 GRANADA STREET
       33002 CASCADEL HEIGHTS        ACCOUNT NO.: NOT AVAILABLE
       NORTH FORK, CA


3.5687 HAMILTON, TIMOTHY & KYANA                 VARIOUS                              Litigation              UNDETERMINED
       1349 FIFTH STREET
       RODEO, CA 94572               ACCOUNT NO.: NOT AVAILABLE


3.5688 HAMLET, JEFFREY                           VARIOUS                              Litigation              UNDETERMINED
       5440 HARRISON ROAD
       PARADISE, CA 95969            ACCOUNT NO.: NOT AVAILABLE


3.5689 HAMLETT, DAMI                             VARIOUS                              Litigation              UNDETERMINED
       322 PALM AVE
       WATSONVILLE, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.5690 HAMM, JENESIS                             VARIOUS                              Litigation              UNDETERMINED
       4411 DRIFTWOOD COURT
       DISCOVERY BAY, CA 94505       ACCOUNT NO.: NOT AVAILABLE


3.5691 HAMMACK, PAULETTE                         VARIOUS                              Litigation              UNDETERMINED
       132 FLYING MIST ESLE
       FOSTER CITY, CA 94404         ACCOUNT NO.: NOT AVAILABLE


3.5692 HAMMAR, ARVETTE                           VARIOUS                              Litigation              UNDETERMINED
       5564 GILMORE ROAD
       POLLOCK PINES, CA 95726       ACCOUNT NO.: NOT AVAILABLE


3.5693 HAMMEKE, TAMERA                           VARIOUS                              Litigation              UNDETERMINED
       3454 BRUSH STREET
       COTTONWOOD, CA 96022          ACCOUNT NO.: NOT AVAILABLE


3.5694 HAMMETT, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       26975 BARTON ROAD
       PIONEER, CA 95666             ACCOUNT NO.: NOT AVAILABLE


3.5695 HAMMOND, ROGER                            VARIOUS                              Litigation              UNDETERMINED
       740 VIA DEL LOMAS
       AROMAS, CA 95004              ACCOUNT NO.: NOT AVAILABLE


3.5696 HAMMOND, SUSAN                            VARIOUS                              Litigation              UNDETERMINED
       2507 NORWALK CT.
       MARTINEZ, CA 94553            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5697 HAMOOD, ALI                              VARIOUS                              Litigation              UNDETERMINED
       P. O. BOX 41
       JACK'S MARKET                ACCOUNT NO.: NOT AVAILABLE
       GRIMES, CA 95950


3.5698 HAMP, JEFF                               VARIOUS                              Litigation              UNDETERMINED
       1088 CORBETT CANYON
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.5699 HAMP, PAMELA                             VARIOUS                              Litigation              UNDETERMINED
       166 WHIDBEY STREET
       MORRO BAY, CA 93442          ACCOUNT NO.: NOT AVAILABLE


3.5700 HAMPTON INN & SUITES BY                  VARIOUS                              Litigation              UNDETERMINED
       HILTON-KHATRI, CHANDRA
       1585 VINEHILL CIRCLE         ACCOUNT NO.: NOT AVAILABLE
       FREMONT, CA 94539


3.5701 HAMPTON, DARREN                          VARIOUS                              Litigation              UNDETERMINED
       1002 JULIET AVE
       SAN JOSE, CA 95127           ACCOUNT NO.: NOT AVAILABLE


3.5702 HAMPTON, SANDRA                          VARIOUS                              Litigation              UNDETERMINED
       10035 HIGHWAY 9, APT #6
       BEN LOMOND, CA 95005         ACCOUNT NO.: NOT AVAILABLE


3.5703 HAMSTRA, JOHN                            VARIOUS                              Litigation              UNDETERMINED
       320 A CEDAR ST.
       SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE


3.5704 HAN, JEFF                                VARIOUS                              Litigation              UNDETERMINED
       3054 LOPEZ RD
       PEBBLE BEACH, CA 93953       ACCOUNT NO.: NOT AVAILABLE


3.5705 HANAIKE, NANCY                           VARIOUS                              Litigation              UNDETERMINED
       52 ROCKFORD AVE.
       DALY CITY, CA 94015          ACCOUNT NO.: NOT AVAILABLE


3.5706 HANANIA, NABIL                           VARIOUS                              Litigation              UNDETERMINED
       138 SAN BENITO AVE APT 3
       SAN BRUNO, CA 94066          ACCOUNT NO.: NOT AVAILABLE


3.5707 HANCOCK, LELAND                          VARIOUS                              Litigation              UNDETERMINED
       3800 VALLEY OAK DRIVE
       BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5708 HANDLERY HOTEL INC                       VARIOUS                              Litigation              UNDETERMINED
       351 GEARY STREET
       SAN FRANCISCO, CA 94102      ACCOUNT NO.: NOT AVAILABLE


3.5709 HANEL, DANIEL                            VARIOUS                              Litigation              UNDETERMINED
       545 MCINTOSH TERRACE
       BRENTWOOD, CA 94513          ACCOUNT NO.: NOT AVAILABLE


3.5710 HANEY, BRADLEY                           VARIOUS                              Litigation              UNDETERMINED
       17955 BALL RD
       PLATINA, CA 96076            ACCOUNT NO.: NOT AVAILABLE


3.5711 HANISCH, MARTHA AND                      VARIOUS                              Litigation              UNDETERMINED
       WOLFGANG
       1815 CLEVELAND AVE.          ACCOUNT NO.: NOT AVAILABLE
       SAN JOSE, CA 95126


3.5712 HANKEMEIER, JENNIFER                     VARIOUS                              Litigation              UNDETERMINED
       19170 EL CERRITO WAY
       AROMAS, CA 95004             ACCOUNT NO.: NOT AVAILABLE


3.5713 HANKINS, BRETT                           VARIOUS                              Litigation              UNDETERMINED
       21559 BELLVIEW CREEK RD
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.5714 HANKINS, WALAINE                         VARIOUS                              Litigation              UNDETERMINED
       4620 DISCOVERY POINT
       DISCOVERY BAY, CA 94505      ACCOUNT NO.: NOT AVAILABLE


3.5715 HANLEY, ART                              VARIOUS                              Litigation              UNDETERMINED
       9035 DURNESS WAY
       SACRAMENTO, CA 95829         ACCOUNT NO.: NOT AVAILABLE


3.5716 HANLON RODEMICH, AMY                     VARIOUS                              Litigation              UNDETERMINED
       25755 MOUNTAIN CHARLIE
       ROAD                         ACCOUNT NO.: NOT AVAILABLE
       SCOTTS VALLEY, CA 95066


3.5717 HANLON, GREG                             VARIOUS                              Litigation              UNDETERMINED
       672 VAN BUREN CIRCLE
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.5718 HANNIBAL, SUSAN                          VARIOUS                              Litigation              UNDETERMINED
       14375 PAUL AVE
       SARATOGA, CA 95070           ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5719 HANNS, MICHAEL                           VARIOUS                              Litigation              UNDETERMINED
       9710 SHELDON AVE
       LIVE OAK, CA 95953             ACCOUNT NO.: NOT AVAILABLE


3.5720 HANQUIST, DEAN                           VARIOUS                              Litigation              UNDETERMINED
       1948 ABINANTE LN,
       SAN JOSE, CA 95124             ACCOUNT NO.: NOT AVAILABLE


3.5721 HANSEN, BEVERLY                          VARIOUS                              Litigation              UNDETERMINED
       19058 SHADY DRIVE
       SALINAS, CA 93907              ACCOUNT NO.: NOT AVAILABLE


3.5722 HANSEN, CINDY                            VARIOUS                              Litigation              UNDETERMINED
       6820 TUCKER LN
       REDDING, CA 96002              ACCOUNT NO.: NOT AVAILABLE


3.5723 HANSEN, DAVID                            VARIOUS                              Litigation              UNDETERMINED
       329 OLD MILL AVE
       FELTON, CA 95018               ACCOUNT NO.: NOT AVAILABLE


3.5724 HANSEN, DOROTHY                          VARIOUS                              Litigation              UNDETERMINED
       234 OAK RD #112
       WALNUT CREEK, CA 94597         ACCOUNT NO.: NOT AVAILABLE


3.5725 HANSEN, LEE                              VARIOUS                              Litigation              UNDETERMINED
       6150 GROVE STEET
       SONOMA, CA 94576               ACCOUNT NO.: NOT AVAILABLE


3.5726 HANSEN, LINDA                            VARIOUS                              Litigation              UNDETERMINED
       6928 LANGMUIR LANE
       DUBLIN, CA 94568               ACCOUNT NO.: NOT AVAILABLE


3.5727 HANSEN, MARS                             VARIOUS                              Litigation              UNDETERMINED
       611 WALNUT STREET
       W SACRAMENTO, CA 95691         ACCOUNT NO.: NOT AVAILABLE


3.5728 HANSEN, PAMELA                           VARIOUS                              Litigation              UNDETERMINED
       1212 HAWES ST
       SAN FRANCISCO, CA 94124        ACCOUNT NO.: NOT AVAILABLE


3.5729 HANSEN, RICHARD                          VARIOUS                              Litigation              UNDETERMINED
       1524 MAGNOLIA AVE
       SAN CARLOS, CA 94070           ACCOUNT NO.: NOT AVAILABLE


3.5730 HANSEN, ROBERT                           VARIOUS                              Litigation              UNDETERMINED
       18661 GLENWWOD ROAD
       HIDDEN VALLEY LAKE, CA 95467   ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.5731 HANSEN, WENDI                            VARIOUS                              Litigation              UNDETERMINED
       318 EUREKA CANYON ROAD
       CORRALITOS, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.5732 HANSHAW, JENNIFER                        VARIOUS                              Litigation              UNDETERMINED
       21461 GREEN OAKS CT
       SONORA, CA 95370             ACCOUNT NO.: NOT AVAILABLE


3.5733 HANSON AGGREGATES                        VARIOUS                              Litigation              UNDETERMINED
       MIDPACIFIC, INC.-AUDAL,
       JOSEPH                       ACCOUNT NO.: NOT AVAILABLE
       24001 STEVENS CREEK BLVD.
       CUPERTINO, CA 95014


3.5734 HANSON AGGREGATES WEST ,                 VARIOUS                              Litigation              UNDETERMINED
       INC-OLSON, KELLY
       520 KAISER QUARRY ROAD       ACCOUNT NO.: NOT AVAILABLE
       CONCORD, CA 94521


3.5735 HANSON, ED                               VARIOUS                              Litigation              UNDETERMINED
       18913 EVERGREEN DR
       TUOLUMNE, CA 95379           ACCOUNT NO.: NOT AVAILABLE


3.5736 HANSON, IVAN                             VARIOUS                              Litigation              UNDETERMINED
       19710 RIDGE ROAD
       RED BLUFF, CA 96080          ACCOUNT NO.: NOT AVAILABLE


3.5737 HANSON, JAMES                            VARIOUS                              Litigation              UNDETERMINED
       310 CLOVER DRIVE
       SAN LUIS OBISPO, CA 93405    ACCOUNT NO.: NOT AVAILABLE


3.5738 HANSON, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       32500 LITTLE VALLEY ROAD
       FORT BRAGG, CA 95437         ACCOUNT NO.: NOT AVAILABLE


3.5739 HANZEL, DYAN                             VARIOUS                              Litigation              UNDETERMINED
       18001 SHAWNEE ST
       TEHACHAPI, CA 93561          ACCOUNT NO.: NOT AVAILABLE


3.5740 HAO, WUYANG                              VARIOUS                              Litigation              UNDETERMINED
       3311 BASTILLE CT
       SAN JOSE, CA 95135           ACCOUNT NO.: NOT AVAILABLE


3.5741 HAPPY DEAL AUTO PARTS                    VARIOUS                              Litigation              UNDETERMINED
       815 RALCOA WAY
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5742 HAPPY DONUTS-TASOULINH,                   VARIOUS                              Litigation              UNDETERMINED
       KHAMPHOUI
       1041 GILMAN ST                   ACCOUNT NO.: NOT AVAILABLE
       BERKELEY, CA 94710


3.5743 HARA, MICHAEL                             VARIOUS                              Litigation              UNDETERMINED
       88 SHEARER DRIVE
       ATHERTON, CA 94027               ACCOUNT NO.: NOT AVAILABLE


3.5744 HARBIN, MICHEAL                           VARIOUS                              Litigation              UNDETERMINED
       21727 ROGUE RIVER DR
       SONORA, CA 95370                 ACCOUNT NO.: NOT AVAILABLE


3.5745 HARBOR HUT-LEAGE, TROY                    VARIOUS                              Litigation              UNDETERMINED
       1205 EMBARCADERO
       MORRO BAY, CA 93442              ACCOUNT NO.: NOT AVAILABLE


3.5746 HARDAWAY, AARON                           VARIOUS                              Litigation              UNDETERMINED
       1935 EAST 30TH STREET APT 22
       OAKLAND, CA 94606                ACCOUNT NO.: NOT AVAILABLE


3.5747 HARDCASTLE CONFECTIONS                    VARIOUS                              Litigation              UNDETERMINED
       LLC, HEATHER HARDCASTLE
       115 PARK STREET                  ACCOUNT NO.: NOT AVAILABLE
       TAMALPAIS AVENUE
       SAN ANSELMO, CA 94960


3.5748 HARDCASTLE, JOSEPH                        VARIOUS                              Litigation              UNDETERMINED
       767 RAMONA AVE
       4250 S 1650 E, SALT LAKE CITY,   ACCOUNT NO.: NOT AVAILABLE
       UT
       GROVER BEACH, CA


3.5749 HARDEN, MARLENE                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1842
       LOS GATOS, CA 95031              ACCOUNT NO.: NOT AVAILABLE


3.5750 HARDEN, MARYSUNSHINE                      VARIOUS                              Litigation              UNDETERMINED
       15347 WONDERLAND BLVD.
       REDDING, CA 96003                ACCOUNT NO.: NOT AVAILABLE


3.5751 HARDEN, PAUL                              VARIOUS                              Litigation              UNDETERMINED
       2230 NEWPORT CT
       DISCOVERY BAY, CA 94505          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                              Claim

Litigation & Disputes

3.5752 HARDER RENTALS, WILLIAM                   VARIOUS                              Litigation              UNDETERMINED
       HARDER
       820 PARK ROW                  ACCOUNT NO.: NOT AVAILABLE
       35 E ROSSI STREET
       SALINAS, CA 93901


3.5753 HARDER, STEVE                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 293
       THE SEA RANCH, CA 95497       ACCOUNT NO.: NOT AVAILABLE


3.5754 HARDIN, BRENDA                            VARIOUS                              Litigation              UNDETERMINED
       222 COLE
       CLOVIS, CA 93612              ACCOUNT NO.: NOT AVAILABLE


3.5755 HARDIN, MARIE                             VARIOUS                              Litigation              UNDETERMINED
       929 KAPAREIL DR
       TRACY, CA 95376               ACCOUNT NO.: NOT AVAILABLE


3.5756 HARDIN, MICHAEL                           VARIOUS                              Litigation              UNDETERMINED
       7356 PERERA CIRCLE
       SACRAMENTO, CA 95831          ACCOUNT NO.: NOT AVAILABLE


3.5757 HARDIN, STEVE                             VARIOUS                              Litigation              UNDETERMINED
       7237 SHELTON LANE
       VACAVILLE, CA 95688           ACCOUNT NO.: NOT AVAILABLE


3.5758 HARDING, ETHELYNDA                        VARIOUS                              Litigation              UNDETERMINED
       1160 BROCKWAY RD
       WINSTON, CA 97496             ACCOUNT NO.: NOT AVAILABLE


3.5759 HARDING, LAURA                            VARIOUS                              Litigation              UNDETERMINED
       2591 HEATHER LANE
       SAN BRUNO, CA 94066           ACCOUNT NO.: NOT AVAILABLE


3.5760 HARDY, STEPHEN                            VARIOUS                              Litigation              UNDETERMINED
       3342FARRELL ROAD
       VACAVILLE, CA 95688           ACCOUNT NO.: NOT AVAILABLE


3.5761 HARENDZA, LUCILLE                         VARIOUS                              Litigation              UNDETERMINED
       267 CAHILL PARK DRIVE
       SAN JOSE, CA 95126            ACCOUNT NO.: NOT AVAILABLE


3.5762 HARGUINDEGUY FAMILY                       VARIOUS                              Litigation              UNDETERMINED
       FARMS, HARGUINDEGUY
       FAMILY FARMS                  ACCOUNT NO.: NOT AVAILABLE
       5665 N VAN NESS BLVD
       FRESNO, CA 93711



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.5763 HARKINS, ASHLEY                          VARIOUS                              Litigation              UNDETERMINED
       5753 N MAROA AVE APT 106
       FRESNO, CA 93704             ACCOUNT NO.: NOT AVAILABLE


3.5764 HARKNESS, DEBRA                          VARIOUS                              Litigation              UNDETERMINED
       3801 LAKESIDE DRIVE
       APT A218                     ACCOUNT NO.: NOT AVAILABLE
       RICHMOND, CA 94806


3.5765 HARLAN, DAVID                            VARIOUS                              Litigation              UNDETERMINED
       6223 BUCKTAIL LN
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.5766 HARLAN, SHAWN                            VARIOUS                              Litigation              UNDETERMINED
       11778 SUNRISE LN
       GRASS VALLEY, CA 95945       ACCOUNT NO.: NOT AVAILABLE


3.5767 HARLEY, BJ                               VARIOUS                              Litigation              UNDETERMINED
       PO BOX 161
       GUINDA, CA 95637             ACCOUNT NO.: NOT AVAILABLE


3.5768 HARLOW, DAVID                            VARIOUS                              Litigation              UNDETERMINED
       1201 VILLA TERRACE DR.
       PITTSBURG, CA 94565          ACCOUNT NO.: NOT AVAILABLE


3.5769 HARMON, LISA V. PG&E                     VARIOUS                              Litigation              UNDETERMINED
       1016 LINCOLN AVENUE
       SAN RAFAEL, CA 94901         ACCOUNT NO.: NOT AVAILABLE


3.5770 HARMONY AUDIO VIDEO-MARI,                VARIOUS                              Litigation              UNDETERMINED
       FRANK
       333 WEST PORTAL AVE.         ACCOUNT NO.: NOT AVAILABLE
       SAN FRANCISCO, CA 94127


3.5771 HARMONY INNS INC.,                       VARIOUS                              Litigation              UNDETERMINED
       LAWRENCE HAVLICK
       484 B WASHINGTON STREET      ACCOUNT NO.: NOT AVAILABLE
       STE. 515
       MONTEREY, CA 93940


3.5772 HARMS, STAND                             VARIOUS                              Litigation              UNDETERMINED
       9515 HORSESHOE BAR RD
       LOOMIS, CA 95650             ACCOUNT NO.: NOT AVAILABLE


3.5773 HARN, JULIANNA                           VARIOUS                              Litigation              UNDETERMINED
       8795 SAN GABRIEL RD
       ATASCADERO, CA 93422         ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.5774 HARNDEN, DAN                             VARIOUS                              Litigation              UNDETERMINED
       2894 HAZEL VALLEY
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.5775 HARNEY, ANGELA                           VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 151
       1220 CEDAR STREET            ACCOUNT NO.: NOT AVAILABLE
       FORT BRAGG, CA 95437


3.5776 HARNEY, MICHAEL                          VARIOUS                              Litigation              UNDETERMINED
       29305 CHUALAR CYN RD
       CHUALAR, CA 93925            ACCOUNT NO.: NOT AVAILABLE


3.5777 HARO ROMERO, GABRIEL                     VARIOUS                              Litigation              UNDETERMINED
       133 W 8TH ST
       TRACY, CA 95376              ACCOUNT NO.: NOT AVAILABLE


3.5778 HARO, ANA BERTHA                         VARIOUS                              Litigation              UNDETERMINED
       2185 N MAIN ST
       SPC# 6                       ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93906


3.5779 HARO, MARCIA                             VARIOUS                              Litigation              UNDETERMINED
       101 EILEEN CT
       MORAGA, CA 94556             ACCOUNT NO.: NOT AVAILABLE


3.5780 HAROLDSEN, BRENT                         VARIOUS                              Litigation              UNDETERMINED
       5850 E FILLMORE AVE
       FRESNO, CA 93727             ACCOUNT NO.: NOT AVAILABLE


3.5781 HARP, CINDY                              VARIOUS                              Litigation              UNDETERMINED
       5634 HARRIS CUT OFF RD.
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE


3.5782 HARP, SHELBY                             VARIOUS                              Litigation              UNDETERMINED
       1636 PINE STREET APT 1
       OROVILLE, CA 95965           ACCOUNT NO.: NOT AVAILABLE


3.5783 HARPER, BRENDA                           VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1364
       40 CHURCH STREET             ACCOUNT NO.: NOT AVAILABLE
       SUTTER CREEK, CA 95685


3.5784 HARPER, DAN AND BEVERLY                  VARIOUS                              Litigation              UNDETERMINED
       2615 SWANLUND LANE
       EUREKA, CA 95503             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.5785 HARPER, MARCHELE                         VARIOUS                              Litigation              UNDETERMINED
       13879 GAS POINT RD.
       IGO, CA 96047                ACCOUNT NO.: NOT AVAILABLE


3.5786 HARPER, MARCHELE                         VARIOUS                              Litigation              UNDETERMINED
       13879 GAS POINT RD.
       IGO, CA 96047                ACCOUNT NO.: NOT AVAILABLE


3.5787 HARR, RICKY & BARBARA                    VARIOUS                              Litigation              UNDETERMINED
       6067 WISH UPON WAY
       POLLOCK PINES, CA 95726      ACCOUNT NO.: NOT AVAILABLE


3.5788 HARRIEL, WILLIAM                         VARIOUS                              Litigation              UNDETERMINED
       1330 CLAM BEACH DR
       MCKINLEYVILLE, CA 95519      ACCOUNT NO.: NOT AVAILABLE


3.5789 HARRINGTON, EDWARD                       VARIOUS                              Litigation              UNDETERMINED
       3611 CALISTOGA ROAD
       SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE


3.5790 HARRINGTON, JACOB                        VARIOUS                              Litigation              UNDETERMINED
       7770 SANTA YSABEL AVE.
       D                            ACCOUNT NO.: NOT AVAILABLE
       ATASCADERO, CA 93422


3.5791 HARRINGTON, MARIE                        VARIOUS                              Litigation              UNDETERMINED
       7057 HITES COVE ROAD
       MARIPOSA, CA 95338           ACCOUNT NO.: NOT AVAILABLE


3.5792 HARRINGTON, MICHAEL                      VARIOUS                              Litigation              UNDETERMINED
       3135 PATIO DR
       PEBBLE BEACH, CA 93953       ACCOUNT NO.: NOT AVAILABLE


3.5793 HARRINGTON, RALPH                        VARIOUS                              Litigation              UNDETERMINED
       1701 DOMAIN WAY
       OAKLEY, CA 94561             ACCOUNT NO.: NOT AVAILABLE


3.5794 HARRIS FARMS INC.-                       VARIOUS                              Litigation              UNDETERMINED
       VANDERBERG, ROGER
       24505 W DORRIS AVE           ACCOUNT NO.: NOT AVAILABLE
       COALINGA, CA 93210


3.5795 HARRIS FARMS INC-                        VARIOUS                              Litigation              UNDETERMINED
       VANDERBERG, ROGER
       24505 W DORRIS AVE           ACCOUNT NO.: NOT AVAILABLE
       COALINGA, CA 93210




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Litigation & Disputes

3.5796 HARRIS RANCH INN &                       VARIOUS                              Litigation              UNDETERMINED
       RESTAURANT-VANDERBERG,
       ROGER                        ACCOUNT NO.: NOT AVAILABLE
       24505 W DORRIS AVE
       COALINGA, CA 93210


3.5797 HARRIS, ANN                              VARIOUS                              Litigation              UNDETERMINED
       13340 FRATI LANE
       SEBASTOL, CA 95472           ACCOUNT NO.: NOT AVAILABLE


3.5798 HARRIS, BRANDON                          VARIOUS                              Litigation              UNDETERMINED
       WARREN R. PABOOJIAN,
       BARADAT & PABOOJIAN, INC.    ACCOUNT NO.: NOT AVAILABLE
       720 WEST ALLUVIAL AVENUE
       0
       FRESNO, CA 93711


3.5799 HARRIS, GLORIA                           VARIOUS                              Litigation              UNDETERMINED
       16249 36TH AVENUE
       CLEARLAKE, CA 95422          ACCOUNT NO.: NOT AVAILABLE


3.5800 HARRIS, JAMES & MONIQUE                  VARIOUS                              Litigation              UNDETERMINED
       2536 SURREY AVENUE
       MODESTO, CA 95355            ACCOUNT NO.: NOT AVAILABLE


3.5801 HARRIS, JOSHUA                           VARIOUS                              Litigation              UNDETERMINED
       1224 LANE ST.
       BELMONT, CA 94002            ACCOUNT NO.: NOT AVAILABLE


3.5802 HARRIS, KATHERINE                        VARIOUS                              Litigation              UNDETERMINED
       PO BOX 603
       NICE, CA 95464               ACCOUNT NO.: NOT AVAILABLE


3.5803 HARRIS, KATHY                            VARIOUS                              Litigation              UNDETERMINED
       3620 KLEIN RD
       SAN JOSE, CA 95148           ACCOUNT NO.: NOT AVAILABLE


3.5804 HARRIS, LIONEL                           VARIOUS                              Litigation              UNDETERMINED
       255 15TH ST., APT. 5
       RICHMOND, CA 94801           ACCOUNT NO.: NOT AVAILABLE


3.5805 HARRIS, LORI                             VARIOUS                              Litigation              UNDETERMINED
       355 ZACHARY DR
       VACAVILLE, CA 95687          ACCOUNT NO.: NOT AVAILABLE


3.5806 HARRIS, RANDALL                          VARIOUS                              Litigation              UNDETERMINED
       54265 DRIVE 152
       OROSI, CA 93647              ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.5807 HARRIS, SAMANTHA                         VARIOUS                              Litigation              UNDETERMINED
       1376 JEFFRIES ST
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.5808 HARRIS, THELMA                           VARIOUS                              Litigation              UNDETERMINED
       211 DAPHNEY DR
       NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.5809 HARRIS, WILLIAM                          VARIOUS                              Litigation              UNDETERMINED
       25238 HATTON ROAD
       CARMEL, CA 93923             ACCOUNT NO.: NOT AVAILABLE


3.5810 HARRIS-AGODI, SYLAINE                    VARIOUS                              Litigation              UNDETERMINED
       37553 SUMMER HOLLY COMMON
       FREMONT, CA 94536            ACCOUNT NO.: NOT AVAILABLE


3.5811 HARRISON, JEFF                           VARIOUS                              Litigation              UNDETERMINED
       2905 BRYANT ST
       PALO ALTO, CA 94306          ACCOUNT NO.: NOT AVAILABLE


3.5812 HARRISON, KATHY AND                      VARIOUS                              Litigation              UNDETERMINED
       RICHARD
       294 JAMES WAY                ACCOUNT NO.: NOT AVAILABLE
       ARROYO GRANDE, CA 93420


3.5813 HARROLD, CERA                            VARIOUS                              Litigation              UNDETERMINED
       584 MONTEREY RD
       MORGAN HILL, CA 95037        ACCOUNT NO.: NOT AVAILABLE


3.5814 HARROLD, SHARON                          VARIOUS                              Litigation              UNDETERMINED
       4137 W NEBRASKA AVE
       CARUTHERS, CA 93609          ACCOUNT NO.: NOT AVAILABLE


3.5815 HARRY JEUNG CPA                          VARIOUS                              Litigation              UNDETERMINED
       1350 BAYSHORE HWY STE 950
       BURLINGAME, CA 94010         ACCOUNT NO.: NOT AVAILABLE


3.5816 HARRY, AMANDA                            VARIOUS                              Litigation              UNDETERMINED
       19072 SHADY DR
       SALINAS, CA 93907            ACCOUNT NO.: NOT AVAILABLE


3.5817 HARRY, EMILY                             VARIOUS                              Litigation              UNDETERMINED
       1109 GINA WAY
       OAKDALE, CA 95361            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5818 HARSTON, LACEY                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 691
       BYRON, CA 94514               ACCOUNT NO.: NOT AVAILABLE


3.5819 HART, CARLA                               VARIOUS                              Litigation              UNDETERMINED
       1212 CARPENTER CANYON RD
       ARROYO GRANDE, CA 93420       ACCOUNT NO.: NOT AVAILABLE


3.5820 HARTFORD INSURANCE                        VARIOUS                              Litigation              UNDETERMINED
       COMPANY/ATTY REP
       8765 E. BELL ROAD STE 210     ACCOUNT NO.: NOT AVAILABLE
       SCOTTSDALE, CA 85260


3.5821 HARTFORD INSURANCE, ASO                   VARIOUS                              Litigation              UNDETERMINED
       RON DEBORD & JANET
       ELDRIDGE                      ACCOUNT NO.: NOT AVAILABLE
       CA 0


3.5822 HARTIN, CHRISTOPHER                       VARIOUS                              Litigation              UNDETERMINED
       6051 FOPPIANO LANE
       STOCKTON, CA 95212            ACCOUNT NO.: NOT AVAILABLE


3.5823 HARTLEY, RAMONA                           VARIOUS                              Litigation              UNDETERMINED
       13860 WOODMAN LN
       BELLA VISTA, CA 96008         ACCOUNT NO.: NOT AVAILABLE


3.5824 HARTWELL, LINDA                           VARIOUS                              Litigation              UNDETERMINED
       96 HIATT RD
       CLOVERDALE, CA 95425          ACCOUNT NO.: NOT AVAILABLE


3.5825 HARTWICK, DEBORAH                         VARIOUS                              Litigation              UNDETERMINED
       12891 FARGO LN
       REDDING, CA 96003             ACCOUNT NO.: NOT AVAILABLE


3.5826 HARTZOG, ROSA                             VARIOUS                              Litigation              UNDETERMINED
       3387 HENDRICKS RD
       LAKEPORT, CA 95453            ACCOUNT NO.: NOT AVAILABLE


3.5827 HARVELL BOWEN, CARLA                      VARIOUS                              Litigation              UNDETERMINED
       19451 BLACK ROAD
       LOS GATOS, CA 95033           ACCOUNT NO.: NOT AVAILABLE


3.5828 HARVEY, IRMA                              VARIOUS                              Litigation              UNDETERMINED
       890 CAMPUS DR
       311                           ACCOUNT NO.: NOT AVAILABLE
       DALY CITY, CA 94015




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Litigation & Disputes

3.5829 HARVEY, TRACI                            VARIOUS                              Litigation              UNDETERMINED
       PO BOX 1459
       16092 BALFOUR LANE           ACCOUNT NO.: NOT AVAILABLE
       SALINAS, CA 93908


3.5830 HASKINS, CHRIS                           VARIOUS                              Litigation              UNDETERMINED
       430 VEGA RD
       ROYAL OAKS, CA 95076         ACCOUNT NO.: NOT AVAILABLE


3.5831 HASKINS, EVELYN                          VARIOUS                              Litigation              UNDETERMINED
       412 SPRING ST
       RICHMOND, CA 94804           ACCOUNT NO.: NOT AVAILABLE


3.5832 HASTINGS, DANIEL                         VARIOUS                              Litigation              UNDETERMINED
       4730 CRYSTAL ST
       CAPITOLA, CA 95010           ACCOUNT NO.: NOT AVAILABLE


3.5833 HATALA, JOHN                             VARIOUS                              Litigation              UNDETERMINED
       CA 0
                                    ACCOUNT NO.: NOT AVAILABLE


3.5834 HATCH INVESTMENTS,                       VARIOUS                              Litigation              UNDETERMINED
       DOUGLAS W TINGEY
       19901 YORBA LINDA BLVD       ACCOUNT NO.: NOT AVAILABLE
       826 ELM WAY
       RIO VISTA, CA 94571


3.5835 HATCH, NOEL & LINDA                      VARIOUS                              Litigation              UNDETERMINED
       19144 SUPERIOR DR.
       TWAIN HARTE, CA 95383        ACCOUNT NO.: NOT AVAILABLE


3.5836 HATFIELD MEAT COMPANY-                   VARIOUS                              Litigation              UNDETERMINED
       TRINE, ADRIAN
       PO BOX 224                   ACCOUNT NO.: NOT AVAILABLE
       MAD RIVER, CA 95552


3.5837 HATFIELD, DEBBIE                         VARIOUS                              Litigation              UNDETERMINED
       1404 W DAYTON AVE
       FRESNO, CA 93705             ACCOUNT NO.: NOT AVAILABLE


3.5838 HATFIELD, GARY                           VARIOUS                              Litigation              UNDETERMINED
       30 KATAOKA CT.
       EMERALD HILLS, CA 94062      ACCOUNT NO.: NOT AVAILABLE


3.5839 HATFIELD, MEGHAN                         VARIOUS                              Litigation              UNDETERMINED
       4030 67TH STREET
       SACRAMENTO, CA 95820         ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                          Account Number                             Claim

Litigation & Disputes

3.5840 HATFIELD, SUSAN                          VARIOUS                              Litigation              UNDETERMINED
       19230 EL CERRITO WAY
       AROMAS, CA 95004              ACCOUNT NO.: NOT AVAILABLE


3.5841 HATTON, JACK                             VARIOUS                              Litigation              UNDETERMINED
       22106 OAK RIDGE DRIVE
       GRASS VALLEY, CA 95945        ACCOUNT NO.: NOT AVAILABLE


3.5842 HATZI, HECTOR                            VARIOUS                              Litigation              UNDETERMINED
       2430 INTERNATIONAL BLVD
       204                           ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94601


3.5843 HAUGHEY, KEVIN                           VARIOUS                              Litigation              UNDETERMINED
       512 UMARIA PLACE #39
       SAN JOSE, CA 95128            ACCOUNT NO.: NOT AVAILABLE


3.5844 HAUTE, KATY                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 271971
       2970 SILVERADO TRL N, SAINT   ACCOUNT NO.: NOT AVAILABLE
       HELENA
       HOUSTON, CA 77277


3.5845 HAUTER, SAMY                             VARIOUS                              Litigation              UNDETERMINED
       2070 W. SAN RAMON
       FRESNO, CA 93711              ACCOUNT NO.: NOT AVAILABLE


3.5846 HAVATAN-KERTEL, JASON                    VARIOUS                              Litigation              UNDETERMINED
       4805 STORY WAY
       ELK GROVE, CA 95758           ACCOUNT NO.: NOT AVAILABLE


3.5847 HAVATAN-KERTEL, JASON                    VARIOUS                              Litigation              UNDETERMINED
       4805 STORY WAY
       ELK GROVE, CA 95758           ACCOUNT NO.: NOT AVAILABLE


3.5848 HAVEL, SONIA                             VARIOUS                              Litigation              UNDETERMINED
       4592 DEERCREEK LANE
       CONCORD, CA 94521             ACCOUNT NO.: NOT AVAILABLE


3.5849 HAVENS, SANDRA                           VARIOUS                              Litigation              UNDETERMINED
       13024 SOMERSET DR
       GRASS VALLEY, CA 95945        ACCOUNT NO.: NOT AVAILABLE


3.5850 HAWK, HAROLD                             VARIOUS                              Litigation              UNDETERMINED
       6350 QUAIL CREEK
       CA                            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.5851 HAWKER, LORI                             VARIOUS                              Litigation              UNDETERMINED
       116 CAMELLIA TER
       LOS GATOS, CA 95032          ACCOUNT NO.: NOT AVAILABLE


3.5852 HAWKINS, CLYDE                           VARIOUS                              Litigation              UNDETERMINED
       2591 MARINEVIEW DR.
       LAKE CHABOT RD.              ACCOUNT NO.: NOT AVAILABLE
       SAN LEANDRO, CA 94577


3.5853 HAWKINS, MICHAEL                         VARIOUS                              Litigation              UNDETERMINED
       6145 BUENA VENTURA AVENUE
       OAKLAND, CA 94605            ACCOUNT NO.: NOT AVAILABLE


3.5854 HAWKINS, ROBERT                          VARIOUS                              Litigation              UNDETERMINED
       3480 BIRCHWOOD LANE
       SAN JOSE, CA 95132           ACCOUNT NO.: NOT AVAILABLE


3.5855 HAWS AUTO BODY INC-                      VARIOUS                              Litigation              UNDETERMINED
       DUNBAR, MICHAEL
       3482 GOLDEN GATE WAY         ACCOUNT NO.: NOT AVAILABLE
       LAFAYETTE, CA 94549


3.5856 HAWTHORNE, BARABARA                      VARIOUS                              Litigation              UNDETERMINED
       6396 TAMALPAIS AVE
       SAN JOSE, CA 95120           ACCOUNT NO.: NOT AVAILABLE


3.5857 HAY STUFF IT LLC, KOOYMAN,               VARIOUS                              Litigation              UNDETERMINED
       PATTY
       425 LUCAS ROAD               ACCOUNT NO.: NOT AVAILABLE
       LODI, CA 95242


3.5858 HAYDEN, NICHOLE                          VARIOUS                              Litigation              UNDETERMINED
       7356 GROVEHILL WAY
       SACRAMENTO, CA 95828         ACCOUNT NO.: NOT AVAILABLE


3.5859 HAYES, BRADLEY                           VARIOUS                              Litigation              UNDETERMINED
       635 PLAZA INVIERNO
       SAN JOSE, CA 95111           ACCOUNT NO.: NOT AVAILABLE


3.5860 HAYES, CAREY                             VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 218
       LOWER LAKE, CA 95457         ACCOUNT NO.: NOT AVAILABLE


3.5861 HAYES, CAROL                             VARIOUS                              Litigation              UNDETERMINED
       819 KERN STREET
       FRESNO, CA 93706             ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.5862 HAYES, CRYSTEN                           VARIOUS                              Litigation              UNDETERMINED
       6954 HAMMOND AVE
       UPPER LAKE, CA 95485         ACCOUNT NO.: NOT AVAILABLE


3.5863 HAYES, PAMELA                            VARIOUS                              Litigation              UNDETERMINED
       341 COLONIAL WAY
       RIO VISTA, CA 94571          ACCOUNT NO.: NOT AVAILABLE


3.5864 HAYES, VICKIE                            VARIOUS                              Litigation              UNDETERMINED
       1602 SEWARD WAY
       STOCKTON, CA 95207           ACCOUNT NO.: NOT AVAILABLE


3.5865 HAYFORD, GREG                            VARIOUS                              Litigation              UNDETERMINED
       1230 WARREN DRIVE
       SANTA CRUZ, CA 95060         ACCOUNT NO.: NOT AVAILABLE


3.5866 HAYNES, JANET                            VARIOUS                              Litigation              UNDETERMINED
       6683 SETTLERS TRAIL
       SHINGLE SPRINGS, CA 95682    ACCOUNT NO.: NOT AVAILABLE


3.5867 HAYS, CLINTON                            VARIOUS                              Litigation              UNDETERMINED
       P.O BOX 885
       TWAIN HARTE, CA 95383        ACCOUNT NO.: NOT AVAILABLE


3.5868 HAYS, RONLD                              VARIOUS                              Litigation              UNDETERMINED
       PO BOX 7115
       COTATI, CA 94931             ACCOUNT NO.: NOT AVAILABLE


3.5869 HAYSE, DINAH                             VARIOUS                              Litigation              UNDETERMINED
       6566 CHELTON DR
       OAKLAND, CA 94511            ACCOUNT NO.: NOT AVAILABLE


3.5870 HAYWARD CHEVRON-HUH,                     VARIOUS                              Litigation              UNDETERMINED
       CHARLES
       26990 HAESPERIAN BLVD        ACCOUNT NO.: NOT AVAILABLE
       HAYWARD, CA 94545


3.5871 HAYWARD FOOD & LIQUOR                    VARIOUS                              Litigation              UNDETERMINED
       28260 HESPERIAN BLVD
       HAYWARD, CA 94545            ACCOUNT NO.: NOT AVAILABLE


3.5872 HAYWARD, MARGUERITE                      VARIOUS                              Litigation              UNDETERMINED
       325 JACKSON STREET
       RED BLUFF, CA 96080          ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5873 HAYWOOD, RUFUS                           VARIOUS                              Litigation              UNDETERMINED
       3333 EL ENCANTO CT #32
       BAKERSFIELD, CA 93301        ACCOUNT NO.: NOT AVAILABLE


3.5874 HAYWOOD, RUFUS MAZIMILLION               VARIOUS                              Litigation              UNDETERMINED
       PRO SE
       P.O. BOX 5872                ACCOUNT NO.: NOT AVAILABLE
       OXNARD, CA 93031


3.5875 HAZEL MARIE HOMES, LLC-                  VARIOUS                              Litigation              UNDETERMINED
       SPEELMAN, CATHRYN
       77 SOLANO SQUARE STE 108     ACCOUNT NO.: NOT AVAILABLE
       BENICIA, CA 94510


3.5876 HB AG INC-BAUGHMAN, ALVIE                VARIOUS                              Litigation              UNDETERMINED
       12300 PANAMA LN
       BAKERSFIELD, CA 93311        ACCOUNT NO.: NOT AVAILABLE


3.5877 HB AG INVESTMENTS-                       VARIOUS                              Litigation              UNDETERMINED
       BAUGHMAN, HEITH
       12300 PANAMA LANE            ACCOUNT NO.: NOT AVAILABLE
       BAKERSFIELD, CA 93311


3.5878 HB MILLBRAE CAFE CORP,                   VARIOUS                              Litigation              UNDETERMINED
       EMILY WANG
       153 EL CAMINO REAL           ACCOUNT NO.: NOT AVAILABLE
       MILLBRAE, CA 94030


3.5879 HEACOCK, MARY                            VARIOUS                              Litigation              UNDETERMINED
       530 PRINTZ ROAD
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.5880 HEAD & SOUL SALON-KEVILLE,               VARIOUS                              Litigation              UNDETERMINED
       SEANA
       2435 POLK ST                 ACCOUNT NO.: NOT AVAILABLE
       #10
       SAN FRANCISCO, CA 94109


3.5881 HEAD ROYCE SCHOOL-                       VARIOUS                              Litigation              UNDETERMINED
       MULLANEY, JERRY
       4315 LINCOLN AVENUE          ACCOUNT NO.: NOT AVAILABLE
       OAKLAND, CA 94602


3.5882 HEAD, VINCENT                            VARIOUS                              Litigation              UNDETERMINED
       522 B STREET
       HAYWARD, CA 94541            ACCOUNT NO.: NOT AVAILABLE




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Litigation & Disputes

3.5883 HEADINGTON, CHARLES                      VARIOUS                              Litigation              UNDETERMINED
       1232 SHANNON LANE
       ARROYO GRANDE, CA 93420      ACCOUNT NO.: NOT AVAILABLE


3.5884 HEADQUARTERS-OKADA, K                    VARIOUS                              Litigation              UNDETERMINED
       3040 CLAREMONT AVE
       BERKELEY, CA 94705           ACCOUNT NO.: NOT AVAILABLE


3.5885 HEADRICK, DON AND MELANIE                VARIOUS                              Litigation              UNDETERMINED
       14662 7TH AVENUE
       HANFORD, CA 93230            ACCOUNT NO.: NOT AVAILABLE


3.5886 HEADWAY TECHNOLOGIES                     VARIOUS                              Litigation              UNDETERMINED
       678 S HILLVIEW DRIVE
       MILPITAS, CA 95035           ACCOUNT NO.: NOT AVAILABLE


3.5887 HEALIS, WILLIAM                          VARIOUS                              Litigation              UNDETERMINED
       203 TAHOE DRIVE
       VACAVILLE, CA 95687          ACCOUNT NO.: NOT AVAILABLE


3.5888 HEALTH AND WELLNESS                      VARIOUS                              Litigation              UNDETERMINED
       CHIROPRACTIC-PHAM,
       CHRISTOPHER                  ACCOUNT NO.: NOT AVAILABLE
       1726 N VASCO RD
       LIVERMORE, CA 94551


3.5889 HEALY, MARIA ELENA                       VARIOUS                              Litigation              UNDETERMINED
       730 EDGEWOOD ROAD
       SAN MATEO, CA 94402          ACCOUNT NO.: NOT AVAILABLE


3.5890 HEALY, TOM                               VARIOUS                              Litigation              UNDETERMINED
       10750 SUNRISE RIDGE CIRCLE
       AUBURN, CA 95603             ACCOUNT NO.: NOT AVAILABLE


3.5891 HEARNE, BRAD                             VARIOUS                              Litigation              UNDETERMINED
       512 METZ RD.
       KING CITY, CA 93930          ACCOUNT NO.: NOT AVAILABLE


3.5892 HEARON, DALLAS                           VARIOUS                              Litigation              UNDETERMINED
       4776 BLACK AVE
       PLEASANTON, CA 94566         ACCOUNT NO.: NOT AVAILABLE


3.5893 HEARTWOOD RESIDENTIAL-                   VARIOUS                              Litigation              UNDETERMINED
       YEGGE, NICHOLAS
       520 E. MCGLINCY AVE          ACCOUNT NO.: NOT AVAILABLE
       SUITE 9
       CAMPBELL, CA 95008



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Litigation & Disputes

3.5894 HEASLEY-SILVA, BONNIE                     VARIOUS                              Litigation              UNDETERMINED
       2485 WOODHOUSE MINE ROAD
       WEST POINT, CA 95255          ACCOUNT NO.: NOT AVAILABLE


3.5895 HEATH, HEATHER                            VARIOUS                              Litigation              UNDETERMINED
       976 DANA AVE
       SAN JOSE, CA 95126            ACCOUNT NO.: NOT AVAILABLE


3.5896 HEATH, KAY                                VARIOUS                              Litigation              UNDETERMINED
       30003 CORRINE LAKE ROAD
       NORTH FORK, CA 93643          ACCOUNT NO.: NOT AVAILABLE


3.5897 HEATH, RICHARD                            VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 7200
       LOS OSOS, CA 93412            ACCOUNT NO.: NOT AVAILABLE


3.5898 HEATH, ROBERT                             VARIOUS                              Litigation              UNDETERMINED
       3311 ADBY WAY
       MARINA, CA 93933              ACCOUNT NO.: NOT AVAILABLE


3.5899 HEATHCOTE, TRACY                          VARIOUS                              Litigation              UNDETERMINED
       335 E. ASPEN DR.
       REEDLEY, CA 93654             ACCOUNT NO.: NOT AVAILABLE


3.5900 HEATHER LANE APARTMENTS,                  VARIOUS                              Litigation              UNDETERMINED
       KAREN & GORDON SCHATZ
       14345 MAPLE CREEK ROAD        ACCOUNT NO.: NOT AVAILABLE
       2217 HEATHER LANE
       ARCATA, CA 95521


3.5901 HEAVENLY BLUE FINE LINGERIE-         VARIOUS                                   Litigation              UNDETERMINED
       STEPHENS, ELLEN
       240 MAIN ST STE 220          ACCOUNT NO.: NOT AVAILABLE
       SUITE 220
       CHICO, CA 95928


3.5902 HEBENSTREIT, JAMES                        VARIOUS                              Litigation              UNDETERMINED
       7540 KONA CT.
       P.O. BOX 1512                 ACCOUNT NO.: NOT AVAILABLE
       PLACERVILLE, CA 95667


3.5903 HECHT, KATHRYN                            VARIOUS                              Litigation              UNDETERMINED
       146 BEAUMONT AVE
       SAN FRANCISCO, CA 94118       ACCOUNT NO.: NOT AVAILABLE


3.5904 HECK, COLLEN                              VARIOUS                              Litigation              UNDETERMINED
       17906 PESANTE RD
       SALINAS, CA 93907             ACCOUNT NO.: NOT AVAILABLE


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Litigation & Disputes

3.5905 HECKENLAIBLE, DWAYNE                     VARIOUS                              Litigation              UNDETERMINED
       8618 E HARNEY LANE
       LODI, CA 95240               ACCOUNT NO.: NOT AVAILABLE


3.5906 HEDAYAT, SHAHIN                          VARIOUS                              Litigation              UNDETERMINED
       1750 PETERS RANCH RD
       DANVILLE, CA 94526           ACCOUNT NO.: NOT AVAILABLE


3.5907 HEDELIUS, LESLIE                         VARIOUS                              Litigation              UNDETERMINED
       27901 SALT SPRINGS RD
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.5908 HEDGES, RAMONA                           VARIOUS                              Litigation              UNDETERMINED
       1090 ALLESANDRO ST.
       MORRO BAY, CA 93442          ACCOUNT NO.: NOT AVAILABLE


3.5909 HEDSTROM, PATRICIA                       VARIOUS                              Litigation              UNDETERMINED
       3653 PONDEROSA TRAIL
       PINOLE, CA 94564             ACCOUNT NO.: NOT AVAILABLE


3.5910 HEDWALL, WAYNE & DIANA                   VARIOUS                              Litigation              UNDETERMINED
       P.OBOX 1176
       BELLA VISTA, CA 96008        ACCOUNT NO.: NOT AVAILABLE


3.5911 HEFNER, LORETTA                          VARIOUS                              Litigation              UNDETERMINED
       25A CRESCENT DR
       PMB 345                      ACCOUNT NO.: NOT AVAILABLE
       PLEASANT HILL, CA 94523


3.5912 HEIDARI, ALI                             VARIOUS                              Litigation              UNDETERMINED
       P.O.BOX 35665
       MONTE SERENO, CA 95030       ACCOUNT NO.: NOT AVAILABLE


3.5913 HEIDARZADEH, MAE                         VARIOUS                              Litigation              UNDETERMINED
       COLDWATER DRIVE
       PO BOX 3396                  ACCOUNT NO.: NOT AVAILABLE
       SAN LEANDRO, CA 94578


3.5914 HEIFFERON, CHUN CHA                      VARIOUS                              Litigation              UNDETERMINED
       1364 FULLERTON LANE
       FULLERTON, CA 92833          ACCOUNT NO.: NOT AVAILABLE


3.5915 HEIFFERON, KAREN                         VARIOUS                              Litigation              UNDETERMINED
       3030 BRODERICK ST, APT 8
       SAN FRANCISCO, CA 94123      ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                         Account Number                              Claim

Litigation & Disputes

3.5916 HEIGHTEN AMERICA, INC-                   VARIOUS                              Litigation              UNDETERMINED
       SMECK, BILL
       1144 POST RD                 ACCOUNT NO.: NOT AVAILABLE
       OAKDALE, CA 95361


3.5917 HEILMAN, CHYENNE                         VARIOUS                              Litigation              UNDETERMINED
       18644 BRUMBY WAY
       ANDERSON, CA 96007           ACCOUNT NO.: NOT AVAILABLE


3.5918 HEINE, ROBERT                            VARIOUS                              Litigation              UNDETERMINED
       13780 BYRON HWY
       BYRON, CA 94514              ACCOUNT NO.: NOT AVAILABLE


3.5919 HEINE, ROXANNE                           VARIOUS                              Litigation              UNDETERMINED
       AT 1P W/BYRON HWY
       BYRONE, CA 94514             ACCOUNT NO.: NOT AVAILABLE


3.5920 HEINEY, GENE                             VARIOUS                              Litigation              UNDETERMINED
       PO BOX 386
       ARROYO GRANDE, CA 93421      ACCOUNT NO.: NOT AVAILABLE


3.5921 HEINRICH, SUZETTE                        VARIOUS                              Litigation              UNDETERMINED
       23190 FORTRESS CT
       PIONEER, CA 95666            ACCOUNT NO.: NOT AVAILABLE


3.5922 HEIRLOOM STORAGE-DANIELS,                VARIOUS                              Litigation              UNDETERMINED
       PETER
       12 HARBOR DR                 ACCOUNT NO.: NOT AVAILABLE
       NOVATO, CA 94945


3.5923 HEISER, BENJAMIN                         VARIOUS                              Litigation              UNDETERMINED
       P.O. BOX 4889
       CHICO, CA 95927              ACCOUNT NO.: NOT AVAILABLE


3.5924 HEISEY, PAUL                             VARIOUS                              Litigation              UNDETERMINED
       9555 ESCALON BELLOTA RD
       ESCALON, CA 95320            ACCOUNT NO.: NOT AVAILABLE


3.5925 HEISIG, KURT                             VARIOUS                              Litigation              UNDETERMINED
       512 POLK STREET
       MONTEREY, CA 93940           ACCOUNT NO.: NOT AVAILABLE


3.5926 HEJAZI, HAMID                            VARIOUS                              Litigation              UNDETERMINED
       105 ROWAN TREE LANE
       HILLSBOROUGH, CA 94010       ACCOUNT NO.: NOT AVAILABLE




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